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                  EXHIBIT 1
                   PART 1
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK




ALI KARIMI, Individually and on behalf of all         Case No. 22-cv-2854 (JSR)
others similarly situated,

                            Plaintiff,

                       v.

DEUTSCHE BANK AKTIENGESELLSCHAFT,
JOHN CRYAN, AND CHRISTIAN SEWING,

                            Defendants.




                         EXPERT REPORT OF ZACHARY NYE, PH.D.

                                          July 18, 2022
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I.      Background and Qualifications

1.      I am a financial economist and Vice President at Stanford Consulting Group, Inc.

(“SCG”). Since 1981, SCG has provided economic research and expert testimony for business

litigation, and regulatory and legislative proceedings. All SCG professionals hold masters or

doctoral degrees in business, economics, finance or operations research, and certain senior

consultants have testified as experts in these fields. I have an A.B. in Economics from Princeton

University; an M.Sc. in Finance from the London Business School; and a Ph.D. in Finance from

the Paul Merage School of Business at the University of California, Irvine. I have co-authored

academic research published in peer-reviewed conference proceedings, as well as working

papers with finance faculty at various universities. My research areas include the market

efficiency of financial and derivative securities, volatility forecasting, risk management, financial

econometrics, valuation and corporate finance. I have previously served as an expert witness in

matters involving securities litigation, as well as business and intellectual property valuation.

My curriculum vitae, which includes my academic research, publications in the past ten years,

and prior expert testimony in the past four years, is attached hereto as Exhibit 1.

2.      My current hourly rate is $900. I have received assistance from individuals at SCG, who

worked under my direction; their fees charged for this project are their standard hourly rates.

Neither my compensation nor that of any individual at SCG is contingent on the outcome of this

litigation.

II.     Scope of Engagement

3.      I have been retained by Counsel for Plaintiffs in this matter to opine as to whether the

common stock of Deutsche Bank Aktiengesellschaft (“Deutsche Bank,” “Deutsche Bank AG” or

the “Company”) traded in an efficient market during the period March 14, 2017 through

September 18, 2020, inclusive (the “Class Period”). I also have been asked by Counsel to opine


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on whether damages under §10(b) (“Section 10(b)”) of the Securities Exchange Act of 1934

(“Exchange Act”), and Rule 10b-5 promulgated thereunder by the SEC, can be calculated using a

method that is common to each Class member and in a manner consistent with Plaintiffs’ theory

of liability, for investors who purchased or otherwise acquired Deutsche Bank stock during the

Class Period.1 However, I have not been asked at this time to calculate or opine on the amount

of such damages.

III.   Bases for Opinions

4.     My opinions are based upon my professional knowledge and experience, my review of

documents and information relevant to this matter (see Exhibit 2), and the analyses described in

this Report and its Exhibits. Documents, data, and other information that I have relied upon as

bases for my opinions are cited in this Report and its Exhibits. Such documents and information

are typically relied upon by financial experts in securities class actions and by financial

economists in their research.

5.     Counsel for Plaintiffs has informed me that the record in this matter continues to be

developed and that fact discovery is ongoing. To the extent they are relevant, I would expect to

review additional information that may become available through discovery as well as the

reports and depositions of other expert witnesses. The opinions offered in this Report are subject

to refinement or revision based on continuing analysis of the documents and information listed

above, as well as new or additional information that may be provided to or obtained by me in the

course of this matter.




1
 The claims in this action are set forth in the Third Amended Class Action Complaint for
Violations of the Federal Securities Laws, dated June 30, 2022 (the “Complaint”).


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IV.      Summary of Opinions

6.       As discussed below in §VI, based on my review of the available evidence in this matter,

and careful analysis of data specific to Deutsche Bank relating to the efficiency factors detailed

throughout this Report, I conclude that the market for Deutsche Bank stock was efficient

throughout the Class Period.

7.       As discussed below in §VII, it is my opinion that damages under Section 10(b) of the

Exchange Act, for investors who purchased or otherwise acquired Deutsche Bank stock during

the Class Period, can be calculated using a methodology that is common to the Class and in a

manner that is consistent with Plaintiffs’ theory of liability.

V.       Overview of Deutsche Bank’s Business Operations

8.       Deutsche Bank “is a stock corporation organized under the laws of the Federal Republic

of Germany,” with headquarters in Frankfurt am Main.2 At the start of the Class Period, the

Company was “the largest bank in Germany and one of the largest financial institutions in

Europe and the world, as measured by total assets of € 1,475 billion as of December 31, 2017.”3

Deutsche Bank has described it business as “provid[ing] commercial and investment banking,

retail banking, transaction banking, and asset and wealth management products and services to

corporations, governments, institutional investors, small and medium-sized businesses, and

private individuals.”4



2
    Deutsche Bank AG, SEC Form 20-F for year-end 2016, filed March 20, 2017, pp. 5, 69.
3
  Deutsche Bank, Annual Report 2017, March 16, 2018, p. 4 (available at https://investor-
relations.db.com/files/documents/annual-reports/DB_Annual_Report_2017.pdf?language_id=1).
See also Deutsche Bank, Annual Report 2020, March 15, 2021, p. 7 (available at https://investor-
relations.db.com/files/documents/annual-reports/Annual_Report_2020.pdf?language_id=1).
4
  Deutsche Bank, Non-Financial Report 2019, March 20, 2020, p. 6 (available at https://investor-
relations.db.com/files/documents/annual-reports/Deutsche_Bank_Non-
Financial_Report_2019.pdf?language_id=1).


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9.          At the start of the Class period, Deutsche Bank had the following three corporate

divisions:

            i.     Corporate and Investment bank (“CIB”), comprising Fixed Income and
                   Currency (“FIC”) Sales & Trading, Equity Sales & Trading, Financing,
                   Origination & Advisory and Global Transaction Banking businesses. The
                   CIB division “br[ought] together the wholesale banking expertise,
                   coverage, risk management, and infrastructure across Deutsche Bank into
                   one division.”5

            ii.    Private and Commercial Bank (“PCB”), comprising four business units:
                   Postbank, Private & Commercial Clients Germany, Private & Commercial
                   Clients International and Wealth Management. In the PCB division, the
                   Company “serve[d] personal and private clients, small and medium-sized
                   enterprises as well as wealthy private clients” with a “product range [that]
                   include[d] payment and account services, credit and deposit products as
                   well as investment advice.”6

            iii.   Deutsche Asset Management (“Deutsche AM”), which the Company
                   described as “one of the world’s leading investment management
                   organizations” that “aim[ed] to provide sustainable financial solutions for
                   all its clients: individual investors and the institutions that serve them.”7

The Company also reported results from its Non-Core Operations Unit Corporate Division

(“NCOU”), which “was established with the aim to help the Bank reduce risks associated with

capital-intensive assets that are not core to the strategy, thereby reducing capital demand.”8

10.         In July 2019, Deutsche Bank announced “a series of measures to restructure the bank’s

operations,” including “[t]he exit of Global Equities and a significant reduction in Corporate and

Investment Banking risk weighted assets,” a “significant restructuring of businesses and




5
 Deutsche Bank, Annual Report 2017, March 16, 2018, pp. 4, 5. See also Deutsche Bank, SEC
Form 20-F for year-end 2016, filed March 20, 2017, p. 53.
6
    Deutsche Bank, Annual Report 2017, March 16, 2018, p. 6.
7
    Deutsche Bank, Annual Report 2017, March 16, 2018, p. 8.
8
    Ibid.


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infrastructure,” and that the Company would “implement a cost reduction program.”9 As part of

the restructuring, Deutsche Bank created “[t]he Core Bank which represents [its] strategic vision

[and] comprises four operating divisions: Corporate Bank; Investment Bank; Private Bank and

Asset Management, together with Corporate & Other,” and a separate Capital Release Unit

(“CRU”), that “includes business areas which no longer form a core part of [the Company’s]

strategy or products with insufficient returns.”10 Accordingly, the Company would have six

corporate divisions as follows:

       i.      Corporate Bank (“CB”), which “includes the Global Transaction Bank
               which was previously part of the former Corporate & Investment Bank as
               well as the German Commercial Clients division, formerly part of the
               Private & Commercial Business (Germany)”;

       ii.     Investment Bank (“IB”), which was “previously part of the former
               Corporate & Investment Bank, includes Deutsche Bank’s Origination &
               Advisory businesses” and “also includes Fixed Income, Currency (FIC)
               Sales & Trading, which includes [its] Global Credit Trading, Foreign
               Exchange, Rates and Emerging Markets Debt businesses”;

       iii.    Private Bank (“PB”), which comprises three business units: Private Bank
               Germany, and Private and Commercial Business International;

       iv.     Asset Management (“AM”), which operated under the DWS brand;11


9
 Deutsche Bank, Ad-hoc Release, “Deutsche Bank outlines significant strategic transformation
and restructuring plans,” July 7, 2019 (available at https://www.db.com/news/detail/20190707-
deutsche-bank-outlines-significant-strategic-transformation-and-restructuring-
plans?language_id=1). See also, Deutsche Bank, “Compete to win,” July 8, 2019 (available at
https://investor-relations.db.com/files/documents/other-presentations-and-
events/Strategic_Announcement_8_Jul_2019.pdf?language_id=1).
10
   Deutsche Bank, Annual Report 2019, March 20, 2020, p. XVIII (available at https://investor-
relations.db.com/files/documents/annual-
reports/Deutsche_Bank_Annual_Report_2019.pdf?language_id=1).
11
  DWS is an asset management firm that was spun off by the Company in March 2018 through
an initial public offering on the Frankfurt stock exchange. The Company retained a 79.49%
ownership interest in DWS throughout the Class Period. See Deutsche Bank, Annual Report
2019, March 20, 2020, p. 9. See also Deutsche Bank, Annual Report 2020, March 15, 2021, p.
10.


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         v.     CRU; and

         vi.    Corporate and Other (“C&O”), which “includes revenues, costs and
                resources held centrally that are not allocated to the individual business
                segments.”12

11.      As of December 31, 2016, the Company had approximately 99,744 employees “on a full-

time equivalent basis.”13 As of December 31, 2019, Deutsche Bank had approximately 87,597

“full-time equivalent internal employees.”14 The Company’s total reported revenues for 2017

through 2020, by operating segment, were as follows:15

 Revenue (in millions)              2017              2018             2019              2020
  Corporate Bank                   € 5,376           € 5,278          € 5,244           € 5,145
  Investment Bank                  € 8,303           € 7,561          € 7,019           € 9,283
  Private Bank                     € 8,732           € 8,520          € 8,206           € 8,126
  Asset Management                 € 2,532           € 2,187          € 2,332           € 2,229
  Capital Release Unit             € 2,044           € 1,911           € 217            -€ 225
  Corporate & Other                -€ 539            -€ 142            € 147            -€ 530
 Total                            € 26,447          € 25,316         € 23,165          € 24,028

12.      During the Class Period, Deutsche Bank’s common stock was dual-listed on the New

York Stock Exchange (“NYSE”) and the German Xetra Exchange (“Xetra”) under the symbols

“DB” and “DBK,” respectively.16




12
  Deutsche Bank, Annual Report 2019, March 20, 2020, p. 266; Deutsche Bank, Annual Report
2020, March 15, 2021, p. 7.
13
   Deutsche Bank, Annual Report 2016, March 20, 2017, p. 252 (available at https://investor-
relations.db.com/files/documents/annual-reports/Deutsche_Bank_Annual_Report_
2016.pdf?language_id=1).
14
     See Deutsche Bank, Annual Report 2019, March 20, 2020, p. 5.
15
  Deutsche Bank, Annual Report 2020, March 15, 2021, pp. 18, 19; Deutsche Bank, Annual
Report 2019, March 20, 2020, p. 19.
16
  Source: Bloomberg. See also Deutsche Bank AG, SEC Form 20-F for year-end 2019, filed
March 20, 2020, p. 96; Deutsche Bank AG, SEC Form 20-F for year-end 2016, filed March 20,
2017, p. 102.


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VI.       The Market for Deutsche Bank Stock Was Efficient Throughout the Class Period

13.       In this case, Lead Plaintiff has asserted the “fraud-on-the-market” presumption of

reliance. The “fraud-on-the-market” theory was first addressed by the U.S. Supreme Court in

Basic, Inc. v. Levinson:

          In an open and developed securities market, the price of a company’s stock is
          determined by the available material information regarding the company and its
          business…. Misleading statements will therefore defraud purchasers of stock even
          if the purchasers do not directly rely on the misstatements…. The causal
          connection between the defendants’ fraud and the plaintiffs’ purchase of stock in
          such a case is no less significant than in a case of direct reliance on
          misrepresentations.17

14.       Since Basic, academic economists have debated various forms of the efficient capital

market hypothesis (“ECMH”).18 In 2014, the Supreme Court clarified that Basic did not

“endorse ‘any particular theory of how quickly and completely publicly available information is

reflected in market price.’”19 On the contrary, the “fraud-on-the-market” theory is based “on the

fairly modest premise that ‘market professionals generally consider most publicly announced




17
     Basic, Inc. v. Levinson, 485 U.S. 224, 241–242 (1988).
18
   Generally speaking, academic economists consider there to be three forms of market
efficiency: “weak” form; “semi-strong” form; and “strong” form market efficiency. (See Elton,
E., M. Gruber, S. Brown and W. Goetzmann, Modern Portfolio Theory and Investment Analysis,
6th ed., John Wiley and Sons, Inc., 2007, p. 400.) In “fraud-on-the-market” litigation, several
courts reference the semi-strong form of efficiency, which implies that market prices incorporate
all publicly available information. In academic finance literature, this is referred to as
“informational efficiency.” This hypothesis has been empirically validated in numerous studies.
(See, e.g., Fama, Eugene F., 1970 “Efficient Capital Markets: A Review of Theory and Empirical
Work,” Journal of Finance, Vol. 25, Issue 2, pp. 383–417.) The ECMH also has stood up
against its critics; while anomalies have occurred in financial markets, they appear to be random
and do not allow for trading strategies that would create abnormal profits. (See, e.g., Fama,
Eugene F., 1998, “Market Efficiency, Long-term Returns, and Behavioral Finance,” Journal of
Financial Economics, Vol. 49, pp. 283–306; Malkiel, Burton G., 2003, “The Efficient Market
Hypothesis and Its Critics,” Journal of Economic Perspectives, Vol. 17, pp. 59–82.)
19
  Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2403 (2014) (“Halliburton II”),
quoting Basic, 485 U.S. at 248, n. 28.


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material statements about companies, thereby affecting stock market prices.’”20 Under this

theory, investors’ reliance on any public material misrepresentations and/or omissions may be

presumed for purposes of a Rule 10b-5 action since the effects of those misrepresentations and/or

omissions will already be impounded in the market price.21

15.       While the Supreme Court in Halliburton II stated that a market need only be “generally

efficient” to invoke the “fraud-on-the-market” presumption, it did not adopt any particular test of

general market efficiency.22 Accordingly, I consider in this Report tests of efficiency that courts

have commonly used in securities litigation for over 30 years. An empirical test of market

efficiency is to examine price responsiveness to the release of new and material information

about the company in question. If the security price responds quickly, the response supports a

conclusion that the market for the security is efficient. Additional tests include the examination

of certain market conditions that have been found to promote efficiency.

16.       Consistent with Basic and Halliburton II, the oft-cited Cammer v. Bloom decision

considered “efficient markets” to be “markets which are so active and followed that material

information disclosed by a company is expected to be reflected in the stock price.”23 The court

in Cammer identified five non-exhaustive factors that may be considered in determining whether

the market for a security is efficient.24 I understand that courts throughout the country assessing


20
     Id., quoting Basic, 485 U.S. at 246, n. 24.
21
  Basic, 485 U.S. at 241–242, 244, quoting Peil v. Speiser, 806 F.2d 1154, 1160–61 (3d Cir.
1986). See also, Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804 (2011).
22
     Halliburton II, 134 S. Ct. at 2404.
23
     Cammer v. Bloom, 711 F. Supp. 1264, 1273 n.11 (D.N.J. 1989).
24
   “The vast majority of courts have used the Cammer factors as ‘an analytical tool rather than as
a checklist.’ Indeed, not even the Cammer court considered the fifth factor necessary, stating
only that ‘it would be helpful to a plaintiff seeking to allege an efficient market . . . .’”
Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 83 (S.D.N.Y.



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the applicability of the “fraud-on-the-market” doctrine, including courts in the Second Circuit,

have widely adopted these five factors in evaluating market efficiency.25 In concluding that the

market for Deutsche Bank stock was efficient throughout the Class Period, I considered each of

the following five Cammer factors as applied to the stock:

         i.     whether the security trades at a large weekly volume;

         ii.    whether analysts follow and report on the security;

         iii.   whether the security has market makers and whether there is a potential
                for arbitrage activity;

         iv.    whether the company is eligible to file SEC Form S-3; and

         v.     whether empirical facts show a cause-and-effect relationship between the
                release of new, material information about the company in question and a
                response in the security’s price.26

17.      In addition to these five Cammer Factors, I have considered three other factors that have

also been considered by courts in evaluating market efficiency.27 These additional factors are:

         i.     the company’s market capitalization;

         ii.    the bid/ask spread on transactions in the security; and


2015). “Different contexts require courts to place greater importance on some factors than on
others. No other court has adopted a per se rule that any one factor is dispositive. At the same
time, courts have found market efficiency in the absence of an event study or where the event
study was not definitive.” Id., at 84.
25
  See, e.g., Unger v. Amedisys Inc., 401 F.3d 316, 323 (5th Cir. 2005); Bell v. Ascendant
Solutions, Inc., 422 F.3d 307, 313 n.10 (5th Cir. 2005); In re DVI, Inc. Sec. Litig., 249 F.R.D.
196, 214-217 (E.D. Pa. 2008), aff’d 659 F.2d 623 (3d Cir. 2011); In re Petrobras Securities, 862
F.3d 250, 276 (2d Cir. 2017) (finding that a test based on the Cammer Factors “has been
routinely applied by district courts considering the efficiency of equity markets”); Villella v.
Chem. & Mining Co. of Chile Inc., 333 F.R.D. 39 (S.D.N.Y. 2019) (“courts routinely consider
the following non-exhaustive list of factors, commonly referred to as the Cammer factors”);
Waggoner v. Barclays PLC, 875 F.3d 79, 98 (2d Cir. 2017) (noting that the Cammer factors are
tools for analyzing market efficiency).
26
     Cammer, 711 F. Supp. at 1285–1287.
27
  Unger, 401 F.3d 316 at 323, HN10; Bell, 422 F.3d 307 at 313, n10; Krogman v. Sterritt, 202
F.R.D. 467, 478 (N.D. Tex. 2001).


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          iii.   the security’s public float.

As demonstrated below in §VI.i.A–§VI.i.H, an analysis of these factors supports my conclusion

that the market for Deutsche Bank stock was informationally efficient throughout the Class

Period.

          i. Application of the Cammer Factors Demonstrates That the Market for Deutsche
             Bank Stock Was Efficient During the Class Period

                          A. Cammer Factor 1: Weekly Trading Volume

18.       A market for a security is liquid if investors can trade a large number of securities on

demand. Liquidity allows investors to buy and sell securities quickly when their assessments

about the value of a company have changed, facilitating the prompt price reaction to new,

material information that is characteristic of an efficient market. The large weekly trading

volume of Deutsche Bank stock during the Class Period indicates the presence of a liquid

market.

19.       According to the Cammer decision:

          [T]he existence of an actively traded market, as evidenced by a large weekly
          volume of stock trades, suggests there is an efficient market … because it implies
          significant investor interest in the company. Such interest, in turn, implies a
          likelihood that many investors are executing trades on the basis of newly available
          or disseminated corporate information.28

20.       Under Cammer, “turnover measured by average weekly trading of 2% or more of the

outstanding shares would justify a strong presumption that the market for the security is an

efficient one; 1% would justify a substantial presumption.”29 During the Class Period, the total

number of Deutsche Bank shares issued and outstanding ranged between 1.38 billion to 2.07




28
     Cammer, 711 F. Supp. at 1286.
29
     Cammer, 711 F. Supp. at 1293, quoting Bromberg.


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billion shares.30 The average weekly reported trading volume for Deutsche Bank shares on U.S.

and German exchanges, excluding weeks not entirely contained within the Class Period, was as

follows:31

                                                  U.S.            Germany              Total
      Average Weekly Trading
                                              25,988,812         79,517,318         105,506,130
         Volume in Shares
   Average Weekly Share Trading
 Volume as a % of Shares Outstanding             1.3%               3.9%               5.2%


Thus, the average weekly reported trading volume for Deutsche Bank stock exceeded the 2%

“strong presumption” of market efficiency set out by Cammer.

21.      The high trading volume observed during the Class Period demonstrates an actively

traded market for Deutsche Bank stock, showing significant investor interest in the Company and

implying a likelihood that many investors executed trades on the basis of newly available or

disseminated corporate information. These circumstances support my conclusion that Deutsche

Bank stock traded in an efficient market throughout the Class Period.

                      B. Cammer Factor 2: Number of Securities Analysts

22.      In demonstrating market efficiency, the Cammer decision states:

         [I]t would be persuasive to allege a significant number of securities analysts
         followed and reported on a company’s stock during the class period. The
         existence of such analysts would imply, for example, the [auditor’s] reports were
         closely reviewed by investment professionals, who would in turn make buy/sell
         recommendations to client investors. [] In this way the market price of the stock
         would be bid up or down to reflect the financial information contained in the
         [auditor’s] reports, as interpreted by the securities analysts.32




30
     Source: Bloomberg.
31
     See Exhibit 4 for a summary of weekly trading volume and shares outstanding.
32
     Cammer, 711 F. Supp. at 1286.


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23.          Securities analysts research and report to investors on the financial condition and

prospects of a covered company. Analysts are conduits to the market for information collected

from on-site visits, conference calls accompanying key company announcements, and other

contacts with senior management. Analysts can channel new information to the market rapidly

through their published reports, online reporting services, and alerts given to clients and other

employees of the same investment firm. Analysts thus facilitate the dissemination of new

information to investors and any corresponding price reaction in a company’s securities.

24.          During the Class Period, several well-known investment firms followed and published

research reports on Deutsche Bank that are publicly available from Refinitiv Eikon and

Bloomberg, including, but not limited to: Banco Santander; Barclays; Berenberg; BNP Paribas

Exane; BofA Global Research; Commerzbank Corporate Clients; Credit Suisse; DBRS

Morningstar; ESN/ equinet Bank (Germany); Financiële Diensten Amsterdam; Hammer

Partners; HSBC; JPMorgan; Keefe, Bruyette & Woods; Kepler Cheuvreux; Macquarie Research;

Morgan Stanley; Morningstar, Inc.; Natixis FICC Research; Pareto Securities AS; RBC Capital

Markets; Societe Generale; UBS Equities; UniCredit Research; and Zacks Equity Research.33

Over 1,200 analyst reports pertaining to the Company were issued during the Class Period.34

According to Bloomberg, AlphaValue/Baader Europe; Banco Sabadell; Bankhaus Lampe;

Bankhaus Metzler; Citi; Creative Global Investments; Day by Day; DZ Bank AG Research;

Equita SIM; Goldman Sachs; Grupo Santander; Hamburger Sparkasse; Independent Research


33
   See Exhibit 5. Exhibit 5B lists research reports on Deutsche Bank available from Refinitiv
Eikon and Bloomberg. These reports are only a subset of all reports pertaining to Deutsche Bank
published during the Class Period. Other databases, including restricted databases, may carry
research reports pertaining to Deutsche Bank that are not included in Exhibit 5B. Furthermore, it
is my understanding that certain analyst firms do not make all their reports available through
historical and/or public databases.
34
     Ibid.


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GmbH; ISS-EVA; M.M.Warburg Co.; Mainfirst; Mediobanca; NORD/LB; Oddo BHF; Redburn;

Spin-Off Research; and Wise-owl.com also followed and issued reports on the Company during

the Class Period.35 In addition, Autonomous Research LLP; Jefferies LLC; and PGIM Fixed

Income participated in at least one of the Company’s conference calls during the Class Period.36

25.    Investors also received information and analyses about Deutsche Bank during the Class

Period via media coverage, investor conferences, trade magazines, Company presentations and

SEC filings. Specifically, over 70,000 articles concerning Deutsche Bank appeared in major

domestic and international news media including: Agence France Presse; American Banker;

Benzinga.com; BILD; Bloomberg; Business Insider; Business Wire; CE NoticiasFinancieras

(Latin America); CNN; Daily Mail; DGAP Regulatory News (Germany); Die Welt; Dow Jones

Newswires; dpa International Service; Euromoney; Evening Standard; Frankfurter Allgemeine

Zeitung; Frankfurter Rundschau; Global Banking News; Handelsblatt; Il Sole; MarketLine;

Marketscreener.com; MarketWatch; Moody’s Investors Service; New York Law Journal; PR

Newswire; Regulatory News Service (U.K.); Reuters; RTT News (U.S.); Seeking Alpha; SNL

Financial; Süddeutsche Zeitung; The Associated Press; The Economic Times; The Independent;




35
  See Exhibit 5C, which lists analysts’ price targets and rating actions on selected event dates
during the Class Period as reported by Bloomberg.
36
  See, e.g., Thomson Reuters, StreetEvents, “DBK.DE – Q1 2017 Deutsche Bank AG Earnings
Call, Event Date/Time: April 27, 2017 / 12:00PM GMT,” April 27, 2017, 8:00 AM; Thomson
Reuters, StreetEvents, “DBK.DE – Q2 2018 Deutsche Bank AG Earnings Call, Event
Date/Time: July 27, 2018 / 12:00AM GMT,” July 27, 2018, 8:00 AM; Thomson Reuters,
StreetEvents, “DBK.DE – Q1 2019 Deutsche Bank AG Earnings Call, Event Date/Time: April
26, 2019 / 8:00AM GMT,” April 26, 2019, 4:00 AM; Thomson Reuters, StreetEvents, “DBK.DE
– Q4 2019 Deutsche Bank AG Earnings Call (Fixed Income Investor), Event Date/Time:
February 03, 2020 / 2:00PM GMT,” February 3, 2020, 9:00 AM.


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The Irish Times; The New York Times; The Telegraph (U.K.); The Times (U.K.); The Wall Street

Journal; and Theflyonthewall.com.37

26.       In addition, Deutsche Bank’s filings with the SEC were publicly available online during

the Class Period at no cost.38 Deutsche Bank’s SEC filings during the Class Period included its

consolidated quarterly and year-end financial statements and Company press releases.39 The

Company’s filings with the German securities regulators were also made available on the

“Company Register” (“Unternehmensregister” in German).40

27.       The coverage of Deutsche Bank by securities analysts and the amount of public reporting

on Deutsche Bank during the Class Period indicate that Company-specific news was widely

disseminated to investors in both the U.S. market and the German market, thereby facilitating the

incorporation of such information into the market price of Deutsche Bank stock in both markets.

Accordingly, this factor supports my conclusion that Deutsche Bank stock traded in an efficient

market throughout the Class Period.

        C. Cammer Factor 3: Number of Market Makers and the Potential for Arbitrage

28.       The third Cammer factor concerns the existence of market makers and arbitrageurs who

can react quickly to news and facilitate trading. As discussed below, the fact that trading in

Deutsche Bank stock was facilitated by numerous market makers, including a designated market

maker on the NYSE, and the fact that investors could have exploited arbitrage opportunities

during the Class Period, support a finding of market efficiency.




37
     Source: Dow Jones’ Factiva (www.factiva.com); Bloomberg; internet search.
38
     The SEC’s EDGAR website is located at http://www.sec.gov/edgar.shtml.
39
     Exhibit 6 includes a list of Deutsche Bank’s filings with the SEC during the Class Period.
40
     See https://www.unternehmensregister.de/ureg/index.html.


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Market Makers

29.          The NYSE, where Deutsche Bank was listed during the Class Period, uses a single

designated market-maker (“DMM”), formerly known as a specialist, to maintain a competitive

and efficient market for the securities assigned to that firm. DMMs are independent companies

in corporate or partnership structures that have obligations to “quote at the NBBO [National Best

Bid and Offer] a specified percentage of the time, and facilitate price discovery throughout the

day as well as at the open, close and in periods of significant imbalances and high volatility.”41, 42

DMMs “manage a physical auction to combine with an automated auction that includes

algorithmic quotes from other DMMs and market participants.”43 DMMs are also “required to

meet stringent NYSE depth and continuity standards.”44 DMMs thus enable investors to trade

promptly upon the arrival of new relevant information, allowing new information to be rapidly

reflected in security prices.

30.          With respect to the Xetra, market makers, known as “Designated Sponsors,” “ensure

trading is liquid and price quality is high.”45 Xetra describes its Designated Sponsor program as

follows:

             Designated Sponsors have to meet high quality standards as regards providing
             liquidity. For example, for quotes they have to abide by a maximum spread
             (difference between the bid and the sell price) and a minimum quote volume
             (number of units). Deutsche Börse compiles a rating on a quarterly basis of the
             Designated Sponsors to ensure their services are transparent. The rating includes


41
  “NBBO” is the national best bid and offer prices for a security available in all exchanges and
quoted by market makers at any given time.
42
     https://www.nyse.com/market-model.
43
     https://www.nyse.com/markets/nyse/membership.
44
     Ibid.
45
 https://www.deutsche-boerse-cash-market.com/dbcm-en/primary-market/being-public/Market-
Makers-17156.


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             each designated Sponsor’s average quote duration, the average spread and
             turnover.

             By constantly monitoring the markets, Designated Sponsors have an expert
             knowledge of both the shares whose liquidity they support and the sectors to
             which these shares belong. Depending on the issuer’s requirements and the
             Designated Sponsor’s service portfolio this expertise can then be brought to bear
             in additional services, such as research, investor relations and market reports.
             Through their work, Designated Sponsors can strengthen relationships with their
             key clients in the fields of corporate finance and trading and forge links to new
             investors and analysts. In this way, Designated Sponsors make an important
             contribution to enhancing liquidity in the shares in exchange trading and to
             positioning the company in the capital markets.46

31.          As is the case with all NYSE-listed equities, Deutsche Bank stock also traded on other

national securities markets as well as Alternative Trading Systems (“ATS”) in the U.S. during

the Class Period, including the NASDAQ. NASDAQ market participants are made up of

“market makers, order-entry firms and electronic communications networks (ECNs) that utilize

NASDAQ’s trading services.”47 NASDAQ defines a market maker as a “NASDAQ member

firm that buys and sells securities at prices it displays in NASDAQ for its own account (principal

trades) and for customer accounts (agency trades).”48 Market makers help to ensure a liquid

market for a particular stock; a market in which willing buyers can readily find willing sellers,

and vice versa. A market maker is obligated to “engage in a course of dealings for its own

account to assist in the maintenance, insofar as reasonably practicable, of fair and orderly

markets.”49 Market makers in a particular stock stand ready to provide stock price quotations

and facilitate trading by purchasing that stock from and selling to investors. They also buy and


46
     Ibid.
47
     https://www.nasdaqtrader.com/Trader.aspx?id=MarketMakerProcess.
48
     Ibid.
49
   Nasdaq Rule 4600, Requirements for Nasdaq Market Makers and Other Nasdaq Market Center
Participants (available at https://listingcenter.nasdaq.com/assets/rulebook/nasdaq/rules/new_
listing_rules.pdf).


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sell securities and may increase or reduce their inventory when pricing discrepancies exist.

Market makers display both buy and sell quotes in all securities in which they choose to make a

market and are subject to disciplinary action if they fail to honor their quoted prices.50

Accordingly, market efficiency can be facilitated by market maker involvement.

32.          I obtained NASDAQ market maker activity in Deutsche Bank stock from Bloomberg.

During the Class Period, there were more than 130 active market makers that traded Deutsche

Bank stock (data reported monthly from March 2017 to September 2020, inclusive). In addition,

many of the market makers that facilitated trading in Deutsche Bank stock handled a sizeable

volume of shares.51 The substantial number of market makers for Deutsche Bank stock supports

my conclusion that the market for the stock was efficient throughout the Class Period.

Arbitrage Activity

33.          Related to Cammer Factor 3 is the existence of arbitrageurs, sophisticated investors who

can act rapidly to take advantage of security pricing discrepancies. Arbitrageurs ensure that

market prices reflect public information—the fundamental hallmark of market efficiency.52 As I



50
     Ibid.
51
     See Exhibit 7 for the share volume by market maker for Deutsche Bank stock.
52
     Arbitrage has been defined as:
             … the process of earning riskless profits by taking advantage of differential
             pricing for the same physical asset or security. As a widely applied investment
             tactic, arbitrage typically entails the sale of a security at a relatively high price and
             the simultaneous purchase of the same security (or its functional equivalent) at a
             relatively low price.
             Arbitrage activity is a critical element of modern, efficient security markets.
             Because arbitrage profits are by definition riskless, all investors have an incentive
             to take advantage of them whenever they are discovered. Granted, some investors
             have greater resources and inclination to engage in arbitrage than others.
             However, it takes relatively few of these active investors to exploit arbitrage
             situations and, by their buying and selling actions, eliminate these profit



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demonstrate below, the level of short interest, the degree of institutional ownership, and the

tightness of bid/ask spreads suggest that arbitrage activity for Deutsche Bank stock was prevalent

during the Class Period.

34.      One way in which arbitrageurs can exploit mispricing in the market is by engaging in

short-sale transactions. A short sale is a transaction in which an investor sells a stock that he or

she does not own and then purchases that stock back in the future. If the price declines between

the time a security is sold short and the time it is purchased, the short seller realizes a gain.

Thus, short selling is an advantageous strategy if an arbitrageur expects a security’s price to

decline in the future.53 Furthermore, short sales allow arbitrageurs that currently do not own a

security to convey their opinions to the market, thereby helping the market to achieve a

consensus as to that security’s fair value given all publicly available information.

35.      Arbitrageurs were not constrained in their ability to short shares of Deutsche Bank stock.

During the Class Period, the average short interest as a percentage of float for the total U.S.

market was 3.92%.54 Similarly, economist Gene D’Avolio found that short interest was, on

average, 2.30% of shares outstanding for companies listed in the U.S. during the period April

2000 to September 2001.55 D’Avolio also estimated that as much as one-quarter of the U.S.

market capitalization was available as loan supply for short-selling and that only 7% of that




         opportunities. (Sharpe, William F., et al., Investments, Prentice Hall, 6th ed.,
         1999, p. 284.)
53
  Berk, Jonathan and Peter DeMarzo, Corporate Finance, Pearson Education, Inc., 1st ed., 2007,
Ch. 11, p. 339.
54
     Source: Bloomberg. (See Exhibit 8A.)
55
 D’Avolio, Gene, 2002, “The market for borrowing stock,” Journal of Financial Economics,
Vol. 66, pp. 271–306.


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capacity was utilized, thereby indicating that “[t]he aggregate market is easy to borrow.”56 In

comparison, the average short interest for Deutsche Bank stock during the Class Period was

2.69% of its public float.57, 58

36.       Institutional ownership is another indicator of arbitrage activity in that institutional

investors, such as pension funds, mutual funds and investment banks, are generally considered to

be sophisticated investors that have ready access to minute-to-minute financial news and to

online bulletins from analysts. Relative to most individual investors, institutional investors have

significantly greater resources with which to analyze public information pertinent to the

securities in which they invest. Institutional ownership implies that investment professionals

actively review company-specific financial information and, in turn, make buy/sell



56
     Id., p. 273.
57
   See Exhibit 8B for a summary of short interest for Deutsche Bank stock during the Class
Period. Public float is equal to shares outstanding less insider holdings. A comparison of short
interest to public float is relevant as public float represents the shares available to lend for short
sales.
58
   FINRA (the Financial Industry Regulatory Authority) was created in July 2007 from the
consolidation of the NASD and various regulatory functions of the NYSE. It is a non-
governmental organization that regulates member brokerage firms and exchange markets, and is
overseen by the SEC, the ultimate regulator of the U.S. securities industry, including FINRA.
(See https://www.finra.org/media-center/news-releases/2007/nasd-and-nyse-member-regulation-
combine-form-financial-industry.) Every firm and broker that sells securities to the public in the
United States must be licensed and registered by FINRA. (See https://www.finra.org/
registration-exams-ce/broker-dealers/become-new-finra-registered-broker-dealer-firm.) Pursuant
to FINRA Rule 4560:
          member firms are required to report total short positions in all customer and
          proprietary firm accounts in all equity securities to FINRA on a bi-monthly basis.
          These filings are made online using the Short Interest reporting system accessible
          via FINRA Gateway at firms.finra.org. … Member firms that have short positions
          in OTC equity securities and in securities listed on a national securities exchange,
          such as NASDAQ, NYSE, NYSE American, NYSE Arca, Cboe BZX, and IEX,
          must file a Short Position Report with FINRA via the Web-based system. (See
          https://www.finra.org/filing-reporting/short-interest/regulation-filing-applications-
          instructions.)


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recommendations to their firm and/or client investors. In this way, investors bid up or down the

market price of a security to reflect all publicly available information, as interpreted by

institutional investors. Moreover, because short sellers often borrow shares from institutions, a

high degree of institutional ownership relative to the level of short interest indicates a lack of

short-sale constraints, thereby facilitating market efficiency by enabling arbitrageurs to engage in

short selling.59

37.     According to reported quarter-end holdings data for Deutsche Bank stock provided by

Refinitiv Eikon, institutions held between 39% and 52% of the Company’s float, and between

559 and 730 institutional investors held Deutsche Bank stock, during the Class Period.60

Additionally, reported institutional holdings were, on average, over 16 times the level of short

interest in Deutsche Bank stock during the Class Period, indicating that short selling was not

constrained.61 Furthermore, according to the Company, 81% and 76% of its shares outstanding

was held by institutional shareholders (including banks) at year-end 2017 and year-end 2020,

respectively.62



59
  Asquith, Paul, Parag A. Pathak and Jay R. Ritter, 2005, “Short interest, institutional ownership
and stock returns,” Journal of Financial Economics, Vol. 78, pp. 243–76. Asquith, et al., find
that “[i]n a typical year, there are 5,500 domestic operating companies trading on the NYSE,
Amex, and the Nasdaq National Market System. For these stocks, … institutional ownership is
greater than short sales for 95% of stocks, suggesting that short-sale constraints are not
common.” (Id., p. 245.)
60
  Institutions that file Form 13F with the SEC report shares held as of the end of each calendar
quarter. See Exhibit 9 for a summary of reported institutional holdings for Deutsche Bank stock
during the Class Period.
61
  The average number of shares held by institutions for the quarters ended during the Class
Period was approximately 924.7 million, and the average short interest during the Class Period
for the U.S. and Germany combined was approximately 55.1 million shares.
62
   See Deutsche Bank, Annual Report 2017, March 16, 2018, p. XX;
https://web.archive.org/web/20210905201116/https://investor-relationsdb.com/share/
shareholder-structure.


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38.       Another indicator of the potential for arbitrage activity to correct market inefficiencies

(i.e., arbitrage opportunities) is the size of bid/ask spreads. Bid/ask spreads are a measure of

transaction costs and low transaction costs indicate that arbitrage opportunities can be exploited

readily. As shown in the following table, during the Class Period, the average and median

bid/ask spreads on Deutsche Bank stock were comparable to those of randomly sampled stocks

listed on the NYSE.63

                         Deutsche Bank Stock64                          NYSE Sample
                     Spread ($)         Spread (%)              Spread ($)       Spread (%)
 Average:              $0.01              0.10%                   $0.04             0.12%
 Median:               $0.01              0.10%                   $0.03             0.09%

39.       The fact that Deutsche Bank’s bid/ask spreads were comparable to those of other stocks

listed on the NYSE supports my conclusion that the Company’s stock traded in an efficient

market throughout the Class Period.

40.       In addition, as discussed further below, the high level of intraday price parity between

U.S. and German markets strongly demonstrates the involvement of informed investors and

arbitrageurs, in both markets, seeking to profit from intraday price discrepancies (i.e., the

fundamental facilitators of market efficiency).65




63
 The bid/ask spread analysis reported in Exhibit 10A and 10B compares the bid/ask spreads of
Deutsche Bank stock on each day during the Class Period to those of 100 randomly selected
NYSE-listed stocks.
64
  On the Xetra, the average and median bid/ask spreads for Deutsche Bank stock during the
Class Period were 0.26% and 0.24%, respectively. This compares to an average and median
spread of 1.78% and 1.52%, respectively, for a random sample of stocks listed on the Xetra.
(See Exhibit 10C and 10D.)
65
     See infra §VI.ii.


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                     D. Cammer Factor 4: Eligibility to File SEC Form S-3

41.      The Cammer court discussed the relationship between S-3 eligibility and efficiency,

noting that “[t]he issue is not whether [the company] recently completed a public offering, but

whether, if it did, it would enjoy the benefit of making abbreviated prospectus disclosure because

the SEC viewed it to be in an efficient market where documents ‘on file’ could be deemed to be

known by the investment community.”66

42.      Form S-3 is a simplified registration form that may be used by U.S. companies that meet

the following requirements:

         i.     it has been subject to the Securities Exchange Act of 1934 reporting
                requirements for more than one year;

         ii.    it has filed all required documents in a timely manner during the prior
                twelve months;

         iii.   it has not, since the last audited statements, failed to pay required
                dividends or sinking fund installments on preferred stock, or defaulted on
                debts or material leases; and

         iv.    it meets certain minimum stock requirements.67, 68

Companies eligible for filing Form S-3 are permitted to incorporate prior filings by reference

into current filings, and need not repeat such information since it is already widely publicly

available.




66
     Cammer, 711 F. Supp. at 1284 n.32.
67
     http://www.sec.gov/about/forms/forms-3.pdf.
68
  Prior to January 28, 2008, the SEC required a minimum of $75 million in stock be held by
non-affiliates. Effective January 28, 2008, a company with a non-affiliate public float of less
than $75 million is permitted to file Form S-3 with certain restrictions. (See Securities and
Exchange Commission, 17 CFR Parts 230 and 239 [Release No. 33-8878; File No. S7-10-07],
RIN 3235-AJ89, Revisions to the Eligibility Requirements for Primary Securities Offerings on
Forms S-3 and F-3.)


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43.       It is the SEC’s view that these Form S-3 eligible companies—those that disclose financial

information to the SEC and issue press releases to the public—have already disseminated

information to the marketplace, and, therefore, that the market operates efficiently for them.69

Certain courts have also stated that the ability to file Form S-3 is an indicator of market

efficiency:

          Corporations permitted to use the S-3 form are thus presumed to be actively
          traded and widely followed. See Harman, 122 F.R.D. at 525. Therefore, a
          company’s ability to file an S-3 Registration Statement points to market
          efficiency.70

44.       Form F-3 for foreign issuers in the U.S. is the functional equivalent to Form S-3 used by

U.S. issuers. The registrant requirements in Form F-3 are essentially identical to the Registrant

Requirements in Form S-3 and include that the company:71

          has been subject to the requirements of Section 12 or 15(d) of the Exchange Act
          and has filed all the material required to be filed pursuant to Sections 13, 14 or
          15(d) of the Exchange Act for a period of at least twelve calendar months
          immediately preceding the filing of the registration statement on this Form.

45.       Deutsche Bank filed Form F-3s before, during, and after the Class Period.72 That

Deutsche Bank was eligible to file Form F-3 throughout the Class Period supports my conclusion

that the market for its stock was efficient during that time.




69
     SEC Securities Act Release No. 6331 (August 18, 1981), pp. 5, 6.
70
     Krogman, 202 F.R.D. at 476.
71
  For Form F-3 eligibility requirements, see https://www.sec.gov/about/forms/formf-3.pdf. For
Form S-3 eligibility requirements, see https://www.sec.gov/about/forms/forms-3.pdf.
72
   Prior to the Class Period, Deutsche Bank filed Form F-3ASR (“Automatic shelf registration
statement of securities of well-known seasoned issuers”) on July 31, 2015. During the Class
Period, the Company filed Form F-3 on June 22, 2017 and July 30, 2018, and Form F-3/A on
August 14, 2018 and August 17, 2018. After the Class Period, the Company filed Form F-3ASR
on August 3, 2021. Source: Edgar Pro (pro.edgar-online.com).


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         E. Cammer Factor 5: Empirical Facts Showing a Cause-and-Effect Relationship
            Between Unexpected Corporate Events or Financial Releases and the Price
            Reaction of Deutsche Bank Stock

46.      Cammer Factor 5 relates to how a security’s price reacts to new, material information.

The Cammer court stated that:

         … one of the most convincing ways to demonstrate [market] efficiency would be
         to illustrate, over time, a cause and effect relationship between the company
         disclosures and resulting movements in stock price.73

47.      A test of market efficiency is to conduct what is known as an “event study” to examine

whether security prices respond to new, material information released to the market. Expert

economists commonly use an event study in securities litigation to correlate the disclosure of

new, material information to security price response.74 Event studies comprise numerous steps,

including: (i) the a priori definition and selection of events to study; (ii) identification of a study

period; (iii) estimation of a regression model to remove non-company-specific effects from the

security’s return; (iv) testing for statistical significance; and (v) interpretation of empirical




73
     Cammer, 711 F. Supp. at 1291.
74
  I note that “[c]ourts have rejected the idea that the fifth Cammer factor is necessary to
establish market efficiency.” W. Palm Beach Police Pension Fund v. DFC Glob. Corp., 2016
WL 4138613, at *12 (E.D. Pa. Aug. 4, 2016); see also Waggoner, 875 F.3d at 96-98 (“direct
evidence of price impact under Cammer 5,” such as an event study, “is not always necessary to
establish market efficiency and invoke the Basic presumption”).


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results.75 Academic research acknowledges that some variation in approaches to event studies is

permitted.76

48.       I performed a standard event study for Deutsche Bank stock trading in both the U.S. and

German markets to determine whether new, material corporate events or financial releases

promptly caused a measurable stock price reaction after accounting for contemporaneous market

and industry effects. As set forth in Exhibit 12, my event study demonstrates a cause-and-effect

relationship between new, material, Company-specific disclosures and resulting movements in

Deutsche Bank’s stock price during the Class Period. The regression analyses used in the event

study, from which I have estimated Deutsche Bank’s Company-specific returns (i.e., returns net

of market and industry effects), are described in Appendix A and Exhibit 11.77




75
     As described by Mitchell and Netter (1994):
          The execution of an event study is quite simple. It involves the identification of
          an event that causes investors to change their expectations about the value of a
          firm. The investigator compares a stock price movement contemporaneous with
          the event to the expected stock price movement if the event had not taken place.
          There are three basic steps in conducting an event study: (i) define the event
          window; (ii) calculate abnormal stock price performance around the event; and
          (iii) test for statistical significance of the abnormal stock price performance.
(See Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in
Securities Fraud Cases: Applications at the Securities and Exchange Commission,” The Business
Lawyer, Vol. 49, pp. 557, 558.)
76
   However, “[w]hile there is no unique structure, the analysis can be viewed as having seven
steps.” Those steps are event definition, selection criteria, normal and abnormal returns,
estimation procedure, testing procedure, empirical results, and interpretation and conclusion.
(See Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of
Financial Markets, Princeton University Press, 1997, pp. 150–152.)
77
   My estimated regression equations for the U.S. and German markets appear in Exhibits 11A
and 11D, respectively. Exhibits 11B and 11E show Deutsche Bank’s expected and residual
returns estimated from the regression models on each day of the Class Period for the U.S. and
German markets, respectively.


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49.     To determine which events to include in my analysis, I relied on my knowledge of a large

body of event-study literature that has evaluated what types of information affect stock prices.78

Specifically, I examined dates during the Class Period on which Deutsche Bank released

quarterly or year-end financial results. Such earnings-related announcements are an objective set

of events to examine, which has been shown in the academic finance literature to impact

securities’ prices.79 Exhibit 12 describes each of my selected event dates in detail and discusses

how the observed Company-specific price reaction in Deutsche Bank stock is consistent with

that expected in an efficient market.80 Exhibit 12 also shows that Deutsche Bank stock returns in

both the U.S. and German markets were quantitatively similar on each of the event dates

examined, thereby demonstrating the informational efficiency of both markets. Thus, for the

sake of brevity, the following discussion focuses on Deutsche Bank shares traded in the U.S.

50.     Out of the fourteen event dates I examined, seven (i.e., 50%) are associated with

statistically significant Company-specific returns at or above the 95% confidence level (two

statistically significant positive returns and five statistically significant negative returns).81 At

the 95% level of confidence, a statistically significant return is expected to occur 5% of the time.



78
  See, e.g., Fama, Eugene F., 1991, “Efficient Capital Markets: II,” The Journal of Finance, Vol.
46, No. 5, pp. 1575–1617.
79
 See, e.g., Ball, R., and P. Brown, 1968, “An Empirical Evaluation of Accounting Income
Numbers,” Journal of Accounting Research, pp. 159–78.
80
  For each event date, Exhibit 12 contains the associated stock price movement in both the U.S.
and German markets, both observed and net of market and industry effects, as well as the
confidence levels for each date.
81
   The statistically significant positive impact dates are: January 30, 2020 (fourth-quarter/full-
year 2020 earnings); and April 29, 2020 (first-quarter 2020 earnings). The statistically
significant negative impact dates are July 27, 2017 (second-quarter 2017 earnings); February 2,
2018 (fourth-quarter/full-year 2017 earnings); October 24, 2018 (third-quarter 2018 earnings);
October 30, 2019 (third-quarter 2019 earnings); and July 29, 2020 (second-quarter 2020
earnings).


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Thus, one should expect a random sample of fourteen days to contain 0.7 days with a return that

is statistically significant at the 95% confidence level. Given that my sample contains ten times

as many statistically significant dates as should be expected from a randomly selected fourteen-

day sample (at or above the 95% confidence level), my analysis confirms that Deutsche Bank’s

stock price typically reacted more strongly on event dates than on non-event dates.82

51.    Furthermore, although directionality may not be required to show general market

efficiency for purposes of a securities class action,83 my review of the news and analysts’ reports

demonstrates that the direction of the Company-specific returns observed on each event date

were consistent with that expected in an efficient market, thereby providing additional evidence

of efficiency. Specifically, the event dates on which predominantly positive Company-specific

news reached the market are associated with statistically significant positive returns. The event

dates on which predominantly negative Company-specific news reached the market are

associated with statistically significant negative returns. On the event dates associated with a

statistically insignificant Company-specific return,84 the Company’s financial results were


82
   Moreover, statistical tests commonly used to conduct hypothesis tests for differences between
proportions observed in categorical data strongly reject the null hypothesis that event dates and
non-event dates are equally likely to be associated with statistically significant Company-specific
returns (at or above the 95% confidence level). Specifically, both the “two-sample z-test” and
“Fisher’s exact test” reject the null hypothesis (p-value < 0.001) in favor of the alternative that
there exists a higher probability of observing statistically significant Company-specific returns
(at or above the 95% confidence level) on event dates during the Class Period. (See, e.g.,
Agresti, Alan, An Introduction to Categorical Data Analysis, John Wiley & Sons, Inc., 2nd Ed.,
2007, Ch. 2 Contingency Tables, pp. 21–64.)
83
  See, e.g., In re Petrobras Sec. Litig., 862 F.3d 250, 277 (2d Cir. 2017) (stating that district
court finding that directionality was not required was “within the range of permissible
decisions”); Wilson v. LSB Indus., 2018 U.S. Dist. LEXIS 138832, at *40 (S.D.N.Y. Aug. 13,
2018) (lack of directionality analysis did not impair usefulness of market efficiency report).
84
  The statistically insignificant impact dates are: April 27, 2017 (first-quarter 2017 earnings);
October 26, 2017 (third-quarter 2017 earnings); April 26, 2018 (first-quarter 2018 earnings); July
25, 2018 (second-quarter 2018 earnings); February 1, 2019 (fourth-quarter/full-year 2019



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generally in line with expectations, and/or conveyed a mix of offsetting positive and negative

information, such that the insignificant price reaction is consistent with that expected in an

efficient market. Thus, my event study finds that a strong cause-and-effect relationship existed

between the information disclosed on the event dates and resulting stock price movements.

52.       Based on the event study performed, I find that Deutsche Bank’s stock price reflected the

information disclosed to the market, and promptly responded to the disclosure of new, material,

unexpected information, thereby supporting my conclusion that the market for Deutsche Bank

stock was efficient throughout the Class Period.

          F. Additional Factor 1: Market Capitalization

53.       Courts have found that a large market capitalization (i.e., the total value of a company’s

equity) is an indicator of market efficiency because “there is a greater incentive for stock

purchasers to invest in more highly capitalized corporations.”85 I have discussed above the fact

that Deutsche Bank stock exhibited a high degree of institutional ownership and the Company

was widely followed by analysts. This is consistent with Deutsche Bank’s sizeable market

capitalization. During the Class Period, the Company’s market capitalization was as high as

$41.54 billion in December 2017, and as low as $11.33 billion in March 2020.86

54.       By comparison, at the beginning of the Class Period (i.e., March 14, 2017): (i) the median

market capitalization of the 2,392 companies listed on the NASDAQ was $350.2 million; (ii) the

median market capitalization of the 1,092 companies listed on the NYSE was $3.4 billion; (iii)

the median market capitalization of the 466 companies listed on the Xetra was $214.1 million;



earnings); and July 24, 2019 (second-quarter 2019 earnings). April 26, 2019 (first-quarter 2019
earnings) is statistically significant at the 91.0% confidence level.
85
     Krogman, 202 F.R.D. at 478.
86
     See Exhibit 13.


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and (iv) Deutsche Bank’s market capitalization was greater than 97.7%, 88.0%, and 96.1% of

NASDAQ-listed, NYSE-listed, and Xetra-listed stocks, respectively. Similarly, at the end of the

Class Period (i.e., September 18, 2020): (i) the median market capitalization of the 2,555

companies listed on the NASDAQ was $366.7 million; (ii) the median market capitalization of

the 1,295 companies listed on the NYSE was $2.8 billion; (iii) the median market capitalization

of the 476 companies listed on the Xetra was $267.0 million; and (iv) Deutsche Bank’s market

capitalization was greater than 95.6%, 82.9%, and 93.2% of NASDAQ-listed, NYSE-listed, and

Xetra-listed stocks, respectively. Accordingly, Deutsche Bank’s high market capitalization

during the Class Period weighs in favor of a finding of market efficiency.

          G. Additional Factor 2: Bid/Ask Spread

55.       The Krogman court described bid-ask spreads as “the difference between the price at

which investors are willing to buy the stock and the price at which current stockholders are

willing to sell their shares,” finding that “a large bid-ask spread is indicative of an inefficient

market, because it suggests that the stock is too expensive to trade.”87 As discussed above, the

average and median bid/ask spreads on Deutsche Bank stock during the Class Period were

comparable to those of randomly sampled stocks listed on the NYSE and the Xetra,88 thereby

supporting my conclusion that Deutsche Bank stock traded in an efficient market throughout the

Class Period.




87
     Krogman, 202 F.R.D. at 478. See also, Unger, 401 F.3d 316 at 323.
88
     Supra at ¶38.


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          H. Additional Factor 3: Public Float

56.       Courts have held that a large public float percentage (i.e., the percentage of a security

outstanding held by the public rather than insiders) may be an indicator of market efficiency.89

During the Class Period, on average, there were approximately 2.05 billion Deutsche Bank

shares outstanding, while insiders held approximately 2.9 million of these shares. Accordingly,

the public float of Deutsche Bank stock was over 99% of shares outstanding during the Class

Period. On a dollar basis, the public float of the Company was as high as $40.15 billion in

December 2017, and as low as $12.34 billion in March 2020.90 The fact that Deutsche Bank had

a large public float percentage further supports my conclusion that the Company’s stock traded

in an efficient market throughout the Class Period.

          ii. Comparison of U.S. and German Markets for Deutsche Bank Stock

57.       During the Class Period, Deutsche Bank’s stock was dual-listed on the NYSE and the

Deutsche Börse Xetra (“Xetra”) under the tickers “DB” and “DBK,” respectively.91 As detailed

below, strong evidence of price parity implies that the various trading centers for Deutsche Bank

stock in the U.S. and in Germany were equally efficient during the Class Period. Thus, a

demonstration of informational efficiency for the U.S. market directly evidences the

informational efficiency of the German market for Deutsche Bank stock, and vice versa.

58.       Xetra regular stock trading hours extend from 9:00 a.m. to 5:30 p.m. Central European

Time (“CET”), Monday through Friday except for holidays recognized by the Deutsche



89
  Unger, 401 F.3d at 323; Bell, 422 F.3d at 313 n.10; Krogman, 202 F.R.D. at 478; O’Neil, 165
F.R.D. at 503.
90
     See Exhibit 14.
91
  Source: Bloomberg. See also Deutsche Bank AG, SEC Form 20-F for year-end 2019, filed
March 20, 2020, p. 96; Deutsche Bank AG, SEC Form 20-F for year-end 2016, filed March 20,
2017, p. 102.


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Börse.92, 93 NYSE regular trading hours extend from 9:30 a.m. until 4:00 p.m. Eastern Time

(“ET”), Monday through Friday except for holidays recognized by U.S. equity markets.94 The

time difference between Germany and New York during most of the year is six hours (with

Germany being ahead), reduced to five hours during the periods: (1) from the second Sunday in

March to the last Sunday in March; and (2) from the last Sunday in October to the first Sunday in

November. Thus, during most of the calendar year, the overlap in trading hours between Xetra

and the NYSE (when both Xetra and NYSE are open) is two hours, between 9:30 a.m. and 11:30

a.m. ET. During the periods: (1) from the second Sunday in March to the last Sunday in March;

and (2) from the last Sunday in October to the first Sunday in November, the overlap in trading

is three hours, between 9:30 a.m. and 12:30 p.m. ET. All times and dates in this Report are for

the Eastern Time zone unless otherwise indicated.

59.       Xetra is the electronic trading platform of the Frankfurt Stock Exchange, the largest stock

exchange in Germany. Deutsche Börse AG, “an international exchange organisation and

innovative market infrastructure provider,” operates the Frankfurt Stock Exchange.95 Xetra

“is the reference market for exchange-based trading of German shares and ETFs,” as “[m]ore

than 90 per cent of overall share trading on all German exchanges takes place on the Xetra




92
     https://www.xetra.com/xetra-en/trading/trading-calendar-and-trading-hours.
93
  Central European Time (“CET”) is Coordinated Universal Time (“UTC”) + 1.00 hour. Central
European Summer Time (“CEST”) is UTC + 2.00 hours, and applies from the last Sunday of
March to the last Sunday of October. (See https://www.timeanddate.com/time/change/.)
94
  For the Eastern Time zone, Eastern Standard Time (“EST”) is UTC – 5.00 hours. Eastern
Daylight Time (“EDT”) is UTC – 4.00 hours, and extends from the second Sunday in March to
the first Sunday in November. (Ibid.)
95
   https://deutsche-boerse.com/dbg-en/our-company/deutsche-boerse-group. See also
https://www.boerse-frankfurt.de/en/know-how/about/organization-of-the-stock-exchange.


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trading venue. Xetra holds a European market share of more than 70 per cent of trading in

DAX®-listed stocks.”96 According to Xetra:

          [t]he price fixing on Xetra is conducted according to clearly defined and
          transparent rules. Trading participants who decide to trade through Xetra profit
          from highest liquidity and the fair prices of a major market place. Xetra is a truly
          international trading venue which shows in the structure of trading partic[i]pants.
          From the about 150 trading participants around 50 percent are located outside of
          Germany. In particular, institutional investors value the transparency and speed
          that Xetra provides, while still keeping trading costs low – but so do private
          investors.97

As of September 18, 2020, there were 1,130 equities listed on Xetra and the total quoted market

value was $2.11 trillion.98

60.       The “proper conduct” of Germany’s stock exchanges, including Xetra, is monitored by

the “Trading Surveillance Office” (“TSO”), an independent supervisory body. The TSO’s “aim

is to protect the investor and to gain confidence in the market mechanisms.” The TSO

“analy[z]es irregularities and notifies the [exchange] supervisory authorities and the management

boards of the exchanges of its findings.”99 The exchange supervisory authorities, to whom the

TSO reports, “are administered by the federal states (Länder). The exchange supervisory

authorities are vested with the powers needed to investigate stock exchange law matters and to

issue orders intended to enforce proper exchange trading and the proper settlement of exchange

transactions to stock exchanges and trading participants.”100 The “Company Register” is the


96
     https://www.xetra.com/xetra-en/trading/market-quality/reference-market.
97
     https://www.xetra.com/xetra-en/trading.
98
     Source: Bloomberg (includes securities listed on Xetra and Xetra ETF).
99
  https://www.deutsche-boerse.com/dbg-en/our-company/frankfurt-stock-exchange/supervisory-
bodies.
100
  https://www.bafin.de/EN/Aufsicht/BoersenMaerkte/Emittentenleitfaden/Modul1/
Kapitel2/Kapitel2_3/kapitel2_3_node_en.html. See also https://www.bafin.de/EN/DieBaFin/
AufgabenGeschichte/Wertpapieraufsicht/wertpapieraufsicht_node_en.html.


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electronic filing system for “all important information required to be published about

companies,”101 including a Company’s annual report, which is required by German law.102

61.       The NYSE is a leading global cash equity exchange, listing common stocks, preferred

stocks and warrants, as well as structured products, such as capital securities and mandatory

convertible securities.103 The NYSE was the listing market for 2,297 and 2,188 public

companies in March 2017 and September 2020, respectively.104 The total market capitalization

of all companies listed on the NYSE as of September 2020 was $19.6 trillion,105 and the median

and mean market capitalization of companies listed on the NYSE was $2.8 billion and $15.4

billion, respectively.106 The NYSE is a “national securities exchange” registered with the SEC

under §6 of the Securities Exchange Act of 1934,107 and “the [NYSE’s] current form of listing

agreement generally seeks to achieve the following objectives:”108

          x   Ensure timely disclosure of information that may affect security values or
              influence investment decisions, and in which shareholders, the public and the
              Exchange have a warrantable interest.

          x   Ensure frequent, regular and timely publication of financial reports prepared
              in accordance with generally accepted accounting principles.



101
      https://www.unternehmensregister.de/ureg/?submitaction=language&language=en.
102
  https://www.bafin.de/EN/Aufsicht/BoersenMaerkte/Emittentenleitfaden/Modul1/Kapitel4/
Kapitel4_3/Kapitel4_3_1/kapitel4_3_1_node.html.
103
      Intercontinental Exchange, Inc., Form 10-K for 2017, filed February 7, 2018, p. 8.
104
   World Federation of Exchanges, Equity Market Highlights for March 2017 and September
2020 (available at https://statistics.world-exchanges.org/PredefinedReport).
105
      Ibid.
106
  Source: Bloomberg (includes companies whose primary listing of common stock is on the
NYSE, excluding companies with no data available).
107
      https://www.sec.gov/divisions/marketreg/mrexchanges.shtml.
108
  https://nyseguide.srorules.com/listed-company-manual. (Select: Section 2 - Disclosure and
Reporting Material Information.)


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          x   Provide the Exchange with timely information to enable it to efficiently
              perform its function of maintaining an orderly market for the company’s
              securities, to enable it to maintain necessary records and to allow it the
              opportunity to make comment as to certain matters before they become
              established facts.

          x   Preclude certain business practices not generally considered sound.109

62.       A security’s listing on a national securities exchange such as the NYSE means that

financial information about that company is readily available to investors, at a minimum, through

the company’s SEC filings, and that investors have access to trading prices and volumes

throughout the trading day.110 Rules of the U. S. National Market System (“NMS”) also require

that investor orders in NYSE-listed securities be filled at the best price that can be executed

immediately, even if that price is available in a different market.111 Because listing on a national

securities exchange brings together many thousands (or millions) of investors, trading prices

reflect a consensus opinion as to a security’s value.



109
      Ibid.
110
      According to the Consolidated Tape Association’s website (https://www.ctaplan.com/index):
          The Consolidated Tape Association (CTA) oversees the dissemination of real-
          time trade and quote information in New York Stock Exchange LLC (Network A)
          and Bats, NYSE Arca, NYSE American and other regional exchange (Network B)
          listed securities. Since the late 1970s, all SEC-registered exchanges and market
          centers that trade Network A or Network B securities send their trades and quotes
          to a central consolidator where the Consolidated Tape System (CTS) and
          Consolidated Quote System (CQS) data streams are produced and distributed
          worldwide.
          The current Participants include the Cboe BYX Exchange, Inc., Cboe BZX
          Exchange, Inc., Cboe EDGA Exchange, Inc., Cboe EDGX Exchange, Inc., Cboe
          Exchange, Inc., Financial Industry Regulatory Authority, Inc., Investors Exchange
          LLC, Long-Term Stock Exchange, Inc., MEMX LLC, MIAX Pearl, LLC, Nasdaq
          BX, Inc., Nasdaq ISE, LLC, Nasdaq PHLX LLC, Nasdaq Stock Market LLC,
          New York Stock Exchange LLC, NYSE American LLC, NYSE Arca, Inc., NYSE
          Chicago, Inc., and NYSE National, Inc. (collectively, the “Participants”).
111
  Bodie, Zvi, Alex Kane, and Alan J. Marcus, Investments, McGraw-Hill/Irwin, 7th ed., 2008,
Ch. 3, pp. 73, 74.


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63.      The market for securities trading on the NYSE is widely recognized as efficient. At least

one authority has commented that:

         at a minimum, there should be a presumption—probably conditional for class
         determination—that certain markets are developed and efficient for virtually all
         the securities traded there: the New York and American Stock Exchanges, the
         Chicago Board Options Exchange and the NASDAQ National Market System.112

Similarly, the court in Cammer stated:

         some may concur with [Defendant’s] suggestion … that companies listed on
         national stock exchanges or companies entitled to issue new securities using SEC
         Form S-3 would almost by definition involve stocks trading in an “open and
         developed” market.113

64.      The fact that Deutsche Bank stock was listed and traded on two major exchanges, the

NYSE and Xetra, supports my conclusion that the market for its stock was efficient throughout

the Class Period.

65.      Furthermore, the degree of relative market efficiency between the U.S. and German

markets for Deutsche Bank stock is easily observed by examining contemporaneous transaction

prices converted to U.S. dollars. A high level of intraday price parity between U.S. and German

markets strongly demonstrates the involvement of informed investors and arbitrageurs (i.e., the

fundamental facilitators of market efficiency) seeking to profit from intraday price discrepancies.

As shown in the following graph, Deutsche Bank’s stock price in Germany traded in lockstep

with the U.S. market throughout the Class Period on a currency-adjusted basis.114 Indeed, the

contemporaneous daily stock returns of Deutsche Bank’s U.S.- and German-traded shares




112
   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, Section 8.6 (Aug. 1988)
(quoted in Cammer, 711 F. Supp at 1292).
113
      Cammer, 711 F. Supp. at 1276–77.
114
  During the Class Period, the U.S. and German markets were simultaneously open from 9:30
AM to 11:30 AM ET.


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exhibited a 99.9% correlation with each other.115




66.    As is evident from the intraday prices observed across the U.S. and German trading

centers, cross-market arbitrage was efficient enough to ensure price parity throughout each day,

thereby implying that the markets for Deutsche Bank stock in the U.S. and in Germany were

equally efficient during the Class Period. Thus, my demonstration of informational efficiency

for the U.S. market directly evidences the informational efficiency of the German market for

Deutsche Bank stock, and vice versa.




115
   Source: Bloomberg. Prices on the NYSE and Xetra are compared at 9:30 AM ET on each
day. DBK’s Euro price is converted into US dollars using the exchange rate at 9:30 AM ET on
each day.


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67.    In sum, my analyses of the efficiency factors set forth above, as well as the high degree

of price parity in both the U.S. and German markets, strongly demonstrate that the market for

Deutsche Bank stock was informationally efficient in both the U.S. and Germany during the

Class Period.

VII.   Damages Can Be Measured on a Class-Wide Basis and in a Manner Consistent with
       Plaintiffs’ Theory of Liability

68.    I have not, as of yet, been asked to provide an opinion on loss causation or to calculate

Class-wide damages in this matter. I have been asked, however, to opine on whether damages

under Section 10(b) can be calculated on a Class-wide basis for all purchases and/or acquisitions

of Deutsche Bank stock during the Class Period in a manner consistent with Plaintiffs’ theory of

liability. In what follows, I set forth the general economic framework for quantifying per-

security damages on a Class-wide basis, which reflects methodologies I would propose to use if

asked to calculate damages in this matter. Although damages, if any, for each individual Class

member may vary, the methodologies for calculating damages described below would be

commonly applicable to each Class member in this matter.

69.    An investor incurs damages when a security is acquired at a price that is inflated as a

result of false or misleading statements or omissions, provided that a later corrective disclosure

and/or the materialization of a concealed risk causes the price of that security to decline.116 Price

inflation in a security can be created by material misrepresentations and/or omissions on or

before the date of purchase, which remain uncorrected in whole or in part at the time of

purchase. Material misrepresentations and/or omissions may also “prevent[] preexisting


116
   See, e.g., Gold, Kevin L., Eric Korman and Ahmer Nabi, “Federal Securities Acts and Areas
of Expert Analysis,” Litigation Services Handbook, The Role of the Financial Expert, 6th ed.,
Ed. Roman L. Weil, Daniel G. Lentz, and Elizabeth A. Evans, John Wiley & Sons, Inc., 2017,
Ch. 27, pp. 12–17.


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inflation in a stock price from dissipating,” thereby “caus[ing] inflation not simply by adding it

to a stock, but by maintaining it.”117 Damages for purchases during the Class Period may be

mitigated if the security is sold before the price inflation is fully dissipated, given that the

investor receives the benefit of any inflation remaining at the date of sale.118

70.       Price inflation may be measured on a Class-wide basis by analyzing the change in a

security’s price caused by a corrective disclosure and/or the materialization of a concealed

risk.119 The decline in a security’s price in response to such events reflects the dissipation of

price inflation created by earlier misrepresentations and/or omissions. An event study can be

used to isolate Company-specific price movement caused by the revelation of true facts related to

the alleged fraud from price movement caused by other factors. Other factors can include

changes in market and industry conditions or the dissemination of material, non-fraud-related,

Company-specific information. This event study analysis applies to all Class members,

regardless of the extent to which the price movement is due to corrective disclosures and/or the

materialization of a concealed risk. After isolating the price impact of the alleged misstatements




117
   In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 258 (2d Cir. 2016) (emphasis in original).
Courts have further explained that “‘[t]here is no reason to draw any legal distinction between
fraudulent statements that wrongfully prolong the presence of inflation in a stock price and
fraudulent statements that initially introduce that inflation.’” Arkansas Teacher Ret. Sys. v.
Goldman Sachs Grp., Inc., ---F.3d---, 2020 WL 1682772, at *10 (2d Cir. Apr. 7, 2020) (quoting
In re Vivendi, S.A. Sec. Litig., 838 F.3d at 259).
118
   This general economic framework for calculating recoverable damages for a class of
shareholders is often referred to as the “out-of-pocket measure of damages.” (Supra note 116.)
119
      Supra note 116.


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and omissions, one can estimate the price inflation due to the alleged fraud for each day during

the Class Period, and on a Class-wide basis for each member of the Class.120, 121

71.    Once the daily levels of price inflation have been calculated throughout the Class Period,

a Class member’s actual trading activity in the security can be used to mechanically calculate

damages on an individual basis. For each Class member, damages incurred on a security

acquired during the Class Period and retained through the end of the Class Period are equal to the


120
    “Price impact can be shown either by an increase in price following a fraudulent public
statement or a decrease in price following a revelation of the fraud.” Erica P. John Fund, Inc. v.
Halliburton Co., 718 F.3d 423, 434 (5th Cir. 2013), vacated and remanded on other grounds,
Halliburton II, 134 S. Ct. 2398 (U.S. 2014).
121
  In re Pfizer, Inc. Sec. Litig., 819 F.3d 642, 649 (2d Cir. 2016) (internal citations omitted,
emphasis in original):
       Performing an event study can thus help an expert to determine at least two
       things. First, assuming that the defendant company fraudulently concealed
       information, the event study shows how much money the fraud caused
       shareholders to lose. Identifying residual returns on days when allegedly
       concealed information reached the market indicates that the supposedly withheld
       information caused the company’s stock price to change. If the release of
       allegedly withheld information causes a stock price decrease, shareholders who
       purchased the defendant company’s stock after the alleged fraud but before the
       revelation may have paid a higher price than they would have but for the
       defendant’s fraudulent conduct — known as an “artificial[ly] inflat[ed]” price.
       Second, the event study helps the expert “calculat[e] what the price of [the
       defendant company’s] security would have been had the alleged wrongful conduct
       not occurred,” by estimating the amount of artificial inflation in the company’s
       stock price over time. Just as the existence of a residual return on a day when the
       market discovers allegedly concealed information shows that the company’s stock
       price was artificially inflated, the size of the residual return on such a day
       provides evidence of the amount by which concealing that particular information
       inflated the defendant company’s stock. As a result, if concealed information
       reached the market through multiple corrective disclosures, the sum of the
       residual returns associated with those disclosures provides evidence about the
       amount of artificial inflation in the company’s stock after the fraud but before
       those corrections. Thus, an expert using an event study can estimate the amount
       of artificial inflation in the defendant company’s stock price when shareholders
       purchased their shares, which is equivalent to estimating the difference between
       what those investors should have paid for the shares butǦfor the alleged fraud, and
       what they actually paid.


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amount of inflation at purchase. For a security acquired during the Class Period and sold later in

the Class Period, damages are the price inflation at purchase minus the price inflation at sale.

Given my understanding of the Supreme Court’s ruling in Dura,122 a security purchased during

the Class Period and sold before the first corrective disclosure and/or the materialization of a

concealed risk is ineligible for damages. Similarly, a security that is both purchased and sold

between two consecutive disclosures of corrective information is ineligible for damages.

72.       Finally, per-security damages should also incorporate the so-called “90-day lookback”

provision of the Private Securities Litigation Reform Act of 1995,123 which also can be applied

on a Class-wide basis. This provision applies such that losses on securities purchased during the

Class Period and held as of the close of the 90-day period subsequent to the Class Period (the

“90-Day Lookback Period”) cannot exceed the difference between the purchase price paid for

the security and the average price of the security during the 90-Day Lookback Period. Losses on

securities purchased during the Class Period and sold during the 90-Day Lookback Period cannot

exceed the difference between the purchase price paid for the security and the rolling average

price of the security during the portion of the 90-Day Lookback Period elapsed as of the date of

sale. Section 10(b) damages incurred by purchasers of Deutsche Bank stock during the Class

Period can be calculated on a Class-wide basis in this manner.

VIII. Conclusion

73.       In summary, the market for Deutsche Bank stock was efficient throughout the Class

Period. In addition, damages can be calculated for investors who purchased or otherwise




122
      Dura Pharms., Inc. v. Broudo, 544 U.S. 336 (2005) (“Dura”).
123
      15 U.S.C. § 78u–4(e).


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acquired Deutsche Bank stock during the Class Period using a method that is common to the

Class and in a manner consistent wilh Plaintiffs ' theory of li ability.



74.     My work in thi s matter is ongoing. My opinions in this Report are subject to refinement

or revision based on analysis of new information which may be provided to me, including the

opinions of other experts, receipt of additional documents and data, and based on further analysis

of the data and materials described herein. J und erstand that discovery is ongoing. Should

additional relevant infonnation be provided to me, my opinions may be supplemented at a later

date.




Executed on July 18, 2022, at Redwood City, California.




Zachary Nye, PhD.




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Appendix A: Description of Regression Analyses

75.    For the purpose of examining market efficiency, I have conducted an event study to

determine whether new, material, Company-specific information promptly caused a measurable

stock price reaction after accounting for contemporaneous market and industry effects. In an

effort to isolate Company-specific effects that influenced Deutsche Bank’s stock price during the

Class Period, I performed regression analyses to measure the relationship between Deutsche

Bank stock returns and 1) changes in market-wide factors that would be expected to impact all

stocks; and 2) changes in industry-wide factors that would be expected to impact stocks in the

“Diversified Banks” industry. By measuring how Deutsche Bank’s stock returns move in

relation to an overall market index, and an industry index, I can also measure how it responds to

Company-specific news.

76.    For each event date, the “Control Period” used to estimate the regression equation is the

calendar year immediately preceding the impact date (i.e., the first trading day on which the

information disclosed could have impacted the market price).124, 125 To be consistent with the



124
   Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in Securities
Fraud Cases: Applications at the Securities and Exchange Commission,” The Business Lawyer,
Vol. 49, pp. 545–90 at p. 568:
       The market model is estimated with regression analysis. The estimation period
       for this market model equation typically ranges from 100 to 300 trading days
       preceding the event under study.
125
   MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
Literature, Vol. 35, pp. 13–39 at p. 15:
       Given the selection of a normal performance model, the estimation window needs
       to be defined. The most common choice, when feasible, is using the period prior
       to the event window for the estimation window. For example, in an event study
       using daily data and the market model, the market model parameters could be
       estimated over the 120 days prior to the event. Generally the event period itself is
       not included in the estimation period to prevent the event from influencing the
       normal performance model parameter estimates.


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academic literature, each of my Control Periods excludes the events under study.126, 127 Further,

in order to mitigate the disclosure of the alleged fraud from contaminating my normal return

measure, and in turn my estimate of abnormal return volatility, the Control Period excludes the

corrective events alleged in the Complaint.128, 129, 130

77.       The market index used is the MSCI World Index, which “is a broad global equity index

that represents large and mid-cap equity performance across [] 23 developed markets countries.

It covers approximately 85% of the free float-adjusted market capitalization in each country.”131

This broad-based market index is commonly used by economists as a representation of the


126
      See Exhibit 12 for a list of all the events under study.
127
   See, e.g., MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of
Economic Literature, Vol. 35, pp. 13–39 at p. 15; and Campbell, John Y., Andrew W. Lo, and A.
Craig MacKinlay, The Econometrics of Financial Markets, Princeton University Press, 1997, p.
152.
128
      Complaint, ¶¶178–204.
129
   MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
Literature, Vol. 35, pp. 13–39 at p. 15:
          Appraisal of the event’s impact requires a measure of the abnormal return. The
          abnormal return is the actual ex post return of the security over the event window
          minus the normal return of the firm over the event window. The normal return is
          defined as the expected return without conditioning on the event taking place.
130
  Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of Financial
Markets, Princeton University Press, 1997, p. 158:
          It is typical for the estimation window and the event window not to overlap. This
          design provides estimators for the parameters of the normal return model which
          are not influenced by the event-related returns. Including the event window in the
          estimation of the normal model parameters could lead to the event returns having
          a large influence on the normal return measure. In this situation both the normal
          returns and the abnormal returns would reflect the impact of the event. This
          would be problematic since the methodology is built around the assumption that
          the event impact is captured by the abnormal returns.
131
   https://www.msci.com/our-solutions/indexes/developed-markets. The “developed markets”
countries include: Australia, Austria, Belgium, Canada, Denmark, Finland, France, Germany,
Hong Kong, Ireland, Israel, Italy, Japan, Netherlands, New Zealand, Norway, Portugal,
Singapore, Spain, Sweden, Switzerland, the United Kingdom and the U.S. (See ibid.)


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overall market, which is theoretically required by the Capital Asset Pricing Model (“CAPM”),

for which famed financial economist, William Sharpe, won a Nobel Prize.132

78.       In addition to market-wide factors, my regression analyses also measure the relationship

between Deutsche Bank stock returns and changes in industry-wide factors that would be

expected to impact all stocks in Deutsche Bank’s particular industry. In constructing the

industry index, I considered: (i) companies identified as industry competitors in analyst reports

published during the Class Period; (ii) companies identified by the Bloomberg Industry

Classification System (BICS) as operating in the “Diversified Banks” industry; and (iii)

companies identified as peers in Deutsche Bank’ SEC filings issued during the Class Period.

The industry index used in this analysis is comprised of the companies Deutsche Bank

considered to be its “Peer Group” (i.e., “generally comparable business activities, comparable

size and international presence”), as identified in its SEC filings throughout the Class

Period.133, 134




132
   The Sveriges Riksbank Prize in Economic Sciences in Memory of Alfred Nobel 1990, Press
Release (available at http://www.nobelprize.org/nobel_prizes/economic-
sciences/laureates/1990/press.html):
          An important result is that the expected return on an asset is determined by the
          beta coefficient on the asset, which also measures the covariance between the
          return on the asset and the return on the market portfolio. … The CAPM is
          considered the backbone of modern price theory for financial markets. It is also
          widely used in empirical analysis, so that the abundance of financial statistical
          data can be utilized systematically and efficiently. … Along with Markowitz’
          portfolio model, the CAPM has also become the framework in textbooks on
          financial economics throughout the world.
133
    Deutsche Bank AG, SEC Form 20-F, filed March 20, 2020, pp. 169, 170. See also Deutsche
Bank AG, SEC Form 20-F, filed March 15, 2021, p. 178; Deutsche Bank AG, SEC Form 20-F,
filed March 25, 2019, p. 163.
134
      See Exhibits 11C and 11F for the list of companies included in the industry index.


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79.    My estimated regression equations for the U.S. and German markets appear in Exhibits

11A and 11D, respectively. As indicated by the t-statistics corresponding to each index,

Deutsche Bank stock returns exhibited a statistically significant association with both market

index returns and residual industry index returns during the Class Period.135 Exhibits 11B (U.S.)

and 11E (Germany) show Deutsche Bank’s expected (i.e., “predicted”) and residual (i.e.,

“Company-specific”) returns estimated from the regression models on each day of the Class

Period. Expected returns are those changes in stock prices due to market and industry factors

that change the values of all stocks in an economy (market effects) or in a particular industry

(industry effects). Deutsche Bank’s residual returns are a measure of the change in the stock

price due to Company-specific events and are calculated as the difference between Deutsche

Bank’s actual return and its expected return.136




135
   Residual industry index returns are the portions of daily returns on the industry index which
are not explained by market effects, as determined from a regression of industry index returns on
market index returns during the Control Period. The use of residual industry index returns rather
than raw returns eliminates any statistical problems due to multicollinearity. (See Greene,
William H., Econometric Analysis, Prentice Hall, 2012, 7th ed., Ch. 4, p. 89.)
136
   Exhibits 11B (U.S.) and 11E (Germany) also provide the confidence level for each day of the
Class Period, which measures the statistical significance of Deutsche Bank’s residual returns.
The confidence level associated with a given Company-specific return is measured as one minus
the “p-value” of that return, where the p-value represents the conditional probability of observing
a Company-specific return. Thus, consistent with the standard frequently employed by social
scientists, statistical significance in the context of securities litigation merely indicates that a
given company-specific return is a relatively rare occurrence. (See Kaye, David H. and David A.
Freedman, “Reference Guide on Statistics,” in Federal Judicial Center, Reference Manual on
Scientific Evidence, National Academies Press, 2011, 3rd ed., pp. 250–252: “Statistical
significance is determined by comparing a p [i.e., the probability of getting data as extreme as, or
more extreme than, the actual data—given that the null hypothesis is true] to a preset value,
called the significance level.” Thus, statistical significance “is merely a label for a certain kind
of p-value.”)


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Exhibit 1




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Exhibit 2

Deutsche Bank AG
Document List

From Counsel

                                           Material                                                     Document Date
Second Amended Class Action Complaint for Violations of the Federal Securities Laws                        3/1/2021
Order on Defendants' Motion to Dismiss Second Amended Complaint                                           5/18/2022
Opinion and Order on Defendants' Motion to Dismiss Second Amended Complaint                               6/13/2022
Third Amended Class Action Complaint for Violations of the Federal Securities Laws                        6/30/2022

Obtained by Stanford Consulting Group, Inc.

                                               Material                                                 Document Date      Source
Academic journal articles, reference materials (e.g., books, web sites, and news articles), and court
filings                                                                                                     Various        See footnotes to Nye Report
Analyst reports                                                                                         3/2017 - 9/2020    Refinitiv Eikon; Bloomberg
Analyst ratings and price target data                                                                   3/2017 - 9/2020    Bloomberg
SEC filings for Deutsche Bank                                                                           3/2017 - 9/2020    Edgar Pro
News articles and conference call transcripts for Deutsche Bank                                         3/2017 - 9/2020    Factiva; Bloomberg; Internet
Daily closing bid & ask prices for Deutsche Bank stock and for sample companies on the NYSE and
Xetra exchanges                                                                                          3/2017 - 9/2020   Bloomberg
Total returns & market capitalization for comparables and/or competitors of Deutsche Bank               3/2016 - 12/2020   Bloomberg
Price, volume, dividend, shares outstanding data for Deutsche Bank                                      3/2016 - 12/2020   Bloomberg
Quarterly institutional and insider holdings data for Deutsche Bank                                       Q4-16 - Q4-20    Refinitiv Eikon; Bloomberg
Daily index levels for MXWO Index                                                                       3/2016 - 12/2020   Bloomberg
Short interest data for Deutsche Bank                                                                    3/2017 - 9/2020   Bloomberg
U.S. market short interest as a percentage of float data                                                3/2017 - 9/2020    Bloomberg
NASDAQ market maker activity data for Deutsche Bank                                                      3/2017 - 9/2020   Bloomberg
Market capitalization data for NYSE, NASDAQ, and Xetra listed companies                                  3/2017 - 9/2020   Bloomberg
Intraday prices for Deutsche Bank stock on the NYSE and Xetra exchanges                                  3/2017 - 9/2020   Bloomberg




                                                                                                                                                          Page 1 of 1
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Exhibit 3A

           Volume                       Deutsche Bank AG (US)
           Closing Price
                                            Closing Price and Volume
                                               Source: Bloomberg
  $25.00                                                                                 35,000,000




                                                                                         30,000,000

  $20.00


                                                                                         25,000,000



  $15.00
                                                                                         20,000,000




                                                                                         15,000,000
  $10.00



                                                                                         10,000,000


   $5.00

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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    3/14/2017        5,656,779      $17.20           -$0.32     -1.83%
    3/15/2017        6,720,703      $17.20           $0.01       0.05%
    3/16/2017        6,986,587      $17.50           $0.29       1.71%
    3/17/2017        7,677,779      $16.99           -$0.51     -2.91%
    3/20/2017       22,667,059      $16.41           -$0.58     -3.42%
    3/21/2017       17,999,286      $17.08           $0.67       4.08%
    3/22/2017       11,418,833      $17.05           -$0.03     -0.18%
    3/23/2017        8,020,235      $16.91           -$0.14     -0.82%
    3/24/2017        6,946,521      $16.83           -$0.08     -0.47%
    3/27/2017        8,709,736      $16.95           $0.12       0.71%
    3/28/2017       13,207,355      $17.38           $0.43       2.54%
    3/29/2017        6,286,474      $17.43           $0.05       0.29%
    3/30/2017       10,961,946      $17.26           -$0.17     -0.98%
    3/31/2017        8,172,714      $17.16           -$0.10     -0.58%
    4/3/2017        10,424,838      $16.70           -$0.46     -2.68%
    4/4/2017         7,557,208      $16.65           -$0.05     -0.30%
    4/5/2017         5,072,637      $16.50           -$0.15     -0.90%
    4/6/2017         4,793,677      $16.60           $0.10       0.61%
    4/7/2017         6,535,852      $16.46           -$0.14     -0.84%
    4/10/2017        4,043,220      $16.47           $0.01       0.06%
    4/11/2017        5,998,431      $16.32           -$0.15     -0.91%
    4/12/2017        6,118,745      $16.19           -$0.13     -0.80%
    4/13/2017        6,575,164      $15.86           -$0.33     -2.04%
    4/17/2017        4,837,686      $16.12           $0.26       1.64%
    4/18/2017        5,343,907      $15.96           -$0.16     -0.99%
    4/19/2017        7,581,600      $16.08           $0.12       0.75%
    4/20/2017        5,906,305      $16.55           $0.47       2.92%
    4/21/2017        6,085,441      $16.50           -$0.05     -0.30%
    4/24/2017       18,240,205      $18.37           $1.87      11.33%
    4/25/2017        7,736,546      $18.49           $0.12       0.65%
    4/26/2017        7,430,190      $18.84           $0.35       1.89%
    4/27/2017        9,203,632      $18.15           -$0.69     -3.66%
    4/28/2017        6,605,679      $18.07           -$0.08     -0.44%
    5/1/2017         4,164,051      $18.22           $0.15       0.83%
    5/2/2017         3,658,219      $18.27           $0.05       0.27%
    5/3/2017         5,841,996      $18.47           $0.20       1.09%
    5/4/2017         4,575,041      $18.78           $0.31       1.68%
    5/5/2017         5,780,093      $19.35           $0.57       3.04%
    5/8/2017         4,358,817      $19.07           -$0.28     -1.45%
    5/9/2017         4,946,877      $18.85           -$0.22     -1.15%
    5/10/2017        3,084,710      $19.01           $0.16       0.85%
    5/11/2017        3,042,739      $18.81           -$0.20     -1.05%
    5/12/2017        2,473,440      $18.77           -$0.04     -0.21%
    5/15/2017        5,369,732      $19.03           $0.26       1.39%
    5/16/2017        6,534,825      $19.27           $0.24       1.26%
    5/17/2017        8,556,218      $18.64           -$0.63     -3.27%
    5/18/2017        4,817,905      $18.68           $0.04       0.21%
    5/19/2017        5,412,313      $19.04           $0.36       1.93%
    5/22/2017        3,776,078      $19.12           $0.08       0.42%
    5/23/2017        3,645,023      $19.25           $0.13       0.68%
    5/24/2017        5,418,332      $18.94           -$0.31     -1.61%
    5/25/2017        4,318,012      $18.85           -$0.09     -0.48%
    5/26/2017        3,519,982      $18.46           -$0.39     -2.07%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    5/30/2017        4,690,600      $17.97           -$0.49     -2.65%
    5/31/2017        8,561,433      $17.48           -$0.49     -2.73%
    6/1/2017         5,372,119      $17.65           $0.17       0.97%
    6/2/2017         4,691,288      $17.66           $0.01       0.06%
    6/5/2017         1,833,403      $17.50           -$0.16     -0.91%
    6/6/2017         3,065,470      $17.33           -$0.17     -0.97%
    6/7/2017         3,078,257      $17.46           $0.13       0.75%
    6/8/2017         4,580,104      $17.57           $0.11       0.63%
    6/9/2017         4,285,232      $17.67           $0.10       0.57%
    6/12/2017        4,204,899      $17.36           -$0.31     -1.75%
    6/13/2017        3,027,493      $17.47           $0.11       0.63%
    6/14/2017        4,971,891      $17.34           -$0.13     -0.74%
    6/15/2017        6,185,528      $16.79           -$0.55     -3.17%
    6/16/2017        3,985,220      $16.82           $0.03       0.18%
    6/19/2017        2,589,172      $17.22           $0.40       2.38%
    6/20/2017        3,314,485      $16.85           -$0.37     -2.15%
    6/21/2017        2,323,818      $16.90           $0.05       0.30%
    6/22/2017        2,204,605      $16.74           -$0.16     -0.95%
    6/23/2017        2,375,066      $16.64           -$0.10     -0.60%
    6/26/2017        2,991,819      $16.88           $0.24       1.44%
    6/27/2017        5,388,251      $17.51           $0.63       3.73%
    6/28/2017        5,762,957      $17.91           $0.40       2.28%
    6/29/2017        7,194,387      $18.07           $0.16       0.89%
    6/30/2017        4,101,619      $17.79           -$0.28     -1.55%
    7/3/2017         3,012,055      $18.15           $0.36       2.02%
    7/5/2017         4,733,872      $18.63           $0.48       2.64%
    7/6/2017         5,356,198      $18.89           $0.26       1.40%
    7/7/2017         4,585,739      $19.05           $0.16       0.85%
    7/10/2017        2,483,601      $18.97           -$0.08     -0.42%
    7/11/2017        2,537,127      $19.07           $0.10       0.53%
    7/12/2017        3,803,241      $18.81           -$0.26     -1.36%
    7/13/2017        2,500,387      $18.93           $0.12       0.64%
    7/14/2017        2,914,726      $18.86           -$0.07     -0.37%
    7/17/2017        1,910,762      $18.79           -$0.07     -0.37%
    7/18/2017        2,971,905      $18.50           -$0.29     -1.54%
    7/19/2017        2,544,450      $18.38           -$0.12     -0.65%
    7/20/2017        2,625,850      $18.46           $0.08       0.44%
    7/21/2017        2,562,218      $18.22           -$0.24     -1.30%
    7/24/2017        3,435,879      $18.67           $0.45       2.47%
    7/25/2017        4,355,953      $19.04           $0.37       1.98%
    7/26/2017        5,085,995      $19.06           $0.02       0.11%
    7/27/2017        9,867,698      $18.03           -$1.03     -5.40%
    7/28/2017        3,561,231      $18.19           $0.16       0.89%
    7/31/2017        5,255,416      $17.84           -$0.35     -1.92%
    8/1/2017         3,513,644      $18.13           $0.29       1.63%
    8/2/2017         2,347,759      $18.01           -$0.12     -0.66%
    8/3/2017         2,516,419      $18.06           $0.05       0.28%
    8/4/2017         2,405,413      $18.33           $0.27       1.50%
    8/7/2017         1,454,649      $18.23           -$0.10     -0.55%
    8/8/2017         3,444,581      $17.99           -$0.24     -1.32%
    8/9/2017         4,724,097      $17.58           -$0.41     -2.28%
    8/10/2017        5,684,011      $16.86           -$0.72     -4.10%
    8/11/2017        8,678,632      $17.05           $0.19       1.13%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     8/14/2017       6,613,588      $17.29           $0.24       1.41%
     8/15/2017       2,967,015      $17.13           -$0.16     -0.93%
     8/16/2017       2,232,610      $17.04           -$0.09     -0.53%
     8/17/2017       7,895,527      $16.44           -$0.60     -3.52%
     8/18/2017       3,975,769      $16.52           $0.08       0.49%
     8/21/2017       5,085,457      $16.17           -$0.35     -2.12%
     8/22/2017       7,791,546      $16.30           $0.13       0.80%
     8/23/2017       3,025,735      $16.27           -$0.03     -0.18%
     8/24/2017       1,675,499      $16.28           $0.01       0.06%
     8/25/2017       2,001,537      $16.42           $0.14       0.86%
     8/28/2017       1,856,963      $16.40           -$0.02     -0.12%
     8/29/2017       3,624,003      $16.04           -$0.36     -2.20%
     8/30/2017       2,760,048      $16.01           -$0.03     -0.19%
     8/31/2017       3,340,924      $15.99           -$0.02     -0.12%
     9/1/2017        3,145,544      $16.06           $0.07       0.44%
     9/5/2017        4,860,147      $15.66           -$0.40     -2.49%
     9/6/2017        4,162,770      $15.99           $0.33       2.11%
     9/7/2017        4,486,048      $15.92           -$0.07     -0.44%
     9/8/2017        2,306,026      $16.00           $0.08       0.50%
     9/11/2017       3,611,079      $16.34           $0.34       2.13%
     9/12/2017       5,564,389      $16.98           $0.64       3.92%
     9/13/2017       1,872,932      $16.78           -$0.20     -1.18%
     9/14/2017       2,378,109      $16.68           -$0.10     -0.60%
     9/15/2017       3,023,254      $16.54           -$0.14     -0.84%
     9/18/2017       2,287,982      $16.57           $0.03       0.18%
     9/19/2017       2,750,379      $16.56           -$0.01     -0.06%
     9/20/2017       4,921,295      $16.38           -$0.18     -1.09%
     9/21/2017       4,043,971      $16.69           $0.31       1.89%
     9/22/2017       1,929,460      $16.63           -$0.06     -0.36%
     9/25/2017       8,184,557      $16.04           -$0.59     -3.55%
     9/26/2017       4,719,498      $16.02           -$0.02     -0.12%
     9/27/2017      10,239,824      $16.57           $0.55       3.43%
     9/28/2017       4,987,994      $16.98           $0.41       2.47%
     9/29/2017       5,440,248      $17.28           $0.30       1.77%
     10/2/2017       3,226,032      $17.09           -$0.19     -1.10%
     10/3/2017       2,240,980      $17.07           -$0.02     -0.12%
     10/4/2017       3,076,111      $16.79           -$0.28     -1.64%
     10/5/2017       3,658,337      $17.22           $0.43       2.56%
     10/6/2017       3,486,011      $17.21           -$0.01     -0.06%
     10/9/2017       3,762,733      $16.87           -$0.34     -1.98%
    10/10/2017       2,545,179      $16.99           $0.12       0.71%
    10/11/2017       2,366,034      $16.92           -$0.07     -0.41%
    10/12/2017       2,793,604      $16.70           -$0.22     -1.30%
    10/13/2017       4,184,512      $16.58           -$0.12     -0.72%
    10/16/2017       3,210,383      $16.72           $0.14       0.84%
    10/17/2017       3,342,985      $16.71           -$0.01     -0.06%
    10/18/2017       2,527,442      $16.89           $0.18       1.08%
    10/19/2017       2,711,639      $16.87           -$0.02     -0.12%
    10/20/2017       2,948,364      $16.98           $0.11       0.65%
    10/23/2017       3,578,483      $16.63           -$0.35     -2.06%
    10/24/2017       6,602,110      $17.18           $0.55       3.31%
    10/25/2017       5,516,992      $17.12           -$0.06     -0.35%
    10/26/2017       6,517,685      $16.72           -$0.40     -2.34%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
    10/27/2017       5,699,360      $16.32           -$0.40     -2.39%
    10/30/2017       4,409,737      $16.26           -$0.06     -0.37%
    10/31/2017       2,182,041      $16.27           $0.01       0.06%
     11/1/2017       5,113,053      $16.56           $0.29       1.78%
     11/2/2017       7,033,737      $17.06           $0.50       3.02%
     11/3/2017       2,506,835      $16.82           -$0.24     -1.41%
     11/6/2017       3,684,374      $16.83           $0.01       0.06%
     11/7/2017       3,516,231      $16.68           -$0.15     -0.89%
     11/8/2017       6,894,185      $17.04           $0.36       2.16%
     11/9/2017       6,494,907      $17.41           $0.37       2.17%
    11/10/2017       5,854,228      $17.94           $0.53       3.04%
    11/13/2017       4,344,535      $17.93           -$0.01     -0.06%
    11/14/2017       5,284,869      $18.19           $0.26       1.45%
    11/15/2017       7,096,531      $18.48           $0.29       1.59%
    11/16/2017       6,044,910      $19.04           $0.56       3.03%
    11/17/2017       3,859,249      $19.13           $0.09       0.47%
    11/20/2017       3,458,840      $19.17           $0.04       0.21%
    11/21/2017       3,398,252      $19.01           -$0.16     -0.83%
    11/22/2017       2,619,489      $18.91           -$0.10     -0.53%
    11/24/2017       1,581,614      $19.19           $0.28       1.48%
    11/27/2017       3,510,142      $18.74           -$0.45     -2.34%
    11/28/2017       4,284,913      $18.88           $0.14       0.75%
    11/29/2017       4,208,477      $19.00           $0.12       0.64%
    11/30/2017       3,463,117      $18.86           -$0.14     -0.74%
     12/1/2017       3,862,635      $18.98           $0.12       0.64%
     12/4/2017       2,915,543      $19.12           $0.14       0.74%
     12/5/2017       3,220,436      $18.76           -$0.36     -1.88%
     12/6/2017       2,881,867      $18.50           -$0.26     -1.39%
     12/7/2017       2,271,566      $18.85           $0.35       1.89%
     12/8/2017       6,232,265      $19.38           $0.53       2.81%
    12/11/2017       2,150,558      $19.30           -$0.08     -0.41%
    12/12/2017       2,679,733      $19.38           $0.08       0.41%
    12/13/2017       2,734,276      $19.33           -$0.05     -0.26%
    12/14/2017       2,568,147      $19.23           -$0.10     -0.52%
    12/15/2017       3,309,523      $19.43           $0.20       1.04%
    12/18/2017       5,953,034      $20.10           $0.67       3.45%
    12/19/2017       3,695,668      $19.85           -$0.25     -1.24%
    12/20/2017       2,264,486      $19.71           -$0.14     -0.71%
    12/21/2017       4,692,654      $19.70           -$0.01     -0.05%
    12/22/2017       2,434,194      $19.38           -$0.32     -1.62%
    12/26/2017       1,618,616      $19.23           -$0.15     -0.77%
    12/27/2017       2,429,018      $19.06           -$0.17     -0.88%
    12/28/2017       1,704,921      $19.10           $0.04       0.21%
    12/29/2017       1,548,660      $19.03           -$0.07     -0.37%
     1/2/2018        2,307,430      $19.33           $0.30       1.58%
     1/3/2018        4,234,959      $19.16           -$0.17     -0.88%
     1/4/2018        4,409,506      $19.77           $0.61       3.18%
     1/5/2018       16,517,352      $18.55           -$1.22     -6.17%
     1/8/2018        5,030,690      $18.30           -$0.25     -1.35%
     1/9/2018        4,691,650      $18.13           -$0.17     -0.93%
     1/10/2018       4,391,004      $18.50           $0.37       2.04%
     1/11/2018       3,280,164      $18.56           $0.06       0.32%
     1/12/2018       4,427,248      $18.70           $0.14       0.75%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    1/16/2018        3,107,420      $18.51           -$0.19     -1.02%
    1/17/2018        2,585,030      $18.52           $0.01       0.05%
    1/18/2018        1,964,642      $18.53           $0.01       0.05%
    1/19/2018        2,981,295      $18.78           $0.25       1.35%
    1/22/2018        7,125,139      $19.39           $0.61       3.25%
    1/23/2018        2,752,964      $19.47           $0.08       0.41%
    1/24/2018        4,057,264      $19.74           $0.27       1.39%
    1/25/2018        3,504,754      $19.64           -$0.10     -0.51%
    1/26/2018        2,386,164      $19.51           -$0.13     -0.66%
    1/29/2018        3,576,038      $19.10           -$0.41     -2.10%
    1/30/2018        5,353,625      $18.38           -$0.72     -3.77%
    1/31/2018        2,886,969      $18.34           -$0.04     -0.22%
    2/1/2018         3,088,457      $18.65           $0.31       1.69%
    2/2/2018        15,244,442      $17.09           -$1.56     -8.36%
    2/5/2018        10,187,647      $16.39           -$0.70     -4.10%
    2/6/2018        12,390,030      $16.52           $0.13       0.79%
    2/7/2018         9,774,730      $16.09           -$0.43     -2.60%
    2/8/2018         9,365,868      $15.49           -$0.60     -3.73%
    2/9/2018         8,654,186      $15.58           $0.09       0.58%
    2/12/2018        6,412,900      $16.01           $0.43       2.76%
    2/13/2018        3,246,856      $15.90           -$0.11     -0.69%
    2/14/2018        4,770,238      $16.26           $0.36       2.26%
    2/15/2018        3,500,046      $16.11           -$0.15     -0.92%
    2/16/2018        3,255,679      $16.08           -$0.03     -0.19%
    2/20/2018        3,810,354      $16.46           $0.38       2.36%
    2/21/2018        4,420,454      $16.57           $0.11       0.67%
    2/22/2018        4,052,872      $16.43           -$0.14     -0.84%
    2/23/2018        3,095,091      $16.43           $0.00       0.00%
    2/26/2018        2,322,948      $16.48           $0.05       0.30%
    2/27/2018        3,047,272      $16.40           -$0.08     -0.49%
    2/28/2018        4,372,948      $15.94           -$0.46     -2.80%
    3/1/2018         4,869,611      $15.70           -$0.24     -1.51%
    3/2/2018         7,563,205      $15.79           $0.09       0.57%
    3/5/2018         3,886,875      $15.89           $0.10       0.63%
    3/6/2018         2,405,897      $16.06           $0.17       1.07%
    3/7/2018         3,755,075      $16.33           $0.27       1.68%
    3/8/2018         4,012,712      $16.18           -$0.15     -0.92%
    3/9/2018         3,114,104      $16.12           -$0.06     -0.37%
    3/12/2018        2,833,541      $16.11           -$0.01     -0.06%
    3/13/2018        4,476,419      $15.79           -$0.32     -1.99%
    3/14/2018        4,117,305      $15.70           -$0.09     -0.57%
    3/15/2018        2,187,942      $15.70           $0.00       0.00%
    3/16/2018        3,689,009      $15.82           $0.12       0.76%
    3/19/2018        4,187,677      $15.54           -$0.28     -1.77%
    3/20/2018        2,196,611      $15.52           -$0.02     -0.13%
    3/21/2018       12,846,137      $14.79           -$0.73     -4.70%
    3/22/2018       11,721,272      $14.19           -$0.60     -4.06%
    3/23/2018        9,433,819      $13.75           -$0.44     -3.10%
    3/26/2018        6,873,130      $14.07           $0.32       2.33%
    3/27/2018        6,663,501      $13.77           -$0.30     -2.13%
    3/28/2018        5,219,893      $13.76           -$0.01     -0.07%
    3/29/2018        3,322,869      $13.98           $0.22       1.60%
    4/2/2018         3,621,728      $13.68           -$0.30     -2.15%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    4/3/2018         2,799,274      $13.72           $0.04       0.29%
    4/4/2018         3,796,556      $13.88           $0.16       1.17%
    4/5/2018         4,654,826      $14.32           $0.44       3.17%
    4/6/2018         4,373,961      $13.87           -$0.45     -3.14%
    4/9/2018         4,976,757      $14.01           $0.14       1.01%
    4/10/2018        3,298,673      $14.08           $0.07       0.50%
    4/11/2018        3,200,558      $14.19           $0.11       0.78%
    4/12/2018        2,760,115      $14.41           $0.22       1.55%
    4/13/2018        2,673,098      $14.38           -$0.03     -0.21%
    4/16/2018        2,210,430      $14.33           -$0.05     -0.35%
    4/17/2018        2,934,047      $14.38           $0.05       0.35%
    4/18/2018        2,328,317      $14.44           $0.06       0.42%
    4/19/2018        3,643,570      $14.46           $0.02       0.14%
    4/20/2018        3,019,991      $14.26           -$0.20     -1.38%
    4/23/2018        2,482,581      $14.25           -$0.01     -0.07%
    4/24/2018        6,236,339      $14.78           $0.53       3.72%
    4/25/2018        3,657,488      $14.60           -$0.18     -1.22%
    4/26/2018        3,544,648      $14.34           -$0.26     -1.78%
    4/27/2018        6,033,783      $13.89           -$0.45     -3.14%
    4/30/2018        2,706,501      $13.66           -$0.23     -1.66%
    5/1/2018         2,588,502      $13.59           -$0.07     -0.51%
    5/2/2018         2,712,797      $13.63           $0.04       0.29%
    5/3/2018         1,968,925      $13.63           $0.00       0.00%
    5/4/2018         1,787,218      $13.78           $0.15       1.10%
    5/7/2018         2,265,617      $13.78           $0.00       0.00%
    5/8/2018         3,488,874      $13.59           -$0.19     -1.38%
    5/9/2018         3,072,798      $13.78           $0.19       1.40%
    5/10/2018        2,297,397      $13.88           $0.10       0.73%
    5/11/2018        1,324,874      $13.86           -$0.02     -0.14%
    5/14/2018        3,035,493      $13.65           -$0.21     -1.52%
    5/15/2018        5,819,923      $13.29           -$0.36     -2.64%
    5/16/2018        7,021,184      $13.00           -$0.29     -2.18%
    5/17/2018        2,618,935      $12.99           -$0.01     -0.08%
    5/18/2018        4,731,074      $12.71           -$0.28     -2.16%
    5/21/2018        2,852,541      $12.71           $0.00       0.00%
    5/22/2018        4,484,437      $12.97           $0.26       2.05%
    5/23/2018        5,851,120      $12.88           -$0.09     -0.69%
    5/24/2018       11,040,657      $12.25           -$0.63     -4.89%
    5/25/2018        6,440,505      $12.05           -$0.20     -1.63%
    5/29/2018       15,515,590      $11.30           -$0.75     -6.22%
    5/30/2018       10,298,173      $11.57           $0.27       2.39%
    5/31/2018       31,985,982      $11.08           -$0.49     -4.24%
    6/1/2018        10,876,930      $11.04           -$0.04     -0.36%
    6/4/2018         5,858,035      $11.21           $0.17       1.54%
    6/5/2018         5,919,045      $11.03           -$0.18     -1.61%
    6/6/2018         7,633,411      $11.35           $0.32       2.90%
    6/7/2018        11,834,230      $11.51           $0.16       1.41%
    6/8/2018         6,519,302      $11.25           -$0.26     -2.26%
    6/11/2018        3,980,919      $11.43           $0.18       1.60%
    6/12/2018        3,140,139      $11.41           -$0.02     -0.17%
    6/13/2018        3,601,514      $11.37           -$0.04     -0.35%
    6/14/2018        4,671,331      $11.22           -$0.15     -1.32%
    6/15/2018        4,681,880      $11.10           -$0.12     -1.07%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    6/18/2018        4,495,085      $11.08           -$0.02     -0.18%
    6/19/2018        6,547,623      $11.17           $0.09       0.81%
    6/20/2018        2,359,263      $11.08           -$0.09     -0.81%
    6/21/2018        5,438,427      $10.89           -$0.19     -1.71%
    6/22/2018        3,469,309      $11.01           $0.12       1.10%
    6/25/2018        3,652,269      $10.89           -$0.12     -1.09%
    6/26/2018        4,243,456      $10.78           -$0.11     -1.01%
    6/27/2018        9,562,158      $10.38           -$0.40     -3.71%
    6/28/2018        5,782,773      $10.47           $0.09       0.87%
    6/29/2018        5,751,155      $10.62           $0.15       1.43%
    7/2/2018         5,513,018      $10.64           $0.02       0.19%
    7/3/2018         2,371,812      $10.70           $0.06       0.56%
    7/5/2018         5,834,326      $11.13           $0.43       4.02%
    7/6/2018         6,942,805      $11.46           $0.33       2.96%
    7/9/2018         4,405,445      $11.54           $0.08       0.70%
    7/10/2018        4,638,150      $11.43           -$0.11     -0.95%
    7/11/2018        5,423,179      $11.15           -$0.28     -2.45%
    7/12/2018        4,057,714      $11.20           $0.05       0.45%
    7/13/2018        2,725,509      $11.24           $0.04       0.36%
    7/16/2018       17,667,654      $12.14           $0.90       8.01%
    7/17/2018        6,890,436      $11.87           -$0.27     -2.22%
    7/18/2018        5,494,030      $12.08           $0.21       1.77%
    7/19/2018        5,354,761      $12.02           -$0.06     -0.50%
    7/20/2018        4,882,821      $12.03           $0.01       0.08%
    7/23/2018        6,767,348      $12.18           $0.15       1.25%
    7/24/2018        7,631,518      $12.28           $0.10       0.82%
    7/25/2018        7,156,939      $12.18           -$0.10     -0.81%
    7/26/2018        4,124,105      $12.20           $0.02       0.16%
    7/27/2018        6,186,455      $12.42           $0.22       1.80%
    7/30/2018        8,793,337      $12.79           $0.37       2.98%
    7/31/2018        6,397,500      $13.06           $0.27       2.11%
    8/1/2018         4,698,460      $12.95           -$0.11     -0.84%
    8/2/2018         6,120,150      $12.54           -$0.41     -3.17%
    8/3/2018         2,517,226      $12.50           -$0.04     -0.32%
    8/6/2018         3,699,378      $12.52           $0.02       0.16%
    8/7/2018         2,495,338      $12.62           $0.10       0.80%
    8/8/2018         2,841,304      $12.52           -$0.10     -0.79%
    8/9/2018         3,288,676      $12.40           -$0.12     -0.96%
    8/10/2018       11,367,054      $11.82           -$0.58     -4.68%
    8/13/2018       10,260,292      $11.45           -$0.37     -3.13%
    8/14/2018        4,532,518      $11.49           $0.04       0.35%
    8/15/2018        6,391,745      $11.19           -$0.30     -2.61%
    8/16/2018        4,143,178      $11.21           $0.02       0.18%
    8/17/2018        3,637,275      $11.20           -$0.01     -0.09%
    8/20/2018        3,377,616      $11.22           $0.02       0.18%
    8/21/2018        4,689,818      $11.54           $0.32       2.85%
    8/22/2018        3,145,408      $11.61           $0.07       0.61%
    8/23/2018        3,277,499      $11.30           -$0.31     -2.67%
    8/24/2018        2,881,530      $11.39           $0.09       0.80%
    8/27/2018        4,817,064      $11.73           $0.34       2.99%
    8/28/2018        3,292,857      $11.55           -$0.18     -1.53%
    8/29/2018        2,215,250      $11.66           $0.11       0.95%
    8/30/2018        3,809,796      $11.42           -$0.24     -2.06%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     8/31/2018       3,254,155      $11.26           -$0.16     -1.40%
     9/4/2018        3,729,902      $11.42           $0.16       1.42%
     9/5/2018        2,962,880      $11.47           $0.05       0.44%
     9/6/2018        3,689,899      $11.38           -$0.09     -0.78%
     9/7/2018        3,632,523      $11.13           -$0.25     -2.20%
     9/10/2018       2,486,262      $11.11           -$0.02     -0.18%
     9/11/2018       8,142,972      $11.24           $0.13       1.17%
     9/12/2018      10,676,690      $11.24           $0.00       0.00%
     9/13/2018       3,963,386      $11.36           $0.12       1.07%
     9/14/2018       2,203,662      $11.40           $0.04       0.35%
     9/17/2018       2,540,655      $11.51           $0.11       0.96%
     9/18/2018       1,990,386      $11.58           $0.07       0.61%
     9/19/2018       4,896,780      $11.95           $0.37       3.20%
     9/20/2018       5,555,604      $12.25           $0.30       2.51%
     9/21/2018       7,139,522      $12.34           $0.09       0.73%
     9/24/2018       3,688,369      $12.24           -$0.10     -0.81%
     9/25/2018       2,886,826      $12.15           -$0.09     -0.74%
     9/26/2018       3,046,212      $11.90           -$0.25     -2.06%
     9/27/2018       3,011,933      $11.81           -$0.09     -0.76%
     9/28/2018       4,750,714      $11.36           -$0.45     -3.81%
     10/1/2018       5,698,148      $11.25           -$0.11     -0.97%
     10/2/2018       3,377,515      $11.13           -$0.12     -1.07%
     10/3/2018       3,722,622      $11.32           $0.19       1.71%
     10/4/2018       5,948,924      $11.20           -$0.12     -1.06%
     10/5/2018       3,559,501      $11.12           -$0.08     -0.71%
     10/8/2018       3,375,472      $11.05           -$0.07     -0.63%
     10/9/2018       2,949,774      $11.03           -$0.02     -0.18%
    10/10/2018       3,928,155      $10.92           -$0.11     -1.00%
    10/11/2018       7,650,150      $10.83           -$0.09     -0.82%
    10/12/2018       4,014,697      $10.84           $0.01       0.09%
    10/15/2018       4,591,591      $11.03           $0.19       1.75%
    10/16/2018       3,349,342      $11.16           $0.13       1.18%
    10/17/2018       4,259,212      $11.26           $0.10       0.90%
    10/18/2018       6,984,112      $10.97           -$0.29     -2.58%
    10/19/2018       6,011,590      $10.92           -$0.05     -0.46%
    10/22/2018       4,188,080      $10.72           -$0.20     -1.83%
    10/23/2018       5,965,353      $10.70           -$0.02     -0.19%
    10/24/2018      11,900,212      $10.00           -$0.70     -6.54%
    10/25/2018       8,577,688      $10.00           $0.00       0.00%
    10/26/2018       6,821,714       $9.67           -$0.33     -3.30%
    10/29/2018       5,843,794       $9.64           -$0.03     -0.31%
    10/30/2018       4,905,737       $9.74           $0.10       1.04%
    10/31/2018       4,577,173       $9.77           $0.03       0.31%
     11/1/2018       7,276,922      $10.25           $0.48       4.91%
     11/2/2018       7,081,327      $10.52           $0.27       2.63%
     11/5/2018       2,808,929      $10.46           -$0.06     -0.57%
     11/6/2018       2,828,249      $10.44           -$0.02     -0.19%
     11/7/2018       3,320,802      $10.61           $0.17       1.63%
     11/8/2018       3,444,634      $10.34           -$0.27     -2.54%
     11/9/2018       3,218,834      $10.12           -$0.22     -2.13%
    11/12/2018       6,437,300       $9.73           -$0.39     -3.85%
    11/13/2018       4,386,819       $9.86           $0.13       1.34%
    11/14/2018       3,322,604       $9.87           $0.01       0.10%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
    11/15/2018       3,794,008       $9.90           $0.03       0.30%
    11/16/2018       3,238,575       $9.81           -$0.09     -0.91%
    11/19/2018       3,843,191       $9.78           -$0.03     -0.31%
    11/20/2018       9,329,986       $9.23           -$0.55     -5.62%
    11/21/2018       3,658,572       $9.44           $0.21       2.28%
    11/23/2018       2,568,397       $9.25           -$0.19     -2.01%
    11/26/2018       8,449,284       $9.73           $0.48       5.19%
    11/27/2018       4,420,484       $9.84           $0.11       1.13%
    11/28/2018       4,237,578       $9.89           $0.05       0.51%
    11/29/2018      11,467,976       $9.42           -$0.47     -4.75%
    11/30/2018       6,698,014       $9.16           -$0.26     -2.76%
     12/3/2018       5,612,786       $9.39           $0.23       2.51%
     12/4/2018       6,669,961       $9.06           -$0.33     -3.51%
     12/6/2018      11,253,905       $8.90           -$0.16     -1.77%
     12/7/2018       5,797,588       $8.73           -$0.17     -1.91%
    12/10/2018      10,546,315       $8.38           -$0.35     -4.01%
    12/11/2018       6,399,238       $8.33           -$0.05     -0.60%
    12/12/2018      19,017,762       $9.03           $0.70       8.40%
    12/13/2018       6,442,935       $8.87           -$0.16     -1.77%
    12/14/2018       4,706,078       $8.80           -$0.07     -0.79%
    12/17/2018       6,019,643       $8.60           -$0.20     -2.27%
    12/18/2018       4,683,274       $8.69           $0.09       1.05%
    12/19/2018       7,190,508       $8.37           -$0.32     -3.68%
    12/20/2018      11,052,399       $8.06           -$0.31     -3.70%
    12/21/2018       8,671,155       $7.87           -$0.19     -2.36%
    12/24/2018       6,395,506       $7.91           $0.04       0.51%
    12/26/2018       6,902,348       $8.16           $0.25       3.16%
    12/27/2018      13,975,826       $7.81           -$0.35     -4.29%
    12/28/2018       6,150,623       $8.05           $0.24       3.07%
    12/31/2018       5,801,725       $8.15           $0.10       1.24%
     1/2/2019        7,039,097       $8.20           $0.05       0.61%
     1/3/2019        5,471,166       $8.09           -$0.11     -1.34%
     1/4/2019        4,845,075       $8.52           $0.43       5.32%
     1/7/2019        5,661,706       $8.70           $0.18       2.11%
     1/8/2019        4,386,276       $8.74           $0.04       0.46%
     1/9/2019        3,805,689       $8.56           -$0.18     -2.06%
     1/10/2019       2,943,288       $8.61           $0.05       0.58%
     1/11/2019       3,844,614       $8.56           -$0.05     -0.58%
     1/14/2019       2,845,854       $8.58           $0.02       0.23%
     1/15/2019       5,264,244       $8.63           $0.05       0.58%
     1/16/2019      14,131,453       $9.29           $0.66       7.65%
     1/17/2019       7,338,544       $8.92           -$0.37     -3.98%
     1/18/2019       6,793,297       $9.14           $0.22       2.47%
     1/22/2019       3,407,144       $8.85           -$0.29     -3.17%
     1/23/2019       3,862,667       $9.05           $0.20       2.26%
     1/24/2019       3,007,217       $8.86           -$0.19     -2.10%
     1/25/2019       4,561,756       $9.24           $0.38       4.29%
     1/28/2019       3,612,894       $9.27           $0.03       0.32%
     1/29/2019       3,155,016       $9.23           -$0.04     -0.43%
     1/30/2019       2,826,112       $9.29           $0.06       0.65%
     1/31/2019       9,427,641       $8.88           -$0.41     -4.41%
     2/1/2019       12,559,031       $8.85           -$0.03     -0.34%
     2/4/2019        4,122,294       $8.80           -$0.05     -0.56%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    2/5/2019         3,872,116       $8.90           $0.10       1.14%
    2/6/2019         2,495,584       $8.95           $0.05       0.56%
    2/7/2019         8,587,370       $8.36           -$0.59     -6.59%
    2/8/2019         7,256,207       $8.19           -$0.17     -2.03%
    2/11/2019        4,371,489       $8.32           $0.13       1.59%
    2/12/2019        3,353,687       $8.54           $0.22       2.64%
    2/13/2019        3,023,558       $8.54           $0.00       0.00%
    2/14/2019        3,756,311       $8.34           -$0.20     -2.34%
    2/15/2019        5,861,354       $8.80           $0.46       5.52%
    2/19/2019        4,877,012       $8.61           -$0.19     -2.16%
    2/20/2019        3,601,465       $8.74           $0.13       1.51%
    2/21/2019        2,760,705       $8.66           -$0.08     -0.92%
    2/22/2019        2,297,182       $8.65           -$0.01     -0.12%
    2/25/2019        4,324,895       $8.77           $0.12       1.39%
    2/26/2019        3,523,375       $8.92           $0.15       1.71%
    2/27/2019        5,233,560       $9.11           $0.19       2.13%
    2/28/2019        5,318,851       $9.24           $0.13       1.43%
    3/1/2019         3,363,795       $9.29           $0.05       0.54%
    3/4/2019         5,243,086       $9.20           -$0.09     -0.97%
    3/5/2019         2,621,726       $9.16           -$0.04     -0.43%
    3/6/2019         3,166,656       $9.17           $0.01       0.11%
    3/7/2019         7,621,831       $8.66           -$0.51     -5.56%
    3/8/2019         3,061,225       $8.64           -$0.02     -0.23%
    3/11/2019        8,807,727       $9.12           $0.48       5.56%
    3/12/2019        5,443,039       $8.86           -$0.26     -2.85%
    3/13/2019        3,636,909       $9.06           $0.20       2.26%
    3/14/2019        3,831,294       $8.91           -$0.15     -1.66%
    3/15/2019        3,588,217       $8.88           -$0.03     -0.34%
    3/18/2019        8,077,880       $9.26           $0.38       4.28%
    3/19/2019        5,657,407       $9.05           -$0.21     -2.27%
    3/20/2019        7,849,079       $8.78           -$0.27     -2.98%
    3/21/2019        7,016,648       $8.43           -$0.35     -3.99%
    3/22/2019        6,528,499       $8.21           -$0.22     -2.61%
    3/25/2019        8,126,929       $8.17           -$0.04     -0.49%
    3/26/2019        6,966,211       $8.28           $0.11       1.35%
    3/27/2019        6,264,748       $8.46           $0.18       2.17%
    3/28/2019       11,898,267       $8.19           -$0.27     -3.19%
    3/29/2019        6,342,249       $8.12           -$0.07     -0.85%
    4/1/2019         7,807,082       $8.55           $0.43       5.30%
    4/2/2019         4,754,153       $8.50           -$0.05     -0.58%
    4/3/2019         5,370,577       $8.59           $0.09       1.06%
    4/4/2019         5,605,938       $8.50           -$0.09     -1.05%
    4/5/2019         3,678,272       $8.35           -$0.15     -1.76%
    4/8/2019         4,820,813       $8.32           -$0.03     -0.36%
    4/9/2019         3,607,399       $8.24           -$0.08     -0.96%
    4/10/2019        5,166,513       $8.21           -$0.03     -0.36%
    4/11/2019        5,381,436       $8.39           $0.18       2.19%
    4/12/2019        5,602,280       $8.61           $0.22       2.62%
    4/15/2019        4,915,731       $8.64           $0.03       0.35%
    4/16/2019        5,743,628       $8.87           $0.23       2.66%
    4/17/2019        6,183,276       $8.93           $0.06       0.68%
    4/18/2019        3,712,461       $8.78           -$0.15     -1.68%
    4/22/2019        2,035,495       $8.75           -$0.03     -0.34%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    4/23/2019        9,599,084       $8.54           -$0.21     -2.40%
    4/24/2019        5,034,440       $8.50           -$0.04     -0.47%
    4/25/2019        7,283,754       $8.35           -$0.15     -1.76%
    4/26/2019        4,818,042       $8.19           -$0.16     -1.92%
    4/29/2019        4,494,426       $8.32           $0.13       1.59%
    4/30/2019        2,539,626       $8.28           -$0.04     -0.48%
    5/1/2019         3,354,900       $8.15           -$0.13     -1.57%
    5/2/2019         2,711,622       $8.22           $0.07       0.86%
    5/3/2019         2,487,228       $8.22           $0.00       0.00%
    5/6/2019         4,349,591       $8.11           -$0.11     -1.34%
    5/7/2019         7,877,369       $7.82           -$0.29     -3.58%
    5/8/2019         3,412,497       $7.87           $0.05       0.64%
    5/9/2019         4,581,534       $7.78           -$0.09     -1.14%
    5/10/2019        3,726,620       $7.87           $0.09       1.16%
    5/13/2019        6,126,177       $7.64           -$0.23     -2.92%
    5/14/2019        3,611,277       $7.68           $0.04       0.52%
    5/15/2019        4,830,036       $7.67           -$0.01     -0.13%
    5/16/2019        5,072,845       $7.66           -$0.01     -0.13%
    5/17/2019        2,929,461       $7.58           -$0.08     -1.04%
    5/20/2019        5,135,213       $7.43           -$0.15     -1.98%
    5/21/2019        3,427,551       $7.52           $0.09       1.21%
    5/22/2019        4,292,959       $7.34           -$0.18     -2.39%
    5/23/2019        6,561,139       $7.23           -$0.11     -1.50%
    5/24/2019        3,116,470       $7.18           -$0.05     -0.69%
    5/28/2019        5,371,881       $7.02           -$0.16     -2.23%
    5/29/2019        5,100,040       $6.92           -$0.10     -1.42%
    5/30/2019        6,444,355       $6.91           -$0.01     -0.14%
    5/31/2019        5,815,676       $6.77           -$0.14     -2.03%
    6/3/2019         5,905,007       $6.73           -$0.04     -0.59%
    6/4/2019         7,800,670       $7.07           $0.34       5.05%
    6/5/2019         4,270,086       $6.92           -$0.15     -2.12%
    6/6/2019         6,551,897       $6.75           -$0.17     -2.46%
    6/7/2019         2,998,977       $6.76           $0.01       0.15%
    6/10/2019        3,794,737       $6.89           $0.13       1.92%
    6/11/2019        9,798,940       $6.98           $0.09       1.31%
    6/12/2019        4,000,016       $6.88           -$0.10     -1.43%
    6/13/2019        2,624,594       $6.87           -$0.01     -0.15%
    6/14/2019        2,474,313       $6.79           -$0.08     -1.16%
    6/17/2019        4,518,820       $6.82           $0.03       0.44%
    6/18/2019        7,085,404       $7.08           $0.26       3.81%
    6/19/2019        5,500,893       $7.17           $0.09       1.27%
    6/20/2019        5,568,743       $7.17           $0.00       0.00%
    6/21/2019        3,267,910       $7.18           $0.01       0.14%
    6/24/2019        3,541,070       $7.10           -$0.08     -1.11%
    6/25/2019        4,534,656       $7.12           $0.02       0.28%
    6/26/2019        4,736,119       $7.37           $0.25       3.51%
    6/27/2019        7,590,435       $7.54           $0.17       2.31%
    6/28/2019        7,631,767       $7.63           $0.09       1.19%
    7/1/2019         5,434,683       $7.64           $0.01       0.13%
    7/2/2019         2,643,913       $7.59           -$0.05     -0.65%
    7/3/2019         3,955,932       $7.81           $0.22       2.90%
    7/5/2019         9,271,316       $8.03           $0.22       2.82%
    7/8/2019        19,868,972       $7.54           -$0.49     -6.10%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    7/9/2019        10,129,549       $7.28           -$0.26     -3.45%
    7/10/2019        7,037,146       $7.40           $0.12       1.65%
    7/11/2019        4,952,288       $7.48           $0.08       1.08%
    7/12/2019        6,487,439       $7.67           $0.19       2.54%
    7/15/2019        5,487,547       $7.77           $0.10       1.30%
    7/16/2019        9,816,481       $7.97           $0.20       2.57%
    7/17/2019        5,059,081       $7.88           -$0.09     -1.13%
    7/18/2019        3,810,977       $7.93           $0.05       0.63%
    7/19/2019        5,424,883       $7.72           -$0.21     -2.65%
    7/22/2019        2,857,103       $7.80           $0.08       1.04%
    7/23/2019        5,412,018       $7.95           $0.15       1.92%
    7/24/2019        8,203,519       $7.92           -$0.03     -0.38%
    7/25/2019        7,564,959       $7.90           -$0.02     -0.25%
    7/26/2019        4,561,788       $7.93           $0.03       0.38%
    7/29/2019        3,211,373       $7.83           -$0.10     -1.26%
    7/30/2019        5,938,421       $7.75           -$0.08     -1.02%
    7/31/2019        5,692,782       $7.81           $0.06       0.77%
    8/1/2019         8,559,416       $7.61           -$0.20     -2.56%
    8/2/2019         5,538,160       $7.89           $0.28       3.68%
    8/5/2019         5,814,069       $7.65           -$0.24     -3.04%
    8/6/2019         5,752,743       $7.63           -$0.02     -0.26%
    8/7/2019         7,232,523       $7.47           -$0.16     -2.10%
    8/8/2019         6,809,795       $7.66           $0.19       2.54%
    8/9/2019         4,678,215       $7.53           -$0.13     -1.70%
    8/12/2019       15,372,905       $6.95           -$0.58     -7.70%
    8/13/2019       11,060,108       $7.21           $0.26       3.74%
    8/14/2019       10,756,796       $6.69           -$0.52     -7.21%
    8/15/2019       11,136,563       $6.44           -$0.25     -3.74%
    8/16/2019       14,495,986       $6.94           $0.50       7.76%
    8/19/2019        6,734,287       $7.05           $0.11       1.59%
    8/20/2019        8,859,515       $6.97           -$0.08     -1.13%
    8/21/2019        8,909,331       $7.01           $0.04       0.57%
    8/22/2019        5,746,068       $7.17           $0.16       2.28%
    8/23/2019        6,324,776       $6.97           -$0.20     -2.79%
    8/26/2019        4,324,488       $7.07           $0.10       1.43%
    8/27/2019        6,217,069       $7.13           $0.06       0.85%
    8/28/2019        2,734,712       $7.16           $0.03       0.42%
    8/29/2019        3,394,042       $7.22           $0.06       0.84%
    8/30/2019        3,045,287       $7.25           $0.03       0.42%
    9/3/2019         6,163,443       $7.30           $0.05       0.69%
    9/4/2019         3,907,944       $7.48           $0.18       2.47%
    9/5/2019         8,565,596       $7.82           $0.34       4.55%
    9/6/2019         3,480,447       $7.85           $0.03       0.38%
    9/9/2019         6,726,318       $8.13           $0.28       3.57%
    9/10/2019        6,733,783       $8.30           $0.17       2.09%
    9/11/2019        8,082,270       $8.29           -$0.01     -0.12%
    9/12/2019       10,229,173       $8.32           $0.03       0.36%
    9/13/2019        6,939,022       $8.45           $0.13       1.56%
    9/16/2019        9,456,245       $8.23           -$0.22     -2.60%
    9/17/2019        5,765,615       $8.19           -$0.04     -0.49%
    9/18/2019        4,687,165       $8.06           -$0.13     -1.59%
    9/19/2019        3,333,706       $8.07           $0.01       0.12%
    9/20/2019        3,955,076       $7.99           -$0.08     -0.99%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     9/23/2019       8,361,188       $7.79           -$0.20     -2.50%
     9/24/2019       6,455,383       $7.58           -$0.21     -2.70%
     9/25/2019       5,208,932       $7.58           $0.00       0.00%
     9/26/2019       3,182,142       $7.42           -$0.16     -2.11%
     9/27/2019       3,823,686       $7.56           $0.14       1.89%
     9/30/2019       3,486,982       $7.50           -$0.06     -0.79%
     10/1/2019       6,236,926       $7.25           -$0.25     -3.33%
     10/2/2019       5,478,547       $7.19           -$0.06     -0.83%
     10/3/2019       5,521,199       $7.15           -$0.04     -0.56%
     10/4/2019       3,282,273       $7.19           $0.04       0.56%
     10/7/2019       4,054,766       $7.09           -$0.10     -1.39%
     10/8/2019       6,914,716       $6.92           -$0.17     -2.40%
     10/9/2019       4,323,571       $6.94           $0.02       0.29%
    10/10/2019       5,630,712       $7.13           $0.19       2.74%
    10/11/2019       6,574,615       $7.46           $0.33       4.63%
    10/14/2019       3,399,671       $7.55           $0.09       1.21%
    10/15/2019       5,774,185       $7.78           $0.23       3.05%
    10/16/2019       5,183,900       $7.84           $0.06       0.77%
    10/17/2019       5,470,012       $7.90           $0.06       0.77%
    10/18/2019       5,034,929       $7.92           $0.02       0.25%
    10/21/2019       5,714,394       $8.08           $0.16       2.02%
    10/22/2019      10,237,313       $7.91           -$0.17     -2.10%
    10/23/2019       3,547,745       $7.99           $0.08       1.01%
    10/24/2019       5,754,759       $7.90           -$0.09     -1.13%
    10/25/2019       2,985,147       $7.97           $0.07       0.89%
    10/28/2019       5,531,480       $8.05           $0.08       1.00%
    10/29/2019       3,999,745       $7.98           -$0.07     -0.87%
    10/30/2019      19,220,606       $7.36           -$0.62     -7.77%
    10/31/2019       5,244,930       $7.25           -$0.11     -1.49%
     11/1/2019       3,906,175       $7.39           $0.14       1.93%
     11/4/2019       5,264,076       $7.66           $0.27       3.65%
     11/5/2019       5,683,251       $7.61           -$0.05     -0.65%
     11/6/2019       4,469,444       $7.65           $0.04       0.53%
     11/7/2019       5,334,812       $7.76           $0.11       1.44%
     11/8/2019       5,744,329       $7.63           -$0.13     -1.68%
    11/11/2019       2,959,726       $7.61           -$0.02     -0.26%
    11/12/2019       3,211,791       $7.63           $0.02       0.26%
    11/13/2019       5,801,618       $7.28           -$0.35     -4.59%
    11/14/2019       4,273,927       $7.21           -$0.07     -0.96%
    11/15/2019       3,548,143       $7.31           $0.10       1.39%
    11/18/2019       2,018,986       $7.35           $0.04       0.55%
    11/19/2019       4,584,525       $7.35           $0.00       0.00%
    11/20/2019       5,301,043       $7.30           -$0.05     -0.68%
    11/21/2019       4,026,833       $7.38           $0.08       1.10%
    11/22/2019       3,158,082       $7.36           -$0.02     -0.27%
    11/25/2019       3,589,583       $7.38           $0.02       0.27%
    11/26/2019       3,178,929       $7.29           -$0.09     -1.22%
    11/27/2019       2,867,185       $7.36           $0.07       0.96%
    11/29/2019       2,807,378       $7.21           -$0.15     -2.04%
     12/2/2019       3,894,963       $7.19           -$0.02     -0.28%
     12/3/2019       4,884,211       $7.06           -$0.13     -1.81%
     12/4/2019       4,000,233       $7.17           $0.11       1.56%
     12/5/2019       2,930,596       $7.18           $0.01       0.14%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     12/6/2019       2,117,499       $7.22           $0.04       0.56%
     12/9/2019       3,807,540       $7.21           -$0.01     -0.14%
    12/10/2019       3,888,091       $7.19           -$0.02     -0.28%
    12/11/2019       2,721,794       $7.26           $0.07       0.97%
    12/12/2019      12,541,338       $7.57           $0.31       4.27%
    12/13/2019       5,662,689       $7.48           -$0.09     -1.19%
    12/16/2019       4,439,177       $7.69           $0.21       2.81%
    12/17/2019       4,468,116       $7.81           $0.12       1.56%
    12/18/2019       2,734,306       $7.75           -$0.06     -0.77%
    12/19/2019       2,935,502       $7.89           $0.14       1.81%
    12/20/2019       3,000,069       $7.77           -$0.12     -1.52%
    12/23/2019       3,270,148       $7.67           -$0.10     -1.29%
    12/24/2019         940,979       $7.62           -$0.05     -0.65%
    12/26/2019       2,243,933       $7.66           $0.04       0.52%
    12/27/2019       2,525,156       $7.69           $0.03       0.39%
    12/30/2019       2,841,443       $7.72           $0.03       0.39%
    12/31/2019       2,234,429       $7.78           $0.06       0.78%
     1/2/2020       11,434,853       $8.33           $0.55       7.07%
     1/3/2020        5,744,472       $8.12           -$0.21     -2.52%
     1/6/2020        5,566,954       $8.06           -$0.06     -0.74%
     1/7/2020        4,535,477       $8.25           $0.19       2.36%
     1/8/2020        8,386,132       $8.57           $0.32       3.88%
     1/9/2020        4,905,222       $8.61           $0.04       0.47%
     1/10/2020       3,734,118       $8.52           -$0.09     -1.05%
     1/13/2020       4,841,393       $8.48           -$0.04     -0.47%
     1/14/2020       5,661,484       $8.58           $0.10       1.18%
     1/15/2020       5,260,750       $8.41           -$0.17     -1.98%
     1/16/2020       3,089,016       $8.54           $0.13       1.55%
     1/17/2020       4,388,864       $8.42           -$0.12     -1.41%
     1/21/2020       3,883,590       $8.27           -$0.15     -1.78%
     1/22/2020       3,243,180       $8.40           $0.13       1.57%
     1/23/2020       6,494,843       $8.56           $0.16       1.90%
     1/24/2020       8,226,052       $8.57           $0.01       0.12%
     1/27/2020       5,431,067       $8.54           -$0.03     -0.35%
     1/28/2020       3,801,326       $8.67           $0.13       1.52%
     1/29/2020       5,691,275       $8.77           $0.10       1.15%
     1/30/2020      11,896,526       $9.30           $0.53       6.04%
     1/31/2020       8,241,772       $9.15           -$0.15     -1.61%
     2/3/2020        5,670,330       $8.96           -$0.19     -2.08%
     2/4/2020        4,721,952       $8.99           $0.03       0.33%
     2/5/2020        5,814,911       $9.11           $0.12       1.33%
     2/6/2020       23,345,354      $10.37           $1.26      13.83%
     2/7/2020        5,954,297      $10.41           $0.04       0.39%
     2/10/2020       8,158,472      $10.30           -$0.11     -1.06%
     2/11/2020       7,890,221      $10.50           $0.20       1.94%
     2/12/2020       5,476,615      $10.85           $0.35       3.33%
     2/13/2020       8,443,364      $11.02           $0.17       1.57%
     2/14/2020       5,973,885      $11.04           $0.02       0.18%
     2/18/2020       6,397,484      $10.71           -$0.33     -2.99%
     2/19/2020       7,628,259      $10.67           -$0.04     -0.37%
     2/20/2020       6,287,826      $10.67           $0.00       0.00%
     2/21/2020      11,119,138      $10.24           -$0.43     -4.03%
     2/24/2020      10,693,837       $9.64           -$0.60     -5.86%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change    Return
    2/25/2020       16,133,064       $9.33           -$0.31      -3.22%
    2/26/2020        8,695,382       $9.45           $0.12        1.29%
    2/27/2020       12,148,439       $8.98           -$0.47      -4.97%
    2/28/2020        9,583,771       $8.72           -$0.26      -2.90%
    3/2/2020        12,264,636       $8.59           -$0.13      -1.49%
    3/3/2020        15,845,556       $8.14           -$0.45      -5.24%
    3/4/2020        10,606,178       $8.20           $0.06        0.74%
    3/5/2020        11,179,988       $7.75           -$0.45      -5.49%
    3/6/2020        10,970,254       $7.59           -$0.16      -2.06%
    3/9/2020        13,790,369       $6.62           -$0.97     -12.78%
    3/10/2020       11,166,075       $6.96           $0.34        5.14%
    3/11/2020       18,292,362       $6.51           -$0.45      -6.47%
    3/12/2020       16,434,763       $5.53           -$0.98     -15.05%
    3/13/2020       10,609,870       $5.97           $0.44        7.96%
    3/16/2020       12,521,291       $5.48           -$0.49      -8.21%
    3/17/2020       11,880,609       $5.79           $0.31        5.66%
    3/18/2020       15,663,604       $5.56           -$0.23      -3.97%
    3/19/2020       13,403,120       $5.86           $0.30        5.40%
    3/20/2020       12,969,959       $5.76           -$0.10      -1.71%
    3/23/2020       11,118,950       $5.84           $0.08        1.39%
    3/24/2020        9,838,860       $6.58           $0.74      12.67%
    3/25/2020       10,449,073       $6.88           $0.30        4.56%
    3/26/2020        8,199,547       $6.99           $0.11        1.60%
    3/27/2020        6,165,211       $6.47           -$0.52      -7.44%
    3/30/2020        5,937,723       $6.51           $0.04        0.62%
    3/31/2020        5,113,991       $6.42           -$0.09      -1.38%
    4/1/2020         5,716,223       $5.96           -$0.46      -7.17%
    4/2/2020         6,539,395       $6.02           $0.06        1.01%
    4/3/2020         4,594,293       $5.90           -$0.12      -1.99%
    4/6/2020         5,750,318       $6.38           $0.48        8.14%
    4/7/2020         7,775,573       $6.64           $0.26        4.08%
    4/8/2020         4,605,047       $6.54           -$0.10      -1.51%
    4/9/2020         7,326,863       $6.69           $0.15        2.29%
    4/13/2020        3,851,730       $6.52           -$0.17      -2.54%
    4/14/2020        6,054,047       $6.85           $0.33        5.06%
    4/15/2020        7,404,076       $6.23           -$0.62      -9.05%
    4/16/2020        2,359,206       $6.22           -$0.01      -0.16%
    4/17/2020        4,337,295       $6.54           $0.32        5.14%
    4/20/2020        5,056,080       $6.33           -$0.21      -3.21%
    4/21/2020        6,791,261       $6.08           -$0.25      -3.95%
    4/22/2020        4,357,372       $6.09           $0.01        0.16%
    4/23/2020        5,646,148       $6.18           $0.09        1.48%
    4/24/2020        6,439,824       $5.95           -$0.23      -3.72%
    4/27/2020        9,091,582       $6.69           $0.74      12.44%
    4/28/2020        7,676,040       $6.85           $0.16        2.39%
    4/29/2020       12,885,532       $7.67           $0.82      11.97%
    4/30/2020        6,193,381       $7.41           -$0.26      -3.39%
    5/1/2020         5,636,558       $7.15           -$0.26      -3.51%
    5/4/2020         7,268,500       $7.05           -$0.10      -1.40%
    5/5/2020         4,709,581       $6.97           -$0.08      -1.13%
    5/6/2020         5,273,281       $6.80           -$0.17      -2.44%
    5/7/2020         5,227,232       $6.99           $0.19        2.79%
    5/8/2020         2,759,094       $7.13           $0.14        2.00%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    5/11/2020        4,329,837       $6.93           -$0.20     -2.81%
    5/12/2020        5,591,775       $6.91           -$0.02     -0.29%
    5/13/2020        5,082,177       $6.60           -$0.31     -4.49%
    5/14/2020        5,277,182       $6.66           $0.06       0.91%
    5/15/2020        5,979,838       $6.44           -$0.22     -3.30%
    5/18/2020        8,496,321       $7.13           $0.69      10.71%
    5/19/2020        7,553,232       $7.06           -$0.07     -0.98%
    5/20/2020        6,453,003       $7.51           $0.45       6.37%
    5/21/2020        2,832,432       $7.36           -$0.15     -2.00%
    5/22/2020        3,174,901       $7.32           -$0.04     -0.54%
    5/26/2020        9,982,457       $8.21           $0.89      12.16%
    5/27/2020        9,086,473       $8.68           $0.47       5.72%
    5/28/2020        8,666,587       $8.51           -$0.17     -1.96%
    5/29/2020        5,230,577       $8.40           -$0.11     -1.29%
    6/1/2020         4,256,390       $8.69           $0.29       3.45%
    6/2/2020         6,240,397       $8.90           $0.21       2.42%
    6/3/2020         7,084,000       $9.22           $0.32       3.60%
    6/4/2020         8,666,640       $9.49           $0.27       2.93%
    6/5/2020         8,949,277       $9.69           $0.20       2.11%
    6/8/2020        10,254,805      $10.20           $0.51       5.26%
    6/9/2020         7,490,265       $9.82           -$0.38     -3.73%
    6/10/2020        7,838,478       $9.78           -$0.04     -0.41%
    6/11/2020        9,508,308       $9.00           -$0.78     -7.98%
    6/12/2020        7,074,688       $9.39           $0.39       4.33%
    6/15/2020        4,497,694       $9.47           $0.08       0.85%
    6/16/2020        4,582,310       $9.55           $0.08       0.84%
    6/17/2020        5,251,399       $9.34           -$0.21     -2.20%
    6/18/2020        5,371,288       $9.24           -$0.10     -1.07%
    6/19/2020        3,718,869       $9.22           -$0.02     -0.22%
    6/22/2020        5,747,380       $9.35           $0.13       1.41%
    6/23/2020        4,365,652       $9.55           $0.20       2.14%
    6/24/2020        3,926,216       $9.12           -$0.43     -4.50%
    6/25/2020        4,898,414       $9.57           $0.45       4.93%
    6/26/2020        6,531,881       $9.00           -$0.57     -5.96%
    6/29/2020        4,163,992       $9.46           $0.46       5.11%
    6/30/2020        3,566,447       $9.52           $0.06       0.63%
    7/1/2020         4,649,692       $9.32           -$0.20     -2.10%
    7/2/2020         4,819,496       $9.53           $0.21       2.25%
    7/6/2020         5,252,569       $9.95           $0.42       4.41%
    7/7/2020         2,921,972       $9.82           -$0.13     -1.31%
    7/8/2020         3,390,353      $10.00           $0.18       1.83%
    7/9/2020         4,721,587       $9.72           -$0.28     -2.80%
    7/10/2020        4,689,165      $10.10           $0.38       3.91%
    7/13/2020        5,412,898       $9.73           -$0.37     -3.66%
    7/14/2020        5,456,954      $10.02           $0.29       2.98%
    7/15/2020        4,563,502      $10.19           $0.17       1.70%
    7/16/2020        3,959,741      $10.04           -$0.15     -1.47%
    7/17/2020        3,163,154       $9.97           -$0.07     -0.70%
    7/20/2020        2,580,601      $10.18           $0.21       2.11%
    7/21/2020        4,770,865       $9.74           -$0.44     -4.32%
    7/22/2020        3,463,961       $9.83           $0.09       0.92%
    7/23/2020        3,074,057       $9.62           -$0.21     -2.14%
    7/24/2020        2,643,070       $9.61           -$0.01     -0.10%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    7/27/2020        1,890,791       $9.55           -$0.06     -0.62%
    7/28/2020        3,287,678       $9.45           -$0.10     -1.05%
    7/29/2020       11,404,410       $9.22           -$0.23     -2.43%
    7/30/2020        7,392,671       $9.00           -$0.22     -2.39%
    7/31/2020        3,462,399       $8.92           -$0.08     -0.89%
    8/3/2020         2,546,694       $9.22           $0.30       3.36%
    8/4/2020         2,497,276       $9.25           $0.03       0.33%
    8/5/2020         3,754,763       $9.34           $0.09       0.97%
    8/6/2020         1,708,529       $9.22           -$0.12     -1.28%
    8/7/2020         2,508,662       $9.22           $0.00       0.00%
    8/10/2020        2,065,312       $9.42           $0.20       2.17%
    8/11/2020        3,508,447       $9.56           $0.14       1.49%
    8/12/2020        3,164,574       $9.71           $0.15       1.57%
    8/13/2020        2,497,889       $9.55           -$0.16     -1.65%
    8/14/2020        2,105,670       $9.52           -$0.03     -0.31%
    8/17/2020        1,870,135       $9.46           -$0.06     -0.63%
    8/18/2020        1,701,625       $9.40           -$0.06     -0.63%
    8/19/2020        2,161,675       $9.54           $0.14       1.49%
    8/20/2020        2,331,830       $9.34           -$0.20     -2.10%
    8/21/2020        2,635,384       $9.18           -$0.16     -1.71%
    8/24/2020        4,158,631       $9.59           $0.41       4.47%
    8/25/2020        2,338,099       $9.64           $0.05       0.52%
    8/26/2020        2,984,751       $9.81           $0.17       1.76%
    8/27/2020        2,388,633       $9.73           -$0.08     -0.82%
    8/28/2020        4,900,404       $9.89           $0.16       1.64%
    8/31/2020        3,877,354       $9.53           -$0.36     -3.64%
    9/1/2020         3,344,698       $9.52           -$0.01     -0.10%
    9/2/2020         2,765,204       $9.45           -$0.07     -0.74%
    9/3/2020         3,552,813       $9.29           -$0.16     -1.69%
    9/4/2020         4,747,384       $9.73           $0.44       4.74%
    9/8/2020         8,427,258       $9.41           -$0.32     -3.29%
    9/9/2020         3,082,867       $9.42           $0.01       0.11%
    9/10/2020        2,899,590       $9.35           -$0.07     -0.74%
    9/11/2020        3,161,740       $9.26           -$0.09     -0.96%
    9/14/2020        2,016,691       $9.34           $0.08       0.86%
    9/15/2020        2,069,730       $9.10           -$0.24     -2.57%
    9/16/2020        3,078,306       $9.29           $0.19       2.09%
    9/17/2020        2,295,581       $9.24           -$0.05     -0.54%
    9/18/2020        3,089,016       $9.09           -$0.15     -1.62%
    9/21/2020       12,790,870       $8.34           -$0.75     -8.25%
    9/22/2020        4,681,059       $8.14           -$0.20     -2.40%
    9/23/2020        5,217,430       $8.05           -$0.09     -1.11%
    9/24/2020        3,842,216       $8.11           $0.06       0.75%
    9/25/2020        5,571,021       $8.00           -$0.11     -1.36%
    9/28/2020        4,359,602       $8.43           $0.43       5.38%
    9/29/2020        4,034,016       $8.27           -$0.16     -1.90%
    9/30/2020        4,516,292       $8.40           $0.13       1.57%
    10/1/2020        4,289,997       $8.36           -$0.04     -0.48%
    10/2/2020        3,401,567       $8.50           $0.14       1.67%
    10/5/2020        5,380,463       $8.70           $0.20       2.35%
    10/6/2020        7,807,205       $9.01           $0.31       3.56%
    10/7/2020        4,203,936       $9.23           $0.22       2.44%
    10/8/2020        4,654,976       $9.36           $0.13       1.41%



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Exhibit 3B
Deutsche Bank AG (US)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
     10/9/2020       2,246,446       $9.28           -$0.08     -0.85%
    10/12/2020       2,491,167       $9.34           $0.06       0.65%
    10/13/2020       2,696,182       $9.11           -$0.23     -2.46%
    10/14/2020       2,282,592       $9.06           -$0.05     -0.55%
    10/15/2020       2,347,743       $9.02           -$0.04     -0.44%
    10/16/2020       3,416,349       $9.25           $0.23       2.55%
    10/19/2020       2,905,228       $9.28           $0.03       0.32%
    10/20/2020       3,616,456       $9.60           $0.32       3.45%
    10/21/2020       3,921,804       $9.41           -$0.19     -1.98%
    10/22/2020       3,170,032       $9.45           $0.04       0.43%
    10/23/2020       4,096,478       $9.65           $0.20       2.12%
    10/26/2020       4,411,538       $9.54           -$0.11     -1.14%
    10/27/2020       3,404,929       $9.25           -$0.29     -3.04%
    10/28/2020       8,499,931       $9.25           $0.00       0.00%
    10/29/2020       4,710,349       $9.24           -$0.01     -0.11%
    10/30/2020       4,411,337       $9.25           $0.01       0.11%
     11/2/2020       4,668,430       $9.64           $0.39       4.22%
     11/3/2020       9,659,465       $9.96           $0.32       3.32%
     11/4/2020       4,692,451       $9.92           -$0.04     -0.40%
     11/5/2020       4,483,912      $10.05           $0.13       1.31%
     11/6/2020       2,799,631      $10.15           $0.10       1.00%
     11/9/2020      10,897,184      $10.62           $0.47       4.63%
    11/10/2020      10,802,624      $10.72           $0.10       0.94%
    11/11/2020       4,805,650      $10.48           -$0.24     -2.24%
    11/12/2020       2,860,748      $10.41           -$0.07     -0.67%
    11/13/2020       3,894,949      $10.73           $0.32       3.07%
    11/16/2020       4,010,849      $10.79           $0.06       0.56%
    11/17/2020       8,973,125      $10.82           $0.03       0.28%
    11/18/2020       6,422,223      $10.72           -$0.10     -0.92%
    11/19/2020       2,535,629      $10.75           $0.03       0.28%
    11/20/2020       2,925,937      $10.69           -$0.06     -0.56%
    11/23/2020       5,469,344      $11.04           $0.35       3.27%
    11/24/2020       4,063,461      $11.46           $0.42       3.80%
    11/25/2020       2,412,971      $11.37           -$0.09     -0.79%
    11/27/2020       1,208,860      $11.36           -$0.01     -0.09%
    11/30/2020       3,192,618      $11.12           -$0.24     -2.11%
     12/1/2020       5,011,714      $11.45           $0.33       2.97%
     12/2/2020       2,519,493      $11.58           $0.13       1.14%
     12/3/2020       3,703,313      $11.77           $0.19       1.64%
     12/4/2020       3,220,895      $11.77           $0.00       0.00%
     12/7/2020       2,127,321      $11.58           -$0.19     -1.61%
     12/8/2020       1,671,027      $11.44           -$0.14     -1.21%
     12/9/2020       2,750,743      $11.23           -$0.21     -1.84%
    12/10/2020       3,543,601      $11.00           -$0.23     -2.05%
    12/11/2020       2,789,983      $10.62           -$0.38     -3.45%
    12/14/2020       3,397,844      $10.61           -$0.01     -0.09%
    12/15/2020       2,656,412      $10.85           $0.24       2.26%
    12/16/2020       2,361,738      $10.95           $0.10       0.92%
    12/17/2020       2,649,095      $11.13           $0.18       1.64%




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Exhibit 3C

           Volume                       Deutsche Bank AG (GR)
           Closing Price
                                            Closing Price and Volume
                                               Source: Bloomberg
 € 20.00                                                                                 120,000,000


 € 18.00

                                                                                         100,000,000
 € 16.00


 € 14.00
                                                                                         80,000,000

 € 12.00


 € 10.00                                                                                 60,000,000


  € 8.00

                                                                                         40,000,000
  € 6.00


  € 4.00
                                                                                         20,000,000

  € 2.00


  € 0.00                                                                                 0




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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    3/14/2017       10,912,276      € 16.21         -€ 0.19     -1.16%
    3/15/2017        9,439,936      € 16.12         -€ 0.09     -0.57%
    3/16/2017       15,267,304      € 16.22          € 0.10      0.63%
    3/17/2017       21,505,420      € 15.87         -€ 0.35     -2.13%
    3/20/2017       53,905,271      € 15.27         -€ 0.60     -3.77%
    3/21/2017       42,262,326      € 15.83          € 0.56      3.63%
    3/22/2017       18,967,908      € 15.78         -€ 0.05     -0.32%
    3/23/2017       17,211,000      € 15.72         -€ 0.06     -0.39%
    3/24/2017       13,551,565      € 15.52         -€ 0.20     -1.27%
    3/27/2017       15,008,480      € 15.58          € 0.06      0.37%
    3/28/2017       16,932,580      € 16.05          € 0.47      3.04%
    3/29/2017       21,734,173      € 16.16          € 0.11      0.70%
    3/30/2017       15,519,711      € 16.22          € 0.05      0.33%
    3/31/2017       19,031,953      € 16.07         -€ 0.15     -0.92%
    4/3/2017        20,443,019      € 15.64         -€ 0.43     -2.65%
    4/4/2017        49,079,412      € 15.58         -€ 0.06     -0.38%
    4/5/2017        16,411,961      € 15.52         -€ 0.06     -0.39%
    4/6/2017        12,215,878      € 15.59          € 0.07      0.48%
    4/7/2017        14,944,502      € 15.53         -€ 0.06     -0.40%
    4/10/2017       11,045,337      € 15.55          € 0.02      0.13%
    4/11/2017       14,471,560      € 15.38         -€ 0.17     -1.11%
    4/12/2017       15,157,507      € 15.20         -€ 0.18     -1.15%
    4/13/2017       14,671,512      € 14.98         -€ 0.22     -1.47%
    4/18/2017       17,907,753      € 14.89         -€ 0.09     -0.57%
    4/19/2017       12,547,661      € 14.98          € 0.08      0.56%
    4/20/2017       14,533,123      € 15.40          € 0.43      2.86%
    4/21/2017       18,032,700      € 15.45          € 0.05      0.32%
    4/24/2017       45,446,677      € 16.94          € 1.49      9.62%
    4/25/2017       17,212,035      € 16.97          € 0.03      0.17%
    4/26/2017       17,854,772      € 17.28          € 0.31      1.83%
    4/27/2017       21,546,087      € 16.70         -€ 0.58     -3.35%
    4/28/2017       15,971,974      € 16.55         -€ 0.15     -0.90%
    5/2/2017        11,061,861      € 16.73          € 0.18      1.06%
    5/3/2017        10,086,081      € 16.92          € 0.20      1.18%
    5/4/2017        13,394,045      € 17.10          € 0.17      1.02%
    5/5/2017        16,065,379      € 17.57          € 0.48      2.78%
    5/8/2017        15,576,296      € 17.47         -€ 0.10     -0.57%
    5/9/2017        13,261,965      € 17.31         -€ 0.16     -0.94%
    5/10/2017       19,259,125      € 17.44          € 0.13      0.76%
    5/11/2017       12,836,215      € 17.33         -€ 0.11     -0.61%
    5/12/2017       10,673,796      € 17.18         -€ 0.15     -0.88%
    5/15/2017       10,972,264      € 17.38          € 0.20      1.17%
    5/16/2017       11,268,757      € 17.38          € 0.00     -0.01%
    5/17/2017       18,741,292      € 16.75         -€ 0.63     -3.61%
    5/18/2017       21,373,503      € 16.84          € 0.09      0.56%
    5/19/2017       16,302,539      € 17.04          € 0.20      1.17%
    5/22/2017        9,148,501      € 17.00         -€ 0.04     -0.25%
    5/23/2017        9,198,914      € 17.19          € 0.19      1.12%
    5/24/2017        9,445,930      € 16.91         -€ 0.28     -1.62%
    5/25/2017        7,501,890      € 16.80         -€ 0.11     -0.66%
    5/26/2017       14,338,059      € 16.50         -€ 0.30     -1.76%
    5/29/2017        5,281,510      € 16.39         -€ 0.12     -0.70%
    5/30/2017       12,774,602      € 16.10         -€ 0.29     -1.78%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    5/31/2017       21,184,414      € 15.59         -€ 0.51     -3.14%
    6/1/2017        15,495,500      € 15.73          € 0.14      0.87%
    6/2/2017        15,227,865      € 15.65         -€ 0.08     -0.48%
    6/5/2017             1,123      € 15.65         -€ 0.01     -0.03%
    6/6/2017        12,295,338      € 15.32         -€ 0.33     -2.11%
    6/7/2017        11,242,763      € 15.49          € 0.18      1.14%
    6/8/2017        12,505,512      € 15.61          € 0.12      0.75%
    6/9/2017        11,738,287      € 15.78          € 0.17      1.10%
    6/12/2017       10,756,363      € 15.48         -€ 0.30     -1.87%
    6/13/2017        7,614,375      € 15.58          € 0.10      0.65%
    6/14/2017       13,961,733      € 15.40         -€ 0.18     -1.16%
    6/15/2017       14,818,574      € 15.12         -€ 0.28     -1.83%
    6/16/2017       41,745,983      € 15.00         -€ 0.12     -0.79%
    6/19/2017       12,674,825      € 15.42          € 0.42      2.79%
    6/20/2017       12,132,971      € 15.18         -€ 0.24     -1.54%
    6/21/2017       10,460,381      € 15.13         -€ 0.05     -0.35%
    6/22/2017       12,744,966      € 15.02         -€ 0.11     -0.73%
    6/23/2017       10,163,999      € 14.89         -€ 0.13     -0.89%
    6/26/2017        9,144,484      € 15.07          € 0.19      1.26%
    6/27/2017       15,951,464      € 15.41          € 0.34      2.24%
    6/28/2017       16,275,430      € 15.74          € 0.32      2.10%
    6/29/2017       19,720,778      € 15.80          € 0.07      0.41%
    6/30/2017       13,397,939      € 15.58         -€ 0.22     -1.39%
    7/3/2017        10,843,144      € 16.02          € 0.44      2.84%
    7/4/2017        13,097,883      € 16.29          € 0.26      1.65%
    7/5/2017        15,018,130      € 16.45          € 0.17      1.01%
    7/6/2017        17,362,445      € 16.58          € 0.12      0.75%
    7/7/2017        13,543,501      € 16.70          € 0.12      0.72%
    7/10/2017       10,362,047      € 16.65         -€ 0.04     -0.25%
    7/11/2017       10,291,313      € 16.60         -€ 0.05     -0.32%
    7/12/2017       15,859,292      € 16.47         -€ 0.13     -0.79%
    7/13/2017       10,051,902      € 16.55          € 0.08      0.51%
    7/14/2017       11,612,239      € 16.48         -€ 0.08     -0.47%
    7/17/2017        6,470,824      € 16.35         -€ 0.13     -0.77%
    7/18/2017       13,220,893      € 15.99         -€ 0.36     -2.18%
    7/19/2017        8,683,669      € 15.92         -€ 0.08     -0.48%
    7/20/2017       13,621,140      € 15.85         -€ 0.06     -0.40%
    7/21/2017       15,769,027      € 15.58         -€ 0.27     -1.71%
    7/24/2017       12,515,598      € 16.04          € 0.45      2.92%
    7/25/2017       14,511,144      € 16.38          € 0.34      2.11%
    7/26/2017       11,489,916      € 16.21         -€ 0.16     -0.99%
    7/27/2017       30,849,483      € 15.43         -€ 0.79     -4.87%
    7/28/2017       18,123,742      € 15.47          € 0.04      0.29%
    7/31/2017       16,545,952      € 15.12         -€ 0.35     -2.29%
    8/1/2017        12,815,183      € 15.37          € 0.25      1.67%
    8/2/2017        10,575,818      € 15.17         -€ 0.20     -1.33%
    8/3/2017        10,467,167      € 15.19          € 0.03      0.18%
    8/4/2017        12,602,721      € 15.57          € 0.38      2.48%
    8/7/2017         7,917,609      € 15.48         -€ 0.09     -0.58%
    8/8/2017         8,584,671      € 15.33         -€ 0.15     -0.96%
    8/9/2017        20,654,808      € 14.92         -€ 0.41     -2.69%
    8/10/2017       19,024,811      € 14.32         -€ 0.60     -4.01%
    8/11/2017       19,496,571      € 14.37          € 0.05      0.37%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     8/14/2017      13,273,640      € 14.68          € 0.30      2.11%
     8/15/2017       8,684,043      € 14.62         -€ 0.06     -0.38%
     8/16/2017       8,303,989      € 14.47         -€ 0.15     -1.01%
     8/17/2017      17,268,901      € 14.02         -€ 0.45     -3.14%
     8/18/2017      16,591,515      € 14.05          € 0.03      0.23%
     8/21/2017      14,204,823      € 13.75         -€ 0.30     -2.13%
     8/22/2017      11,924,109      € 13.83          € 0.08      0.60%
     8/23/2017      11,614,893      € 13.80         -€ 0.04     -0.27%
     8/24/2017      10,118,163      € 13.78         -€ 0.02     -0.14%
     8/25/2017       7,914,062      € 13.78          € 0.01      0.06%
     8/28/2017       5,161,806      € 13.68         -€ 0.11     -0.78%
     8/29/2017      16,108,277      € 13.40         -€ 0.27     -2.00%
     8/30/2017       8,344,821      € 13.48          € 0.08      0.61%
     8/31/2017      10,791,748      € 13.47         -€ 0.01     -0.09%
     9/1/2017       13,215,994      € 13.51          € 0.04      0.29%
     9/4/2017        6,668,727      € 13.46         -€ 0.05     -0.40%
     9/5/2017       10,937,980      € 13.17         -€ 0.28     -2.10%
     9/6/2017       12,362,462      € 13.43          € 0.26      1.97%
     9/7/2017       15,169,407      € 13.26         -€ 0.17     -1.27%
     9/8/2017        9,109,871      € 13.30          € 0.04      0.29%
     9/11/2017      12,250,271      € 13.66          € 0.36      2.72%
     9/12/2017      18,986,208      € 14.23          € 0.56      4.13%
     9/13/2017      10,151,536      € 14.11         -€ 0.12     -0.81%
     9/14/2017      14,002,165      € 13.98         -€ 0.13     -0.90%
     9/15/2017      35,276,187      € 13.84         -€ 0.15     -1.04%
     9/18/2017       8,742,246      € 13.84          € 0.00     -0.02%
     9/19/2017       7,373,086      € 13.79         -€ 0.05     -0.33%
     9/20/2017      14,272,669      € 13.73         -€ 0.06     -0.44%
     9/21/2017      19,742,994      € 13.98          € 0.25      1.81%
     9/22/2017       9,095,252      € 13.91         -€ 0.07     -0.53%
     9/25/2017      10,797,521      € 13.53         -€ 0.38     -2.73%
     9/26/2017       8,732,243      € 13.60          € 0.07      0.55%
     9/27/2017      14,421,974      € 14.12          € 0.52      3.82%
     9/28/2017      20,663,085      € 14.39          € 0.27      1.91%
     9/29/2017      16,023,609      € 14.59          € 0.20      1.39%
     10/2/2017      12,154,266      € 14.58         -€ 0.02     -0.10%
     10/3/2017           1,085      € 14.50         -€ 0.08     -0.55%
     10/4/2017      13,493,506      € 14.28         -€ 0.22     -1.50%
     10/5/2017      11,542,588      € 14.68          € 0.41      2.84%
     10/6/2017      10,955,675      € 14.67         -€ 0.02     -0.12%
     10/9/2017      11,486,703      € 14.38         -€ 0.28     -1.94%
    10/10/2017      10,045,673      € 14.36         -€ 0.02     -0.15%
    10/11/2017       8,696,623      € 14.25         -€ 0.11     -0.74%
    10/12/2017       9,424,166      € 14.13         -€ 0.12     -0.87%
    10/13/2017      12,584,225      € 14.02         -€ 0.11     -0.80%
    10/16/2017       8,862,607      € 14.19          € 0.17      1.21%
    10/17/2017       8,851,870      € 14.20          € 0.01      0.07%
    10/18/2017       7,601,910      € 14.35          € 0.15      1.06%
    10/19/2017       9,220,834      € 14.24         -€ 0.10     -0.72%
    10/20/2017      10,337,409      € 14.41          € 0.17      1.16%
    10/23/2017       8,981,988      € 14.13         -€ 0.28     -1.94%
    10/24/2017      20,027,529      € 14.61          € 0.48      3.43%
    10/25/2017      18,426,247      € 14.51         -€ 0.10     -0.71%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
    10/26/2017      24,950,589      € 14.38         -€ 0.13     -0.92%
    10/27/2017      19,123,769      € 14.06         -€ 0.31     -2.18%
    10/30/2017      14,728,083      € 13.96         -€ 0.11     -0.76%
    10/31/2017           1,066      € 13.98          € 0.02      0.14%
     11/1/2017      19,171,704      € 14.20          € 0.22      1.60%
     11/2/2017      23,373,063      € 14.61          € 0.41      2.89%
     11/3/2017      18,653,800      € 14.44         -€ 0.17     -1.16%
     11/6/2017      13,993,341      € 14.49          € 0.05      0.35%
     11/7/2017      14,809,413      € 14.40         -€ 0.09     -0.61%
     11/8/2017      19,459,051      € 14.65          € 0.25      1.76%
     11/9/2017      24,219,756      € 14.92          € 0.27      1.82%
    11/10/2017      26,456,420      € 15.40          € 0.48      3.22%
    11/13/2017      19,222,346      € 15.34         -€ 0.06     -0.38%
    11/14/2017      16,107,369      € 15.44          € 0.10      0.65%
    11/15/2017      31,763,633      € 15.71          € 0.27      1.73%
    11/16/2017      21,544,346      € 16.16          € 0.45      2.88%
    11/17/2017      17,843,786      € 16.21          € 0.05      0.28%
    11/20/2017      15,540,122      € 16.30          € 0.09      0.58%
    11/21/2017      15,606,287      € 16.18         -€ 0.12     -0.74%
    11/22/2017      11,239,251      € 16.01         -€ 0.17     -1.08%
    11/23/2017      10,102,755      € 15.95         -€ 0.05     -0.34%
    11/24/2017       9,818,691      € 16.03          € 0.08      0.49%
    11/27/2017      11,662,742      € 15.78         -€ 0.26     -1.60%
    11/28/2017      11,866,109      € 15.90          € 0.13      0.79%
    11/29/2017      13,081,388      € 16.00          € 0.10      0.63%
    11/30/2017      14,427,376      € 15.83         -€ 0.17     -1.04%
     12/1/2017      14,114,677      € 15.90          € 0.07      0.42%
     12/4/2017      10,464,510      € 16.10          € 0.20      1.28%
     12/5/2017      11,683,051      € 15.88         -€ 0.23     -1.40%
     12/6/2017      11,969,587      € 15.71         -€ 0.17     -1.07%
     12/7/2017       9,602,853      € 15.94          € 0.23      1.48%
     12/8/2017      25,226,664      € 16.43          € 0.49      3.10%
    12/11/2017      10,375,349      € 16.39         -€ 0.04     -0.26%
    12/12/2017       9,760,929      € 16.50          € 0.11      0.67%
    12/13/2017      10,027,527      € 16.38         -€ 0.12     -0.71%
    12/14/2017      12,758,684      € 16.30         -€ 0.08     -0.51%
    12/15/2017      26,868,873      € 16.52          € 0.22      1.34%
    12/18/2017      20,575,319      € 17.07          € 0.55      3.35%
    12/19/2017      12,639,828      € 16.76         -€ 0.31     -1.80%
    12/20/2017      10,385,454      € 16.60         -€ 0.16     -0.97%
    12/21/2017      12,166,152      € 16.56         -€ 0.05     -0.27%
    12/22/2017       8,796,097      € 16.34         -€ 0.22     -1.30%
    12/27/2017       7,256,170      € 16.03         -€ 0.32     -1.93%
    12/28/2017       7,154,748      € 15.96         -€ 0.06     -0.39%
    12/29/2017       5,697,678      € 15.88         -€ 0.09     -0.55%
     1/2/2018       12,680,173      € 16.01          € 0.13      0.83%
     1/3/2018       15,571,328      € 15.92         -€ 0.08     -0.51%
     1/4/2018       17,837,459      € 16.36          € 0.44      2.74%
     1/5/2018       34,514,116      € 15.38         -€ 0.98     -5.99%
     1/8/2018       23,800,935      € 15.29         -€ 0.09     -0.59%
     1/9/2018       18,035,459      € 15.15         -€ 0.14     -0.94%
     1/10/2018      23,963,066      € 15.49          € 0.34      2.26%
     1/11/2018      19,755,241      € 15.41         -€ 0.08     -0.50%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    1/12/2018       14,461,679      € 15.29         -€ 0.12     -0.78%
    1/15/2018        8,140,661      € 15.33          € 0.04      0.24%
    1/16/2018       10,528,644      € 15.06         -€ 0.26     -1.71%
    1/17/2018       12,095,694      € 15.13          € 0.06      0.42%
    1/18/2018       11,647,882      € 15.16          € 0.04      0.24%
    1/19/2018       14,695,500      € 15.31          € 0.14      0.95%
    1/22/2018       20,745,586      € 15.80          € 0.49      3.21%
    1/23/2018       17,018,288      € 15.82          € 0.02      0.15%
    1/24/2018       15,917,947      € 15.90          € 0.07      0.47%
    1/25/2018       14,025,818      € 15.78         -€ 0.12     -0.75%
    1/26/2018       10,467,369      € 15.69         -€ 0.08     -0.53%
    1/29/2018       12,620,593      € 15.45         -€ 0.24     -1.55%
    1/30/2018       23,494,357      € 14.82         -€ 0.63     -4.09%
    1/31/2018       17,631,507      € 14.80         -€ 0.01     -0.09%
    2/1/2018        16,537,890      € 14.84          € 0.03      0.23%
    2/2/2018        45,476,248      € 13.71         -€ 1.13     -7.60%
    2/5/2018        23,827,528      € 13.22         -€ 0.49     -3.60%
    2/6/2018        33,901,668      € 13.35          € 0.13      0.98%
    2/7/2018        38,567,252      € 13.13         -€ 0.22     -1.62%
    2/8/2018        26,766,426      € 12.67         -€ 0.46     -3.50%
    2/9/2018        34,426,458      € 12.71          € 0.04      0.35%
    2/12/2018       29,198,389      € 13.06          € 0.35      2.72%
    2/13/2018       16,107,078      € 12.88         -€ 0.18     -1.38%
    2/14/2018       20,952,643      € 13.02          € 0.14      1.06%
    2/15/2018       17,973,556      € 12.91         -€ 0.11     -0.81%
    2/16/2018       17,105,881      € 12.93          € 0.02      0.17%
    2/19/2018       12,615,891      € 13.25          € 0.31      2.43%
    2/20/2018       14,195,171      € 13.35          € 0.10      0.77%
    2/21/2018       14,700,637      € 13.50          € 0.15      1.14%
    2/22/2018       12,116,606      € 13.34         -€ 0.16     -1.17%
    2/23/2018        7,896,459      € 13.34          € 0.00      0.00%
    2/26/2018        8,332,547      € 13.35          € 0.00      0.03%
    2/27/2018        9,750,855      € 13.40          € 0.06      0.43%
    2/28/2018       10,377,709      € 13.08         -€ 0.32     -2.42%
    3/1/2018        16,798,217      € 12.79         -€ 0.29     -2.19%
    3/2/2018        18,167,091      € 12.76         -€ 0.03     -0.23%
    3/5/2018        16,104,713      € 12.90          € 0.14      1.07%
    3/6/2018        13,131,160      € 12.91          € 0.01      0.05%
    3/7/2018        12,696,166      € 13.12          € 0.21      1.66%
    3/8/2018        11,633,156      € 13.09         -€ 0.03     -0.23%
    3/9/2018         9,803,227      € 13.08         -€ 0.01     -0.05%
    3/12/2018        8,969,757      € 13.01         -€ 0.08     -0.58%
    3/13/2018       12,360,751      € 12.80         -€ 0.21     -1.61%
    3/14/2018       11,237,158      € 12.68         -€ 0.12     -0.94%
    3/15/2018       10,960,416      € 12.78          € 0.10      0.79%
    3/16/2018       24,666,833      € 12.84          € 0.06      0.47%
    3/19/2018       11,821,510      € 12.59         -€ 0.25     -1.92%
    3/20/2018        8,512,469      € 12.68          € 0.09      0.68%
    3/21/2018       36,302,556      € 12.05         -€ 0.63     -4.95%
    3/22/2018       27,006,264      € 11.53         -€ 0.52     -4.35%
    3/23/2018       35,076,721      € 11.13         -€ 0.39     -3.40%
    3/26/2018       17,558,114      € 11.29          € 0.16      1.40%
    3/27/2018       17,900,227      € 11.13         -€ 0.16     -1.42%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    3/28/2018       17,215,555      € 11.17          € 0.04      0.36%
    3/29/2018       16,124,458      € 11.38          € 0.21      1.90%
    4/3/2018        14,891,104      € 11.16         -€ 0.22     -1.92%
    4/4/2018        19,103,091      € 11.28          € 0.11      1.02%
    4/5/2018        18,693,396      € 11.68          € 0.40      3.55%
    4/6/2018        14,706,322      € 11.28         -€ 0.40     -3.39%
    4/9/2018        19,065,076      € 11.40          € 0.12      1.05%
    4/10/2018       14,937,707      € 11.40          € 0.00     -0.02%
    4/11/2018       12,655,459      € 11.48          € 0.08      0.74%
    4/12/2018        9,083,487      € 11.65          € 0.17      1.50%
    4/13/2018       12,395,413      € 11.63         -€ 0.02     -0.19%
    4/16/2018        9,408,920      € 11.58         -€ 0.05     -0.43%
    4/17/2018        9,330,744      € 11.62          € 0.04      0.33%
    4/18/2018        7,823,494      € 11.68          € 0.06      0.48%
    4/19/2018        8,708,878      € 11.68          € 0.00      0.00%
    4/20/2018       14,953,980      € 11.57         -€ 0.11     -0.92%
    4/23/2018        9,710,725      € 11.65          € 0.09      0.74%
    4/24/2018       22,095,997      € 12.05          € 0.40      3.43%
    4/25/2018       16,522,089      € 11.98         -€ 0.07     -0.61%
    4/26/2018       25,650,156      € 11.84         -€ 0.14     -1.17%
    4/27/2018       25,338,212      € 11.42         -€ 0.42     -3.53%
    4/30/2018       10,719,901      € 11.32         -€ 0.11     -0.93%
    5/2/2018        11,685,149      € 11.39          € 0.07      0.62%
    5/3/2018        13,331,735      € 11.33         -€ 0.06     -0.49%
    5/4/2018        11,222,122      € 11.53          € 0.20      1.77%
    5/7/2018         8,382,058      € 11.52         -€ 0.01     -0.10%
    5/8/2018        10,777,526      € 11.43         -€ 0.09     -0.78%
    5/9/2018         8,806,090      € 11.60          € 0.17      1.49%
    5/10/2018        6,617,670      € 11.61          € 0.02      0.14%
    5/11/2018        7,838,010      € 11.59         -€ 0.02     -0.17%
    5/14/2018       11,621,207      € 11.43         -€ 0.17     -1.45%
    5/15/2018       16,156,535      € 11.22         -€ 0.21     -1.80%
    5/16/2018       22,251,271      € 10.99         -€ 0.23     -2.05%
    5/17/2018       11,999,723      € 10.99          € 0.00      0.02%
    5/18/2018       19,409,993      € 10.79         -€ 0.20     -1.80%
    5/21/2018              759      € 10.82          € 0.03      0.28%
    5/22/2018       16,984,605      € 11.00          € 0.18      1.64%
    5/23/2018       18,825,025      € 10.97         -€ 0.03     -0.29%
    5/24/2018       40,670,859      € 10.53         -€ 0.44     -3.97%
    5/25/2018       22,121,668      € 10.38         -€ 0.15     -1.46%
    5/28/2018       13,875,706      € 10.32         -€ 0.06     -0.58%
    5/29/2018       46,171,255       € 9.79         -€ 0.53     -5.10%
    5/30/2018       32,857,907       € 9.91          € 0.12      1.18%
    5/31/2018       61,774,652       € 9.49         -€ 0.42     -4.24%
    6/1/2018        38,335,966       € 9.48         -€ 0.01     -0.07%
    6/4/2018        23,002,995       € 9.58          € 0.09      0.97%
    6/5/2018        25,627,060       € 9.40         -€ 0.17     -1.83%
    6/6/2018        23,332,007       € 9.59          € 0.19      1.97%
    6/7/2018        22,646,943       € 9.76          € 0.17      1.78%
    6/8/2018        18,969,590       € 9.58         -€ 0.18     -1.85%
    6/11/2018       16,530,671       € 9.70          € 0.12      1.29%
    6/12/2018       13,122,557       € 9.66         -€ 0.04     -0.44%
    6/13/2018       14,327,393       € 9.63         -€ 0.02     -0.25%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    6/14/2018       19,240,710       € 9.66          € 0.03      0.30%
    6/15/2018       39,199,211       € 9.52         -€ 0.14     -1.43%
    6/18/2018       14,505,601       € 9.53          € 0.01      0.10%
    6/19/2018       18,369,477       € 9.59          € 0.06      0.61%
    6/20/2018       16,590,587       € 9.59          € 0.00     -0.04%
    6/21/2018       18,833,119       € 9.36         -€ 0.23     -2.38%
    6/22/2018       10,813,294       € 9.45          € 0.09      0.96%
    6/25/2018       13,649,309       € 9.28         -€ 0.17     -1.81%
    6/26/2018       12,752,452       € 9.22         -€ 0.06     -0.66%
    6/27/2018       32,787,063       € 8.97         -€ 0.24     -2.65%
    6/28/2018       17,608,164       € 9.09          € 0.11      1.25%
    6/29/2018       24,963,167       € 9.13          € 0.04      0.46%
    7/2/2018        16,620,851       € 9.14          € 0.01      0.11%
    7/3/2018        13,740,612       € 9.25          € 0.11      1.18%
    7/4/2018        11,057,493       € 9.36          € 0.11      1.20%
    7/5/2018        20,914,629       € 9.54          € 0.19      1.99%
    7/6/2018        37,544,705       € 9.79          € 0.25      2.58%
    7/9/2018        14,304,739       € 9.78         -€ 0.01     -0.12%
    7/10/2018       14,421,919       € 9.72         -€ 0.06     -0.59%
    7/11/2018       14,562,320       € 9.56         -€ 0.16     -1.63%
    7/12/2018       11,713,421       € 9.59          € 0.03      0.28%
    7/13/2018       17,963,098       € 9.61          € 0.02      0.20%
    7/16/2018       44,468,277      € 10.38          € 0.77      8.05%
    7/17/2018       22,549,769      € 10.16         -€ 0.22     -2.14%
    7/18/2018       14,616,007      € 10.35          € 0.19      1.89%
    7/19/2018       12,414,233      € 10.32         -€ 0.03     -0.25%
    7/20/2018       16,871,500      € 10.25         -€ 0.07     -0.68%
    7/23/2018       10,503,208      € 10.37          € 0.12      1.17%
    7/24/2018       14,436,832      € 10.52          € 0.14      1.37%
    7/25/2018       14,580,749      € 10.35         -€ 0.16     -1.56%
    7/26/2018       16,305,896      € 10.47          € 0.11      1.10%
    7/27/2018       12,170,045      € 10.60          € 0.13      1.26%
    7/30/2018       15,731,808      € 10.92          € 0.32      3.02%
    7/31/2018       22,200,027      € 11.18          € 0.27      2.44%
    8/1/2018        12,159,208      € 11.12         -€ 0.07     -0.61%
    8/2/2018        16,814,667      € 10.79         -€ 0.32     -2.90%
    8/3/2018         9,983,918      € 10.80          € 0.01      0.07%
    8/6/2018         8,676,958      € 10.81          € 0.01      0.09%
    8/7/2018         9,918,388      € 10.90          € 0.08      0.78%
    8/8/2018        12,848,847      € 10.78         -€ 0.12     -1.10%
    8/9/2018         8,059,694      € 10.74         -€ 0.03     -0.32%
    8/10/2018       27,219,458      € 10.32         -€ 0.42     -3.89%
    8/13/2018       19,347,314      € 10.06         -€ 0.26     -2.54%
    8/14/2018       13,144,766      € 10.10          € 0.03      0.34%
    8/15/2018       19,343,096       € 9.83         -€ 0.26     -2.60%
    8/16/2018       11,673,403       € 9.86          € 0.03      0.28%
    8/17/2018       14,575,255       € 9.78         -€ 0.08     -0.85%
    8/20/2018        8,871,539       € 9.77         -€ 0.01     -0.06%
    8/21/2018       10,852,935       € 9.97          € 0.20      2.04%
    8/22/2018        9,895,002      € 10.00          € 0.03      0.30%
    8/23/2018        9,933,279       € 9.81         -€ 0.19     -1.89%
    8/24/2018        8,363,307       € 9.80         -€ 0.01     -0.10%
    8/27/2018        9,519,911      € 10.03          € 0.23      2.32%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date         Volume       Closing Price   Price Change   Return
     8/28/2018       10,392,907       € 9.86         -€ 0.16     -1.64%
     8/29/2018       10,088,279       € 9.95          € 0.09      0.89%
     8/30/2018       10,652,844       € 9.73         -€ 0.22     -2.25%
     8/31/2018       11,867,573       € 9.69         -€ 0.04     -0.39%
     9/3/2018         9,163,887       € 9.75          € 0.06      0.65%
     9/4/2018        13,269,452       € 9.84          € 0.09      0.91%
     9/5/2018        15,425,901       € 9.88          € 0.04      0.39%
     9/6/2018        12,334,882       € 9.77         -€ 0.12     -1.16%
     9/7/2018        19,471,453       € 9.60         -€ 0.17     -1.69%
     9/10/2018       12,441,266       € 9.59         -€ 0.01     -0.16%
     9/11/2018       16,665,304       € 9.67          € 0.08      0.89%
     9/12/2018       12,634,169       € 9.64         -€ 0.03     -0.31%
     9/13/2018       15,746,882       € 9.73          € 0.09      0.91%
     9/14/2018       13,510,779       € 9.81          € 0.08      0.80%
     9/17/2018       11,046,677       € 9.86          € 0.05      0.50%
     9/18/2018        9,937,575       € 9.92          € 0.06      0.66%
     9/19/2018       18,635,020      € 10.23          € 0.31      3.10%
     9/20/2018       18,787,508      € 10.40          € 0.17      1.68%
     9/21/2018      111,145,491      € 10.50          € 0.10      0.96%
     9/24/2018       12,872,455      € 10.41         -€ 0.09     -0.82%
     9/25/2018       10,426,864      € 10.33         -€ 0.09     -0.83%
     9/26/2018        9,923,223      € 10.15         -€ 0.18     -1.74%
     9/27/2018       11,126,604      € 10.14         -€ 0.01     -0.12%
     9/28/2018       22,496,989       € 9.76         -€ 0.37     -3.67%
     10/1/2018       12,663,970       € 9.73         -€ 0.04     -0.37%
     10/2/2018       14,156,649       € 9.62         -€ 0.11     -1.08%
     10/3/2018              564       € 9.74          € 0.11      1.16%
     10/4/2018       15,366,551       € 9.72         -€ 0.02     -0.18%
     10/5/2018       12,897,293       € 9.67         -€ 0.04     -0.44%
     10/8/2018       12,120,441       € 9.59         -€ 0.09     -0.89%
     10/9/2018       10,323,028       € 9.60          € 0.01      0.07%
    10/10/2018       13,602,695       € 9.48         -€ 0.11     -1.16%
    10/11/2018       18,463,573       € 9.35         -€ 0.13     -1.41%
    10/12/2018       11,161,063       € 9.38          € 0.03      0.31%
    10/15/2018        9,335,729       € 9.54          € 0.16      1.67%
    10/16/2018       11,776,071       € 9.64          € 0.10      1.07%
    10/17/2018       12,876,541       € 9.79          € 0.15      1.54%
    10/18/2018       11,862,581       € 9.57         -€ 0.21     -2.19%
    10/19/2018       17,903,067       € 9.51         -€ 0.07     -0.69%
    10/22/2018       11,877,836       € 9.35         -€ 0.16     -1.64%
    10/23/2018       13,630,790       € 9.33         -€ 0.02     -0.22%
    10/24/2018       27,528,937       € 8.78         -€ 0.55     -5.84%
    10/25/2018       20,470,672       € 8.77         -€ 0.02     -0.18%
    10/26/2018       22,093,955       € 8.50         -€ 0.27     -3.06%
    10/29/2018       12,711,938       € 8.47         -€ 0.04     -0.41%
    10/30/2018       11,441,423       € 8.60          € 0.14      1.59%
    10/31/2018       11,286,463       € 8.65          € 0.05      0.58%
     11/1/2018       20,484,515       € 8.99          € 0.34      3.93%
     11/2/2018       20,681,951       € 9.22          € 0.23      2.56%
     11/5/2018        9,118,345       € 9.18         -€ 0.04     -0.41%
     11/6/2018        9,332,168       € 9.11         -€ 0.07     -0.76%
     11/7/2018       10,543,591       € 9.25          € 0.14      1.55%
     11/8/2018       10,743,677       € 9.09         -€ 0.17     -1.78%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     11/9/2018      13,263,809      € 8.93          -€ 0.16     -1.75%
    11/12/2018      12,424,418      € 8.67          -€ 0.26     -2.90%
    11/13/2018      10,689,283      € 8.75           € 0.07      0.87%
    11/14/2018       8,859,724      € 8.69          -€ 0.05     -0.58%
    11/15/2018      12,350,482      € 8.70           € 0.01      0.09%
    11/16/2018      12,966,202      € 8.63          -€ 0.07     -0.82%
    11/19/2018       8,600,744      € 8.52          -€ 0.11     -1.26%
    11/20/2018      25,779,628      € 8.12          -€ 0.40     -4.71%
    11/21/2018      11,507,809      € 8.29           € 0.16      2.02%
    11/22/2018       8,445,708      € 8.24          -€ 0.05     -0.60%
    11/23/2018       8,986,392      € 8.18          -€ 0.05     -0.67%
    11/26/2018      15,141,015      € 8.59           € 0.41      4.96%
    11/27/2018       9,697,641      € 8.68           € 0.10      1.14%
    11/28/2018       8,212,168      € 8.63          -€ 0.05     -0.59%
    11/29/2018      22,123,398      € 8.31          -€ 0.32     -3.74%
    11/30/2018      19,531,247      € 8.11          -€ 0.20     -2.38%
     12/3/2018      13,871,547      € 8.30           € 0.19      2.32%
     12/4/2018      11,670,826      € 8.02          -€ 0.28     -3.42%
     12/5/2018      13,330,900      € 8.08           € 0.06      0.74%
     12/6/2018      26,590,288      € 7.85          -€ 0.22     -2.75%
     12/7/2018      14,091,605      € 7.66          -€ 0.19     -2.46%
    12/10/2018      25,173,600      € 7.36          -€ 0.30     -3.92%
    12/11/2018      15,863,623      € 7.38           € 0.02      0.31%
    12/12/2018      24,214,600      € 7.96           € 0.58      7.82%
    12/13/2018      18,491,157      € 7.82          -€ 0.14     -1.75%
    12/14/2018      10,639,976      € 7.78          -€ 0.04     -0.52%
    12/17/2018      12,599,969      € 7.57          -€ 0.21     -2.70%
    12/18/2018      12,225,094      € 7.65           € 0.08      1.02%
    12/19/2018      12,040,408      € 7.38          -€ 0.27     -3.49%
    12/20/2018      29,026,478      € 7.01          -€ 0.37     -5.01%
    12/21/2018      39,218,100      € 6.92          -€ 0.09     -1.27%
    12/27/2018      18,371,509      € 6.78          -€ 0.14     -1.98%
    12/28/2018       9,935,335      € 6.97           € 0.18      2.70%
     1/2/2019       17,145,119      € 7.18           € 0.22      3.11%
     1/3/2019       12,637,930      € 7.10          -€ 0.09     -1.22%
     1/4/2019       16,807,304      € 7.46           € 0.36      5.06%
     1/7/2019       12,404,238      € 7.56           € 0.11      1.46%
     1/8/2019       14,683,543      € 7.66           € 0.09      1.24%
     1/9/2019       16,349,803      € 7.43          -€ 0.23     -2.98%
     1/10/2019      12,788,136      € 7.49           € 0.06      0.82%
     1/11/2019      13,288,039      € 7.46          -€ 0.03     -0.44%
     1/14/2019      12,076,415      € 7.46           € 0.00      0.00%
     1/15/2019      14,745,684      € 7.52           € 0.06      0.79%
     1/16/2019      22,365,550      € 8.15           € 0.63      8.35%
     1/17/2019      22,240,556      € 7.80          -€ 0.34     -4.22%
     1/18/2019      22,490,706      € 8.01           € 0.21      2.68%
     1/21/2019       7,534,732      € 7.98          -€ 0.03     -0.35%
     1/22/2019      12,745,008      € 7.79          -€ 0.20     -2.46%
     1/23/2019      13,757,801      € 7.93           € 0.14      1.85%
     1/24/2019      17,020,089      € 7.81          -€ 0.12     -1.56%
     1/25/2019      15,418,774      € 8.10           € 0.30      3.79%
     1/28/2019      12,611,814      € 8.11           € 0.01      0.12%
     1/29/2019      10,014,140      € 8.08          -€ 0.03     -0.35%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    1/30/2019       10,322,370      € 8.08           € 0.00     -0.02%
    1/31/2019       24,814,888      € 7.74          -€ 0.34     -4.19%
    2/1/2019        22,572,208      € 7.73          -€ 0.01     -0.17%
    2/4/2019        13,129,652      € 7.66          -€ 0.07     -0.88%
    2/5/2019        11,311,273      € 7.79           € 0.13      1.68%
    2/6/2019        10,493,413      € 7.88           € 0.09      1.12%
    2/7/2019        21,399,610      € 7.40          -€ 0.48     -6.05%
    2/8/2019        16,791,677      € 7.22          -€ 0.18     -2.42%
    2/11/2019       10,864,706      € 7.36           € 0.14      1.97%
    2/12/2019        9,972,238      € 7.53           € 0.17      2.25%
    2/13/2019        9,533,596      € 7.56           € 0.03      0.40%
    2/14/2019       12,095,566      € 7.39          -€ 0.17     -2.25%
    2/15/2019       20,720,399      € 7.75           € 0.36      4.90%
    2/18/2019        6,859,758      € 7.76           € 0.01      0.10%
    2/19/2019       11,876,896      € 7.58          -€ 0.18     -2.31%
    2/20/2019        8,524,171      € 7.68           € 0.10      1.36%
    2/21/2019       10,262,398      € 7.62          -€ 0.07     -0.90%
    2/22/2019        9,625,356      € 7.62           € 0.01      0.08%
    2/25/2019        9,252,950      € 7.72           € 0.10      1.31%
    2/26/2019        9,991,519      € 7.81           € 0.09      1.18%
    2/27/2019       16,204,036      € 8.00           € 0.19      2.46%
    2/28/2019       17,017,077      € 8.13           € 0.13      1.57%
    3/1/2019        12,605,024      € 8.18           € 0.05      0.62%
    3/4/2019         8,171,309      € 8.08          -€ 0.10     -1.20%
    3/5/2019        11,007,134      € 8.07          -€ 0.02     -0.20%
    3/6/2019        11,102,831      € 8.11           € 0.04      0.50%
    3/7/2019        21,355,080      € 7.75          -€ 0.36     -4.39%
    3/8/2019        13,839,934      € 7.69          -€ 0.06     -0.72%
    3/11/2019       19,123,764      € 8.09           € 0.39      5.11%
    3/12/2019       17,129,533      € 7.86          -€ 0.23     -2.83%
    3/13/2019        8,749,234      € 7.94           € 0.08      1.06%
    3/14/2019       10,161,834      € 7.87          -€ 0.07     -0.88%
    3/15/2019       22,072,213      € 7.80          -€ 0.07     -0.89%
    3/18/2019       25,430,273      € 8.12           € 0.32      4.09%
    3/19/2019       15,252,556      € 7.94          -€ 0.18     -2.18%
    3/20/2019       14,099,612      € 7.68          -€ 0.26     -3.32%
    3/21/2019       18,884,615      € 7.45          -€ 0.23     -3.01%
    3/22/2019       18,636,218      € 7.27          -€ 0.18     -2.46%
    3/25/2019       12,673,719      € 7.22          -€ 0.04     -0.56%
    3/26/2019       12,926,380      € 7.33           € 0.11      1.50%
    3/27/2019       18,200,357      € 7.50           € 0.17      2.33%
    3/28/2019       18,346,127      € 7.27          -€ 0.23     -3.07%
    3/29/2019       12,307,911      € 7.24          -€ 0.03     -0.40%
    4/1/2019        14,456,862      € 7.59           € 0.34      4.75%
    4/2/2019        10,697,137      € 7.61           € 0.02      0.25%
    4/3/2019        14,607,043      € 7.63           € 0.02      0.25%
    4/4/2019        17,179,466      € 7.58          -€ 0.04     -0.55%
    4/5/2019        13,185,309      € 7.45          -€ 0.13     -1.77%
    4/8/2019        13,266,775      € 7.38          -€ 0.07     -0.97%
    4/9/2019        10,289,428      € 7.30          -€ 0.08     -1.10%
    4/10/2019       11,408,609      € 7.27          -€ 0.03     -0.38%
    4/11/2019       17,478,392      € 7.45           € 0.18      2.49%
    4/12/2019       18,252,716      € 7.62           € 0.17      2.31%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    4/15/2019        9,753,442      € 7.64           € 0.01      0.18%
    4/16/2019       10,663,552      € 7.83           € 0.20      2.57%
    4/17/2019       13,589,800      € 7.89           € 0.06      0.73%
    4/18/2019       14,855,080      € 7.78          -€ 0.11     -1.36%
    4/23/2019       12,011,334      € 7.61          -€ 0.17     -2.18%
    4/24/2019       12,528,834      € 7.62           € 0.00      0.04%
    4/25/2019       28,568,443      € 7.52          -€ 0.10     -1.25%
    4/26/2019       26,630,165      € 7.34          -€ 0.18     -2.39%
    4/29/2019       16,972,951      € 7.42           € 0.08      1.04%
    4/30/2019       10,211,663      € 7.36          -€ 0.06     -0.76%
    5/2/2019        14,058,795      € 7.38           € 0.02      0.33%
    5/3/2019        10,095,517      € 7.34          -€ 0.04     -0.60%
    5/6/2019        12,907,307      € 7.22          -€ 0.12     -1.59%
    5/7/2019        17,008,947      € 7.01          -€ 0.21     -2.91%
    5/8/2019        14,273,409      € 7.03           € 0.02      0.29%
    5/9/2019        18,625,121      € 6.92          -€ 0.12     -1.68%
    5/10/2019       14,981,213      € 7.01           € 0.09      1.33%
    5/13/2019       12,784,066      € 6.79          -€ 0.22     -3.14%
    5/14/2019       10,491,242      € 6.86           € 0.07      1.08%
    5/15/2019       15,141,566      € 6.85          -€ 0.01     -0.10%
    5/16/2019       12,081,422      € 6.87           € 0.01      0.18%
    5/17/2019       14,895,787      € 6.80          -€ 0.06     -0.90%
    5/20/2019       17,949,553      € 6.65          -€ 0.15     -2.25%
    5/21/2019       14,569,267      € 6.75           € 0.10      1.44%
    5/22/2019       13,848,437      € 6.61          -€ 0.13     -1.97%
    5/23/2019       23,675,550      € 6.50          -€ 0.11     -1.71%
    5/24/2019       13,621,836      € 6.40          -€ 0.10     -1.58%
    5/27/2019        9,952,396      € 6.49           € 0.10      1.50%
    5/28/2019       18,915,875      € 6.30          -€ 0.19     -2.97%
    5/29/2019       16,419,904      € 6.18          -€ 0.12     -1.89%
    5/30/2019       10,167,677      € 6.17          -€ 0.01     -0.23%
    5/31/2019       17,476,295      € 6.05          -€ 0.12     -1.93%
    6/3/2019        23,651,675      € 5.99          -€ 0.06     -0.98%
    6/4/2019        19,743,716      € 6.24           € 0.25      4.11%
    6/5/2019        12,840,860      € 6.13          -€ 0.10     -1.65%
    6/6/2019        20,797,030      € 5.98          -€ 0.15     -2.48%
    6/7/2019        11,069,108      € 5.98           € 0.00      0.05%
    6/10/2019            3,624      € 6.10           € 0.12      1.92%
    6/11/2019       15,357,419      € 6.16           € 0.06      0.93%
    6/12/2019       13,320,975      € 6.10          -€ 0.05     -0.83%
    6/13/2019       11,222,654      € 6.10           € 0.00     -0.03%
    6/14/2019        9,590,271      € 6.06          -€ 0.04     -0.72%
    6/17/2019       15,068,449      € 6.08           € 0.02      0.36%
    6/18/2019       22,688,516      € 6.30           € 0.22      3.62%
    6/19/2019       16,780,423      € 6.41           € 0.11      1.75%
    6/20/2019       15,313,525      € 6.35          -€ 0.06     -0.87%
    6/21/2019       36,168,130      € 6.31          -€ 0.04     -0.66%
    6/24/2019       11,920,019      € 6.23          -€ 0.08     -1.25%
    6/25/2019        7,740,833      € 6.24           € 0.01      0.11%
    6/26/2019       16,616,984      € 6.48           € 0.24      3.91%
    6/27/2019       13,321,596      € 6.61           € 0.13      1.94%
    6/28/2019       21,218,792      € 6.70           € 0.09      1.41%
    7/1/2019        17,001,625      € 6.76           € 0.06      0.88%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    7/2/2019         9,683,636      € 6.72          -€ 0.04     -0.62%
    7/3/2019        15,661,010      € 6.94           € 0.22      3.23%
    7/4/2019        11,378,059      € 7.00           € 0.06      0.92%
    7/5/2019        23,091,315      € 7.16           € 0.15      2.21%
    7/8/2019        43,570,802      € 6.73          -€ 0.42     -5.90%
    7/9/2019        27,691,313      € 6.52          -€ 0.22     -3.21%
    7/10/2019       19,153,276      € 6.57           € 0.05      0.81%
    7/11/2019       13,865,393      € 6.64           € 0.07      1.07%
    7/12/2019       16,072,281      € 6.79           € 0.15      2.24%
    7/15/2019       14,756,486      € 6.91           € 0.12      1.74%
    7/16/2019       18,760,797      € 7.11           € 0.21      2.97%
    7/17/2019       13,894,559      € 7.02          -€ 0.10     -1.38%
    7/18/2019       12,744,689      € 7.02           € 0.00      0.00%
    7/19/2019       14,062,410      € 6.89          -€ 0.12     -1.74%
    7/22/2019        9,369,495      € 6.93           € 0.04      0.51%
    7/23/2019       12,704,155      € 7.13           € 0.20      2.87%
    7/24/2019       25,364,688      € 7.10          -€ 0.02     -0.32%
    7/25/2019       30,088,460      € 7.12           € 0.01      0.17%
    7/26/2019       15,362,840      € 7.12           € 0.00      0.06%
    7/29/2019        8,171,743      € 7.05          -€ 0.07     -0.98%
    7/30/2019       19,519,652      € 6.91          -€ 0.14     -1.99%
    7/31/2019       19,316,382      € 7.07           € 0.16      2.37%
    8/1/2019        12,793,241      € 6.85          -€ 0.22     -3.17%
    8/2/2019        23,462,381      € 7.07           € 0.22      3.24%
    8/5/2019        19,499,916      € 6.84          -€ 0.23     -3.28%
    8/6/2019        15,356,258      € 6.82          -€ 0.02     -0.37%
    8/7/2019        23,157,980      € 6.67          -€ 0.15     -2.13%
    8/8/2019        17,598,794      € 6.84           € 0.17      2.55%
    8/9/2019        17,923,546      € 6.72          -€ 0.13     -1.83%
    8/12/2019       18,762,970      € 6.20          -€ 0.52     -7.67%
    8/13/2019       23,960,183      € 6.43           € 0.23      3.68%
    8/14/2019       23,078,973      € 6.03          -€ 0.40     -6.16%
    8/15/2019       25,728,341      € 5.82          -€ 0.21     -3.51%
    8/16/2019       37,870,289      € 6.23           € 0.41      7.08%
    8/19/2019       17,244,795      € 6.34           € 0.11      1.77%
    8/20/2019       12,298,576      € 6.28          -€ 0.06     -1.01%
    8/21/2019       10,034,677      € 6.34           € 0.06      0.94%
    8/22/2019       12,545,660      € 6.45           € 0.12      1.83%
    8/23/2019       15,718,124      € 6.26          -€ 0.19     -2.99%
    8/26/2019        8,224,799      € 6.37           € 0.11      1.71%
    8/27/2019       11,310,557      € 6.43           € 0.06      0.97%
    8/28/2019       10,065,898      € 6.45           € 0.02      0.31%
    8/29/2019       12,523,220      € 6.53           € 0.08      1.18%
    8/30/2019       11,437,836      € 6.57           € 0.05      0.75%
    9/2/2019         6,792,934      € 6.63           € 0.06      0.90%
    9/3/2019        10,656,437      € 6.62          -€ 0.01     -0.17%
    9/4/2019        10,425,200      € 6.76           € 0.14      2.08%
    9/5/2019        18,171,091      € 7.09           € 0.33      4.84%
    9/6/2019        16,389,849      € 7.09           € 0.00      0.03%
    9/9/2019        16,647,588      € 7.36           € 0.27      3.75%
    9/10/2019       23,641,806      € 7.49           € 0.13      1.81%
    9/11/2019       21,456,374      € 7.49           € 0.01      0.08%
    9/12/2019       30,969,750      € 7.49           € 0.00     -0.07%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     9/13/2019      20,466,493      € 7.60           € 0.12      1.54%
     9/16/2019      15,830,054      € 7.48          -€ 0.13     -1.64%
     9/17/2019      14,569,688      € 7.40          -€ 0.08     -1.11%
     9/18/2019      10,714,818      € 7.27          -€ 0.12     -1.66%
     9/19/2019      12,511,082      € 7.31           € 0.04      0.55%
     9/20/2019      19,787,438      € 7.25          -€ 0.06     -0.86%
     9/23/2019      17,485,311      € 7.08          -€ 0.17     -2.34%
     9/24/2019      10,678,219      € 6.86          -€ 0.22     -3.11%
     9/25/2019      16,810,429      € 6.91           € 0.05      0.74%
     9/26/2019      15,774,690      € 6.78          -€ 0.13     -1.90%
     9/27/2019      10,911,739      € 6.91           € 0.13      1.89%
     9/30/2019      10,332,726      € 6.86          -€ 0.05     -0.68%
     10/1/2019      13,588,529      € 6.64          -€ 0.22     -3.19%
     10/2/2019      15,641,405      € 6.56          -€ 0.08     -1.20%
     10/3/2019           3,339      € 6.51          -€ 0.06     -0.84%
     10/4/2019      16,176,606      € 6.53           € 0.02      0.35%
     10/7/2019      11,230,862      € 6.45          -€ 0.08     -1.18%
     10/8/2019      13,964,758      € 6.31          -€ 0.15     -2.25%
     10/9/2019       8,740,070      € 6.32           € 0.01      0.16%
    10/10/2019      15,979,535      € 6.47           € 0.15      2.41%
    10/11/2019      17,866,340      € 6.79           € 0.32      4.96%
    10/14/2019      11,582,167      € 6.84           € 0.05      0.75%
    10/15/2019      15,025,107      € 7.04           € 0.20      2.88%
    10/16/2019      18,364,468      € 7.09           € 0.05      0.70%
    10/17/2019      18,242,735      € 7.12           € 0.03      0.38%
    10/18/2019      14,740,963      € 7.09          -€ 0.03     -0.41%
    10/21/2019      16,562,068      € 7.26           € 0.17      2.46%
    10/22/2019      13,938,186      € 7.12          -€ 0.14     -1.96%
    10/23/2019      10,083,045      € 7.18           € 0.06      0.83%
    10/24/2019      12,615,315      € 7.12          -€ 0.06     -0.85%
    10/25/2019       7,904,229      € 7.15           € 0.04      0.51%
    10/28/2019      11,028,745      € 7.23           € 0.08      1.08%
    10/29/2019       9,258,317      € 7.18          -€ 0.05     -0.71%
    10/30/2019      39,552,584      € 6.65          -€ 0.53     -7.43%
    10/31/2019      19,692,546      € 6.49          -€ 0.16     -2.36%
     11/1/2019      12,613,357      € 6.61           € 0.13      1.93%
     11/4/2019      16,271,998      € 6.89           € 0.28      4.23%
     11/5/2019      14,869,383      € 6.90           € 0.01      0.09%
     11/6/2019      18,193,425      € 6.89          -€ 0.01     -0.16%
     11/7/2019      15,892,544      € 7.04           € 0.16      2.26%
     11/8/2019      15,136,435      € 6.91          -€ 0.14     -1.92%
    11/11/2019      11,240,371      € 6.87          -€ 0.04     -0.51%
    11/12/2019      11,053,184      € 6.93           € 0.06      0.86%
    11/13/2019      19,076,796      € 6.65          -€ 0.29     -4.14%
    11/14/2019      12,380,571      € 6.54          -€ 0.11     -1.58%
    11/15/2019      12,029,013      € 6.60           € 0.05      0.83%
    11/18/2019       9,898,511      € 6.62           € 0.03      0.39%
    11/19/2019      10,052,967      € 6.59          -€ 0.03     -0.42%
    11/20/2019      10,708,550      € 6.56          -€ 0.03     -0.49%
    11/21/2019       9,213,689      € 6.66           € 0.09      1.45%
    11/22/2019      13,193,207      € 6.68           € 0.02      0.35%
    11/25/2019       9,159,838      € 6.69           € 0.01      0.10%
    11/26/2019       9,441,366      € 6.60          -€ 0.08     -1.24%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
    11/27/2019      11,438,294       € 6.68          € 0.07      1.09%
    11/28/2019       5,300,364       € 6.62         -€ 0.06     -0.87%
    11/29/2019       8,208,917       € 6.57         -€ 0.05     -0.76%
     12/2/2019      16,791,754       € 6.46         -€ 0.11     -1.64%
     12/3/2019      13,908,761       € 6.38         -€ 0.08     -1.29%
     12/4/2019      13,448,853       € 6.49          € 0.11      1.79%
     12/5/2019       9,027,126       € 6.46         -€ 0.03     -0.42%
     12/6/2019       8,826,912       € 6.51          € 0.05      0.73%
     12/9/2019      10,449,110       € 6.53          € 0.02      0.35%
    12/10/2019      14,381,442       € 6.47         -€ 0.06     -0.92%
    12/11/2019      10,133,994       € 6.53          € 0.06      0.91%
    12/12/2019      21,635,988       € 6.79          € 0.26      3.98%
    12/13/2019      22,741,422       € 6.71         -€ 0.08     -1.18%
    12/16/2019      15,367,630       € 6.91          € 0.20      2.91%
    12/17/2019      11,191,404       € 6.98          € 0.07      1.07%
    12/18/2019      10,486,810       € 6.97         -€ 0.01     -0.11%
    12/19/2019      14,282,543       € 7.07          € 0.10      1.41%
    12/20/2019      30,878,007       € 7.01         -€ 0.06     -0.82%
    12/23/2019      10,271,284       € 6.91         -€ 0.10     -1.47%
    12/27/2019       8,207,348       € 6.88         -€ 0.03     -0.41%
    12/30/2019       5,439,831       € 6.92          € 0.04      0.51%
     1/2/2020       24,456,747       € 7.42          € 0.51      7.32%
     1/3/2020       13,738,994       € 7.25         -€ 0.17     -2.28%
     1/6/2020       15,267,733       € 7.18         -€ 0.07     -0.99%
     1/7/2020       16,585,349       € 7.40          € 0.22      3.01%
     1/8/2020       23,422,203       € 7.71          € 0.31      4.22%
     1/9/2020       18,039,041       € 7.72          € 0.01      0.09%
     1/10/2020      13,459,889       € 7.67         -€ 0.05     -0.67%
     1/13/2020      12,322,998       € 7.59         -€ 0.08     -0.98%
     1/14/2020      16,112,122       € 7.70          € 0.11      1.45%
     1/15/2020      12,758,705       € 7.54         -€ 0.16     -2.04%
     1/16/2020      13,250,389       € 7.65          € 0.11      1.47%
     1/17/2020      13,387,944       € 7.61         -€ 0.05     -0.60%
     1/20/2020      10,531,148       € 7.43         -€ 0.18     -2.31%
     1/21/2020      11,246,548       € 7.45          € 0.02      0.30%
     1/22/2020      11,448,898       € 7.56          € 0.11      1.44%
     1/23/2020      21,831,577       € 7.73          € 0.17      2.21%
     1/24/2020      19,822,527       € 7.75          € 0.02      0.26%
     1/27/2020      17,362,427       € 7.72         -€ 0.03     -0.35%
     1/28/2020      15,953,417       € 7.84          € 0.12      1.52%
     1/29/2020      16,240,949       € 7.96          € 0.12      1.49%
     1/30/2020      31,285,997       € 8.40          € 0.45      5.61%
     1/31/2020      28,128,838       € 8.23         -€ 0.17     -2.01%
     2/3/2020       17,204,021       € 8.12         -€ 0.11     -1.34%
     2/4/2020       14,788,575       € 8.16          € 0.04      0.44%
     2/5/2020       15,267,340       € 8.26          € 0.10      1.21%
     2/6/2020       52,637,796       € 9.44          € 1.18     14.33%
     2/7/2020       27,391,931       € 9.48          € 0.04      0.46%
     2/10/2020      17,186,770       € 9.40         -€ 0.08     -0.88%
     2/11/2020      21,324,213       € 9.63          € 0.23      2.44%
     2/12/2020      21,245,049       € 9.96          € 0.33      3.41%
     2/13/2020      24,880,097      € 10.18          € 0.22      2.24%
     2/14/2020      16,598,783      € 10.16         -€ 0.02     -0.20%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change    Return
    2/17/2020       12,115,310      € 10.16          € 0.00      -0.02%
    2/18/2020       20,689,339       € 9.93         -€ 0.23      -2.29%
    2/19/2020       20,233,080       € 9.86         -€ 0.07      -0.65%
    2/20/2020       12,491,629       € 9.86          € 0.00       0.04%
    2/21/2020       23,897,293       € 9.42         -€ 0.44      -4.49%
    2/24/2020       33,521,159       € 8.88         -€ 0.54      -5.74%
    2/25/2020       24,356,369       € 8.58         -€ 0.30      -3.41%
    2/26/2020       28,444,806       € 8.70          € 0.12       1.38%
    2/27/2020       35,496,741       € 8.21         -€ 0.48      -5.55%
    2/28/2020       45,203,837       € 7.83         -€ 0.38      -4.65%
    3/2/2020        40,683,281       € 7.69         -€ 0.14      -1.74%
    3/3/2020        32,569,680       € 7.29         -€ 0.41      -5.29%
    3/4/2020        25,141,763       € 7.39          € 0.11       1.47%
    3/5/2020        33,205,480       € 6.89         -€ 0.50      -6.76%
    3/6/2020        33,674,805       € 6.70         -€ 0.19      -2.79%
    3/9/2020        60,045,228       € 5.90         -€ 0.80     -12.00%
    3/10/2020       53,731,637       € 6.20          € 0.30       5.12%
    3/11/2020       41,167,540       € 5.79         -€ 0.41      -6.55%
    3/12/2020       77,731,922       € 4.96         -€ 0.84     -14.48%
    3/13/2020       63,393,236       € 5.37          € 0.42       8.42%
    3/16/2020       49,406,067       € 4.80         -€ 0.57     -10.59%
    3/17/2020       43,188,785       € 5.20          € 0.40       8.27%
    3/18/2020       30,744,287       € 5.10         -€ 0.10      -1.90%
    3/19/2020       28,432,761       € 5.49          € 0.39       7.55%
    3/20/2020       39,405,765       € 5.31         -€ 0.17      -3.14%
    3/23/2020       29,448,882       € 5.55          € 0.24       4.50%
    3/24/2020       28,858,102       € 6.11          € 0.56     10.10%
    3/25/2020       30,843,622       € 6.31          € 0.20       3.22%
    3/26/2020       22,686,797       € 6.30         -€ 0.01      -0.17%
    3/27/2020       26,819,892       € 5.80         -€ 0.50      -7.89%
    3/30/2020       20,751,535       € 5.89          € 0.09       1.48%
    3/31/2020       20,796,292       € 5.81         -€ 0.08      -1.36%
    4/1/2020        22,643,653       € 5.49         -€ 0.32      -5.54%
    4/2/2020        30,499,482       € 5.55          € 0.06       1.15%
    4/3/2020        23,135,417       € 5.45         -€ 0.10      -1.75%
    4/6/2020        21,209,084       € 5.89          € 0.44       8.07%
    4/7/2020        26,133,204       € 6.08          € 0.19       3.16%
    4/8/2020        15,997,219       € 6.01         -€ 0.07      -1.20%
    4/9/2020        24,029,421       € 6.13          € 0.12       1.98%
    4/14/2020       16,548,827       € 6.23          € 0.10       1.68%
    4/15/2020       24,880,522       € 5.72         -€ 0.51      -8.20%
    4/16/2020       19,932,489       € 5.73          € 0.02       0.26%
    4/17/2020       19,782,869       € 6.00          € 0.27       4.69%
    4/20/2020       18,315,808       € 5.83         -€ 0.18      -2.93%
    4/21/2020       18,955,559       € 5.61         -€ 0.22      -3.78%
    4/22/2020       11,979,011       € 5.65          € 0.04       0.71%
    4/23/2020       18,905,090       € 5.75          € 0.11       1.88%
    4/24/2020       21,595,149       € 5.50         -€ 0.25      -4.36%
    4/27/2020       36,540,565       € 6.12          € 0.62     11.35%
    4/28/2020       27,440,066       € 6.34          € 0.22       3.59%
    4/29/2020       36,401,124       € 7.05          € 0.71     11.13%
    4/30/2020       32,548,832       € 6.76         -€ 0.29      -4.07%
    5/4/2020        23,653,634       € 6.47         -€ 0.30      -4.41%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    5/5/2020        16,263,829      € 6.43          -€ 0.04     -0.62%
    5/6/2020        13,102,385      € 6.33          -€ 0.10     -1.56%
    5/7/2020        13,383,951      € 6.48           € 0.15      2.43%
    5/8/2020         9,869,611      € 6.58           € 0.10      1.61%
    5/11/2020       14,473,558      € 6.45          -€ 0.14     -2.08%
    5/12/2020       12,352,088      € 6.41          -€ 0.04     -0.64%
    5/13/2020       18,604,412      € 6.12          -€ 0.29     -4.45%
    5/14/2020       21,597,249      € 6.16           € 0.04      0.64%
    5/15/2020       18,762,343      € 5.96          -€ 0.20     -3.18%
    5/18/2020       19,393,369      € 6.52           € 0.56      9.34%
    5/19/2020       22,659,728      € 6.50          -€ 0.02     -0.37%
    5/20/2020       15,159,555      € 6.81           € 0.32      4.85%
    5/21/2020        9,971,475      € 6.73          -€ 0.08     -1.23%
    5/22/2020       15,736,859      € 6.69          -€ 0.03     -0.49%
    5/25/2020        9,784,493      € 6.88           € 0.18      2.75%
    5/26/2020       27,892,377      € 7.46           € 0.58      8.46%
    5/27/2020       29,089,100      € 7.85           € 0.39      5.28%
    5/28/2020       19,635,090      € 7.69          -€ 0.17     -2.13%
    5/29/2020       22,102,399      € 7.58          -€ 0.11     -1.39%
    6/1/2020             2,526      € 7.76           € 0.18      2.37%
    6/2/2020        25,988,359      € 7.95           € 0.19      2.49%
    6/3/2020        21,319,104      € 8.17           € 0.22      2.77%
    6/4/2020        22,509,110      € 8.35           € 0.18      2.17%
    6/5/2020        25,858,880      € 8.59           € 0.24      2.81%
    6/8/2020        26,675,059      € 9.05           € 0.46      5.39%
    6/9/2020        25,578,248      € 8.66          -€ 0.39     -4.29%
    6/10/2020       21,925,877      € 8.59          -€ 0.07     -0.83%
    6/11/2020       21,658,744      € 7.98          -€ 0.61     -7.08%
    6/12/2020       20,025,966      € 8.32           € 0.34      4.27%
    6/15/2020       17,501,578      € 8.34           € 0.02      0.25%
    6/16/2020       19,298,830      € 8.44           € 0.10      1.20%
    6/17/2020       16,702,011      € 8.33          -€ 0.12     -1.36%
    6/18/2020       22,058,171      € 8.25          -€ 0.07     -0.89%
    6/19/2020       27,330,526      € 8.24          -€ 0.02     -0.19%
    6/22/2020       12,109,083      € 8.29           € 0.06      0.69%
    6/23/2020       15,762,915      € 8.46           € 0.17      2.05%
    6/24/2020       12,560,058      € 8.10          -€ 0.37     -4.31%
    6/25/2020       14,247,814      € 8.51           € 0.41      5.03%
    6/26/2020       11,885,671      € 8.04          -€ 0.47     -5.53%
    6/29/2020       13,338,312      € 8.39           € 0.35      4.38%
    6/30/2020       11,866,242      € 8.47           € 0.08      1.00%
    7/1/2020        10,385,114      € 8.29          -€ 0.18     -2.10%
    7/2/2020        16,506,954      € 8.48           € 0.18      2.22%
    7/3/2020         7,547,167      € 8.43          -€ 0.05     -0.63%
    7/6/2020        17,602,524      € 8.78           € 0.36      4.26%
    7/7/2020        12,810,760      € 8.72          -€ 0.06     -0.68%
    7/8/2020        11,161,989      € 8.80           € 0.08      0.89%
    7/9/2020        11,830,815      € 8.63          -€ 0.17     -1.99%
    7/10/2020       11,913,306      € 8.92           € 0.29      3.35%
    7/13/2020       16,404,140      € 8.56          -€ 0.36     -3.99%
    7/14/2020       14,026,778      € 8.78           € 0.22      2.55%
    7/15/2020       13,568,917      € 8.93           € 0.15      1.74%
    7/16/2020       10,626,215      € 8.80          -€ 0.13     -1.48%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    7/17/2020       12,036,376      € 8.73          -€ 0.07     -0.80%
    7/20/2020        9,335,323      € 8.88           € 0.15      1.73%
    7/21/2020       26,286,066      € 8.44          -€ 0.44     -4.94%
    7/22/2020       12,373,411      € 8.51           € 0.07      0.78%
    7/23/2020        9,980,470      € 8.28          -€ 0.23     -2.72%
    7/24/2020        9,659,800      € 8.25          -€ 0.03     -0.35%
    7/27/2020        9,253,240      € 8.10          -€ 0.15     -1.79%
    7/28/2020        9,938,881      € 8.06          -€ 0.04     -0.44%
    7/29/2020       20,436,839      € 7.81          -€ 0.25     -3.11%
    7/30/2020       23,338,564      € 7.61          -€ 0.21     -2.65%
    7/31/2020       14,499,396      € 7.58          -€ 0.03     -0.38%
    8/3/2020        12,373,316      € 7.82           € 0.24      3.17%
    8/4/2020        10,071,956      € 7.82           € 0.00      0.06%
    8/5/2020         7,959,170      € 7.88           € 0.06      0.70%
    8/6/2020         8,532,764      € 7.76          -€ 0.12     -1.49%
    8/7/2020         7,147,148      € 7.81           € 0.05      0.63%
    8/10/2020        9,861,878      € 8.00           € 0.19      2.48%
    8/11/2020       12,416,442      € 8.12           € 0.12      1.52%
    8/12/2020        8,877,310      € 8.23           € 0.11      1.32%
    8/13/2020        8,110,266      € 8.10          -€ 0.13     -1.59%
    8/14/2020        8,539,830      € 8.02          -€ 0.08     -0.99%
    8/17/2020        5,449,940      € 7.98          -€ 0.04     -0.49%
    8/18/2020        6,595,223      € 7.87          -€ 0.11     -1.40%
    8/19/2020        6,287,932      € 8.07           € 0.20      2.59%
    8/20/2020        6,721,177      € 7.88          -€ 0.20     -2.45%
    8/21/2020       10,063,326      € 7.77          -€ 0.10     -1.30%
    8/24/2020       10,383,288      € 8.12           € 0.34      4.41%
    8/25/2020       10,115,673      € 8.16           € 0.05      0.59%
    8/26/2020        8,023,274      € 8.30           € 0.14      1.65%
    8/27/2020        7,487,860      € 8.24          -€ 0.06     -0.76%
    8/28/2020       16,480,099      € 8.30           € 0.07      0.81%
    8/31/2020        8,931,477      € 7.99          -€ 0.32     -3.83%
    9/1/2020        13,271,285      € 7.97          -€ 0.02     -0.20%
    9/2/2020        12,380,146      € 7.95          -€ 0.02     -0.23%
    9/3/2020        12,853,953      € 7.82          -€ 0.13     -1.61%
    9/4/2020        18,666,816      € 8.22           € 0.40      5.06%
    9/7/2020         9,296,578      € 8.12          -€ 0.10     -1.18%
    9/8/2020        11,926,780      € 7.98          -€ 0.14     -1.70%
    9/9/2020        12,958,064      € 7.99           € 0.00      0.04%
    9/10/2020       10,299,278      € 7.91          -€ 0.08     -0.98%
    9/11/2020       11,119,002      € 7.83          -€ 0.08     -1.05%
    9/14/2020        8,420,765      € 7.86           € 0.04      0.46%
    9/15/2020       10,499,274      € 7.69          -€ 0.17     -2.15%
    9/16/2020       11,300,365      € 7.86           € 0.17      2.16%
    9/17/2020        9,366,756      € 7.78          -€ 0.08     -1.03%
    9/18/2020       23,529,723      € 7.67          -€ 0.11     -1.38%
    9/21/2020       29,302,914      € 7.09          -€ 0.59     -7.64%
    9/22/2020       13,677,795      € 6.96          -€ 0.13     -1.78%
    9/23/2020       12,116,598      € 6.90          -€ 0.06     -0.83%
    9/24/2020       10,941,299      € 6.93           € 0.03      0.46%
    9/25/2020        9,388,199      € 6.85          -€ 0.08     -1.15%
    9/28/2020       14,096,124      € 7.24           € 0.38      5.59%
    9/29/2020        7,485,515      € 7.04          -€ 0.20     -2.74%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     9/30/2020       9,742,800      € 7.14           € 0.11      1.49%
     10/1/2020       8,953,930      € 7.10          -€ 0.04     -0.59%
     10/2/2020      10,160,508      € 7.27           € 0.17      2.44%
     10/5/2020      10,781,565      € 7.36           € 0.08      1.14%
     10/6/2020      16,417,097      € 7.69           € 0.34      4.55%
     10/7/2020      10,425,848      € 7.84           € 0.14      1.86%
     10/8/2020      10,811,110      € 7.97           € 0.14      1.74%
     10/9/2020       7,920,562      € 7.87          -€ 0.10     -1.22%
    10/12/2020       7,837,968      € 7.88           € 0.00      0.03%
    10/13/2020       8,758,848      € 7.74          -€ 0.14     -1.78%
    10/14/2020       7,938,873      € 7.70          -€ 0.04     -0.52%
    10/15/2020      10,859,428      € 7.69           € 0.00     -0.04%
    10/16/2020      12,867,195      € 7.85           € 0.16      2.01%
    10/19/2020       9,248,649      € 7.88           € 0.03      0.38%
    10/20/2020      13,147,379      € 8.11           € 0.24      3.00%
    10/21/2020       9,999,313      € 7.94          -€ 0.17     -2.12%
    10/22/2020       8,264,647      € 7.98           € 0.03      0.42%
    10/23/2020      11,295,813      € 8.12           € 0.15      1.83%
    10/26/2020      14,247,053      € 8.09          -€ 0.03     -0.36%
    10/27/2020      11,783,207      € 7.81          -€ 0.29     -3.52%
    10/28/2020      20,686,845      € 7.83           € 0.02      0.24%
    10/29/2020      14,737,310      € 7.87           € 0.04      0.55%
    10/30/2020      12,840,587      € 7.98           € 0.11      1.40%
     11/2/2020      15,666,541      € 8.26           € 0.28      3.47%
     11/3/2020      18,795,558      € 8.54           € 0.28      3.44%
     11/4/2020      20,389,863      € 8.47          -€ 0.07     -0.80%
     11/5/2020      15,590,630      € 8.49           € 0.02      0.25%
     11/6/2020      12,623,801      € 8.56           € 0.06      0.77%
     11/9/2020      38,310,884      € 8.97           € 0.41      4.78%
    11/10/2020      27,873,933      € 9.08           € 0.11      1.24%
    11/11/2020      17,776,919      € 8.90          -€ 0.18     -2.00%
    11/12/2020      11,037,417      € 8.81          -€ 0.09     -1.02%
    11/13/2020      13,707,259      € 9.04           € 0.23      2.63%
    11/16/2020      17,473,668      € 9.10           € 0.07      0.73%
    11/17/2020      12,982,224      € 9.10           € 0.00     -0.03%
    11/18/2020      12,763,163      € 9.05          -€ 0.05     -0.52%
    11/19/2020      11,539,886      € 9.01          -€ 0.04     -0.43%
    11/20/2020       8,378,335      € 9.00          -€ 0.02     -0.20%
    11/23/2020      14,568,391      € 9.34           € 0.34      3.80%
    11/24/2020      16,727,160      € 9.62           € 0.28      2.98%
    11/25/2020      12,830,335      € 9.51          -€ 0.10     -1.06%
    11/26/2020       5,981,958      € 9.36          -€ 0.15     -1.58%
    11/27/2020       9,144,962      € 9.48           € 0.11      1.20%
    11/30/2020      13,114,501      € 9.34          -€ 0.14     -1.44%
     12/1/2020      10,387,187      € 9.48           € 0.14      1.47%
     12/2/2020      10,752,550      € 9.56           € 0.09      0.91%
     12/3/2020      13,736,026      € 9.67           € 0.11      1.12%
     12/4/2020      13,788,650      € 9.71           € 0.04      0.39%
     12/7/2020       9,210,610      € 9.54          -€ 0.17     -1.72%
     12/8/2020       8,583,917      € 9.45          -€ 0.09     -0.94%
     12/9/2020      10,956,964      € 9.28          -€ 0.17     -1.82%
    12/10/2020      12,504,516      € 9.08          -€ 0.20     -2.18%
    12/11/2020      14,660,913      € 8.78          -€ 0.30     -3.31%



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Exhibit 3D
Deutsche Bank AG (GR)
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    12/14/2020       9,444,271      € 8.74          -€ 0.04     -0.46%
    12/15/2020       9,281,018      € 8.91           € 0.18      2.01%
    12/16/2020      10,151,906      € 8.96           € 0.05      0.52%
    12/17/2020      10,560,505      € 9.09           € 0.13      1.48%




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Exhibit 4A
Deutsche Bank AG (US)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  3/24/2017          67,051,934    $1,126,617,468          4.86%          Share Turnover
  3/31/2017          47,338,225     $816,194,057           3.43%          Calendar Days                               1,284
  4/7/2017           34,384,212     $570,775,980           1.66%          Time Period (years)                         3.515
  4/13/2017          22,735,560     $367,830,810           1.10%          Shares Out at End of Class Period   2,066,773,000
  4/21/2017          29,754,939     $483,343,506           1.44%          Total Volume in Class Period        4,782,994,387
  4/28/2017          49,216,252     $904,516,621           2.38%          Annualized Share Turnover                   65.8%
  5/5/2017           24,019,400     $448,370,406           1.16%
  5/12/2017          17,906,583     $338,671,998           0.87%
  5/19/2017          30,690,993     $580,648,886           1.48%          Shares Outstanding
  5/26/2017          20,677,427     $391,361,906           1.00%                  1/4/2016                    1,544,854,000
  6/2/2017           23,315,440     $411,609,977           1.13%                  3/21/2017                   1,379,273,000
  6/9/2017           16,842,466     $295,147,992           0.81%                  4/5/2017                    2,066,773,000
  6/16/2017          22,375,031     $382,986,355           1.08%
  6/23/2017          12,807,146     $216,133,324           0.62%
  6/30/2017          25,439,033     $451,035,115           1.23%
  7/7/2017           17,687,864     $331,397,742           0.86%
  7/14/2017          14,239,082     $269,339,944           0.69%
  7/21/2017          12,615,185     $232,807,254           0.61%
  7/28/2017          26,306,756     $486,717,658           1.27%
  8/4/2017           16,038,651     $289,279,874           0.78%
  8/11/2017          23,985,970     $415,338,990           1.16%
  8/18/2017          23,684,509     $398,699,746           1.15%
  8/25/2017          19,579,774     $318,605,109           0.95%
  9/1/2017           14,727,482     $236,710,381           0.71%
  9/8/2017           15,814,991     $250,986,894           0.77%
  9/15/2017          16,449,763     $274,587,634           0.80%
  9/22/2017          15,933,087     $263,649,746           0.77%
  9/29/2017          33,572,121     $555,264,159           1.62%
  10/6/2017          15,687,471     $268,025,132           0.76%
 10/13/2017          15,652,062     $262,785,588           0.76%
 10/20/2017          14,740,813     $248,035,949           0.71%
 10/27/2017          27,914,630     $469,374,574           1.35%
  11/3/2017          21,245,403     $354,036,806           1.03%
 11/10/2017          26,443,925     $456,236,841           1.28%
 11/17/2017          26,630,094     $494,095,692           1.29%
 11/24/2017          11,058,195     $210,792,443           0.54%
  12/1/2017          19,329,284     $365,267,480           0.94%
  12/8/2017          17,521,677     $333,075,416           0.85%
 12/15/2017          13,442,237     $259,982,049           0.65%
 12/22/2017          19,040,036     $377,267,976           0.92%
 12/29/2017           7,301,215     $139,458,060           0.35%
  1/5/2018           27,469,247     $519,317,250           1.33%
  1/12/2018          21,820,756     $402,024,197           1.06%
  1/19/2018          10,638,387     $197,786,636           0.51%
  1/26/2018          19,826,285     $387,234,474           0.96%
  2/2/2018           30,149,531     $537,776,202           1.46%
  2/9/2018           50,372,461     $808,843,749           2.44%
  2/16/2018          21,185,719     $340,596,669           1.03%
  2/23/2018          15,378,771     $253,406,382           0.74%
  3/2/2018           22,175,984     $353,838,135           1.07%
  3/9/2018           17,174,663     $276,846,561           0.83%
  3/16/2018          17,304,216     $273,683,502           0.84%
  3/23/2018          40,385,516     $585,202,130           1.95%
  3/29/2018          22,079,393     $306,740,784           1.07%



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Exhibit 4A
Deutsche Bank AG (US)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  4/6/2018           19,246,345    $267,971,423            0.93%
  4/13/2018          16,909,201    $239,798,006            0.82%
  4/20/2018          14,136,355    $203,239,049            0.68%
  4/27/2018          21,954,839    $315,588,693            1.06%
  5/4/2018           11,763,943    $160,588,281            0.57%
  5/11/2018          12,449,560    $171,227,780            0.60%
  5/18/2018          23,226,609    $304,208,564            1.12%
  5/25/2018          30,669,260    $382,637,503            1.48%
  6/1/2018           68,676,675    $768,962,016            3.32%
  6/8/2018           37,764,023    $427,148,988            1.83%
  6/15/2018          20,075,783    $226,661,306            0.97%
  6/22/2018          22,309,707    $246,504,687            1.08%
  6/29/2018          28,991,811    $306,395,765            1.40%
  7/6/2018           20,661,961    $228,537,494            1.00%
  7/13/2018          21,249,997    $240,402,454            1.03%
  7/20/2018          40,289,702    $485,747,241            1.95%
  7/27/2018          31,866,365    $390,462,709            1.54%
  8/3/2018           28,526,673    $365,075,193            1.38%
  8/10/2018          23,691,750    $288,518,665            1.15%
  8/17/2018          28,965,008    $328,265,107            1.40%
  8/24/2018          17,371,871    $198,391,904            0.84%
  8/31/2018          17,389,122    $200,516,130            0.84%
  9/7/2018           14,015,204    $159,000,746            0.68%
  9/14/2018          27,472,972    $309,301,183            1.33%
  9/21/2018          22,122,947    $266,965,980            1.07%
  9/28/2018          17,384,054    $206,009,535            0.84%
  10/5/2018          22,306,710    $250,045,588            1.08%
 10/12/2018          21,918,248    $239,100,865            1.06%
 10/19/2018          25,195,847    $278,244,904            1.22%
 10/26/2018          37,453,047    $379,470,469            1.81%
  11/2/2018          29,684,953    $297,919,043            1.44%
  11/9/2018          15,621,448    $162,334,142            0.76%
 11/16/2018          21,179,306    $208,014,166            1.02%
 11/23/2018          19,400,146    $181,996,771            0.94%
 11/30/2018          35,273,336    $337,000,884            1.71%
  12/7/2018          29,334,240    $263,906,605            1.42%
 12/14/2018          47,112,328    $411,976,483            2.28%
 12/21/2018          37,616,979    $309,975,459            1.82%
 12/28/2018          33,424,303    $265,575,328            1.62%
  1/4/2019           23,157,063    $190,546,426            1.12%
  1/11/2019          20,641,573    $178,421,198            1.00%
  1/18/2019          36,373,392    $328,679,598            1.76%
  1/25/2019          14,838,784    $133,904,929            0.72%
  2/1/2019           31,580,694    $283,731,782            1.53%
  2/8/2019           26,333,571    $224,292,245            1.27%
  2/15/2019          20,366,399    $173,740,010            0.99%
  2/22/2019          13,536,364    $117,246,207            0.65%
  3/1/2019           21,764,476    $197,431,405            1.05%
  3/8/2019           21,714,524    $193,743,677            1.05%
  3/15/2019          25,307,186    $227,502,388            1.22%
  3/22/2019          35,129,513    $307,664,935            1.70%
  3/29/2019          39,598,404    $326,022,874            1.92%
  4/5/2019           27,216,022    $231,658,152            1.32%
  4/12/2019          24,578,441    $205,637,082            1.19%



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Exhibit 4A
Deutsche Bank AG (US)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  4/18/2019          20,555,096    $181,229,958            0.99%
  4/26/2019          28,770,815    $242,858,608            1.39%
  5/3/2019           15,587,802    $128,498,710            0.75%
  5/10/2019          23,947,611    $188,705,394            1.16%
  5/17/2019          22,569,796    $172,648,283            1.09%
  5/24/2019          22,533,332    $165,253,425            1.09%
  5/31/2019          22,731,952    $156,905,501            1.10%
  6/7/2019           27,526,637    $188,938,818            1.33%
  6/14/2019          22,692,600    $156,893,995            1.10%
  6/21/2019          25,941,770    $183,815,897            1.26%
  6/28/2019          28,034,047    $207,795,807            1.36%
  7/5/2019           21,305,844    $166,932,774            1.03%
  7/12/2019          48,475,394    $362,431,817            2.35%
  7/19/2019          29,598,969    $232,842,296            1.43%
  7/26/2019          28,599,387    $226,220,972            1.38%
  8/2/2019           28,940,152    $224,461,679            1.40%
  8/9/2019           30,287,345    $229,787,992            1.47%
  8/16/2019          62,822,358    $430,869,642            3.04%
  8/23/2019          36,573,977    $256,964,949            1.77%
  8/30/2019          19,715,598    $141,065,684            0.95%
  9/6/2019           22,117,430    $168,529,025            1.07%
  9/13/2019          38,710,566    $321,318,838            1.87%
  9/20/2019          27,197,807    $221,327,898            1.32%
  9/27/2019          27,031,331    $206,067,722            1.31%
  10/4/2019          24,005,927    $173,836,947            1.16%
 10/11/2019          27,498,380    $195,797,313            1.33%
 10/18/2019          24,862,697    $194,322,184            1.20%
 10/25/2019          28,239,358    $224,750,150            1.37%
  11/1/2019          37,902,936    $284,802,415            1.83%
  11/8/2019          26,495,912    $202,990,980            1.28%
 11/15/2019          19,795,205    $146,017,198            0.96%
 11/22/2019          19,089,469    $140,194,931            0.92%
 11/29/2019          12,443,075     $91,009,192            0.60%
  12/6/2019          17,827,502    $127,499,006            0.86%
 12/13/2019          28,621,452    $212,462,805            1.38%
 12/20/2019          17,577,170    $136,695,776            0.85%
 12/27/2019           8,980,216     $68,859,272            0.43%
  1/3/2020           22,255,197    $181,217,236            1.08%
  1/10/2020          27,127,903    $228,205,133            1.31%
  1/17/2020          23,241,507    $197,207,884            1.12%
  1/24/2020          21,847,665    $185,453,123            1.06%
  1/31/2020          35,061,966    $315,301,196            1.70%
  2/7/2020           45,506,844    $450,305,897            2.20%
  2/14/2020          35,942,557    $385,298,417            1.74%
  2/21/2020          31,432,707    $330,861,654            1.52%
  2/28/2020          57,254,493    $528,444,901            2.77%
  3/6/2020           60,866,612    $491,215,844            2.95%
  3/13/2020          70,293,439    $442,316,565            3.40%
  3/20/2020          66,438,583    $377,744,286            3.21%
  3/27/2020          45,771,641    $298,767,738            2.21%
  4/3/2020           27,901,625    $172,028,575            1.35%
  4/9/2020           25,457,801    $167,450,554            1.23%
  4/17/2020          24,006,354    $155,751,066            1.16%
  4/24/2020          28,290,685    $173,042,396            1.37%



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Exhibit 4A
Deutsche Bank AG (US)
Volume Analysis
Source: Bloomberg


                    Weekly          Dollar Volume of     Volume as % of
    Date
                    Volume               Trades        Shares Outstanding
  5/1/2020             41,483,093     $298,429,931           2.01%
  5/8/2020             25,237,688     $176,137,707           1.22%
 5/15/2020             26,260,809     $175,843,493           1.27%
 5/22/2020             28,509,889     $206,453,614           1.38%
 5/29/2020             32,966,094     $278,516,060           1.60%
  6/5/2020             35,196,704     $326,806,950           1.70%
 6/12/2020             42,166,544     $406,819,820           2.04%
 6/19/2020             23,421,560     $219,320,963           1.13%
 6/26/2020             25,469,543     $236,901,821           1.23%
  7/2/2020             17,199,627     $162,608,866           0.83%
 7/10/2020             20,975,646     $208,114,749           1.01%
 7/17/2020             22,556,249     $225,140,707           1.09%
 7/24/2020             16,532,554     $161,761,811           0.80%
 7/31/2020             27,437,949     $251,692,909           1.33%
  8/7/2020             13,015,924     $120,532,309           0.63%
 8/14/2020             13,341,892     $127,624,824           0.65%
 8/21/2020             10,700,649     $100,281,249           0.52%
 8/28/2020             16,770,518     $163,407,348           0.81%
  9/4/2020             18,287,453     $174,121,565           0.88%
 9/11/2020             17,571,455     $164,729,984           0.85%
 9/18/2020             12,549,324     $115,558,224           0.61%
Average                25,988,812     $289,220,172           1.3%
Minimum                 7,301,215      $68,859,272           0.4%
Maximum                70,293,439    $1,126,617,468          4.9%
Total               4,755,952,539   $52,927,291,446




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Exhibit 4B
Deutsche Bank AG (GR)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  3/24/2017         145,898,070   € 2,272,297,425         10.58%          Share Turnover
  3/31/2017          88,226,897   € 1,414,156,560         6.40%           Calendar Days                                1,284
  4/7/2017          113,094,772   € 1,761,653,581         5.47%           Time Period (years)                          3.515
  4/13/2017          55,345,916    € 844,398,839          2.68%           Shares Out at End of Class Period    2,066,773,000
  4/21/2017          63,021,237    € 957,078,580          3.05%           Total Volume in Class Period        14,608,794,134
  4/28/2017         118,031,545   € 1,994,492,461         5.71%           Annualized Share Turnover                   201.1%
  5/5/2017           50,607,366    € 866,952,348          2.45%
  5/12/2017          71,607,397   € 1,243,360,596         3.46%
  5/19/2017          78,658,355   € 1,338,269,900         3.81%           Shares Outstanding
  5/26/2017          49,633,294    € 836,061,346          2.40%                   1/4/2016                     1,545,390,000
  6/2/2017           69,963,891   € 1,104,436,714         3.39%                   3/21/2017                    1,379,273,000
  6/9/2017           47,783,023    € 742,838,782          2.31%                   4/5/2017                     2,066,773,000
  6/16/2017          88,897,028   € 1,350,593,042         4.30%
  6/23/2017          58,177,142    € 880,667,107          2.81%
  6/30/2017          74,490,095   € 1,160,123,386         3.60%
  7/7/2017           69,865,103   € 1,148,051,829         3.38%
  7/14/2017          58,176,793    € 962,304,390          2.81%
  7/21/2017          57,765,553    € 917,078,209          2.79%
  7/28/2017          87,489,883   € 1,380,872,201         4.23%
  8/4/2017           63,006,841    € 962,676,402          3.05%
  8/11/2017          75,678,470   € 1,114,880,517         3.66%
  8/18/2017          64,122,088    € 917,062,096          3.10%
  8/25/2017          55,776,050    € 768,935,253          2.70%
  9/1/2017           53,622,646    € 722,891,655          2.59%
  9/8/2017           54,248,447    € 722,210,951          2.62%
  9/15/2017          90,666,367   € 1,264,702,749         4.39%
  9/22/2017          59,226,247    € 821,053,109          2.87%
  9/29/2017          70,638,432    € 999,570,295          3.42%
  10/6/2017          48,147,120    € 699,955,733          2.33%
 10/13/2017          52,237,390    € 742,923,601          2.53%
 10/20/2017          44,874,630    € 640,743,978          2.17%
 10/27/2017          91,510,122   € 1,314,614,825         4.43%
  11/3/2017          75,927,716   € 1,088,517,146         3.67%
 11/10/2017          98,937,981   € 1,469,938,630         4.79%
 11/17/2017         106,481,480   € 1,680,132,420         5.15%
 11/24/2017          62,307,106   € 1,004,370,922         3.01%
  12/1/2017          65,152,292   € 1,034,790,990         3.15%
  12/8/2017          68,946,665   € 1,109,617,752         3.34%
 12/15/2017          69,791,362   € 1,147,174,867         3.38%
 12/22/2017          64,562,850   € 1,080,660,115         3.12%
 12/29/2017          20,108,596    € 320,934,850          0.97%
  1/5/2018           80,603,076   € 1,273,564,609         3.90%
  1/12/2018         100,016,380   € 1,533,768,660         4.84%
  1/19/2018          57,108,381    € 867,938,119          2.76%
  1/26/2018          78,175,008   € 1,235,715,415         3.78%
  2/2/2018          115,760,595   € 1,673,012,945         5.60%
  2/9/2018          157,489,332   € 2,050,572,894         7.62%
  2/16/2018         101,337,547   € 1,314,761,587         4.90%
  2/23/2018          61,524,764    € 822,060,147          2.98%
  3/2/2018           63,426,419    € 824,448,204          3.07%
  3/9/2018           63,368,422    € 824,338,681          3.07%
  3/16/2018          68,194,915    € 874,061,177          3.30%
  3/23/2018         118,719,520   € 1,396,041,746         5.74%
  3/29/2018          68,798,354    € 773,286,964          3.33%



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Exhibit 4B
Deutsche Bank AG (GR)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  4/6/2018           67,393,913    € 765,907,149           3.26%
  4/13/2018          68,137,142    € 782,954,233           3.30%
  4/20/2018          50,226,016    € 583,416,973           2.43%
  4/27/2018          99,317,179   € 1,170,559,468          4.81%
  5/4/2018           46,958,907    € 534,793,130           2.27%
  5/11/2018          42,421,354    € 489,574,650           2.05%
  5/18/2018          81,438,729    € 900,014,122           3.94%
  5/25/2018          98,602,916   € 1,051,433,106          4.77%
  6/1/2018          193,015,486   € 1,870,801,829          9.34%
  6/8/2018          113,578,595   € 1,087,381,698          5.50%
  6/15/2018         102,420,542    € 984,324,844           4.96%
  6/22/2018          79,112,078    € 752,030,594           3.83%
  6/29/2018         101,760,155    € 926,286,711           4.92%
  7/6/2018           99,878,290    € 949,505,419           4.83%
  7/13/2018          72,965,497    € 704,134,169           3.53%
  7/20/2018         110,919,786   € 1,143,081,844          5.37%
  7/27/2018          67,996,730    € 711,353,563           3.29%
  8/3/2018           76,889,628    € 844,550,536           3.72%
  8/10/2018          66,723,345    € 707,936,118           3.23%
  8/17/2018          78,083,834    € 775,196,589           3.78%
  8/24/2018          47,916,062    € 473,261,762           2.32%
  8/31/2018          52,521,514    € 517,007,504           2.54%
  9/7/2018           69,665,575    € 679,757,310           3.37%
  9/14/2018          70,998,400    € 687,868,780           3.44%
  9/21/2018         169,552,271   € 1,760,462,469          8.20%
  9/28/2018          66,846,135    € 674,883,124           3.23%
  10/5/2018          55,085,027    € 533,515,213           2.67%
 10/12/2018          65,670,800    € 621,582,219           3.18%
 10/19/2018          63,753,989    € 612,268,295           3.08%
 10/26/2018          95,602,190    € 847,319,059           4.63%
  11/2/2018          76,606,290    € 678,474,076           3.71%
  11/9/2018          53,001,590    € 482,390,293           2.56%
 11/16/2018          57,290,109    € 497,609,108           2.77%
 11/23/2018          63,320,281    € 521,053,189           3.06%
 11/30/2018          74,705,469    € 627,393,629           3.61%
  12/7/2018          79,555,166    € 633,089,425           3.85%
 12/14/2018          94,382,956    € 722,545,393           4.57%
 12/21/2018         105,110,049    € 752,629,351           5.09%
 12/28/2018          28,306,844    € 193,851,796           1.37%
  1/4/2019           46,590,353    € 338,147,737           2.25%
  1/11/2019          69,513,759    € 522,649,386           3.36%
  1/18/2019          93,918,911    € 736,725,747           4.54%
  1/25/2019          66,476,404    € 526,255,947           3.22%
  2/1/2019           80,335,420    € 633,311,583           3.89%
  2/8/2019           73,125,625    € 551,040,634           3.54%
  2/15/2019          63,186,505    € 477,183,399           3.06%
  2/22/2019          47,148,579    € 360,273,199           2.28%
  3/1/2019           65,070,606    € 520,650,810           3.15%
  3/8/2019           65,476,288    € 516,809,932           3.17%
  3/15/2019          77,236,578    € 610,904,546           3.74%
  3/22/2019          92,303,274    € 711,960,526           4.47%
  3/29/2019          74,454,494    € 545,478,332           3.60%
  4/5/2019           70,125,817    € 530,984,722           3.39%
  4/12/2019          70,695,920    € 525,229,623           3.42%



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Exhibit 4B
Deutsche Bank AG (GR)
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of     Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  4/18/2019          48,861,874    € 380,806,387          2.36%
  4/26/2019          79,738,776    € 597,137,448          3.86%
  5/3/2019           51,338,926    € 378,940,481          2.48%
  5/10/2019          77,795,997    € 546,664,180          3.76%
  5/17/2019          65,394,083    € 446,775,529          3.16%
  5/24/2019          83,664,643    € 550,258,476          4.05%
  5/31/2019          72,932,147    € 453,683,043          3.53%
  6/7/2019           88,102,389    € 534,084,817          4.26%
  6/14/2019          49,494,943    € 302,436,741          2.39%
  6/21/2019         106,019,043    € 667,711,707          5.13%
  6/28/2019          70,818,224    € 460,630,113          3.43%
  7/5/2019           76,815,645    € 533,578,690          3.72%
  7/12/2019         120,353,065    € 800,964,798          5.82%
  7/19/2019          74,218,941    € 519,189,871          3.59%
  7/26/2019          92,889,638    € 659,138,020          4.49%
  8/2/2019           83,263,399    € 582,695,329          4.03%
  8/9/2019           93,536,494    € 633,228,413          4.53%
  8/16/2019         129,400,756    € 795,305,421          6.26%
  8/23/2019          67,841,832    € 429,519,298          3.28%
  8/30/2019          53,562,310    € 346,904,187          2.59%
  9/6/2019           62,435,511    € 431,064,971          3.02%
  9/13/2019         113,182,011    € 847,826,590          5.48%
  9/20/2019          73,413,080    € 539,031,726          3.55%
  9/27/2019          71,660,388    € 495,556,150          3.47%
  10/4/2019          55,742,605    € 369,441,706          2.70%
 10/11/2019          67,781,565    € 440,500,115          3.28%
 10/18/2019          77,955,440    € 549,425,787          3.77%
 10/25/2019          61,102,843    € 438,120,263          2.96%
  11/1/2019          92,145,549    € 620,187,286          4.46%
  11/8/2019          80,363,785    € 556,587,776          3.89%
 11/15/2019          65,779,935    € 440,995,077          3.18%
 11/22/2019          53,066,924    € 351,519,793          2.57%
 11/29/2019          43,548,779    € 288,915,096          2.11%
  12/6/2019          62,003,406    € 400,228,768          3.00%
 12/13/2019          79,341,956    € 527,142,413          3.84%
 12/20/2019          82,206,394    € 574,935,263          3.98%
 12/27/2019          18,478,632    € 127,457,541          0.89%
  1/3/2020           43,635,572    € 318,832,406          2.11%
  1/10/2020          86,774,215    € 655,313,784          4.20%
  1/17/2020          67,832,158    € 517,107,761          3.28%
  1/24/2020          74,880,698    € 570,963,745          3.62%
  1/31/2020         108,971,628    € 882,685,186          5.27%
  2/7/2020          127,289,663   € 1,143,097,156         6.16%
  2/14/2020         101,234,912   € 1,000,346,461         4.90%
  2/21/2020          89,426,651    € 876,261,003          4.33%
  2/28/2020         167,022,912   € 1,399,345,338         8.08%
  3/6/2020          165,275,009   € 1,190,857,740         8.00%
  3/13/2020         296,069,563   € 1,651,517,768         14.33%
  3/20/2020         191,177,665    € 984,089,992          9.25%
  3/27/2020         138,657,295    € 833,184,830          6.71%
  4/3/2020          117,826,379    € 662,686,728          5.70%
  4/9/2020           87,368,928    € 527,108,380          4.23%
  4/17/2020          81,144,707    € 478,278,063          3.93%
  4/24/2020          89,750,617    € 508,053,499          4.34%



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Exhibit 4B
Deutsche Bank AG (GR)
Volume Analysis
Source: Bloomberg


                    Weekly     Dollar Volume of      Volume as % of
    Date
                    Volume          Trades         Shares Outstanding
 4/30/2020         132,930,587   € 874,609,874           6.43%
  5/8/2020          76,273,410   € 491,974,698           3.69%
 5/15/2020          85,789,650   € 531,167,988           4.15%
 5/22/2020          82,920,986   € 549,314,735           4.01%
 5/29/2020         108,503,459   € 822,311,788           5.25%
  6/5/2020          95,677,979   € 790,895,611           4.63%
 6/12/2020         115,863,894   € 990,635,833           5.61%
 6/19/2020         102,891,116   € 855,164,160           4.98%
 6/26/2020          66,565,541   € 552,279,115           3.22%
  7/3/2020          59,643,789   € 502,077,537           2.89%
 7/10/2020          65,319,394   € 572,912,946           3.16%
 7/17/2020          66,662,426   € 583,296,085           3.23%
 7/24/2020          67,635,070   € 572,301,699           3.27%
 7/31/2020          77,466,920   € 602,068,978           3.75%
  8/7/2020          46,084,354   € 360,179,676           2.23%
 8/14/2020          47,805,726   € 387,037,652           2.31%
 8/21/2020          35,117,598   € 277,307,758           1.70%
 8/28/2020          52,490,194   € 431,944,548           2.54%
  9/4/2020          66,103,677   € 529,490,290           3.20%
 9/11/2020          55,599,702   € 442,700,575           2.69%
 9/18/2020          63,116,883   € 489,135,671           3.05%
Average             79,517,318   € 784,997,533            3.9%
Minimum             18,478,632   € 127,457,541            0.9%
Maximum            296,069,563 € 2,272,297,425           14.3%
Total           14,551,669,198 € 143,654,548,485




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Exhibit 4C
Deutsche Bank AG (US, GR)
Volume Analysis
Source: Bloomberg

                      Weekly       Volume as % of Shares
    Date
                      Volume           Outstanding
 3/24/2017          212,950,004          15.44%            Share Turnover
 3/31/2017          135,565,122           9.83%            Calendar Days                                1,284
  4/7/2017          147,478,984           7.14%            Time Period (years)                          3.515
 4/13/2017           78,081,476           3.78%            Shares Out at End of Class Period    2,066,773,000
 4/21/2017           92,776,176           4.49%            Total Volume in Class Period        19,391,788,521
 4/28/2017          167,247,797           8.09%            Annualized Share Turnover                   266.9%
  5/5/2017           74,626,766           3.61%
 5/12/2017           89,513,980           4.33%
 5/19/2017          109,349,348           5.29%            Shares Outstanding
 5/26/2017           70,310,721           3.40%                    1/4/2016                     1,544,854,000
  6/2/2017           93,279,331           4.51%                    3/21/2017                    1,379,273,000
  6/9/2017           64,625,489           3.13%                    4/5/2017                     2,066,773,000
 6/16/2017          111,272,059           5.38%
 6/23/2017           70,984,288           3.43%
 6/30/2017           99,929,128           4.84%
  7/7/2017           87,552,967           4.24%
 7/14/2017           72,415,875           3.50%
 7/21/2017           70,380,738           3.41%
 7/28/2017          113,796,639           5.51%
  8/4/2017           79,045,492           3.82%
 8/11/2017           99,664,440           4.82%
 8/18/2017           87,806,597           4.25%
 8/25/2017           75,355,824           3.65%
  9/1/2017           68,350,128           3.31%
  9/8/2017           70,063,438           3.39%
 9/15/2017          107,116,130           5.18%
 9/22/2017           75,159,334           3.64%
 9/29/2017          104,210,553           5.04%
 10/6/2017           63,834,591           3.09%
 10/13/2017          67,889,452           3.28%
 10/20/2017          59,615,443           2.88%
 10/27/2017         119,424,752           5.78%
 11/3/2017           97,173,119           4.70%
 11/10/2017         125,381,906           6.07%
 11/17/2017         133,111,574           6.44%
 11/24/2017          73,365,301           3.55%
 12/1/2017           84,481,576           4.09%
 12/8/2017           86,468,342           4.18%
 12/15/2017          83,233,599           4.03%
 12/22/2017          83,602,886           4.05%
 12/29/2017          27,409,811           1.33%
  1/5/2018          108,072,323           5.23%
 1/12/2018          121,837,136           5.90%
 1/19/2018           67,746,768           3.28%
 1/26/2018           98,001,293           4.74%
  2/2/2018          145,910,126           7.06%
  2/9/2018          207,861,793          10.06%
 2/16/2018          122,523,266           5.93%
 2/23/2018           76,903,535           3.72%
  3/2/2018           85,602,403           4.14%
  3/9/2018           80,543,085           3.90%
 3/16/2018           85,499,131           4.14%
 3/23/2018          159,105,036           7.70%
 3/29/2018           90,877,747           4.40%
  4/6/2018           86,640,258           4.19%
 4/13/2018           85,046,343           4.11%



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Exhibit 4C
Deutsche Bank AG (US, GR)
Volume Analysis
Source: Bloomberg

                      Weekly       Volume as % of Shares
    Date
                      Volume           Outstanding
 4/20/2018           64,362,371           3.11%
 4/27/2018          121,272,018           5.87%
  5/4/2018           58,722,850           2.84%
 5/11/2018           54,870,914           2.65%
 5/18/2018          104,665,338           5.06%
 5/25/2018          129,272,176           6.25%
  6/1/2018          261,692,161          12.66%
  6/8/2018          151,342,618           7.32%
 6/15/2018          122,496,325           5.93%
 6/22/2018          101,421,785           4.91%
 6/29/2018          130,751,966           6.33%
  7/6/2018          120,540,251           5.83%
 7/13/2018           94,215,494           4.56%
 7/20/2018          151,209,488           7.32%
 7/27/2018           99,863,095           4.83%
  8/3/2018          105,416,301           5.10%
 8/10/2018           90,415,095           4.37%
 8/17/2018          107,048,842           5.18%
 8/24/2018           65,287,933           3.16%
 8/31/2018           69,910,636           3.38%
  9/7/2018           83,680,779           4.05%
 9/14/2018           98,471,372           4.76%
 9/21/2018          191,675,218           9.27%
 9/28/2018           84,230,189           4.08%
 10/5/2018           77,391,737           3.74%
 10/12/2018          87,589,048           4.24%
 10/19/2018          88,949,836           4.30%
 10/26/2018         133,055,237           6.44%
 11/2/2018          106,291,243           5.14%
 11/9/2018           68,623,038           3.32%
 11/16/2018          78,469,415           3.80%
 11/23/2018          82,720,427           4.00%
 11/30/2018         109,978,805           5.32%
 12/7/2018          108,889,406           5.27%
 12/14/2018         141,495,284           6.85%
 12/21/2018         142,727,028           6.91%
 12/28/2018          61,731,147           2.99%
  1/4/2019           69,747,416           3.37%
 1/11/2019           90,155,332           4.36%
 1/18/2019          130,292,303           6.30%
 1/25/2019           81,315,188           3.93%
  2/1/2019          111,916,114           5.42%
  2/8/2019           99,459,196           4.81%
 2/15/2019           83,552,904           4.04%
 2/22/2019           60,684,943           2.94%
  3/1/2019           86,835,082           4.20%
  3/8/2019           87,190,812           4.22%
 3/15/2019          102,543,764           4.96%
 3/22/2019          127,432,787           6.17%
 3/29/2019          114,052,898           5.52%
  4/5/2019           97,341,839           4.71%
 4/12/2019           95,274,361           4.61%
 4/18/2019           69,416,970           3.36%
 4/26/2019          108,509,591           5.25%
  5/3/2019           66,926,728           3.24%
 5/10/2019          101,743,608           4.92%



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Exhibit 4C
Deutsche Bank AG (US, GR)
Volume Analysis
Source: Bloomberg

                      Weekly       Volume as % of Shares
    Date
                      Volume           Outstanding
 5/17/2019           87,963,879           4.26%
 5/24/2019          106,197,975           5.14%
 5/31/2019           95,664,099           4.63%
  6/7/2019          115,629,026           5.59%
 6/14/2019           72,187,543           3.49%
 6/21/2019          131,960,813           6.38%
 6/28/2019           98,852,271           4.78%
  7/5/2019           98,121,489           4.75%
 7/12/2019          168,828,459           8.17%
 7/19/2019          103,817,910           5.02%
 7/26/2019          121,489,025           5.88%
  8/2/2019          112,203,551           5.43%
  8/9/2019          123,823,839           5.99%
 8/16/2019          192,223,114           9.30%
 8/23/2019          104,415,809           5.05%
 8/30/2019           73,277,908           3.55%
  9/6/2019           84,552,941           4.09%
 9/13/2019          151,892,577           7.35%
 9/20/2019          100,610,887           4.87%
 9/27/2019           98,691,719           4.78%
 10/4/2019           79,748,532           3.86%
 10/11/2019          95,279,945           4.61%
 10/18/2019         102,818,137           4.97%
 10/25/2019          89,342,201           4.32%
 11/1/2019          130,048,485           6.29%
 11/8/2019          106,859,697           5.17%
 11/15/2019          85,575,140           4.14%
 11/22/2019          72,156,393           3.49%
 11/29/2019          55,991,854           2.71%
 12/6/2019           79,830,908           3.86%
 12/13/2019         107,963,408           5.22%
 12/20/2019          99,783,564           4.83%
 12/27/2019          27,458,848           1.33%
  1/3/2020           65,890,769           3.19%
 1/10/2020          113,902,118           5.51%
 1/17/2020           91,073,665           4.41%
 1/24/2020           96,728,363           4.68%
 1/31/2020          144,033,594           6.97%
  2/7/2020          172,796,507           8.36%
 2/14/2020          137,177,469           6.64%
 2/21/2020          120,859,358           5.85%
 2/28/2020          224,277,405          10.85%
  3/6/2020          226,141,621          10.94%
 3/13/2020          366,363,002          17.73%
 3/20/2020          257,616,248          12.46%
 3/27/2020          184,428,936           8.92%
  4/3/2020          145,728,004           7.05%
  4/9/2020          112,826,729           5.46%
 4/17/2020          105,151,061           5.09%
 4/24/2020          118,041,302           5.71%
  5/1/2020          174,413,680           8.44%
  5/8/2020          101,511,098           4.91%
 5/15/2020          112,050,459           5.42%
 5/22/2020          111,430,875           5.39%
 5/29/2020          141,469,553           6.84%
  6/5/2020          130,874,683           6.33%



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Exhibit 4C
Deutsche Bank AG (US, GR)
Volume Analysis
Source: Bloomberg

                        Weekly       Volume as % of Shares
    Date
                       Volume            Outstanding
 6/12/2020           158,030,438            7.65%
 6/19/2020           126,312,676            6.11%
 6/26/2020            92,035,084            4.45%
  7/2/2020            76,843,416            3.72%
 7/10/2020            86,295,040            4.18%
 7/17/2020            89,218,675            4.32%
 7/24/2020            84,167,624            4.07%
 7/31/2020           104,904,869            5.08%
  8/7/2020            59,100,278            2.86%
 8/14/2020            61,147,618            2.96%
 8/21/2020            45,818,247            2.22%
 8/28/2020            69,260,712            3.35%
  9/4/2020            84,391,130            4.08%
 9/11/2020            73,171,157            3.54%
 9/18/2020            75,666,207            3.66%
Average              105,506,130             5.2%
Minimum               27,409,811             1.3%
Maximum              366,363,002            17.7%
Total               19,307,621,737




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Exhibit 5A
Deutsche Bank AG
Number of Analyst Reports by Company
Source: Refinitiv Eikon, Bloomberg

Abridged Search with Company Name as Primary Ticker Only
   Number                        Analyst Name              Reports
       1       Morningstar, Inc.                            112
       2       BofA Global Research                          85
       3       Credit Suisse                                 71
       4       Kepler Cheuvreux                              70
       5       Zacks Equity Research                         62
       6       RBC Capital Markets                           57
       7       UBS Equities                                  55
       8       Barclays                                      54
       9       JPMorgan                                      54
      10       Morgan Stanley                                50
      11       Societe Generale                              50
      12       Commerzbank Corporate Clients                 42
      13       Moody's Investors Services                    42
      14       BNP Paribas Exane                             31
      15       CFRA Equity Research                          30
      16       BuySellSignals Research                       25
      17       Trefis                                        23
      18       Sadif Analytics Prime                         22
      19       UniCredit Research                            22
      20       DBRS Morningstar                              19
      21       Natixis FICC Research                         18
      22       Wright Reports                                18
      23       ESN/ equinet Bank (Germany)                   17
      24       JPMorgan Econ & FI                            16
      25       Pareto Securities AS                          15
      26       Banco Santander                               14
      27       HSBC                                          14
      28       GlobalData                                    13
      29       ValuEngine, Inc                               13
      30       Warburg Research GmbH                         13
      31       Berenberg                                     10
      32       Macquarie Research                             8
      33       Scope Ratings                                  8
      34       Validea                                        8
      35       IHS Technology                                 7
      36       Acquisdata                                     5
      37       Corporate Watchdog Reports                     5
      38       Financiële Diensten Amsterdam                  4
      39       Millennium BCP                                 3
      40       The Business Research Company                  3
      41       CFRA Quantitative Report                       2


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Exhibit 5A
Deutsche Bank AG
Number of Analyst Reports by Company
Source: Refinitiv Eikon, Bloomberg

Abridged Search with Company Name as Primary Ticker Only
   Number                        Analyst Name              Reports
      42       Fitch Ratings                                  2
      43       Morgan Stanley Fixed Income Research           2
      44       Hammer Partners                                2
      45       Arbat Capital                                  1
      46       Audit Analytics                                1
      47       BCC-Invest                                     1
      48       BNP Paribas Personal Investors                 1
      49       Edison Investment Research                     1
      50       Eugene Investment & Securities                 1
      51       Keefe, Bruyette & Woods                        1
      52       M.R. Finanzmarktberatung GmbH                  1
      53       Marktfeld                                      1
      54       New Generation Research                        1
      55       NUS RMI-CRI                                    1
      56       S3 Partners                                    1
      57       SSIF Tradeville                                1
      58       Timetric                                       1
      59       Vermilion Technical Research                   1
               Total Analyst Reports in Class Period        1,211




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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                      Contributor                                                                       Title
  3/15/2017   BofA Global Research            Deutsche Bank: Why we are not Overweight (mostly)
  3/15/2017   CFRA Equity Research            Deutsche Bank AG Ord
                                              Deutsche Bank AG (Sell, TP=€11.5) - Corporate news - New guidance released by management with launch of €8bn rights issue - A.
  3/20/2017   Societe Generale
                                              Lim (3p)
  3/21/2017   BofA Global Research            Deutsche Bank: Ex-rights: reiterate Underperform
  3/29/2017   Trefis                          Trefis Report: Deutsche Bank - $18.00 Trefis Price Estimate
   4/7/2017   Morgan Stanley                  Deutsche Bank: Resuming Coverage at Equal-weight
  4/10/2017   Morningstar, Inc.               Morningstar | Deutsche’s capital increase soothes concerns but tarnished image still needs to be fixed.
  4/10/2017   Morningstar, Inc.               Morningstar | Deutsche’s capital increase soothes concerns but tarnished image still needs to be fixed.
  4/12/2017   Morningstar, Inc.               Morningstar | DBK Updated Forecasts and Estimates from 12 Apr 2017
  4/12/2017   Sadif Analytics Prime           Is Deutsche Bank AG In Need of A Cure?
  4/13/2017   Morningstar, Inc.               Morningstar | DB Updated Forecasts and Estimates from 12 Apr 2017
  4/13/2017   Morningstar, Inc.               Morningstar | Deutsche’s capital increase soothes concerns, but its tarnished image still needs to be fixed.
  4/13/2017   Morningstar, Inc.               Morningstar | Deutsche’s capital increase soothes concerns, but its tarnished image still needs to be fixed.
  4/20/2017   Barclays                        Deutsche Bank AG: Self-help needs to continue
  4/20/2017   RBC Capital Markets             Deutsche Bank - Revenue momentum lacking
  4/20/2017   RBC Capital Markets             UK & European Research at a Glance - April 20, 2017
  4/21/2017   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - Q1 net profit of €0.7bn expected
  4/21/2017   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - DAX at 12,900 if investors had no auto worries
  4/21/2017   Macquarie Research              Macquarie: Deutsche Bank (Upgrade to Outperform) - A price for everything: upgrade to OP
                                              Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  4/21/2017   Validea
                                              Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
  4/23/2017   JPMorgan                        Deutsche Bank : Show me stock with 6.8% RoTE in 2019E requires 30% upside, entry point €14: Remain N
  4/24/2017   Kepler Cheuvreux                Espresso Note | Deutsche Bank | Buy | Expecting an encouraging start into 2017
  4/25/2017   BofA Global Research            Deutsche Bank: Profitability mirage set to fade: IT cost and NII deep-dive
                                              Int'l Compass: Widespread base breakouts, from Germany to India; overweight cyclicals; bullish technicals + EPS estimate momentum
  4/26/2017   Vermilion Technical Research
                                              screen/chart book
  4/26/2017   Warburg Research GmbH           Preview: Solid start to 2017 expected; Model update
  4/26/2017   Wright Reports                  Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  4/27/2017   Barclays                        First Look: Deutsche Bank 1Q17 - Revenue bounce disappoints: Deutsche Bank Initial 1Q17
  4/27/2017   Barclays                        First Look: Deutsche Bank 1Q17 - Revenue bounce disappoints
  4/27/2017   BofA Global Research            Deutsche Bank: SPEED READ: Revenues disappoint
  4/27/2017   BofA Global Research            Deutsche Bank: 1Q17: smaller balance sheet and revenue rebound than expected
  4/27/2017   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - Q1 net profit below our estimate
  4/27/2017   JPMorgan                        Deutsche Bank : Cost savings bearing fruit but revenue performance below expectations: Remain Neutral
  4/27/2017   JPMorgan                        Deutsche Bank : Revenues disappointing across the board, with Global Markets underperforming peers yet again: Remain N
  4/27/2017   Kepler Cheuvreux                Espresso Note | Deutsche Bank | Buy | Q1 first reactions: revenues disappoint
  4/27/2017   Morgan Stanley                  Deutsche Bank: 1st Take: Mixed set of numbers - better costs, more needed on the top line
  4/27/2017   Morgan Stanley                  Deutsche Bank: Long dated delivery



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                    Title
  4/27/2017   Morningstar, Inc.                Morningstar | While Q1 Bottom Line Improves, Deutsche Bank’s Operational Performance Lacks Spark and Momentum
  4/27/2017   Morningstar, Inc.                Morningstar | While Q1 Bottom Line Improves, Deutsche Bank’s Operational Performance Lacks Spark and Momentum
  4/27/2017   Natixis FICC Research            Morning News - Deutsche Bank : Un T1 17 : sans litige …mais sans éclat!
  4/27/2017   Natixis FICC Research            Morning News - Deutsche Bank : Q1 17: no legal costs… but nothing exciting!
  4/27/2017   RBC Capital Markets              Deutsche Bank - DBK - Q1 17 lacks revenue momentum
  4/27/2017   UBS Equities                     First Read: Deutsche Bank "Q1 17: Weak revenues, in-line costs" (Neutral)
  4/27/2017   UniCredit Research               Credit Comment - Deutsche Bank: Reports neutral 1Q17 figures; challenges remain
  4/27/2017   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  4/28/2017   BofA Global Research             Deutsche Bank: NII headwinds to continue
  4/28/2017   CFRA Equity Research             Deutsche Bank AG Ord
  4/28/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Interesting restructuring case: BUY, TP EUR 19.00 - Post Results
  4/28/2017   Financiële Diensten Amsterdam    Deutsche Bank Aktiengesellschaft, Company Analysis - Investment Update
  4/28/2017   Macquarie Research               Macquarie: Deutsche Bank (Outperform) - The start not the end
  4/28/2017   RBC Capital Markets              Deutsche Bank - Unconvincing bounce back
  4/28/2017   RBC Capital Markets              UK & European Research at a Glance - April 28, 2017
  4/28/2017   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Franchise still losing market share
  4/28/2017   Trefis                           Trefis Report: Deutsche Bank - $18.00 Trefis Price Estimate
  4/28/2017   UBS Equities                     Deutsche Bank "Q1 2017: We remain positive on costs and capital" (Neutral)
   5/2/2017   Eugene Investment & Securities   Deutsche Bank - 䦧㧦㩚䢮㦒⪲ 㔲㧻㤆⩺⓪ 䟊㏢♮ἶ 㧞㦒⋮ 㑮㧋 Ṳ㍶㦖 䋂㰖 㞠㦖 㑮㭖
   5/3/2017   Berenberg                        Deutsche Bank - The day the leverage died
   5/3/2017   BuySellSignals Research          Deutsche Bank increases 7% in 2017, outperforming 91% of its global peers
  5/19/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - Reinstate an Underperform rating
  5/19/2017   Credit Suisse                    First Edition Summary Europe
  5/19/2017   Credit Suisse                    Second Edition Summary Europe
  5/19/2017   Credit Suisse                    Around The Clock
  5/22/2017   JPMorgan                         Global Investment Bank Tracker : Equities doing better than FICC QTD in Q2: Prefer GS and MS over DBK
  5/23/2017   Barclays                         Deutsche Bank AG: Long road to recovery
  5/26/2017   CFRA Equity Research             Deutsche Bank AG Ord
  5/30/2017   UBS Equities                     Deutsche Bank "UBS Evidence Lab supports our positive view on costs, ..."
   6/2/2017   Fitch Ratings                    Deutsche Postbank AG - Mortgage Pfandbriefe
   6/6/2017   DBRS Morningstar                 DBRS Confirms Deutsche Bank’s A (low) Rating, Trend Revised to Stable
   6/8/2017   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
   6/9/2017   BofA Global Research             Deutsche Bank: Rates imply NII problem to continue
  6/12/2017   Banco Santander                  Santander GCB: Deutsche Bank: Rate Rises Not Enough to Buy the Stock
  6/14/2017   DBRS Morningstar                 DBRS Releases Report on Deutsche Bank AG
  6/20/2017   BNP Paribas Personal Investors   Semanal Análisis Técnico 20.06.2017
  6/20/2017   GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  6/23/2017   Morningstar, Inc.                Morningstar | 2017 Stress Test Results Affirm Bank Capital Strength and Capital Return Plans Should Come Next Week
  6/23/2017   Morningstar, Inc.                Morningstar | 2017 Stress Test Results Affirm Bank Capital Strength and Capital Return Plans Should Come Next Week
  6/23/2017   Morningstar, Inc.                Morningstar | We Prefer Banks With Individual Issues to Rate-Sensitive Names



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                    Title
  6/23/2017   Morningstar, Inc.                Morningstar | We Prefer Banks With Individual Issues to Rate-Sensitive Names
  6/23/2017   Societe Generale                 US Banks - DFAST results point to strong excess capital at the universal banks
  6/29/2017   Morningstar, Inc.                Morningstar | Several Undervalued Banks Stand to Benefit from 2017 CCAR Results and Capital Return Plans
  6/29/2017   Morningstar, Inc.                Morningstar | Several Undervalued Banks Stand to Benefit from 2017 CCAR Results and Capital Return Plans
   7/3/2017   Credit Suisse                    EU Investment Banks: Market share movements
   7/4/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Deutsche Bank Blue Chips Stockguide July 2017 - Blue Chips Stockguide
  7/12/2017   Sadif Analytics Prime            Is Deutsche Bank AG Worth a Higher Bid?
  7/20/2017   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Fixed income-driven profit decline expected for Q2
  7/21/2017   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q2 reporting season: momentum is still positive but …
  7/21/2017   JPMorgan                         Deutsche Bank : Model Update
  7/22/2017   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  7/23/2017   Natixis FICC Research            Q2 17 Earnings: 27/07/17 -
  7/25/2017   Banco Santander                  Santander GCB: Santander European Daily, Tuesday, 25 July 2017
  7/25/2017   Banco Santander                  Santander GCB: Deutsche Bank: 2Q17E Results Preview
  7/27/2017   BofA Global Research             Deutsche Bank: SPEED READ: 2Q numbers quite weak
  7/27/2017   BofA Global Research             Deutsche Bank: 2Q17: CIB and NII disappoint
  7/27/2017   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Net profit in line, fixed income disappointed in Q2
  7/27/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - 2Q17: Revenue miss offset by lower charges
  7/27/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Q2 EBT above forecast due to lower costs/risk provisions - Flash note
  7/27/2017   Financiële Diensten Amsterdam    Deutsche Bank Aktiengesellschaft, Company Analysis - Investment Update
  7/27/2017   JPMorgan                         Deutsche Bank : CIB still losing market share to US peers: Remain N on P/TBV support
  7/27/2017   JPMorgan                         Deutsche Bank : Cutting estimates on weaker revenue performance
  7/27/2017   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Buy | Weak revenues, takes time to rebuild franchise
  7/27/2017   Moody's Investors Services       Deutsche Bank AG: Q2 2017 Results: Weak revenues partly offset by further cost savings as restructuring progresses
  7/27/2017   Morgan Stanley                   Deutsche Bank: PBT beat, but weak i-bank - mixed read
  7/27/2017   Morgan Stanley                   Deutsche Bank: Weak I-bank keeps lid on valuation
  7/27/2017   Morningstar, Inc.                Morningstar | While Deutsche Makes Progress With Restructuring, Weaker Revenue Generation Continues as Expected
  7/27/2017   Morningstar, Inc.                Morningstar | While Deutsche Makes Progress With Restructuring, Weaker Revenue Generation Continues as Expected
  7/27/2017   Natixis FICC Research            Morning News - Deutsche Bank : A long road ahead
  7/27/2017   Natixis FICC Research            Morning News - Deutsche Bank : Le chemin reste long
  7/27/2017   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Q2: CIB miss
  7/27/2017   RBC Capital Markets              Deutsche Bank AG - No quick fix
  7/27/2017   UBS Equities                     First Read: Deutsche Bank "Q2 2017: Adj PBT is 13% higher than expected, ..."
  7/27/2017   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  7/27/2017   Hammer Partners                  Deutsche Bank, Weaker than expected Q2
  7/28/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - 2Q17: Revenue miss weighs on performance
  7/28/2017   Macquarie Research               Macquarie: Deutsche Bank (Downgrade to Neutral) - No quick fix
  7/28/2017   Societe Generale                 Deutsche Bank AG - Equity/Credit review - 2Q17 results – No end in sight to CIB shrinkage. Leverage concerns persist. Sell
  7/28/2017   Trefis                           Trefis Report: Deutsche Bank - $18.00 Trefis Price Estimate



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                     Title
                                               Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  7/28/2017   Validea
                                               Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
   8/4/2017   CFRA Equity Research             Deutsche Bank AG Ord
   8/4/2017   Scope Ratings                    Deutsche Bank: Keep Calm and Carry On
   8/4/2017   Societe Generale                 Deutsche Bank AG – Update on funding plans post fixed income investor call
  8/17/2017   BuySellSignals Research          Deutsche Bank second worst performer of DAX Index in 2017
  8/18/2017   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
  8/30/2017   BNP Paribas Exane                INVESTMENT BANKS : Wealth winners
  8/31/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Buy case confirmed with a new TP of EUR 17.50 (19.00) - Flash note
   9/4/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - Upgrade to Neutral after recent weakness
   9/4/2017   Credit Suisse                    First Edition Summary Europe: 4 September 2017
   9/4/2017   Credit Suisse                    Second Edition Summary Europe
   9/4/2017   Credit Suisse                    Around The Clock
  9/11/2017   Societe Generale                 Global Investment Banks - Deep dive into profitability and capital returns
  9/11/2017   Societe Generale                 Deutsche Bank AG (Sell, TP=€10.5) - 12m target downgrade - Ongoing franchise issues and €3bn capital deficit persist - A. Lim (7p)
 9/12/2017    Societe Generale                 Global Investment Banks - Deep dive into profitability and capital return
 9/15/2017    Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 9/20/2017    S3 Partners                      S3 Analytics: Short interest continues to rise on the Banks, coming into 3Q earnings.
 9/21/2017    HSBC                             Deutsche Bank (DBK GR):-Upgrade to Hold: Outlook remains uncertain
 9/22/2017    GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
 9/22/2017    Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 9/29/2017    Morningstar, Inc.                Morningstar | DBK Updated Star Rating from 29 Sep 2017
 10/2/2017    BNP Paribas Exane                INVESTMENT BANKS : Updating estimates for recent market moves
 10/4/2017    Moody's Investors Services       Deutsche Bank AG: Quarterly Update
 10/6/2017    RBC Capital Markets              Global Investment Banks: Capital Markets scorecard September 2017
 10/12/2017   BNP Paribas Exane                INVESTMENT BANKS : Capital Cross-Check
 10/17/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Deutsche Bank Blue Chips Stockguide October 2017 - Blue Chips Stockguide
 10/18/2017   Credit Suisse                    EU investment banks: US banks 3Q17 read-across
 10/18/2017   Morningstar, Inc.                Morningstar | While Deutsche’s capital concerns ease, but its tarnished image and challenges continue.
 10/18/2017   Morningstar, Inc.                Morningstar | While Deutsche’s capital concerns ease, but its tarnished image and challenges continue.
 10/19/2017   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 10/22/2017   Natixis FICC Research            Q3 17 Earnings: 26/10/17 -
 10/24/2017   Warburg Research GmbH            Vorschau Q3: Erträge weiter unter Druck
 10/25/2017   Warburg Research GmbH            Preview Q3: Revenues remain under pressure
 10/26/2017   BNP Paribas Exane                DEUTSCHE BANK (-): Reducing numbers after 3Q, further below consensus
 10/26/2017   BofA Global Research             Deutsche Bank: 3Q17: operating leverage hurts as revenues miss
 10/26/2017   BofA Global Research             Deutsche Bank: SPEED READ: 3Q was weak
 10/26/2017   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q3 profit above estimate due to lower one-off expenses
 10/26/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - 3Q17: FICC/CET1 miss and Corp centre beat



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                     Title
 10/26/2017   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Q3 results broadly in line with expectations - Flash note
 10/26/2017   Financiële Diensten Amsterdam    Deutsche Bank Aktiengesellschaft, Company Analysis - Investment Update
 10/26/2017   JPMorgan                         Deutsche Bank : Low Quality result - all eyes on poor CIB performance: Remain N
 10/26/2017   JPMorgan                         Deutsche Bank : No sign of market share stabilization yet: Remain Neutral at 0.5x TBV
 10/26/2017   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Buy | The restructuring story continues
 10/26/2017   Kepler Cheuvreux                 Q3 2017 results
 10/26/2017   Morgan Stanley                   Deutsche Bank: 3Q17: Weak FICC, decent cost print
 10/26/2017   Morgan Stanley                   Deutsche Bank: Q3 Analyst Conference Call Feedback
 10/26/2017   Morgan Stanley                   Deutsche Bank: 3Q17: Slower progress, markets' glut. Price target down to €15.
 10/26/2017   Morningstar, Inc.                Morningstar | Deutsche’s Results Better Than Expected, but Overhang on Shares Persists Due to High Uncertainty
 10/26/2017   Morningstar, Inc.                Morningstar | Deutsche’s Results Better Than Expected, but Overhang on Shares Persists Due to High Uncertainty
 10/26/2017   Natixis FICC Research            Morning News - Deutsche Bank : Still a long way to go
 10/26/2017   Natixis FICC Research            Morning News - Deutsche Bank : Le chemin reste long
 10/26/2017   RBC Capital Markets              Deutsche Bank AG - DBK - Progress on costs not enough to offset headwinds
 10/26/2017   UBS Equities                     First Read: Deutsche Bank "Q3 2017: Revenues in-line with low expectations, ..."
 10/26/2017   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
 10/27/2017   Credit Suisse                    DBKGn.F: Deutsche Bank - 3Q17: Franchise concern vs. low valuation
 10/27/2017   Macquarie Research               Macquarie: Deutsche Bank (Underperform) - Lowering our sights again
 10/27/2017   RBC Capital Markets              Deutsche Bank AG - Limited operating leverage
 10/27/2017   Societe Generale                 Deutsche Bank AG - Equity/Credit review - 3Q17 results: never-ending woes
 10/28/2017   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 10/30/2017 Moody's Investors Services         Deutsche Bank AG: Q3 2017 Results: Progress on strategy, strong cost control and lower cost of risk mitigate weak revenues
 10/31/2017   DBRS Morningstar                 DBRS: DB Reports Improved 3Q17 Results with Lower Costs, Headwinds to Revenue Growth Remain
 10/31/2017   Trefis                           Trefis Report: Deutsche Bank - $18.00 Trefis Price Estimate
 11/1/2017    CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 11/1/2017    UBS Equities                     Deutsche Bank "Are operating profits at the inflection point?" (Neutral)
                                               Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  11/3/2017   Validea
                                               Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
 11/6/2017    BNP Paribas Exane                INVESTMENT BANKS : Where are we now: outlook after 3Q
 11/10/2017   BuySellSignals Research          Deutsche Bank jumps 23%
 11/10/2017   Morgan Stanley                   Deutsche Bank: DBK + Postbank: patience required
 11/12/2017   M.R. Finanzmarktberatung GmbH    Investment-Fokus: Deutsche Bank
 11/13/2017   RBC Capital Markets              Deutsche Bank AG - Deutsche Bank - moving ahead with DeAM IPO - press reports
 11/14/2017   HSBC                             Deutsche Bank (DBK GR):-Upgrade to Buy: Optionality through capital excess
 11/15/2017   UBS Equities                     First Read: Deutsche Bank "UBS European Conference 2017 - Feedback from CEO ..."
 11/17/2017   Scope Ratings                    Scope Ratings downgrades Deutsche Bank’s ratings (Issuer Rating to BBB+); Stable Outlook
 11/20/2017   Societe Generale                 Deutsche Bank AG (Sell, TP=€10.5) - Corporate news - Two bad banks do not make a good bank - A. Lim (6p)
 11/21/2017   Fitch Ratings                    Deutsche Postbank AG - Mortgage Pfandbriefe
 11/24/2017   Scope Ratings                    Scope Ratings affi rms AAA/Stable on Deutsche Bank’s German mortgage-covered bonds



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                    Title
 11/27/2017   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 12/1/2017    Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 12/4/2017    Credit Suisse                    DBKGn.F: Deutsche Bank - Raising PT for restructuring potential
 12/6/2017    Morgan Stanley                   Deutsche Bank - Evolving Equity Story
 12/8/2017    UniCredit Research               Sector Flash - Basel IV reforms approved
 12/11/2017   BNP Paribas Exane                EUROPEAN BANKS : Basel 4 - the dog that barked quietly
 12/13/2017   HSBC                             Deutsche Bank (DBK GR):-Buy: How much is DWS worth?
 12/14/2017   UBS Equities                     First Read: Bank Zachodni WBK SA "Acquisition of Deutsche Bank Polska"
 12/14/2017   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 12/19/2017   GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
 12/19/2017   Moody's Investors Services       Deutsche Bank AG: Quarterly Update
 12/19/2017   Scope Ratings                    Deutsche Bank AG Issuer Rating Report
 12/21/2017   Moody's Investors Services       Deutsche Bank Trust Corporation: Update to credit analysis
  1/5/2018    Morgan Stanley                   Deutsche Bank: Pre-release: US tax impact and 4Q u/lying PBT loss
  1/5/2018    RBC Capital Markets              Deutsche Bank AG - DBK - Moving backwards
  1/7/2018    Natixis FICC Research            Morning News - Deutsche Bank : Another difficult quarter in the CIB
  1/7/2018    Natixis FICC Research            Morning News - Deutsche Bank : Un autre trimestre difficile dans la BFI
  1/8/2018    HSBC                             Deutsche Bank (DBK GR):-Downgrade to Hold: IB turn-around delayed yet again
  1/8/2018    JPMorgan                         Deutsche Bank : Market share loss ongoing - only support is 0.5x P/TBV 2019E: Remain Neutral
  1/8/2018    Kepler Cheuvreux                 Loss expected for FY 2017
  1/9/2018    Sadif Analytics Prime            Rating Update for Deutsche Bank AG
  1/9/2018    Societe Generale                 Global Investment Banks - Taking profits ahead of a cycle turn. Downgrading BoA, JPM, MS and CS
  1/9/2018    Societe Generale                 Deutsche Bank AG (Sell, TP=€10.5) - Rating reiterated - High conviction Sell rating reiterated - A. Lim (2p)
 1/10/2018    Societe Generale                 Slideshow - Taking profits ahead of a cycle downturn. Downgrading BoA, CITI, JPM and CS
 1/11/2018    ESN/ equinet Bank (Germany)      DEUTSCHE BANK Valuation remains too low: Buy with new TP of EUR 18.00 (EUR 17.50) - Flash note
 1/11/2018    Moody's Investors Services       [MIS]           AG:
 1/11/2018    Warburg Research GmbH            Modellaktualisierung nach schwacher Unternehmensprognose für Q4/2017
 1/11/2018    Warburg Research GmbH            Model update after weak company outlook for Q4 2017
 1/17/2018    Sadif Analytics Prime            Is Deutsche Bank AG Stock Still Attractive?
 1/19/2018    BNP Paribas Exane                DEUTSCHE BANK (-): Updating estimates to reflect profit warning and new tax guidance
 1/29/2018    Natixis FICC Research            17 Earnings: 02/02/18 -
 1/29/2018    UBS Equities                     Deutsche Bank "Revenue growth capped given still-tight capital ratios ..."
 1/30/2018    Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 1/31/2018    ESN/ equinet Bank (Germany)      DEUTSCHE BANK Preview Q4 results (2.2.2018) - Flash note
  2/1/2018    Credit Suisse                    DBKGn.F: Deutsche Bank - 4Q17 preview
  2/2/2018    BofA Global Research             Deutsche Bank: 4Q17: costs generate miss
  2/2/2018    BofA Global Research             Deutsche Bank: SPEED READ: 4Q was weak but expectedly so
  2/2/2018    Credit Suisse                    DBKGn.F: Deutsche Bank - 4Q17: Cost-led miss and divi uncertainty
  2/2/2018    ESN/ equinet Bank (Germany)      DEUTSCHE BANK Q4 results below expectations - Flash note
  2/2/2018    Financiële Diensten Amsterdam    Deutsche Bank Aktiengesellschaft, Company Analysis - Investment Update



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                        Contributor                                                                    Title
  2/2/2018    JPMorgan                        Deutsche Bank : Continuous restructuring mode leading to higher cost: Remain N at 0.5x TBV 2019E
  2/2/2018    Kepler Cheuvreux                Consensus missed
  2/2/2018    Moody's Investors Services      Deutsche Bank AG: Q4 2017 Results: Bolstered capital and liquidity shield bondholders from the blow of a quarterly loss
  2/2/2018    Morgan Stanley                  Deutsche Bank: 4Q: Weak Quarter, despite pre-annoucement. Cost targets worse.
  2/2/2018    Morningstar, Inc.               Morningstar | Deutsche Results Disappoint Once Again; Risks Continue While DBK Muddles Through Restructuring
  2/2/2018    Morningstar, Inc.               Morningstar | Deutsche Results Disappoint Once Again; Risks Continue While DBK Muddles Through Restructuring
  2/2/2018    RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Q4 Costs Disappointment
  2/2/2018    Trefis                          Trefis Report: Deutsche Bank - $18.00 Trefis Price Estimate
  2/2/2018    UBS Equities                    First Read: Deutsche Bank "Q4 2017 review: Short-term pain, long-term gain?"
  2/2/2018    UBS Equities                    First Read: Deutsche Bank "Q4 2017: Revs and costs worse than expected ..."
  2/4/2018    Natixis FICC Research           Morning News - Deutsche Bank : Not convincing!
  2/4/2018    Natixis FICC Research           Morning News - Deutsche Bank : Loin d’être convaincant !
  2/5/2018    BNP Paribas Exane               DEUTSCHE BANK (-): Still loss-making, and losing earnings power
  2/5/2018    BofA Global Research            Deutsche Bank: Fixing: taking longer and costing more
  2/5/2018    BuySellSignals Research         Deutsche Bank plummets 59% in 5 years
  2/5/2018    Credit Suisse                   DBKGn.F: Deutsche Bank - 4Q17: Looking forwards not backwards
  2/5/2018    DBRS Morningstar                DBRS: DB Reports Weak 4Q17 Results as CIB Revenues are Challenged and Costs Remain High •
  2/5/2018    JPMorgan                        Deutsche Bank : Ongoing restructuring play, unable to generate cashflow: justifies 0.5x TBV valuation
  2/5/2018    Kepler Cheuvreux                New comments following results
  2/5/2018    Macquarie Research              Macquarie: Deutsche Bank (Underperform) - Tearing up the script
  2/5/2018    Morgan Stanley                  Deutsche Bank: Work in progress. PT down to €13.4.
  2/5/2018    RBC Capital Markets             Deutsche Bank Aktiengesellschaft - Where is the light at the end of the tunnel?
  2/5/2018    RBC Capital Markets             UK & European Research at a Glance - February 5, 2018
  2/5/2018    Societe Generale                Deutsche Bank AG (Sell, TP=€10.5) - Full-year results - High conviction Sell maintained; TP €10.5 - A. Lim (13p)
  2/6/2018    CFRA Equity Research            Deutsche Bank Aktiengesellschaft
  2/7/2018    Morningstar, Inc.               Morningstar | DBK Updated Star Rating from 06 Feb 2018
  2/9/2018    BNP Paribas Exane               INVESTMENT BANKS : The wrong kind of volatility?
                                              Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  2/9/2018    Validea
                                              Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
   2/9/2018   ValuEngine, Inc                 ValuEngine Rating and Forecast Report for DB
   2/9/2018   Warburg Research GmbH           Unbefriedigender Ausblick bei Kostenentwicklung
   2/9/2018   Warburg Research GmbH           Unsafisfying outlook for cost development
  2/12/2018   Societe Generale                Credit Research - Deutsche Bank AG - Credit opinion downgraded to Negative on weak 4Q17 results
  2/13/2018   BofA Global Research            Deutsche Bank: Overweight. Tell only your best friends
  2/15/2018   UniCredit Research              Covered Bond & Agency Monitor - 15 February 2018 - English version
  2/19/2018   BofA Global Research            Deutsche Bank: Ship in a rising tide
  2/27/2018   Kepler Cheuvreux                DWS IPO set to go ahead
   3/3/2018   Wright Reports                  Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  3/11/2018   CFRA Quantitative Report        Deutsche Bank Aktiengesellschaft
  3/11/2018   Natixis FICC Research           Morning News - Deutsche Bank : Price range for DWS IPO



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                    Title
  3/11/2018   Natixis FICC Research           Morning News - Deutsche Bank : Prix indicatif pour la cotation de DWS
                                              Deutsche Bank AG (Sell, TP=€10) - 12m target downgrade - Even less capital improvement from DWS IPO. Sell, TP reduced to €10.0 -
  3/12/2018   Societe Generale
                                              A. Lim (6p)
  3/13/2018   DBRS Morningstar                DBRS Publishes 4Q17 European Capital Markets Roundup
  3/15/2018   Arbat Capital                   Banking Sector Report - Feb-2018
  3/19/2018   GlobalData                      Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  3/21/2018   Morgan Stanley                  Deutsche Bank: Bearish, tempered outlook for CIB in 1Q
  3/21/2018   UBS Equities                    First Read: Deutsche Bank "Q1 2018 profit warning or not? Stock down more ..."
  3/22/2018   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 22 Mar 2018
  3/23/2018   CFRA Quantitative Report        Deutsche Bank Aktiengesellschaft
  3/26/2018   Macquarie Research              Macquarie: Deutsche Bank (Underperform) - DWS: the solution becomes part of the problem
  3/26/2018   Moody's Investors Services      Deutsche Bank AG: Deutsche Bank passes a credit-positive milestone with IPO of DWS Asset Management
  3/27/2018   HSBC                            Deutsche Bank (DBK GR):-Hold: Time is running out
  3/29/2018   BNP Paribas Exane               DEUTSCHE BANK (-): Reducing estimates and updating capital
   4/3/2018   JPMorgan                        Deutsche Bank : US restructuring required to improve ROE
   4/8/2018   Credit Suisse                   DBKGn.F: Deutsche Bank - DBK announces new CEO
   4/9/2018   BofA Global Research            Deutsche Bank: Certainty on leadership could bring relief
   4/9/2018   Credit Suisse                   Second Edition Summary Europe: 9 April 2018
   4/9/2018   Credit Suisse                   Around the Clock - 9 April 2018
   4/9/2018   Credit Suisse                   First Edition Summary Europe
   4/9/2018   HSBC                            Deutsche Bank (DBK GR):-Hold: Concerns persist despite leadership changes
   4/9/2018   JPMorgan                        Deutsche Bank : New CEO and a “new era”, but no clear strategy as yet
   4/9/2018   Moody's Investors Services      Deutsche Bank AG: CEO change highlights strategic challenges still confronting Deutsche Bank
   4/9/2018   Morgan Stanley                  Deutsche Bank: Christian Sewing to replace John Cryan as DBK CEO
   4/9/2018   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - New CEO in charge
  4/9/2018    Societe Generale                Deutsche Bank AG (Sell, TP=€10) - Corporate news - Taking on the poisoned chalice. Sell, TP €10.0 reiterated - A. Lim (7p)
   4/9/2018   UBS Equities                    First Read: Deutsche Bank "New CEO - Same strategy?" (Neutral) Brupbacher
  4/10/2018   JPMorgan                        Deutsche Bank : US business analysis: Equities and IBD loss making, potential shrinkage to create value at 0.4x
  4/11/2018   Sadif Analytics Prime           Rating Update for Deutsche Bank AG
  4/13/2018   Kepler Cheuvreux                Under CreditWatch negative
  4/16/2018   UBS Equities                    Deutsche Bank "2018 is a decisive year: IB revenue turn-around or strategic ..."
  4/18/2018   BofA Global Research            Deutsche Bank: Between a rock and hard place
  4/19/2018   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - The cactus among investment banks: spiky and slowly growing
  4/19/2018   Credit Suisse                   EU investment banks: US read-through positive for UBS
  4/20/2018   ESN/ equinet Bank (Germany)     DEUTSCHE BANK Deutsche Bank Blue Chips Stockguide April 2018 - Blue Chips Stockguide
  4/20/2018   Morgan Stanley                  Deutsche Bank: Cycle helps, temporary strategic vacuum
  4/21/2018   Wright Reports                  Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  4/23/2018   Natixis FICC Research           Q1 18 Earnings: 26/04/18 -
  4/24/2018   ESN/ equinet Bank (Germany)     DEUTSCHE BANK Deutsche Bank Blue Chips Stockguide April 2018 - Blue Chips Stockguide



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                    Title
  4/24/2018   JPMorgan                         Deutsche Bank : Potential US Equity restructuring of limited impact, much more is needed for L-T re-rating
  4/24/2018   Sadif Analytics Prime            Is Deutsche Bank AG Worth a Higher Bid?
  4/26/2018   BNP Paribas Exane                DEUTSCHE BANK (-): Earnings eroding, strategy options unclear
  4/26/2018   BofA Global Research             Deutsche Bank: SPEED READ: More restructuring ahead
  4/26/2018   BofA Global Research             Deutsche Bank: IB ambitions slashed…but at what cost
  4/26/2018   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q1 18 operational weak; restructuring plans address leverage issue
  4/26/2018   Credit Suisse                    DBKGn.F: Deutsche Bank - 1Q18: DBK reshapes its CIB
  4/26/2018   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Weak Q1 results, strategic repositioning of the investment bank - Flash note
                                               DEUTSCHE BANK Disappointing Q1 results but downsizing of investment bank should be positive, Buy, TP EUR 14.00 (EUR 18.00) -
  4/26/2018   ESN/ equinet Bank (Germany)
                                               Flash note
  4/26/2018   JPMorgan                         Deutsche Bank : US restructuring in sight as we anticipated – awaiting further details
  4/26/2018   JPMorgan                         Deutsche Bank : CIB restructuring positive for a 5% RoTE bank – awaiting more clarity: Remain Neutral
  4/26/2018   Kepler Cheuvreux                 DB crippled by CIB unit
  4/26/2018   Macquarie Research               Macquarie: Deutsche Bank (DBK GR) (Underperform) - 1Q: miss on revenues and costs. Strategy update brief and lacks quantification
  4/26/2018   Morgan Stanley                   Deutsche Bank: 1Q: Adj PBT Miss: 47% below cons. Strategy Update.
  4/26/2018   Morgan Stanley                   Deutsche Bank: 1Q18: Weak quarter - focus on Strategy update
  4/26/2018   Morningstar, Inc.                Morningstar | Deutsche Bank 1Q 2018: New Management Provides Small Adjustment Restructuring-Not Very Convincing
  4/26/2018   Morningstar, Inc.                Morningstar | Deutsche Bank 1Q 2018: New Management Provides Small Adjustment Restructuring-Not Very Convincing
  4/26/2018   Natixis FICC Research            Morning News - Deutsche Bank : Still a long way to go
  4/26/2018   Natixis FICC Research            Morning News - Deutsche Bank : Tout reste à faire
  4/26/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK Q1 18 - cost miss, strategic plan lacks details
  4/26/2018   UBS Equities                     First Read: Deutsche Bank "Q1 2018 – Missing lowered expectations and ..."
  4/27/2018   Credit Suisse                    DBKGn.F: Deutsche Bank - Post Q1: New CIB strategy not clear
  4/27/2018   Macquarie Research               Macquarie: Deutsche Bank (Underperform) - New strategy sheds little light
  4/27/2018   Moody's Investors Services       Rating Action - Deutsche Bank AG - Excel data
  4/27/2018   Moody's Investors Services       Moody's affirms all Deutsche Bank ratings, changes outlook to negative on A3 rated deposits
  4/27/2018   Morgan Stanley                   Deutsche Bank: 1Q18: Strategic context helpful, numbers a reminder of the scale of restructuring task
  4/27/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Path to higher return unclear
  4/27/2018   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Deleveraging to fill a capital hole… again
  4/30/2018   Kepler Cheuvreux                 Negative outlook by Moody’s
  4/30/2018   Trefis                           Trefis Report: Deutsche Bank - $16.00 Trefis Price Estimate
  5/1/2018    Moody's Investors Services       Deutsche Bank AG: Q1 2018 Results: Another strategic shift trumps poor quarterly results and increases execution challenges.
  5/2/2018    Credit Suisse                    DBKGn.F: Deutsche Bank - Initiating on DWS, keeping DBK at Neutral
  5/3/2018    BofA Global Research             Deutsche Bank: Smaller and simpler: a difficult journey
  5/3/2018    BofA Global Research             Deutsche Bank: Exchange of views
  5/3/2018    Moody's Investors Services       Moody's affirms ratings of DBTC and its subsidiaries, revises outlook to Negative
  5/3/2018    Morningstar, Inc.                Morningstar | With its new CEO onboard, concerns on Deutsche ease little while the restructuring process drags on.
  5/3/2018    Morningstar, Inc.                Morningstar | With its new CEO onboard, concerns on Deutsche ease little while the restructuring process drags on.



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                      Title
   5/8/2018   Moody's Investors Services      Deutsche Bank AG: Post Rating Action Update
   5/9/2018   DBRS Morningstar                DBRS Confirms Deutsche Bank’s A (low) Rating, Trend Revised to Negative
   5/9/2018   UniCredit Research              Covered Bond & Agency Monitor - 9 May 2018 - English version
  5/14/2018   Barclays                        Deutsche Bank: Something Has to Change, But What?
  5/14/2018   HSBC                            Deutsche Bank (DBK GR):-Hold: The restructuring loop
  5/16/2018   Timetric                        Deutsche Postbank AG (DPB) : Company Profile and SWOT Analysis
                                              Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  5/18/2018   Validea
                                              Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
  5/21/2018   BCC-Invest                      Инвестиционная идея на международном рынке - еврооблигации Deutsche Bank, Turkiye Halk Bankasi и Alfa Bank
  5/21/2018   DBRS Morningstar                DBRS Releases Report on Deutsche Bank AG
  5/23/2018   DBRS Morningstar                DBRS Publishes 1Q18 European Capital Markets Roundup
  5/24/2018   Barclays                        DBK: Equities Business Review Announcement
  5/24/2018   BofA Global Research            Deutsche Bank: Equities review concludes
  5/24/2018   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - The cactus: losing some (smaller) spikes
  5/24/2018   Credit Suisse                   DBKGn.F: Deutsche Bank - AGM confirms difficult trading in Q2
  5/24/2018   ESN/ equinet Bank (Germany)     DEUTSCHE BANK Finalization of equities business strategy - Flash note
  5/24/2018   HSBC                            Deutsche Bank (DBK GR):-Hold: Swift, certain and more severe
  5/24/2018   JPMorgan                        Deutsche Bank : Restructuring positive and in the right direction but already partly discounted in our estimates
  5/24/2018   Morgan Stanley                  Deutsche Bank: AGM Strategic Update
  5/24/2018   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Updated targets already in our estimates
  5/24/2018   Societe Generale                Deutsche Bank AG (Sell, TP=€8) - Corporate news - A few more details, but we retain our negative conclusion (2p)
  5/24/2018   UBS Equities                    First Read: Deutsche Bank "Further IB rightsizing – Not a U-turn we think"
  5/29/2018   UBS Equities                    Deutsche Bank "Further IB rightsizing and more rigorous cost management – ..."
  5/31/2018   Barclays                        Deutsche Bank - DBTCA - Press Reports on FDIC status
  5/31/2018   BofA Global Research            Deutsche Bank: Erroneous FT report hits valuations
  5/31/2018   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - Correction: DBK - New headwinds emerge
   6/1/2018   Barclays                        DBK: S&P Rating Downgrade
   6/1/2018   BofA Global Research            Deutsche Bank: Qualitative not quantitative issues
   6/1/2018   Kepler Cheuvreux                Limited downgrade
   6/1/2018   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - Uphill struggle
   6/1/2018   Societe Generale                Deutsche Bank AG (Sell, TP=€8) - Corporate news - Thoughts on possible “troubled condition” status - A. Lim (2p)
   6/4/2018   BNP Paribas Exane               INVESTMENT BANKS : Difficult for Deutsche, bother for Barclays: investment banking still looks too tough
   6/7/2018   Morgan Stanley                  Deutsche Bank: Slow burn restructuring
   6/7/2018   RBC Capital Markets             DBK - CBK combination doing the rounds again
   6/7/2018   UBS Equities                    First Read: Deutsche Bank "The 10% 2021 ROTE target implies cEUR32bn ..."
   6/8/2018   BofA Global Research            Deutsche Bank: Smaller or bigger-
  6/10/2018   Barclays                        DBK: Thoughts Following Recent Events
  6/11/2018   Warburg Research GmbH           Model Update: Weaker Q2 expected




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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                     Title

                                               Moody's assigns Counterparty Risk Ratings to rated bank subsidiaries and branches of HSBC Holdings plc, Deutsche Bank AG, BNP
  6/13/2018   Moody's Investors Services
                                               Paribas, Societe Generale, Credit Suisse Group AG, UBS Group AG, and to Barclays Bank PLC and its rated branches
  6/18/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  6/18/2018   GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  6/22/2018   Kepler Cheuvreux                 Outlook downgraded to negative
  6/22/2018   Morningstar, Inc.                Morningstar | 2018 Stress Test Results Tougher Than Last Year, Capital Return Plans Coming Next Week
  6/22/2018   Morningstar, Inc.                Morningstar | 2018 Stress Test Results Tougher Than Last Year, Capital Return Plans Coming Next Week
  6/25/2018   Societe Generale                 Global Investment Banks - Tough markets bring déjà vu for the investment banks
  6/28/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  6/28/2018   RBC Capital Markets              DBK - US subsidiary's capital plan objected by the FED in 2018 CCAR (for qualitative reasons)
  6/29/2018   UBS Equities                     First Read: Deutsche Bank "Fails CCAR – Not unexpected" (Neutral) Brupbacher
   7/3/2018   Morningstar, Inc.                Morningstar | Tougher CCAR Test Than Last Year, Overall, No Serious Restrictions For Our Coverage Universe
   7/3/2018   Morningstar, Inc.                Morningstar | Tougher CCAR Test Than Last Year, Overall, No Serious Restrictions For Our Coverage Universe
   7/3/2018   NUS RMI-CRI                      Weekly Credit Brief (Jun 26 - Jul 02)
   7/4/2018   DBRS Morningstar                 DBRS Places Long-Term Senior Debt of 6 German Banking Groups Under Review With Negative Implications
  7/11/2018   Kepler Cheuvreux                 Negative spiral
  7/11/2018   Kepler Cheuvreux                 New publication: Negative spiral
  7/11/2018   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  7/12/2018   Moody's Investors Services       Deutsche Bank Trust Corporation: Update to credit analysis
  7/13/2018   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q2 preview: CIB remains under pressure
  7/16/2018   Barclays                         DBK: Q218 Positive Pre-announcement
  7/16/2018   BofA Global Research             Deutsche Bank: 2Q headlines come in better than consensus
  7/16/2018   BofA Global Research             Deutsche Bank: 2Q18: not as bad as you thought
  7/16/2018   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Earnings weak, but capital improved – Upgrade to Hold
  7/16/2018   JPMorgan                         Deutsche Bank : Positive trend on Capital ratio build – Revenue stabilization key for a restructuring bank at 0.4x TBV
  7/16/2018   Morgan Stanley                   Deutsche Bank: DBK pre-announces Q2
  7/16/2018   Morningstar, Inc.                Morningstar | Deutsche Bank Announces Preliminary 2Q Results
  7/16/2018   Morningstar, Inc.                Morningstar | Deutsche Bank Announces Preliminary 2Q Results
  7/16/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Low-quality beat
  7/16/2018   UBS Equities                     First Read: Deutsche Bank "Q2 2018 pre-announcement is reassuring. CIB ..."
  7/17/2018   Hammer Partners                  Deutsche Bank, Preliminary results: Upgrade to Neutral
  7/17/2018   HSBC                             Deutsche Bank (DBK GR):-Hold: Capital progress makes systemic fears abate
  7/17/2018   Kepler Cheuvreux                 Q2 results expected above consensus
  7/17/2018   UniCredit Research               Sector Flash - Covered Bonds: Long-dated Deutsche Bank Pfandbrief attractive
  7/19/2018   Credit Suisse                    European investment banks: Positive on UBS after US Q2 results
  7/19/2018   UBS Equities                     Deutsche Bank "UBS Evidence Lab analytics could support a more radical ..."
  7/25/2018   Barclays                         First Look: DBK Q218 - Underlying results inline/slightly weaker
  7/25/2018   BNP Paribas Exane                DEUTSCHE BANK (-): Still struggling to regain momentum
  7/25/2018   BofA Global Research             Deutsche Bank: Capital better as CIB better, retail weaker



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                     Title
  7/25/2018   BofA Global Research             Deutsche Bank: 2Q update
  7/25/2018   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - The cactus: More robust but the drought is not over
  7/25/2018   JPMorgan                         Deutsche Bank : Restructuring on track – but not out of the woods yet on revenues: Remain Neutral
  7/25/2018   JPMorgan                         Deutsche Bank : Restructuring delivering on capital/costs but a "show me" stock on revenues: Maintain Neutral
  7/25/2018   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Reduce | No devil in the details
  7/25/2018   Kepler Cheuvreux                 Good Q2
  7/25/2018   Moody's Investors Services       Deutsche Bank AG: Q2 2018: Maintaining balance sheet strength while reengineering.
  7/25/2018   Morgan Stanley                   Deutsche Bank: 2Q18: Progress on deleveraging - can we see more?
  7/25/2018   Morgan Stanley                   Deutsche Bank: Top line trajectory remains uncertain
  7/25/2018   Morningstar, Inc.                Morningstar | Deutsche Bank 2Q 2018: Slightly Better Than Our Expectations; FVE Maintained
  7/25/2018   Morningstar, Inc.                Morningstar | Deutsche Bank 2Q 2018: Slightly Better Than Our Expectations; FVE Maintained
  7/25/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK Q2 18 - slightly weaker than expected; restructuring on track
  7/25/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Revenues remain key for ROTE improvement
  7/25/2018   Trefis                           Trefis Report: Deutsche Bank - $15.00 Trefis Price Estimate
  7/25/2018   UniCredit Research               Sector Flash - Do covered bonds become more attractive when compared to govies?
  7/25/2018   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  7/26/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  7/26/2018   Credit Suisse                    DBKGn.F: Deutsche Bank - Post 2Q18: Uncertain outlook persists
  7/26/2018   DBRS Morningstar                 DBRS Publishes Commentary on DB’s 2Q18 Results
  7/26/2018   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Reduce | Keep muddling through
  7/26/2018   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Better capital, but profitability and leverage still a problem
  7/26/2018   UniCredit Research               Covered Bond & Agency Monitor - 26 July 2018 - English version
  7/26/2018   UniCredit Research               Covered Bond & Agency Monitor - 26. Juli 2018 - German version
  7/27/2018   Morningstar, Inc.                Morningstar | DB Updated Forecasts and Estimates from 27 Jul 2018
  7/28/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  7/28/2018   Morningstar, Inc.                Morningstar | DBK Updated Forecasts and Estimates from 27 Jul 2018
  7/30/2018   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
   8/2/2018   New Generation Research          August 2018 Turnaround Letter
   8/3/2018   Barclays                         Deutsche Bank: Q218 Review - Challenges Continue
                                               Moody's downgrades Deutsche Bank legacy senior debt to Baa3 following change in bank insolvency law and affirms A3 counterparty
  8/3/2018    Moody's Investors Services
                                               and deposit ratings
   8/6/2018   Sadif Analytics Prime            Is Deutsche Bank AG Stock Still Attractive?
   8/8/2018   HSBC                             Deutsche Bank (DBK GR):-Hold: Is stronger capital the antidote for operational weakness?
  8/13/2018   BofA Global Research             Deutsche Bank: Downgrade: Smaller balance sheet, smaller profits
  8/14/2018   Moody's Investors Services       Deutsche Bank AG: Post Rating Action Update
  8/22/2018   UBS Equities                     Deutsche Bank "What YOU think are the most important issues for Deutsche ..."
  8/23/2018   Berenberg                        Deutsche Bank (DBK GY) - Slowly fading away
  8/23/2018   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
                                               Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  8/24/2018   Validea
                                               Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                        Contributor                                                                         Title
 8/28/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 8/29/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 8/30/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 8/31/2018    BofA Global Research                   Deutsche Bank: Is DB senior preferred cheap-
 8/31/2018    Moody's Investors Services             [MIS] ࢻ࢖ࢶ㖟⾜AG: ᱁௜࢔ࢡࢩࣙࣥᚋࡢ࢔ࢵࣉࢹ࣮ࢺ
  9/3/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  9/5/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  9/6/2018    GlobalData                             Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  9/6/2018    UniCredit Research                     Covered Bond & Agency Monitor - 6 September 2018 - English version
  9/6/2018    UniCredit Research                     Covered Bond & Agency Monitor - 6. September 2018 - German version
  9/6/2018    Wright Reports                         Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  9/7/2018    Keefe, Bruyette & Woods                Deutsche Bank [DBK.GR], HNA told to exit: Draws a line under saga
 9/10/2018    BofA Global Research                   European Morning Credit: Deutsche Bank
 9/10/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/11/2018    Moody's Investors Services             Deutsche Bank Trust Company Americas: Deutsche Bank subsidiary DWS' ESG money market fund is credit positive
 9/11/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/13/2018    BofA Global Research                   Deutsche Bank: A holdco structure-
 9/13/2018    Morgan Stanley Fixed Income Research   Deutsche Bank: Headlines around push for DBK holdco structure
 9/13/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/14/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/17/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/18/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 9/20/2018    Banco Santander                        Santander European Daily, Thursday, 20 September 2018
 9/26/2018    Kepler Cheuvreux                       M&A speculation
 9/26/2018    Morgan Stanley                         Deutsche Bank: Merger with UBS considered according to press
 9/28/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/1/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/8/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/9/2018    ESN/ equinet Bank (Germany)            DEUTSCHE BANK Deutsche Bank Blue Chips Stockguide October 2018 - Blue Chips Stockguide
 10/9/2018    Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/11/2018   Banco Santander                        Santander CIB: Deutsche Bank: M&A Scenarios
 10/12/2018   Banco Santander                        Santander European Daily, Friday, 12 October 2018
 10/12/2018   Barclays                               European IBs: Thoughts ahead of Q318 results
 10/12/2018   Corporate Watchdog Reports             Watchdog Report: DB - The Professional's Due Diligence Report
 10/17/2018   Credit Suisse                          Around The Clock: 17 October 2018
 10/17/2018   Credit Suisse                          DBKGn.F: Deutsche Bank - Q3 could still be challenging despite US beats
 10/22/2018   Commerzbank Corporate Clients          Commerzbank - Deutsche Bank - Q3 due 24 Oct.- Focus on restructuring, capital and IB revenues
 10/24/2018   Barclays                               First Look: DBK Q3 Results
 10/24/2018   BNP Paribas Exane                      DEUTSCHE BANK (-): Much at stake on a clean 4Q
 10/24/2018   BofA Global Research                   Deutsche Bank: P&L troubles continue as balance sheet improves



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                      Title
 10/24/2018   BofA Global Research             Deutsche Bank: 3Q was OK
 10/24/2018   BofA Global Research             Deutsche Bank: Earnings cuts continue
 10/24/2018   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q3 news from the cactus: continuous shrinking
 10/24/2018   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Q3 results broadly in line with expectations - Flash note
 10/24/2018   HSBC                             Deutsche Bank (DBK GR):-Hold: Metamorphosis takes time in this environment
 10/24/2018   JPMorgan                         Deutsche Bank : Solid capital ratio, but key concern remains market share loss with 2% annualised RoTE
 10/24/2018   JPMorgan                         Deutsche Bank : Lack of operational gearing leading to ongoing ROE generation below CoE: Remain Neutral
 10/24/2018   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Reduce | Q3 results: first reaction
 10/24/2018   Kepler Cheuvreux                 Weak Q3
 10/24/2018   Moody's Investors Services       Deutsche Bank AG: Q3 2018: Balance Sheet Strength Maintained as Restructuring Intensifies
 10/24/2018   Morgan Stanley                   Deutsche Bank: 3Q18: PBT broadly in line, but revenue pressure continues
 10/24/2018   Morgan Stanley                   Deutsche Bank: Weak operating trends
 10/24/2018 Morningstar, Inc.                  Morningstar | Deutsche Reports Uninspiring 3Q Results In Line With Our Expectations. See Updated Analyst Note from 24 Oct 2018

 10/24/2018 Morningstar, Inc.                  Morningstar | Deutsche Reports Uninspiring 3Q Results In Line With Our Expectations. See Updated Analyst Note from 24 Oct 2018
 10/24/2018   Morningstar, Inc.                Morningstar | Deutsche Reports Uninspiring 3Q Results In Line With Our Expectations
 10/24/2018   Morningstar, Inc.                Morningstar | Deutsche Reports Uninspiring 3Q Results In Line With Our Expectations
 10/24/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Revenues light
 10/24/2018   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Cost control comes at a cost
 10/24/2018   UBS Equities                     First Read: Deutsche Bank "Q3 2018: Headline beat, underlying below consensus"
 10/24/2018   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
 10/25/2018   Barclays                         Deutsche Bank: Q318 Review - revenues remain key
 10/25/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 10/25/2018   Credit Suisse                    DBKGn.F: Deutsche Bank - Post Q3: Still some downside EPS risk
 10/25/2018   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Reduce | Restructuring will not be enough
 10/25/2018   RBC Capital Markets              UK & European Research at a Glance - October 25, 2018
 10/25/2018   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Over-promising and under-delivering
 10/25/2018   Trefis                           Trefis Report: Deutsche Bank - $13.00 Trefis Price Estimate
 10/25/2018   UBS Equities                     First Read: Deutsche Bank "Q3 2018: Unchanged investment case; slightly ..."
 10/26/2018   BuySellSignals Research          Deutsche Bank plunges 40% in past year, hits 52-week low second time in a month
 10/26/2018   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 10/29/2018   Banco Santander                  Deutsche Bank: The Four Challenges (TP Cut to €8.61 from €16.52)
 11/2/2018    Audit Analytics                  Auditor Change Alert: DEUTSCHE BANK AKTIENGESELLSCHAFT [DB]
 11/2/2018    Berenberg                        Deutsche Bank (DBK GY) - The disappointment continues
 11/5/2018    Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - EBA stress test: 40 EU banks are more resilient
 11/6/2018    UniCredit Research               The Financials and Bank Capital Chartbook - November 2018
 11/8/2018    Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 11/9/2018    Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 11/12/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                    Title
 11/14/2018   DBRS Morningstar                 DBRS Publishes 3Q18 European Capital Markets Roundup
 11/15/2018   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 11/15/2018   Scope Ratings                    Deutsche Bank AG Issuer Rating Report
 11/15/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 11/16/2018   UBS Equities                     First Read: Deutsche Bank "UBS European Conference 2018 - Feedback" (Neutral)
 11/19/2018   BofA Global Research             Deutsche Bank: An LME – at last
 11/20/2018   Barclays                         DBK: Debt tender - thoughts on the equity
 11/20/2018   Societe Generale                 Banks - Thoughts from US marketing: Brexit, Global I-banks, UK challenger banks
 11/21/2018   BuySellSignals Research          Deutsche Bank slumps 16% in past quarter
 11/21/2018   ESN/ equinet Bank (Germany)      DEUTSCHE BANK Our patience is running out: Downgrade to Neutral, new TP EUR 8.50 - Flash note
 11/21/2018   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Reduce | Entangled in Danske’s AML scandal
 11/23/2018   Sadif Analytics Prime            Is Deutsche Bank AG Worth a Higher Bid?
 11/27/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 11/29/2018   BuySellSignals Research          Deutsche Bank slumps 17% in past quarter
 11/30/2018   Barclays                         DBK: Thoughts on head office raids and other recent news
 11/30/2018   Kepler Cheuvreux                 Police raid, bonds tumbled
 11/30/2018   UniCredit Research               Daily Credit Briefing
                                               Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
 11/30/2018 Validea
                                               Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
 11/30/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/4/2018    Acquisdata                       Deutsche Bank (NYSE- DB)
 12/5/2018    GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
 12/7/2018    Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/10/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/11/2018   Marktfeld                        Deutsche Bank AG: Ownership Timelines & Shareholder Analytics (December 2018)
 12/13/2018   UniCredit Research               Daily Credit Briefing
 12/17/2018   BofA Global Research             Deutsche Bank: CBK too big for DBK to swallow
 12/17/2018   Credit Suisse                    German Banks: DBK-CBK merger still unlikely near term
 12/18/2018   BuySellSignals Research          Deutsche Bank plummets 23% in past quarter
 12/18/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/24/2018   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/28/2018   BuySellSignals Research          Deutsche Bank plummets 56% in FY 2018, underperforming 88% of the market
 12/28/2018   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  1/2/2019    Corporate Watchdog Reports       Watchdog Report: DB - Red Flags and Warning Signs
  1/3/2019    BNP Paribas Exane                INVESTMENT BANKS : Discounting a downturn (already)
  1/8/2019    Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/9/2019    Societe Generale                 Deutsche Bank AG (Sell, TP=€5.5) - 12m target downgrade - Downward spiral continues. TP reduced 15% to €5.5 - A. Lim (4p)
   1/9/2019   UBS Equities                     Deutsche Bank "Q4 2018: A quarter to forget about" (Neutral) Brupbacher
  1/14/2019   Moody's Investors Services       Deutsche Bank Trust Company Americas: Update to credit analysis



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                     Title
  1/14/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/15/2019   Pareto Securities AS             Deutsche Bank-Lower capital charge for trading assets-01/15/2019
  1/15/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/16/2019   Morgan Stanley                   Deutsche Bank: DBK/Commerzbank/EUR X-border: BBG headlines
  1/16/2019   Pareto Securities AS             Deutsche Bank-Q4 results (1.2.2019) should be weak-01/16/2019
  1/17/2019   Barclays                         Deutsche Bank: How much time does the current strategy have?
  1/17/2019   BofA Global Research             Deutsche Bank: It’s (too) complicated
  1/17/2019   Credit Suisse                    European Banks: Cutting estimates/targets post US results
  1/18/2019   UniCredit Research               Sector Flash - Banks: How corporate governance is reflected in bank ratings
  1/21/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/23/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/24/2019   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Additional headwinds for 2019: funding costs and risk provisions
  1/25/2019   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Investors rely on successful trade negotiations and less restrictive Fed
  1/25/2019   Warburg Research GmbH            Preview: Cost target should be achieved; Pressure on revenues
  1/25/2019   Warburg Research GmbH            Vorschau: Kostenziel sollte erreicht werden; Druck auf die Erträge
  1/25/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/28/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Press report about potential investment into DBK - more questions than answers
  1/28/2019   UBS Equities                     Deutsche Bank "The urgency to act – still a wide range of outcomes" (Neutral)
  1/28/2019   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  1/28/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  1/30/2019   Barclays                         European Banks: Will funding costs be a headwind?
  1/31/2019   Banco Santander                  Santander CIB: Deutsche Bank & DWS: 4Q18 Results Preview
   2/1/2019   Barclays                         First Look: DBK Q418: Weaker than anticipated, esp. FIC trading
   2/1/2019   BofA Global Research             Deutsche Bank: FICC still falling
   2/1/2019   BofA Global Research             Deutsche Bank: 4Q was mixed, outlook more positive
   2/1/2019   BofA Global Research             Deutsche Bank: Challenge on revenues remains
   2/1/2019   Commerzbank Corporate Clients    Commerzbank - Deutsche Bank - Q4: FIC under pressure, costs delivery, 4% RoTE target challenging
   2/1/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - 4Q18 first look: FICC and provision-led miss
                                               Deutsche Bank : Management performing on cost and B/ST but Markets franchise continues to underperform, requires further cost
  2/1/2019    JPMorgan
                                               measures
  2/1/2019    Kepler Cheuvreux                 Weak results in Q4 2018
  2/1/2019    Moody's Investors Services       Deutsche Bank AG: Q4 2018: Restructuring progress meets challenging market conditions
  2/1/2019    Morgan Stanley                   Deutsche Bank: 4Q18: Tough End to 2018. Adj. E297mn PBT loss, vs cons at +E3mn
  2/1/2019    Morgan Stanley                   Deutsche Bank: Conference Call Feedback: Revenues and Capital in focus
  2/1/2019    Pareto Securities AS             Deutsche Bank-Q4 results slightly below expectations-02/01/2019
  2/1/2019    Pareto Securities AS             Deutsche Bank-Q4 results slightly below expectations-02/01/2019
  2/1/2019    RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Cost control not enough to offset revenue weakness
  2/1/2019    RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Not running quite fast enough
  2/1/2019    UBS Equities                     First Read: Deutsche Bank "Q4 2018 – Soft results, reassuring outlook"



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                        Contributor                                                                 Title
  2/1/2019    UniCredit Research              Daily Credit Briefing
  2/3/2019    UBS Equities                    Deutsche Bank "What YOU think are the most important issues for Deutsche ..."
  2/4/2019    BNP Paribas Exane               DEUTSCHE BANK (-): From 'Plan A' to 'Plan B'?
  2/4/2019    Credit Suisse                   DBKGn.F: Deutsche Bank - Post 4Q18: Further reductions to estimates
  2/4/2019    JPMorgan                        Deutsche Bank : RoTE target 4%+ in 2019, implies 4.5% YoY revenue growth - unrealistic without CIB revenue turnaround
   2/4/2019   Morningstar, Inc.               Morningstar | Deutsche Celebrates First Full-Year Profit Since 2014 as It Hits Cost Saving Targets
   2/4/2019   Morningstar, Inc.               Morningstar | Deutsche Celebrates First Full-Year Profit Since 2014 as It Hits Cost Saving Targets
   2/5/2019   Berenberg                       Deutsche Bank (DBK GY) - 2019 shaping up to be a pivotal year
   2/5/2019   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
   2/5/2019   HSBC                            Deutsche Bank (DBK GR):-Hold: Tough environment hinders progress
   2/5/2019   Kepler Cheuvreux                Espresso Note | Deutsche Bank | Reduce | Delivery in H1 or Plan B
   2/5/2019   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 04 Feb 2019
   2/5/2019   Pareto Securities AS            Deutsche Bank-Too early to invest-02/05/2019
   2/6/2019   Morningstar, Inc.               Morningstar | DBK Updated Star Rating from 05 Feb 2019
   2/6/2019   Sadif Analytics Prime           Rating Update for Deutsche Bank AG
   2/8/2019   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Meeting management
  2/11/2019   JPMorgan                        Deutsche Bank : CEO and CFO meeting feedback
  2/11/2019   Moody's Investors Services      Deutsche Bank AG: Semiannual update
  2/12/2019   Barclays                        Deutsche Bank: Q418 Review - More of the Same
  2/13/2019   JPMorgan                        Deutsche Bank : Potential CBK M&A sensitivity analysis: Running the numbers
  2/13/2019   Morgan Stanley                  Deutsche Bank: Revenue capacity is the key issue
  2/15/2019   UBS Equities                    First Read: Deutsche Bank "Meeting the CEO and CFO" (Neutral) Brupbacher
  2/19/2019   Trefis                          Trefis Report: Deutsche Bank - $9.00 Trefis Price Estimate
  2/20/2019   UniCredit Research              Sector Flash - Spanish Cedulas: Will history repeat itself?
  2/22/2019   Wright Reports                  Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  2/26/2019   UniCredit Research              Sector Report RAS - EU banking package approved
  2/27/2019   BNP Paribas Exane               COMMERZBANK / DEUTSCHE BANK : A stronger bank for Germany
   3/2/2019   Morningstar, Inc.               Morningstar | DB Updated Forecasts and Estimates from 01 Mar 2019
   3/4/2019   Trefis                          What Is Deutsche Bank?s Fundamental Value Based On 2019 Results?
   3/5/2019   Morningstar, Inc.               Morningstar | DBK Updated Forecasts and Estimates from 01 Mar 2019
   3/6/2019   Moody's Investors Services      Deutsche Bank AG:Semiannual update
   3/6/2019   Morningstar, Inc.               Morningstar | All Aboard the Money Laundering Train; New Reports Implicate More European Banks
   3/6/2019   Morningstar, Inc.               Morningstar | All Aboard the Money Laundering Train; New Reports Implicate More European Banks
                                              Validea Guru Analysis Report for DB. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  3/8/2019    Validea
                                              Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
  3/10/2019   RBC Capital Markets             DBK, CBK - Press reports about merger talks
  3/11/2019   Kepler Cheuvreux                Espresso Note | Deutsche Bank | Reduce | Big effort, meagre outcome
  3/11/2019   Kepler Cheuvreux                Ongoing merger speculation
  3/11/2019   UBS Equities                    First Read: Deutsche Bank "Shifting probabilities – M&A with Commerzbank ..."



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                  Title
  3/11/2019   UBS Equities                    First Read: European Banks "Merger Monday: Deutsche Bank, Commerzbank, ..."
  3/12/2019   Morgan Stanley                  German Banks: Deutsche Bank - Commerzbank industrial logic in 4 exhibits
  3/13/2019   JPMorgan                        Deutsche Bank : Model Update
  3/15/2019   BuySellSignals Research         Deutsche Bank accelerates decline, down 52% in 2 years
  3/15/2019   DBRS Morningstar                DBRS: A Deutsche / Commerzbank Merger Could Present Significant Execution Challenges
  3/17/2019   BofA Global Research            Deutsche Bank: Merger talks confirmed
  3/17/2019   RBC Capital Markets             German Banks: Commerzbank-Deutsche Bank combination: Our survey points to revenue headwinds
  3/18/2019   BofA Global Research            Deutsche Bank: Bonds bid at last
  3/18/2019   GlobalData                      Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  3/18/2019   JPMorgan                        Deutsche Bank : CBK merger talks confirmed as expected - running the numbers
  3/18/2019   JPMorgan                        Deutsche Bank : CBK M&A: sensitivity on a DWS sale scenario - unlikely as generates limited capital benefit
  3/18/2019   Kepler Cheuvreux                Merger talks confirmed
  3/18/2019   Morgan Stanley                  German Banks: Deutsche Bank and Commerzbank announce formal talks
  3/18/2019   Morningstar, Inc.               Morningstar | Deutsche Bank and Commerzbank Announce Start of Merger Talks
  3/18/2019   Morningstar, Inc.               Morningstar | Deutsche Bank and Commerzbank Announce Start of Merger Talks
  3/19/2019   Kepler Cheuvreux                New comments from S&P and Fitch
  3/20/2019   Morgan Stanley                  Deutsche Bank: MS Financials Conference: €21.8bn cost target for 2019 reiterated
  3/21/2019   Kepler Cheuvreux                Moody’s comment
  3/22/2019   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Annual report: more positive view on revenue outlook but dependent on capital markets
  3/22/2019   Societe Generale                Deutsche Bank AG - Equity/Credit review - Key aspects of a potential CBK+DBK merger
  3/25/2019   Barclays                        Deutsche Bank: What is plan C?
  3/26/2019   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
  3/28/2019   Trefis                          Minimal Upside From Potential Merger Of Two Struggling German Banks
  3/29/2019   Credit Suisse                   DBKGn.F: Deutsche Bank - Updating our CBK merger model
  3/29/2019   DBRS Morningstar                DBRS Confirms Deutsche Bank’s A (low) Rating, Trend Still Negative
   4/1/2019   JPMorgan Econ & FI              Deal or No Deal? : Trade Ideas on DB & CMZB Perpetuals
   4/4/2019   UBS Equities                    Deutsche Bank "M&A with Commerzbank – fewer available options given tough ..."
   4/4/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   4/5/2019   BNP Paribas Exane               DEUTSCHE BANK (-): Updating estimates ahead of 1Q reporting
   4/5/2019   Millennium BCP                  Millennium BCP (PT): Europa – Meio Manhã 05/04/2019
   4/8/2019   Millennium BCP                  Millennium BCP (PT): Europa – Meio Manhã 08/04/2019
  4/11/2019   BofA Global Research            Deutsche Bank: Deal or no deal- (No, not Brexit)
  4/12/2019   BNP Paribas Exane               INVESTMENT BANKS : Who can win where?
  4/15/2019   Barclays                        DBK: Bloomberg article on potential CBK synergies - some thoughts
  4/17/2019   Pareto Securities AS            Deutsche Bank-Preview Q1 results (26.4.)-04/17/2019
  4/19/2019   Sadif Analytics Prime           Rating Update for Deutsche Bank AG
  4/22/2019   Credit Suisse                   EU Investment Banks: 1Q19 US results difficult for French banks
  4/25/2019   Barclays                        First Look: DBK calling off discussions with CBK and updating on profits
  4/25/2019   BofA Global Research            Deutsche Bank: No deal



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                      Contributor                                                                   Title
  4/25/2019   BofA Global Research            Deutsche Bank: Not this time
  4/25/2019   Credit Suisse                   DBKGn.F: Deutsche Bank - DBK ends merger discussion with CBK
  4/25/2019   JPMorgan                        Deutsche Bank : What does the future hold for DBK post failed CBK merger discussion?
  4/25/2019   JPMorgan Econ & FI              Deutsche Bank : Bring On Plan C
  4/25/2019   Moody's Investors Services      Deutsche Bank AG: Discontinuation of merger talks with Commerzbank resets the focus to standalone execution and strategic options
  4/25/2019   Morgan Stanley                  Deutsche Bank: End of merger talks and pre-announcement of Q1 results
  4/25/2019   Pareto Securities AS            Deutsche Bank-Discontinuation of CBK merger talks and preliminary Q1 results-04/25/2019
  4/25/2019   RBC Capital Markets             DBK - CBK - Much ado about nothing
  4/25/2019   UBS Equities                    First Read: Deutsche Bank "The end of the beginning – Commerz and Deutsche ..."
  4/26/2019   Barclays                        First Look: DBK Q119 - waiting for the conf call, actual results in-line
  4/26/2019   Barclays                        DBK Q119 Conf Call: One +ve, but no strategy change
  4/26/2019   BNP Paribas Exane               DEUTSCHE BANK (-): Back to Plan A, or time for Plan C?
  4/26/2019   BofA Global Research            Deutsche Bank: Leverage ratio lower on P&L meet
  4/26/2019   BofA Global Research            Deutsche Bank: Challenges remain
  4/26/2019   Credit Suisse                   DBKGn.F: Deutsche Bank - 1Q19: No Plan B amid operating weakness
  4/26/2019   JPMorgan                        Deutsche Bank : In market merger or not: in need of further cost-cutting to reach RoTE targets
  4/26/2019   Kepler Cheuvreux                Merger talks with CMZB discontinued
  4/26/2019   Moody's Investors Services      Deutsche Bank AG: Q1 2019: Lower cost base partially insulates Deutsche Bank from market pressures
  4/26/2019   Morgan Stanley                  Deutsche Bank: 1Q19: In line print, outlook downgrade
  4/26/2019   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - very slow progress on improving returns
  4/26/2019   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - Time for plan C?
  4/26/2019   UBS Equities                    First Read: Deutsche Bank "Q1 2019 – Back to the original investment case"
  4/26/2019   UniCredit Research              Daily Credit Briefing
  4/26/2019   ValuEngine, Inc                 ValuEngine Rating and Forecast Report for DB
  4/28/2019   Commerzbank Corporate Clients   Commerzbank - Deutsche Bank - Back to square one – what’s next?
  4/28/2019   JPMorgan                        Deutsche Bank : Weak revenue environment implies reaching 4%+ RoTE target in 2019E unlikely
  4/29/2019   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
  4/29/2019   Credit Suisse                   Around The Clock: 29 April 2019
  4/29/2019   Credit Suisse                   Second Edition Summary Europe: 29 April 2019
  4/29/2019   Credit Suisse                   First Edition Summary Europe: 29 April 2019
  4/29/2019   Credit Suisse                   DBKGn.F: Deutsche Bank - Downgrade to U/P on difficult fundamentals
  4/29/2019   Kepler Cheuvreux                Espresso Note | Deutsche Bank | Reduce | Pressure remains
  4/29/2019   Pareto Securities AS            Deutsche Bank - Weak Q1 results – Hold rating confirmed - Quarterly Review
  4/29/2019   Societe Generale                Deutsche Bank AG - Equity/Credit review - No Plan B – ‘let’s wait and see’ looks risky
   5/1/2019   Barclays                        European Investment Banks: UPDATE: 1Q19 Review - Outlook & Profitability
   5/1/2019   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
   5/1/2019   IHS Technology                  IHSMarkit Fintech Research and Consulting Service Brochure
   5/6/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   5/7/2019   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 07 May 2019



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                     Title
   5/8/2019   BNP Paribas Exane               INVESTMENT BANKS : Revisiting remuneration
   5/8/2019   Morningstar, Inc.               Morningstar | DBK Updated Star Rating from 07 May 2019
   5/8/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   5/9/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  5/13/2019   BofA Global Research            Deutsche Bank: New CDS contract – a bullish catalyst-
  5/13/2019   Corporate Watchdog Reports      Watchdog Report: DB - Red Flags and Warning Signs
  5/15/2019   IHS Technology                  IHSMarkit Fintech Research and Consulting Service Brochure
  5/20/2019   DBRS Morningstar                DBRS Releases Report on Deutsche Bank AG
  5/20/2019   UBS Equities                    Deutsche Bank "Ongoing headwinds and limited optionality – downgrade to Sell"
  5/21/2019   Berenberg                       Deutsche Bank (DBK GY) - Going it alone
  5/22/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  5/23/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  5/24/2019   BofA Global Research            European Morning Credit: DB may cut back IB, Rallye and subordination
  5/24/2019   BuySellSignals Research         Deutsche Bank falls for a second consecutive year, a two-year fall of 61%
  5/28/2019   Scope Ratings                   Deutsche Bank AG Issuer Rating Report
  5/28/2019   Societe Generale                Bank Credit - DB SEN should trade tighter vs CMZB
  5/30/2019   IHS Technology                  London June 12th Transfromative Tech for the Financial Services Industry Event [Free RSVP]
  5/30/2019   IHS Technology                  IHSMarkit Fintech Research and Consulting Service Brochure
   6/2/2019   JPMorgan                        Deutsche Bank : Restructuring in sight: Path to 5%+ ROTE analysis
   6/3/2019   HSBC                            Deutsche Bank (DBK GR):-Hold: Slow progress makes things worse
   6/3/2019   JPMorgan Econ & FI              Weekly Bank Statement : Banks on Bank Holiday
   6/3/2019   UBS Equities                    Video: DB: Ongoing headwinds and limited optionality – downgrade to Sell
   6/4/2019   BofA Global Research            Deutsche Bank: A new plan: at what cost
  6/10/2019   BofA Global Research            European Morning Credit: Deutsche Bank downgraded
  6/10/2019   JPMorgan Econ & FI              Weekly Bank Statement : TLTRO 3: Trailer Out Now
  6/10/2019   Kepler Cheuvreux                Fitch downgrades DB to BBB
  6/13/2019   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  6/14/2019   IHS Technology                  IHSMarkit Fintech Research and Consulting Service Brochure
  6/14/2019   Societe Generale                Deutsche Bank AG (Sell, TP=€5.5) - Rating reiterated - We propose a ‘Plan B’ that could save DBK from resolution - A. Lim (11p)
  6/17/2019   BofA Global Research            Deutsche Bank: New plan starts to formulate-
  6/17/2019   GlobalData                      Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  6/17/2019   JPMorgan Econ & FI              Weekly Bank Statement : Primary Instincts
  6/17/2019   Morningstar, Inc.               Morningstar | Media Reports Raise Possibility of U.S. Equity Exit at Deutsche Bank
  6/17/2019   Morningstar, Inc.               Morningstar | Media Reports Raise Possibility of U.S. Equity Exit at Deutsche Bank
  6/17/2019   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Creation of bad bank considered according to the press
  6/17/2019   Societe Generale                Deutsche Bank AG (Sell, TP=€5.5) - Rating reiterated - Another deleveraging plan that doesn’t go far enough - A. Lim (1p)
  6/19/2019   UBS Equities                    First Read: Deutsche Bank "How much IB shrinkage can Deutsche afford? Do ..."
  6/21/2019   Barclays                        Deutsche Bank: What happens next? Reiterate UW



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                             Title
  6/21/2019   Morningstar, Inc.                      Morningstar | 2019 DFAST Results Better Than Last Year, and We Expect No Capital Return Surprises Next Week
  6/21/2019   Morningstar, Inc.                      Morningstar | 2019 DFAST Results Better Than Last Year, and We Expect No Capital Return Surprises Next Week
  6/24/2019   JPMorgan Econ & FI                     Weekly Bank Statement : Dove Tale
  6/25/2019   Morningstar, Inc.                      Morningstar | DB Updated Forecasts and Estimates from 25 Jun 2019
  6/25/2019   Trefis                                 Deutsche Bank's Business Model Has Changed Considerably Over The Last Decade, And More Changes Are Underway
  6/27/2019   Morningstar, Inc.                      Morningstar | No Big Surprises for 2019 Stress Tests: Money Center Banks Are the Big Winners With Repurchases
  6/27/2019   Morningstar, Inc.                      Morningstar | No Big Surprises for 2019 Stress Tests: Money Center Banks Are the Big Winners With Repurchases
  6/27/2019   RBC Capital Markets                    EU Banks and CCAR - DBK no objection but CS conditional no objection to capital plans
  6/28/2019   IHS Technology                         IHS Markit Fintech Research and Consulting Service Brochure
  6/28/2019   Kepler Cheuvreux                       360 Report | Deutsche Bank | Hold | Play it like a Swiss, Christian!
  6/28/2019   Zacks Equity Research                  Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   7/1/2019   BofA Global Research                   Deutsche Bank: Sixth cut is the deepest
   7/1/2019   Credit Suisse                          DBKGn.F: Deutsche Bank - Are bad banks a good catalyst?
   7/1/2019   JPMorgan Econ & FI                     Weekly Bank Statement : Cooling Off
   7/1/2019   The Business Research Company          Deutsche Bank AG (Deutsche Bank) Company Briefing
   7/2/2019   Barclays                               DBK: Potential Restructuring - Marketing Feedback and Discussion
   7/2/2019   BofA Global Research                   European Morning Credit: Deutsche Bank
   7/3/2019   Kepler Cheuvreux                       Espresso Note | Deutsche Bank | Hold | Play it like a Swiss – Part II
  7/3/2019    Societe Generale                       Deutsche Bank AG (Sell, TP=€4) - 12m target downgrade - Capital and revenue risks rising; TP reduced to €4.0 - A. Lim (7p)
  7/4/2019    UBS Equities                           First Read: Deutsche Bank "It’s all about revenues in the end – We model ..."
  7/5/2019    Sadif Analytics Prime                  Rating Update for Deutsche Bank AG
  7/7/2019    Barclays                               DBK Transformation Plan - First Thoughts
  7/7/2019    Credit Suisse                          DBKGn.F: Deutsche Bank - Restructuring bold, but execution risk high
  7/8/2019    Barclays                               DBK: 'Core' revenue growth may depend on CIB stability/growth
  7/8/2019    Barclays                               Deutsche Bank: Thoughts on Presentation of Strategy 2019
  7/8/2019    Berenberg                              Deutsche Bank (DBK GY) - Accelerating the retreat
  7/8/2019    BofA Global Research                   Deutsche Bank: No raise means capital remains an issue
  7/8/2019    Credit Suisse                          US Large Cap Banks: Implications of Deutsche Bank Restructuring on the US Large Cap Banks
  7/8/2019    JPMorgan                               Deutsche Bank : Bold restructuring, execution remains key: 10% upside likely in short-term - Remain N
  7/8/2019    JPMorgan                               Deutsche Bank : New strategy - running the numbers: Remain Neutral
  7/8/2019    JPMorgan Econ & FI                     Deutsche Bank : The Clock Is Ticking
  7/8/2019    JPMorgan Econ & FI                     Weekly Bank Statement : What Blackout?
  7/8/2019    JPMorgan Econ & FI                     Deutsche Bank : Pulling the Levers
  7/8/2019    Kepler Cheuvreux                       Espresso Note | Deutsche Bank | Hold | Sewing’s hour
  7/8/2019    Kepler Cheuvreux                       Large and ambitious restructuring plan
  7/8/2019    Moody's Investors Services             Moody's affirms Deutsche Bank AG's ratings, maintains negative outlook
  7/8/2019    Morgan Stanley                         Deutsche Bank: Feedback post conference call on restructuring
  7/8/2019    Morgan Stanley Fixed Income Research   Deutsche Bank: Strategic Transformational shift?
  7/8/2019    Morningstar, Inc.                      Morningstar | Deutsche Bank Under Review



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                     Title
   7/8/2019   Morningstar, Inc.                Morningstar | Deutsche Bank Under Review
   7/8/2019   Morningstar, Inc.                Morningstar | DB Updated Star Rating from 08 Jul 2019
   7/8/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Decisive on paper but execution is key
   7/8/2019   Scope Ratings                    Deutsche Bank: not necessarily too little but arguably too late.
   7/8/2019   UBS Equities                     First Read: Deutsche Bank "Radical restructuring announced – EUR2.- ..."
   7/8/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   7/9/2019   BNP Paribas Exane                DEUTSCHE BANK (-): Interpreting the new plan: very tough to achieve
   7/9/2019   BofA Global Research             Deutsche Bank: 2022 journey begins
   7/9/2019   BofA Global Research             European Banks: Client Conference Call on Deutsche Bank
   7/9/2019   Commerzbank Corporate Clients    Capital drought continues
   7/9/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - Pushing back breakeven
   7/9/2019   Moody's Investors Services       Deutsche Bank AG: Update following rating affirmation
   7/9/2019   Morningstar, Inc.                Morningstar | DBK Updated Star Rating from 08 Jul 2019
   7/9/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Focus remains on execution
   7/9/2019   UniCredit Research               Daily Credit Briefing
  7/10/2019   BofA Global Research             Deutsche Bank: A creditor-friendly new direction
  7/10/2019   BofA Global Research             Deutsche Bank: A worthy but difficult journey
  7/10/2019   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Positive on bonds, not on equity
  7/11/2019   Barclays                         European Banks: Read-across from Deutsche Bank - Reiterate Underweight BNP, Equal Weight SocGen
  7/12/2019   IHS Technology                   IHS Markit Fintech Research and Consulting Service Brochure
  7/12/2019   UBS Equities                     Deutsche Bank "Core revenues are key for the investment view, more than ..."
  7/14/2019   JPMorgan Econ & FI               Weekly Bank Statement : Sewing It Together
  7/16/2019   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Too soon for a leap of faith
  7/16/2019   Kepler Cheuvreux                 S&P confirmed the rating and outlook
  7/17/2019   Banco Santander                  Santander CIB: Deutsche Bank: Capital Deficit & Revenue Erosion Not Fixed (TP Cut to €4.00 from €8.61)
  7/17/2019   Banco Santander                  Santander CIB: Santander European Daily, Wednesday, 17 July 2019
  7/18/2019   Pareto Securities AS             Deutsche Bank-New strategy with execution risks: Hold, TP EUR 8.00-07/18/2019
  7/19/2019   Credit Suisse                    EU Investment Banks: 2Q19 another difficult quarter
  7/19/2019   Morningstar, Inc.                Morningstar | We Are Relaunching Coverage of Deutsche Bank After the Release of Its New Restructuring Plan
  7/19/2019   Morningstar, Inc.                Morningstar | We Are Relaunching Coverage of Deutsche Bank After the Release of Its New Restructuring Plan
  7/19/2019   Morningstar, Inc.                Morningstar | We Relaunch Coverage of Deutsche Bank; the New Restructuring Plan Looks Ambitious to Us
  7/19/2019   Morningstar, Inc.                Morningstar | We Relaunch Coverage of Deutsche Bank; the New Restructuring Plan Looks Ambitious to Us
  7/19/2019   Morningstar, Inc.                Morningstar | DB Updated Star Rating from 19 Jul 2019
  7/19/2019   Trefis                           Trefis Report: Deutsche Bank - $7.04 Trefis Price Estimate
  7/20/2019   Morningstar, Inc.                Morningstar | DBK Updated Star Rating from 19 Jul 2019
  7/20/2019   Trefis                           Will Deutsche Bank Successfully Follow Through On Its Biggest Restructuring Plan Till Date?
  7/22/2019   JPMorgan Econ & FI               Weekly Bank Statement : Sliding into Summer
  7/24/2019   Barclays                         First Look: DBK Q219 - Weak CIB revs partly offset by C&O
  7/24/2019   BofA Global Research             Deutsche Bank: Small miss as strategic plan gets underway
  7/24/2019   BofA Global Research             Deutsche Bank: 2Q hit by restructuring charges



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                      Title
  7/24/2019   Commerzbank Corporate Clients    Q2 - The rest remains the pain
  7/24/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - 2Q19: Underlying results disappointing
  7/24/2019   JPMorgan                         Deutsche Bank : All eyes on restructuring progress and capital
  7/24/2019   JPMorgan                         Deutsche Bank : "Show me" stock with 3Q the next milestone to measure progress on asset and Cost reductions
  7/24/2019   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Start of the restructuring plan
  7/24/2019   Kepler Cheuvreux                 Q2 starts to digest restructuring costs
  7/24/2019   Moody's Investors Services       Deutsche Bank AG: Q2 2019: Continued revenue weakness in capital markets business subdues underlying profitability
  7/24/2019   Morgan Stanley                   Deutsche Bank: 2Q19: First Take
  7/24/2019   Morningstar, Inc.                Morningstar | Deutsche Bank Reports 2Q Loss Driven by Restructuring Charges; FVE Maintained
  7/24/2019   Morningstar, Inc.                Morningstar | Deutsche Bank Reports 2Q Loss Driven by Restructuring Charges; FVE Maintained
  7/24/2019   Pareto Securities AS             Deutsche Bank-Higher than expected Q2 loss due to higher restructuring charges-07/24/2019
  7/24/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK Q2 19 Results - Long Road Ahead
  7/24/2019   UBS Equities                     First Read: Deutsche Bank "Q2 19 results – a challenging quarter as ..."
  7/24/2019   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  7/25/2019   Commerzbank Corporate Clients    Deutsche Bank: Computing - the source of capital returns
  7/25/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - Post 2Q19: Still a lot to prove
  7/25/2019   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Weak core profitability could bring capital adequacy back into focus in 1-2 years
  7/25/2019   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  7/26/2019   Barclays                         Deutsche Bank: Q219 - Revenue trend key - Reit UW
  7/26/2019   BNP Paribas Exane                DEUTSCHE BANK (-): Starting the process
  7/26/2019   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  7/26/2019   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | A first step in execution
  7/29/2019   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  7/29/2019   Morningstar, Inc.                Morningstar | We Are Relaunching Coverage of Deutsche Bank After the Release of Its New Restructuring Plan
  7/30/2019   Sadif Analytics Prime            Is Deutsche Bank AG Worth a Higher Bid?
   8/7/2019   DBRS Morningstar                 DBRS Publishes 2Q19 European Capital Markets Performance More Closely Aligned to US Peers
   8/9/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  8/15/2019   BofA Global Research             Deutsche Bank: Capital still the dominant topic
  8/15/2019   Commerzbank Corporate Clients    Fiscal game changer?
  8/22/2019   Commerzbank Corporate Clients    European banks: Not yet time to buy credit beta
  8/23/2019   BuySellSignals Research          Deutsche Bank drops 7% in 2019
   9/2/2019   JPMorgan Econ & FI               Weekly Bank Statement : Pressed To Print
   9/4/2019   JPMorgan                         Deutsche Bank : Cutting estimates on lower NII
   9/5/2019   GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
   9/9/2019   Barclays                         DBK: 2019 Conference Feedback
   9/9/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  9/10/2019   Morgan Stanley                   Deutsche Bank: Model Update: Marking to Strategy
  9/10/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  9/12/2019   Societe Generale                 Slideshow: Global Investment banks - Can European I-banks be saved?



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                     Title
 9/18/2019    Trefis                           Understanding The Impact Of Deutsche Bank's Ill-Fated Postbank Acquisition
 9/23/2019    DBRS Morningstar                 DBRS: Overheating in German Commercial Real Estate– Risks Manageable for Banks
 9/24/2019    Morningstar, Inc.                Morningstar | DB Updated Star Rating from 25 Sep 2019
 9/25/2019    Commerzbank Corporate Clients    Banks: Few cheers for new tiers
 9/25/2019    Commerzbank Corporate Clients    Conference Feedback: Progress on downsizing CRU in Q3
 9/26/2019    Commerzbank Corporate Clients    How relevant is QE2?
 9/26/2019    DBRS Morningstar                 DBRS: Increasing Risks for Small and Medium-Sized German Banks despite Stress Tests Pass
 9/27/2019    Moody's Investors Services       Moody's withdraws some of Deutsche Bank AG's junior senior unsecured ratings for business reasons
 9/30/2019    Credit Suisse                    European investment banks: Modest downgrades for a sluggish Q3
 10/4/2019    Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/10/2019   Corporate Watchdog Reports       Watchdog Report: DB - Now with EU KAMS - Key Audit Matters
 10/16/2019   Barclays                         Deutsche Bank: New divisional data; new model, same Underweight
 10/17/2019   Moody's Investors Services       Deutsche Bank Trust Company Americas: Update to credit analysis
 10/17/2019   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 10/22/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 10/24/2019   JPMorgan                         Deutsche Bank : Model Update
 10/28/2019   Commerzbank Corporate Clients    Q3 due 30 October: Focus on CRU
 10/28/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - Pre Q3: Restating for new disclosures
 10/28/2019   UBS Equities                     Deutsche Bank "New divisional estimates and reiterating key thoughts and ..."
 10/28/2019   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
 10/29/2019   Banco Santander                  Santander CIB: Deutsche Bank: 3Q19E Preview
 10/30/2019   Barclays                         First Look: DBK Q319 - Weaker overall, core a bit better on IB fees
 10/30/2019   Barclays                         Deutsche Bank: Q319 Results - Revenues Uninspiring
 10/30/2019   BNP Paribas Exane                DEUTSCHE BANK (-): Beginning the restructuring
 10/30/2019   BofA Global Research             Deutsche Bank: Capital still dominates
 10/30/2019   Commerzbank Corporate Clients    Q3: Restructuring well on track
 10/30/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - Post Q3: Little to generate optimism
 10/30/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - 3Q19 first look: Low adjusted PBT
 10/30/2019   JPMorgan                         Deutsche Bank : Disappointing 3Q due to negative revenues in non-core leading to potentially material EPS cuts
 10/30/2019   JPMorgan                         Deutsche Bank : Restructuring on track, but non-core unit leading to material EPS cuts up to 2022E
 10/30/2019   Kepler Cheuvreux                 Ongoing transformation
 10/30/2019   Moody's Investors Services       Deutsche Bank AG: Q3 2019: Continued execution in a challenging market environment
 10/30/2019   Morgan Stanley                   Deutsche Bank: 3Q19: First Take
 10/30/2019   Morningstar, Inc.                Morningstar | Deutsche Bank Results Remain Choppy
 10/30/2019   Morningstar, Inc.                Morningstar | Deutsche Bank Results Remain Choppy
 10/30/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK Q3 '19 Results - Progress on deleveraging but earnings remain challenged
 10/30/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - A long road ahead
 10/30/2019   UBS Equities                     First Read: Deutsche Bank "Q3 2019 review – Low visibility persists" (Neutral)
 10/30/2019   UBS Equities                     First Read: Deutsche Bank "Q3 2019 first take – We expect a rather neutral ..."
 10/31/2019   DBRS Morningstar                 DB 3Q19 Results: Progress on Restructuring; Weakness in Fixed Income



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                   Title
 10/31/2019   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 10/31/2019   Societe Generale                 Deutsche Bank AG - Equity/Credit review - We strongly reiterate our stance – Credit positive, Equity (very) negative
 10/31/2019   Trefis                           Trefis Report: Deutsche Bank - $6.73 Trefis Price Estimate
 11/1/2019    CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 11/1/2019    Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Not a walk in the park
 11/4/2019    DBRS Morningstar                 European Capital Markets Revenues Progressing, but Weaknesses Remain
  11/4/2019   Scope Ratings                    Deutsche Bank: some progress but victory not assured
 11/5/2019    Berenberg                        Deutsche Bank (DBK GY) - Off to an inauspicious start
 11/5/2019    BofA Global Research             Deutsche Bank: 3Q was OK
 11/5/2019    BofA Global Research             Deutsche Bank: P&L miss as DBK starts long journey
 11/5/2019    CFRA Equity Research             Deutsche Bank Aktiengesellschaft
 11/5/2019    Morningstar, Inc.                Morningstar | European Banks' Dividend Yields Are Juicy, But Are They Safe?
 11/5/2019    Morningstar, Inc.                Morningstar | European Banks' Dividend Yields Are Juicy, But Are They Safe?
 11/6/2019    BuySellSignals Research          Deutsche Bank strengthens 1% in 2019, but lagging Bank sector
 11/8/2019    Edison Investment Research       Deutsche Börse - On track to meet strategic targets
 11/11/2019   JPMorgan Econ & FI               From Fixed Income To Fixed Loss : 2020 European Banks Outlook
 11/11/2019   Morgan Stanley                   Deutsche Bank: Tough restructuring task ahead
 11/14/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 11/26/2019 Societe Generale                   Deutsche Bank AG (Sell, TP=€4) - EPS downgrade - New plan, same problems. TP of €4.0 and Sell rating maintained - A. Lim (18p)

 11/26/2019 UniCredit Research                 Bank & Insurance Watch - Spanish MREL letters, Deutsche Bank lower G-SIB buffer & Fitch criteria update (November 2019)
 11/28/2019   Kepler Cheuvreux                 Got rid of USD50bn unwanted assets
 11/29/2019   BuySellSignals Research          Deutsche Bank crashes 71% in 5 years
 12/2/2019    GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
 12/5/2019    Credit Suisse                    DBKGn.F: Deutsche Bank - Investor Day Preview: No major changes
 12/5/2019    Sadif Analytics Prime            Rating Update for Deutsche Bank AG
 12/7/2019    Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
 12/10/2019   Barclays                         DBK: 2019 Investor Event - Initial thoughts on the slides
 12/10/2019   BofA Global Research             European Morning Credit: Deutsche Bank’s capital requirement
 12/10/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - 2019 Investor Day management comments
 12/10/2019   Credit Suisse                    DBKGn.F: Deutsche Bank - 2019 investor day headlines
 12/10/2019   JPMorgan                         Deutsche Bank : Targets reiterated, lower CET1 requirement slightly helpful but Basel 4 guidance worse than expected
 12/10/2019   Moody's Investors Services       Deutsche Bank AG: Continued strong execution and client retention will help support DB's credit profile
 12/10/2019   Morgan Stanley                   Deutsche Bank: Investor Deep dive: work in progress
 12/10/2019   UBS Equities                     First Read: Deutsche Bank "Investor Update - Unchanged targets, ..."
 12/11/2019   BofA Global Research             Deutsche Bank: Investor Deep-Dive feedback
 12/11/2019   Commerzbank Corporate Clients    CMD: This time is different...
 12/11/2019   Commerzbank Corporate Clients    Why iBoxx errs on Deutsche Bank
 12/11/2019   Commerzbank Corporate Clients    Warum iBoxx bei der Deutschen Bank falsch liegt



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

    Date                         Contributor                                                                      Title
 12/11/2019   JPMorgan                         Deutsche Bank : Deep dive details welcome: it is all about execution
 12/11/2019   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Light at the end of the tunnel?
 12/11/2019   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Sell Equity, Buy Credit – Views unchanged post “Deep dive”
 12/12/2019   Kepler Cheuvreux                 Moody’s comments post CMD
 12/12/2019   Trefis                           Deutsche Bank vs. UBS: Which European Bank Has A Larger Advisory & Underwriting Business?
 12/16/2019   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 12/17/2019   BuySellSignals Research          Deutsche Bank falls for a second consecutive year
 12/17/2019   Kepler Cheuvreux                 S&P rating confirmed
 12/17/2019   Trefis                           How Does Deutsche Bank?s Asset Management Business Compare With Swiss Peers UBS and Credit Suisse?
 12/18/2019   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Good for sentiment
 12/18/2019   Pareto Securities AS             Deutsche Bank-Model Update: Hold, TP EUR 8.0-12/18/2019
 12/20/2019   Moody's Investors Services       Deutsche Bank AG: Update to credit analysis
 12/30/2019   BuySellSignals Research          Deutsche Bank increases 1.0% in FY 2019
  1/3/2020    BuySellSignals Research          Deutsche Bank lifts 12% in past quarter
  1/8/2020    Societe Generale                 Global Investment Banks - The case for buying banks (relatively)
  1/9/2020    Morningstar, Inc.                Morningstar | DB Updated Star Rating from 08 Jan 2020
  1/9/2020    Morningstar, Inc.                Morningstar | DBK Updated Star Rating from 08 Jan 2020
  1/9/2020    Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
 1/13/2020    Morgan Stanley                   Deutsche Bank: Model Update: Marking to Restructuring charges, CRU losses + higher FICC in 4Q
 1/17/2020    Barclays                         European Investment Banks: Q419 - What to watch for?
 1/17/2020    Credit Suisse                    EU Investment Banks: 4Q19 US read-across: Strong beat in FICC
 1/20/2020    Societe Generale                 Deutsche Bank AG - $6.25% AT1 call April 2020 – No longer compelling - Credit Research
 1/24/2020    Commerzbank Corporate Clients    Q4 due 30 January: Revenues in Core Bank to stabilise
 1/27/2020    Banco Santander                  Santander CIB: German Banks: Trends into 4Q19E & Previews
 1/27/2020    UBS Equities                     Deutsche Bank "Neutral reiterated into Q4 results" (Neutral) Brupbacher
 1/28/2020    The Business Research Company    Deutsche Bank AG (Deutsche Bank) Company Briefing
 1/28/2020    Warburg Research GmbH            Q4 preview: revenue recovery at FIC in Q4 but significant FY loss
 1/30/2020    Barclays                         First Look: DB Q419 Results - Mixed quality, capital better
 1/30/2020    BofA Global Research             Deutsche Bank: P&L in line in messy quarter
 1/30/2020    BofA Global Research             Deutsche Bank: 4Q mixed but some good parts
 1/30/2020    Commerzbank Corporate Clients    Q4: Still a long way to go...
 1/30/2020    Credit Suisse                    DBKGn.F: Deutsche Bank - Q4: Capital beat but operating miss
 1/30/2020    JPMorgan                         Deutsche Bank : Delivering on restructuring but low profitability remains an overhang
 1/30/2020    Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Q4 first reaction: High capital ratios, rebound in FICC S&T
 1/30/2020    Kepler Cheuvreux                 Q4 results, solid capital ratios
 1/30/2020    Moody's Investors Services       Deutsche Bank AG: Q4 2019: Persistent execution of strategic revamp gradually moves DB into calmer waters
 1/30/2020    Morgan Stanley                   Deutsche Bank: 4Q19: First Take
 1/30/2020    Morningstar, Inc.                Morningstar | Deutsche Bank Takes a Bath in 2019 While Revenue Generation Remains the Focal Point
 1/30/2020    Morningstar, Inc.                Morningstar | Deutsche Bank Takes a Bath in 2019 While Revenue Generation Remains the Focal Point
 1/30/2020    RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Little earnings visibility but further progress on capital



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                   Title
  1/30/2020   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Larger margin for errors
  1/30/2020   Trefis                           Why Deutsche Bank's 2019 Losses Are Likely To Be Lower Than Market Expectations
  1/30/2020   UBS Equities                     First Read: Deutsche Bank "Q4 2019 – First take: Revenue beat, underlying ..."
  1/30/2020   ValuEngine, Inc                  ValuEngine Rating and Forecast Report for DB
  1/31/2020   Barclays                         Deutsche Bank: Q419 - Detaching from fundamentals
  1/31/2020   BNP Paribas Exane                DEUTSCHE BANK (-): Business pressures but confident commentary
  1/31/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  1/31/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - Post Q4: Profit timeline further eroded
  1/31/2020   JPMorgan                         Deutsche Bank : Model Update
  1/31/2020   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Equity upgraded to Hold; bullish on credit
  1/31/2020   Trefis                           Trefis Report: Deutsche Bank - $7.85 Trefis Price Estimate
  1/31/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   2/3/2020   BofA Global Research             Deutsche Bank: Capital progress shifts focus to revenues
   2/3/2020   BuySellSignals Research          Deutsche Bank is good value by Price/NTA despite 7% price rise
   2/3/2020   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | One hurdle at a time
   2/4/2020   Acquisdata                       Deutsche Bank AG (NYSE- DB, ETR- DBK)
   2/4/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
   2/7/2020   Berenberg                        Deutsche Bank (DBK GY) - Core profitability is still weak
   2/7/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  2/11/2020   JPMorgan Econ & FI               Deutsche Bank : Adding Tier 1
  2/11/2020   Kepler Cheuvreux                 New AT1 to be issued
  2/11/2020   Societe Generale                 Deutsche Bank AG - AT1 new issue, but $6.25% call still unclear - Credit Research
  2/14/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  2/25/2020   Pareto Securities AS             Deutsche Bank-Model Update-02/25/2020
   3/2/2020   JPMorgan Econ & FI               Weekly Bank Statement : Short Stories
   3/4/2020   JPMorgan                         German Banks : Model Updates
   3/6/2020   BuySellSignals Research          Deutsche Bank increases 4% in past quarter
   3/6/2020   Morningstar, Inc.                Morningstar | DB Updated Star Rating from 05 Mar 2020
   3/7/2020   Morningstar, Inc.                Morningstar | DBK Updated Star Rating from 06 Mar 2020
  3/11/2020   BofA Global Research             Deutsche Bank: DB will not redeem the 6.25% AT1
  3/11/2020   Morningstar, Inc.                Morningstar | Natixis, Credit Agricole, and ING Have Greatest Exposure to Oil and Gas Industry
  3/11/2020   Morningstar, Inc.                Morningstar | Natixis, Credit Agricole, and ING Have Greatest Exposure to Oil and Gas Industry
  3/11/2020   Societe Generale                 Global I-Banks - Revisiting our bearish thesis on credit
  3/11/2020   UniCredit Research               Sector Flash - Banks: Impact of coronavirus outbreak on European banks
  3/12/2020   Kepler Cheuvreux                 USD AT1 not called
  3/13/2020   Commerzbank Corporate Clients    No gift from the ECB
  3/14/2020   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  3/17/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  3/18/2020   Morgan Stanley                   Deutsche Bank: MS Financials Conference Feedback
  3/20/2020   Barclays                         DB: 2019 Annual Reports Published - Initial Observations



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                       Title
  3/20/2020   GlobalData                      Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  3/26/2020   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
  3/26/2020   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   4/1/2020   Morningstar, Inc.               Morningstar | Suspension of Eurozone Banks' Dividends Will Boost Common Equity Tier 1 Ratio by 0.6%
   4/1/2020   Morningstar, Inc.               Morningstar | Suspension of Eurozone Banks' Dividends Will Boost Common Equity Tier 1 Ratio by 0.6%
   4/3/2020   BofA Global Research            Deutsche Bank: It’s a revenue thing
   4/7/2020   UBS Equities                    Deutsche Bank "We expect more revenue pressure and risk costs going up"
   4/9/2020   BuySellSignals Research         Deutsche Bank falls for a third consecutive year, a three-year fall of 59%
   4/9/2020   Credit Suisse                   EU Investment & Swiss Banks: Lowering targets for COVID-19
  4/14/2020   Barclays                        European IBs: Focus on capital and balance sheet risk - downgrade CS to UW
  4/14/2020   Societe Generale                Global Investment Banks - Buy Global I-bank stocks thematically for the next bull run
  4/14/2020   Societe Generale                Deutsche Bank AG (Hold, TP=€6.5) - 12m target downgrade - Cheap, but COVID-19 risks to credit quality are a concern - A. Lim (7p)
  4/15/2020   Commerzbank Corporate Clients   Q1 due 29 April: Good or bad volatility?
  4/16/2020   Corporate Watchdog Reports      Watchdog Report: DB - Now with Critical / Key Audit Matters
  4/16/2020   Societe Generale                Slideshow: Buy Global I-bank stocks thematically for the next bull run
  4/17/2020   Credit Suisse                   EU Investment Banks: US 1Q20 read-through encouraging
  4/17/2020   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 17 Apr 2020
  4/18/2020   Morningstar, Inc.               Morningstar | DBK Updated Star Rating from 17 Apr 2020
  4/22/2020   HSBC                            Deutsche Bank (DBK GR):-Maintain Hold: Time is the enemy
  4/22/2020   Morningstar, Inc.               Morningstar | Updated European Banks' Forecasts to Incorporate Impact of COVID-19
  4/22/2020   Morningstar, Inc.               Morningstar | Updated European Banks' Forecasts to Incorporate Impact of COVID-19
  4/22/2020   Trefis                          Trefis Report: Deutsche Bank - $6.81 Trefis Price Estimate
  4/22/2020   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  4/24/2020   ValuEngine, Inc                 ValuEngine Rating and Forecast Report for DB
  4/27/2020   Barclays                        DBK: Q120 Preannouncement - better earnings, weaker capital
  4/27/2020   BofA Global Research            Deutsche Bank: Preannounced 1Q, new capital goals
  4/27/2020   BofA Global Research            Deutsche Bank: Better 1Q, capital guidance adjusted
  4/27/2020   Commerzbank Corporate Clients   Q1 prelims: Pre-tax profit above expectations
  4/27/2020   Credit Suisse                   DBKGn.F: Deutsche Bank - Preannounces beat but lower CET1 guidance
  4/27/2020   JPMorgan                        Deutsche Bank : Strong 1Q driven by revenues - devil is in the details with full results on 29th April
  4/27/2020   Kepler Cheuvreux                Q1 2020 results preannounced
  4/27/2020   Morgan Stanley                  Deutsche Bank: Deutsche Bank pre-reports key 1Q20 items, adjusts capital guidance for 2020
  4/27/2020   Pareto Securities AS            Deutsche Bank - Preliminary Q1 results better than expected
  4/27/2020   RBC Capital Markets             Deutsche Bank Aktiengesellschaft - DBK - Q1 PBT beat, updated capital targets pre announced
  4/27/2020   UBS Equities                    First Read: Deutsche Bank "Q1 2020 pre-announcement" (Neutral) Brupbacher
  4/28/2020   Banco Santander                 Santander CIB: German Banks: Trends Going into 1Q20
  4/28/2020   Banco Santander                 Santander CIB: Santander European Daily, Tuesday, 28 April 2020
  4/28/2020   Morningstar, Inc.               Morningstar | Deutsche Bank Offers Early Glimpse of Decent First-Quarter Results
  4/28/2020   Morningstar, Inc.               Morningstar | Deutsche Bank Offers Early Glimpse of Decent First-Quarter Results



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                     Title
  4/28/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  4/29/2020   Barclays                         Deutsche Bank: Q120 First Take: Not as good as preannounced but still better than what we had before
  4/29/2020   BofA Global Research             Deutsche Bank: Hard at work, but hard work
  4/29/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - 1Q20 in line with preannouncement
  4/29/2020   JPMorgan                         Deutsche Bank : Going in the right direction – but questioning sustainability of FICC and COVID-19 provisions
  4/29/2020   JPMorgan                         Deutsche Bank : Model Update
  4/29/2020   Kepler Cheuvreux                 Espresso Note | Deutsche Bank | Hold | Q1: initial reaction
  4/29/2020   Millennium BCP                   Millennium BCP (PT): Europa – Meio Manhã 29/04/2020
  4/29/2020   Moody's Investors Services       Deutsche Bank AG: Restructuring progress benefits DB's credit profile, despite coronavirus reserve builds
  4/29/2020   Morgan Stanley                   Deutsche Bank: 1Q20: Stronger revenues, lower provisions
  4/29/2020   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Q1 beat mainly driven by IB
  4/29/2020   UBS Equities                     First Read: Deutsche Bank "Detailed Q1 2020 results: Similar conclusions as ..."
  4/30/2020   BNP Paribas Exane                DEUTSCHE BANK (-): Debating credit and capital outlooks
  4/30/2020   Commerzbank Corporate Clients    Q1: All efforts on revenue growth
  4/30/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - Post 1Q20: Still better value elsewhere
  4/30/2020   Morningstar, Inc.                Morningstar | Fixed Income and Currencies Trading a Boon for Deutsche in Q1; Fair Value Estimate Maintained
  4/30/2020   Morningstar, Inc.                Morningstar | Fixed Income and Currencies Trading a Boon for Deutsche in Q1; Fair Value Estimate Maintained
  4/30/2020   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Limited upside in equity; positive on Credit
  4/30/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
   5/1/2020   Barclays                         Deutsche Bank: Q120 Results - asset quality and capital in focus
   5/1/2020   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Good enough, for now
   5/1/2020   Trefis                           Trefis Report: Deutsche Bank - $6.43 Trefis Price Estimate
   5/2/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
   5/4/2020   BNP Paribas Exane                INVESTMENT BANKS : Assessing balance sheets after 1Q reporting
   5/4/2020   Pareto Securities AS             Deutsche Bank-Model Update-05/04/2020
   5/6/2020   BuySellSignals Research          Deutsche Bank decreases 8% in 2020
   5/7/2020   Berenberg                        Deutsche Bank (DBK GY) - Not out of the woods yet
   5/8/2020   Moody's Investors Services       Deutsche Bank AG: Regular update - Restructuring progress mitigates coronavirus-related earnings strain
   5/8/2020   UBS Equities                     Deutsche Bank "Beyond the inflection point in a volatile world" (Neutral)
   5/8/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  5/11/2020   Morningstar, Inc.                Morningstar | Deutsche Bank: Restructuring During a Pandemic
  5/11/2020   Morningstar, Inc.                Morningstar | Deutsche Bank: Restructuring During a Pandemic
  5/11/2020   Societe Generale                 Banks - Deutsche Bank NPS tender offer – show of strength? - Credit Research
  5/12/2020   BofA Global Research             European Morning Credit: Deutsche Bank, Allied Irish Banks, Bank of Ireland, Allianz, Iliad, Vodafone and Engie
  5/12/2020   Kepler Cheuvreux                 Taking advantage of the new rules
  5/13/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  5/21/2020   Kepler Cheuvreux                 Tender offer result
  5/26/2020   BuySellSignals Research          Deutsche Bank GDR falls 15% in past quarter; Institutional Ownership steady
  5/29/2020   Kepler Cheuvreux                 Rating watch removed at Fitch level
  5/29/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                       Contributor                                                                      Title
  6/10/2020   BofA Global Research            Deutsche Bank: Lower impairments, richly valued
  6/11/2020   Kepler Cheuvreux                Deutsche Bank | Hold | DB to create International Private Bank
  6/11/2020   Kepler Cheuvreux                International Private Bank created
  6/11/2020   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 11 Jun 2020
  6/12/2020   Morningstar, Inc.               Morningstar | DBK Updated Star Rating from 11 Jun 2020
  6/16/2020   Barclays                        European IBs: Where do we go from here?
  6/16/2020   Wright Reports                  Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft
  6/16/2020   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  6/18/2020   Barclays                        DBK: Risk 'deep dive' and capital guidance
  6/18/2020   Credit Suisse                   DBKGn.F: Deutsche Bank - Deep dive on risk
  6/18/2020   JPMorgan                        Deutsche Bank : Risk deep dive positive with helpful details but low RoTE generation justifies valuation discount
  6/18/2020   Moody's Investors Services      Deutsche Bank AG: Restructuring progress supports DB's asset performance
  6/19/2020   Commerzbank Corporate Clients   A deep dive into the loan book
  6/19/2020   GlobalData                      Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  6/19/2020   Societe Generale                Deutsche Bank AG (Hold, TP=€7) - Analyst meeting - Reassuring ‘Deep Dive’ presentation on credit quality - A. Lim (2p)
  6/22/2020   Kepler Cheuvreux                Deutsche Bank | Reduce | Too little margin
  6/25/2020   BNP Paribas Exane               INVESTMENT BANKS : Reviewing Remuneration
  6/26/2020   CFRA Equity Research            Deutsche Bank Aktiengesellschaft
  6/26/2020   Morningstar, Inc.               Morningstar | European Banks' U.S. Divisions Fare Well in Fed's 2020 Stress Tests
  6/26/2020   Morningstar, Inc.               Morningstar | European Banks' U.S. Divisions Fare Well in Fed's 2020 Stress Tests
  6/30/2020   BofA Global Research            Deutsche Bank: IB moderating 2Q20 losses
  6/30/2020   BuySellSignals Research         Deutsche Bank ADR surges 46% in Q2/2020
  6/30/2020   Kepler Cheuvreux                Deutsche Bank | Reduce | Pre-close sell-side briefing feedback
   7/6/2020   Morningstar, Inc.               Morningstar | Impact of Coronavirus on Credit Quality, Capital Adequacy, and Profitability Is Manageable
   7/6/2020   Morningstar, Inc.               Morningstar | Impact of Coronavirus on Credit Quality, Capital Adequacy, and Profitability Is Manageable
   7/6/2020   Morningstar, Inc.               Morningstar | DB Updated Star Rating from 06 Jul 2020
   7/9/2020   BNP Paribas Exane               INVESTMENT BANKS : Raising estimates ahead of 2Q reporting
   7/9/2020   Zacks Equity Research           Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  7/15/2020   Commerzbank Corporate Clients   Q2 due 29 July: Revenue growth path in core bank to continue
  7/17/2020   Credit Suisse                   EU investment banks: US read-through positive for Q2 earnings
  7/20/2020   Barclays                        European IBs: Increasing Q220 Trading Estimates
  7/20/2020   BuySellSignals Research         Deutsche Bank lifts 27% in past year
  7/21/2020   Barclays                        DBK Q220 Capital and Earnings Pre-announcement
  7/21/2020   Morgan Stanley                  Deutsche Bank: Pre-announced capital beat, CET1 at 13.3%
  7/21/2020   UBS Equities                    First Read: Deutsche Bank "Q2 2020 pre-announcement: Strong capital, softer ..."
  7/22/2020   UniCredit Research              Daily Credit Briefing
  7/22/2020   ValuEngine, Inc                 ValuEngine Rating and Forecast Report for DB
  7/23/2020   BofA Global Research            Deutsche Bank: Mitigating circumstances
  7/27/2020   Kepler Cheuvreux                Banks & Asset Managers | Least preferred list: Banco BPM out, Deutsche Bank in
  7/28/2020   Warburg Research GmbH           Vorschau: Q2-Ergebnis dürfte Konsens leicht übertreffen



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                     Title
  7/28/2020   Warburg Research GmbH            Preview: Q2 result expected to slightly exceed consensus
  7/29/2020   Barclays                         DBK Q220 Results: Mixed trends
  7/29/2020   Barclays                         Deutsche Bank: Q220 results - franchise challenges
  7/29/2020   BNP Paribas Exane                DEUTSCHE BANK (-): Stable capital, but unclear earnings power
  7/29/2020   BofA Global Research             Deutsche Bank: 2Q20 a little better
  7/29/2020   BofA Global Research             Deutsche Bank: 2Q was decent
  7/29/2020   Commerzbank Corporate Clients    Q2: More light than shadow
  7/29/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - Management comments on the 2Q20 call
  7/29/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - 2Q20 first look: In line with preannouncement
  7/29/2020   JPMorgan                         Deutsche Bank : Results ahead of expectations, but with 2H revenue normalisation expected: 4% L-T RoTE unchanged
  7/29/2020   JPMorgan                         Deutsche Bank : Model Update
  7/29/2020   Kepler Cheuvreux                 Deutsche Bank | Reduce | High but low quality beat
  7/29/2020   Kepler Cheuvreux                 Above expectations
  7/29/2020   Moody's Investors Services       Deutsche Bank AG: Q2 2020: Regained strengths in core businesses help offset coronavirus disruption
  7/29/2020   Morgan Stanley                   Deutsche Bank: 2Q20: Strong capital print, PBT better
  7/29/2020   Morgan Stanley                   Deutsche Bank: Restructuring on track - another quarter under the belt
  7/29/2020   Morningstar, Inc.                Morningstar | Deutsche Bank: We Increase Our Fair Value Estimate on More Positive Revenue Outlook
  7/29/2020   Morningstar, Inc.                Morningstar | Deutsche Bank: We Increase Our Fair Value Estimate on More Positive Revenue Outlook
  7/29/2020   Morningstar, Inc.                Morningstar | Investment Bank Shines in Second Quarter, a Positive Sign for Deutsche Bank
  7/29/2020   Morningstar, Inc.                Morningstar | Investment Bank Shines in Second Quarter, a Positive Sign for Deutsche Bank
  7/29/2020   Morningstar, Inc.                Morningstar | DB Updated Star Rating from 29 Jul 2020
  7/29/2020   Pareto Securities AS             Deutsche Bank-Q2 results slightly better than expected-07/29/2020
  7/29/2020   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - DBK - Beat on a number of lines
  7/29/2020   RBC Capital Markets              Deutsche Bank Aktiengesellschaft - Off to a new quarter
  7/29/2020   The Business Research Company    Deutsche Bank AG (Deutsche Bank) Company Briefing
  7/29/2020   UBS Equities                     First Read: Deutsche Bank "Q2 2020: No additional major surprises after ..."
  7/30/2020   Credit Suisse                    DBKGn.F: Deutsche Bank - Post 2Q20: Still little reason to raise revenues
  7/30/2020   RBC Capital Markets              UK & European Research at a Glance - July 30, 2020
  7/30/2020   RBC Capital Markets              Research at a Glance - [U.S.] Jul 30,2020
  7/30/2020   Societe Generale                 Deutsche Bank AG - Equity/Credit review - Nothing has really changed – Negative on equity, positive on credit
  7/30/2020   UBS Equities                     Deutsche Bank "Q2 2020: Narrowing the losses but still a long way to go to ..."
  7/30/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  7/31/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
  7/31/2020   Trefis                           Trefis Report: Deutsche Bank - $7.85 Trefis Price Estimate
   8/1/2020   CFRA Equity Research             Deutsche Bank Aktiengesellschaft
   8/3/2020   Kepler Cheuvreux                 Deutsche Bank | Reduce | The almighty IB?
   8/4/2020   Acquisdata                       Deutsche Bank
   8/4/2020   Acquisdata                       Deutsche Bank AG
   8/4/2020   Berenberg                        Deutsche Bank (DBK GY) - Buoyancy likely to prove short lived
   8/4/2020   Societe Generale                 US Banks - From strength to strength – Increasing target prices for MS and GS



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Exhibit 5B

Deutsche Bank AG
List of Analyst Reports
Source: Refinitiv Eikon, Bloomberg

     Date                        Contributor                                                                    Title
   8/7/2020   Moody's Investors Services       Deutsche Bank Trust Company Americas: Update to credit analysis
  8/18/2020   Acquisdata                       Deutsche Bank AG
  8/27/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  8/28/2020   SSIF Tradeville                  Rezultate T2 2020 - Deutsche Bank AG
  8/31/2020   BuySellSignals Research          Deutsche Bank adds 6.6% in past quarter
   9/1/2020   Sadif Analytics Prime            Rating Update for Deutsche Bank AG
   9/3/2020   BNP Paribas Exane                INVESTMENT BANKS : The beat goes on
   9/9/2020   Kepler Cheuvreux                 Deutsche Bank | Reduce | The Italian option with Banco BPM?
  9/17/2020   BofA Global Research             Deutsche Bank: Better IB in Q3
  9/18/2020   RBC Capital Markets              UBS - Watch this space
  9/22/2020   Corporate Watchdog Reports       Watchdog Report: DB - Now with Critical / Key Audit Matters
  9/22/2020   GlobalData                       Deutsche Bank AG (DBK) - Financial and Strategic SWOT Analysis Review
  9/22/2020   JPMorgan                         Deutsche Bank : Upgrading 2020 estimates to reflect stronger trading
  9/22/2020   UBS Equities                     First Read: Deutsche Bank "Reassuring Q3 FICC revenue guidance above ..."
  9/23/2020   Morgan Stanley                   Deutsche Bank: Risk Reward Update
  9/24/2020   Zacks Equity Research            Deutsche Bank Aktiengesellschaft(DB) Zacks Company Report
  9/25/2020   Wright Reports                   Wright Investors Service Comprehensive Report for Deutsche Bank Aktiengesellschaft




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg


4/27/2017                                                                   First-Quarter 2017 Earnings Results
                                          Price Target as of       Price Target as of        % Change in Price       Pre-Event         Post-Event
Firm
                                              4/26/2017                 5/2/2017                  Target          Rating Action      Rating Action
AlphaValue/Baader Europe                        $13.33                   $14.03                    5.25%                 sell               sell
Banco Sabadell                                  $17.30                   $17.30                    0.00%                 sell               sell
Bankhaus Lampe                                  $22.46                   $22.90                    1.96%                 buy                buy
Bankhaus Metzler                                $14.05                   $14.05                    0.00%                 sell               sell
Barclays                                        $18.27                   $18.49                    1.20%            equalweight        equalweight
Berenberg                                       $11.46                   $11.68                    1.92%                 sell               sell
Citi                                            $15.66                   $15.55                   -0.70%                 sell               sell
Commerzbank                                     $16.04                   $16.31                    1.68%               reduce             reduce
Credit Suisse                                                                                                         not rated          not rated
Day by Day                                      $21.70                  $21.70                     0.00%                 buy                buy
DZ Bank AG Research                             $15.35                  $15.44                     0.59%                 sell               sell
Equinet Bank AG                                 $20.78                  $20.71                    -0.34%                 buy                buy
Equita SIM                                      $24.06                  $24.06                     0.00%                hold               hold
Goldman Sachs                                   $17.30                  $17.30                     0.00%           neutral/neutral    neutral/neutral
Grupo Santander                                 $14.51                  $14.51                     0.00%            underweight        underweight
Hamburger Sparkasse                                                                                                    neutral            neutral
Hammer Partners                                 $18.39                  $18.39                    0.00%                neutral            neutral
HSBC                                            $17.38                  $17.38                    0.00%                 hold               hold
Independent Research GmbH                       $20.60                  $21.75                    5.58%                  buy                buy
ISS-EVA                                                                                                             underweight        underweight
JP Morgan                                       $19.52                  $19.62                     0.51%               neutral            neutral
Keefe Bruyette & Woods                          $21.42                  $21.81                     1.82%             outperform         outperform
Kepler Cheuvreux                                $18.97                  $19.03                     0.32%                 buy                buy
M.M.Warburg Co.                                 $19.79                  $19.79                     0.00%                hold               hold
Macquarie                                       $18.71                  $20.71                    10.69%             outperform         outperform
Mainfirst                                       $17.14                  $17.40                     1.52%               neutral            neutral
Mediobanca                                      $14.75                  $14.83                     0.54%           underperform       underperform
Morgan Stanley                                  $18.55                  $18.16                    -2.10%          Equalwt/In-Line    Equalwt/In-Line
Morningstar                                                                                                             hold               hold
Natixis                                         $11.93                  $12.17                    2.01%                reduce             reduce
NORD/LB                                         $14.85                  $15.05                    1.35%                  sell               sell
Oddo BHF                                        $15.47                  $15.47                    0.00%                neutral            neutral
RBC Capital                                     $15.04                  $15.26                    1.46%            sector perform     sector perform
Redburn                                                                                                                  sell               sell
Societe Generale                                $11.10                  $11.19                    0.81%                  sell               sell
Wise-owl.com                                    $22.23                  $22.23                    0.00%                  buy                buy
                Total                           $17.36                  $17.56                    1.14%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



7/27/2017                                                                  Second-Quarter 2017 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price        Pre-Event         Post-Event
Firm
                                              7/26/2017                 8/1/2017                 Target           Rating Action      Rating Action
AlphaValue/Baader Europe                        $15.59                   $15.86                   1.73%                  sell               sell
Banco Sabadell                                  $17.30                   $17.30                   0.00%                  sell               sell
Bankhaus Lampe                                  $24.50                   $24.49                  -0.04%                  buy                buy
Bankhaus Metzler                                $16.30                   $16.30                   0.00%                  sell               sell
Berenberg                                       $11.68                   $11.68                   0.00%                  sell               sell
Citi                                            $13.96                   $14.00                   0.29%                  sell               sell
Commerzbank                                     $17.45                   $17.50                   0.29%                reduce             reduce
Credit Suisse                                   $17.60                   $17.61                   0.06%            underperform       underperform
Day by Day                                                                                                              hold               hold
DZ Bank AG Research                             $20.58                  $21.58                   4.86%                   buy                buy
Equinet Bank AG                                 $20.71                  $20.71                   0.00%                   buy                buy
Equita SIM                                      $24.06                  $24.06                   0.00%                  hold               hold
Goldman Sachs                                   $17.93                  $17.93                   0.00%             neutral/neutral    neutral/neutral
Grupo Santander                                 $19.25                  $19.25                   0.00%              underweight        underweight
Hamburger Sparkasse                                                                                                    neutral            neutral
Hammer Partners                                 $18.61                  $18.55                   -0.32%                neutral            neutral
HSBC                                            $21.64                  $21.64                    0.00%                 hold               hold
Independent Research GmbH                       $23.28                  $23.33                    0.21%                  buy                buy
ISS-EVA                                                                                                             underweight        underweight
JP Morgan                                       $21.00                  $19.83                    -5.57%               neutral            neutral
Keefe Bruyette & Woods                          $21.89                  $22.16                     1.23%             outperform         outperform
Kepler Cheuvreux                                $19.80                  $20.41                     3.08%                 buy                buy
M.M.Warburg Co.                                 $19.79                  $19.79                     0.00%                hold               hold
Macquarie                                       $21.70                  $19.37                   -10.74%             outperform           neutral
Mainfirst                                       $19.77                  $19.83                     0.30%               neutral            neutral
Mediobanca                                      $15.33                  $15.97                     4.17%           underperform       underperform
Morgan Stanley                                  $18.16                  $19.48                     7.27%          Equalwt/In-Line    Equalwt/In-Line
Morningstar                                                                                                             hold               hold
Natixis                                         $13.99                  $15.85                   13.30%                reduce             reduce
NORD/LB                                         $17.38                  $16.91                   -2.70%                  sell               sell
Oddo BHF                                        $15.47                  $15.47                    0.00%                neutral            neutral
RBC Capital                                     $16.33                  $16.33                    0.00%            sector perform     sector perform
Redburn                                                                                                                neutral            neutral
Societe Generale                                $11.19                  $12.13                   8.40%                   sell               sell
Wise-owl.com                                    $22.23                  $22.23                   0.00%                   buy                buy
                Total                           $18.48                  $18.59                   0.56%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



10/26/2017                                                                 Third-Quarter 2017 Earnings Results
                                          Price Target as of       Price Target as of      % Change in Price      Pre-Event           Post-Event
Firm
                                             10/25/2017               10/31/2017                 Target          Rating Action      Rating Action
AlphaValue/Baader Europe                        $15.22                   $15.30                   0.53%              reduce              reduce
Banco Sabadell                                  $16.22                   $16.22                   0.00%                sell                sell
Bankhaus Lampe                                  $23.57                   $23.36                  -0.89%                buy                 buy
Bankhaus Metzler                                $15.46                   $15.46                   0.00%                sell                sell
Berenberg                                       $12.79                   $12.79                   0.00%                sell                sell
BNP Paribas Exane                               $14.70                   $14.37                  -2.24%          underperform        underperform
Citi                                            $11.16                   $11.05                  -0.99%                sell                sell
Commerzbank                                     $17.92                   $17.52                  -2.23%              reduce              reduce
Creative Global Investments                                              $21.03                                                            buy
Credit Suisse                                   $17.09                   $16.94                  -0.88%               neutral            neutral
Day by Day                                      $10.27                   $10.27                   0.00%                 sell               sell
DZ Bank AG Research                             $21.58                   $20.44                  -5.28%                 buy                buy
Equinet Bank AG                                 $20.71                   $20.71                   0.00%                 buy                buy
Equita SIM                                      $24.06                   $24.06                   0.00%                hold               hold
Goldman Sachs                                   $18.59                   $18.59                   0.00%           neutral/neutral    neutral/neutral
Grupo Santander                                 $19.40                   $19.40                   0.00%            underweight        underweight
Hamburger Sparkasse                                                                                                   neutral            neutral
Hammer Partners                                 $18.55                  $18.55                    0.00%               neutral            neutral
HSBC                                            $16.71                  $16.71                    0.00%                hold               hold
Independent Research GmbH                       $22.32                  $22.20                   -0.54%                 buy                buy
JP Morgan                                       $20.31                  $18.54                   -8.71%               neutral            neutral
Keefe Bruyette & Woods                          $17.72                  $17.52                   -1.13%          market perform     market perform
Kepler Cheuvreux                                $20.41                  $20.44                    0.15%                 buy                buy
M.M.Warburg Co.                                 $18.19                  $18.19                    0.00%                hold               hold
Macquarie                                       $14.64                  $14.49                   -1.02%           underperform       underperform
Mainfirst                                       $16.44                  $16.35                   -0.55%               neutral            neutral
Mediobanca                                      $15.51                  $15.30                   -1.35%           underperform       underperform
Morgan Stanley                                  $19.21                  $17.52                   -8.80%          Equalwt/In-Line    Equalwt/In-Line
Morningstar                                                                                                            hold               hold
Natixis                                         $15.85                  $14.49                   -8.58%               reduce             reduce
NORD/LB                                         $16.91                  $16.94                    0.18%                 sell              hold
Oddo BHF                                        $17.06                  $16.34                   -4.22%               neutral            neutral
RBC Capital                                     $15.83                  $15.07                   -4.80%           sector perform     sector perform
Redburn                                                                                                               neutral            neutral
Societe Generale                                $12.56                  $12.17                   -3.11%                 sell               sell
Wise-owl.com                                    $22.23                  $22.23                    0.00%                 buy                buy
                Total                           $17.47                  $17.29                   -1.06%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



2/2/2018                                                             Fourth-Quarter/Full-Year 2017 Earnings Results
                                          Price Target as of       Price Target as of      % Change in Price          Pre-Event        Post-Event
Firm
                                               2/1/2018                 2/7/2018                 Target           Rating Action      Rating Action
AlphaValue/Baader Europe                        $18.47                   $15.34                 -16.95%                 reduce            reduce
Banco Sabadell                                  $16.42                   $16.42                   0.00%                   sell              sell
Bankhaus Lampe                                  $22.33                   $20.86                  -6.58%                   buy               buy
Bankhaus Metzler                                $15.57                   $15.57                   0.00%                   sell              sell
Berenberg                                       $14.32                   $14.32                   0.00%                   sell              sell
BNP Paribas Exane                               $14.50                   $15.29                   5.45%             underperform      underperform
Citi                                            $11.62                   $11.77                   1.29%                   sell              sell
Commerzbank                                     $17.52                   $17.52                   0.00%                 reduce            reduce
Credit Suisse                                   $19.97                   $18.64                  -6.66%                 neutral           neutral
Day by Day                                      $10.27                   $10.27                   0.00%                   sell              sell
DZ Bank AG Research                             $21.08                   $20.57                  -2.42%                   buy               buy
Equinet Bank AG                                 $22.35                   $22.35                   0.00%                   buy               buy
Goldman Sachs                                   $18.50                   $18.50                   0.00%            neutral/neutral    neutral/neutral
Grupo Santander                                 $19.40                   $19.40                   0.00%              underweight       underweight
Hammer Partners                                 $18.67                   $19.45                   4.18%                 neutral           neutral
HSBC                                            $19.16                   $19.16                   0.00%                  hold              hold
Independent Research GmbH                       $21.56                   $21.20                  -1.67%                   buy               buy
JP Morgan                                       $19.07                   $17.40                  -8.76%                 neutral           neutral
Keefe Bruyette & Woods                          $18.20                   $16.16                 -11.21%             underperform      underperform
Kepler Cheuvreux                                                                                                       not rated         not rated
M.M.Warburg Co.                                 $17.33                   $17.33                   0.00%                  hold              hold
Macquarie                                       $15.17                   $15.54                   2.44%             underperform      underperform
Mainfirst                                       $18.62                   $14.72                 -20.95%                 neutral       underperform
Mediobanca                                      $17.14                   $16.16                  -5.72%             underperform      underperform
Morgan Stanley                                  $18.31                   $16.65                  -9.07%           Equalwt/In-Line    Equalwt/In-Line
Morningstar                                                              $21.68                                          hold               buy
Natixis                                         $14.01                   $13.30                  -5.07%                 reduce            reduce
NORD/LB                                         $18.98                   $18.70                  -1.48%                  hold              hold
Oddo BHF                                        $18.66                   $18.66                   0.00%                 neutral           neutral
RBC Capital                                     $19.28                   $16.78                 -12.97%            sector perform     sector perform
Redburn                                                                                                                 neutral           neutral
Societe Generale                                $12.56                   $13.05                   3.90%                   sell              sell
                Total                           $17.55                   $17.09                  -2.63%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



4/26/2018                                                                   First-Quarter 2018 Earnings Results
                                          Price Target as of       Price Target as of        % Change in Price       Pre-Event         Post-Event
Firm
                                              4/25/2018                 5/1/2018                   Target         Rating Action      Rating Action
AlphaValue/Baader Europe                        $13.70                   $12.22                   -10.80%              reduce             reduce
Banco Sabadell                                  $15.15                   $15.15                     0.00%                sell               sell
Bankhaus Lampe                                  $20.90                   $20.61                    -1.39%                buy                buy
Bankhaus Metzler                                $13.50                   $13.34                    -1.19%                sell               sell
Berenberg                                       $14.81                   $14.81                     0.00%                sell               sell
BNP Paribas Exane                               $14.44                   $12.61                   -12.67%          underperform       underperform
Citi                                            $10.62                   $10.43                    -1.79%                sell               sell
Commerzbank                                     $13.58                   $13.34                    -1.77%              reduce             reduce
Credit Suisse                                   $16.05                   $14.53                    -9.47%              neutral            neutral
Day by Day                                      $10.75                   $10.75                     0.00%                sell               sell
DZ Bank AG Research                             $16.75                   $16.37                    -2.27%                buy                buy
Equinet Bank AG                                 $22.15                   $16.98                   -23.34%                buy                buy
Goldman Sachs                                   $18.27                   $18.27                     0.00%          neutral/neutral    neutral/neutral
Grupo Santander                                 $19.40                   $19.40                     0.00%           underweight        underweight
Hammer Partners                                 $16.98                   $16.98                     0.00%              neutral            neutral
HSBC                                            $14.78                   $14.78                     0.00%               hold               hold
Independent Research GmbH                       $13.55                   $12.73                    -6.05%                sell               sell
JP Morgan                                       $14.69                   $14.53                    -1.09%              neutral            neutral
Keefe Bruyette & Woods                          $11.00                   $10.90                    -0.91%          underperform       underperform
Kepler Cheuvreux                                                                                                      not rated          not rated
M.M.Warburg Co.                                 $15.51                  $15.51                     0.00%                hold               hold
Macquarie                                       $13.07                  $12.72                    -2.68%           underperform       underperform
Mainfirst                                       $12.93                  $12.73                    -1.55%           underperform       underperform
Mediobanca                                      $13.58                  $13.32                    -1.91%           underperform       underperform
Morgan Stanley                                  $15.27                  $15.26                    -0.07%          Equalwt/In-Line    Equalwt/In-Line
Morningstar                                     $19.20                  $21.22                    10.52%                 buy                buy
Natixis                                         $13.30                  $12.11                    -8.95%               reduce             reduce
NORD/LB                                         $15.40                  $15.16                    -1.56%                hold               hold
Oddo BHF                                        $13.53                  $13.34                    -1.40%               neutral            neutral
RBC Capital                                     $14.78                  $14.53                    -1.69%           sector perform     sector perform
Redburn                                                                                                                neutral            neutral
Societe Generale                                $12.34                   $9.69                   -21.47%                 sell               sell
Spin-Off Research                               $13.50                  $13.50                     0.00%                hold               hold
                Total                           $14.95                  $14.45                    -3.38%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



7/25/2018                                                                  Second-Quarter 2018 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price       Pre-Event         Post-Event
Firm
                                              7/24/2018                7/30/2018                 Target           Rating Action     Rating Action
AlphaValue/Baader Europe                        $10.01                   $10.80                   7.89%                sell                sell
Banco Sabadell                                  $15.15                   $15.15                   0.00%                sell                sell
Bankhaus Lampe                                  $17.56                   $16.32                  -7.06%                buy                 buy
Bankhaus Metzler                                $11.37                   $11.43                   0.53%                hold               hold
Barclays                                         $9.36                    $9.34                  -0.21%            underweight        underweight
Berenberg                                       $14.05                   $14.05                   0.00%                sell                sell
BNP Paribas Exane                               $11.18                   $10.51                  -5.99%           underperform       underperform
Citi                                             $8.71                    $8.75                   0.46%                sell                sell
Commerzbank                                     $12.88                   $12.85                  -0.23%                hold               hold
Credit Suisse                                   $12.77                   $12.83                   0.47%               neutral           neutral
Day by Day                                       $6.90                    $6.91                   0.14%                sell                sell
DZ Bank AG Research                             $11.12                   $11.68                   5.04%                hold               hold
Equinet Bank AG                                 $16.98                   $16.98                   0.00%                buy                 buy
Goldman Sachs                                   $14.64                   $14.64                   0.00%           neutral/neutral    neutral/neutral
Grupo Santander                                                                                                    underweight        underweight
Hammer Partners                                 $10.37                  $10.37                   0.00%                neutral           neutral
HSBC                                            $13.98                  $13.98                   0.00%                 hold               hold
Independent Research GmbH                       $10.49                  $10.51                   0.19%                 sell                sell
ISS-EVA                                                                                                                               underweight
JP Morgan                                       $12.82                  $12.25                   -4.45%               neutral           neutral
Keefe Bruyette & Woods                          $10.51                  $11.72                   11.51%            underperform      underperform
Kepler Cheuvreux                                 $9.86                  $10.15                    2.94%               reduce             reduce
M.M.Warburg Co.                                 $12.14                  $12.14                    0.00%                hold               hold
Mainfirst                                       $11.65                  $11.68                    0.26%               neutral           neutral
Mediobanca                                      $10.54                  $10.50                   -0.38%            underperform      underperform
Morgan Stanley                                  $10.54                  $10.51                   -0.28%           Equalwt/In-Line   Equalwt/In-Line
Morningstar                                     $17.56                  $17.49                   -0.40%                 buy                buy
NORD/LB                                         $13.46                  $12.85                   -4.53%                hold               hold
Oddo BHF                                        $11.00                  $11.00                    0.00%               reduce             reduce
RBC Capital                                      $9.36                   $9.34                   -0.21%            underperform      underperform
Redburn                                                                                                               neutral           neutral
Societe Generale                                $9.37                   $9.37                     0.00%                 sell               sell
                Total                           $11.94                  $11.93                   -0.07%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



10/24/2018                                                                  Third-Quarter 2018 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price        Pre-Event         Post-Event
Firm
                                             10/23/2018               10/29/2018                  Target          Rating Action      Rating Action
AlphaValue/Baader Europe                        $10.19                    $9.55                   -6.28%               reduce             reduce
Banco Sabadell                                  $10.36                   $10.36                    0.00%                 sell               sell
Bankhaus Lampe                                  $16.13                   $13.68                  -15.19%                 buy                buy
Bankhaus Metzler                                $11.44                   $10.92                   -4.55%                hold               hold
Barclays                                         $9.25                    $9.10                   -1.62%            underweight        underweight
Berenberg                                       $9.27                    $9.27                     0.00%                 sell               sell
BNP Paribas Exane                               $10.33                   $10.25                   -0.77%           underperform       underperform
Citi                                             $8.18                    $8.09                   -1.10%                 sell               sell
Commerzbank                                     $12.62                   $11.39                   -9.75%                hold               hold
Credit Suisse                                   $11.53                   $10.80                   -6.33%              neutral            neutral
Day by Day                                       $8.89                    $8.89                    0.00%                 sell               sell
DZ Bank AG Research                             $11.68                   $11.17                   -4.37%                hold               hold
Equinet Bank AG                                 $16.98                   $16.98                    0.00%                 buy                buy
Goldman Sachs                                   $13.37                   $13.37                    0.00%           neutral/neutral    neutral/neutral
Grupo Santander                                  $9.96                    $9.96                    0.00%            underweight        underweight
Hammer Partners                                 $9.35                     $9.35                    0.00%                 sell               sell
HSBC                                            $12.71                   $11.39                  -10.39%                hold               hold
Independent Research GmbH                       $10.51                    $9.68                   -7.90%                 sell               sell
ISS-EVA                                                                                                             underweight        underweight
JP Morgan                                       $12.18                  $11.96                    -1.81%              neutral            neutral
Keefe Bruyette & Woods                          $11.48                  $10.25                   -10.71%           underperform       underperform
Kepler Cheuvreux                                $10.15                  $10.35                     1.97%               reduce             reduce
M.M.Warburg Co.                                 $12.14                  $12.14                     0.00%                hold               hold
Mainfirst                                       $12.10                  $11.96                    -1.16%              neutral            neutral
Mediobanca                                      $10.32                   $9.55                    -7.46%           underperform       underperform
Morgan Stanley                                  $10.51                  $10.25                    -2.47%          Underwt/In-Line    Underwt/In-Line
Morningstar                                     $17.49                  $13.67                   -21.84%                 buy                buy
NORD/LB                                         $12.85                  $10.88                   -15.33%                hold               hold
Oddo BHF                                        $10.83                  $10.83                     0.00%               reduce             reduce
RBC Capital                                      $9.20                   $9.11                    -0.98%           underperform       underperform
Redburn                                                                                                               neutral            neutral
Societe Generale                                $9.22                   $7.40                    -19.74%                 sell               sell
                Total                           $11.37                  $10.75                    -5.47%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



2/1/2019                                                             Fourth-Quarter/Full-Year 2018 Earnings Results
                                          Price Target as of       Price Target as of      % Change in Price          Pre-Event        Post-Event
Firm
                                              1/31/2019                 2/6/2019                 Target           Rating Action      Rating Action
AlphaValue/Baader Europe                         $8.00                    $7.63                  -4.63%                   sell              sell
Banco Sabadell                                  $10.36                   $10.36                   0.00%                   sell              sell
Bankhaus Lampe                                  $12.55                   $12.62                   0.56%                   buy               buy
Bankhaus Metzler                                $10.90                   $10.09                  -7.43%                  hold              hold
Barclays                                         $7.42                    $7.45                   0.40%              underweight       underweight
Berenberg                                       $9.13                     $8.00                 -12.38%                   sell              sell
BNP Paribas Exane                                $7.96                    $8.00                   0.50%             underperform      underperform
Citi                                             $7.62                    $7.43                  -2.49%                   sell              sell
Commerzbank                                     $10.17                   $10.32                   1.47%                  hold              hold
Credit Suisse                                    $9.68                    $9.14                  -5.58%                neutral           neutral
Day by Day                                       $6.66                    $6.66                   0.00%                   sell              sell
DZ Bank AG Research                              $8.24                    $8.60                   4.37%                  hold              hold
Goldman Sachs                                   $11.37                   $11.37                   0.00%            neutral/neutral    neutral/neutral
Grupo Santander                                  $9.86                    $9.86                   0.00%              underweight       underweight
HSBC                                            $11.39                    $9.70                 -14.84%                  hold              hold
Independent Research GmbH                        $8.03                    $8.03                   0.00%                   sell              sell
ISS-EVA                                                                                                              underweight       underweight
JP Morgan                                       $9.15                     $9.14                  -0.11%                neutral           neutral
Keefe Bruyette & Woods                           $6.87                    $6.86                  -0.15%             underperform      underperform
Kepler Cheuvreux                                $10.37                    $7.42                 -28.45%                 reduce            reduce
M.M.Warburg Co.                                  $8.67                    $8.67                   0.00%                  hold              hold
Mainfirst                                        $9.16                    $9.18                   0.22%                neutral           neutral
Mediobanca                                       $9.63                    $7.99                 -17.03%             underperform      underperform
Morgan Stanley                                   $9.12                    $9.18                   0.66%           Underwt/In-Line    Underwt/In-Line
Morningstar                                     $13.67                   $10.50                 -23.19%                   buy              hold
NORD/LB                                         $10.88                    $9.18                 -15.63%                  hold              hold
Oddo BHF                                        $10.72                    $8.12                 -24.25%                 reduce            reduce
Pareto Securities                                $9.61                    $9.13                  -4.99%                  hold              hold
RBC Capital                                      $8.58                    $8.60                   0.23%             underperform      underperform
Redburn                                                                                                                neutral           neutral
Societe Generale                                $6.31                     $6.27                  -0.63%                   sell              sell
Zacks                                                                                                                     sell              sell
                 Total                          $9.38                     $8.81                  -6.09%




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Exhibit 5C

Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



4/26/2019                                                                   First-Quarter 2019 Earnings Results
                                          Price Target as of       Price Target as of        % Change in Price      Pre-Event       Post-Event
Firm
                                              4/25/2019                 5/1/2019                   Target         Rating Action   Rating Action
AlphaValue/Baader Europe                         $8.49                    $8.48                    -0.12%             reduce          reduce
Banco Sabadell                                  $10.36                   $10.36                     0.00%               sell            sell
Bankhaus Lampe                                  $12.48                   $12.28                    -1.60%               buy             buy
Bankhaus Metzler                                 $9.36                    $9.38                     0.21%               hold           hold
Barclays                                         $7.24                    $7.31                     0.97%          underweight      underweight
Berenberg                                       $7.91                     $7.91                     0.00%               sell            sell
BNP Paribas Exane                                $7.91                    $7.81                    -1.26%         underperform     underperform
Citi                                             $6.81                    $6.71                    -1.47%               sell            sell
Commerzbank                                     $10.32                    $8.94                   -13.37%               hold           hold
Credit Suisse                                    $8.91                    $7.27                   -18.41%             neutral      underperform
Day by Day                                       $6.56                    $6.52                    -0.61%               sell            sell
DZ Bank AG Research                              $8.50                    $8.37                    -1.53%               hold           hold
Goldman Sachs                                                             $9.39                                      not rated        neutral
Grupo Santander                                 $9.86                     $9.86                     0.00%          underweight      underweight
HSBC                                            $9.54                     $9.54                     0.00%               hold           hold
Independent Research GmbH                       $7.93                     $7.81                    -1.51%               sell            sell
ISS-EVA                                                                                                            underweight      underweight
JP Morgan                                       $7.80                   $7.83                     0.38%               neutral         neutral
Keefe Bruyette & Woods                          $6.68                    $6.75                     1.05%          underperform     underperform
Kepler Cheuvreux                                $7.35                    $7.27                    -1.09%              reduce          reduce
M.M.Warburg Co.                                 $8.67                    $8.67                     0.00%                hold           hold
Mediobanca                                      $7.56                    $7.49                    -0.93%          underperform     underperform
Morgan Stanley                                                           $7.64                                       restricted   Underwt/In-Line
Morningstar                                     $10.42                  $10.29                    -1.25%                hold           hold
NORD/LB                                          $7.93                   $8.93                    12.61%                sell           hold
Oddo BHF                                         $7.96                   $7.94                    -0.25%              reduce          reduce
Pareto Securities                                $8.91                  $8.94                      0.34%                hold           hold
RBC Capital                                      $8.35                   $8.37                     0.24%          underperform     underperform
Redburn                                                                                                               neutral         neutral
Societe Generale                                $6.21                    $6.15                    -0.97%                sell            sell
Zacks                                                                                                                   hold           hold
                 Total                          $8.46                    $8.36                    -1.15%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



7/24/2019                                                                  Second-Quarter 2019 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price        Pre-Event        Post-Event
Firm
                                              7/23/2019                7/29/2019                  Target          Rating Action     Rating Action
AlphaValue/Baader Europe                         $7.34                    $7.42                    1.09%               reduce           reduce
Banco Sabadell                                  $10.36                   $10.36                    0.00%                 sell             sell
Bankhaus Lampe                                  $10.11                   $10.03                   -0.79%                 buy              buy
Bankhaus Metzler                                 $7.62                    $7.62                    0.00%                hold             hold
Barclays                                         $5.61                    $5.56                   -0.89%            underweight       underweight
Berenberg                                       $6.73                    $6.73                     0.00%                 sell             sell
BNP Paribas Exane                                $7.81                    $6.67                  -14.60%           underperform      underperform
Citi                                             $7.18                    $6.68                   -6.96%                 sell             sell
Commerzbank                                     $8.97                    $8.92                    -0.56%                hold             hold
Credit Suisse                                    $6.74                    $6.68                   -0.89%           underperform      underperform
Day by Day                                       $4.60                    $4.57                   -0.65%                 sell             sell
DZ Bank AG Research                              $7.77                    $7.69                   -1.03%                hold             hold
Goldman Sachs                                   $8.75                    $8.75                     0.00%              neutral           neutral
Grupo Santander                                 $4.49                     $4.49                    0.00%            underweight       underweight
HSBC                                             $7.74                    $7.74                    0.00%                hold             hold
Independent Research GmbH                       $8.13                     $8.08                   -0.62%                hold             hold
ISS-EVA                                                                                                             underweight       underweight
JP Morgan                                       $7.01                   $6.96                    -0.71%               neutral           neutral
Keefe Bruyette & Woods                           $6.76                   $6.68                   -1.18%            underperform      underperform
Kepler Cheuvreux                                 $7.29                   $7.23                   -0.82%                 hold             hold
M.M.Warburg Co.                                  $8.67                   $8.67                    0.00%                 hold             hold
Mediobanca                                       $6.95                   $6.95                    0.00%            underperform      underperform
Morgan Stanley                                   $7.07                   $7.02                   -0.71%           Underwt/In-Line   Underwt/In-Line
Morningstar                                     $10.11                  $10.03                   -0.79%                  buy              buy
NORD/LB                                          $7.96                   $7.96                    0.00%                 hold             hold
Oddo BHF                                         $7.97                   $7.97                    0.00%                reduce           reduce
Pareto Securities                                $8.92                  $8.92                     0.00%                 hold             hold
RBC Capital                                      $7.85                   $7.79                   -0.76%            underperform      underperform
Redburn                                                                                                               neutral           neutral
Societe Generale                                $4.49                   $4.45                    -0.89%                  sell             sell
Zacks                                           $9.00                   $9.00                     0.00%               neutral           neutral
                 Total                          $7.59                   $7.50                    -1.08%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



10/30/2019                                                                  Third-Quarter 2019 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price        Pre-Event       Post-Event
Firm
                                             10/29/2019                11/4/2019                  Target          Rating Action     Rating Action
AlphaValue/Baader Europe                         $7.50                    $7.10                   -5.33%               reduce           reduce
Banco Sabadell                                  $10.36                   $10.36                   0.00%                  sell             sell
Bankhaus Lampe                                  $8.91                                                                    buy
Bankhaus Metzler                                 $6.84                   $6.84                     0.00%                 sell             sell
Barclays                                         $5.54                   $5.56                     0.36%            underweight       underweight
Berenberg                                       $6.14                    $6.13                    -0.16%                 sell             sell
BNP Paribas Exane                                $6.68                   $6.68                     0.00%           underperform      underperform
Citi                                             $6.47                   $6.46                    -0.15%                 sell             sell
Commerzbank                                     $8.88                    $8.89                     0.11%                hold             hold
Credit Suisse                                    $6.66                   $6.67                     0.15%           underperform      underperform
Day by Day                                       $4.55                   $4.57                     0.44%                 sell             sell
DZ Bank AG Research                              $7.69                   $7.67                    -0.26%                hold             hold
Goldman Sachs                                   $9.14                    $9.14                     0.00%              neutral           neutral
Grupo Santander                                 $4.44                    $4.44                     0.00%            underweight       underweight
HSBC                                             $6.89                   $6.89                     0.00%                hold             hold
Independent Research GmbH                       $6.68                    $6.80                     1.80%                 sell             sell
ISS-EVA                                                                                                             underweight       underweight
JP Morgan                                       $6.94                    $6.67                    -3.89%              neutral           neutral
Keefe Bruyette & Woods                           $6.69                   $6.67                    -0.30%           underperform      underperform
Kepler Cheuvreux                                 $7.23                   $6.70                    -7.33%                hold             hold
M.M.Warburg Co.                                  $8.67                   $8.67                     0.00%                hold             hold
Mediobanca                                       $6.40                   $6.40                     0.00%           underperform      underperform
Morgan Stanley                                   $6.62                   $6.67                     0.76%          Underwt/In-Line   Underwt/In-Line
Morningstar                                     $10.10                  $10.10                     0.00%                 buy              buy
NORD/LB                                          $7.96                   $7.96                     0.00%                hold             hold
Oddo BHF                                         $8.66                   $8.66                     0.00%               reduce           reduce
Pareto Securities                                $8.82                   $8.82                     0.00%                hold             hold
RBC Capital                                      $7.75                   $7.78                     0.39%           underperform      underperform
Redburn                                                                                                               neutral           neutral
Societe Generale                                $4.38                    $4.46                    1.83%                  sell             sell
Zacks                                           $8.00                    $8.00                    0.00%               neutral           neutral
                 Total                          $7.30                    $7.21                   -1.24%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



1/30/2020                                                            Fourth-Quarter/Full-Year 2019 Earnings Results
                                          Price Target as of       Price Target as of      % Change in Price          Pre-Event      Post-Event
Firm
                                              1/29/2020                 2/4/2020                Target            Rating Action    Rating Action
AlphaValue/Baader Europe                         $7.65                    $7.74                  1.18%                  reduce           sell
Banco Sabadell                                  $10.36                   $10.36                  0.00%                    sell           sell
Bankhaus Metzler                                 $6.88                    $6.87                 -0.15%                    sell           sell
Barclays                                         $5.55                    $5.54                 -0.18%               underweight     underweight
Berenberg                                        $6.13                    $6.13                  0.00%                    sell           sell
BNP Paribas Exane                                $6.66                    $6.87                  3.15%              underperform    underperform
Citi                                             $7.17                    $7.43                  3.63%                    sell           sell
Commerzbank                                      $8.82                    $9.38                  6.35%                   hold           hold
Credit Suisse                                    $6.60                    $6.65                  0.76%              underperform    underperform
Day by Day                                       $4.52                                                                    sell          hold
DZ Bank AG Research                              $7.65                    $8.39                  9.67%                   hold           hold
Goldman Sachs                                    $9.09                    $9.09                  0.00%                 neutral         neutral
Grupo Santander                                  $4.40                    $4.40                  0.00%               underweight     underweight
HSBC                                             $6.89                    $6.89                  0.00%                   hold           hold
Independent Research GmbH                        $6.78                    $7.54                 11.21%                    sell           sell
ISS-EVA                                                                                                              underweight     underweight
JP Morgan                                        $6.66                    $7.76                 16.52%                 neutral         neutral
Keefe Bruyette & Woods                           $5.53                    $5.52                 -0.18%              underperform    underperform
Kepler Cheuvreux                                 $7.78                    $7.74                 -0.51%                   hold           hold
M.M.Warburg Co.                                  $8.36                    $8.36                  0.00%                   hold           hold
Mediobanca                                       $6.39                    $7.09                 10.95%              underperform    underperform
Morgan Stanley                                   $6.68                    $6.62                 -0.90%          Underwt/AttractiveUnderwt/Attractive
Morningstar                                     $10.01                    $9.95                 -0.60%                   hold           hold
NORD/LB                                          $7.96                    $8.72                  9.55%                   hold           hold
Oddo BHF                                         $8.76                    $8.76                  0.00%                  reduce         reduce
Pareto Securities                                $8.81                    $8.85                  0.45%                   hold           hold
RBC Capital                                      $7.78                    $8.28                  6.43%              underperform    underperform
Redburn                                                                                                                neutral         neutral
Societe Generale                                $4.45                     $8.87                 99.33%                    sell          hold
Zacks                                           $8.00                     $8.00                  0.00%                 neutral         neutral
                 Total                          $7.23                     $7.70                  6.51%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



4/29/2020                                                                   First-Quarter 2020 Earnings Results
                                          Price Target as of       Price Target as of        % Change in Price        Pre-Event        Post-Event
Firm
                                              4/28/2020                 5/4/2020                  Target           Rating Action     Rating Action
AlphaValue/Baader Europe                         $5.15                    $5.65                    9.71%                  sell             sell
Banco Sabadell                                  $10.36                   $10.36                    0.00%                  sell             sell
Bankhaus Metzler                                 $6.07                    $6.07                    0.00%                  sell             sell
Barclays                                         $3.79                    $3.85                    1.58%             underweight       underweight
Berenberg                                        $4.89                    $4.89                    0.00%                  sell             sell
BNP Paribas Exane                                $5.41                    $5.45                    0.74%            underperform      underperform
Citi                                             $4.33                    $4.34                    0.23%                  sell             sell
Commerzbank                                      $6.49                    $7.66                   18.03%                 hold             hold
Credit Suisse                                    $5.41                    $5.47                    1.11%            underperform      underperform
Day by Day                                       $4.15                    $4.85                   16.87%                  sell             sell
DZ Bank AG Research                              $5.95                    $6.51                    9.41%                 hold             hold
Goldman Sachs                                    $7.14                    $7.14                    0.00%               neutral           neutral
Grupo Santander                                  $4.33                    $4.33                    0.00%             underweight       underweight
HSBC                                             $6.18                    $6.21                    0.49%                 hold             hold
Independent Research GmbH                        $6.08                    $6.12                    0.66%                  sell             sell
ISS-EVA                                                                                                              underweight       underweight
JP Morgan                                       $6.49                    $6.89                    6.16%                neutral           neutral
Keefe Bruyette & Woods                          $3.25                    $3.25                    0.00%             underperform      underperform
Kepler Cheuvreux                                $4.37                    $4.37                    0.00%                  hold             hold
M.M.Warburg Co.                                 $8.36                    $8.36                    0.00%                  hold             hold
Mediobanca                                      $4.98                    $4.98                    0.00%             underperform      underperform
Morgan Stanley                                  $6.49                    $6.51                    0.31%           Underwt/AttractiveUnderwt/Attractive
Morningstar                                     $7.60                    $7.66                    0.79%                  hold             hold
NORD/LB                                         $7.03                    $7.66                    8.96%                  hold             hold
Oddo BHF                                        $5.84                    $5.84                     0.00%                reduce           reduce
Pareto Securities                               $8.66                    $8.72                    0.69%                  hold             hold
RBC Capital                                     $5.43                    $6.59                    21.36%            underperform      underperform
Redburn                                                                                                                neutral           neutral
Societe Generale                                $7.04                    $7.66                    8.81%                  hold             hold
Zacks                                           $6.50                    $6.50                    0.00%                neutral           neutral
                 Total                          $5.99                    $6.21                    3.65%




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Deutsche Bank AG
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



7/29/2020                                                                  Second-Quarter 2020 Earnings Results
                                          Price Target as of       Price Target as of       % Change in Price         Pre-Event        Post-Event
Firm
                                              7/28/2020                 8/3/2020                 Target            Rating Action     Rating Action
AlphaValue/Baader Europe                         $6.26                    $6.13                  -2.08%                   sell             sell
Banco Sabadell                                  $10.36                   $10.36                   0.00%                   sell             sell
Bankhaus Metzler                                 $6.87                    $6.87                   0.00%                   sell             sell
Barclays                                         $5.18                    $5.30                   2.32%              underweight       underweight
Berenberg                                        $5.15                    $5.15                   0.00%                   sell             sell
BNP Paribas Exane                                $5.87                    $5.89                   0.34%             underperform      underperform
Citi                                             $8.58                    $8.83                   2.91%                   sell             sell
Commerzbank                                      $7.98                    $8.24                   3.26%                  hold             hold
Credit Suisse                                    $5.72                    $6.49                  13.46%             underperform      underperform
Day by Day                                                                                                               hold             hold
DZ Bank AG Research                             $9.02                   $9.42                     4.43%                  hold             hold
Goldman Sachs                                   $7.14                   $7.14                     0.00%                neutral           neutral
Grupo Santander                                 $4.70                   $4.70                     0.00%              underweight       underweight
HSBC                                            $8.00                   $8.00                     0.00%                  hold             hold
Independent Research GmbH                       $6.12                   $7.91                    29.25%                   sell             sell
ISS-EVA                                                                                                              underweight       underweight
JP Morgan                                       $7.84                   $8.24                     5.10%                neutral           neutral
Keefe Bruyette & Woods                          $6.80                   $7.06                     3.82%             underperform      underperform
Kepler Cheuvreux                                $7.34                   $8.22                    11.99%                 reduce           reduce
M.M.Warburg Co.                                 $9.04                   $9.04                     0.00%                  hold             hold
Mediobanca                                      $5.84                   $6.14                     5.14%             underperform      underperform
Morgan Stanley                                  $8.06                   $8.83                     9.55%           Underwt/AttractiveUnderwt/Attractive
Morningstar                                     $7.60                   $9.50                    25.00%                   sell            hold
NORD/LB                                         $7.66                   $9.07                    18.41%                  hold             hold
Oddo BHF                                        $6.08                   $6.08                     0.00%                 reduce           reduce
Pareto Securities                               $9.05                   $9.42                    4.09%                   hold             hold
RBC Capital                                     $7.90                   $8.24                     4.30%             underperform      underperform
Redburn                                                                                                                neutral           neutral
Societe Generale                                $8.57                   $8.58                    0.12%                    sell             sell
Zacks                                           $6.50                   $11.80                   81.54%                neutral           neutral
                 Total                          $7.23                    $7.80                   7.90%




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Exhibit 6
Deutsche Bank AG
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                              Company (Filer)                Received     Period
    1           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/13/2017
    2           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/15/2017
    3           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/15/2017
    4           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/17/2017
    5           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/17/2017
    6           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017
    7           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017
    8        IRANNOTICE        DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017
    9            20-F          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017   12/31/2016
   10            6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017    3/20/2017
   11            FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2017
   12           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/21/2017
   13           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/21/2017
   14           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/23/2017
   15           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/23/2017
   16           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/27/2017
   17           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/27/2017
   18           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/28/2017
   19           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/29/2017
   20            6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/29/2017    3/1/2017
   21            6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/29/2017    3/1/2017
   22           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/29/2017
   23           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2017
   24           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2017
   25           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/3/2017
   26           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/5/2017
   27           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/5/2017
   28           424B5          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/7/2017
   29            FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/7/2017
   30           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/7/2017
   31           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/10/2017
   32           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/11/2017
   33           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/12/2017
   34            FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/13/2017
   35           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/13/2017
   36           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/17/2017
   37            6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/18/2017   4/18/2017
   38            F-N           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/19/2017
   39             F-4          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/19/2017
   40           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2017
   41           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/26/2017
   42           424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/27/2017
   43            6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/27/2017   4/27/2017
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   44           SC 13D                                                              5/2/2017
                               SITUATIONS DEDICATED FUND)
   45            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/2/2017
   46            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/3/2017
   47            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/3/2017




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 Count        Form Type                              Company (Filer)                Received     Period
   48             6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/5/2017    5/5/2017
   49            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/8/2017
   50            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/8/2017
   51             6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/9/2017    5/9/2017
   52            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/10/2017
   53            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/10/2017
   54            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/11/2017
   55            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/12/2017
   56            424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/12/2017
   57           EFFECT         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/12/2017
   58            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/15/2017
   59            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   60            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   61            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   62            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   63            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   64            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   65             FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/16/2017
   66            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/17/2017
   67            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/17/2017
   68            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/18/2017
   69            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/18/2017
   70            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/18/2017
   71            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/19/2017
   72            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/22/2017
   73            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/22/2017
   74             6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/22/2017   5/22/2017
   75            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2017
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   76          SC 13D/A                                                             5/23/2017
                               SITUATIONS DEDICATED FUND)
   77            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2017
   78            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2017
   79            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2017
   80            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2017
   81            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/25/2017
   82            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/25/2017
   83            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/25/2017
   84            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/26/2017
   85            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/30/2017
   86            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/30/2017
   87            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   88            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   89            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   90            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   91            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   92            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2017
   93            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/1/2017
   94            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/1/2017
   95            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/1/2017
   96            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/2/2017
   97            424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/5/2017



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    98           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
    99           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   100           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   101           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   102           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   103           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   104           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/6/2017
   105           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/7/2017
   106           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/7/2017
   107           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/8/2017
   108           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/8/2017
   109           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        6/9/2017
   110           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/12/2017
   111           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   112           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   113           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   114           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   115           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   116           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/13/2017
   117           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/14/2017
   118           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/19/2017
   119           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   120           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   121           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   122           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   123           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   124           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   125           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/20/2017
   126           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/21/2017
   127            F-N          DEUTSCHE BANK AKTIENGESELLSCHAFT       6/22/2017
   128            F-3          DEUTSCHE BANK AKTIENGESELLSCHAFT       6/22/2017
   129           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/22/2017
   130           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/26/2017
   131           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/26/2017
   132           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       6/30/2017
   133           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/3/2017
   134          EFFECT         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/3/2017
   135           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/5/2017
   136           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   137           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   138           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   139           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   140           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   141           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   142            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017    7/6/2017
   143           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/6/2017
   144           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/7/2017
   145           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        7/7/2017
   146           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/10/2017
   147            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/10/2017   7/31/2017




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 Count        Form Type                             Company (Filer)   Received     Period
   148           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   149           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   150           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   151           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   152           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   153            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   154            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/11/2017
   155           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   156           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   157           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   158           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   159           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   160           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   161           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   162           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/12/2017
   163           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/13/2017
   164           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/13/2017
   165           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/13/2017
   166           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/13/2017
   167           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   168           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   169           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   170           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   171           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   172           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/14/2017
   173           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/17/2017
   174           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/17/2017
   175            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/17/2017
   176           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/17/2017
   177           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/18/2017
   178           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/18/2017
   179           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/18/2017
   180           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/18/2017
   181           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/19/2017
   182            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/19/2017
   183           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/19/2017
   184           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/21/2017
   185            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/25/2017
   186           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/25/2017
   187           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/26/2017
   188           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/26/2017
   189            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT       7/27/2017   7/27/2017
   190           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/28/2017
   191           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       7/28/2017
   192           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/1/2017
   193           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/1/2017
   194           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/1/2017
   195           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/1/2017
   196           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/2/2017
   197           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/2/2017




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   198           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/2/2017
   199           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/7/2017
   200           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   201           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   202           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   203           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   204           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   205           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/8/2017
   206           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/9/2017
   207           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        8/9/2017
   208            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       8/10/2017
   209           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/10/2017
   210           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/10/2017
   211           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/11/2017
   212           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/11/2017
   213            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       8/11/2017
   214           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/11/2017
   215           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/11/2017
   216           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   217           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   218           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   219           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   220           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   221           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/14/2017
   222           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/15/2017
   223           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/15/2017
   224           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/16/2017
   225           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/16/2017
   226           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/16/2017
   227           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/16/2017
   228           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/17/2017
   229           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/21/2017
   230           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/21/2017
   231           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/22/2017
   232           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/22/2017
   233           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/22/2017
   234           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/23/2017
   235           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/23/2017
   236           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/23/2017
   237           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/23/2017
   238           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/25/2017
   239           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/25/2017
   240           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/28/2017
   241           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/28/2017
   242           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/28/2017
   243           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/28/2017
   244           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/29/2017
   245           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/29/2017
   246           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/29/2017
   247           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/29/2017




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   248            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       8/30/2017
   249           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/30/2017
   250           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       8/30/2017
   251           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/1/2017
   252           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/1/2017
   253           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/1/2017
   254           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/6/2017
   255           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/6/2017
   256           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/7/2017
   257           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        9/8/2017
   258           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/13/2017
   259           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/13/2017
   260           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/13/2017
   261           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/13/2017
   262            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       9/15/2017
   263           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/15/2017
   264           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/18/2017
   265           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/18/2017
   266           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/19/2017
   267           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/19/2017
   268           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/19/2017
   269           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/19/2017
   270            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       9/19/2017
   271           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/20/2017
   272           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/22/2017
   273           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/22/2017
   274           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/22/2017
   275           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/26/2017
   276           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/26/2017
   277           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   278           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   279           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   280           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   281           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   282           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   283           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   284           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   285           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/27/2017
   286           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/28/2017
   287           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/28/2017
   288           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/28/2017
   289           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/28/2017
   290           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/29/2017
   291           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/2/2017
   292           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/2/2017
   293           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/2/2017
   294           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/3/2017
   295           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/3/2017
   296           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/3/2017
   297           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/3/2017




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 Count        Form Type                             Company (Filer)   Received      Period
   298           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/3/2017
   299           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/3/2017
   300           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/4/2017
   301           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/5/2017
   302           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/5/2017
   303           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/6/2017
   304           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        10/6/2017
   305           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   306           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   307           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   308           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   309           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   310           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   311           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   312           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/10/2017
   313           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/12/2017
   314           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/12/2017
   315           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   316           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   317           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   318           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   319           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   320           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/13/2017
   321           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/16/2017
   322           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/16/2017
   323           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/16/2017
   324           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/17/2017
   325           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/17/2017
   326           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/18/2017
   327           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/19/2017
   328           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/23/2017
   329           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/25/2017
   330           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/26/2017
   331           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/26/2017
   332            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT       10/26/2017   10/26/2017
   333           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/27/2017
   334           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/27/2017
   335           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/30/2017
   336           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   337           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   338           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   339           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   340           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   341           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       10/31/2017
   342           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        11/1/2017
   343           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        11/2/2017
   344           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        11/2/2017
   345            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT        11/3/2017   11/3/2017
   346           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        11/6/2017
   347           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        11/6/2017




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 Count        Form Type                               Company (Filer)              Received      Period
   348           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/6/2017
   349           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/6/2017
   350           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/7/2017
   351           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/7/2017
   352           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   353           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   354           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   355           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   356           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   357           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   358           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   359           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/8/2017
   360           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/9/2017
   361           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/9/2017
   362           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/9/2017
   363           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/9/2017
   364           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/13/2017
   365           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/13/2017
   366           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/13/2017
   367           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/13/2017
   368           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   369           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   370           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   371           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   372           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   373           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   374           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   375            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   376            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/14/2017
   377           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/15/2017
   378           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/15/2017
   379          25-NSE         DEUTSCHE BANK AKTIENGESELLSCHAFT(NYSE ARCA, INC.)   11/15/2017
   380           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/17/2017
   381           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/20/2017
   382           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/21/2017
   383           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/21/2017
   384           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/21/2017
   385           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/21/2017
   386           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/21/2017
   387           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/22/2017
   388           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/27/2017
   389            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/28/2017
   390           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/28/2017
   391            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/28/2017   11/28/2017
   392           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/29/2017
   393           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/29/2017
   394           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/29/2017
   395           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/30/2017
   396           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    11/30/2017
   397           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/1/2017




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   398           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017
   399           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017
   400            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017   12/1/2017
   401            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017   12/1/2017
   402           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017
   403           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017
   404           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/1/2017
   405           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/4/2017
   406           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/4/2017
   407           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/4/2017
   408           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/4/2017
   409           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/5/2017
   410           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/5/2017
   411           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      12/8/2017
   412           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   413           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   414           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   415           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   416           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   417           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/11/2017
   418           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/12/2017
   419           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/12/2017
   420           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/12/2017
   421           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/12/2017
   422           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/12/2017
   423           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/14/2017
   424           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/14/2017
   425           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/18/2017
   426           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/20/2017
   427           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/20/2017
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   428         SC 13D/A                                                             12/21/2017
                               SITUATIONS DEDICATED FUND)
   429           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/22/2017
   430           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/22/2017
   431           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/22/2017
   432           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/22/2017
   433           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/22/2017
   434           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/26/2017
   435           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/26/2017
   436           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/26/2017
   437           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/27/2017
   438           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/27/2017
   439           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/27/2017
   440           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     12/28/2017
   441           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/4/2018
   442           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/4/2018
   443           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/5/2018
   444            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/5/2018     1/5/2018
   445           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/5/2018
   446           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/8/2018
   447           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      1/9/2018



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 Count        Form Type                             Company (Filer)   Received      Period
   448           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        1/9/2018
   449           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        1/9/2018
   450           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT        1/9/2018
   451           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   452           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   453           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   454           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   455           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   456           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/10/2018
   457           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/11/2018
   458           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/11/2018
   459           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/12/2018
   460           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/12/2018
   461           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/12/2018
   462           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/12/2018
   463           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/12/2018
   464           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/16/2018
   465           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/16/2018
   466           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/16/2018
   467           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/16/2018
   468           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/16/2018
   469           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/17/2018
   470           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/17/2018
   471           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/17/2018
   472            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT       1/17/2018    1/17/2018
   473           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/18/2018
   474            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       1/18/2018
   475            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       1/18/2018
   476           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/19/2018
   477           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/19/2018
   478           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/19/2018
   479           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/19/2018
   480           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/23/2018
   481           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/23/2018
   482           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/24/2018
   483           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/24/2018
   484           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/25/2018
   485           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/25/2018
   486           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/25/2018
   487           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/25/2018
   488           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/25/2018
   489           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/26/2018
   490           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/26/2018
   491           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/26/2018
   492           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/29/2018
   493           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/29/2018
   494           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/29/2018
   495           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/29/2018
   496           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/29/2018
   497           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       1/30/2018




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 Count        Form Type                              Company (Filer)              Received      Period
   498          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/30/2018
   499         SC 13G/A        DEUTSCHE BANK AKTIENGESELLSCHAFT(BLACKROCK INC.)   1/30/2018
   500          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/30/2018
   501          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/30/2018
   502          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   503          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   504          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   505          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   506          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   507          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   508          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   509          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   1/31/2018
   510          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/1/2018
   511          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/1/2018
   512          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   513          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   514           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   515          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   516           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   517           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   518           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/2/2018
   519           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/5/2018
   520          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/5/2018
   521           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/5/2018     2/2/2018
   522          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   523          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   524          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   525           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   526          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   527          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   528          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   529          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   530          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   531          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   532          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/6/2018
   533          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/7/2018
   534          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/7/2018
   535          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/7/2018
   536          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/7/2018
   537          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/8/2018
   538          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/8/2018
   539          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/8/2018
   540          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/8/2018
   541          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/8/2018
   542          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/9/2018
   543          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/9/2018
   544          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/9/2018
   545          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                    2/9/2018
   546          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   2/12/2018
   547          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                   2/12/2018




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Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                              Company (Filer)                Received      Period
   548           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/12/2018
   549           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/12/2018
   550           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/13/2018
   551           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/14/2018
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   552         SC 13D/A                                                             2/15/2018
                               SITUATIONS DEDICATED FUND)
   553           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/16/2018
   554           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/16/2018
   555           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/21/2018
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(NEW YORK STOCK
   556          25-NSE                                                              2/21/2018
                               EXCHANGE LLC)
   557           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/21/2018
   558           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/21/2018
   559           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/22/2018
   560            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/23/2018
   561            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/23/2018
   562           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/26/2018
   563           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/26/2018
   564           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/26/2018
   565           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/26/2018
   566           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   567           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   568           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   569           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   570           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   571           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   572            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/27/2018
   573            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   574           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   575            F-N          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   576           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   577             S-8         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   578            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   579           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   580           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     2/28/2018
   581           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/1/2018
   582           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/2/2018
   583           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/2/2018
   584           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/5/2018
   585            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   586           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   587           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   588           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   589           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   590           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   591           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   592           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/6/2018
   593            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/7/2018
   594           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/7/2018
   595            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/7/2018
   596           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/7/2018



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 Count        Form Type                              Company (Filer)                Received      Period
   597           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/7/2018
   598          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/8/2018
   599          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/8/2018
   600           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/8/2018
   601          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/8/2018
   602          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/9/2018
   603           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/9/2018
   604           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      3/9/2018
   605           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/13/2018    3/13/2018
   606          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/13/2018
   607          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/13/2018
   608       IRANNOTICE        DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/16/2018
   609           20-F          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/16/2018    12/31/2017
   610           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/16/2018
   611          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/16/2018
   612          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/19/2018
   613          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2018
   614          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/20/2018
   615          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/22/2018
   616           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/23/2018    3/19/2018
   617           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/23/2018    3/20/2018
   618          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/28/2018
   619          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2018
   620          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2018
   621          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2018
   622          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/30/2018
   623          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/2/2018
   624          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/2/2018
   625           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/3/2018
   626           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/3/2018
   627           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/5/2018     4/5/2018
   628           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/9/2018     4/9/2018
   629          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/10/2018
   630          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/11/2018
   631          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/12/2018
   632          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/16/2018
   633          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/16/2018
   634          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/16/2018
   635          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/16/2018
   636          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/17/2018
   637           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/17/2018
   638           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/19/2018
   639           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/19/2018
   640          424B3          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/19/2018
   641           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/20/2018    4/20/2018
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   642         SC 13D/A                                                             4/20/2018
                               SITUATIONS DEDICATED FUND)
   643           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/20/2018
   644            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/20/2018
   645           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/23/2018
   646           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/23/2018



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 Count        Form Type                              Company (Filer)                Received      Period
   647           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
   648           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
   649           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
   650           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
   651           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
   652           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/24/2018
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   653         SC 13D/A                                                             4/26/2018
                               SITUATIONS DEDICATED FUND)
   654           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/26/2018
   655           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/27/2018
   656            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/27/2018    4/26/2018
   657           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/27/2018
   658           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/30/2018
   659           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/30/2018
   660           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/1/2018
   661           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/1/2018
   662           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/1/2018
   663          25-NSE         DEUTSCHE BANK AKTIENGESELLSCHAFT(NYSE ARCA, INC.)     5/1/2018
   664           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/1/2018
   665           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   666            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018     5/2/2018
   667            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   668           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   669            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   670           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   671            F-N          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   672             F-4         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/2/2018
   673           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/4/2018
   674           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/8/2018
   675           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/9/2018
   676           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/10/2018
   677           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/14/2018
   678           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/14/2018
   679           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/15/2018
   680           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/17/2018
   681           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2018
   682           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/23/2018
   683           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/24/2018
   684           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/24/2018
   685            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/24/2018    5/24/2018
   686            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/25/2018    5/25/2018
   687           F-4/A         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/29/2018
   688           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/30/2018
   689           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/30/2018
   690            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/30/2018    5/30/2018
   691           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2018
   692          EFFECT         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/31/2018
   693            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/1/2018     6/1/2018
   694           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/4/2018
   695            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      6/6/2018     6/6/2018
   696           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     6/12/2018



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 Count        Form Type                               Company (Filer)              Received       Period
   697           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/10/2018
   698           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/11/2018
   699           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/13/2018
   700            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/16/2018    7/16/2018
   701           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/17/2018
   702           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/17/2018
   703           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/17/2018
   704           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/17/2018
   705           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/17/2018
   706           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/18/2018
   707            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/24/2018    7/23/2018
   708            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/25/2018    7/25/2017
   709            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/27/2018    7/27/2018
   710            F-N          DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/30/2018
   711             F-3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     7/30/2018
   712           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      8/7/2018
   713           F-3/A         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/14/2018
   714          25-NSE         DEUTSCHE BANK AKTIENGESELLSCHAFT(NYSE ARCA, INC.)    8/15/2018
   715           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/15/2018
   716           F-3/A         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/17/2018
   717           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/20/2018
   718            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018    8/20/2018
   719           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018
   720           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018
   721           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018
   722           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018
   723          EFFECT         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/21/2018
   724           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/22/2018
   725           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/22/2018
   726          25-NSE         DEUTSCHE BANK AKTIENGESELLSCHAFT(NYSE ARCA, INC.)    8/23/2018
   727           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/31/2018
   728           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/31/2018
   729           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     8/31/2018
   730           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      9/5/2018
   731           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     9/10/2018
   732           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     9/19/2018
   733           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     9/19/2018
   734           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     9/21/2018
   735           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     9/24/2018
   736           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/1/2018
   737            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/2/2018
   738            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/2/2018
   739           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/3/2018
   740           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/3/2018
   741           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/3/2018
   742           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/9/2018
   743           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    10/10/2018
   744           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    10/11/2018
   745           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    10/15/2018
   746           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                    10/15/2018




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 Count        Form Type                              Company (Filer)                Received       Period
   747          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/15/2018
   748          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/17/2018
   749          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/17/2018
   750          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/17/2018
   751          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/22/2018
   752          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/22/2018
   753          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/22/2018
   754           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/24/2018    10/24/2018
   755          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/24/2018
   756          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/24/2018
   757          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/24/2018
   758           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/26/2018    10/26/2018
   759           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/29/2018    10/29/2018
   760          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     10/31/2018
   761           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                      11/1/2018    11/1/2018
   762          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/13/2018
   763          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/16/2018
   764          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/19/2018
   765          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/21/2018
   766          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     11/26/2018
   767          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                       2/1/2019
   768           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                       2/1/2019     2/1/2019
   769         SC 13G/A        DEUTSCHE BANK AKTIENGESELLSCHAFT(BLACKROCK INC.)       2/4/2019
   770           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                       2/4/2019     2/4/2019
   771          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                       2/5/2019
   772           FWP           DEUTSCHE BANK AKTIENGESELLSCHAFT                      2/11/2019
   773          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                      2/13/2019
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   774         SC 13D/A                                                             2/15/2019
                               SITUATIONS DEDICATED FUND)
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   775         SC 13D/A                                                             3/15/2019
                               SITUATIONS DEDICATED FUND)
   776           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/18/2019     3/18/2019
   777          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/19/2019
   778          424B2          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/21/2019
   779           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/21/2019      3/20/2019
   780           20-F          DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/25/2019     12/31/2018
   781       IRANNOTICE        DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/25/2019
   782           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/25/2019      3/22/2019
   783           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/28/2019     12/31/2018
   784           6-K           DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/28/2019     12/31/2018
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(C-QUADRAT SPECIAL
   785         SC 13D/A                                                             3/28/2019
                               SITUATIONS DEDICATED FUND)
   786           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     3/29/2019
   787           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/2/2019
   788             25          DEUTSCHE BANK AKTIENGESELLSCHAFT                      4/2/2019
   789            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/15/2019     4/12/2019
   790           424B3         DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/22/2019
   791            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/26/2019     3/31/2019
   792            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                     4/30/2019     4/30/2019
   793            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                      5/9/2019      5/9/2019
   794           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                     5/20/2019




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Deutsche Bank AG
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                              Company (Filer)                      Received       Period
   795           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                            5/22/2019
   796            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            5/28/2019     5/24/2019
   797            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                             7/9/2019      7/9/2019
   798            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            7/24/2019     6/30/2019
   799            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            7/25/2019     7/25/2019
   800            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            7/29/2019     7/26/2019
   801            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           10/15/2019    10/15/2019
   802            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           10/28/2019    10/28/2019
   803            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           10/30/2019     9/30/2019
   804            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           11/19/2019    11/19/2019
   805           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           11/21/2019
   806            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                           11/22/2019
   807           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           11/25/2019
   808            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                            12/4/2019
   809           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                            12/5/2019
   810            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           12/11/2019    12/11/2019
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(NEW YORK STOCK
   811          25-NSE                                                                    12/31/2019
                               EXCHANGE LLC)
   812            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           1/30/2020     1/30/2020
   813            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            2/3/2020      2/3/2020
   814         SC 13G/A        DEUTSCHE BANK AKTIENGESELLSCHAFT(BLACKROCK INC.)            2/5/2020
   815            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            2/7/2020      2/7/2020
   816           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/10/2020
   817            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/10/2020     2/10/2020
   818            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/12/2020
   819           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/13/2020
   820            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/14/2020     2/14/2020
   821           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           2/14/2020
   822            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           3/13/2020     3/13/2020
   823       IRANNOTICE        DEUTSCHE BANK AKTIENGESELLSCHAFT                           3/20/2020
   824            20-F         DEUTSCHE BANK AKTIENGESELLSCHAFT                           3/20/2020     12/31/2019
   825            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           3/24/2020      3/24/2020
   826           6-K/A         DEUTSCHE BANK AKTIENGESELLSCHAFT                           3/25/2020      3/25/2020
   827            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           4/14/2020      4/14/2020
   828            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           4/28/2020      4/28/2020
   829            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           4/29/2020      3/31/2020
   830          25-NSE         DEUTSCHE BANK AKTIENGESELLSCHAFT(NYSE ARCA, INC.)          5/20/2020
   831            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           5/22/2020     5/22/2020
                               DEUTSCHE BANK AKTIENGESELLSCHAFT(NEW YORK STOCK
   832          25-NSE                                                                    5/27/2020
                               EXCHANGE LLC)
                               DEUTSCHE BANK CONTINGENT CAPITAL TRUST II(NEW YORK STOCK
   833          25-NSE                                                                    5/27/2020
                               EXCHANGE LLC)
   834           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           6/29/2020
   835            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           6/29/2020     6/29/2020
   836            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT                           6/30/2020
   837           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                            7/1/2020
   838            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                            7/8/2020      7/8/2020
   839            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           7/22/2020     7/21/2020
   840            6-K          DEUTSCHE BANK AKTIENGESELLSCHAFT                           7/29/2020     6/30/2020
   841           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           9/10/2020
   842           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT                           9/10/2020




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Exhibit 6
Deutsche Bank AG
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                             Company (Filer)   Received      Period
   843            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       9/11/2020
   844            FWP          DEUTSCHE BANK AKTIENGESELLSCHAFT       9/11/2020
   845           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/14/2020
   846           424B2         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/14/2020
   847         40-APP/A        DEUTSCHE BANK AKTIENGESELLSCHAFT       9/24/2020
   848          40-APP         DEUTSCHE BANK AKTIENGESELLSCHAFT       9/24/2020




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Exhibit 7
Deutsche Bank AG
Market Maker Activity from 3/2017 to 9/2020
Source: Bloomberg ( DB US Equity <GO>, BAS <GO> )

 Number       Code                    Market Maker               Volume
   1         MSCO     MORGAN STANLEY & CO., INCORPOR          145,232,420
   2         LEHM     BARCLAYS CAPITAL INC.                   115,271,644
   3         TRCM     TRC MARKETS LLC                          89,586,461
   4          LIME    LIME BROKERAGE LLC                       70,247,325
   5          INCA    INSTINET CORPORATION                     30,344,321
   6         TRBT     TRADEBOT SYSTEMS, INC.                   23,407,044
   7          UBSS    UBS SECURITIES LLC.                      21,473,596
   8          IBKR    INTERACTIVE BROKERS LLC                  21,171,155
   9         TSSM     TWO SIGMA SECURITIES                     19,400,066
   10         FQLS    QUANTLAB SECURITIES LP                   16,348,122
   11        GSCO     GOLDMAN SACHS                            12,699,694
   12        VALX                                              11,128,736
   13         NFSC    NATIONAL FINANCIAL SERVICES LL           7,887,828
   14         JMPT    JUMP TRADING, LLC                         6,940,930
   15        GEBB     GLOBAL EXECUTION BROKERS, LP              6,322,701
   16         JPMS    J.P. MORGAN SECURITIES INC.              5,931,549
   17         NITE    VIRTU AMERICAS LLC                       5,698,034
   18        OLDM     OLD MISSION CAPITAL, LLC                  5,410,550
   19         NITP    VIRTU AMERICAS LLC                       4,869,813
   20         GSCS    GOLDMAN, SACHS & CO.                      3,973,248
   21         SBSH    CITIGROUP GLOBAL MARKETS INC.             3,547,066
   22        DCHF     DART EXECUTIONS, LLC                      3,454,563
   23        VALR                                              3,177,520
   24         ETBE    ELECTRONIC TRANSACTION CLEARING, INC.     3,154,804
   25        DBAB     DEUTSCHE BANK SECURITIES INC.            2,927,831
   26         GSLT    GOLDMAN SACHS & CO. LLC                   2,490,228
   27        BKMM     BNY MELLON CAPITAL MARKETS, LLC          2,022,962
   28         GTSZ    GTS SECURITIES LLC                       1,807,741
   29         ETRS    E*TRADE CLEARING LLC                     1,804,969
   30        HSBC     HSBC SECURITIES (USA) INC.               1,437,229
   31          JEFF   JEFFERIES & COMPANY, INC.                1,397,661
   32        CPEM     CLEARPOOL EXECUTION SERVICES, LLC         1,322,701
   33        DUST                                              1,161,328
   34          ITGI   ITG INC.                                 1,044,359
   35        QLBR                                              1,024,535
   36         DFIN    ELECTRONIC BROKERAGE SYSTEMS, LLC         1,016,675
   37        WEXM     WOLVERINE EXECUTION SERVICES, LLC          981,812
   38         SPDR    SPEEDROUTE LLC                             976,854
   39        CMTT     CMT TRADING LLC                            967,612
   40        WCHV     WELLS FARGO SECURITIES, LLC                930,192
   41         FRET    FOX RIVER EXECUTION TEHNOLOGY, LLC         867,723
   42         SUNI    SUN TRADING, LLC                           830,308
   43        OHOS     TWO SIGMA SECURITIES, LLC                  797,052
   44         INJX    INSTINET, LLC                              563,781
   45        WBPX     WHITE BAY PT LLC                           438,288
   46          SSIC   SCOTTRADE, INC.                            431,830
   47        BERN     SANFORD C. BERNSTEIN AND CO. I             422,696
   48        WEXX     WOLVERINE EXECUTION SERVICES,              413,285
   49        FOXB                                                394,869
   50        NQRB     BRUT, LLC                                  362,673



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Exhibit 7
Deutsche Bank AG
Market Maker Activity from 3/2017 to 9/2020
Source: Bloomberg ( DB US Equity <GO>, BAS <GO> )

 Number       Code                    Market Maker                  Volume
    51        ETEJ    ELECTRONIC TRANSACTION CLEARING, INC.         352,263
    52        LSCI    LEK SECURITIES CORPORATION                    330,534
    53       CHAS     CHARLES SCHWAB AND CO. INC.                   310,491
    54       GTSW                                                   303,469
    55       LIWA     LIME BROKERAGE LLC                            289,749
    56       CPEX     CLEARPOOL EXECUTION SERVICES                  285,267
    57       CTLR     CUTLER GROUP, LP                              268,040
    58       BNCH     THE BENCHMARK COMPANY, LLC                    265,916
    59       PDQM     PDQ ATS. INC.                                 258,877
    60       LIWW     LIME BROKERAGE LLC                            233,624
    61       DRWC                                                   231,168
    62       MLZC     ERRILL LYNCH, PIERCE, FENNER & SMITH INCORP   203,623
    63       WSEA     WOLVERINE SECURITIES                          185,887
    64       WEDB     WEDBUSH MORGAN SECURITIES INC.                150,252
    65       CSEC     COUNTRYWIDE SECURITIES CORP                   147,917
    66       KBWI     KEEFE BRUYETTE AND WOODS INC.                 136,124
    67       BAYT     BAYPOINT TRADING LLC                          134,400
    68       ETDX     ELECTRONIC TRANSACTION CLEARING, INC.         128,996
    69       JONE     JONES AND ASSOCIATES INC.                     127,217
    70       TMBR     TIMBER HILL LLC                               120,571
    71       CODA                                                   117,592
    72        JNST                                                  93,845
    73       LIWE     LIME BROKERAGE LLC                             78,988
    74       BZYD     GOLDMAN SACHS EXECUTION & CLEARING, L.P.       66,440
    75       DRWK                                                   66,363
    76       COWN     COWEN & CO., LLC                              63,306
    77       ETBT     ELECTRONIC TRANSACTION CLEARING, INC.          38,024
    78       NEFO     NEWEDGE USA, LLC                               37,091
    79       ADAM     CANACCORD GENUITY INC                          37,000
    80       DEGS     DART EXECUTIONS, LLC                           36,877
    81       ARXS     ARXIS SECURITIES LLC                           35,128
    82       CPET     CLEARPOOL EXECUTION SERVICES, LLC              34,675
    83       PERT     PERSHING TRADING COMPANY L.P.                  34,396
    84       ETBA     ELECTRONIC TRANSACTION CLEARING, INC.          33,906
    85       VNDM     VANDHAM SECURITIES CORP.                       32,305
    86       ETFH                                                   32,000
    87       OTAA     OTA LLC                                        27,859
    88       ETDR     ELECTRONIC TRANSACTION CLEARING, INC.          27,456
    89       HAPX     HAP TRADING, LLC                               27,065
    90       HPPO     POTAMUS TRADING, LLC                           25,937
    91       IMPC     IMPERIAL CAPITAL LLC                           25,000
    92       MUFG                                                   21,890
    93        BTIG    BTIG, LLC                                     20,434
    94       BAYS     BAYES CAPITAL LLC                              20,078
    95       GARC     GARBAN CORPORATES LLC                          20,000
    96       WABR     WALL STREET ACCESS                            19,600
    97       GLPX     ACS EXECUTION SERVICES, LLC                   19,500
    98       ETFO                                                   17,150
    99       DBUL     DEUTSCHE BANK SECURITIES INC.                  16,864
   100        FILL    TRADESTATION SECURITIES, INC.                  16,276



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Exhibit 7
Deutsche Bank AG
Market Maker Activity from 3/2017 to 9/2020
Source: Bloomberg ( DB US Equity <GO>, BAS <GO> )

 Number       Code                    Market Maker            Volume
   101       ROTH     ROTH CAPITAL PARTNERS, LLC              15,306
   102       CTDL     CITADEL DERIVATIVES GROUP LLC           15,224
   103       JOTA     JUMP TRADING                            13,875
   104       MAXM     MAXIM GROUP, LLC                        13,500
   105       EGXW     BATS TRADING, INC.                      12,987
   106        AGIS    AEGIS CAPITAL CORP.                     12,950
   107       SAGL     SAGETRADER, LLC                         12,681
   108       LIWD     LIME BROKERAGE LLC                      12,463
   109        PICT    PICTET OVERSEAS INC.                    12,042
   110        STFL    STIFEL NICOLAUS                         10,437
   111       VIEW     VIEWTRADE SECURITIES, INC.              10,084
   112       LTCO     LADENBURG, THALMANN & CO. INC.          10,000
   113       SPHN     STEPHENS INC.                           10,000
   114       ETCC     ELECTRONIC TRANSACTION CLEARING, INC.    6,500
   115       EGAW     BATS TRADING, INC.                       5,767
   116       PUMA     PUMA CAPITAL, LLC                        5,200
   117       ONEL     WILLIAM O'NEIL & COMPANY                 3,500
   118       BNPX     BNP PARIBAS SECURITIES CORP.             2,900
   119       NATL     NATIONAL SECURITIES CORP.                2,800
   120       BMOC     BMO CAPITAL MARKETS                      2,601
   121       MKMP     MKM PARTNERS                             2,156
   122       ASCM     ASCENDIANT CAPITAL MARKETS, LLC          2,000
   123       MICA     SPARTAN SECURITIES GROUP LTD             2,000
   124       PATH     BENJAMIN & JEROLD BROKERAGE I, LLC       1,900
   125       CANT     CANTOR FITZGERALD & CO.                  1,802
   126       XCAP     XAMBALA CAPITAL, LLC                      800
   127       GLED     GLENDALE SECURITIES, INC.                 700
   128       ETFA     ELECTRONIC TRANSACTION CLEARING, INC.     640
   129       FLTU     FLOW TRADERS US LLC                       594
   130       LIWK     LIME BROKERAGE LLC                        576
   131       SAGC     SAGETRADER, LLC                           400
   132       LAMP     LAMPOST CAPITAL LLC                       300
   133        IEQY    CITADEL SECURITIES LLC                    200
   134       PBON     PREBON FINANCIAL PRODUCTS INC.            200
   135       MBTS     MB TRADING                                 20




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Exhibit 8A
Deutsche Bank AG
US Market Short Interest as a Percentage of Float

                                               US Short
              Date
                                        Interest vs. Float Ratio
             3/15/2017                           3.80%
             3/31/2017                           3.80%
             4/13/2017                           3.80%
             4/28/2017                           3.80%
             5/15/2017                           3.90%
             5/31/2017                           4.00%
             6/15/2017                           4.00%
             6/30/2017                           4.00%
             7/14/2017                           4.00%
             7/31/2017                           3.90%
             8/15/2017                           4.00%
             8/31/2017                           4.10%
             9/15/2017                           4.10%
             9/29/2017                           4.00%
            10/13/2017                           4.00%
            10/31/2017                           3.90%
            11/15/2017                           4.00%
            11/30/2017                           4.00%
            12/15/2017                           3.90%
            12/29/2017                           3.70%
             1/12/2018                           3.80%
             1/31/2018                           3.80%
             2/15/2018                           3.80%
             2/28/2018                           3.80%
             3/15/2018                           3.90%
             3/29/2018                           3.90%
             4/13/2018                           3.90%
             4/30/2018                           3.90%
             5/15/2018                           3.90%
             5/31/2018                           3.90%
             6/15/2018                           4.00%
             6/29/2018                           3.90%
             7/13/2018                           3.90%
             7/31/2018                           3.80%
             8/15/2018                           3.80%
             8/31/2018                           3.80%
             9/14/2018                           3.80%
             9/28/2018                           3.90%
            10/15/2018                           3.90%
            10/31/2018                           3.90%
            11/15/2018                           3.90%
            11/30/2018                           3.90%
            12/14/2018                           3.80%
            12/31/2018                           3.90%
             1/15/2019                           3.90%
             1/31/2019                           3.80%
             2/15/2019                           3.80%
             2/28/2019                           3.80%



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Exhibit 8A
Deutsche Bank AG
US Market Short Interest as a Percentage of Float

                                                        US Short
                  Date
                                                 Interest vs. Float Ratio
                3/15/2019                                 3.90%
                3/29/2019                                 3.90%
                4/15/2019                                 3.80%
                4/30/2019                                 3.70%
                5/15/2019                                 3.80%
                5/31/2019                                 3.90%
                6/14/2019                                 3.90%
                6/28/2019                                 4.00%
                7/15/2019                                 4.00%
                7/31/2019                                 4.00%
                8/15/2019                                 4.20%
                8/30/2019                                 4.20%
                9/13/2019                                 4.10%
                9/30/2019                                 4.20%
               10/15/2019                                 4.20%
               10/31/2019                                 4.20%
               11/15/2019                                 4.20%
               11/29/2019                                 4.20%
               12/13/2019                                 4.10%
               12/31/2019                                 4.10%
                1/15/2020                                 4.10%
                1/31/2020                                 4.10%
                2/14/2020                                 4.00%
                2/28/2020                                 4.00%
                3/13/2020                                 4.20%
                3/31/2020                                 3.90%
                4/15/2020                                 3.90%
                4/30/2020                                 4.00%
                5/15/2020                                 4.00%
                5/29/2020                                 3.90%
                6/15/2020                                 3.80%
                6/30/2020                                 3.90%
                7/15/2020                                 3.80%
                7/31/2020                                 3.70%
                8/14/2020                                 3.60%
                8/31/2020                                 3.60%
                9/15/2020                                 3.60%
Average:                                                  3.92%
Source: Bloomberg Short Interest vs. Float Ratio for Total US Market (SFUSTOTL)
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Exhibit 8B
Deutsche Bank AG
Short Interest
Source: Bloomberg

                                                                                                  Short Interest as % of:
                                            Change In Short     Shares
           Date            Short Interest                                        Float1         Shares
                                               Interest       Outstanding                                            Float
                                                                                              Outstanding
        3/15/2017           43,549,077                        1,544,854,000   1,544,731,446     2.82%                2.82%
        3/31/2017           42,074,908         (1,474,169)    1,379,273,000   1,379,069,499     3.05%                3.05%
        4/13/2017           25,459,546        (16,615,362)    2,066,773,000   2,066,569,499     1.23%                1.23%
        4/28/2017           21,076,933         (4,382,613)    2,066,773,000   2,066,569,499     1.02%                1.02%
        5/15/2017           21,676,519           599,586      2,066,773,000   2,066,569,499     1.05%                1.05%
        5/31/2017           25,096,300         3,419,781      2,066,773,000   2,066,569,499     1.21%                1.21%
        6/15/2017           23,922,060         (1,174,240)    2,066,773,000   2,066,569,499     1.16%                1.16%
        6/30/2017           22,346,889         (1,575,171)    2,066,773,000   2,066,569,499     1.08%                1.08%
        7/14/2017           21,937,560          (409,329)     2,066,773,000   2,066,569,499     1.06%                1.06%
        7/31/2017           24,562,229         2,624,669      2,066,773,000   2,066,569,499     1.19%                1.19%
        8/15/2017           34,910,996         10,348,767     2,066,773,000   2,066,569,499     1.69%                1.69%
        8/31/2017           39,964,187         5,053,191      2,066,773,000   2,066,569,499     1.93%                1.93%
        9/15/2017           43,679,039         3,714,852      2,066,773,000   2,066,569,499     2.11%                2.11%
        9/29/2017           44,469,087           790,048      2,066,773,000   2,066,569,499     2.15%                2.15%
        10/13/2017          40,649,134         (3,819,953)    2,066,773,000   2,066,569,499     1.97%                1.97%
        10/31/2017          45,965,288         5,316,154      2,066,773,000   2,066,569,499     2.22%                2.22%
        11/15/2017          43,214,144         (2,751,144)    2,066,773,000   2,066,569,499     2.09%                2.09%
        11/30/2017          40,111,887         (3,102,257)    2,066,773,000   2,066,569,499     1.94%                1.94%
        12/15/2017          35,167,409         (4,944,478)    2,066,773,000   2,066,569,499     1.70%                1.70%
        12/29/2017          32,827,145         (2,340,264)    2,066,773,000   2,066,449,519     1.59%                1.59%
        1/12/2018           36,157,184         3,330,039      2,066,773,000   2,066,449,519     1.75%                1.75%
        1/31/2018           29,916,899         (6,240,285)    2,066,773,000   2,066,449,519     1.45%                1.45%
        2/15/2018           36,902,218         6,985,319      2,066,773,000   2,066,449,519     1.79%                1.79%
        2/28/2018           35,508,985         (1,393,233)    2,066,773,000   2,066,449,519     1.72%                1.72%
        3/15/2018           35,970,429           461,444      2,066,773,000   2,066,449,519     1.74%                1.74%
        3/29/2018           40,303,065         4,332,636      2,066,773,000   2,066,449,519     1.95%                1.95%
        4/13/2018           39,324,503          (978,562)     2,066,773,000   2,066,449,519     1.90%                1.90%
        4/30/2018           39,360,065           35,562       2,066,773,000   2,066,449,519     1.90%                1.90%
        5/15/2018           37,672,176         (1,687,889)    2,066,773,000   2,066,449,519     1.82%                1.82%
        5/31/2018           67,943,892         30,271,716     2,066,773,000   2,066,449,519     3.29%                3.29%
        6/15/2018           70,832,148         2,888,256      2,066,773,000   2,066,449,519     3.43%                3.43%
        6/29/2018           72,332,965         1,500,817      2,066,773,000   2,066,449,519     3.50%                3.50%


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Exhibit 8B
Deutsche Bank AG
Short Interest
Source: Bloomberg

                                                                                                  Short Interest as % of:
                                            Change In Short     Shares
           Date            Short Interest                                        Float1         Shares
                                               Interest       Outstanding                                            Float
                                                                                              Outstanding
        7/13/2018           74,086,046         1,753,081      2,066,773,000   2,066,449,519     3.58%                3.59%
        7/31/2018           75,837,271         1,751,225      2,066,773,000   2,066,449,519     3.67%                3.67%
        8/15/2018           84,349,222         8,511,951      2,066,773,000   2,066,449,519     4.08%                4.08%
        8/31/2018           80,975,495         (3,373,727)    2,066,773,000   2,066,449,519     3.92%                3.92%
        9/14/2018           79,142,328         (1,833,167)    2,066,773,000   2,066,449,519     3.83%                3.83%
        9/28/2018           62,136,721        (17,005,607)    2,066,773,000   2,066,449,519     3.01%                3.01%
        10/15/2018          61,780,716          (356,005)     2,066,773,000   2,066,449,519     2.99%                2.99%
        10/31/2018          66,700,757         4,920,041      2,066,773,000   2,066,449,519     3.23%                3.23%
        11/15/2018          71,790,641         5,089,884      2,066,773,000   2,066,449,519     3.47%                3.47%
        11/30/2018          57,218,091        (14,572,550)    2,066,773,000   2,066,449,519     2.77%                2.77%
        12/14/2018          56,705,113          (512,978)     2,066,773,000   2,066,449,519     2.74%                2.74%
        12/31/2018          55,266,078         (1,439,035)    2,066,773,000   2,066,449,519     2.67%                2.67%
        1/15/2019           53,857,250         (1,408,828)    2,066,773,000   2,066,449,519     2.61%                2.61%
        1/31/2019           46,411,476         (7,445,774)    2,066,773,000   2,066,449,519     2.25%                2.25%
        2/15/2019           54,502,643         8,091,167      2,066,773,000   2,066,449,519     2.64%                2.64%
        2/28/2019           52,426,852         (2,075,791)    2,066,773,000   2,066,449,519     2.54%                2.54%
        3/15/2019           51,771,702          (655,150)     2,066,773,000   2,066,449,519     2.50%                2.51%
        3/29/2019           50,314,457         (1,457,245)    2,066,773,000   2,066,151,904     2.43%                2.44%
        4/15/2019           51,886,663         1,572,206      2,066,773,000   2,066,151,904     2.51%                2.51%
        4/30/2019           49,475,609         (2,411,054)    2,066,773,000   2,066,151,904     2.39%                2.39%
        5/15/2019           59,675,363         10,199,754     2,066,773,000   2,066,151,904     2.89%                2.89%
        5/31/2019           66,810,401         7,135,038      2,066,773,000   2,066,151,904     3.23%                3.23%
        6/14/2019           57,966,133         (8,844,268)    2,066,773,000   2,066,151,904     2.80%                2.81%
        6/28/2019           57,435,870          (530,263)     2,066,773,000   2,066,151,904     2.78%                2.78%
        7/15/2019           69,137,911         11,702,041     2,066,773,000   2,066,151,904     3.35%                3.35%
        7/31/2019           73,707,028         4,569,117      2,066,773,000   2,066,151,904     3.57%                3.57%
        8/15/2019           82,934,865         9,227,837      2,066,773,000   2,066,151,904     4.01%                4.01%
        8/30/2019           89,030,344         6,095,479      2,066,773,000   2,066,151,904     4.31%                4.31%
        9/13/2019           76,965,519        (12,064,825)    2,066,773,000   2,066,151,904     3.72%                3.73%
        9/30/2019           72,750,182         (4,215,337)    2,066,773,000   2,066,247,414     3.52%                3.52%
        10/15/2019          74,779,722         2,029,540      2,066,773,000   2,066,247,414     3.62%                3.62%
        10/31/2019          69,729,116         (5,050,606)    2,066,773,000   2,066,247,414     3.37%                3.37%


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Exhibit 8B
Deutsche Bank AG
Short Interest
Source: Bloomberg

                                                                                                                        Short Interest as % of:
                                                                  Change In Short     Shares
              Date                      Short Interest                                                 Float1         Shares
                                                                     Interest       Outstanding                                            Float
                                                                                                                    Outstanding
        11/15/2019                       71,721,345                  1,992,229      2,066,773,000   2,066,247,414     3.47%                3.47%
        11/29/2019                       69,442,421                  (2,278,924)    2,066,773,000   2,066,247,414     3.36%                3.36%
        12/13/2019                       69,834,129                    391,708      2,066,773,000   2,066,247,414     3.38%                3.38%
        12/31/2019                       68,231,102                  (1,603,027)    2,066,773,000   2,066,247,414     3.30%                3.30%
         1/15/2020                       52,926,392                 (15,304,710)    2,066,773,000   2,066,247,414     2.56%                2.56%
         1/31/2020                       56,885,138                  3,958,746      2,066,773,000   2,066,247,414     2.75%                2.75%
         2/14/2020                       62,441,564                  5,556,426      2,066,773,000   2,066,247,414     3.02%                3.02%
         2/28/2020                       65,752,136                  3,310,572      2,066,773,000   2,066,247,414     3.18%                3.18%
         3/13/2020                       86,659,946                  20,907,810     2,066,773,000   2,066,247,414     4.19%                4.19%
         3/31/2020                       75,574,382                 (11,085,564)    2,066,773,000   2,048,463,108     3.66%                3.69%
         4/15/2020                       76,026,532                    452,150      2,066,773,000   2,048,463,108     3.68%                3.71%
         4/30/2020                       79,193,299                  3,166,767      2,066,773,000   2,048,463,108     3.83%                3.87%
         5/15/2020                       78,356,059                   (837,240)     2,066,773,000   2,048,463,108     3.79%                3.83%
         5/29/2020                       72,081,623                  (6,274,436)    2,066,773,000   2,048,463,108     3.49%                3.52%
         6/15/2020                       60,263,035                 (11,818,588)    2,066,773,000   2,048,463,108     2.92%                2.94%
         6/30/2020                       59,457,359                   (805,676)     2,066,773,000   2,048,463,108     2.88%                2.90%
         7/15/2020                       55,728,588                  (3,728,771)    2,066,773,000   2,048,463,108     2.70%                2.72%
         7/31/2020                       56,034,454                    305,866      2,066,773,000   2,048,463,108     2.71%                2.74%
         8/14/2020                       56,324,866                    290,412      2,066,773,000   2,048,463,108     2.73%                2.75%
         8/31/2020                       54,952,284                  (1,372,582)    2,066,773,000   2,048,463,108     2.66%                2.68%
         9/15/2020                       55,103,757                    151,473      2,066,773,000   2,048,463,108     2.67%                2.69%
Average:                                 55,122,740                    137,556      2,052,544,541   2,049,639,025     2.69%                2.69%
Minimum:                                 21,076,933                 (17,005,607)    1,379,273,000   1,379,069,499     1.02%                1.02%
Maximum:                                 89,030,344                  30,271,716     2,066,773,000   2,066,569,499     4.31%                4.31%

[1] Float is equal to shares outstanding less insider holdings.




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float           41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                      1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                           122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                               633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                              698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                   12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Achleitner (Paul)                                                   0               0               0               0               0               0               0               0               0               0               0
Blomeyer-Bartenstein (Ludwig)                                       0               0               0               0               0               0               0               0               0           3,337           3,337
Campelli (Fabrizio)                                                 0               0               0               0               0               0               0               0               0               0               0
Carroll Clark (Mayree)                                              0               0               0               0               0               0               0               0               0          40,000          40,000
Klee (Martina)                                                  1,367           1,479           1,479           1,479           2,328           2,328           2,328           2,328           2,328           2,442           2,442
Kuhnke (Frank)                                                      0               0               0               0               0               0               0               0               0           7,094           7,094
Leukert (Bernd)                                                     0               0               0               0               0               0               0               0               0               0               0
Lewis (Stuart Wilson)                                          51,347          51,347          51,347          51,347          88,292          88,292          88,292          88,292          88,292         103,561         103,561
Mark (Henriette)                                                1,006           1,016           1,016           1,016           1,524           1,524           1,524           1,524           1,524           1,524           1,524
Platscher (Gabriele)                                            1,060           1,103           1,103           1,103           1,293           1,293           1,293           1,293           1,293           1,365           1,365
Polaschek (Detlef)                                                  0               0               0               0               0               0               0               0               0             553             553
Riley (Christiana)                                                  0               0               0               0               0               0               0               0               0               0               0
Ritchie (Garth)                                                28,778          28,778          28,778          28,778          43,227          43,227          43,227          43,227          43,227          84,738          84,738
Schuetz (Gerd Alexander)                                            0               0               0               0               0               0               0               0               0               0               0
Sewing (Christian)                                             36,249          36,249          36,249          36,249          54,356          54,356          54,356          54,356          54,356          73,237          73,237
Steinmüller (Werner)                                                0          79,792          79,792          79,792         119,688         119,688         119,688         119,688         119,688         146,905         146,905
Strauß (Frank)                                                      0               0               0               0           7,172           7,172           7,172           7,172           7,172          10,772          10,772
Thain (John A)                                                      0               0               0               0               0               0               0               0               0         100,000         100,000
Trogni (Michele Louise)                                             0               0               0               0               0               0               0               0               0          15,000          15,000
von Moltke (James)                                                  0               0               0               0               0               0               0               0               0          24,967          24,967
von Rohr (Karl)                                                 2,747           3,737           3,737           3,737           5,601           5,601           5,601           5,601           5,601           5,601           5,601
1741 Fund Solutions AG                                          8,400               0               0               0               0               0               0               0               0               0               0
1832 Asset Management L P                                           0               0               0               0               0               0               0               0               0               0               0
1919 Investment Counsel, LLC                                        0               0               0               0               0               0               0               0               0               0               0
361 Capital LLC_NLE                                             7,268           1,074               0               0               0               0               0           5,565               0               0               0
a s r vermogensbeheer                                               0               0               0               0               0               0               0         161,109         191,728         191,728         276,984
AAB Investment GmbH_NLE                                         3,000           5,000           5,000           5,000           5,000           5,000           5,000           5,000           5,000               0               0
Abante Asesores Gestión, S G I I C , S A                      110,000         110,000         110,000         110,000         110,000         110,000         110,000         110,000               0               0               0
Abeille Asset Management SA                                   780,644         789,736       1,184,355       1,194,617               0       1,158,674       1,137,896       1,144,896       1,127,564       1,107,637       1,063,344
Aberdeen Asset Investments Limited                             92,724          10,464          10,464           5,278           5,169           3,603           3,525               0               0               0               0
Aberdeen Asset Managers Ltd                                         0           8,513           4,256           4,256           4,256               0               0               0               0               0               0
Aberdeen Standard Investments (Edinburgh)                           0               0               0       3,077,670       6,360,223       6,384,641       3,879,890         142,028               0               0               0
ABN AMRO Investment Solutions (AAIS)                           75,620          53,256          73,840          71,400          63,613          76,994          63,522          45,076          47,136          46,253          46,600
abrdn Asia Limited                                                  0               0               0          26,063          22,576         166,812         483,027         259,932         259,932          41,089          46,332
ACA Asset management Company & Associés                             0               0               0               0               0           5,500               0               0               0               0               0
Acadian Asset Management LLC                                  993,285       1,128,063          18,321               0               0               0               0               0               0               0               0
ACATIS Investment Kapitalverwaltungsgesellschaft GmbH         416,000         366,000         573,500         401,000         401,000         471,000         471,000         331,000         331,000               0               0
Accuro Asset Management AG                                          0               0           6,000           6,000          13,600          13,600               0               0               0               0               0
Accuro Investment Services AG                                  10,500          10,500          10,500          10,500               0               0               0               0               0               0               0
Achmea Investment Management B V                                    0               0               0               0               0               0               0               0               0               0               0
AcomeA SGR S p A                                                    0               0           1,500           5,000           4,000               0               0               0               0               0               0
Acrospire Investment Management LLC_NLE                             0           2,237               0               0               0               0               0               0               0               0               0
ACTIAM N V                                                    400,850         390,922         445,437         590,736         584,376         603,383         576,364         696,909         732,441         847,906         821,307
Actinver Wealth Management, Inc                                     0               0               0               0               0               0               0               0               0               0               0
ActivGest S A                                                       0          18,400          27,600          27,600          27,600          23,000               0               0               0               0               0




                                                                                                                                                                                                                     Page 1 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float           44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                      2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                           525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                               921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                              559             567             570             584             578             544


Institution/Individual                                   9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Achleitner (Paul)                                                   0               0         145,000         145,000         145,000          145,000
Blomeyer-Bartenstein (Ludwig)                                   3,337           3,337           3,521           3,521           3,521            3,521
Campelli (Fabrizio)                                                 0               0          50,417          50,417          50,417           50,417
Carroll Clark (Mayree)                                         40,000          40,000          67,776          67,776          67,776           67,776
Klee (Martina)                                                  2,442           2,442           2,452           2,452           2,452            2,452
Kuhnke (Frank)                                                  7,094           7,094          15,407          15,407          15,407           15,407
Leukert (Bernd)                                                     0               0           1,500           1,500           1,500            1,500
Lewis (Stuart Wilson)                                         103,561         103,561         145,743         145,743         145,743          145,743
Mark (Henriette)                                                1,524           1,524           1,524           1,524           1,524            1,524
Platscher (Gabriele)                                            1,365           1,365           1,460           1,460           1,460            1,460
Polaschek (Detlef)                                                553             553             602             602             602              602
Riley (Christiana)                                                  0               0          43,907          43,907          43,907           43,907
Ritchie (Garth)                                                     0               0               0               0               0                0
Schuetz (Gerd Alexander)                                            0               0      17,360,894      17,360,894      17,360,894       17,360,894
Sewing (Christian)                                             73,237          73,237         114,892         114,892         114,892          114,892
Steinmüller (Werner)                                          146,905         146,905         174,035         174,035         174,035          174,035
Strauß (Frank)                                                      0               0               0               0               0                0
Thain (John A)                                                100,000         100,000         100,000         100,000         100,000          100,000
Trogni (Michele Louise)                                        15,000          15,000          15,000          15,000          15,000           15,000
von Moltke (James)                                             24,967          24,967          55,959          55,959          55,959           55,959
von Rohr (Karl)                                                 5,601           5,601           9,803           9,803           9,803            9,803
1741 Fund Solutions AG                                              0               0               0               0               0                0
1832 Asset Management L P                                           0             725             725             725             725              725
1919 Investment Counsel, LLC                                        0               0             375             375               0                0
361 Capital LLC_NLE                                                 0               0               0               0               0                0
a s r vermogensbeheer                                         274,768         286,965         326,062         330,320         345,337          353,501
AAB Investment GmbH_NLE                                             0               0               0               0               0                0
Abante Asesores Gestión, S G I I C , S A                            0               0               0               0               0                0
Abeille Asset Management SA                                 1,043,419               0               0               0               0                0
Aberdeen Asset Investments Limited                              4,396           6,925          16,994          21,933          26,518           56,026
Aberdeen Asset Managers Ltd                                         0               0               0               0               0                0
Aberdeen Standard Investments (Edinburgh)                           0               0               0               0               0                0
ABN AMRO Investment Solutions (AAIS)                           34,933          39,050          43,871          48,723          48,626           48,703
abrdn Asia Limited                                             18,710          15,653          26,383          11,222          25,034                0
ACA Asset management Company & Associés                             0               0               0               0               0                0
Acadian Asset Management LLC                                        0               0               0          16,374          46,557        1,946,381
ACATIS Investment Kapitalverwaltungsgesellschaft GmbH               0               0               0               0               0                0
Accuro Asset Management AG                                          0               0               0               0               0                0
Accuro Investment Services AG                                       0               0               0               0               0                0
Achmea Investment Management B V                                    0               0         147,454         417,269         118,674          255,275
AcomeA SGR S p A                                                    0               0               0               0               0                0
Acrospire Investment Management LLC_NLE                             0               0               0               0               0                0
ACTIAM N V                                                    780,327         782,159         714,111          65,872               0                0
Actinver Wealth Management, Inc                                     0               0               0          38,208          21,037                0
ActivGest S A                                                       0               0               0               0               0                0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%            51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554          203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698              715             721             730             721             712             644             642             613             601             570


Institution/Individual                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Adepa Asset Management S A                                     16,600          16,600               0               0               0               0               0               0               0               0               0
Advent Capital Management, LLC                                      0               0               0               0         120,000               0               0               0               0               0               0
Advisor Group, Inc                                              9,812           8,875          14,821          14,368          13,452          15,655          12,929          11,977          14,271           5,301           4,661
Advisor Partners, LLC                                               0               0               0               0               0               0               0               0               0               0               0
AdvisorNet Wealth Management                                        0               0               0               0               0               0           3,000           3,000           2,500           2,500           2,500
Advisory Invest GmbH                                            6,000           6,000           6,000           6,000           6,000           6,000           6,000           6,000           6,000           6,000           6,000
Advisory Services Network, LLC                                      0             303             503             508             205               0               0               0               0               0             542
Aegon Asset Management Ltd                                          0               0               0               0               0               0               0          28,913               0             593               0
AEGON Investment Management B V                               424,289         338,036         449,549         458,645         417,761         411,064         397,323         370,054         381,594         369,508         363,622
AG2R La Mondiale Gestion d'Actifs SA                                0               0               0               0         550,000         550,000         760,000         760,000         612,871         612,871         612,871
Agevis GmbH                                                    10,400          10,400          10,400          10,400          10,400          10,400          10,400          10,400          10,400               0               0
Agincourt Capital Management, L L C                                 0               0               0               0               0               0               0               0               0               0           7,090
AIFM Capital AB                                                     0               0               0               0               0               0               0               0               0               0               0
AIPM Azur International Portfolio Management AG                     0               0         112,000         112,000               0               0               0               0               0           7,500               0
Al Thani (Sheikh Hamad Bin Jassim Bin Jabor)               42,069,382      42,069,382      42,069,382      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580
Al Thani (Sheikh Hamad Bin Khalifa)                        42,069,382      42,069,382      42,069,382      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580
Ålandsbanken Asset Management Ab                               45,444          10,000          15,000          70,000          17,000          17,000               0               0               0               0               0
Alden Global Capital Ltd                                            0               0               0               0               0               0               0               0         229,000               0               0
Alean (Capital) Anstalt                                        20,000          20,000          20,000          20,000          20,000          20,000          30,000          30,000               0               0               0
Alera Investment Advisors, LLC                                      0               0               0               0               0               0               0               0             952           1,168               0
Aletti Gestielle SGR S p A _NLE                                     0               0               0               0               0          61,000          61,000          61,000         110,760               0               0
Alfred Berg Kapitalförvaltning AB                                   0               0               0               0               0               0               0               0               0               0               0
Algebris (UK) Limited                                               0               0               0               0               0               0               0               0               0               0         505,214
AllianceBernstein L P                                         818,650         823,498       1,114,059       1,074,455       1,293,726       1,377,600       1,300,156         657,759         742,251         690,745         692,621
Allianz Global Investors France                                44,850          44,850               0               0         150,000         150,000         150,000          20,000          20,000          20,000          20,000
Allianz Global Investors GmbH                               3,764,655       2,214,651       1,846,908       1,385,857       1,754,645       1,908,802       1,764,160       1,346,233       1,363,567         989,376         184,388
Allianz Global Investors U S LLC                                    0               0               0               0               0               0               0               0               0               0               0
Allianz Invest Kapitalanlagegesellschaft mbH                   25,000          50,000               0               0               0               0               0               0               0         192,000               0
Allspring Global Investments, LLC                              34,474          27,646          38,731          36,015           9,182           2,304               0               0               0               0               0
Alm Brand Asset Management                                     87,350          76,650               0               0               0               0               0               0               0           9,700           9,700
Alphamark Advisors, LLC                                             0               0               0               0               0               0               0               0               0               0           1,500
AlphaOne Capital Partners, LLC_NLE                                  0               0          49,300               0               0               0               0               0               0               0               0
Alpine Global Management, LLC                                       0         117,091          25,000               0               0               0               0               0               0               0               0
Alpine Group USVI, LLC                                              0               0          25,000          25,000          25,000          25,000          25,000          25,000          25,000          25,000               0
Alps Advisors, Inc                                              2,616           3,033           3,580           4,186           3,781           5,268           7,194           6,829           9,574           9,574           9,574
Alte Leipziger Trust Investment-Gesellschaft mbH              423,859         420,705          34,056         202,882         460,905         499,198         504,247         271,956         277,214          53,291         270,947
ALTKÖNIG Asset Management GmbH                                      0               0               0               0               0               0               0          54,000          54,000          58,000          58,000
Altus Wealth Group LLC                                              0               0               0               0               0               0               0               0               0               0               0
American Century Investment Management, Inc                   282,699         253,964         277,261         172,111         172,111         172,111         172,111           8,364          12,271          12,653          15,381
American Financial Group, Inc                                 160,000         239,999         239,999         239,999         164,999         164,999         164,999         164,999         164,999         164,999         164,999
American Red Cross                                             18,685          18,685          18,685          18,685          18,685          18,685          18,685          18,685               0               0               0
AMF Tjänstepension AB                                               0               0             439               0               0               0               0               0               0               0               0
Amici Capital, LLC_NLE                                          5,000               0               0               0               0               0               0               0               0               0               0
AMP Capital Investors Limited                                 467,506         563,620         824,791         764,363         707,155         730,013         689,404         660,090         624,130         646,888         646,888
Ampega Asset Management GmbH                                   15,000          15,000          15,000          15,000          15,000          15,000               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Adepa Asset Management S A                                         0               0               0               0               0               0
Advent Capital Management, LLC                                     0               0               0               0               0               0
Advisor Group, Inc                                             4,581           3,781           3,781          30,564          30,597           4,819
Advisor Partners, LLC                                              0               0               0               0               0          10,797
AdvisorNet Wealth Management                                   2,500           2,500           2,500           2,900           2,900           2,600
Advisory Invest GmbH                                               0               0               0               0               0               0
Advisory Services Network, LLC                                   542             510             772               0           1,907             150
Aegon Asset Management Ltd                                    44,041               0               0               0               0               0
AEGON Investment Management B V                              367,334         345,718         339,181         341,710         339,724         264,404
AG2R La Mondiale Gestion d'Actifs SA                         612,871         612,871         679,120         679,120         679,120         679,120
Agevis GmbH                                                        0               0               0               0               0               0
Agincourt Capital Management, L L C                            7,363           7,363           4,983           4,983           4,983           4,983
AIFM Capital AB                                                    0               0               0               0               0             336
AIPM Azur International Portfolio Management AG                    0               0               0               0               0               0
Al Thani (Sheikh Hamad Bin Jassim Bin Jabor)              63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580
Al Thani (Sheikh Hamad Bin Khalifa)                       63,036,580      63,036,580      63,036,580      63,036,580      63,036,580      63,036,580
Ålandsbanken Asset Management Ab                                   0               0               0               0               0               0
Alden Global Capital Ltd                                           0               0               0               0               0               0
Alean (Capital) Anstalt                                            0               0               0               0               0               0
Alera Investment Advisors, LLC                                     0               0               0               0               0               0
Aletti Gestielle SGR S p A _NLE                                    0               0               0               0               0               0
Alfred Berg Kapitalförvaltning AB                                  0               0               0               0          25,000          25,000
Algebris (UK) Limited                                              0               0               0               0               0               0
AllianceBernstein L P                                        685,613         679,673         843,771         712,428         718,723         673,335
Allianz Global Investors France                               20,000          20,000          20,000               0               0               0
Allianz Global Investors GmbH                                531,988         196,185         138,535         295,439         284,119         845,376
Allianz Global Investors U S LLC                                   0               0               0               0               0          62,310
Allianz Invest Kapitalanlagegesellschaft mbH                       0               0          85,000               0               0               0
Allspring Global Investments, LLC                                  0               0               0               0          31,985         784,717
Alm Brand Asset Management                                    12,738          12,738          13,253          13,820          13,820          14,239
Alphamark Advisors, LLC                                        1,500           1,500           1,500           1,500           1,500           1,500
AlphaOne Capital Partners, LLC_NLE                                 0               0               0               0               0               0
Alpine Global Management, LLC                                      0               0               0               0               0               0
Alpine Group USVI, LLC                                             0               0               0               0               0               0
Alps Advisors, Inc                                             9,574           9,574           9,574           9,574           9,574               0
Alte Leipziger Trust Investment-Gesellschaft mbH             471,277         107,273         103,432         396,941         396,941         447,066
ALTKÖNIG Asset Management GmbH                                58,000          58,000          58,000          58,000          58,000          58,000
Altus Wealth Group LLC                                             0               0               0               0               0             300
American Century Investment Management, Inc                   15,381          20,170          46,236          63,826          76,273          94,857
American Financial Group, Inc                                164,999         164,999         164,999         164,999         164,999         164,999
American Red Cross                                                 0               0               0               0               0               0
AMF Tjänstepension AB                                              0               0               0               0               0               0
Amici Capital, LLC_NLE                                             0               0               0               0               0               0
AMP Capital Investors Limited                                628,174         628,174         529,519         527,795         553,572         818,880
Ampega Asset Management GmbH                                       0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                           1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                    633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                   698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                        12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Ampega Investment GmbH                                               43,000          43,000          57,000          57,000           65,000               0             325             424              424             396          50,000
Amundi Asset Management, SAS                                     14,130,105       9,194,803      30,938,218      26,334,464       15,665,862      28,678,592      20,639,989      13,082,394       15,476,681      14,434,055      12,583,027
Amundi Deutschland GmbH                                                   0         124,357         220,035         118,123                0               0               0               0                0               0               0
AMUNDI IBERIA SGIIC SA                                               22,250          22,250          22,250          22,250          208,776         184,976               0               0                0               0               0
Amundi Ireland Limited                                               37,892          33,920          25,530          25,530           26,553          32,115          32,115               0                0               0               0
Amundi SGR SpA                                                            0         115,416               0               0                0               0               0               0                0               0               0
Analytic Investors, LLC_NLE                                               0               0          11,436          12,582           12,582          12,582          12,582          12,582                0               0               0
Andra AP-Fonden                                                      54,430          65,017          29,714               0           87,852               0               0               0                0               0               0
Andreas Meißner Vermögensmanagement GmbH                             72,000          42,000          78,000          78,000           48,000          48,000          48,000          48,000           48,000          48,000          48,000
Anima SGR S p A                                                     394,000         394,000         394,000         394,000            7,104          72,824         102,974          70,712          533,220         533,220         533,220
Anthilia Capital Partners SGR Spa                                    21,000          17,000          20,000          30,000           70,000          55,000          30,000          30,000           30,000               0               0
Aperio Group, LLC                                                   443,833         478,619         548,303         485,002          555,184         643,111         375,545         608,657          636,333         708,347         773,547
APG Asset Management N V                                          1,236,307         371,517         371,517         371,517          371,517               0               0               0                0               0               0
Apo Asset Management GmbH                                            21,700          21,700          68,900          58,400           58,350          38,168          39,800               0                0               0               0
AQR Capital Management, LLC                                          25,795         380,875       1,410,524         791,113           84,877          51,118          50,137               0                0               0               0
Aquila Asset Management ZH AG                                             0               0          15,000          15,000           15,000          23,000          23,000          23,000           23,000          23,000          23,000
AR Asset Management, Inc                                             16,000          16,000          12,000               0                0               0               0               0                0               0               0
Aramea Asset Management AG                                           37,500          37,500          50,000          58,000           70,000          79,000          75,000          85,000           85,000          95,000          45,000
ARCA Fondi SGR S p A                                                 30,633         232,249         691,392         689,093           39,543          39,543          20,440          20,440           11,152          11,152          11,152
ArcInvest AG                                                              0               0               0           2,150            2,150           2,150           2,150           2,150            2,150           2,150           2,150
Arden Asset Management LLC_NLE                                       39,231               0               0               0                0               0               0               0                0               0               0
Ardsley Advisory Partners LP                                              0               0               0               0                0               0               0               0                0               0               0
Argenta Asset Management SA                                          34,672          20,552               0               0                0               0               0               0                0               0               0
Arrowgrass Capital Partners (US) LP                                       0               0       1,000,000               0                0         474,067               0               0        1,225,000       1,110,000         872,827
Arrowstreet Capital, Limited Partnership                                  0               0               0               0                0          15,708               0               0          675,622               0               0
Artisan Partners Limited Partnership                                 19,504          19,504          24,062          18,447           18,447          18,447          18,447          18,447                0          14,445               0
ARTS Asset Management GmbH                                           59,223          15,707          23,256          23,299           23,299          23,299          23,299          21,586           21,563          21,563          23,031
Arxis Securities LLC                                                396,362               0               0               0                0               0               0               0                0               0               0
Asesores y Gestores Financieros Fondos, SGIIC, S A                   35,000          35,000          35,000          35,000           35,000          35,000               0               0                0               0               0
Ashburton Fund Managers (Proprietary) Limited                             0               0               0               0                0               0               0               0            1,850           1,850           1,850
Assenagon Asset Management S A                                       30,000          30,000          45,000          45,000                0               0               0         300,000          300,000         300,000               0
Asset Management One Co , Ltd                                       117,195         117,195          12,107          12,107           12,107          12,107          91,105          91,105           91,105          91,105          91,458
Asset Management Partners AG                                         10,716          10,716          10,716          10,716           10,716          10,716          10,716          10,716                0               0               0
Asset Plus Fund Management Company Limited                            2,832           2,832           2,832           2,832            2,832           2,832               0               0                0               0               0
Assetmark, Inc                                                            0               0               0              80              268               0               0               0                0               0               0
Associated Investment Management, LLC                                     0               0               0               0                0               0               0               0                0               0               0
Athanor Capital, LP                                                       0               0               0               0                0               0               0               0                0               0               0
Athena Capital Advisors LLC                                               0               0               0               0                0               0               0               0                0               0               0
Atlas Capital Advisors LLC                                                0               0               0               0                0               0               0               0                0               0               0
AUA Capital Management, LLC                                           1,250           1,250           1,875           1,875            1,875           1,875           2,225           2,225            2,225           2,225           2,225
Avestar Capital, LLC                                                      0               0               0               0                0             259              75             199               98             251              98
Aviva Investors Asia Pte Ltd                                              0               0               0               0        1,158,674               0               0               0                0               0               0
Aviva Investors Global Services Limited                           1,180,576       1,198,406       1,803,532       1,510,991          729,716         700,716         673,315         631,087          597,091         611,766         618,448
Aviva Powszechne Towarzystwo Emerytalne Aviva Santander SA          907,397         907,397               0               0                0               0               0               0                0               0               0
AXA Investment Managers Japan Ltd                                         0               0               0               0                0               0               0          92,700           92,700          92,700          37,000




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                           2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                    921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                   559             567             570             584             578             544


Institution/Individual                                        9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Ampega Investment GmbH                                             100,000               0               0               0               0          200,000
Amundi Asset Management, SAS                                    24,063,963      23,956,764      22,029,610      20,829,319      18,795,848       18,192,952
Amundi Deutschland GmbH                                                  0               0               0               0               0                0
AMUNDI IBERIA SGIIC SA                                                   0               0               0               0         140,897                0
Amundi Ireland Limited                                                   0               0               0               0               0           22,430
Amundi SGR SpA                                                           0               0               0               0               0                0
Analytic Investors, LLC_NLE                                              0               0               0               0               0                0
Andra AP-Fonden                                                          0         243,544         249,700         586,989         678,931          602,468
Andreas Meißner Vermögensmanagement GmbH                            48,000          48,000          48,000          48,000               0                0
Anima SGR S p A                                                    533,220         533,220         533,220         533,220         533,220           33,136
Anthilia Capital Partners SGR Spa                                        0               0               0               0               0                0
Aperio Group, LLC                                                  923,777         768,715         745,943         904,651         914,544          832,800
APG Asset Management N V                                                 0               0         837,663         827,036         827,036          827,036
Apo Asset Management GmbH                                                0               0               0               0               0                0
AQR Capital Management, LLC                                         13,338          13,338          47,949          47,433         182,774          157,693
Aquila Asset Management ZH AG                                       23,000          23,000          23,000          23,000          23,000                0
AR Asset Management, Inc                                                 0               0               0               0               0                0
Aramea Asset Management AG                                          45,000          95,000         105,000          95,000          45,000           40,000
ARCA Fondi SGR S p A                                                11,152          11,152          11,152          11,152          11,152          311,231
ArcInvest AG                                                         2,150           2,150           2,150           2,150           2,150            2,150
Arden Asset Management LLC_NLE                                           0               0               0               0               0                0
Ardsley Advisory Partners LP                                             0          75,000               0               0               0                0
Argenta Asset Management SA                                              0               0               0               0               0                0
Arrowgrass Capital Partners (US) LP                                597,827               0               0               0               0                0
Arrowstreet Capital, Limited Partnership                           284,873               0               0               0               0       15,086,079
Artisan Partners Limited Partnership                                     0               0               0               0               0                0
ARTS Asset Management GmbH                                          23,031          22,926          22,926          18,704          18,704           19,646
Arxis Securities LLC                                                     0               0               0               0               0                0
Asesores y Gestores Financieros Fondos, SGIIC, S A                       0               0               0               0               0                0
Ashburton Fund Managers (Proprietary) Limited                        1,850           1,850           1,850           1,850               0                0
Assenagon Asset Management S A                                           0       1,551,239       2,531,942       1,585,458       1,457,794        2,382,683
Asset Management One Co , Ltd                                       91,458          91,458          91,458          10,759          12,716           12,716
Asset Management Partners AG                                             0               0               0               0               0                0
Asset Plus Fund Management Company Limited                               0               0               0               0               0                0
Assetmark, Inc                                                           0               0               0               0               0                0
Associated Investment Management, LLC                                    0               0             212             116               0                0
Athanor Capital, LP                                                      0               0               0               0               0           24,677
Athena Capital Advisors LLC                                              0               0               0               0           5,067            5,067
Atlas Capital Advisors LLC                                               0               0          37,821          36,711          33,904           30,567
AUA Capital Management, LLC                                          2,225           2,225           1,475           1,475           1,475            1,475
Avestar Capital, LLC                                                     0               0               0               0               0                0
Aviva Investors Asia Pte Ltd                                             0       1,010,503          46,341               0               0                0
Aviva Investors Global Services Limited                            549,882         540,174         542,078         552,767         561,447        1,742,940
Aviva Powszechne Towarzystwo Emerytalne Aviva Santander SA               0               0               0               0               0                0
AXA Investment Managers Japan Ltd                                        0               0               0               0               0                0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721             712             644             642             613              601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
AXA Investment Managers Paris                                      0           6,286               0               0               0               0               0          92,700           92,700          92,700          92,700
AXA Investment Managers UK Ltd                               249,123         186,124         250,672         278,280           4,500           4,500           1,800           1,800            1,800           1,800           1,800
AXA Rosenberg Investment Management LLC                       25,000         176,600         301,200         298,100         276,600         239,200         211,100         154,600          136,300         136,300          50,000
AXA Rosenberg Investment Management Ltd                        4,800          40,800          66,700          63,900          63,900          72,500          41,700          53,100           53,100          53,100          53,100
Axiom Investors                                                    0               0               0               0          82,602               0               0               0                0               0               0
Axxion S A                                                    49,195          49,195          51,792          51,792          62,792          62,792          21,292          65,292           43,892          43,892          61,092
AZA Capital Management                                             0               0               0               0               0          23,270          33,551          35,546           35,516          32,675               0
Azimut Capital Management Sgr SpA                             63,365          63,365          83,200          83,200          76,500          76,500               0               0                0               0               0
Azimut Investments S A                                        63,365          63,365          83,200          83,200          76,500          76,500               0               0                0               0               0
B Madrid Gestión de Activos S G I I C , S A _NLE               1,245           1,245           1,245           1,245           1,245           1,245           1,245           1,245                0               0               0
Baader Bank AG                                                     0               0               0               0               0               0           5,000          10,000           10,000          10,000               0
Bailard, Inc                                                       0               0               0               0         100,000               0               0               0                0               0               0
Baillie Gifford & Co                                          19,521          90,536         166,467         153,940         115,451               0               0               0                0               0               0
Baird Investment Management                                   11,642               0               0               0               0               0               0               0                0               0               0
Balentine LLC                                                      0               0               0               0               0               0               0             567            2,289           2,289           2,551
Ballentine Partners, LLC                                           0               0               0               0               0               0               0               0                0               0               0
Bâloise Asset Management                                      32,630          32,560          48,926          49,002           8,697           8,686           7,275           6,349            3,910           3,910           5,099
Balyasny Asset Management LP                                 300,000               0               0          25,302          45,042               0               0          30,309                0               0               0
Banca Credinvest SA                                                0          61,000          91,500          91,500               0               0               0               0                0               0               0
Banca Finnat Euramerica S p A                                 11,272           9,515               0               0               0               0               0               0                0               0               0
Banca Popolare di Sondrio (Suisse) S A                        17,000          17,000          25,500          25,500          11,000          11,000          11,000          11,000           11,000          11,000          11,000
Banco Santander SA                                                 0          44,634       5,585,638       4,669,101       5,570,712       5,253,124       3,901,783         179,307           93,448         164,415         345,251
Bank Julius Bär & Co AG                                            0               0               0               0               0               0               0               0                0               0               0
Bank of Montreal Europe PLC                                3,100,000       1,700,000               0               0               0               0               0       1,017,300                0               0               0
Bank Vontobel AG (Private Banking)                            35,400          35,400          35,400          35,400               0               0               0               0                0               0               0
Bankia Fondos, S G I I C , S A _NLE                           85,455          85,455         110,432         112,187          96,017          71,017          71,017         107,068          132,077          14,370          14,370
Bankinter Gestión de Activos, SGIIC S A                       80,074          80,074          80,074          80,074          80,074          80,074               0               0                0               0               0
Banque Cantonale Vaudoise                                          0          94,057          94,057          62,420          62,420          62,420          62,420          62,420           62,420          62,420          62,420
Banque de Luxembourg S A                                     122,000         122,000               0               0               0               0               0               0                0               0               0
Banque Degroof Petercam Luxembourg S A                         3,100           3,100               0               0               0               0               0               0                0               0               0
Banque Degroof Petercam N V                                   12,777          12,777          12,777               0               0               0               0               0                0               0               0
Banque Pictet & Cie S A                                            0         100,500          86,100          86,100         103,450       1,001,705       1,011,850       1,056,900          546,900         845,600         741,000
Banque Vontobel SA                                                 0               0               0               0               0               0               0               0                0               0               0
Bantleon Bank AG                                                   0               0               0               0               0          15,680           9,544               0                0               0               0
Barclays Bank PLC                                                  0           3,700         225,247         240,230         270,647         661,682       1,438,065       1,363,967        1,534,002       1,471,653       1,926,909
Barclays Capital                                             316,562         341,658          50,507         248,907             283              98          35,000               0                0               0          10,000
Barclays Capital Inc                                           2,926           2,926           2,439           9,234         714,339         179,085         729,904         552,893          436,074         705,663         709,784
Barclays Wealth                                                    0               0               0               0               0               0               0               0                0               0               0
Barclays Wealth Managers España, S A , S G I I C               2,700           2,700           2,700           2,700           2,700           2,700               0               0                0               0               0
Barrow, Hanley, Mewhinney & Strauss, LLC                      63,257          63,257          63,257          63,257               0               0               0               0                0               0               0
Baumann and Partners S A                                           0               0               0               0               0               0          17,500          27,500           37,500          37,500          37,500
Bayerische Vermögen AG                                             0               0          15,000          15,000           5,000           5,000           5,000           5,000            5,000           5,000               0
BayernInvest Kapitalanlagegesellschaft mbH                         0               0               0               0               0               0               0               0                0               0               0
Bayesian Capital Management, LP                                    0               0               0               0               0               0               0               0                0               0               0
BBVA Asset Management, S A , S G I I C                       187,319         261,874         270,092         260,586         235,802         312,255         307,394          53,359          513,671          77,903          77,903




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567              570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
AXA Investment Managers Paris                                 92,700           92,700          92,700          92,700          45,102               0
AXA Investment Managers UK Ltd                                11,280           11,280           3,071           3,071           2,787           1,406
AXA Rosenberg Investment Management LLC                            0                0               0           6,688          64,333          78,838
AXA Rosenberg Investment Management Ltd                       53,100           53,100          53,100          53,100               0               0
Axiom Investors                                                    0                0               0               0               0               0
Axxion S A                                                    61,092           80,800          80,800          97,800          97,800               0
AZA Capital Management                                             0                0               0               0               0               0
Azimut Capital Management Sgr SpA                                  0                0               0               0               0               0
Azimut Investments S A                                             0                0               0               0               0               0
B Madrid Gestión de Activos S G I I C , S A _NLE                   0                0               0               0               0               0
Baader Bank AG                                                     0                0               0               0               0               0
Bailard, Inc                                                       0                0               0               0               0               0
Baillie Gifford & Co                                               0                0               0               0               0               0
Baird Investment Management                                        0                0               0               0               0               0
Balentine LLC                                                  1,236            1,236           1,292             224               0               0
Ballentine Partners, LLC                                           0                0               0          10,304          10,590          11,143
Bâloise Asset Management                                       5,099            4,871           4,871           5,264          19,937          20,145
Balyasny Asset Management LP                                       0                0               0               0               0               0
Banca Credinvest SA                                                0                0               0               0               0               0
Banca Finnat Euramerica S p A                                      0                0               0          23,000               0               0
Banca Popolare di Sondrio (Suisse) S A                             0                0               0               0               0               0
Banco Santander SA                                                 0           17,206       1,167,245       1,171,990       1,172,253       1,171,197
Bank Julius Bär & Co AG                                            0                0          74,914          72,000               0          72,294
Bank of Montreal Europe PLC                                        0                0               0               0               0               0
Bank Vontobel AG (Private Banking)                                 0                0          17,338               0               0               0
Bankia Fondos, S G I I C , S A _NLE                           14,370           14,370          14,370          14,370          14,370          14,370
Bankinter Gestión de Activos, SGIIC S A                            0                0               0               0               0               0
Banque Cantonale Vaudoise                                          0           59,039          68,273          47,927          60,800          60,800
Banque de Luxembourg S A                                           0                0               0               0               0               0
Banque Degroof Petercam Luxembourg S A                             0                0               0               0               0               0
Banque Degroof Petercam N V                                        0                0               0               0               0               0
Banque Pictet & Cie S A                                      617,800          722,020         715,500         733,500         715,500         715,500
Banque Vontobel SA                                                 0                0          12,310          12,310          12,310          12,310
Bantleon Bank AG                                                   0                0               0           2,364           6,092           2,127
Barclays Bank PLC                                                  0                0               0               0           4,439               0
Barclays Capital                                                   0                0           4,445           4,445           4,445               0
Barclays Capital Inc                                               0                0               0               0               0               0
Barclays Wealth                                                    0           87,214          87,563          94,405          97,976          95,730
Barclays Wealth Managers España, S A , S G I I C                   0                0               0               0               0               0
Barrow, Hanley, Mewhinney & Strauss, LLC                           0                0               0               0               0               0
Baumann and Partners S A                                      37,500           37,500          37,500          20,000          20,000          20,000
Bayerische Vermögen AG                                             0                0               0          30,000          30,000          30,000
BayernInvest Kapitalanlagegesellschaft mbH                         0                0           2,784               0               0               0
Bayesian Capital Management, LP                                    0                0               0               0          19,900               0
BBVA Asset Management, S A , S G I I C                        75,919           53,781          53,778          53,778          55,076          54,978




                                                                                                                                                        Page 8 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721              712             644             642             613             601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
BDO Wealth Advisors, LLC                                           0               0             750             750              750               0               0               0               0               0               0
Bellatrix Asset Management                                    55,000          55,000          55,000          55,000           55,000          55,000         125,000         125,000         125,000         125,000               0
Bellecapital International Ltd                                     0               0               0               0                0          78,547          86,054          82,649          42,037          14,369          75,694
Benjamin F Edwards & Company, Inc                                  0               0               0               0                0               0               0               0               0               0               0
Berman Capital Advisors, LLC                                       0               0               0               0                0               0               0               0              99           1,038           1,062
Berner Kantonalbank AG                                             0               0           4,525           4,504            4,535           3,643           3,681           3,793           3,781           3,735           3,410
Bessemer Trust Company, N A (US)                                 222               0             172             149              149               0               0               0         206,622         206,622         206,622
BetaShares Capital Ltd                                             0               0          16,597          23,155           29,063          32,820          31,487          31,204          28,232               0               0
BFT Investment Managers                                            0               0               0               0                0               0               0               0               0         432,468               0
BG Fund Management Luxembourg S A                              5,434           1,451           1,451           8,020            9,753          15,391          28,329          27,109          27,109           6,131           5,767
BI Asset Management Fondsmæglerselskab A/S                         0               0               0               0                0               0               0               0               0          14,873          14,873
Bishop Street Capital Management Corp                              0               0               0               0                0               0               0             152              85              85               0
BlackRock Advisors (UK) Limited                            8,234,789       8,312,500      12,841,712               0                0               0               0       7,731,339       7,923,277       8,418,452       7,279,779
BlackRock Asset Management Canada Limited                     53,015          58,546         105,478         118,443          142,928         171,893         183,333         183,333         195,391         195,391         238,104
BlackRock Asset Management Deutschland AG                 26,823,266      19,947,485      32,102,376      35,462,825       34,478,961      34,655,102      32,563,270      26,043,900      26,387,145      22,891,691      22,531,415
BlackRock Asset Management Ireland Limited                    10,272          10,272          10,272          10,272                0               0               0               0               0               0               0
BlackRock Asset Management North Asia Limited                 12,004           8,723          16,918          16,519           16,519           7,586           7,861           5,259           4,950          13,702          14,941
BlackRock Financial Management, Inc                            3,800           3,800             100           1,700              300               0               0               0               0               0               0
BlackRock Fund Advisors                                            0               0               0               0          491,219         478,414         478,414         478,414         452,705         592,085         592,085
BlackRock Institutional Trust Company, N A                         0      71,301,616          93,742          78,531                0          11,728               0     109,243,409     109,596,495     108,037,982     107,190,810
BlackRock International Ltd                                1,046,480       1,046,480       1,046,480               0                0               0               0               0               0               0               0
BlackRock Investment Management (Australia) Ltd                9,653           2,778           3,861           4,210            4,908           4,908           4,181           4,181           4,475           4,749           4,473
BlackRock Investment Management (UK) Ltd                       1,800           1,800               0               0        5,493,438       5,394,849       4,829,238       4,663,918       5,998,330       6,247,550       6,421,224
BlackRock Investment Management, LLC                               0               0               0               0                0               0               0               0               0               0               0
Bluefin Trading, LLC                                         175,280               0          98,576         126,050           31,900          84,681               0          85,442          48,439               0          39,771
Blueshift Asset Management, LLC                                    0               0               0               0                0               0               0               0               0               0               0
BMO Asset Management Inc                                      88,500          96,007         173,447         191,224          194,726         194,673         195,958         194,658         288,392         287,315         287,166
BMO Capital Markets (US)                                       2,800               0           7,400           4,000        1,609,099       1,221,932               0               0               0         501,800           6,850
BMO Family Office, LLC                                        66,102          66,102         104,685          66,712           63,975          71,292          72,674          40,808          97,085         127,195         109,066
BMO Global Asset Management                                   71,741          75,773         127,494         221,597          163,760         180,923           4,507          26,463          36,289          89,485          82,737
BMO Harris Bank N A                                                0               0               0             100                0               0               0             145               0               0               0
BMO Nesbitt Burns Inc                                          4,885           2,800           2,515           6,599            3,545           6,115           1,657          11,820          10,802          17,890           1,500
BN & Partners Deutschland AG                                   6,080           6,080           6,080           6,080            6,080           6,080           6,080           6,080           6,080           6,080               0
BNP Paribas Asset Management Belgium S A                      48,461          48,461          48,461          48,461           48,461          48,461          48,461          48,461               0               0               0
BNP Paribas Asset Management Brasil Ltda                           0       1,690,178       1,690,178       1,690,178        1,690,178       1,690,178       1,690,178         878,087         878,087         878,087         878,087
BNP Paribas Asset Management France SAS                   10,811,900      10,964,211       4,730,581       8,650,118       11,217,873      12,202,083      14,283,040       8,772,032       3,830,591       7,907,970       2,188,720
BNP Paribas Asset Management Nederland N V                    20,725          20,725          20,725          20,725           20,725               0               0               0               0               0               0
BNP Paribas Asset Management UK Limited                        3,881           4,898           4,966           4,966            4,966           4,966           4,966           4,966           4,966           8,192           8,192
BNP Paribas Investment Partners SGR SpA                       13,500               0               0               0                0               0               0               0               0               0               0
BNP Paribas Luxembourg                                       132,589         132,589         132,589         132,589          668,816         213,514               0               0               0               0               0
BNP Paribas Securities Corp North America                     70,318         106,702          84,729          46,196           41,118          71,744         158,244          80,140          47,564          93,779         120,052
BNY Mellon Asset Management                                1,422,660       1,450,138       2,184,083       2,222,726        2,284,174       2,208,135       2,099,586       1,994,419       1,974,748       1,873,885       1,864,208
BNY Mellon Wealth Management                                 197,848         430,740         483,181         242,069          264,948          38,467          30,548          30,467          15,067          25,283          20,391
BOCI-Prudential Asset Management Ltd                          42,658          60,684          60,684          70,760           70,760          83,432          83,432          88,409          88,409         129,314         129,314
BofA Global Research (US)                                 38,105,297       6,618,557       4,613,492      12,627,343       11,265,846      16,793,600      20,373,987      31,658,694      28,770,204      14,230,619      22,486,260




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
BDO Wealth Advisors, LLC                                           0               0               0               0               0               0
Bellatrix Asset Management                                         0               0               0               0               0               0
Bellecapital International Ltd                                10,469          13,431               0               0               0               0
Benjamin F Edwards & Company, Inc                                300             300             300             300             300             300
Berman Capital Advisors, LLC                                   1,072             975             534           1,066           1,066           1,066
Berner Kantonalbank AG                                         4,727           4,920           5,073           4,830               0               0
Bessemer Trust Company, N A (US)                             206,622         206,622         206,622         206,622               0               0
BetaShares Capital Ltd                                        13,904          10,702          10,152          18,776          21,733          21,559
BFT Investment Managers                                            0               0               0               0               0               0
BG Fund Management Luxembourg S A                             17,529               0          20,828               0               0          17,221
BI Asset Management Fondsmæglerselskab A/S                    37,269          37,269          37,269          37,269          37,269          37,269
Bishop Street Capital Management Corp                              0               0               0               0               0               0
BlackRock Advisors (UK) Limited                            7,754,541       8,662,495       9,356,965       8,431,465       8,653,192       9,164,437
BlackRock Asset Management Canada Limited                    300,254         300,254         322,768         322,768         322,768         355,368
BlackRock Asset Management Deutschland AG                 22,442,580      22,757,420      20,425,418      20,699,574      20,631,848      24,492,912
BlackRock Asset Management Ireland Limited                         0               0               0               0               0               0
BlackRock Asset Management North Asia Limited                 15,757          15,757          19,188          19,188          19,188          19,188
BlackRock Financial Management, Inc                                0          31,989          90,203          24,444          28,120          59,103
BlackRock Fund Advisors                                      455,145         455,145         441,373         412,845         408,134         340,723
BlackRock Institutional Trust Company, N A               106,506,812     106,506,812           3,002               0          10,327          13,765
BlackRock International Ltd                                        0               0               0               0               0               0
BlackRock Investment Management (Australia) Ltd                4,749           5,024           6,164           9,231           9,021          10,113
BlackRock Investment Management (UK) Ltd                   6,725,751       6,763,106       6,686,285       6,560,914       6,489,942       6,516,168
BlackRock Investment Management, LLC                               0               0               0               0             129             457
Bluefin Trading, LLC                                          21,435          17,936               0          43,011          32,530          79,926
Blueshift Asset Management, LLC                                    0          18,951          11,601               0               0          11,890
BMO Asset Management Inc                                     288,166         349,445         350,397         421,963         421,963         429,921
BMO Capital Markets (US)                                           0               0               0         895,634       5,108,909       5,294,180
BMO Family Office, LLC                                        94,977          96,638          10,515           9,461          10,072          11,755
BMO Global Asset Management                                   92,313          49,978          68,105         116,918          41,760          41,862
BMO Harris Bank N A                                                0               0               0               0               0               0
BMO Nesbitt Burns Inc                                            600              30             630             630               1          36,351
BN & Partners Deutschland AG                                       0               0          15,000               0               0               0
BNP Paribas Asset Management Belgium S A                           0               0               0               0               0               0
BNP Paribas Asset Management Brasil Ltda                     878,087         878,087         878,087         878,087               0               0
BNP Paribas Asset Management France SAS                    2,191,646       2,439,678       2,845,390       4,247,396       1,004,502       1,055,426
BNP Paribas Asset Management Nederland N V                         0               0               0               0               0               0
BNP Paribas Asset Management UK Limited                        6,213           5,624               0           6,106           6,106               0
BNP Paribas Investment Partners SGR SpA                            0               0               0               0               0               0
BNP Paribas Luxembourg                                             0               0               0               0               0               0
BNP Paribas Securities Corp North America                    101,462          75,394          53,648          63,471          48,681          48,681
BNY Mellon Asset Management                                1,828,883       1,803,656       1,720,337       1,832,328       1,842,172       1,826,985
BNY Mellon Wealth Management                                  24,448          22,757          28,077          41,997          42,772          42,998
BOCI-Prudential Asset Management Ltd                         164,357         164,357         162,580         162,580         167,417         167,417
BofA Global Research (US)                                 18,993,663      19,070,359       9,884,569      15,885,199      17,295,905      14,908,682




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%            51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554          203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698              715             721             730             721             712             644             642             613             601             570


Institution/Individual                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Boost&Co SAS                                                   27,925          27,925          27,925          27,925               0               0               0               0               0               0               0
Boothbay Fund Management, LLC                                       0               0               0               0               0               0               0               0               0               0               0
BOS Wealth Management Malaysia Berhad                           2,630           1,315           1,315           1,315               0               0               0               0               0               0               0
Bovay & Partenaires SA                                              0               0               0               0               0               0               0               0               0               0          20,000
BPI Gestão de Activos - S G F I M , S A                        22,938          45,645          30,800          30,800          32,171          32,171          26,859          17,733          16,788           9,973           1,437
Bradley, Foster & Sargent, Inc                                      0               0          13,500          14,000          14,000          31,000          10,000          10,250               0               0               0
Brand New Day Bank N V                                        700,000         342,772         255,514               0         300,000         230,569               0               0               0               0               0
Brave Asset Management, Inc                                         0               0          23,299          28,321          27,858          23,191               0               0               0               0               0
Brinker Capital Inc                                                 0               0               0          45,979               0               0               0               0               0               0               0
Bristol Advisors, LLC                                               0               0          97,500          96,600          90,200          22,700          22,700          22,700          22,700          18,600          18,600
British Columbia Investment Management Corp                 1,216,412       1,538,498       1,538,498       1,538,498       1,538,498         522,193         522,193         522,193         522,193       5,681,515               0
Bronson Point Management, LLC                                       0         650,000               0               0               0               0               0               0               0               0               0
Bruellan Wealth Management                                          0               0               0               0          35,000          35,000               0               0               0               0               0
Bruno Walter Finance SA                                         6,800           6,800          10,200          10,200          10,200          10,200          10,200          10,200          10,200          10,200          10,200
BV & P Vermögen AG                                             26,005          26,005          26,005          26,005               0               0               0               0               0               0               0
CA Indosuez (Switzerland) S A                                  15,600          24,300          31,550          34,750          26,750          31,850          33,600           1,500           4,090          18,350          20,110
CA Indosuez Wealth (Europe) S A                               134,044         106,304          74,531          46,181          41,557          45,327          45,327          13,477          13,477          17,673           2,673
CACEIS Bank S A                                                     0               0               0               0               0               0               0               0               0               0               0
Caisse de Depot et Placement du Quebec                        896,740         855,175               0          88,556          13,120          41,892         176,217         139,351         226,920          67,612         595,297
Caixabank Asset Management SGIIC, S A U                       301,105         288,978         407,797         384,655         374,702         338,014         334,287         107,068         361,065          14,370          14,370
Caja España Fondos, S A , S G I I C                             3,000           3,000          27,000          35,500          35,500          35,500          35,500               0               0               0               0
Caja Laboral Gestión S G I I C , S A                            2,236           2,236           2,236           2,236           2,236           2,236               0               0               0               0               0
Caldwell Investment Management Ltd                            400,710         400,710         600,710         600,710         600,710         600,710         300,710         300,710         300,710               0               0
California Public Employees' Retirement System              5,438,065       5,438,065       6,137,986       6,137,986       6,137,986       6,137,986       3,665,496       3,665,496       3,665,496       3,665,496       2,982,282
California State Teachers Retirement System                         0               0               0               0               0               0               0               0               0               0               0
Callan LLC                                                     41,185          26,743          40,777          34,856          35,491          39,104          36,579          41,569          45,410          45,023          46,499
Calton & Associates, Inc                                            0               0               0               0           2,704               0               0               0               0               0               0
Calvert Research and Management                                13,961          13,961          21,138          18,506          18,506          17,350          11,647          17,320          16,668          16,668          16,668
Cambiar Investors LLC                                          11,705          11,705               0               0               0               0               0               0               0               0               0
Cambridge Investment Research Advisors, Inc                         0               0               0               0               0               0               0               0               0          34,396          34,988
CamGestion_NLE                                                290,969         290,969         290,969         290,969               0               0               0               0               0               0               0
Campbell & Company, Inc                                             0               0               0               0               0               0               0               0               0               0               0
Candriam Belgium S A                                          327,669         304,802         412,415         400,099         400,013         391,345         384,412         401,202         438,706         465,235         418,928
Candriam Luxembourg S A                                             0               0               0               0               0               0          50,085          51,010          49,959          49,959          13,111
Candriam S A (France)                                         169,555         283,255         422,439         518,576         498,556         516,985         408,462         464,367         477,666         489,993         343,561
Capital Fund Management S A                                         0               0               0               0               0               0               0               0               0               0               0
Capital Guardian Trust Company                                      0               0               0               0               0         246,680         241,297         231,597         222,497         222,497               0
Capital Insight Partners, LLC                                  64,380          64,380               0               0               0               0               0               0               0               0               0
Capital International Investors                                     0               0               0               0               0       4,183,635       4,183,635       4,316,708       4,315,130       4,353,684       3,097,408
Capital International Ltd                                           0               0               0               0               0         113,910         129,237               0               0           5,297          15,004
Capital International Sarl                                          0               0               0               0               0         280,754         332,678         406,829         406,829         340,222               0
Capital International, Inc                                          0               0               0               0               0         139,707         162,357         162,357         162,357         167,183          88,522
Capital One Asset Management, LLC                                   0          13,351          18,508          19,602               0               0               0               0               0               0               0
Capital Research Global Investors                                   0       6,550,000       1,260,000       1,260,000               0               0               0               0               0               0               0
Capital World Investors                                    15,301,581       6,550,000      23,884,260      23,884,285      23,884,285               0               0               0       4,358,231       4,331,562       2,899,744




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Boost&Co SAS                                                       0               0               0               0               0               0
Boothbay Fund Management, LLC                                      0               0               0          20,000               0               0
BOS Wealth Management Malaysia Berhad                              0               0               0               0               0               0
Bovay & Partenaires SA                                        20,000          20,000          20,000          20,000          20,000               0
BPI Gestão de Activos - S G F I M , S A                        1,359           1,359           1,359               0               0               0
Bradley, Foster & Sargent, Inc                                     0               0               0               0               0               0
Brand New Day Bank N V                                             0               0               0               0               0               0
Brave Asset Management, Inc                                        0               0               0               0               0               0
Brinker Capital Inc                                                0               0               0               0               0               0
Bristol Advisors, LLC                                         18,600          18,600          18,600          18,600          18,600          18,600
British Columbia Investment Management Corp                        0         216,757         118,200          79,239          68,502          54,470
Bronson Point Management, LLC                                      0               0               0               0               0               0
Bruellan Wealth Management                                         0               0               0               0               0               0
Bruno Walter Finance SA                                       10,200          10,200          10,200          10,200          10,200               0
BV & P Vermögen AG                                                 0               0               0               0               0               0
CA Indosuez (Switzerland) S A                                 20,110          20,110          20,110          11,420           9,145          13,145
CA Indosuez Wealth (Europe) S A                                2,848           2,673           2,195               0           2,195               0
CACEIS Bank S A                                                    0               0               0               0         130,403         130,403
Caisse de Depot et Placement du Quebec                       370,314       1,709,214         514,939       1,348,913               0               0
Caixabank Asset Management SGIIC, S A U                       14,370          14,370          14,370          14,370          14,370          14,370
Caja España Fondos, S A , S G I I C                                0               0               0               0               0               0
Caja Laboral Gestión S G I I C , S A                               0               0               0               0               0               0
Caldwell Investment Management Ltd                                 0               0               0               0               0               0
California Public Employees' Retirement System             2,982,282       2,982,282       2,982,282       4,765,874       4,765,874       4,765,874
California State Teachers Retirement System                        0               0               0       2,251,582       2,251,582       2,251,582
Callan LLC                                                    50,504          48,637          54,470          58,051          59,809          59,809
Calton & Associates, Inc                                           0               0               0               0               0               0
Calvert Research and Management                               16,668          13,741          15,978          15,919          15,919          15,086
Cambiar Investors LLC                                              0               0               0               0               0               0
Cambridge Investment Research Advisors, Inc                   39,281          46,071          98,147          96,653         100,205         103,972
CamGestion_NLE                                                     0               0               0               0               0               0
Campbell & Company, Inc                                            0               0               0          36,500          31,100          82,985
Candriam Belgium S A                                         309,985         294,298         305,729         220,303         233,959         224,873
Candriam Luxembourg S A                                            0               0               0               0               0               0
Candriam S A (France)                                        366,238         134,732         117,436         110,211         110,211         110,211
Capital Fund Management S A                                        0               0               0         178,134         588,328          72,381
Capital Guardian Trust Company                                     0               0               0               0               0               0
Capital Insight Partners, LLC                                      0               0               0               0               0               0
Capital International Investors                                    0               0               0               0               0               0
Capital International Ltd                                          0               0               0               0               0               0
Capital International Sarl                                         0               0               0               0               0               0
Capital International, Inc                                         0               0               0               0               0          16,370
Capital One Asset Management, LLC                                  0               0               0               0               0               0
Capital Research Global Investors                                  0               0      77,277,774      77,326,742      77,323,307      98,823,423
Capital World Investors                                            0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Capstone Investment Advisors, LLC                                  0               0               0               0               0               0               0               0               0           4,658           2,488
Caption Management, LLC                                            0               0               0               0               0               0               0               0               0               0          22,500
CAPTRUST Financial Advisors                                        0               0               0               0               0               0               0               0               0               0               0
Carmichael Hill & Associates Inc                                   0               0               0               0               0               0               0               0               0               0               0
Carmignac Gestion                                                  0               0         263,859         263,859         263,859         263,859         263,859         177,158         177,158         177,158         177,158
Casa4Funds Luxembourg European Asset Management S A            2,916           2,916           2,916           2,916           2,916           2,916           2,916           2,916           2,916           2,916               0
Castle Hook Partners LP                                            0               0               0               0       2,236,992               0               0               0               0               0               0
CATAM Asset Management AG                                          0               0          20,000               0               0               0               0               0               0               0               0
Catamount Wealth Management_NLE                               20,000          20,000          19,912           1,412             412             412               0               0               0               0               0
Catana Capital GmbH                                                0               0               0               0               0               0               0               0               0          12,421          12,421
Cathay Securities Investment Trust Co , Ltd                   43,287          43,287          43,287          43,287          43,287          43,287          43,287          43,287               0               0               0
Causeway Capital Management LLC                                    0               0               0               0               0               0               0               0               0               0               0
CBR Investment AG_NLE                                          4,000           4,000           4,000           4,000           6,200           6,200           6,200           6,200           6,200           6,200           6,200
CD Capital GmbH                                                    0               0               0               0           9,400           9,400           9,400           9,400           9,400           9,400           9,400
Centaurus Financial, Inc                                           0               0               0               0               0               0           1,775               0               0               0               0
CenterStar Asset Management, LLC                                   0               0               0               0               0          10,831               0               0               0               0               0
Cerberus Capital Management, L P                                   0               0               0               0      62,035,000      62,035,000      62,035,000      62,035,000      62,035,000      62,035,000      62,035,000
Cerebellum Capital, LLC                                            0               0               0               0               0          11,865          11,397               0               0               0               0
Ceresio Investors                                                  0               0               0               0               0               0               0               0               0               0               0
Cerity Partners LLC                                                0               0               0               0               0               0               0          10,152          11,513          16,505          13,500
Charles Schwab Investment Management, Inc                  1,450,347       2,018,412       2,524,662       2,714,144       2,716,717       2,986,018       3,113,323       3,308,038       3,712,808       3,829,897       4,117,840
Chescapmanager, L L C                                              0          10,000          45,000          45,000          45,000          45,000               0               0               0               0               0
Chicago Partners Wealth Advisors                                   0               0               0             431               0               0               0               0               0               0               0
Childress Capital Advisors, LLC                                    0               0               0               0               0               0               0               0               0               0               0
China Post & Capital Global Asset Management Limited               0               0               0               0               0               0               0               0               0               0               0
CIBC Asset Management Inc                                     89,069         100,400         124,187         125,707         128,170         129,227         125,801         125,801         132,727          51,964          54,444
CIBC World Markets Inc                                        15,170               0          29,304               0          13,835          39,424          36,304          36,104          34,304          47,404          46,804
CIGNA Investments, Inc                                             0               0               0               0               0          27,666               0               0               0               0               0
Citadel Advisors LLC                                          14,579         326,621         527,814         535,070         682,132         768,282         448,210         741,676         224,524               0          64,083
Citi Investment Research (US)                              7,359,096       5,036,961       7,419,380       6,281,348       9,110,056       6,574,665      14,267,101      14,659,907       7,201,566       4,713,903       6,061,057
Citizens Financial Group, Inc                                      0               0               0               0               0               0               0               0               0               0             900
City National Rochdale, LLC                                        0              53               0           3,750           2,250           2,250               0           1,929               0               0               0
Claresco Finance S A                                               0               0               0               0               0               0               0               0               0             220               0
Clear Harbor Asset Management, LLC                                 0               0               0               0               0               0               0               0               0               0               0
Clear Street Markets LLC                                           0               0          89,100          45,200          27,400               0               0               0               0               0               0
ClearArc Capital, Inc _NLE                                       300             300             300             300               0               0               0               0           2,500               0               0
CMT Asset Management Limited                                 172,345               0               0               0               0               0               0               0               0               0               0
CMT Capital Markets Trading GmbH                              93,762               0               0               0               0               0               0               0               0               0               0
Cognios Capital                                                1,399               0               0               0               0               0               0               0               0               0               0
Cohen & Steers Capital Management, Inc                             0         123,608         185,412         174,100         174,100         174,100               0               0               0               0               0
COLLEGIUM Vermoegensverwaltungs AG                            18,200          18,200          18,200           8,200           8,200           8,200           8,200           8,200           8,200           8,200               0
Columbia Threadneedle Investments (UK)                       209,603         209,603         209,603               0               0               0               0               0               0               0               0
Columbia Threadneedle Investments (US)                        94,593         102,535         137,304         130,114         138,230         125,054         172,616         204,860         171,640         228,871         258,064
Columbus Hill Capital Management, L P                        550,000               0               0               0               0               0               0               0               0               0               0
Column Capital Advisors, LLC                                       0               0               0               0               0               0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Capstone Investment Advisors, LLC                                  0               0               0               0               0               0
Caption Management, LLC                                      100,000          85,000         196,600         431,493         310,100         584,000
CAPTRUST Financial Advisors                                        0               0               0               0               0             300
Carmichael Hill & Associates Inc                                   0               0               0             200             300               0
Carmignac Gestion                                            177,158         177,158         177,158         177,158               0               0
Casa4Funds Luxembourg European Asset Management S A                0               0               0               0               0               0
Castle Hook Partners LP                                            0               0               0               0               0               0
CATAM Asset Management AG                                          0               0               0               0               0               0
Catamount Wealth Management_NLE                                    0               0               0               0               0               0
Catana Capital GmbH                                           12,421          12,421          12,421          12,421          29,166          12,421
Cathay Securities Investment Trust Co , Ltd                        0               0               0               0               0               0
Causeway Capital Management LLC                                    0               0               0               0               0           6,464
CBR Investment AG_NLE                                          6,200               0               0               0               0               0
CD Capital GmbH                                                    0               0               0               0               0               0
Centaurus Financial, Inc                                           0               0               0               0               0               0
CenterStar Asset Management, LLC                                   0               0               0               0               0               0
Cerberus Capital Management, L P                          62,035,000      62,035,000      62,035,000      62,035,000      62,035,000      62,035,000
Cerebellum Capital, LLC                                            0               0               0               0           7,681           7,681
Ceresio Investors                                                  0               0               0          93,942          93,942          98,502
Cerity Partners LLC                                           19,920          17,911          17,911          17,800          18,800          12,800
Charles Schwab Investment Management, Inc                  4,354,041       4,480,720       4,817,732       4,414,836       4,329,752       4,367,968
Chescapmanager, L L C                                              0               0               0               0               0               0
Chicago Partners Wealth Advisors                                   0               0               0               0               0               0
Childress Capital Advisors, LLC                                    0               0               0               0               0             159
China Post & Capital Global Asset Management Limited               0               0               0               0         241,991         241,991
CIBC Asset Management Inc                                     57,190          63,274          66,559          75,224          84,780          84,780
CIBC World Markets Inc                                        46,204          44,904          58,806          93,301          30,410          44,777
CIGNA Investments, Inc                                             0               0               0               0               0               0
Citadel Advisors LLC                                               0          90,387               0               0         461,607         120,813
Citi Investment Research (US)                             12,671,321      14,121,066      11,490,069      11,498,710      15,697,410      13,453,998
Citizens Financial Group, Inc                                      0               0           1,120           1,156               0               0
City National Rochdale, LLC                                        2             216           1,241               0             279             845
Claresco Finance S A                                           8,286          31,668               0               0               0               0
Clear Harbor Asset Management, LLC                            33,225          10,525               0               0               0               0
Clear Street Markets LLC                                           0               0               0               0               0               0
ClearArc Capital, Inc _NLE                                         0               0               0               0               0               0
CMT Asset Management Limited                                       0               0               0               0               0               0
CMT Capital Markets Trading GmbH                                   0               0               0               0               0               0
Cognios Capital                                                    0               0               0               0               0               0
Cohen & Steers Capital Management, Inc                             0               0               0               0               0               0
COLLEGIUM Vermoegensverwaltungs AG                                 0               0               0               0               0               0
Columbia Threadneedle Investments (UK)                             0               0               0               0               0               0
Columbia Threadneedle Investments (US)                       262,000         254,221         329,068         188,827         107,847          82,495
Columbus Hill Capital Management, L P                              0               0               0               0               0               0
Column Capital Advisors, LLC                                       0             626             626             142             142             124




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                          41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                          122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                             698             715             721             730             721              712             644             642             613              601             570


Institution/Individual                                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Comerica, Inc                                                                      0               0               0           3,941            2,753           2,768           2,705           2,705            1,500               0           1,500
Commerzbank AG                                                            13,639,279       9,179,366      14,300,182      19,056,479       16,515,331      14,169,862      15,811,812      14,892,249       15,543,616               0      16,480,174
Commonwealth Bank of Australia                                               897,985         882,531         749,482         721,779          791,710         678,087         400,051         290,084            7,248           6,299           5,713
Commonwealth Financial Network                                                     0               0               0               0                0               0          13,253          14,103           14,403          13,000          15,222
Compagnie Lombard Odier SCmA                                                  24,905           5,339           6,339           4,607            1,500           1,500           1,500          21,500           21,500          41,500           1,500
Concourse Capital Management, LLC                                                  0         143,790         326,615         138,705          191,913               0               0               0                0               0               0
Conning, Inc                                                                       0               0               0               0                0               0          57,900               0                0               0               0
CONQUEST Investment Advisory AG                                                    0               0               0               0                0               0               0             100              100             100             100
Consortia Vermögensverwaltung AG                                              33,333          33,333               0               0                0               0               0               0                0               0               0
Consultinvest Asset Management SGR S p A                                     102,462         102,462         102,462         221,466          246,466         246,466         246,466         146,466          146,466         146,466         246,466
Continental Advisors LLC                                                      61,000         116,000         174,000         174,000          174,000         231,300         298,800         266,300                0               0               0
Convergence Investment Partners, LLC                                               0               0               0               0                0             516               0               0                0               0               0
Convergent Wealth Advisors_NLE                                                   735             735             735             735              735             735             735               0                0               0               0
Corient Capital Partners, LLC                                                      0               0               0               0                0               0               0               0                0               0          19,329
Cornèr Banca S A                                                              15,000          10,000          30,000          20,000           39,000          99,000         185,000         181,000          120,000         120,000         120,000
Cornerstone Advisors, Inc (WA)                                                   140             140             217             360              360             472             194             873              914           2,762             359
Counsel Portfolio Services, Inc                                                    0               0               0               0                0               0               0               0                0               0               0
Courier Capital, LLC                                                               0               0               0               0           31,170          29,985          28,485          25,985                0               0               0
Cowen & Co , LLC                                                                   0               0               0               0                0               0               0               0                0               0         160,000
Cowen Investment Management LLC                                                    0          50,000               0               0                0               0               0               0                0               0               0
Coyle Financial Counsel LLC                                                        0               0               0               0                0               0               0               0                0               0               0
CPP Investment Board                                                         241,288         459,888       1,103,444         483,084        3,345,184       3,345,184         740,766         821,720           47,431          81,625             419
CPR Asset Management                                                         644,583         644,583         644,583         644,583          184,516         221,317         256,467       1,061,132          732,683         177,645       1,042,729
Creand Wealth Management                                                           0               0               0               0                0               0               0               0                0               0               0
Creative Financial Designs, Inc                                                   35              35              35              35               35              35              35              35                0               0               0
Creative Planning, Inc                                                        18,605           9,145          11,439          11,198           11,120          13,536          20,723          23,374           16,527          17,964          21,849
Crédit Agricole Corporate and Investment Bank                              1,600,000       1,526,718         766,658         555,594          759,171         496,111         394,431         878,300          878,300         878,300          10,856
Credit Mutuel Asset Management                                                32,182          20,763          30,854          30,854                0               0               0               0                0               0               0
Credit Suisse (Brasil) DTVM S A                                                    0               0               0               0                0           5,252           5,543           8,358            9,004           9,657          11,936
Credit Suisse (France)                                                           990             990             990               0                0               0               0               0                0               0               0
Credit Suisse (Luxembourg) S A                                                18,518          18,518          18,518          18,518           18,518               0               0               0                0               0               0
Credit Suisse Asset Management                                             3,752,747       3,585,190       5,326,656       5,944,347        6,119,799       7,944,893       8,221,048       7,543,223        5,295,783       7,172,162       8,316,033
Credit Suisse Asset Management, LLC (US)                                           0               0             827               0                0               0               0               0                0               0               0
Crédit Suisse Gestión S G I I C , S A                                         12,555          12,555          15,270          15,270           15,270           8,145           8,145           8,145            8,145           8,145           8,145
Credit Suisse International                                                2,999,852         233,770       1,064,747         868,208        1,272,173       1,201,675       2,237,800       2,681,906        2,650,895       3,085,424       6,530,674
Credit Suisse Securities (Europe) Limited                                  2,103,207       3,017,029       3,017,029       3,242,044        4,473,302       1,372,680       2,018,220       3,390,559        1,535,038         514,457       2,723,001
Credit Suisse Securities (USA) LLC                                             8,856          23,509          48,050          18,827          116,850          18,290           3,427           3,100                0               0               0
Crédito Agrícola Gest-Sociedade Gest de Fundos de Invest Mobilliário               0               0               0               0                0           2,600           2,600           2,600            2,600           2,600           2,600
Cresset Asset Management, LLC                                                      0               0               0               0                0               0               0               0               69              69               0
Creutz & Partners, Global Asset Management S A                                     0               0               0               0                0               0               0         100,000          150,000         150,000         150,000
Crewe Advisors LLC                                                                 0               0               0               0                0               0               0               0                0               0               0
Cribstone Capital Management, LLC                                                400             200               0               0                0               0             500             500              500             500               0
Crossmark Global Investments, Inc                                            122,565         128,085         175,955         207,158          209,960         189,958         144,270         163,697          160,047         157,324         153,047
CSR Beratungsgesellschaft mbH                                                      0               0               0               0                0               0               0               0           58,041          58,041          68,024
CSS, LLC                                                                     134,580         380,966          34,900          24,900           12,900               0               0               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                          44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                                     2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                          525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                              921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                             559             567              570             584             578             544


Institution/Individual                                                  9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
Comerica, Inc                                                                  3,675            3,675           3,675           3,675           3,675            4,964
Commerzbank AG                                                            16,156,222       13,053,434       4,846,827         764,555         221,474          765,782
Commonwealth Bank of Australia                                                 5,713                0               0               0               0                0
Commonwealth Financial Network                                                11,962           10,022          10,431               0               0                0
Compagnie Lombard Odier SCmA                                                   1,500            1,500           1,500           4,500          10,000           10,000
Concourse Capital Management, LLC                                                  0                0               0               0               0                0
Conning, Inc                                                                       0                0               0               0               0                0
CONQUEST Investment Advisory AG                                                  100              100             100             100               0                0
Consortia Vermögensverwaltung AG                                                   0                0               0               0               0                0
Consultinvest Asset Management SGR S p A                                     246,466          355,000         460,000         260,000         260,000          260,000
Continental Advisors LLC                                                           0                0               0               0               0                0
Convergence Investment Partners, LLC                                               0                0               0               0               0                0
Convergent Wealth Advisors_NLE                                                     0                0               0               0               0                0
Corient Capital Partners, LLC                                                 17,731           19,201          14,625          13,224          12,644                0
Cornèr Banca S A                                                             120,000          120,000         120,000         120,000         120,000                0
Cornerstone Advisors, Inc (WA)                                                     0                0               0               0               0                0
Counsel Portfolio Services, Inc                                                    0                0               0          20,900          20,900           20,830
Courier Capital, LLC                                                               0                0               0               0               0                0
Cowen & Co , LLC                                                             160,000                0               0               0               0                0
Cowen Investment Management LLC                                                    0                0               0               0               0                0
Coyle Financial Counsel LLC                                                        0           20,000               0               0               0                0
CPP Investment Board                                                              31          577,674         544,369       1,036,679       2,246,926        2,246,926
CPR Asset Management                                                         474,862          211,679         606,260         824,861         991,123          593,472
Creand Wealth Management                                                           0                0               0           9,535               0                0
Creative Financial Designs, Inc                                                    0                0               0              35              35               35
Creative Planning, Inc                                                        36,729                0          21,603          19,400          22,027           19,197
Crédit Agricole Corporate and Investment Bank                                  3,820            1,700               0               0               0        1,551,000
Credit Mutuel Asset Management                                                     0                0               0               0         380,032           26,882
Credit Suisse (Brasil) DTVM S A                                               14,550           15,988               0               0               0                0
Credit Suisse (France)                                                             0                0               0               0               0                0
Credit Suisse (Luxembourg) S A                                                     0                0               0               0               0                0
Credit Suisse Asset Management                                             8,899,614        6,610,880      11,496,977       9,337,559       7,089,065        4,863,866
Credit Suisse Asset Management, LLC (US)                                           0                0               0               0               0                0
Crédit Suisse Gestión S G I I C , S A                                          8,145            8,145           8,145           8,145           8,145            8,145
Credit Suisse International                                                2,676,798        8,508,303       5,333,065       3,725,918       3,943,320        4,595,162
Credit Suisse Securities (Europe) Limited                                  3,970,147        1,157,801         616,523       2,053,956       6,342,751        1,359,830
Credit Suisse Securities (USA) LLC                                                 0                0           7,819               0               0                0
Crédito Agrícola Gest-Sociedade Gest de Fundos de Invest Mobilliário           2,600            2,600               0               0               0                0
Cresset Asset Management, LLC                                                 12,793           12,652          18,214               0               0                0
Creutz & Partners, Global Asset Management S A                                     0                0               0               0               0                0
Crewe Advisors LLC                                                                 0                0               0               0             600              600
Cribstone Capital Management, LLC                                                  0                0               0               0               0                0
Crossmark Global Investments, Inc                                            125,279          126,279         132,048         143,511         139,160          147,493
CSR Beratungsgesellschaft mbH                                                127,066          138,910         162,828         116,921         114,549          104,217
CSS, LLC                                                                           0                0               0               0               0                0




                                                                                                                                                                         Page 16 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721              712             644             642             613              601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Cubist Systematic Strategies, LLC                                  0          20,511          19,526          55,750           17,868          62,635               0               0          113,256          58,677          10,908
Cumerius Management GmbH                                       6,000               0               0               0                0               0               0               0                0               0               0
Cutler Group, LP                                               2,100          37,539           7,527          14,932            2,559           6,300               0               0           17,900          24,100          10,500
D E Shaw & Co , L P                                                0               0               0               0                0               0          39,139         194,581          116,681         117,700          45,513
D A Davidson & Co                                              6,526          20,712          26,530          25,382                0               0               0               0                0               0               0
Daiwa Asset Management (Singapore) Ltd                         1,483           1,483           1,483          19,586           32,782          32,782          32,782          33,020           37,396          37,396          37,396
Daiwa Asset Management Co , Ltd                               32,150          32,150          49,785          51,388           51,419          51,419          51,696          50,650           53,150          53,150          80,487
Danske Bank                                                   13,480          13,480          13,480          13,480                0               0               0               0                0               0               0
Danske Bank Asset Management                                  59,720         121,414         150,278         175,794          293,356         366,503         811,826         637,940          634,868         747,695         636,628
Danske Invest Management Company S A                               0               0               0               0                0               0               0               0                0               0               0
DB Platinum Advisors                                          84,357         122,859         118,917         123,686          123,686         123,686         123,686         123,686          123,686         123,686               0
DBX Advisors LLC                                              15,096          15,211          25,697          22,484           18,614       1,254,702       1,168,963       1,079,203        1,048,373               0         927,071
DBX Strategic Advisors LLC                                    11,637          11,637          11,637               0                0               0               0               0                0               0               0
Degroof Petercam Asset Management                            413,006         413,006         654,250         695,527          785,327         754,301         753,001         462,101          431,101         377,601         370,601
Degroof Petercam Asset Services SA                            44,145          44,145          66,217          66,217           66,217          66,217          66,217          66,217           65,617          64,617          64,617
Degussa Bank AG                                              518,145         418,145         418,145         418,145          418,145         468,145         468,145         468,145          468,145         509,895         468,145
Deka Investment GmbH                                      20,951,310      20,415,131      27,168,090      22,878,018       22,878,018      20,630,640      18,135,649      18,457,232       15,843,054      15,843,054      16,044,242
Deka Vermögensmanagement GmbH                                 28,269          30,419         200,498         355,500          355,500         466,500           4,200           4,200            4,200           4,200           4,200
Delpha Capital Management, L L C _NLE                              0               0               0               0              192               0               0               0                0               0               0
Delta Lloyd Asset Management N V _NLE                        105,145         105,145         182,603         222,085          233,534               0               0               0                0               0               0
Deltec Asset Management, LLC                                 139,000         108,000         371,500          87,500           22,000          22,000               0               0                0               0               0
Desjardins Global Asset Management                             3,170               0               0               0                0               0               0               0                0               0               0
Deutsche Apotheker- und Ärzte Bank eG                        130,000         130,000         130,000         130,000          130,000         130,000         130,000         130,000                0               0               0
Deutsche Asset Management Americas                        19,537,837      30,378,493      34,053,143      27,164,074       31,647,326      21,301,727      18,112,290       8,374,255        5,220,157          80,076       6,096,297
Deutsche Bank (Suisse) SA                                      6,210           6,210           6,210           6,210           48,223          11,835           4,410           4,410            4,410               0           4,410
Deutsche Bank AG (Germany)                                    35,986          43,632          30,780          46,319           67,925          72,581          72,581          72,581           72,581          72,581          72,581
Deutsche Bank S p A                                                0               0               0               0                0               0               0               0                0               0               0
Deutsche Bank Securities Inc                                  23,705          23,705          23,705          23,705           23,705          23,705          23,705          23,705           23,705          23,705          23,705
Deutsche Oppenheim Family Office AG                                0               0               0               0                0               0               0               0                0               0           5,655
Deutsche Wealth Management, S G I I C , S A                   46,085          46,085          46,085          46,085           46,085          46,085               0               0                0               0               0
Didner & Gerge Fonder AB                                           0               0       1,000,000       2,800,000        4,800,000       6,100,000       6,100,000       6,100,000                0               0               0
Die Sparkasse Bremen AG                                      108,000         108,000         162,000         162,000                0               0               0               0                0               0               0
Diem Client Partner AG                                        12,000          12,000              44              44           20,000          20,000          20,000          20,000           20,000          20,000          65,000
Diligent Investors, LLC                                            0               0               0               0                0               0          10,500          10,500           10,500          10,500          10,500
Dimensional Fund Advisors, L P                             3,022,667       3,464,100       5,405,319       5,395,996        5,354,088       5,553,116       5,649,527       5,653,158        5,979,508       6,021,895       5,878,041
Dimensional Fund Advisors, Ltd                                65,630          48,074          85,074          79,690           81,640         118,304         123,416         148,395          190,597         184,733         485,007
DINAMIK S A                                                        0               0          16,500          19,500            4,500               0               0               0                0               0               0
DIVAS Asset Management AG                                          0               0               0               0                0               0               0               0                0               0         187,207
DJD Partners Trust reg                                             0               0               0          30,000                0               0               0               0                0               0               0
DJE Kapital AG                                               151,000         148,000         157,000         117,000          262,201         137,583         137,583               0                0               0               0
DNB Asset Management AB                                        8,548           8,548          12,822          17,124           17,124          17,124          17,124          17,124           17,124          17,124          17,124
DNB Asset Management AS                                       62,455          85,107         121,431         117,312          117,312         284,840         310,344         192,091          172,121         161,930         162,054
Dominicé et Co Asset Management                                    0               0               0               0                0               0               0               0                0               0               0
DONNER & REUSCHEL Aktiengesellschaft                           3,397           3,397           3,397           3,397            3,397           3,397           3,397           3,397                0               0               0
DONNER & REUSCHEL Luxemburg S A                                    0               0               0               0                0               0               0          15,000                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567              570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
Cubist Systematic Strategies, LLC                             99,953          355,120          44,818         465,537         362,667          360,881
Cumerius Management GmbH                                           0                0               0               0               0                0
Cutler Group, LP                                              18,000           55,000          63,000          61,716          46,529           59,900
D E Shaw & Co , L P                                                0                0          32,813          32,813          91,978           50,013
D A Davidson & Co                                                  0                0               0               0               0                0
Daiwa Asset Management (Singapore) Ltd                        37,813           40,474          40,474          40,474          40,696           44,378
Daiwa Asset Management Co , Ltd                               87,104           89,906          89,906         100,927         101,149          100,067
Danske Bank                                                        0                0               0               0               0                0
Danske Bank Asset Management                                 626,060          639,835         566,364         532,050         552,329          466,403
Danske Invest Management Company S A                          16,653           31,933          36,093          36,093          40,638           40,638
DB Platinum Advisors                                               0                0               0               0               0                0
DBX Advisors LLC                                             914,813          923,042         790,732         699,119         627,695          573,498
DBX Strategic Advisors LLC                                         0                0               0               0               0                0
Degroof Petercam Asset Management                            323,701          297,719         254,478         227,337         221,337          212,443
Degroof Petercam Asset Services SA                            64,617           64,617          64,617          60,000          60,000           60,000
Degussa Bank AG                                              594,895          594,895         543,145         594,895         594,895          594,895
Deka Investment GmbH                                      16,133,608       13,060,871      11,459,325      12,252,081      12,307,176       12,740,573
Deka Vermögensmanagement GmbH                                  4,200                0               0               0         747,600          695,000
Delpha Capital Management, L L C _NLE                              0                0               0               0               0                0
Delta Lloyd Asset Management N V _NLE                              0                0               0               0               0                0
Deltec Asset Management, LLC                                  10,000           12,500               0               0               0                0
Desjardins Global Asset Management                                 0                0               0           1,785           1,545            1,545
Deutsche Apotheker- und Ärzte Bank eG                              0                0               0               0               0                0
Deutsche Asset Management Americas                         2,651,820          482,441         761,966      10,116,029       1,959,115        1,737,457
Deutsche Bank (Suisse) SA                                      3,500            3,500           3,500           3,500           3,500            3,500
Deutsche Bank AG (Germany)                                    72,581           72,581               0               0               0                0
Deutsche Bank S p A                                                0                0               0               0               0            6,000
Deutsche Bank Securities Inc                                  23,705           23,705          23,700               0               0              837
Deutsche Oppenheim Family Office AG                            5,655            5,655             330             330             330              330
Deutsche Wealth Management, S G I I C , S A                        0                0               0               0               0                0
Didner & Gerge Fonder AB                                           0                0               0               0               0                0
Die Sparkasse Bremen AG                                            0                0               0               0               0                0
Diem Client Partner AG                                        65,000           65,000          65,000          32,500          32,500           32,500
Diligent Investors, LLC                                       10,500           10,500          10,500          10,500          10,500           10,500
Dimensional Fund Advisors, L P                             6,272,419        6,299,939       6,271,999       6,201,907       5,791,052        5,802,613
Dimensional Fund Advisors, Ltd                               472,776          498,252         475,924         482,456         427,577          419,894
DINAMIK S A                                                        0                0               0               0               0                0
DIVAS Asset Management AG                                    321,560          363,124         313,506               0               0                0
DJD Partners Trust reg                                             0                0               0               0               0                0
DJE Kapital AG                                                     0                0               0               0               0                0
DNB Asset Management AB                                       23,475           23,475          29,710          13,120          18,817           18,817
DNB Asset Management AS                                      163,267          164,972         124,877         130,519         139,299          167,706
Dominicé et Co Asset Management                                    0                0               0               0               0            8,694
DONNER & REUSCHEL Aktiengesellschaft                               0           10,000          37,000               0               0                0
DONNER & REUSCHEL Luxemburg S A                                    0                0               0               0               0                0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
D'Orazio & Associates, Inc                                         0               0               0               0               0               0               0               0               0               0               0
Dorval Asset Management                                            0               0               0               0          88,648         122,038         234,044         234,044          51,309          51,309          51,309
Dr Bauer & Co Vermögensmanagement GmbH                        54,500          54,500          54,500          54,500          54,500          54,500          54,500          54,500          54,500          54,500          54,500
Dr Kohlhase Vermögensverwaltungsgesellschaft mbH               6,290           6,290           6,290           6,290           6,290           6,290          11,290           6,290           6,290           6,290           6,290
Dreman Value Management, L L C _NLE                              325               0             487             487             487             487             487             487             487             487             487
DRW Securities, LLC                                                0               0               0               0               0               0               0               0               0               0               0
Duemme International Luxembourg S A _NLE                      20,868          12,752          19,128          19,128          19,128          19,128          19,128          19,128          19,128          19,128               0
DUX Inversores, SGIIC, S A                                    30,910          30,910         113,410          59,210          59,210          59,210          59,210          59,210          59,210          44,655          44,655
DVAM Vermögensverwaltung GmbH                                      0               0               0           7,000               0               0           9,000               0           2,500               0               0
DWS International GmbH                                     2,335,498       3,298,178       3,377,752       5,493,504       5,670,391       1,568,174       2,005,309       1,712,761       1,787,595               0       1,888,024
DWS Investment GmbH                                       20,631,979      19,939,797      30,429,687      30,143,126      22,654,151      16,351,513      16,471,395      15,463,756      12,059,138               0       2,147,014
DWS Investment Management Americas, Inc                        6,754           6,057           9,085           8,273               0               0               0               0               0               0               0
DWS Investments UK Limited                                    21,637          45,276          39,815          39,815      15,212,522      16,575,210      15,420,433      11,736,784      11,716,812               0      11,856,717
Dynamic Technology Lab Pte Ltd                                     0          11,500               0          35,787               0               0               0               0               0               0               0
DZ Bank AG Deutsche Zentral-Genossenschaftsbank            2,782,907       2,523,150       3,698,995       4,053,967       4,217,527       4,758,927       4,966,357       4,391,765       5,081,833       4,406,698       4,279,172
DZ PRIVATBANK S A                                             20,500               0               0               0               0               0               0               0               0               0               0
E Öhman J or Fonder AB                                        35,208          35,208          63,853          63,853          59,368          53,368               0               0               0               0               0
Eagle West Group                                                   0               0               0               0               0               0               0               0               0               0               0
EARNEST Partners, LLC                                              0               0               0               0             304             304             304             304             304             304             304
Eastspring Investments (Singapore) Limited                    38,144          22,304          21,091          21,091          19,783          12,636          11,981          11,981          11,981               0               0
Eastspring Securities Investment Trust Co Ltd                 28,311          28,311          24,825          24,825          31,335          31,335          31,335          31,335          31,335          31,335          31,335
Eaton Vance Management                                             0               0               0               0               0               0               0               0               0               0               0
EB Portfoliomanagement GmbH                                        0               0           2,376           2,376           2,376           4,707           4,707           7,398           5,461           5,461           5,461
Ecofi Investissements S A                                     11,840          11,840          10,724           8,194          13,254          13,254          13,254          13,254               0               0               0
EdenTree Investment Management Limited                        60,000          30,000          45,000          45,000          45,000          45,000               0               0               0               0               0
Edge Wealth Management LLC                                    10,400          22,400             400             400             900          10,500          10,000          30,000               0               0               0
Edgestream Partners, L P                                           0               0               0               0               0         314,321         490,636               0               0               0          65,711
Edmond de Rothschild (Europe)                                  1,005           1,005           1,005           1,005           1,005           1,005           1,005               0               0               0               0
Edmond de Rothschild (Suisse) S A                              4,200           4,200           4,200           4,200           4,200           4,200           4,200               0               0               0               0
Edmond de Rothschild Asset Management (France) S A            17,795          18,325          19,127          47,717          60,307          80,307          82,307          77,007          77,007          77,007          77,007
Eichler & Mehlert Finanzdienstleistungen GmbH                      0               0               0               0          23,000          43,000          43,000          43,000               0               0               0
Eightstone Oclaner Pte Ltd                                    14,822          14,822               0               0               0               0               0               0               0               0               0
Elan Capital-Partners GmbH                                    36,400          36,513          59,504          59,508          61,978          58,780         135,000          50,000         134,000          22,800           7,200
Elite Wealth Management Inc                                    1,754           1,754           1,754           1,754               0               0               0               0               0               0               0
Ellevest, Inc                                                      0               0               0               0               0               0               0               0               0               0               0
Ellington Management Group, L L C                                  0               0               0          22,000               0               0               0               0               0               0               0
EMC Gestion de Fortune S A                                    10,000          10,000          31,218          10,000          10,000          10,000          10,000               0               0               0               0
Engineers Gate Manager, L P                                   22,707               0               0         304,486         206,210               0         122,317               0         111,528               0          15,867
Ensign Peak Advisors, Inc                                          0               0               0               0               0               0               0               0               0               0               0
Enterprise Financial Services Corp                               882             600             523             804             804             908             347             279             165             430             973
Envestnet Asset Management, Inc                                  875              79              96              79              79              79              80               0               0               0               0
Epsilon SGR SpA                                                    0               0               0               0               0               0               0               0               0               0          90,455
Equitec Proprietary Markets, LLC                                   0          15,700               0               0               0               0               0               0               0               0               0
Esfera Capital Gestion SGIIC, S A                                  0               0               0               0               0               0               0               0               0               0               0
Esferalia Capital EAFI                                             0               0             765             765             765               0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567              570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
D'Orazio & Associates, Inc                                       220              220               0               0               0               0
Dorval Asset Management                                            0                0               0               0               0               0
Dr Bauer & Co Vermögensmanagement GmbH                        54,500           54,500          54,500          54,500          54,500          54,500
Dr Kohlhase Vermögensverwaltungsgesellschaft mbH               6,290            6,290           6,290          14,161          14,161               0
Dreman Value Management, L L C _NLE                                0                0               0               0               0               0
DRW Securities, LLC                                                0                0               0          61,600               0               0
Duemme International Luxembourg S A _NLE                           0                0               0               0               0               0
DUX Inversores, SGIIC, S A                                    44,655           44,655         135,255          44,655          44,655          44,655
DVAM Vermögensverwaltung GmbH                                      0                0               0               0               0               0
DWS International GmbH                                     1,791,552        1,806,099       2,054,118       2,167,963       1,997,073       2,092,086
DWS Investment GmbH                                        2,661,057        2,535,964       5,241,539      12,814,544       5,105,276       5,064,617
DWS Investment Management Americas, Inc                            0                0               0           6,217          38,834          35,434
DWS Investments UK Limited                                11,260,355       10,825,705      11,377,044      11,676,064      14,563,112      10,959,968
Dynamic Technology Lab Pte Ltd                                     0                0               0               0               0               0
DZ Bank AG Deutsche Zentral-Genossenschaftsbank            4,098,340        4,056,642       4,078,541       3,815,124       3,541,387       3,269,272
DZ PRIVATBANK S A                                                  0                0               0               0               0               0
E Öhman J or Fonder AB                                             0                0               0               0               0               0
Eagle West Group                                                   0                0               0               0          26,000               0
EARNEST Partners, LLC                                            304              304             304             304             304             304
Eastspring Investments (Singapore) Limited                         0                0               0               0               0           4,383
Eastspring Securities Investment Trust Co Ltd                 31,335                0               0               0               0               0
Eaton Vance Management                                        23,910                0               0          14,128          14,169          14,931
EB Portfoliomanagement GmbH                                    2,331            2,331           2,331           2,331           2,331           2,331
Ecofi Investissements S A                                          0                0               0               0               0               0
EdenTree Investment Management Limited                             0                0               0               0               0               0
Edge Wealth Management LLC                                         0                0               0               0               0               0
Edgestream Partners, L P                                           0          231,630               0               0         491,968         245,807
Edmond de Rothschild (Europe)                                      0                0               0               0               0               0
Edmond de Rothschild (Suisse) S A                                  0                0               0               0               0               0
Edmond de Rothschild Asset Management (France) S A            77,007           75,007          75,007             525             525             525
Eichler & Mehlert Finanzdienstleistungen GmbH                      0                0               0               0               0               0
Eightstone Oclaner Pte Ltd                                         0                0               0               0               0               0
Elan Capital-Partners GmbH                                     5,000            7,500           8,600           8,600           8,600           7,600
Elite Wealth Management Inc                                        0                0               0               0               0               0
Ellevest, Inc                                                      0            2,667           3,404             985           2,338             541
Ellington Management Group, L L C                                  0                0               0               0               0               0
EMC Gestion de Fortune S A                                         0                0               0               0               0               0
Engineers Gate Manager, L P                                   35,300                0          11,353               0               0               0
Ensign Peak Advisors, Inc                                          0           84,000          84,000          84,000          72,650          72,650
Enterprise Financial Services Corp                               973              801             920             506             506             406
Envestnet Asset Management, Inc                                    0                0               0          45,372          51,150          61,445
Epsilon SGR SpA                                               85,924           55,530          49,483               0               0         332,036
Equitec Proprietary Markets, LLC                                   0                0               0               0               0               0
Esfera Capital Gestion SGIIC, S A                              3,800            2,260           2,840           2,840           2,840           2,840
Esferalia Capital EAFI                                             0                0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                         41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                                    1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                         122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                             633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                            698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                                 12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Essex Savings Bank                                                                0               0               0               0               0               0               0               0               0               0           1,107
ETFS Management Aus Ltd                                                       1,411           2,116           5,784          12,632          25,705          34,769          33,799               0               0               0               0
Ethenea Independent Investors S A                                                 0               0               0               0               0               0               0       1,946,888               0               0               0
Etoile Gestion S A                                                                0               0          71,898          72,909          43,415          86,407          86,407          22,084          14,949           9,618           9,618
Eurizon Capital S A                                                         438,206         381,106         658,445           5,027           5,027          31,369         138,369         147,200         113,767         113,567         112,667
Eurizon Capital SGR S p A                                                         0               0               0               0               0         116,904         138,004         135,648         128,728         123,007         117,416
European Depositary Bank S A                                                      0               0               0           4,380           4,380           4,380           4,380           4,380           4,380           4,380               0
Evercore Wealth Management, LLC                                                 128             128               0               0               0               0               0               0               0               0               0
Evergreen Capital Management, LLC                                                 0               0               0               0               0          12,268               0               0          14,069          12,963               0
Evli Fund Management Company Ltd                                             10,151          13,859          20,233          25,940               0               0               0               0               0               0               0
Evoke Advisors                                                                    0               0               0               0               0               0               0               0               0               0               0
Exane Asset Management                                                            0         102,430         319,821          68,014               0               0               0               0               0               0               0
Exane Derivatives                                                         1,842,399       1,790,829       1,425,426         595,980       1,575,812       1,443,798       1,656,219       2,165,364       1,397,299         916,885       1,588,820
Exchange Traded Concepts, LLC                                                     0               0               0               0               0               0               0               0               0               0               0
ExodusPoint Capital Management, LP                                                0               0               0               0               0               0               0               0               0           5,649       1,080,038
FCF Advisors LLC                                                             11,808          11,808          11,808          11,808          11,808          11,808          11,808               0               0               0               0
FDX Advisors, Inc                                                                 0          39,153          38,764          38,622               0               0               0               0               0               0               0
Federal Finance Gestion                                                     592,004         226,121         240,621         640,000         475,000         565,012         842,694       1,049,635       1,631,871       1,801,510         359,304
Federated Hermes Equity Management Company of Pennsylvania                  100,000               0         150,000         120,000          80,000         115,000               0               0               0               0               0
Federated Hermes Investment Management Company                               90,776          86,713         127,480         124,166         120,427         120,427         114,588         109,464         109,464         109,464         109,464
Feri Trust GmbH                                                             504,110         504,110               0               0         766,031         239,472       1,094,632               0               0               0               0
Ferris Capital, LLC                                                               0               0             112               0               0             112             112             112             112             112               0
ficon börsebius Invest GmbH                                                       0               0               0               0               0               0               0               0               0          45,000          47,150
Fideas CAPITAL                                                                    0               0               0               0               0               0               0               0          20,925          22,379          23,162
Fidecum AG                                                                1,075,000         975,000       1,450,000       2,200,000       2,030,000       2,700,000       3,300,000       2,800,000       2,700,000       2,650,000       2,875,000
Fidelity International                                                      583,622               0               0               0               0         915,281               0               0               0               0               0
Fidelity Management & Research Company LLC                                        0          74,486          74,486          74,486          74,486          74,486          74,486             354           1,209               0             282
Fideuram - Intesa Sanpaolo Private Banking Asset Management SGR S p               0           2,800          11,800          11,800          11,800               0               0               0               0               0               0
Fideuram Asset Management (Ireland) dac                                     186,178         115,637         175,316         116,186         141,891          29,117          27,020          21,462          58,218          18,607               0
Fiduciary Trust Company of Canada                                                 0               0               0               0             544             610               0               0               0               0               0
Fiduka Depotverwaltung GmbH                                                   6,600           6,600           6,600           6,600           6,600           6,600           6,600           6,600           6,600           6,600               0
Fieldpoint Private Bank & Trust                                                   0               0               0               0               0               0               0               0               0               0               0
Fiera Capital Corporation                                                         0               0               0               0               0               0               0               0               0               0           3,995
Financial Architects Inc                                                      3,300               0           1,830           1,680           1,430             100             100               0               0               0               0
Financière Arbevel                                                                0               0               0               0          54,523          54,523          54,523          54,523          96,445          96,445          96,445
Fineco Patrimonios, S G I I C , S A                                           1,864           1,864           1,864           1,864           1,864           1,864               0               0               0               0               0
FineMark National Bank & Trust                                                  157               0               0               0               0               0               0               0               0               0               0
FiNet Asset Management AG                                                       230             230             230             230             230             230               0               0               0               0               0
FinEx Capital Management LLP                                                  8,848          13,165          13,321          13,321          12,871          12,871          12,286          12,286          12,686          14,238          14,668
FinTrust Capital Advisors, LLC                                                    0               0               0               0               0               0               0               0               0             260               0
Firestone Capital Management Inc                                                  0               0               0               0               0               0               0               0               0               0               0
First Dallas Securities, Inc                                                      0          17,850          17,850               0               0               0               0               0               0               0               0
First Pacific Advisors LP                                                         0               0               0               0               0               0               0               0               0               0               0
First Private Investment Management KAG mbH                                   1,216           1,216               0               0               0               0               0               0               0               0               0
First Republic Investment Management, Inc                                         0               0               0          10,425               0               0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                         44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                                    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                         525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                             921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                            559             567             570             584             578             544


Institution/Individual                                                 9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Essex Savings Bank                                                                0               0               0               0               0               0
ETFS Management Aus Ltd                                                           0               0               0               0               0               0
Ethenea Independent Investors S A                                                 0               0               0               0               0               0
Etoile Gestion S A                                                           13,733          15,633          34,505          52,300          52,300          48,600
Eurizon Capital S A                                                         125,088         136,688          79,794         175,526         204,932         172,523
Eurizon Capital SGR S p A                                                   115,677         106,210          99,372          99,372          97,976          95,031
European Depositary Bank S A                                                      0               0               0               0               0               0
Evercore Wealth Management, LLC                                                   0               0               0               0               0               0
Evergreen Capital Management, LLC                                                 0               0               0               0               0               0
Evli Fund Management Company Ltd                                                  0               0               0               0               0               0
Evoke Advisors                                                                  243               0             248             145              85              85
Exane Asset Management                                                            0               0               0         362,436         323,550             417
Exane Derivatives                                                         1,904,749         576,469         827,014         713,858         404,200         357,024
Exchange Traded Concepts, LLC                                                     0               0               0               0           1,566               0
ExodusPoint Capital Management, LP                                          327,240         418,837               0          48,011          49,023          81,284
FCF Advisors LLC                                                                  0               0               0               0               0               0
FDX Advisors, Inc                                                                 0               0               0               0               0               0
Federal Finance Gestion                                                           0               0       1,424,896         440,922         274,273         477,341
Federated Hermes Equity Management Company of Pennsylvania                        0               0               0               0               0               0
Federated Hermes Investment Management Company                              109,464         109,464         109,464               0               0               0
Feri Trust GmbH                                                                   0               0               0               0               0               0
Ferris Capital, LLC                                                               0               0               0               0               0               0
ficon börsebius Invest GmbH                                                  47,150          47,150          45,000          45,000          45,000          55,000
Fideas CAPITAL                                                               22,496          22,496         206,228          18,023          23,012          37,409
Fidecum AG                                                                2,325,000       2,300,000         700,000         390,000         290,000         285,000
Fidelity International                                                            0               0               0           2,102           1,996           2,082
Fidelity Management & Research Company LLC                                    1,372          13,762          34,521          47,961          57,358          77,620
Fideuram - Intesa Sanpaolo Private Banking Asset Management SGR S p               0               0           8,800           8,800           8,800           8,800
Fideuram Asset Management (Ireland) dac                                     202,547         198,532         182,877         205,577         468,325         460,121
Fiduciary Trust Company of Canada                                                 0               0               0               0               0               0
Fiduka Depotverwaltung GmbH                                                       0               0               0               0               0               0
Fieldpoint Private Bank & Trust                                                   0               0               0               0               0           3,160
Fiera Capital Corporation                                                     4,191               0               0               0               0               0
Financial Architects Inc                                                          0               0               0               0               0               0
Financière Arbevel                                                                0               0               0               0               0               0
Fineco Patrimonios, S G I I C , S A                                               0               0               0               0               0               0
FineMark National Bank & Trust                                                    0               0               0               0               0               0
FiNet Asset Management AG                                                         0               0               0               0               0               0
FinEx Capital Management LLP                                                 15,117          15,577          21,001          26,575          36,643          39,474
FinTrust Capital Advisors, LLC                                                    0               0               0               0               0               0
Firestone Capital Management Inc                                                  0             150               0               0               0               0
First Dallas Securities, Inc                                                      0               0               0               0               0               0
First Pacific Advisors LP                                                    75,587          75,587          75,587          75,587               0               0
First Private Investment Management KAG mbH                                       0               0               0               0               0               0
First Republic Investment Management, Inc                                         0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                           1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                    633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                   698             715             721             730             721              712             644             642             613              601             570


Institution/Individual                                        12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
First Sentier Investments (U K ) Ltd                                     0             183           2,026           2,026            2,026           2,026           2,026           2,026            2,026           2,026           2,026
First Trust Advisors L P                                                 0          62,094          70,377               0           36,237          32,765               0               0                0               0         287,200
Fischer Francis Trees & Watts, Inc _NLE                              9,836           9,836           9,836               0                0               0               0               0                0               0               0
Fisher Investments                                                       0               0               0               0                0               0               0               0           17,016               0               0
Flagship Harbor Advisors LLC                                             0               0               0               0                0               0             101             102              101             101             102
Flinton Capital Management LLC                                       9,464           9,464           9,464           9,464            9,464           9,464           9,464          11,060           15,764          15,764          18,816
Florida State Board of Administration                                    0       1,001,725       1,001,725       1,001,725        1,001,725       1,166,304       1,166,304       1,166,304        1,166,304         998,346         998,346
Flossbach von Storch AG                                                  0               0               0         190,001                0               0               0               0                0               0               0
FNY Capital Management LP                                           60,000          60,000          60,000          60,000           60,000          60,000          60,000          60,000                0               0               0
FNY Investment Advisers LLC                                              0               0               0               0                0               0         267,510               0                0         113,000               0
Focused Wealth Management, Inc                                       7,128           6,128           6,145           8,161            5,645          39,591          88,917          95,227           60,879           3,588           3,590
Folger Hill Asset Management LLC_NLE                                     0          20,554          24,659               0                0               0               0               0                0               0               0
Fondsmæglerselskabet Maj Invest A/S                                  3,556               0               0          29,706           29,706          38,341               0               0                0               0               0
Fora Capital LLC                                                         0               0               0               0                0               0               0               0                0               0               0
Foresters Investment Management Company, Inc                             0               0          13,456               0                0               0               0               0                0               0               0
Första AP-Fonden                                                         0               0               0               0                0               0               0               0                0               0               0
Fosun International Ltd                                                  0               0               0               0                0               0               0         787,000          793,000         793,000         861,000
Founders Capital Management, Inc                                         0           1,800           2,700           2,700            2,000           2,000           2,000           2,000            2,000           2,000           2,000
Fox Run Management, L L C                                                0               0          29,900          23,700                0               0               0               0                0               0               0
FPM Frankfurt Performance Management AG                            343,333         348,333         479,999         416,000          426,000         411,000         305,000         305,000          300,000         300,000         230,000
FPS Vermögensverwaltung GmbH                                        54,600          54,600          81,900          81,900          189,300         189,300         215,400         215,400          273,400         273,400         534,500
Frankfurt-Trust Investment-Gesellschaft mbH_NLE                  2,824,980       2,804,980       4,050,000       4,565,700        3,804,522       5,904,600               0               0                0               0               0
Franklin Advisers, Inc                                                   0               0               0               0           28,472          30,069          30,696          26,740           31,171               0               0
Franklin Advisory Services, LLC                                          0               0               0               0                0               0               0               0                0          62,373          64,112
Franklin Equity Group                                                    0               0               0               0                0               0               0               0                0           8,576           8,576
Franklin Mutual Advisers, LLC                                            0               0         190,631         190,631          190,631      11,129,230      11,340,042      13,476,541       14,946,690      12,445,499      12,340,423
Franklin Templeton International Services SARL                           0               0               0               0                0               0               0               0                0               0               0
Franklin Templeton Investment Management Ltd                             0               0               0               0           50,555          81,046               0               0                0               0               0
Franklin Templeton Portfolio Advisors, Inc                               0               0               0               0           28,472          30,069          30,696          26,740           31,171          62,373          64,112
Franklin Templeton SinoAm Securities Investment Management               0               0               0               0                0               0          17,641          17,641                0               0               0
Fred Alger Management, LLC                                               0               0             616           1,165            2,242           2,952           3,904           4,403            3,342               0               0
Fubon Asset Management Company Ltd                                       0               0               0           1,411            1,336             979             744             744            1,148           1,148           1,148
FundLogic SAS                                                            0           1,837               0               0                0               0               0               0                0               0               0
Furkert & Schneider Private Asset Management KG                          0               0           5,580           5,580            5,580           5,580           5,580           5,580            5,580           5,580               0
FutureAdvisor                                                            0               0               0               0                0               0              28              28                0               0               0
FV Frankfurter Vermögen AG                                               0               0               0               0                0               0               0               0                0               0               0
FWU Invest S A                                                           0               0               0               0                0               0               0               0                0               0               0
G I I C Fineco S G I I C, S A U                                     64,495          64,495          57,878          15,868           26,659          58,559          84,590          23,621           60,745               0               0
GA Investment Management                                             1,000             500               0               0                0               0               0               0                0               0               0
Gabelli Funds, LLC                                                  45,000          46,000          69,500          53,000           53,000          59,000          58,000          58,000           46,000          46,000          46,000
Gainplan LLC                                                        11,400               0               0               0           15,000               0               0               0                0               0               0
GAM (Luxembourg) S A                                                     0               0               0          45,911           28,044         112,394          41,754               0                0          32,135               0
GAM Capital Management (Switzerland) AG                                  0               0               0               0                0       2,003,810       2,485,886       2,216,834        1,083,980         159,726               0
GAM International Management Ltd                                         0               0               0          45,911           28,044          43,364               0               0                0          32,135               0
GAM Investment Management (Switzerland) AG                               0               0       1,183,111       1,183,111        1,575,434               0               0               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                           2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                    921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                   559             567              570             584             578             544


Institution/Individual                                        9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
First Sentier Investments (U K ) Ltd                                 2,026              907             907             632             527               0
First Trust Advisors L P                                           393,491          147,243               0               0         249,446         275,228
Fischer Francis Trees & Watts, Inc _NLE                                  0                0               0               0               0               0
Fisher Investments                                                       0                0               0               0               0               0
Flagship Harbor Advisors LLC                                           102              103             103             102             102               0
Flinton Capital Management LLC                                      18,816           18,816          18,816          18,816          18,816          18,816
Florida State Board of Administration                              998,346          998,346         977,956         977,956         977,956         977,956
Flossbach von Storch AG                                                  0                0               0               0               0               0
FNY Capital Management LP                                                0                0               0               0               0               0
FNY Investment Advisers LLC                                        153,279                0               0               0         200,000           5,000
Focused Wealth Management, Inc                                       3,590           28,090          33,090          33,090          33,090          30,366
Folger Hill Asset Management LLC_NLE                                     0                0               0               0               0               0
Fondsmæglerselskabet Maj Invest A/S                                      0                0               0               0               0               0
Fora Capital LLC                                                         0                0          86,390               0               0               0
Foresters Investment Management Company, Inc                             0                0               0               0               0               0
Första AP-Fonden                                                         0                0         184,964         242,444         303,942         321,895
Fosun International Ltd                                            873,000        1,323,000       1,257,000         557,000         552,000         517,000
Founders Capital Management, Inc                                     2,000            2,000           2,000           2,000           2,000           2,000
Fox Run Management, L L C                                                0                0               0               0               0          13,108
FPM Frankfurt Performance Management AG                            230,000          230,000         122,000         100,000         100,000         100,000
FPS Vermögensverwaltung GmbH                                       534,500          668,000         668,000         813,700         813,700         106,400
Frankfurt-Trust Investment-Gesellschaft mbH_NLE                          0                0               0               0               0               0
Franklin Advisers, Inc                                                   0          236,555         236,555         539,136         539,136         539,136
Franklin Advisory Services, LLC                                     52,590           50,013          63,754          82,716          84,657          82,012
Franklin Equity Group                                                8,576            7,847           6,556           7,784           7,784           5,041
Franklin Mutual Advisers, LLC                                   12,276,874       12,248,093      13,390,822      13,434,458      13,458,611      13,609,622
Franklin Templeton International Services SARL                           0                0               0               0         539,136         539,136
Franklin Templeton Investment Management Ltd                             0                0               0               0               0               0
Franklin Templeton Portfolio Advisors, Inc                          52,590           50,013          63,754          82,716          83,863          81,264
Franklin Templeton SinoAm Securities Investment Management               0                0               0               0               0               0
Fred Alger Management, LLC                                               0                0               0               0               0               0
Fubon Asset Management Company Ltd                                       0                0               0           1,121           1,121           1,210
FundLogic SAS                                                            0                0               0               0               0               0
Furkert & Schneider Private Asset Management KG                          0                0               0               0               0               0
FutureAdvisor                                                            0                0               0               0               0               0
FV Frankfurter Vermögen AG                                               0           10,000          10,000               0               0               0
FWU Invest S A                                                           0                0               0               0               0          40,443
G I I C Fineco S G I I C, S A U                                          0                0               0               0               0               0
GA Investment Management                                                 0                0               0               0               0               0
Gabelli Funds, LLC                                                  46,000           46,000          46,000          46,000          46,000          46,000
Gainplan LLC                                                             0                0               0               0               0               0
GAM (Luxembourg) S A                                                36,583           62,145               0               0               0          92,359
GAM Capital Management (Switzerland) AG                                  0                0               0               0               0               0
GAM International Management Ltd                                         0                0               0               0               0               0
GAM Investment Management (Switzerland) AG                               0                0               0               0               0               0




                                                                                                                                                              Page 24 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                    41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                               1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                    122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                        633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                       698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                            12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Gamma Financials AG                                                          0               0               0               0               0               0               0               0               0          60,000          60,000
GAP Vermögensverwaltung GmbH                                                 0               0           3,000           3,000           3,000               0               0               0               0               0               0
Gargoyle Asset Management, LLC                                               0               0               0               0               0               0               0               0               0          61,100          61,100
Gateway Investment Advisers, LLC                                         1,792           1,792               0               0               0               0               0               0               0               0               0
Gator Capital Management, LLC                                                0               0               0               0               0          30,000          28,500          54,000          60,000          60,000          60,000
Gemmer Asset Management LLC                                                  0               0               0               0               0             144              90             200             166             112             144
Geneos Wealth Management Inc                                               625             625             625             625             625             425             125               0               0               0               0
Generali Insurance Asset Management S p A SGR                          107,904         107,908         118,018         158,107         540,271       1,317,781       1,404,334         324,998          56,154          85,168          85,168
Generali Investments Partners S p A SGR                                      0               0               0               0               0               0               0               0               0               0               0
Generali PTE S A                                                       441,818         441,818         441,818         441,818               0               0               0               0               0               0               0
Geode Capital Management, L L C                                              0               0               0       4,754,655       4,938,188       5,316,991       5,335,579       5,527,953       5,921,444         251,600               0
Gesinter S G I I C , S A                                                 8,000           8,000          18,000          20,000          22,000          13,000          27,000          27,863          41,900               0               0
Gesiuris Asset Management S G I I C , S A                               13,860          17,360           3,000           3,000           3,000           3,000           3,000           3,000           3,000           3,000               0
Gestifonsa S G I I C , S A                                               2,100           2,100           2,100           2,100           2,100           2,100           2,100           2,100           2,100               0               0
Gestión Santander Mexico S A de C V                                      6,370               0               0               0               0               0               0               0               0               0               0
GET Capital AG                                                               0               0               0               0               0               0               0             773               0               0               0
GFS Advisors LLC                                                             0          13,281          13,281          13,281          13,281          13,281          13,281               0               0               0               0
Gideon Capital Advisors, Inc                                                 0               0          30,628               0               0               0               0          11,764               0               0          12,356
Gies & Heimburger GmbH                                                  15,400               0               0               0               0               0               0               0               0               0               0
Gifford Fong Associates                                                      0               0               0               0               0               0               0          50,000          45,000          45,000          45,000
Glassman Wealth Services LLC                                                 0               0               0               0               0               0               0               0               0               0               0
Glen Harbor Capital Management LLC                                       5,408           5,408           5,408           5,408           5,408           5,408           5,408           6,320           9,008           9,008          10,752
Glenmede Investment Management LP                                        3,299               0               0          29,470           4,825           4,825               0               0           3,002           3,273           1,359
GLG Partners LP                                                          7,501           7,501           7,501           7,501           7,501           7,501           7,501           7,501               0               0               0
Global Index Advisors, Inc _NLE                                         13,746          10,920          14,493          14,493          14,493          14,493          14,493               0               0               0               0
Global X Management Company LLC_NLE                                        611             611             611             611             906           1,175               0               0               0               0               0
GO ETF Solutions LLP_NLE                                                38,769          38,769          38,769          38,769          38,769               0               0               0               0               0               0
Gold Coin Invest AG                                                     15,000               0               0          10,000               0               0               0               0               0               0               0
Goldman Sachs & Company, Inc                                         4,654,361       4,297,693       5,926,377       5,877,456         504,866         501,400         784,501         920,885       1,978,860       1,328,531       1,118,319
Goldman Sachs Asset Management International                             9,625          10,160          14,523          16,823          17,554          16,218          15,266          12,385          12,385          12,385          12,385
Goldman Sachs Asset Management, L P                                  2,876,116       4,275,382         366,587         927,015       1,225,818       1,059,382       1,418,330       1,844,496       1,713,056       1,827,175       1,226,915
Goldman Sachs International                                         29,081,241      32,399,992      23,114,206      27,451,638      25,328,726      21,986,881      27,346,959      25,979,940      32,199,260      44,344,890      38,535,680
GPA Portfolio Management AG                                                  0               0               0               0           3,000               0               0               0               0               0               0
GQG Partners, LLC                                                            0               0               0               0               0               0               0               0               0               0               0
Graham Capital Management, L P                                               0               0               0               0               0               0               0               0               0               0               0
Grantham Mayo Van Otterloo & Co LLC                                     20,328          19,967               0               0               0               0               0               0               0               0               0
Graubündner Kantonalbank                                                     0               0               0               0               0               0               0             274             156             682             653
Greenleaf Trust                                                              0               0               0             279               0               0               0          24,298               0          12,912               0
Greenwich Ivy Capital LLC                                                    0               0               0               0               0               0               0               0               0               0               0
Greiff capital management AG                                                 0               0               0          10,000               0               0               0               0               0               0               0
GRESHAM Banque Privée                                                   33,865          36,770          53,078          53,078          53,372          54,964          56,475          56,475          55,303          48,322          50,257
Grohmann & Weinrauter Vermögens Management GmbH                         40,295          36,331          29,598          30,393           6,531           6,531           6,531           6,531          31,668          19,080          13,924
Grossbötzl, Schmitz, Lomparski & Partner International S à r l          20,000          20,000          20,000          20,000          20,000          20,000          20,000          20,000               0               0               0
Group One Trading, L P                                                 957,227          28,762         579,105         787,003         936,847         558,043         614,871         899,819       1,205,878       1,781,913       1,700,243
Groupama Asset Management                                              121,302         117,484         127,638         144,657          93,645          93,645          93,645          93,645          93,645          53,435          53,435




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                    44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                               2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                    525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                        921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                       559             567              570             584             578             544


Institution/Individual                                            9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
Gamma Financials AG                                                     60,000           90,000          90,000               0               0               0
GAP Vermögensverwaltung GmbH                                                 0                0               0               0               0               0
Gargoyle Asset Management, LLC                                          61,100           24,900          24,900          24,900          24,900          24,900
Gateway Investment Advisers, LLC                                             0                0               0               0               0               0
Gator Capital Management, LLC                                           60,000           60,000          60,000          60,000          28,500          28,500
Gemmer Asset Management LLC                                                  0                0             286             159             159             159
Geneos Wealth Management Inc                                                 0                0               0               0               0               0
Generali Insurance Asset Management S p A SGR                          123,285          356,990         104,483          87,518          80,087          59,673
Generali Investments Partners S p A SGR                                  7,270            9,293           9,091           9,091           9,091             507
Generali PTE S A                                                             0                0               0               0               0               0
Geode Capital Management, L L C                                              0        7,050,302       7,106,961       7,120,739       7,118,940       7,640,232
Gesinter S G I I C , S A                                                     0                0               0           8,500               0               0
Gesiuris Asset Management S G I I C , S A                                    0                0               0               0               0               0
Gestifonsa S G I I C , S A                                                   0                0               0               0               0               0
Gestión Santander Mexico S A de C V                                          0                0               0               0               0               0
GET Capital AG                                                               0                0               0               0               0               0
GFS Advisors LLC                                                             0                0               0               0               0               0
Gideon Capital Advisors, Inc                                                 0                0               0               0               0               0
Gies & Heimburger GmbH                                                       0                0               0               0               0               0
Gifford Fong Associates                                                 45,000           45,000          45,000          45,000          45,000          45,000
Glassman Wealth Services LLC                                                 0               37              79              72               0               0
Glen Harbor Capital Management LLC                                      10,752           10,752          10,752          10,752          10,752          10,752
Glenmede Investment Management LP                                        2,635           26,303          26,303          29,471          29,857          29,263
GLG Partners LP                                                              0                0               0               0               0               0
Global Index Advisors, Inc _NLE                                              0                0               0               0               0               0
Global X Management Company LLC_NLE                                          0                0               0               0               0               0
GO ETF Solutions LLP_NLE                                                     0                0               0               0               0               0
Gold Coin Invest AG                                                          0                0               0               0               0               0
Goldman Sachs & Company, Inc                                           674,098          449,514         923,685          59,456         215,637          62,779
Goldman Sachs Asset Management International                            12,385           12,385          12,385          12,385          12,385         202,140
Goldman Sachs Asset Management, L P                                  1,755,997        1,797,075         793,773       1,586,108       1,711,704       3,172,097
Goldman Sachs International                                         33,458,750       30,476,979      33,800,513      37,133,518      28,137,385      21,883,589
GPA Portfolio Management AG                                                  0                0               0               0               0               0
GQG Partners, LLC                                                       28,950           23,934               0               0               0               0
Graham Capital Management, L P                                               0                0       1,000,000         700,000         700,000               0
Grantham Mayo Van Otterloo & Co LLC                                          0                0               0               0               0               0
Graubündner Kantonalbank                                                   498              632             359             497               0               0
Greenleaf Trust                                                         38,240                0               0               0               0               0
Greenwich Ivy Capital LLC                                                    0                0           4,209           4,209               0               0
Greiff capital management AG                                                 0                0           8,550          11,771               0               0
GRESHAM Banque Privée                                                   47,192           47,192          48,678          47,469          46,713          45,450
Grohmann & Weinrauter Vermögens Management GmbH                         13,924           13,924         109,192          92,687          59,917          83,959
Grossbötzl, Schmitz, Lomparski & Partner International S à r l               0                0               0               0               0               0
Group One Trading, L P                                               1,653,387        1,715,515         754,906         248,057         521,883               0
Groupama Asset Management                                               53,435           53,435          53,435          53,435          53,435          53,435




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                         1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                  633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                 698              715             721             730             721              712             644             642             613             601             570


Institution/Individual                                      12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Grupo Catalana Occidente, S A                                      28,800          28,800          28,800          28,800           28,800          28,800               0               0               0               0               0
GS&P Kapitalanlagegesellschaft S A                                  3,000           3,000           3,000               0                0               0               0               0               0               0               0
GSA Capital Partners LLP                                                0               0               0               0                0               0               0               0               0          18,416               0
GSD Gestion S A                                                         0           5,110           7,665           7,665            7,665           7,665           7,665           7,665           7,665           7,665           7,665
GSP asset management GmbH                                               0               0          25,000          25,000           25,000          25,000          25,000          25,000          25,000          25,000          25,000
Guggenheim Investments                                             69,758          63,708          49,048          43,780                0          33,529          23,835          29,116               0               0               0
Guliver Anlageberatung GmbH                                         2,000               0               0               0                0               0               0               0               0               0               0
Gupta Wealth Management Llc_NLE                                       300             300               0               0                0               0               0               0               0               0               0
Gutmann Finanz Strategien AG                                        1,604           1,604           1,100           1,100            1,100           1,100           1,100           1,100           1,100           1,100           1,100
GVC Gaesco Beka S V S A                                                 0           5,010           6,045           6,045            6,000           5,900           5,900           8,999          13,672           3,893           3,893
GVC Gaesco Gestión SGIIC S A                                      342,705         342,705         476,467         476,467          476,467         390,287         390,287         595,178         855,313         495,000         495,000
Hamburg Commercial Bank AG                                              0           3,260           3,260           3,260            3,260           3,260               0               0               0               0               0
Handelsbanken Asset Management                                    231,916         231,916         231,916         231,916          231,916         231,916               0               0               0         478,864         456,351
HANSAINVEST Hanseatische Investment GmbH                                0               0               0               0                0               0               0          38,500          62,000          62,000          62,000
HanseMerkur Trust AG                                               13,945          13,945          13,945               0                0               0               0               0               0               0               0
HAP Trading, LLC                                                  122,168          14,789          21,223          24,259                0          33,186          46,624          32,438               0               0               0
Harbor Investment Advisory, LLC                                         0               0               0               0                0               0               0               0               0               0               0
Harness Asset Management Pty Ltd                                        0               0               0               0                0               0               0               0               0               0          67,400
Harvest Fund Management Co , Ltd                                   38,000          50,000          63,000          63,000           63,000          63,000          63,000          63,000          63,000          63,000          98,000
Harvest Portfolios Group Inc                                            0               0               0               0                0               0           3,820           3,820               0               0               0
Hauck & Aufhäuser Asset Management Services S à r l _NLE           69,635          69,635          69,635          69,635           69,635               0               0               0               0               0               0
Hauck & Aufhäuser Fund Services S A                                26,670          26,670          25,000          25,000           37,400          37,735          41,735          41,735          41,735          12,735          37,735
Hauck Aufhäuser Lampe Privatbank AG                                22,564          22,564          30,000          30,000           30,000          30,000          30,000          30,000          30,000          30,000          30,000
Helvetia Versicherungen                                           160,000         160,000         240,000         240,000          240,000         240,000         240,000         240,000         230,000         230,000         180,000
Hennessy Advisors, Inc                                                  0           5,000               0               0                0               0               0               0               0               0               0
Henry James International Management, Inc                               0               0               0               0                0               0               0          51,276               0               0               0
Heungkuk Asset Management Company Ltd                               5,000           5,000           7,500           7,500            7,500          10,000          10,000          10,000          12,500          12,500          12,500
Hexavest Inc                                                          383             383             383             383              383             383             383             383             383             383             383
Highland Capital Management, LLC                                   40,422          37,132          39,262          39,662           39,062          35,037          35,037          35,087          35,087          36,037          36,047
Hightower Advisors, LLC                                             3,319           3,455               0               0                0           1,084           1,202           1,164             910               0               0
HINKEL & CIE Vermögensverwaltung AG                                     0               0               0               0                0               0               0           5,000               0               0               0
HNA Capital Group Co , Ltd                                              0               0               0               0          244,500         244,500         244,500               0               0               0               0
HNA Group Co , Ltd                                             41,938,864      65,595,738     204,670,642     204,670,642     204,670,642      180,868,812     157,937,965     157,937,965     157,937,965      99,612,266      99,612,266
Hodges Capital Management, Inc                                    273,850         428,250          54,425          20,175                0               0               0               0               0               0               0
Hollencrest Capital Management                                          0               0               0               0                0          15,000          15,000          15,000          15,000          15,000          15,000
HONESTAS Finanzmanagement GmbH                                          0               0               0               0                0               0               0               0               0               0               0
Honkamp Krueger Financial Services, Inc                                 0               0               0               0                0               0               0              40               0               0               0
Horizons ETFs Management (Canada) Inc                              32,186          25,548          39,380          45,528           62,419          71,292          43,737          61,920          59,968               0               0
Horizons ETFs Management (US) LLC                                  19,250          19,338          17,000          19,358           24,072          32,981          30,069          30,069          29,068          29,068          29,068
Hourglass Capital, LLC                                            173,500         209,000         210,250         210,250          210,250         210,250               0               0               0               0               0
HÖVELRAT Holding AG                                                30,000          30,000          45,000          45,000           45,000          55,000          55,000          55,000          55,000          70,000          90,000
Howe and Rusling, Inc                                                   0             500               0               0                0               0               0               0               0               0               0
HPM Hanseatische Portfoliomanagement GmbH                           1,473           1,473           1,473           1,473                0               0               0               0               0               0               0
HRT Financial LP                                                        0               0               0               0                0               0               0               0               0          23,512               0
HSBC Global Asset Management (France) S A                         597,748         605,420         883,130         856,200          856,200         797,300         613,391         532,316               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                         2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                  921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                 559             567             570             584             578             544


Institution/Individual                                      9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Grupo Catalana Occidente, S A                                          0               0               0               0               0               0
GS&P Kapitalanlagegesellschaft S A                                     0               0               0               0               0               0
GSA Capital Partners LLP                                          17,625               0          57,105               0               0               0
GSD Gestion S A                                                    7,665           7,665           7,665           7,665           7,665           7,665
GSP asset management GmbH                                         25,000          25,000          63,000          63,000          63,000         114,000
Guggenheim Investments                                                 0               0               0               0               0          12,801
Guliver Anlageberatung GmbH                                            0               0               0               0               0               0
Gupta Wealth Management Llc_NLE                                        0               0               0               0               0               0
Gutmann Finanz Strategien AG                                       1,100           1,800           3,900           3,900           3,900           3,900
GVC Gaesco Beka S V S A                                            6,893           6,893          11,793          14,793          17,093          15,093
GVC Gaesco Gestión SGIIC S A                                     319,000         469,000         439,000         439,000         414,000         414,000
Hamburg Commercial Bank AG                                             0               0               0               0               0               0
Handelsbanken Asset Management                                   493,743         460,150         428,722         412,955         505,152         691,479
HANSAINVEST Hanseatische Investment GmbH                          62,000          62,000          62,000          62,000          62,000               0
HanseMerkur Trust AG                                              54,518          83,089          83,089          88,570         113,830         113,830
HAP Trading, LLC                                                       0               0               0               0               0               0
Harbor Investment Advisory, LLC                                        0               1           3,195           3,195           3,195           5,770
Harness Asset Management Pty Ltd                                  67,400          67,400          67,400          67,400          67,400          67,400
Harvest Fund Management Co , Ltd                                  98,000          50,000          50,000          50,000          40,000          40,000
Harvest Portfolios Group Inc                                           0               0               0               0               0               0
Hauck & Aufhäuser Asset Management Services S à r l _NLE               0               0               0               0               0               0
Hauck & Aufhäuser Fund Services S A                               12,735          12,735          12,735          12,735          12,735          12,735
Hauck Aufhäuser Lampe Privatbank AG                               30,000          30,000          30,000          30,000          30,000          30,000
Helvetia Versicherungen                                          180,000         180,000         180,000         180,000         180,000         180,000
Hennessy Advisors, Inc                                                 0               0               0               0               0               0
Henry James International Management, Inc                              0               0               0               0               0               0
Heungkuk Asset Management Company Ltd                             12,500          12,500          12,500          12,500               0               0
Hexavest Inc                                                         383               0               0               0               0               0
Highland Capital Management, LLC                                  35,547          35,247          40,147          39,237          39,014          38,914
Hightower Advisors, LLC                                                0               0               0               0               0               0
HINKEL & CIE Vermögensverwaltung AG                                    0               0               0               0               0               0
HNA Capital Group Co , Ltd                                             0               0               0               0               0               0
HNA Group Co , Ltd                                            99,612,266      99,612,266      99,612,266               0               0               0
Hodges Capital Management, Inc                                         0               0               0               0               0               0
Hollencrest Capital Management                                    15,000          15,000          15,000          15,000          15,000               0
HONESTAS Finanzmanagement GmbH                                         0               0          18,800          10,000          10,000          10,000
Honkamp Krueger Financial Services, Inc                                0               0               0               0               0               0
Horizons ETFs Management (Canada) Inc                                  0               0               0               0               0               0
Horizons ETFs Management (US) LLC                                 29,068          29,068          29,068          29,068               0               0
Hourglass Capital, LLC                                                 0               0               0               0               0               0
HÖVELRAT Holding AG                                               90,000          90,000          90,000          90,000          90,000          90,000
Howe and Rusling, Inc                                                  0               0               0               0               0               0
HPM Hanseatische Portfoliomanagement GmbH                              0               0               0               0               0               0
HRT Financial LP                                                       0          47,102               0               0               0               0
HSBC Global Asset Management (France) S A                              0               0               0               0         604,628         644,954




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                          41 0%            51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                          122,554          203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                             698              715             721             730             721             712             644             642             613             601             570


Institution/Individual                                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
HSBC Global Asset Management (Hong Kong) Limited                               30,000               0               0               0               0               0          74,024               0               0               0           5,363
HSBC Global Asset Management (International) Limited                          458,645         456,350         693,301         716,510         802,436         137,590         135,293         145,293         136,495         145,267         154,472
HSBC Global Asset Management (UK) Limited                                   9,331,203      13,270,177      22,506,681      19,306,849      30,125,578       7,347,143       7,747,921       4,125,802       4,483,750       4,238,120       4,184,726
HSBC Global Asset Management Deutschland GmbH                               1,571,087       1,846,324       3,060,743       2,043,269       2,574,968       1,940,225       1,788,688       2,180,337       2,449,337       1,477,438       1,838,709
HuaAn Fund Management Co , Ltd                                                 33,800          33,800          33,800          33,800          33,800          33,800          46,500          46,500          77,200          77,200         134,500
Hudson Bay Capital Management LP                                              675,000          52,900               0               0               0          56,100               0               0               0               0               0
Hudson Executive Capital LP                                                         0               0               0               0               0               0               0      59,591,476      64,861,476      64,861,476      64,861,476
HUK-COBURG Asset Management GmbH                                                    0               0               0               0               0               0               0               0               0               0           8,344
Huntington Private Financial Group                                                  0             616             616             616               0               0               0               0               0               0               0
Hutchin Hill Capital, LP_NLE                                                        0               0               0         245,328               0               0               0               0               0               0               0
I C M Investment Bank AG                                                            0               0               0               0          10,000          10,100               0               0               0               0               0
IAM Independent Asset Management S A                                                0          59,976          64,972               0               0               0               0               0               0               0               0
IBCO Gestão de Patrimónios, S A                                                23,157          18,408          18,408          18,408          18,408          18,408          18,408          18,408          18,408               0               0
Ibercaja Gestión S G I I C , S A                                              149,585         149,585         228,117         228,117         228,117         224,107         224,107         154,107         154,107               0               0
ICW Group                                                                     100,000         100,000         150,000         150,000         150,000         150,000               0               0               0               0               0
ID-Sparinvest A/S                                                              35,326          39,108          73,788          73,788          92,262          92,262          92,262          92,262         114,378         108,763         113,988
IFAM Capital                                                                        0               0               0               0               0           1,000           1,000               0               0               0               0
IFM Independent Fund Management AG                                              8,000           8,000          10,000          10,000          10,000          10,000          10,000          79,000          10,000          10,000               0
IHT Wealth Management, LLC                                                        246             246             246             246               0               0               0               0               0               0               0
Ilmarinen Mutual Pension Insurance Company                                    160,000         160,000         160,000         160,000               0               0               0               0               0               0               0
IM Gestão de Ativos - Sociedade Gestora de Organismos de Investiment                0               0          31,714          29,500          39,106          48,133          57,712          56,412               0               0               0
Imantia Capital                                                                 5,758           5,758           5,758           5,758           5,758           5,758               0               0               0               0               0
IMC Chicago, LLC                                                                    0               0               0               0               0               0               0               0               0               0          39,696
Impact Asset Management GmbH                                                        0               0               0               0               0               0               0               0               0               0               0
Impax Asset Management LLC                                                      9,019          10,979          10,979          17,271          18,918          22,025          24,418          25,854               0               0               0
InCapital GmbH                                                                 10,000          30,000          35,000          30,000          33,000          24,000          24,000          50,000          32,000          24,000          24,000
Independent Financial Partners                                                 15,170          13,080           2,161           1,510           1,161           1,161             862           1,796           1,202              67              67
IndexIQ Advisors LLC                                                           22,637          49,619          73,367          69,035          80,956          99,457          74,780          69,038          60,942          58,085          51,501
Informed Portfolio Management AB                                               25,161          25,161          26,747          26,747          26,747          26,747          26,747          26,747          26,747          26,747               0
inprimo invest                                                                  8,000           8,000           9,900           9,900           9,900           9,900           9,900           9,900           9,900           9,900           9,900
Insight Investment Management (Global) Limited                                 16,319          17,044          20,196          17,826          17,264          18,235          12,207               0               0         239,633         235,665
Insingergilissen Asset Management N V                                               0               0               0               0               0               0               0               0         271,820         271,820         296,092
InsingerGilissen Bankiers N V                                                       0               0               0               0               0               0               0          20,656          20,656          20,656          20,656
Integral Derivatives LLC                                                       15,698               0               0          29,038          20,338               0               0               0               0               0               0
Intellectus Partners, LLC                                                      45,857          43,757          67,160          70,152          68,989          66,989          66,541          69,172          35,386          37,386          36,537
Intercontinental Wealth Advisors, LLC                                               0               0               0               0               0               0               0               0           2,290           2,290           2,290
Inversis Gestión, S A , SGIIC                                                       0           8,600           4,300               0               0               0           2,588           2,588           2,588           2,588               0
Invesco Advisers, Inc                                                             913               0               0               0               0               0               0               0               0          87,540          84,272
INVESCO Asset Management (Japan) Ltd                                           32,650          30,882          30,882          30,882          27,359          24,925          21,075          16,591          14,848          11,446           9,533
INVESCO Asset Management Deutschland GmbH                                     136,780         152,712         195,855         194,007         218,155         200,651         186,790         186,790         186,790         186,790         186,790
INVESCO Asset Management Limited                                               80,000               0               0               0          70,000         120,000         160,000         185,000         238,300         215,000         178,450
Invesco Canada Ltd                                                                  0               0               0               0               0               0               0             379           7,877           8,521          11,157
Invesco Capital Management LLC                                                286,690         324,588         325,029         325,373         322,173         328,622         346,362         373,792         412,629         725,526         673,522
Invesco Management Group, Inc                                                  16,473          18,643           9,719          10,253           9,006          15,890          13,711          13,595          16,822               0               0
Invest Gestão de Activos, S G F I M , S A                                           0               0               0               0               0               0           5,000           5,000           5,000           5,000           5,000




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                             559             567             570             584             578             544


Institution/Individual                                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
HSBC Global Asset Management (Hong Kong) Limited                                   0               0               0           9,550          11,008           76,569
HSBC Global Asset Management (International) Limited                         154,472         128,452         132,383         144,701         143,666           87,582
HSBC Global Asset Management (UK) Limited                                  2,966,850       7,234,082         999,531       2,067,188       3,951,313        7,823,677
HSBC Global Asset Management Deutschland GmbH                              2,139,320       2,104,090       1,828,588         919,941         795,438          323,286
HuaAn Fund Management Co , Ltd                                               134,500         116,900         116,900         341,400         341,400          240,400
Hudson Bay Capital Management LP                                                   0               0               0               0               0                0
Hudson Executive Capital LP                                               64,861,476      64,861,476      64,861,476      64,861,476      64,861,476       66,488,476
HUK-COBURG Asset Management GmbH                                               8,344           8,344           8,344           8,344           8,344            8,344
Huntington Private Financial Group                                                 0               0               0               0               0                0
Hutchin Hill Capital, LP_NLE                                                       0               0               0               0               0                0
I C M Investment Bank AG                                                      10,000           6,500           6,000           2,000               0           55,500
IAM Independent Asset Management S A                                               0               0               0               0               0                0
IBCO Gestão de Patrimónios, S A                                                    0               0               0               0               0                0
Ibercaja Gestión S G I I C , S A                                                   0               0               0               0               0                0
ICW Group                                                                          0               0               0               0               0                0
ID-Sparinvest A/S                                                            113,961         113,961         113,961          69,873          71,196           79,314
IFAM Capital                                                                       0               0               0               0               0                0
IFM Independent Fund Management AG                                                 0               0               0           8,500          10,500           10,500
IHT Wealth Management, LLC                                                         0               0               0               0               0                0
Ilmarinen Mutual Pension Insurance Company                                         0               0               0               0               0                0
IM Gestão de Ativos - Sociedade Gestora de Organismos de Investiment               0               0               0               0               0                0
Imantia Capital                                                                    0               0               0               0               0                0
IMC Chicago, LLC                                                                   0               0               0               0               0                0
Impact Asset Management GmbH                                                       0               0               0               0          25,825           13,622
Impax Asset Management LLC                                                         0               0               0               0               0                0
InCapital GmbH                                                                12,000          12,000          12,000          12,000          12,000           12,000
Independent Financial Partners                                                   169               0               0               0               0                0
IndexIQ Advisors LLC                                                          46,262          88,400          92,651         101,174         100,373           95,628
Informed Portfolio Management AB                                                   0               0               0               0               0                0
inprimo invest                                                                 9,900          20,000          20,000               0               0                0
Insight Investment Management (Global) Limited                               227,144         224,372         206,842         227,085         208,370          208,370
Insingergilissen Asset Management N V                                        296,092         296,092         296,092         296,092         296,092          296,092
InsingerGilissen Bankiers N V                                                      0               0               0          13,592          25,121           20,029
Integral Derivatives LLC                                                           0               0               0               0               0                0
Intellectus Partners, LLC                                                     36,537          34,537          33,537          29,537          29,537           17,905
Intercontinental Wealth Advisors, LLC                                              0               0               0               0               0                0
Inversis Gestión, S A , SGIIC                                                      0               0               0               0               0                0
Invesco Advisers, Inc                                                         84,272         182,475         187,614         205,609         181,623          209,660
INVESCO Asset Management (Japan) Ltd                                           8,306           8,306           9,365          12,165          13,500           15,404
INVESCO Asset Management Deutschland GmbH                                    186,790         254,701         258,137         258,137         346,925          353,459
INVESCO Asset Management Limited                                              57,000               0               0               0              38               28
Invesco Canada Ltd                                                             9,712           1,697           1,616             769             801              801
Invesco Capital Management LLC                                               628,790         592,579         606,482         468,207         447,209          436,225
Invesco Management Group, Inc                                                      0               0               0               0               0                0
Invest Gestão de Activos, S G F I M , S A                                      5,000           5,000           5,000               0               0                0




                                                                                                                                                                        Page 30 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698              715             721             730             721              712             644             642             613             601             570


Institution/Individual                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Investitori SGR S p A                                           7,000           7,000           7,000           7,000            7,000           7,000               0               0               0               0               0
IPConcept (Luxemburg) S A                                       7,200          13,200          13,200           7,200           61,200          61,200          61,200          61,200               0               0               0
IPG Investment Advisors, LLC                                        0               0               0               0           61,350               0               0               0          85,000          70,810               0
IQAM Invest GmbH                                                2,241           2,241           2,241           2,241            2,241           2,241           2,241           2,241           2,241           2,241           2,241
IRC Wealth                                                          0               0               0               0           19,013          19,013          19,013          19,013          18,638          18,638          19,013
Irish Life Investment Managers Ltd                            197,143         195,333         268,078         296,892          296,892         292,620         240,206         190,879         134,291         152,353         152,353
IST Investmentstiftung                                          1,540           1,609           2,515           2,598            2,621           2,455           2,583           2,613           2,669           2,649           2,749
J O Hambro Capital Management Limited                         469,150         469,150         469,150               0                0               0               0               0               0               0               0
J P Morgan Private Investments Inc (JPMPI)                      3,897               0               0               0                0               0               0               0               0               0               0
J P Morgan Securities LLC                                      48,965          18,342          22,963          22,142           22,842         813,417       1,020,996         798,909           8,280           8,280          15,682
J P Morgan Securities plc                                  11,482,924      15,724,684       9,410,803       5,729,326                0       9,223,675      18,922,987               0               0       1,786,120      10,362,770
Jackson National Asset Management, LLC                              0               0               0               0                0               0               0          54,000               0               0               0
Jackson Square Partners, LLC                                    3,650           3,650           3,650           3,650                0               0               0               0               0               0               0
Jacobi Capital Management, LLC                                    325             325             325             325              325             325             325             325             325             325             325
James Investment Research Inc                                       0               0               0          93,000                0               0               0               0               0               0               0
Jana Investment Advisers Pty Ltd _NLE                           6,213           6,213           6,213               0                0               0               0               0               0               0               0
Jane Street Capital, L L C                                    231,119          73,433         118,290         393,437          460,545       1,039,403         700,199         492,749         319,275         217,799       1,014,601
Janney Montgomery Scott LLC                                         0               0          11,587               0                0               0          11,745          11,410               0               0               0
Janus Henderson Investors                                      36,790          70,672          59,322          33,688           31,506         320,876         316,759         318,981         662,419         668,300       1,957,634
Jefferies Financial Group Inc                                 517,000               0               0               0                0               0               0               0               0               0               0
Jefferies LLC                                                  57,417               0               0               0           91,658          98,965         222,593          12,000               0               0               0
Joel Isaacson & Co , LLC                                          740               0               0               0                0               0               0               0               0               0               0
Johnson Financial Group, LLC                                        0               0          30,893          11,070                0               0               0               0               0               0               0
JP Morgan Asset Management                                  2,363,355          76,087         123,362         226,868           15,175       1,809,012         848,199       1,120,806       1,428,140       1,519,765       1,757,179
JPMorgan Asset Management (Asia Pacific) Limited                7,592             477               0               0                0               0               0               0               0               0               0
JPMorgan Asset Management (Japan) Limited                           0               0               0               0                0          16,129               0               0               0               0               0
JPMorgan Asset Management U K Limited                         411,680       1,279,427         165,918          23,872           13,927         235,304          13,927          13,927          13,927          13,927          13,927
JPMorgan Private Bank (United States)                             328             328             379             521          373,727         765,432         773,756         827,971         862,024         824,258         740,152
JRC Capital Management, Consultancy & Research GmbH            17,000          17,000          18,500          17,200           17,200          18,200               0          20,100          20,100          35,600          32,100
JRS Finanzmandate AG                                           16,000          25,000          30,500          12,000                0               0               0               0               0               0               0
Jump Trading, LLC                                                   0          10,332               0               0                0               0               0               0               0               0               0
Jupiter Asset Management Ltd                                        0               0               0               0                0               0               0          12,000               0               0               0
JustInvest, LLC                                                     0               0               0               0                0               0               0               0               0               0               0
Jyske Invest Fund Management A/S                                    0          20,632          30,948               0           10,320          10,320          10,320          10,320           6,957           6,957           6,957
Kahn Brothers Advisors LLC                                          0               0               0               0                0               0               0               0               0               0               0
Kairos Partners SGR S p A                                           0           5,000               0          64,000           54,000               0               0               0               0               0               0
Kanaly Trust Company                                              124             124             124             124              124             124             124             124               0               0               0
Kathrein Capital Management AG                                  1,930           1,930           1,930           1,930            1,930           1,930           1,930           1,930           1,930               0               0
Kathrein Privatbank Aktiengesellschaft                              0               0               0               0                0          26,347               0               0               0               0               0
Kavar Capital Partners, LLC                                         0               0               0               0                0           1,600             800               0               0               0               0
Kazazian Asset Management, LLC                                      0               0               0               0                0               0               0               0          78,908          63,000          63,000
KB Asset Management Co , Ltd                                      374             374             374               0                0               0               0               0               0               0               0
KBC Asset Management N V                                      943,620         943,620       1,120,455       1,120,455        1,120,455       1,120,455       1,120,455       1,120,455       1,120,455       1,120,455               0
KBC Fund Management Limited                                    60,156          60,156          60,156          60,156                0               0               0               0               0               0               0
Keebeck Wealth Management LLC                                       0               0               0               0                0               0               0               0               0               0               0




                                                                                                                                                                                                                 Page 31 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Investitori SGR S p A                                              0               0               0               0               0               0
IPConcept (Luxemburg) S A                                          0               0               0               0               0               0
IPG Investment Advisors, LLC                                       0          68,000          97,000               0               0               0
IQAM Invest GmbH                                               2,241           2,241               0               0               0               0
IRC Wealth                                                    19,013          19,013          18,631          18,181          18,181          17,431
Irish Life Investment Managers Ltd                           152,353         142,390         142,390         148,670         138,154         127,375
IST Investmentstiftung                                         2,682           2,714           2,692           2,820           3,055          53,752
J O Hambro Capital Management Limited                              0               0               0               0               0               0
J P Morgan Private Investments Inc (JPMPI)                         0               0               0               0               0               0
J P Morgan Securities LLC                                    124,982         617,986         608,575         465,661         651,753         668,775
J P Morgan Securities plc                                  7,260,850       1,027,402               0       3,465,579       2,186,538               0
Jackson National Asset Management, LLC                             0               0               0               0               0               0
Jackson Square Partners, LLC                                       0               0               0               0               0               0
Jacobi Capital Management, LLC                                   325               0               0               0               0               0
James Investment Research Inc                                      0               0               0               0               0               0
Jana Investment Advisers Pty Ltd _NLE                              0               0               0               0               0               0
Jane Street Capital, L L C                                   211,365         685,734       2,433,599         677,271         277,293         330,456
Janney Montgomery Scott LLC                                        0               0               0               0               0               0
Janus Henderson Investors                                  1,483,397       1,175,930         631,413         618,291         657,918       1,200,787
Jefferies Financial Group Inc                                      0               0               0               0               0               0
Jefferies LLC                                                141,292               0             881               0               0               0
Joel Isaacson & Co , LLC                                           0               0               0               0               0               0
Johnson Financial Group, LLC                                       0               0               0               0               0               0
JP Morgan Asset Management                                 1,736,552       1,819,966       1,562,227       1,619,685       1,640,637       1,232,319
JPMorgan Asset Management (Asia Pacific) Limited                   0               0               0               0               0               0
JPMorgan Asset Management (Japan) Limited                          0               0               0               0               0               0
JPMorgan Asset Management U K Limited                         13,927          13,927          18,629          12,336           8,818           9,836
JPMorgan Private Bank (United States)                        881,305         964,660         991,100         845,729         890,935       1,038,999
JRC Capital Management, Consultancy & Research GmbH           32,100          32,100          32,100          32,100          32,100          32,100
JRS Finanzmandate AG                                               0               0               0               0               0               0
Jump Trading, LLC                                                  0               0               0               0               0               0
Jupiter Asset Management Ltd                                       0               0               0          66,241       1,930,395          24,208
JustInvest, LLC                                                    0               0               0          32,782          34,522          35,500
Jyske Invest Fund Management A/S                               9,001           9,001           6,866           6,866           6,866           6,866
Kahn Brothers Advisors LLC                                         0               0               0               0          10,000          10,000
Kairos Partners SGR S p A                                          0               0               0               0               0               0
Kanaly Trust Company                                               0               0               0               0               0               0
Kathrein Capital Management AG                                     0               0               0               0               0               0
Kathrein Privatbank Aktiengesellschaft                             0               0               0          38,222               0               0
Kavar Capital Partners, LLC                                        0               0               0               0               0               0
Kazazian Asset Management, LLC                                63,000          63,000          63,000          63,000          63,000          63,000
KB Asset Management Co , Ltd                                       0               0               0             312             312             312
KBC Asset Management N V                                           0               0               0               0               0               0
KBC Fund Management Limited                                        0               0               0               0               0               0
Keebeck Wealth Management LLC                                      0               0               0           5,000               0               0




                                                                                                                                                       Page 32 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698              715             721             730             721              712             644             642             613             601             570


Institution/Individual                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Keppler Asset Management, Inc                                  18,115          10,550          10,550          12,752           32,052          32,052          29,976          10,550               0               0               0
Kestrel Partners LLP                                                0               0               0               0                0               0               0               0               0               0               0
Kinea Investimentos Ltda                                            0               0               0           6,166            6,166          44,819          19,249          17,536          96,924         257,064         668,915
KIRIX Vermögensverwaltung AG                                        0               0               0               0           25,000          25,000          25,000          25,000               0               0               0
KLP Fondsforvaltning AS                                             0               0               0               0                0               0               0               0         291,410         291,410         291,410
KLP Forsikring                                                      0               0               0               0                0               0               0               0               0               0               0
Kore Private Wealth, LLC                                            0               0               0               0                0               0               0               0           1,000           1,000               0
Kraus Partner Investment Solutions AG                               0               0               0          30,900           38,500               0               0               0               0               0               0
KREMSER BANK und Sparkassen AG                                      0               0               0               0                0               0          50,000          50,000          50,000          50,000          50,000
Kutxabank Gestion, SGIIC, S A U                               162,872         162,872         265,340         269,510          259,782         337,011         337,011         401,194         401,194               0               0
KUYLENSTIERNA & SKOG S A                                            0               0               0               0           35,000          35,000          35,000          35,000          35,000               0               0
Kyobo AXA Investment Managers Co , Ltd                              0               0               0               0                0               0               0               0               0               0               0
La Banque Postale Asset Management                          1,070,600       2,109,980       2,533,380       2,637,596        1,993,643       1,387,575       1,040,313         321,250         263,509         882,725         807,766
La Banque Postale Structured Asset Management                       0               0               0               0                0               0               0               0               0               0               0
La Française AM                                               128,710         128,710         128,710         128,710           21,262               0          10,222           8,844          17,690               0               0
La Française Systematic Asset Management GmbH                       0               0               0               0                0               0           3,953           4,087           3,650               0               0
Ladenburg Thalmann Asset Management Inc (LTAM)                  9,697          14,637          13,832          13,679           12,463           8,642           8,642           6,502           4,351           4,586           4,881
LähiTapiola Varainhoito Oy                                          0               0               0               0                0               0               0               0               0               0          12,265
Lake Street Advisors                                                0               0               0               0                0               0               0               0               0               0               0
Lampe Asset Management GmbH                                     1,500               0               0               0                0               0               0               0               0               0               0
Laurel Wealth Advisors, Inc                                         0               0               0               0                0               0               0               0               0          12,200               0
Laurion Capital Management LP                                       0          29,000          43,500               0                0               0               0               0               0               0               0
Lazard Asset Management Limited                                18,738         454,160         662,049         683,425          494,724               0               0               0       6,883,896               0               0
Lazard Asset Management, L L C                                      0             237               0               0                0         380,900         380,900         380,900          13,963          13,963          13,963
LBA Wealth Management, LLC_NLE                                    500             500             500             500              500               0               0               0               0               0               0
LBBW Asset Management Investmentgesellschaft mbH               16,179         117,378         104,816         152,889          167,889         191,138         121,138         114,138         107,539         107,539          97,539
Legacy Financial Advisors, Inc                                      0               0               0               0               25              25               0               0               0               0               0
Legal & General Investment Management America Inc              15,900          15,900          22,655          23,517           26,568          25,773          25,773          81,719          81,719          81,719          81,719
Legal & General Investment Management Ltd                     892,223         892,223       1,350,924       1,273,642        1,298,393       1,333,496       1,302,926       1,290,539       1,310,668       1,407,152       1,462,112
Lemanik Asset Management S A                                    5,000           5,000           3,000           3,000            7,500           7,500          37,500           7,500               0               0               0
Lemanik Invest SA                                                   0          70,000               0          40,000                0               0               0               0               0               0               0
Lenox Wealth Management, Inc _NLE                                   0               0               0               0                0               0               0               0               0               0               0
Lesa Sroufe & Company, Inc                                    189,394         202,266         295,962         289,702          277,543         279,568         276,070         276,433               0               0               0
Levin Capital Strategies, L P                                       0       2,515,251           1,078               0                0               0               0               0               0               0               0
LGA Investissements Associé_NLE                                 2,990           2,990           3,939           3,939            3,939           3,939           3,939           3,939           3,939               0               0
Lido Advisors, LLC                                                  0               0               0               0                0               0          17,000          17,000          17,200               0               0
Lightman Investment Management Limited                              0               0               0               0                0               0               0               0               0               0          14,386
Lindbrook Capital, LLC                                              0               0               0               0                0               0               0               0           5,071           5,117           2,934
Linden Advisors L P                                                 0               0               0               0                0               0         300,000         900,000       1,100,000       1,100,000       1,100,000
Lipe & Dalton Investment Counsel                                    0               0         133,310         132,330          131,840               0               0               0               0               0               0
Live Your Vision, LLC_NLE                                           0               0               0               0              300             300               0               0               0               0               0
LLB Asset Management AG                                        31,958          31,958          27,558          19,103           37,558          36,372          37,502          37,502          27,413          15,592          27,413
LLB Invest Kapitalanlagegesellschaft m b H                     43,000           5,000           5,000          55,000           55,000          55,000          55,000          55,000          55,000          55,000          55,000
LMR Partners LLP                                                    0          23,872          94,970       1,071,839        3,722,717       3,722,717       2,840,376         552,274          25,249               0               0
LoCorr Fund Management, LLC                                         0               0               0               0                0               0               0               0               0               0               0




                                                                                                                                                                                                                 Page 33 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Keppler Asset Management, Inc                                      0               0               0               0               0               0
Kestrel Partners LLP                                               0               0           6,890           2,797           2,797           2,797
Kinea Investimentos Ltda                                     344,715         220,488               0               0               0               0
KIRIX Vermögensverwaltung AG                                       0               0               0               0               0               0
KLP Fondsforvaltning AS                                      291,410         291,410         291,410         285,749         285,749         285,749
KLP Forsikring                                                     0               0               0         116,589         116,589          93,743
Kore Private Wealth, LLC                                           0           1,321           1,228           1,000               0               0
Kraus Partner Investment Solutions AG                              0               0               0               0               0               0
KREMSER BANK und Sparkassen AG                                     0               0               0               0               0               0
Kutxabank Gestion, SGIIC, S A U                                    0               0               0               0               0               0
KUYLENSTIERNA & SKOG S A                                           0               0               0               0               0               0
Kyobo AXA Investment Managers Co , Ltd                         1,381           1,381           1,381           1,383           1,381               0
La Banque Postale Asset Management                         1,549,605         511,870         669,289       1,123,060         785,612         785,612
La Banque Postale Structured Asset Management                      0               0               0          21,328          21,130          21,130
La Française AM                                                    0               0               0               0               0               0
La Française Systematic Asset Management GmbH                      0               0               0               0               0               0
Ladenburg Thalmann Asset Management Inc (LTAM)                26,361           4,371           4,371           4,371           4,371           4,371
LähiTapiola Varainhoito Oy                                    16,916          16,916          57,162          28,581          28,581          40,899
Lake Street Advisors                                          10,220          10,691          15,193          12,226          11,510          10,599
Lampe Asset Management GmbH                                        0               0               0               0               0               0
Laurel Wealth Advisors, Inc                                        0               0               0               0               0               0
Laurion Capital Management LP                                      0               0               0               0               0               0
Lazard Asset Management Limited                                    0               0               0               0               0               0
Lazard Asset Management, L L C                                13,963          12,999               0             244          70,510         723,572
LBA Wealth Management, LLC_NLE                                     0               0               0               0               0               0
LBBW Asset Management Investmentgesellschaft mbH              97,539          97,539          77,500          77,500          77,500         527,500
Legacy Financial Advisors, Inc                                     0               0               0               0               0               0
Legal & General Investment Management America Inc             81,719          81,719         106,092         106,092         106,092          82,402
Legal & General Investment Management Ltd                  1,440,456       1,555,232       1,460,564       1,468,502       1,454,646       2,016,449
Lemanik Asset Management S A                                       0               0               0               0               0               0
Lemanik Invest SA                                                  0               0               0               0               0               0
Lenox Wealth Management, Inc _NLE                                  0               0             387             387             387             387
Lesa Sroufe & Company, Inc                                         0               0               0               0               0               0
Levin Capital Strategies, L P                                      0               0               0               0               0               0
LGA Investissements Associé_NLE                                    0               0               0               0               0               0
Lido Advisors, LLC                                                 0               0               0               0               0               0
Lightman Investment Management Limited                        68,306         143,824         300,228         300,228         541,223         561,255
Lindbrook Capital, LLC                                         6,433           5,510           3,124           4,112           4,096           4,096
Linden Advisors L P                                                0               0               0               0               0               0
Lipe & Dalton Investment Counsel                                   0               0               0               0               0               0
Live Your Vision, LLC_NLE                                          0               0               0               0               0               0
LLB Asset Management AG                                       25,444          25,001          25,001          32,194          32,194          37,738
LLB Invest Kapitalanlagegesellschaft m b H                    50,000               0               0               0               0               0
LMR Partners LLP                                                   0               0               0               0               0               0
LoCorr Fund Management, LLC                                        0               0               0               0               0           1,215




                                                                                                                                                       Page 34 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              41 0%            51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                         1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              122,554          203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                  633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                 698              715             721             730             721             712             644             642             613             601             570


Institution/Individual                                      12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Lombard Odier Asset Management (Europe) Ltd                         4,610               0               0               0               0               0               0               0               0               0               0
Lord, Abbett & Co LLC                                               6,700           6,700           3,350           3,350           3,350           3,350           3,350           3,350           3,350           3,350               0
Loring, Wolcott & Coolidge Fiduciary Advisors, LLP                      0               0               0               0               0               0               0               0               0               0             645
Los Angeles Capital Management And Equity Research, Inc                 0         210,639               0               0               0               0               0               0               0               0               0
LourdMurray                                                             0               0               0               0               0               0               0               0          29,223               0               0
LOYS AG                                                                 0               0               0          94,500          94,500         394,500         644,500         644,500         644,500         644,500         794,500
LPL Financial LLC                                                  25,840          24,875          27,117          22,506          15,856               0               0          10,826               0               0               0
LRI Invest S A                                                      5,500          25,500          25,500          25,500           5,500          25,500          27,500           7,500           7,500           7,500           7,500
LS Investment Advisors, LLC                                           450             450             450             450             450             450             450             450               0               0               0
LSV Asset Management                                              441,572         443,153         665,701         615,068         613,426         381,950         380,900         396,761               0          14,445               0
Lucus Advisors LLC_NLE                                                  0          23,753               0               0               0               0               0               0               0               0               0
LUKB Expert Fondsleitung AG                                       162,700         131,500         131,500         174,450         174,450         174,450         174,450         174,450         174,450         174,450               0
Lux Gest Asset Management S A                                           0          30,000          20,000               0               0               0               0               0               0               0               0
Lyxor Asset Management                                          1,247,978      11,136,251      12,546,778      12,411,137      11,498,393      15,832,932       5,684,955       7,097,884       4,812,577      10,230,832       7,213,391
Lyxor Funds Solutions S A                                      10,880,883       1,732,970      10,052,934       7,370,809       7,253,319       5,425,451       5,624,357       4,089,930       2,261,455       2,530,393       2,181,541
Lyxor International Asset Management S A S Deutschland                  0               0               0               0               0               0               0       3,322,001       2,029,150       2,580,676       2,234,350
M & G Investment Management Ltd                                 4,034,217       2,357,579       3,353,417       3,224,693       3,052,443       3,264,063       3,183,200       3,107,071       1,636,473       1,486,893         798,140
Mackenzie Financial Corporation                                       398           3,131           8,344          11,521          21,419          37,802          45,218          48,070          28,696          22,479          15,855
Macquarie Investment Management                                         0         210,762         370,652         338,826         338,826               0               0               0               0               0               0
Macquarie Investment Management Austria Kapitalanlage AG                0               0               0               0               0               0          17,661          17,661          17,661          28,900          71,793
Macquarie Investment Management Ltd                                     0               0               0               0               0               0               0               0             100               0               0
Magnetar Capital Partners LP                                            0               0               0               0               0          11,384          68,510               0               0               0               0
Maiestas Asset Management AG                                        4,000           3,000           4,500           4,500           4,500           3,800               0               0               0               0               0
MainFirst Asset Management                                              0               0         120,000          90,000          90,000          90,000       2,144,883       2,284,884         145,648          92,177               0
MainSky Asset Management AG                                        48,925          48,925          48,925          48,925          48,925          48,925          48,925          48,925               0               0               0
MainStreet Advisors                                                     0               0               0               0               0               0               0               0               0               0               0
Mairs and Power, Inc                                                    0               0               0               0               0               0               0               0               0               0               0
Malakoff Humanis Gestion d'Actifs                                       0               0               0         300,480         300,480               0               0               0               0               0               0
MANA Advisors LLC                                                       0               0               0               0               0               0               0               0               0               0               0
Managed Account Advisors LLC                                      139,965         225,925         180,940         283,529          99,585          74,776          79,778             367             367             367             367
Mandarine Gestion                                                       0               0               0               0               0               0               0               0               0               0               0
Mandatum Henkivakuutusosakeyhtiö                                   10,660               0               0               0           8,400          22,000          22,000          22,000          32,000          32,000          28,000
Manulife Investment Management (North America) Limited            123,976               0         588,187         562,371         440,068         405,500               0         305,239         179,599       1,102,145       1,071,824
Manulife Investment Management (US) LLC                           603,619               0         982,933         951,681         740,470         659,884               0         674,116               0               0               0
Mapfre Inversión Dos, S G I I C , S A                             266,583         304,273               0               0               0               0               0               0               0               0               0
Marathon Trading Investment Management LLC                         80,819               0               0               0               0               0               0               0               0               0               0
March Asset Management, S G I I C , S A U                           4,210           4,210           4,210           4,210           4,210           4,210               0               0               0               0               0
Margetts Fund Management Limited                                        0               0               0               0               0               0               0               0               0               0               0
Marshall Wace LLP                                                       0               0               0               0               0         323,648               0               0               0               0               0
Martin Currie Investment Management Ltd                                 0               0               0               0               0               0               0               0               0               0               0
Massachusetts Mutual Life Insurance Company                        28,991          31,258          45,184          38,144          36,674          36,674          35,206               0               0               0               0
Masters Capital Management, L L C                               1,905,830       2,000,000       2,500,000       2,000,000       2,000,000               0               0               0               0               0               0
Matrix Capital Management Trust reg                                     0               0         112,000         112,000               0               0               0               0               0          14,000               0
MAV Vermögensverwaltung GmbH                                            0               0               0               0               0               0               0               0               0               0               0
Maven Securities                                                        0          81,489               0               0               0               0               0               0               0               0               0




                                                                                                                                                                                                                    Page 35 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                         2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                  921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                 559             567             570             584             578             544


Institution/Individual                                      9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Lombard Odier Asset Management (Europe) Ltd                            0               0               0               0               0               0
Lord, Abbett & Co LLC                                                  0               0               0               0               0               0
Loring, Wolcott & Coolidge Fiduciary Advisors, LLP                     0               0               0               0               0               0
Los Angeles Capital Management And Equity Research, Inc                0               0               0               0               0               0
LourdMurray                                                            0               0               0               0               0               0
LOYS AG                                                          794,500         794,500         794,500         494,500         494,500         494,500
LPL Financial LLC                                                      0          13,159          13,345          12,929          14,371          13,253
LRI Invest S A                                                     7,500           7,500          19,310           7,500           7,500           7,500
LS Investment Advisors, LLC                                            0               0               0               0               0               0
LSV Asset Management                                                   0               0               0               0               0               0
Lucus Advisors LLC_NLE                                                 0               0               0               0               0               0
LUKB Expert Fondsleitung AG                                            0               0               0               0               0               0
Lux Gest Asset Management S A                                          0               0               0               0               0               0
Lyxor Asset Management                                        11,067,162      16,415,410      10,089,967      10,407,760      23,338,702      16,979,298
Lyxor Funds Solutions S A                                      2,275,947       1,971,787       2,287,235       2,375,765         125,106         148,558
Lyxor International Asset Management S A S Deutschland         2,338,861       2,043,642       2,363,598       4,850,727       2,839,371       5,406,875
M & G Investment Management Ltd                                  802,916         797,358         761,262         671,807         650,016         648,248
Mackenzie Financial Corporation                                        0          47,716          48,446          59,027          61,771          64,841
Macquarie Investment Management                                        0               0               0               0               0               0
Macquarie Investment Management Austria Kapitalanlage AG          35,830           6,930           6,930           6,930           6,930           6,930
Macquarie Investment Management Ltd                                    0               0               0               0               0       2,875,005
Magnetar Capital Partners LP                                           0               0               0               0               0               0
Maiestas Asset Management AG                                           0               0               0               0               0               0
MainFirst Asset Management                                        22,718          86,757               0               0           3,454               0
MainSky Asset Management AG                                            0               0               0               0               0               0
MainStreet Advisors                                                    0               0               0             609             609             609
Mairs and Power, Inc                                                   0               0          13,818          17,658          17,809          17,642
Malakoff Humanis Gestion d'Actifs                                      0               0               0               0               0               0
MANA Advisors LLC                                                 15,532               0               0               0               0               0
Managed Account Advisors LLC                                         367             367          34,519          39,426          53,854         101,894
Mandarine Gestion                                                      0               0               0               0          57,427          54,102
Mandatum Henkivakuutusosakeyhtiö                                  28,000          28,000          29,090          28,000          28,000          28,000
Manulife Investment Management (North America) Limited           957,112       1,109,229       1,033,082       1,201,479       1,075,763         926,758
Manulife Investment Management (US) LLC                          765,079         917,824       3,590,590       2,557,944       2,039,473               0
Mapfre Inversión Dos, S G I I C , S A                                  0               0               0               0               0               0
Marathon Trading Investment Management LLC                             0               0               0               0               0               0
March Asset Management, S G I I C , S A U                              0               0               0               0               0               0
Margetts Fund Management Limited                                       0               0               0               0               0          16,476
Marshall Wace LLP                                                175,114               0       2,019,915       2,797,224         999,164       1,914,708
Martin Currie Investment Management Ltd                                0               0         247,790         247,790         247,790         247,790
Massachusetts Mutual Life Insurance Company                            0               0               0               0               0               0
Masters Capital Management, L L C                                      0               0       2,000,000               0               0               0
Matrix Capital Management Trust reg                                    0               0               0               0               0               0
MAV Vermögensverwaltung GmbH                                           0               0               0          15,292          15,292          15,292
Maven Securities                                                       0               0               0               0               0               0




                                                                                                                                                           Page 36 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float             41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                        1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                             122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                 633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                     12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Mayr Investment Managers GmbH                                         0               0               0               0               0               0               0               0               0          45,554          45,554
MB Fund Advisory GmbH                                           426,000         426,000         476,000         510,000         510,000         550,000         560,000         610,000         610,000         610,000         670,000
McAdam, LLC                                                           0               0               0               0               0             136             136             136               0               0               0
McGinn Investment Management, Inc                                     0               0               0               0               0               0               0               0          52,000          52,000          52,000
McKinley Capital Management, LLC                                 83,715               0               0               0               0               0               0               0               0               0               0
MD Financial Management Inc                                           0               0               0               0               0               0          14,066          14,066          14,611          14,611          14,611
MEAG MUNICH ERGO AssetManagement GmbH                            31,010          15,725          17,012          21,874          21,874          21,874           9,000          21,546           9,000           9,000           9,000
MEAG Munich ERGO Kapitalanlagegesellschaft mbH                5,641,684         562,880         719,064         707,397         727,739         707,484         709,651         416,465         343,214         228,214         223,604
Mediobanca SGR S p A                                             53,152          63,252          69,450          72,663          75,823          22,964          39,322          22,106          29,500          29,500           2,299
Mediolanum Asset Management Limited                             265,327         265,327         285,641         285,641         522,521         185,033         167,548         137,583         136,955               0               0
Meitav Dash Investments Ltd                                           0               0               0               0               0               0               0               0          12,500          12,706          12,500
Mellon Investments Corporation                                6,225,648       6,317,630       8,618,013       8,717,629       8,565,489       3,252,872       2,978,057       2,861,466       2,841,923       2,761,119       3,009,207
Mercados y Gestión de Valores A V , S A                           9,574           9,574           9,574           9,574           9,574           9,574               0               0               0               0               0
Mercer Global Advisors, Inc                                           0               0               0               0               0               0               0               0               0               0               0
Mercer Global Investments Management Ltd                              0               0               0               0               0               0               0               0               0               0               0
Mercer Investments LLC                                                0               0               0               0               0               0               0               0               0               0               0
Mercier Vanderlinden Asset Management NV                              0               0               0               0       1,365,000       1,930,000       1,930,000       1,930,000               0               0               0
Merck Finck, a Quintet Private Bank (Europe) S A branch          36,833               0               0               0               0               0               0               0               0               0               0
Merian Global Investors (UK) Limited_NLE                              0               0               0               0               0               0               0               0               0               0               0
Merrion Investment Managers                                           0               0               0               0               0               0               0               0               0               0               0
Meru Capital Group, LP                                                0          60,000               0               0               0               0               0               0               0               0               0
Messieurs Hottinguer & Cie Gestion Privée S A                     2,000           4,000           7,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000
Metropolitan Life Insurance Co (US)                               1,838           1,838           1,838           1,838           1,838           1,838           1,838         146,810         146,810         146,810         146,810
Metzler Asset Management GmbH                                    11,000          11,000          11,000          11,000          11,000          11,000          11,000          69,728          70,892          70,805          71,108
MFC Asset Management PCL                                          3,000           3,000               0               0               0               0               0               0               0               0               0
MFI Asset Management GmbH                                        13,624          13,624          17,837          40,708          17,224          12,349          13,296          16,241               0               0               0
MFS Investment Management                                        39,255          39,255          52,253          52,253          52,253          99,819          99,819          99,819          99,819          85,345          85,345
Michael Pintarelli Finanzdienstleistungen AG                    121,700         121,700          97,750          97,750         108,250         108,250         114,800         114,800         218,550         218,550         218,550
Migros Bank Asset Management                                      5,398           5,398          40,376          40,376          40,376          40,376          40,376          40,376          50,346          50,346          48,186
Millennium Management LLC                                             0               0         137,371         334,525               0         117,989               0               0               0               0               0
Miller Value Partners, LLC                                            0               0          53,180          47,595          45,500          47,850          55,860          19,990               0               0               0
Milliman Financial Risk Management, LLC                               0               0               0               0          32,176          30,633          30,359          28,177          15,481          28,973          24,861
MinichMacGregor Wealth Management, LLC                                0           1,000           1,000           1,000           1,000           1,000           1,000           1,000           1,000               0               0
Mirae Asset Global Investments (USA) LLC                         32,186          26,180          41,442          48,081          64,786          73,723          43,737          61,920          63,120               0               0
Mirae Asset Global Investments Co , Ltd                           4,094           8,394           6,156           6,156           6,461           6,461           6,461           6,461           6,461           6,461           6,461
Mitsubishi UFJ Kokusai Asset Management Co , Ltd                117,510         135,002         141,872         141,872         141,872         141,872         143,223         143,223         143,223         143,223           7,552
Mitsubishi UFJ Trust and Banking Corporation                          0               0               0               0               0               0               0               0               0               0               0
MK LUXINVEST S A                                                  1,214           1,214           2,337           2,337           2,337           2,337           2,337           2,337           5,737           5,737           3,400
MLC Asset Management                                             24,587          25,135          25,135          37,369               0               0               0               0               0               0               0
MLC Investments Limited                                          57,421          58,325         129,974         122,624          64,123          64,307          68,048          24,339          24,219          24,726          25,172
Monaco asset management S A M                                         0               0               0               0               0               0               0               0               0               0               0
Monega Kapitalanlagegesellschaft mbH                            264,143         264,143         264,143         264,143         384,875         102,863          97,833          71,465          48,894          42,161          47,759
Montepio Gestão de Activos - SGFI, S A                           22,240          23,000          32,000          32,000          32,000          32,000          32,000          32,900          28,100          28,100          28,100
Moody National Bank                                                   0               0               0               0               0               0               0               0             612               0               0
Moore Capital Management, LP                                    600,000               0               0               0               0               0               0               0               0               0               0




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Deutsche Bank AG
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Shares Held by Institutions as a Percentage of Float             44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                        2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                             525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                 921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                559             567             570             584             578             544


Institution/Individual                                     9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Mayr Investment Managers GmbH                                    45,554               0               0               0               0               0
MB Fund Advisory GmbH                                           706,000         713,000         697,000         487,000         487,000         487,000
McAdam, LLC                                                           0               0               0               0               0               0
McGinn Investment Management, Inc                                52,000          52,000          52,000          52,000          52,000          94,170
McKinley Capital Management, LLC                                      0               0               0               0               0               0
MD Financial Management Inc                                      14,611          85,304          85,304          89,217          89,217          95,776
MEAG MUNICH ERGO AssetManagement GmbH                             9,000           9,000           9,000           9,000           9,000           9,000
MEAG Munich ERGO Kapitalanlagegesellschaft mbH                  325,604         225,727         228,772         214,556         205,568         109,881
Mediobanca SGR S p A                                                958             958             958             958             958             958
Mediolanum Asset Management Limited                                   0               0          84,000          84,000          84,000               0
Meitav Dash Investments Ltd                                      24,706          24,642               0               0               0               0
Mellon Investments Corporation                                3,019,487       1,950,386       1,886,292       1,956,045       1,929,801       1,859,799
Mercados y Gestión de Valores A V , S A                               0               0               0               0               0               0
Mercer Global Advisors, Inc                                           0               0               0          45,659          50,787          53,636
Mercer Global Investments Management Ltd                              0               0               0         118,606         118,606         176,624
Mercer Investments LLC                                                0               0               0               0               0         353,381
Mercier Vanderlinden Asset Management NV                              0               0               0               0               0               0
Merck Finck, a Quintet Private Bank (Europe) S A branch               0               0         238,077         150,113               0               0
Merian Global Investors (UK) Limited_NLE                              0               0               0       2,696,014               0               0
Merrion Investment Managers                                           0               0          26,881          16,003               0               0
Meru Capital Group, LP                                                0               0               0               0               0               0
Messieurs Hottinguer & Cie Gestion Privée S A                     9,000           9,000           9,000           9,000           9,000           9,000
Metropolitan Life Insurance Co (US)                             146,810         127,734         137,605         137,605         148,867         135,204
Metzler Asset Management GmbH                                    68,276          59,397          77,023          77,294          77,294          72,149
MFC Asset Management PCL                                              0               0               0               0               0               0
MFI Asset Management GmbH                                             0               0               0               0               0          30,000
MFS Investment Management                                        85,345          85,345          85,345          85,345          85,345          85,345
Michael Pintarelli Finanzdienstleistungen AG                    218,550         136,550         136,550          64,500          64,500          14,500
Migros Bank Asset Management                                     48,186          25,807          25,807          25,807          25,807          51,286
Millennium Management LLC                                             0               0               0               0               0               0
Miller Value Partners, LLC                                            0               0               0               0               0               0
Milliman Financial Risk Management, LLC                          24,920          24,275           2,857           7,836          15,609          20,673
MinichMacGregor Wealth Management, LLC                                0               0               0               0               0               0
Mirae Asset Global Investments (USA) LLC                              0          29,532          35,903          39,291          45,933          51,995
Mirae Asset Global Investments Co , Ltd                           6,461               0               0               0               0               0
Mitsubishi UFJ Kokusai Asset Management Co , Ltd                  7,552           7,552           7,552           8,371           8,371           8,371
Mitsubishi UFJ Trust and Banking Corporation                      5,756           5,126           4,263          15,800          15,234          11,622
MK LUXINVEST S A                                                  3,400           3,400           3,400           3,400           3,400           3,400
MLC Asset Management                                                  0               0               0             673           3,520           3,950
MLC Investments Limited                                          25,172          24,783          24,365          24,505          24,749          24,108
Monaco asset management S A M                                         0         100,000               0               0               0               0
Monega Kapitalanlagegesellschaft mbH                             54,178          57,490          63,908          63,908          63,908          63,908
Montepio Gestão de Activos - SGFI, S A                           28,100          31,000          31,000          31,000          31,000          36,687
Moody National Bank                                                   0               0               0               0               0               0
Moore Capital Management, LP                                          0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                 41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                            1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                 122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                     633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                    698             715             721             730             721             712             644             642             613              601             570


Institution/Individual                                         12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Morgan Stanley & Co International Plc                                     0               0               0               0               0               0               0          94,027           32,500           7,500           4,100
Morgan Stanley & Co LLC                                             473,983           3,034          48,479         338,799          41,682          53,938          21,054             243           13,398         468,712       2,456,453
Morgan Stanley Investment Management Inc (US)                       100,838          32,800          32,800          32,800          32,800          18,785           9,344           9,344            9,344           9,344           9,344
Morgan Stanley Investment Management Ltd (UK)                        16,361          16,361               0               0               0               0               0             859            4,691           4,837           1,005
Morgan Stanley Smith Barney LLC                                     753,241         955,068       1,242,040       1,325,715       1,183,356       1,057,822         611,919       1,184,335        1,159,912         941,787       1,095,184
MSA Financial                                                             0               0               0               0               0             193             193             193              193             193               0
MUFG Securities EMEA plc                                                  0               0               0               0               0               0               0               0                0               0               0
National Asset Management, Inc                                       10,330               0               0               0               0               0               0               0                0               0               0
National Bank Trust                                                       0               0               0               0               0               0               0               0                0               0               0
National-Bank AG                                                          0               0               0               0               0               0               0               0                0               0               0
Nationale-Nederlanden Powszechne Towarzystwo Emerytalne S A          69,090          69,090               0               0               0               0               0               0        1,560,000       1,560,000       1,560,000
Natixis Investment Managers                                               0               0               0               0               0               0               0               0                0               0               0
NBG Asset Management Mutual Funds Management Company S A             55,000          25,000          67,538          55,838          55,838          53,000          55,500          28,000                0               0               0
NBT Bank N A                                                              0               0               0               0               0               0               0               0                0               0               0
Nelson, Van Denburg & Campbell Wealth Management Group, LLC             150               0               0               0               0               0               0               0                0               0               0
Neuberger Berman, LLC                                                     0               0               0               0               0          17,732          17,732          18,398           30,717               0               0
Neuburgh Advisers LLC                                                11,492          11,492          11,492          11,492          11,492          11,492          11,492          13,430           19,142          19,142          22,848
NEXT Financial Group, Inc                                               150               0               0               0               0               0               0               0                0               0               0
Nextam Partners SGR S p A                                             4,456           3,477           3,477           3,477           3,477           3,477           3,477           3,477            3,477               0               0
NF Trinity Capital (Hong Kong) Limited_NLE                                0               0               0               0               0         533,225         533,225         533,225          533,225         533,225         533,225
NFJ Investment Group, LLC                                                 0           5,678           8,517               0               0               0               0               0                0               0               0
NFS Capital AG                                                       13,000               0          20,000          20,000          20,000          20,000          20,000               0                0               0               0
Niche Asset Management Limited                                            0               0               0               0               0               0               0               0                0               0           2,500
Nicholas Hoffman & Company, LLC                                           0               0               0               0               0               0               0               0                0          10,000          10,000
Nicholas Investment Partners, L P                                         0               0               0               0         750,000               0               0               0                0               0               0
Nikko Asset Management Americas, Inc                                      0          25,799          25,799          25,799          25,799          34,499          34,499          34,499           34,499          40,799          40,799
Nikko Asset Management Co , Ltd                                      48,739          57,729          57,729          57,729          57,729          57,729          57,729           1,948           50,151          54,521          52,925
Nippon Life Global Investors Singapore Limited                       15,184          15,184          15,184          15,184          36,233          36,233          36,233          36,233           57,691          57,691          57,691
NN Investment Partners (Singapore) Ltd                                4,615               0               0               0               0               0               0               0                0               0               0
NN Investment Partners C R , a s                                          0               0               0               0               0               0             903             903              903             903             903
NNIP Advisors B V                                                 2,157,482       1,468,758       1,334,148       1,662,658       1,396,938         803,685         981,232         893,182                0               0               0
NNIP Asset Management B V                                           320,895          44,267          44,267          59,959          71,408         135,404         121,780          61,366           61,366          64,654          64,654
Nomura Asset Management (UK) Ltd                                          0               0               0               0               0               0               0               0                0               0               0
Nomura Asset Management Co , Ltd                                     17,606          16,138          16,138          16,138          16,138          18,548               0               0          313,901         313,939         165,200
Nomura Asset Management Singapore Ltd                                     0             160             160             160             160             477             477             477              477             642             642
Nomura Asset Management Taiwan Limited                                    0               0          27,731          27,731          27,731          27,731               0               0                0               0               0
Nomura Securities Co , Ltd                                           17,606               0               0          20,637          48,422          43,982         442,403         744,274        2,089,061         907,020       1,923,271
Nordea Funds Oy                                                      60,846           7,563          12,950          15,784          15,784          16,411          16,411          14,830           17,884          17,884          18,250
Nordea Investment Funds S A                                          95,130          41,847          41,847          41,847          41,847          41,847          41,847          41,847           41,847               0               0
Nordea Investment Management AB (Denmark)                            80,109          80,109         120,163       1,132,339       2,180,016       2,180,016       1,401,037         104,022          129,962         115,931         115,931
Norges Bank Investment Management (NBIM)                         31,340,557      25,017,898      34,039,187      29,666,321      25,493,223      29,323,275      26,402,743      26,557,217       20,312,288      22,069,070      22,069,070
North Star Investment Management Corporation                            650             650             975             975             975             975             975             975              975             975               0
Northern Trust Fund Managers (Ireland) Limited                            0               0               0               0               0               0               0               0                0               0               0
Northern Trust Global Investments                                   480,116         425,858         577,869         582,928         744,570         637,738         479,188         697,481          511,306         780,652         591,990
Northern Trust Global Investments Limited                           507,726         559,841         941,622         958,197         850,985         871,896         854,915       1,095,171        1,248,657       1,276,485       1,271,712




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                 44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                            2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                 525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                     921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                    559             567             570             584             578             544


Institution/Individual                                         9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Morgan Stanley & Co International Plc                                     0               0               0          18,144               0               0
Morgan Stanley & Co LLC                                             342,981         208,359               0         340,965           7,052         283,692
Morgan Stanley Investment Management Inc (US)                           423               0               0               0          46,745          46,745
Morgan Stanley Investment Management Ltd (UK)                             0               0               0           6,783           5,376               0
Morgan Stanley Smith Barney LLC                                   1,365,796       1,125,026         831,420         707,386         668,076         644,234
MSA Financial                                                             0               0               0               0               0               0
MUFG Securities EMEA plc                                                  0               0               0       1,500,000               0               0
National Asset Management, Inc                                            0               0               0               0               0               0
National Bank Trust                                                       0           5,407           5,407           4,476           4,476           4,344
National-Bank AG                                                          0               0               0          27,014          27,014          51,205
Nationale-Nederlanden Powszechne Towarzystwo Emerytalne S A       1,560,000       1,560,000       1,560,000       1,560,000       1,560,000               0
Natixis Investment Managers                                               0               0               0               0           8,597           3,886
NBG Asset Management Mutual Funds Management Company S A                  0               0               0               0               0               0
NBT Bank N A                                                              0               0          10,000          10,000          10,000          10,000
Nelson, Van Denburg & Campbell Wealth Management Group, LLC               0               0               0               0               0               0
Neuberger Berman, LLC                                                     0               0               0               0               0               0
Neuburgh Advisers LLC                                                22,848          22,848          22,848          22,848          22,848          22,848
NEXT Financial Group, Inc                                                 0               0               0               0               0               0
Nextam Partners SGR S p A                                                 0               0               0               0               0               0
NF Trinity Capital (Hong Kong) Limited_NLE                          533,225         533,225         533,225               0               0               0
NFJ Investment Group, LLC                                                 0               0               0               0               0               0
NFS Capital AG                                                            0               0               0               0               0               0
Niche Asset Management Limited                                        2,500          48,500          48,500           2,500           2,500           2,500
Nicholas Hoffman & Company, LLC                                      10,000          10,000          10,000               0               0               0
Nicholas Investment Partners, L P                                         0               0               0               0               0               0
Nikko Asset Management Americas, Inc                                 40,799          40,799               0               0               0               0
Nikko Asset Management Co , Ltd                                      54,864          54,767          54,408           8,826           8,341         135,169
Nippon Life Global Investors Singapore Limited                       57,691          76,262          76,262          76,262          76,262         104,328
NN Investment Partners (Singapore) Ltd                                    0               0               0               0               0               0
NN Investment Partners C R , a s                                        903             903               0               0               0               0
NNIP Advisors B V                                                         0               0               0               0               0               0
NNIP Asset Management B V                                            64,654          64,654          64,654          64,654               0               0
Nomura Asset Management (UK) Ltd                                          0               0               0               7               7               7
Nomura Asset Management Co , Ltd                                    176,557         181,189         198,481         201,683         203,284         204,236
Nomura Asset Management Singapore Ltd                                   642             642             754             754             754             754
Nomura Asset Management Taiwan Limited                                    0               0               0               0               0               0
Nomura Securities Co , Ltd                                                0               0               0               0               0               0
Nordea Funds Oy                                                      18,250          18,250          24,618          31,588          17,377          17,377
Nordea Investment Funds S A                                               0               0               0               0               0               0
Nordea Investment Management AB (Denmark)                           121,088         152,281         155,228         144,286         128,612         119,927
Norges Bank Investment Management (NBIM)                          9,328,044       9,796,290       6,202,391       2,142,835       9,763,914       5,234,047
North Star Investment Management Corporation                            975             975               0               0               0               0
Northern Trust Fund Managers (Ireland) Limited                            0           7,276           8,933           8,933           8,933           8,933
Northern Trust Global Investments                                   815,553         600,598         773,451         802,321         781,850         760,239
Northern Trust Global Investments Limited                         1,266,296       1,278,625       1,210,498       1,540,547       1,589,560       1,600,188




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                         1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                  633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                 698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                      12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Northern Trust Investments, Inc                                   795,402         831,173       1,111,598       1,051,356        1,102,506       1,018,119         919,178       1,189,850        1,096,443       1,251,546       1,224,846
Northern Trust Luxembourg Management Company S A                  344,814         344,814         344,814         344,814          344,814         344,814         344,814               0          364,466             767             332
Northern Trust Value Investors                                     61,398          61,398          61,398          61,398           61,398          61,398          61,398               0                0               0               0
Northwestern Mutual Capital, LLC                                    7,238           7,409          15,108          15,832           15,698          23,587          28,311          26,909           17,534          17,734          16,055
Novo Banco Gestion, SGIIC, S A                                      3,500           3,500           3,500           3,500            3,500           3,500               0               0                0               0               0
NS Partners Ltd                                                         0               0               0               0                0               0               0               0                0               0               0
Nuveen LLC                                                      1,041,522       1,149,307       1,393,188               0                0               0               0               0                0       1,992,139       2,097,551
Nykredit Bank AS                                                   31,645          31,645          42,313          50,617           50,617          27,212          11,187          11,187           53,658         166,858         182,630
Nymbus Capital                                                      3,200           1,900               0               0            4,100               0               0           3,100                0               0               0
Oddo BHF Asset Management GmbH                                    202,356         202,356               0               0                0               0          11,400       3,411,400        3,411,400       3,411,400       3,411,400
Oddo BHF Asset Management S A S                                    14,625          18,465          16,675          18,542           19,310          19,310          19,310          19,310           19,576          19,576               0
Odey Asset Management LLP                                               0               0               0               0                0               0               0               0                0               0               0
Old Mission Capital LLC                                                 0               0               0               0                0               0          20,998               0                0          10,898          67,295
Old Mutual Customised Solutions (Pty) Ltd                               0               0               0               0                0               0               0               0                0               0               0
Old Mutual Investment Group (South Africa) (Pty) Limited                0               0               0               0                0               0               0               0                0               0               0
Old National Wealth Management                                          0          15,066          20,152          20,152                0               0               0               0                0               0               0
Oldfield Partners LLP                                                   0               0               0               0                0               0               0               0          151,675         151,675         151,675
Ontario Teachers' Pension Plan Board                              854,519         757,681         474,319          87,479          129,733               0               0               0                0               0               0
OP Varainhoito Oy                                                  44,391          44,391          44,391          44,391                0               0               0               0                0               0               0
OPERA Towarzystwo Funduszy Inwestycyjnych S A                       3,000           3,000           4,000           4,000            4,500           4,500           4,500           4,500            4,500           4,500           4,500
Oppenheimer Asset Management Inc                                        0          12,984          12,984          34,608           34,484               0         103,530          94,080           12,600          71,650          64,675
Optimize Investment Partners                                            0               0               0               0                0               0               0          37,800           37,800          37,800               0
Oracle Investment Management, Inc                                       0               0               0               0                0               0               0               0                0               0               0
O'Shaughnessy Asset Management, LLC                                     0               0               0               0                0               0               0               0                0               0               0
Osmosis Investment Management LLP                                       0               0               0               0                0               0               0               0           10,845          10,845          10,845
Ossiam                                                          2,845,393       1,080,685       1,345,595         714,858        2,080,312         630,754       3,896,308       3,575,939        3,253,492         733,498               0
Ostrum Asset Management                                           667,483          11,924               0               0           11,751               0               0               0          724,215          29,696               0
Pacer Advisors, Inc                                                 8,563           8,134          17,789          22,278           33,998               0          66,310          68,809                0          79,909          68,648
Pactio Gestión, S G I I C , S A                                   166,000         166,000         166,000         166,000          166,000         166,000               0               0                0               0               0
Paloma Partners Management Company                                      0               0               0               0                0               0               0               0                0          40,772               0
PanAgora Asset Management Inc                                       2,043           2,043           2,043           2,043            2,043           2,043           2,043           2,043            2,043           2,043          13,338
Parallax Volatility Advisers, L P                                  56,953          27,681               0           1,119                0         148,640               0               0          203,364          24,824          49,107
Parallel Advisors, LLC                                                  0               0               0             220              423             148             621           1,906            1,983           2,513           1,630
Parametric Portfolio Associates LLC                               721,859         859,096         950,688       1,048,013        1,249,785       1,089,810         799,818       1,470,353        1,678,329       2,477,373       1,776,384
PARTNERS VermögensManagement AG                                    14,060          14,060          27,090          27,090           27,090          27,090          27,090          27,090           27,090          27,090          27,090
Partnervest Advisory Services LLC_NLE                                   0               0               0               0                0               0               0          18,500           21,500          41,500          60,500
Pathstone                                                               0               0               0               0                0               0               0               0                0           1,433           1,433
Peak 6 Capital Management, LLC                                    262,963           1,998           1,031          55,114           60,397         283,684         365,499         236,986        1,100,428       1,203,957       1,319,631
PEH Wertpapier AG                                                       0               0               0               0                0               0          14,800          14,800           14,800          14,800               0
Pekao PTE S A _NLE                                                124,377         124,377         124,377         124,377                0               0               0               0                0               0               0
Penserra Capital Management LLC                                         0               0               0               0                0               0               0           3,408            4,144           3,696               0
Peregrine Asset Advisers, Inc                                     159,786               0               0               0                0               0               0               0                0               0               0
Performa Limited (US), LLC                                              0               0               0               0                0               0               0               0            8,000               0               0
Perigon Wealth Management, LLC                                      1,022               0               0               0                0               0               0               0                0               0               0
Perkins Investment Management LLC                                       0               0               0               0                0               0               0               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float              44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                         2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                              525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                  921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                 559             567              570             584             578             544


Institution/Individual                                      9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
Northern Trust Investments, Inc                                1,227,378        1,235,393         974,766       1,045,495       1,038,427        1,015,640
Northern Trust Luxembourg Management Company S A                     328              325             343             242             285              129
Northern Trust Value Investors                                         0                0               0               0               0                0
Northwestern Mutual Capital, LLC                                  14,805            8,790          18,467           8,990           7,470           10,158
Novo Banco Gestion, SGIIC, S A                                         0                0               0               0               0                0
NS Partners Ltd                                                        0                0               0          59,883          59,883           59,883
Nuveen LLC                                                     1,953,230        1,892,461       2,111,273       2,553,037       2,432,312        2,150,299
Nykredit Bank AS                                                 170,318          155,832         308,630         323,366         348,262          600,581
Nymbus Capital                                                         0                0           4,800           4,800               0            4,400
Oddo BHF Asset Management GmbH                                 3,411,400        3,411,400       3,411,400               0          30,431           32,357
Oddo BHF Asset Management S A S                                   78,037           89,050          95,521          85,897          84,397          109,150
Odey Asset Management LLP                                              0        1,346,081       2,845,784       3,604,848       3,066,689        3,516,846
Old Mission Capital LLC                                                0                0               0               0          11,719                0
Old Mutual Customised Solutions (Pty) Ltd                              0                0               0               0           5,143                0
Old Mutual Investment Group (South Africa) (Pty) Limited         381,180          381,180         381,180         586,217         408,585          408,585
Old National Wealth Management                                         0                0               0               0               0                0
Oldfield Partners LLP                                            151,675          151,675         151,675         194,269         194,269          194,269
Ontario Teachers' Pension Plan Board                                   0          106,232         114,613               0               0                0
OP Varainhoito Oy                                                185,786          229,876         223,796         230,647         243,311          158,510
OPERA Towarzystwo Funduszy Inwestycyjnych S A                      4,500            4,500           4,500           4,500           4,500            4,500
Oppenheimer Asset Management Inc                                  69,725           40,495          56,025          60,475          65,975           38,498
Optimize Investment Partners                                           0                0               0               0               0                0
Oracle Investment Management, Inc                                      0           25,000               0               0               0                0
O'Shaughnessy Asset Management, LLC                                    0                0             155             984           1,334            1,709
Osmosis Investment Management LLP                                 10,845           10,845          10,845          22,867          22,867           22,867
Ossiam                                                         1,422,076        1,390,827       2,571,058       6,947,103       2,320,606        1,907,930
Ostrum Asset Management                                           34,244           37,059         130,461         124,365         117,028          122,667
Pacer Advisors, Inc                                               55,949           52,974               0               0               0           22,152
Pactio Gestión, S G I I C , S A                                        0                0               0               0               0                0
Paloma Partners Management Company                                     0           33,122               0         119,187          38,797           64,082
PanAgora Asset Management Inc                                     13,338           13,338           3,101           3,101               0                0
Parallax Volatility Advisers, L P                                224,120           22,845         108,383          64,988          84,922          202,097
Parallel Advisors, LLC                                             5,024            4,778           1,920           2,999           3,078            2,738
Parametric Portfolio Associates LLC                            2,602,948        2,305,338       2,170,896       1,883,556       1,706,380        1,913,374
PARTNERS VermögensManagement AG                                   27,090           27,090          27,090          27,090          27,090           27,090
Partnervest Advisory Services LLC_NLE                            139,500          124,500         130,500          24,000               0                0
Pathstone                                                          1,433                0           1,433           1,433           1,433            1,433
Peak 6 Capital Management, LLC                                 1,362,306          671,138               0               0          64,560                0
PEH Wertpapier AG                                                      0                0               0               0               0                0
Pekao PTE S A _NLE                                                     0                0               0               0               0                0
Penserra Capital Management LLC                                        0                0               0               0               0                0
Peregrine Asset Advisers, Inc                                          0                0               0               0               0                0
Performa Limited (US), LLC                                             0                0               0               0               0                0
Perigon Wealth Management, LLC                                         0                0               0               0               0                0
Perkins Investment Management LLC                                      0            3,645               0               0               0                0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                       41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                                  1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                       122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                           633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                          698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                               12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
PGGM Vermogensbeheer B V                                                 1,043,743       1,043,743       1,043,743       1,043,743        1,206,844       1,206,844       1,206,844       1,206,844        1,164,278       1,164,278       1,164,278
PGIM Investments LLC                                                             0               0               0               0                0               0               0               0                0               0               0
PGIM Japan Co , Ltd                                                              0               0               0               0            2,400           2,400           2,400           2,400            2,400           2,400           2,400
PGIM Quantitative Solutions LLC                                              2,690           2,840           6,782           7,699            7,699           7,973           8,275           8,750            9,437           9,932          12,381
Phoenix Holdings Ltd                                                             0               0               0               0                0         800,000         625,000               0                0               0               0
Picoco, LLC                                                                 50,000          50,000          50,000          50,000           50,000          50,000          50,000          50,000                0               0               0
Pictet & Cie (Europe) S A                                                        0               0               0               0                0               0               0               0           16,400          16,400          16,400
Pictet Asset Management Ltd                                                702,519         849,125       1,222,627       1,191,924        1,139,016       1,125,219       1,072,187       1,452,392        1,010,825         842,648         840,290
Pictet North America Advisors SA                                                 0               0               0               0           31,550         954,805         514,950         500,000          500,000         500,000         500,000
PIMCO (US)                                                                 199,979         254,157         300,302         305,208          288,686         273,974         321,000         318,418          325,737         410,734         458,071
PIMCO Europe Ltd                                                                 0               0               0               0                0               0               0               0              506             506             506
PineBridge Investments Europe Limited                                            0               0               0               0                0               0               0               0                0               0               0
PineBridge Investments LLC                                                       0               0               0               0                0          30,680          20,828          28,236           26,987          15,278               0
Pinnacle Holdings, LLC                                                           0               0               0               0                0               0               0               0                0               0               0
Pinnacle Wealth Planning Services, Inc                                           0               0               0               0                0               0               0               0                0               0               0
Pioneer Investment Management SGRpA_NLE                                     15,373         115,416               0               0                0               0               0               0                0               0               0
PKB Privat Bank AG                                                         152,500         122,500         183,750         183,750          183,750         183,750         183,750         183,750          183,750         183,750         183,750
PKO BP BANKOWY Powszechne Towarzystwo Emerytalne S A                        34,815          34,815          34,815          34,815                0               0               0               0                0               0               0
Plutos Vermögensverwaltung AG                                                    0          25,000          25,000               0                0               0               0               0                0               0               0
PNC Wealth Management                                                        2,832           8,783           6,344           1,821            7,456          16,301          13,373          11,811           12,461          21,612          22,628
Pocztylion - Arka Powszechne Towarzystwo Emerytalne S A                     86,813          86,813          86,813          86,813                0               0               0               0           86,999          86,999          86,999
Point72 Asset Management, L P                                                    0               0               0               0                0               0               0               0                0               0               0
Polaris Wealth Advisory Group, LLC                                          51,156               0               0               0                0               0               0               0                0               0               0
Popular Gestión Privada S G I I C , S A                                      4,000           4,000           4,000           4,000            4,000           4,000               0               0                0               0               0
PORTFOLIO INVEST Vermögensmanagement GmbH                                        0               0               0               0                0          33,000          33,000          33,000           33,000          33,000          33,000
Portolan Capital Management, L L C                                         190,944         100,061               0               0                0               0               0               0                0               0               0
PP Capital Asset Management Fondsmæglerselskab A/S                               0               0               0               0                0               0               0               0           21,000               0               0
PP-Asset Management GmbH                                                         0               0               0               0                0               0               0               0                0               0               0
Prelude Capital Management, LLC                                                  0           4,880          19,830           9,730           12,780           6,565               0               0                0               0               0
Prima AFP S A                                                                    0               0               0               0                0         851,662               0               0                0               0               0
Prime Capital Investment Advisors LLC                                            0               0               0               0                0               0         174,900         174,900                0               0               0
Principal Global Investors (Equity)                                        101,116         101,990         187,521         151,463          147,874         146,334         139,560         146,131          151,414         149,115         152,004
Principal Management Corporation                                            75,505          71,716         109,120         118,346          104,478         104,878          87,970          89,182           74,177          73,789          86,193
Private Advisor Group LLC                                                   17,639          16,680               0          11,504                0          13,867               0          16,785           29,124          26,906          18,906
Private Capital Group, LLC                                                       0               0               0               0                0             165               0               0                0               0               0
Private Ocean, LLC                                                             200             200             200               0                0               0               0               0                0               0               0
PROAKTIVA GmbH                                                                   0               0               0               0                0               0               0               0                0               0               0
ProEquities Inc                                                                  0               0               0               0                0               0               0             200              200             200             800
Proficio Capital Partners LLC                                                  241             372             524             434              540             266             104             602            1,312               0               0
Profile Sociedade Gestora de Fundos de Investimento Mobiliario SA            4,600           4,600           4,600           4,600            4,600           4,600           4,600           4,600                0               0               0
Pro-Financial Asset Management, Inc                                            215             215             215             215              215             215               0               0                0               0               0
ProFund Advisors LLC                                                           948             977           1,496           2,747            3,886           3,886           3,886           3,886            3,886           3,886           3,886
Promont AM AG                                                               10,000          10,000          15,000          23,000           23,000          23,000          23,000          18,000           18,000           3,000           3,000
ProShare Advisors LLC                                                            0               0               0               0                0           4,382           4,382           5,032            5,032           5,032           5,032
Pruschke & Kalm GmbH                                                             0               0               0               0                0          10,000          10,000               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                       44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                                  2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                       525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                           921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                          559             567              570             584             578             544


Institution/Individual                                               9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
PGGM Vermogensbeheer B V                                                1,164,278        1,115,131       1,115,131       1,115,131       1,115,131        1,420,989
PGIM Investments LLC                                                            0                0               0             654               0            3,215
PGIM Japan Co , Ltd                                                         2,400                0               0               0               0                0
PGIM Quantitative Solutions LLC                                            12,623           12,623           6,732           7,053           8,155            8,379
Phoenix Holdings Ltd                                                            0                0               0               0               0                0
Picoco, LLC                                                                     0                0               0               0               0                0
Pictet & Cie (Europe) S A                                                  16,400           27,400          16,400          16,400          16,400           37,400
Pictet Asset Management Ltd                                               308,606        1,181,658       1,183,035       2,643,887       1,240,003        1,224,123
Pictet North America Advisors SA                                          500,000          600,000         600,000         600,000         600,000          600,000
PIMCO (US)                                                                446,619          533,916       1,014,777         998,798       1,377,530        1,153,251
PIMCO Europe Ltd                                                              506              506             506             506             506              506
PineBridge Investments Europe Limited                                           0                0               0               0          40,851            1,737
PineBridge Investments LLC                                                      0                0               0               0               0                0
Pinnacle Holdings, LLC                                                          0                0               0          16,400          16,400           16,400
Pinnacle Wealth Planning Services, Inc                                          0                0               0               0               0              935
Pioneer Investment Management SGRpA_NLE                                         0                0               0               0               0                0
PKB Privat Bank AG                                                        183,750          183,750         133,750         133,750         133,750          133,750
PKO BP BANKOWY Powszechne Towarzystwo Emerytalne S A                            0                0               0               0               0                0
Plutos Vermögensverwaltung AG                                                   0                0               0               0               0                0
PNC Wealth Management                                                      31,426           30,726          29,995          18,329          17,515           19,271
Pocztylion - Arka Powszechne Towarzystwo Emerytalne S A                    86,999           86,999          86,999          86,999          86,999                0
Point72 Asset Management, L P                                                   0           12,077               0               0               0                0
Polaris Wealth Advisory Group, LLC                                              0                0               0               0               0                0
Popular Gestión Privada S G I I C , S A                                         0                0               0               0               0                0
PORTFOLIO INVEST Vermögensmanagement GmbH                                  33,000           33,000          33,000          33,000          33,000           33,000
Portolan Capital Management, L L C                                              0                0               0               0               0                0
PP Capital Asset Management Fondsmæglerselskab A/S                              0                0               0               0               0                0
PP-Asset Management GmbH                                                        0                0          55,000               0               0                0
Prelude Capital Management, LLC                                                 0                0               0               0               0                0
Prima AFP S A                                                                   0                0               0               0               0                0
Prime Capital Investment Advisors LLC                                           0                0               0               0               0                0
Principal Global Investors (Equity)                                       156,402          153,841         155,500         155,095         151,047          168,226
Principal Management Corporation                                           37,287                0          57,077          39,621          29,913           24,368
Private Advisor Group LLC                                                  16,125           15,645          15,645          15,645          14,545           14,545
Private Capital Group, LLC                                                      0                0               0               0               0            1,459
Private Ocean, LLC                                                              0                0               0               0               0                0
PROAKTIVA GmbH                                                                  0                0               0               0           6,000            6,000
ProEquities Inc                                                                 0                0               0               0               0                0
Proficio Capital Partners LLC                                                   0                0               0               0               0                0
Profile Sociedade Gestora de Fundos de Investimento Mobiliario SA               0                0               0               0               0                0
Pro-Financial Asset Management, Inc                                             0                0               0               0               0                0
ProFund Advisors LLC                                                        3,886                0               0               0               0                0
Promont AM AG                                                               3,000            3,000               0               0               0                0
ProShare Advisors LLC                                                       5,032            5,032           5,032           5,032           3,256            3,256
Pruschke & Kalm GmbH                                                            0                0               0               0               0                0




                                                                                                                                                                      Page 44 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                     1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                              633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                             698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                  12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
PSP Investments                                               645,396         578,602         866,033         866,033          857,485          77,951         758,459         746,823          768,303         778,280         918,632
pulse invest GmbH                                                   0           1,800           1,800               0                0               0               0               0                0               0               0
Putnam Investment Management, L L C                               666             666             666             666                0               0               0               0          908,767         601,347               0
QS Investors, LLC                                               8,252           8,252          13,929          14,324           11,492           7,997          30,534          27,922           27,922          27,133          27,133
Quadrant Family Wealth Advisors                                 1,630           9,426           5,209           8,082            8,489           1,363           1,785           3,224           18,658          25,293           8,215
Quadratic Capital Management LLC                                    0               0               0               0                0               0               0               0                0               0         160,000
Quadrature Capital LLP                                              0         641,247               0               0                0               0               0               0                0               0               0
Quant Capital Management GmbH                                  79,669          79,669          79,669          79,669           79,669          79,669          79,669               0                0               0               0
Quantagon Financial Advisors Gmbh                              48,070          48,070          48,070          54,010           50,040          61,680          75,440          70,520           70,520          85,670          80,670
Quantbot Technologies, LP                                           0               0         170,154          16,380           35,443               0               0               0                0               0               0
Quantitative Investment Management LLC                        284,700               0               0               0          483,700               0         145,200               0          256,300               0               0
Quantlab Capital Management, LLC                                    0               0               0               0                0               0               0               0                0               0               0
Qube Research & Technologies Ltd                                    0               0               0               0                0               0               0               0                0               0               0
Quinn Opportunity Partners LLC                                      0               0               0               0                0               0               0               0                0               0         145,000
Quorus Vermögensverwaltung AG                                  22,000               0               0               0           25,500          15,000          29,000          29,000           29,000          29,000          47,300
R & M Vermögensverwaltung GmbH                                      0               0               0               0                0               0               0               0                0          25,000          25,000
R H Bluestein & Company                                             0               0          20,000          20,000           20,000          20,000               0               0                0               0               0
R I Vermögensbetreuung AG                                     175,000         175,000         250,000         250,000                0               0               0               0                0               0               0
Radin Capital Partners Inc                                          0               0               0               0                0               0               0           5,463            5,024           4,024               0
Raiffeisen Kapitalanlage-Gesellschaft mbH                     387,300         421,600         394,500         461,500                0               0               0               0                0               0               0
Raiffeisen Vermögensverwaltungsbank AG                              0               0               0          41,200           41,200               0               0               0                0               0               0
RAM Active Investments S A                                          0               0               0               0                0               0          32,047          32,047           32,047          32,047          32,047
Ravel Capital Management SA                                         0               0               0               0          113,600         113,600          56,800          56,800           56,800          56,800          56,800
Raymond James & Associates, Inc                               153,498         151,791         117,914         130,549          133,903         111,969          65,681          70,145           29,964          39,253          45,165
Raymond James Financial Services Advisors, Inc                 26,066          26,166          32,479          29,837           29,914          33,814          34,155          33,515           25,728          25,883          18,011
RBC Capital Markets (Canada)                                   27,594          27,594          27,594          27,594           27,594          27,594          27,594               0                0               0               0
RBC Capital Markets Wealth Management                         177,999           3,929           2,000          81,298          147,483         173,029         225,217         199,707            2,925           2,925          13,789
RBC Capital Partners                                                0           4,934           6,098           6,086            7,103               0               0               0              642               0               0
RBC Dominion Securities, Inc                                   62,580         100,029         160,548         158,014          162,723         359,534         348,381         350,314          280,409          13,635          30,090
RBC Global Asset Management Inc                                     0               0               0               0                0               0               0               0                0          42,713           2,404
RBC Investment Solutions (CI) Limited                           6,173           6,173          15,689          15,689           15,689          17,089          17,089          17,089           17,089          17,089          17,089
RBC Phillips, Hager & North Investment Counsel Inc                  0               0               0               0              600             600               0               0                0               0               0
RBC Private Counsel (USA) Inc                                   7,525           4,565           1,400           1,400            1,400           1,400               0               0                0               0               0
RBC Trust Co (International) Ltd                                4,555           4,555           4,555               0                0               0               0               0                0               0               0
RBC Trust Co (Jersey) Ltd                                       1,217           1,217           1,217               0                0               0               0               0                0               0               0
RBC Wealth Management, International                        1,805,667       1,165,188       2,190,909       1,833,591          586,586         619,614         377,732          18,628          988,698         629,633         829,501
RBV GmbH                                                       17,500          27,500          36,250          41,250           41,250          41,250          41,250          41,250           41,250          41,250          41,250
Real Estate Management Services Group, LLC                          0               0               0               0                0               0               0               0                0               0               0
ReAssure Limited                                                    0               0         190,920         179,888          255,535         413,484         390,706         481,082          444,435              86              85
Regent Peak Wealth Advisors, LLC                                    0               0               0               0                0               0               0               0                0               0               0
RegentAtlantic Capital, L L C                                       0               0               0               0                0               0               0               0                0               0               0
Regions Investment Management, Inc                                  0               0               0               0              250             250             215               0                0               0               0
Reichmuth & Co                                                 29,170          29,170          39,170          39,170           39,170          50,000          60,000          60,000           60,000          60,000          80,000
Reilly Financial Advisors, LLC                                     34              34              34              34               34              34              34              34               34              34              34
Renaissance Technologies LLC                                1,274,138       3,971,796       1,350,438       2,230,182          914,338               0               0               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567              570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
PSP Investments                                            1,035,533          996,112         988,630         983,003         983,003          971,362
pulse invest GmbH                                                  0                0               0               0               0                0
Putnam Investment Management, L L C                                0                0               0               0               0                0
QS Investors, LLC                                             27,133           27,133          27,133          11,086          11,086           11,086
Quadrant Family Wealth Advisors                               35,953           10,446          11,210           3,513           5,335            4,492
Quadratic Capital Management LLC                             160,000          160,000         160,000         160,000         160,000                0
Quadrature Capital LLP                                             0                0               0               0               0                0
Quant Capital Management GmbH                                      0                0               0               0               0                0
Quantagon Financial Advisors Gmbh                             42,330            3,080           3,260           4,080           3,240                0
Quantbot Technologies, LP                                          0            9,378           3,100           3,600               0           12,509
Quantitative Investment Management LLC                        97,209          155,403               0          10,965               0                0
Quantlab Capital Management, LLC                                   0                0               0               0          21,740                0
Qube Research & Technologies Ltd                                   0                0               0          10,309          60,576           80,938
Quinn Opportunity Partners LLC                               469,000          469,000         469,000         469,000          28,243           24,243
Quorus Vermögensverwaltung AG                                 47,300           47,300          33,300               0               0                0
R & M Vermögensverwaltung GmbH                                25,000                0               0               0          42,200                0
R H Bluestein & Company                                            0                0               0               0               0                0
R I Vermögensbetreuung AG                                          0                0               0               0               0                0
Radin Capital Partners Inc                                         0                0               0               0               0                0
Raiffeisen Kapitalanlage-Gesellschaft mbH                          0                0               0               0               0                0
Raiffeisen Vermögensverwaltungsbank AG                             0                0               0               0               0                0
RAM Active Investments S A                                    32,047           32,047          32,047               0               0                0
Ravel Capital Management SA                                   56,800           56,800          56,800               0               0                0
Raymond James & Associates, Inc                               44,165           49,282          59,093          60,195          53,797           60,570
Raymond James Financial Services Advisors, Inc                28,010           29,505          16,436          16,681          11,008           12,829
RBC Capital Markets (Canada)                                       0                0               0               0               0                0
RBC Capital Markets Wealth Management                        396,225            5,400           5,150           5,350           5,150           10,150
RBC Capital Partners                                               0                0               0               0              28                0
RBC Dominion Securities, Inc                                  20,090           20,250          20,646           1,178           1,178            1,730
RBC Global Asset Management Inc                                    0                0               0               0           1,302          242,398
RBC Investment Solutions (CI) Limited                         17,089           17,089          17,089          17,089          17,089           17,089
RBC Phillips, Hager & North Investment Counsel Inc                 0                0               0               0             840                0
RBC Private Counsel (USA) Inc                                      0                0               0               0               0                0
RBC Trust Co (International) Ltd                                   0                0               0               0               0                0
RBC Trust Co (Jersey) Ltd                                          0                0               0               0               0                0
RBC Wealth Management, International                         457,458        2,047,901       2,250,458       1,867,587       2,057,092        1,543,037
RBV GmbH                                                      41,250           41,250          39,969          41,250          41,250           45,750
Real Estate Management Services Group, LLC                         0                0               0               0               0           52,000
ReAssure Limited                                                  82            3,776           3,627           3,580           3,488            3,449
Regent Peak Wealth Advisors, LLC                                   0                0               0               0               0               97
RegentAtlantic Capital, L L C                                      0                0               0               0          53,316           53,316
Regions Investment Management, Inc                                 0                0               0               0               0                0
Reichmuth & Co                                                80,000           80,000          80,000          80,000          60,000           30,000
Reilly Financial Advisors, LLC                                    34               34              34              34               0                0
Renaissance Technologies LLC                                       0                0               0               0               0          744,720




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float            41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                       1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                            122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                               698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                    12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Renta 4 Gestora, S G I I C , S A                                  9,350          24,350          24,350          24,350           24,350          24,350          24,350          24,350           24,350               0               0
Research Affiliates, LLC                                              0               0               0           6,542            3,282           1,700           3,125           2,149            2,149           3,322           3,767
Resona Asset Management Co , Ltd                                      0               0               0               0            2,544           2,544           2,544           2,544            2,544           2,544           2,544
Resona Bank, Ltd                                                      0             558             558             558              558           2,333           2,333           2,333            2,333           2,258           2,258
Reuss Private AG                                                 49,000          18,000          60,000          60,000           60,000          60,000          60,000          60,000           60,000          60,000          80,000
Rhein Asset Management (Lux) S A                                      0               0           4,500               0                0               0               0               0                0               0               0
Richelieu Gestion S A                                             9,050           4,000           6,000           6,000                0               0               0               0                0               0               0
River and Mercantile Asset Management LLP                        49,130          64,255               0         106,282          106,282         104,699               0               0                0               0               0
Riverhead Capital Management LLC                                  8,400           8,400           8,400           8,400            8,400           8,400           8,400           9,850           14,100          14,100          16,800
RMB Capital Management, LLC                                           0               0               0               0                0             571             372               0                0               0              58
Robeco Institutional Asset Management B V                         4,294           7,070           6,441           6,441            6,441           3,124               0               0                0               0               0
RobecoSAM AG                                                          0               0               0               0                0               0               0               0                0         100,000         100,000
Robert Beer Investment GmbH                                           0          27,000          27,000          27,000           78,500          78,500               0               0                0               0               0
Rock Creek Group, L P                                                 0               0           2,381               0                0               0               0               0                0               0               0
Rockefeller Capital Management                                        0               0               0               0                0               0               0               0                0           3,949               0
RoseCap Investment Advisors, LLC                                      0               0               0               0                0               0               0               0                0               0               0
Rossier, Mari & Associates Ltd                                   45,000          45,000          45,000          45,000           45,000          45,000          45,000          45,000           45,000          45,000          45,000
Rossmore Private Capital, LLC                                         0               0               0               0              365               0               0               0                0               0               0
Royal Bank of Canada Trust Co (Bahamas) Ltd                      10,000          10,000          10,000          10,000           10,000          10,000          10,000               0                0               0               0
Royal London Asset Management Ltd                               181,363         166,502         287,253         234,728          254,149         211,406         263,187         257,244          298,835         254,938         286,517
RPg Family Wealth Advisory, LLC                                     622               0               0               0                0               0               0               0                0               0               0
Ruffer LLP                                                            0               0               0               0                0               0               0               0          106,500         106,500         106,500
Russell Investments Canada Limited                               14,870           2,387          63,914          63,914           28,696           1,820          10,912          10,912           10,912               0               0
Russell Investments Limited                                           0           7,696          62,960          78,871                0               0           1,400           1,400            1,400           1,400           1,400
Russell Investments Trust Company                               251,942         407,016       1,029,335         919,638        1,687,209         463,061          40,907          40,907           33,430         556,974         647,997
S W Mitchell Capital LLP                                              0               0               0               0                0               0               0               0                0               0               0
Saba Capital Management, L P                                          0               0               0               0                0               0               0               0          531,900         226,790         102,090
Sage Financial Group, Inc                                             0             500             500             500              500           1,000               0           1,000            1,000           3,000               0
Sal Oppenheim jr & Cie AG & Co KGaA (Asset Management)           52,162          35,474          23,650          23,650          260,825         478,648         443,540           5,325            5,325           5,325           5,325
Salm-Salm & Partner GmbH                                              0               0               0          27,090           27,090          27,090          27,090          27,090                0               0               0
Samalin Investment Counsel, LLC                                       0               0               0               0                0               0               0               0                0               0               0
Samsung Asset Management Co , Ltd                                 8,411          10,192          12,063          10,255           11,973          15,052          27,664          20,394           23,342          28,425          28,425
San Francisco Sentry Investment Group                                 0               0           7,300           7,300            7,300               0               0               0                0               0               0
Sandler Capital Management                                            0               0               0               0           19,300               0               0               0                0               0               0
Sanlam Investment Management (Pty) Ltd                           63,972          38,078          60,336          60,336           53,006          53,006          47,886          47,886           47,886          80,656          88,346
Sanlam Investments UK Limited                                    17,291          17,125          25,906          25,668           49,283          58,903          40,140          23,115           23,115          19,014               0
Sanoor Capital Management LP_NLE                                      0         353,400               0               0                0               0               0               0                0               0               0
Santander Asset Management                                      315,517         363,647         417,101         210,664          210,664         197,119         199,121           5,801            5,150           5,150           5,150
Santander Asset Management UK Limited                            18,321          13,008          17,060          15,228            5,616           3,821               0               0                0               0               0
Santander Private Banking Gestion, S A , S G I I C              147,770         147,770         154,770         154,770           21,370          21,370          21,000          21,000           47,851          21,000               0
Santori & Peters                                                      0               0               0               0              152               0               0               0                0               0               0
Sargent Investment Group, LLC                                         0               0               0               0                0               0               0               0                0               0               0
Savior Wealth                                                         0               0               0               0                0               0               0               0                0               0               0
Sawtooth Asset Management, Inc                                    1,596           1,596               0               0                0               0               0               0                0               0               0
S-Bank Fund Management Ltd                                            0               0               0               0                0               0               0               0                0               0               0




                                                                                                                                                                                                                    Page 47 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float            44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                       2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                            525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                               559             567             570             584             578             544


Institution/Individual                                    9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Renta 4 Gestora, S G I I C , S A                                     0               0               0               0               0              800
Research Affiliates, LLC                                         4,218           3,113           2,744           3,618          10,166            9,787
Resona Asset Management Co , Ltd                                 2,544               0           2,265           2,265           2,265            2,265
Resona Bank, Ltd                                                 2,258           2,258           2,258           2,258           2,258                0
Reuss Private AG                                                84,300          64,300          66,800          46,800          46,800           47,100
Rhein Asset Management (Lux) S A                                     0               0               0               0               0                0
Richelieu Gestion S A                                                0               0               0               0               0                0
River and Mercantile Asset Management LLP                            0               0               0               0               0                0
Riverhead Capital Management LLC                                16,800          16,800          16,800          16,800          16,800           16,800
RMB Capital Management, LLC                                          0          12,512          12,059          11,800               0                0
Robeco Institutional Asset Management B V                            0               0               0         105,672         105,672          115,911
RobecoSAM AG                                                   100,000         150,000         200,000         200,000         175,000          175,000
Robert Beer Investment GmbH                                          0               0               0               0               0                0
Rock Creek Group, L P                                                0               0               0               0               0                0
Rockefeller Capital Management                                       0               0               0               0             255              170
RoseCap Investment Advisors, LLC                                     0               0               0           4,000           4,000            4,000
Rossier, Mari & Associates Ltd                                  45,000          45,000          10,000          10,000          10,000           10,000
Rossmore Private Capital, LLC                                        0               0               0               0               0                0
Royal Bank of Canada Trust Co (Bahamas) Ltd                          0               0               0               0               0                0
Royal London Asset Management Ltd                              305,390         305,390         305,390         278,573         258,693          258,693
RPg Family Wealth Advisory, LLC                                      0               0               0               0               0                0
Ruffer LLP                                                     106,500         106,500         106,500         106,500         106,500          106,500
Russell Investments Canada Limited                                   0               0               0               0               0                0
Russell Investments Limited                                     24,924         241,861         235,961         235,961         358,873          397,575
Russell Investments Trust Company                              624,785       2,127,580       2,388,730       3,044,338       3,044,338        3,143,316
S W Mitchell Capital LLP                                             0         709,253         902,780         902,780         810,186          810,186
Saba Capital Management, L P                                         0               0               0               0               0                0
Sage Financial Group, Inc                                        3,000           3,000           4,814           4,814           4,814            4,814
Sal Oppenheim jr & Cie AG & Co KGaA (Asset Management)           5,325           5,325           5,325           5,325               0                0
Salm-Salm & Partner GmbH                                             0               0               0               0               0                0
Samalin Investment Counsel, LLC                                      0               0               0               0           2,759            2,759
Samsung Asset Management Co , Ltd                               31,777          28,649          23,566          25,134          24,988           21,876
San Francisco Sentry Investment Group                                0               0               0               0               0                0
Sandler Capital Management                                           0               0               0               0               0                0
Sanlam Investment Management (Pty) Ltd                          88,346          88,346          88,346          59,208          59,208           59,208
Sanlam Investments UK Limited                                        0               0               0               0               0                0
Sanoor Capital Management LP_NLE                                     0               0               0               0               0                0
Santander Asset Management                                       5,150               0               0               0          27,004                0
Santander Asset Management UK Limited                                0               0               0          15,164          17,628           17,628
Santander Private Banking Gestion, S A , S G I I C                   0               0               0               0               0              370
Santori & Peters                                                     0               0               0               0               0                0
Sargent Investment Group, LLC                                   20,000          24,000          10,000          10,000          10,000           10,000
Savior Wealth                                                        0          31,441           1,678               0               0                0
Sawtooth Asset Management, Inc                                       0               0               0               0               0                0
S-Bank Fund Management Ltd                                      17,539          19,676          26,829          13,471          12,763           13,914




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721              712             644             642             613              601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Schelhammer Capital Bank AG                                        0               0               0          50,000           50,000          50,000          50,000          50,000           50,000          50,000          50,000
Schneider, Walter & Kollegen Vermögensverwaltung AG            6,000           6,000           6,000           6,000            6,000          12,500          12,500          12,500           12,500          12,500          12,500
Schnieders Capital Management, LLC                                 0               0               0               0                0               0               0          14,425                0               0               0
Schoellerbank Invest AG                                      107,200          82,000          80,000         120,000          120,000               0               0               0                0           2,000           4,000
Schonfeld Strategic Advisors LLC                                   0               0               0               0                0               0               0               0                0               0               0
Schroder & Co Bank AG                                              0               0               0               0                0               0           4,950           4,950            4,950               0           2,500
Schroder Investment Management (Europe) S A                    7,458           7,458           7,458           7,458           13,080          13,080          13,080           2,836            2,836           9,296           7,476
Schroder Investment Management (Switzerland) AG               15,857          15,857          15,857               0           13,080          13,080          13,080           2,836            2,836           9,296           7,476
Schroder Investment Management Ltd (SIM)                   1,699,871       1,522,292       1,922,855       1,630,463        3,740,760       4,439,315       3,905,493       4,049,184        3,950,907       4,397,855       3,923,371
Schroder Investment Management North America Inc             298,506         298,506         205,691         230,751          609,989       1,049,155         988,174         944,282          955,765       1,346,582       1,343,341
Schroders Private Bank                                        22,182          22,182          32,798           8,948            8,948               0               0               0                0               0               0
Sciencast Management LP                                            0          45,417          59,596          46,055           32,759          29,452               0               0           29,800               0               0
Scotia Capital Inc                                                 0               0          12,895               0                0               0               0               0                0               0               0
Scottish Friendly Asset Managers Limited                           0               0               0               0                0               0               0               0                0               0               0
Sculptor Capital Management, Inc                             991,100               0               0               0                0               0               0               0                0       1,342,600       1,348,600
SEB Investment Management AB                                 181,052         345,664         790,925         568,661          675,794         373,296         385,128         355,074          333,259               0               0
Security Kapitalanlage AG                                    110,572         112,400         159,996         159,996          146,674         146,674         146,674         134,174          134,174         138,958         138,958
Segantii Capital Management Limited                                0         110,000               0               0                0               0               0               0                0               0               0
SEI Investments Canada                                             0               0               0               0                0               0               0               0                0               0               0
SEI Investments Management Corporation                         5,159           5,521           8,278          10,536           11,076          13,292          19,154               0                0               2               0
Selection Asset Management GmbH                                    0               0               0               0                0               0               0           6,100              100             100               0
Seligson & Co Rahastoyhtiö Oyj                                49,677          50,337          78,276          82,276           82,276          84,376          85,276          78,276           80,976          80,976          82,576
Sella SGR S p A                                                    0               0           3,000           9,000                0           3,500               0               0                0               0               0
Seminole Management Company, Inc _NLE                         22,200               0               0               0                0               0               0               0                0               0               0
sentix Asset Management GmbH                                   9,540          12,660          12,660          15,260           15,260          21,330          17,750          17,750           17,750          18,350          18,350
Senvest Management, LLC                                            0               0               0               0          170,000          90,000               0               0                0               0               0
Seven Eight Capital, LP                                            0               1               0               0                0               0               0               0                0               0               0
Seven Investment Management LLP                                    0               0         204,020          93,204                0               0               0               0                0               0               0
SG Americas Securities, L L C                                577,934         230,711         250,225          83,983          224,736         395,961         737,715         469,912          617,233          79,168         920,559
SG3 Management, LLC                                                0          90,000               0               0                0               0               0               0                0               0               0
Shah Capital Management, Inc                                 568,500         566,300         681,750         678,150                0               0               0               0        1,301,868         371,868         169,639
Shelton Capital Management                                     3,484           3,484           3,484           3,484            3,484               0               0               0                0               0               0
Siemens Fonds Invest GmbH                                    100,810          27,342          39,673          54,725           53,050          53,050          53,050          53,050          303,552         375,189         396,442
Signal Iduna Asset Management GmbH                                 0               0         290,000               0                0         180,000               0               0                0               0               0
Signator Financial Services, Inc                                   0               0               0               0            2,154           2,220           2,154               0                0               0               0
Signaturefd, LLC                                                   0               0               0               0                0           3,667           3,743           4,278            6,506           4,566          11,954
Simplex Trading, LLC                                               0         151,303               0         146,559          113,404          28,985          34,914               0           87,602               0               0
Singular Asset Management SGIIC SA                             1,500           1,500           1,500           1,500            1,500           1,500               0               0                0               0               0
SinoPac Securities Investment Trust Co , Ltd                  13,542          13,542          15,979          15,979            8,681           8,681           3,649           3,649                0               0               0
Sjunde AP-fonden                                           1,239,952       1,288,217       2,029,655       2,029,655        2,061,748       2,168,694       2,168,694       2,168,694        2,168,694       2,168,694       2,168,694
SKALIS Asset Management AG                                    13,866          15,229          45,229          55,142           49,609          43,718          42,411               0                0               0               0
Skandia Fonder AB                                              8,548           8,548          12,822          17,124           17,124          17,124          17,124          17,124           17,124          17,124          17,124
SMS & Cie Vermögensmanagement GmbH                                 0               0               0               0                0               0               0               0                0               0               0
Société Générale Gestion                                       6,626           6,626           8,014           8,014           93,024          86,530          44,140          10,423            9,849          10,511           9,834
Société Générale Private Banking                             502,090         502,090         502,090         502,090          502,090         502,090               0               0                0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Schelhammer Capital Bank AG                                   50,000               0               0               0               0               0
Schneider, Walter & Kollegen Vermögensverwaltung AG           12,500          12,500          12,500          12,500          12,500          12,500
Schnieders Capital Management, LLC                                 0               0               0               0               0               0
Schoellerbank Invest AG                                            0          12,000               0               0           1,000           4,000
Schonfeld Strategic Advisors LLC                                   0               0          16,800               0               0               0
Schroder & Co Bank AG                                              0               0               0           1,000               0               0
Schroder Investment Management (Europe) S A                    4,859           4,859           4,859           4,859           4,859           4,859
Schroder Investment Management (Switzerland) AG                4,859           4,859               0               0           9,357           9,357
Schroder Investment Management Ltd (SIM)                   3,389,492       3,103,432       2,419,447       1,385,774       1,225,368         948,277
Schroder Investment Management North America Inc           1,042,216       1,016,249         810,424         826,067         736,893       1,645,667
Schroders Private Bank                                             0               0               0               0               0               0
Sciencast Management LP                                            0               0               0               0               0          10,200
Scotia Capital Inc                                                 0               0               0               0               0               0
Scottish Friendly Asset Managers Limited                           0           1,105           1,105           1,173           1,215           1,186
Sculptor Capital Management, Inc                           1,346,900               0               0               0               0               0
SEB Investment Management AB                                       0         295,348         444,543         361,042         521,097         526,243
Security Kapitalanlage AG                                    138,958         138,958         125,119         133,519         136,519         175,716
Segantii Capital Management Limited                                0               0               0               0               0               0
SEI Investments Canada                                             0               0               0               0               0          75,735
SEI Investments Management Corporation                             0               0          12,491               0               0         135,339
Selection Asset Management GmbH                                    0               0               0               0               0               0
Seligson & Co Rahastoyhtiö Oyj                                     0               0               0               0               0               0
Sella SGR S p A                                                    0               0               0               0               0               0
Seminole Management Company, Inc _NLE                              0               0               0               0               0               0
sentix Asset Management GmbH                                  19,960          19,960          19,960          11,150          11,480          11,480
Senvest Management, LLC                                            0               0               0               0               0               0
Seven Eight Capital, LP                                            0               0               0               0               0               0
Seven Investment Management LLP                                    0               0               0               0               0               0
SG Americas Securities, L L C                                873,157         388,678         868,574         209,925         822,027         285,390
SG3 Management, LLC                                                0               0               0          30,000          10,000          10,000
Shah Capital Management, Inc                                 169,639         169,639               0               0               0               0
Shelton Capital Management                                         0               0               0               0               0               0
Siemens Fonds Invest GmbH                                    408,145         425,236         424,199         390,723         394,205         360,489
Signal Iduna Asset Management GmbH                                 0               0               0         160,000         160,000         160,000
Signator Financial Services, Inc                                   0               0               0               0               0               0
Signaturefd, LLC                                              11,026           9,629           4,545           4,373           4,373           5,147
Simplex Trading, LLC                                               0               0          38,202          17,759          24,003               0
Singular Asset Management SGIIC SA                                 0               0               0               0               0               0
SinoPac Securities Investment Trust Co , Ltd                       0               0               0               0               0               0
Sjunde AP-fonden                                           2,168,694       2,168,694       2,168,694               0               0               0
SKALIS Asset Management AG                                         0               0               0               0               0               0
Skandia Fonder AB                                             23,475          23,475          28,115          33,231          33,231          23,475
SMS & Cie Vermögensmanagement GmbH                                 0          17,500          17,500          17,500          17,500          17,500
Société Générale Gestion                                       9,834           7,116           7,116               0               0               0
Société Générale Private Banking                                   0               0               0               0               0               0




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                    41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                               1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                    122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                        633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                       698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                            12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Sofos Investments, Inc                                                       0               0               0               0              14              17              14              14              14              51              19
Solidus Securities S A                                                 110,000         110,000               0               0          40,000          40,000          40,000          40,000          40,000          40,000          40,000
Source For Alpha (Deutschland) AG                                            0               0               0          26,000          31,000               0               0               0          29,000               0               0
Sovarnum Capital L P                                                         0               0               0               0          17,799          17,799          15,163               0               0               0               0
Sparinvest S A                                                          34,768           1,800           1,800           1,800               0               0               0               0               0               0               0
Spartan Fund Management Inc                                                  0               0               0               0               0               0               0               0          30,400          30,400          30,400
SpiderRock Advisors LLC                                                      0           2,527               0               0               0               0               0               0               0               0               0
Spot Trading LLC_NLE                                                   184,514               0          14,549          47,716          47,716          47,716          47,716          47,716          47,716               0               0
Spuerkeess Asset Management                                             57,364          57,364          57,364               0               0               0               0               0               0               0               0
SPX Capital                                                                  0               0               0               0               0               0               0               0         110,378               0               0
SPX Equities Gestão de Recursos, Ltda                                        0               0               0               0               0               0               0         278,065               0               0               0
Squarepoint Capital LLP                                                      0               0               0               0               0               0               0               0               0               0               0
St Galler Kantonalbank AG                                                1,578           1,578           1,578           1,989           1,989           1,989           1,989           1,989           1,989           1,989           1,989
St James's Place Wealth Management Plc                                 123,411         123,411         123,411         123,411         123,411         123,411         123,411               0               0               0               0
Stadtsparkasse Düsseldorf                                               89,900          89,900          89,900          86,800          86,800          56,800          56,800          56,800          56,800          56,800          56,800
Stamos Capital Partners, L P                                                 0               0               0               0               0               0               0               0          32,000               0               0
StarCapital AG                                                          70,000          70,000         470,000         256,000         250,000         250,000         400,000         343,000         343,000         207,000         100,000
State Farm Insurance Companies                                               0               0               0               0               0               0               0           8,601               0               0               0
State of Wisconsin Investment Board                                  1,148,140       1,080,045       2,483,514       2,468,812       1,233,204       2,380,820       1,776,604       1,085,141         870,485         585,167          17,607
State Street Global Advisors (France) S A                              105,843         100,533         138,161         134,708         108,321         108,321         108,320         107,164          86,050          55,305          55,494
State Street Global Advisors (Japan) Co , Ltd                           65,279          65,279          65,279          65,279          72,105          72,105          72,105          72,105          93,812          93,812          93,812
State Street Global Advisors (UK) Ltd                                1,766,211       2,459,257       2,728,239       3,011,045       3,087,508       5,112,552       5,092,086       5,332,234       5,203,383       4,088,243       3,995,126
State Street Global Advisors (US)                                    2,439,372       3,333,976       4,691,879       4,800,124       4,748,478       5,005,888       4,669,422       2,144,254       2,260,350       2,333,403       2,405,064
State Street Global Advisors Australia Ltd                                   0               0               0               0           6,248           6,248          15,179          15,179          15,920          15,920          15,920
State Street Global Advisors Ireland Limited                           649,918         777,501         768,689       1,183,516       1,156,045       1,733,169       1,614,254       1,562,508       1,479,558       1,281,862       1,195,688
State Street Global Advisors Ltd (Canada)                               28,619          28,619         173,598         188,087         168,485         177,932         203,111         203,111         202,789          56,894          61,042
Sterneck Capital Management, LLC                                             0               0               0               0               0          91,700          75,980          68,610               0               0               0
Steward Partners Investment Advisory, LLC                                    0               0               0               0               0               0           1,500           1,500               0               0               8
Stifel Nicolaus Investment Advisors                                          0               0               0               0               0               0               0          16,224               0          13,040          11,011
Stonebridge Capital Advisors, LLC                                            0               0               0               0               0               0               0               0               0               0           5,650
Storebrand Kapitalforvaltning AS                                       650,375         810,306       1,165,409       1,148,707       1,074,515       1,174,264       1,148,716       1,282,749       1,291,731       1,346,002       1,423,858
Straits Invest Pte Ltd                                                   2,602           2,602           2,602           2,602           2,602               0               0               0               0               0               0
Strategic Wealth Management Group                                       62,896          63,232          63,981          64,324          64,671          63,523          65,946               0               0               0          91,226
Stratos Wealth Partners, Ltd                                                 0               0               0               0           5,836           2,136               0           2,254               0               0               0
Structured Invest S A                                                1,439,180         352,650       1,205,900       1,205,900         983,000         983,000         159,000         159,000         159,000         159,000         159,000
Studio Gaffino Societa di Intermediazione Mobiliare per Azioni               0               0               0          15,000           6,000               0               0               0               0               0               0
Sumitomo Mitsui DS Asset Management Company, Limited                    19,774          19,774          19,774          19,774          29,436          29,436          29,436          29,436          25,955          25,955          25,955
Sumitomo Mitsui Trust Asset Management Co , Ltd                         87,246          91,146          91,423          91,423          91,423          91,423          91,269          91,269          91,269          91,269           1,020
Summit Trail Advisors, LLC                                                   0               0               0               0           3,570               0               0               0               0               0               0
SunAmerica Asset Management, LLC                                             0               0               0               0         254,989         251,829         238,889         223,654         215,196         217,640         212,718
Susquehanna International Group, LLP                                 1,717,072       3,603,650       1,363,500       2,237,380       2,765,831       4,306,496       1,938,559       2,259,500       2,134,319         321,011         839,544
Susquehanna International Securities Ltd                                     0               0               0               0               0               0               0               0               0               0               0
SVA Vermögensverwaltung Stuttgart GmbH                                       0               0               0          10,000               0               0               0               0               0               0               0
Swan Asset Management SA                                                 2,000               0               0               0               0               0               0               0               0               0               0
Swedbank Robur Fonder AB                                               849,813         525,644         728,130         728,130         194,552         209,765         219,061         219,061         241,110         241,110         328,180




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                    44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                               2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                    525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                        921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                       559             567             570             584             578             544


Institution/Individual                                            9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Sofos Investments, Inc                                                      25              20               0               0               0               0
Solidus Securities S A                                                  40,000               0               0               0               0               0
Source For Alpha (Deutschland) AG                                       40,500          38,500           7,500           7,500           7,500           7,500
Sovarnum Capital L P                                                         0               0               0               0               0               0
Sparinvest S A                                                               0               0          69,520          65,291          65,291          72,598
Spartan Fund Management Inc                                             30,400          30,400          30,400               0               0               0
SpiderRock Advisors LLC                                                      0               0               0               0               0               0
Spot Trading LLC_NLE                                                         0               0               0               0               0               0
Spuerkeess Asset Management                                                  0               0               0               0               0               0
SPX Capital                                                                  0               0               0               0               0               0
SPX Equities Gestão de Recursos, Ltda                                        0               0               0               0               0               0
Squarepoint Capital LLP                                                      0         147,403               0               0          64,686               0
St Galler Kantonalbank AG                                                1,989           1,989               0               0               0               0
St James's Place Wealth Management Plc                                       0               0               0               0               0               0
Stadtsparkasse Düsseldorf                                               56,800          56,800          68,160               0               0          30,000
Stamos Capital Partners, L P                                                 0               0               0               0               0               0
StarCapital AG                                                         100,000         100,000         100,000               0               0               0
State Farm Insurance Companies                                               0               0               0               0               0               0
State of Wisconsin Investment Board                                          0         992,743         906,242         834,853         789,710         692,175
State Street Global Advisors (France) S A                               56,029          58,169          59,813          80,636          52,661          53,277
State Street Global Advisors (Japan) Co , Ltd                           93,812          94,020          94,020          94,020          94,020          19,526
State Street Global Advisors (UK) Ltd                                3,927,747       3,906,776       4,121,643       4,170,099       3,897,491       3,854,530
State Street Global Advisors (US)                                    2,487,541       2,571,955       2,720,531       2,830,995       2,874,609       3,188,144
State Street Global Advisors Australia Ltd                              15,920          15,920           6,989           6,989           6,989           6,989
State Street Global Advisors Ireland Limited                         1,188,250       1,203,140       1,431,847       1,327,187       1,354,164       1,565,016
State Street Global Advisors Ltd (Canada)                               61,042          61,042          61,042          68,150          68,150          72,196
Sterneck Capital Management, LLC                                             0               0               0               0               0               0
Steward Partners Investment Advisory, LLC                                    8               5               0             105               0               0
Stifel Nicolaus Investment Advisors                                     14,815          14,120          14,031          56,932          54,579          54,617
Stonebridge Capital Advisors, LLC                                        4,950           4,150           2,850           1,500               0               0
Storebrand Kapitalforvaltning AS                                     1,554,703       1,550,515       1,495,236       1,379,973       1,335,417       1,406,549
Straits Invest Pte Ltd                                                       0               0               0               0               0               0
Strategic Wealth Management Group                                            0               0               0               0               0               0
Stratos Wealth Partners, Ltd                                                 0               0               0               0               0               0
Structured Invest S A                                                  159,000         159,000         159,000               0               0          59,174
Studio Gaffino Societa di Intermediazione Mobiliare per Azioni               0               0               0               0               0               0
Sumitomo Mitsui DS Asset Management Company, Limited                    25,955          49,039          49,039          49,039          49,039          61,531
Sumitomo Mitsui Trust Asset Management Co , Ltd                          1,020           1,020           1,020             998             998             998
Summit Trail Advisors, LLC                                                   0               0               0               0               0               0
SunAmerica Asset Management, LLC                                       212,718         219,671         219,543         268,959         268,392         268,071
Susquehanna International Group, LLP                                   149,366         813,662         149,366         216,568         149,372         150,031
Susquehanna International Securities Ltd                                     0          37,892       1,537,660         306,800         214,400               0
SVA Vermögensverwaltung Stuttgart GmbH                                       0               0               0               0               0               0
Swan Asset Management SA                                                     0               0               0               0               0               0
Swedbank Robur Fonder AB                                               328,180         328,180         304,472         347,776         348,535         371,421




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                 41 0%            51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                            1,544,854,000    1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                 122,554          203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                     633,984,853      712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                    698              715             721             730             721              712             644             642             613              601             570


Institution/Individual                                         12/31/2016       3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
Swedbank S A                                                          20,000          20,000          30,000          30,000           35,000          35,000          35,000          35,000           35,000          35,000          35,000
Swiss Life Asset Management                                            7,650           7,650           7,650           7,650            7,650           7,650           7,650          11,265           48,987          56,844          56,844
Swiss Life Asset Managers France                                      18,470               0               0               0                0               0               0               0                0               0               0
Swiss Rock Asset Management AG                                             0          17,967          21,995          21,995           14,535          12,173          12,173          12,173           12,173          12,173          12,173
Swiss Wealth Management SA                                                 0           5,000               0               0                0               0               0               0                0               0               0
Swisscanto Fondsleitung AG                                           202,778               0          49,464          52,848           51,384          50,082          43,285          39,691           32,329          35,215          31,328
swisspartners Ltd                                                          0               0               0               0                0               0               0               0                0               0               0
Sydinvest                                                                  0               0          60,000         100,000                0               0               0               0                0               0               0
Symphonia SGR Spa                                                    257,063         302,511         408,784         458,971          363,513         442,664         242,756         242,756          205,022         170,000         154,000
Synovus Trust Company, N A                                               309             309               0               0                0             309             309             309              309             309             309
SYZ Asset Management Suisse SA                                             0               0         325,300         325,300                0               0               0               0                0               0               0
T Rowe Price Associates, Inc                                          27,100          27,100          40,650          40,650                0               0               0               0                0               0               0
T Rowe Price International (UK) Ltd                                   50,295          67,118          75,670          68,430           71,118          68,892          69,214          70,027           76,151          78,162          78,162
Tangerine Investment Management Inc                                   11,303          11,303          11,303          11,303           11,303          11,303               0               0                0               0               0
Taylor Hoffman Wealth Management, LLC                                      0               0               0               0            1,000           1,000           1,000           1,000            1,000           1,000               0
TB Alternative Assets Ltd                                                  0               0               0               0                0               0               0               0                0       1,314,300               0
TCI Wealth Advisors, Inc                                                 300             300             300             300              300             300             300             300              300             300             300
TD Asset Management Inc                                               53,765       1,017,842          86,142          86,142           90,837          91,367         552,647          92,576          572,690          94,288         575,066
TD Securities, Inc                                                         0               0               0               0                0         139,605         160,844         147,912          234,197          33,910               0
Telemetry Investments, L L C                                               0               0               0          31,099                0          13,211          21,147               0                0               0               0
Telemus Capital, LLC                                                  86,820          85,000          94,000               0                0               0               0               0                0               0               0
Tellus Fonder AB                                                       3,000           3,500           3,500           6,500            3,300           1,500             750             750              750             750             750
Templeton Investment Counsel, L L C                                   16,941          16,941          24,523          23,970           23,256           3,200               0               0           20,503          20,503          19,748
Terra Nova Asset Management LLC                                            0          36,725          49,500          48,000           47,000          46,300          38,800          34,500                0               0               0
The Bollard Group, LLC                                                10,887          10,887          10,887          10,887           10,887          10,900          15,200          19,500           19,500          19,500          19,500
The Harvest Group Wealth Management, LLC                                   0               0               0               0           17,075          18,482          20,507          20,947           20,245          20,476              20
The Institute for Wealth Management, LLC                                   0               0               0               0                0               0               0               0                0               0               0
The MassMutual Trust Company, FSB                                          0               0               0               0                0               0               0               0                0               0               0
The Nalls Sherbakoff Group, LLC                                            0               0               0               0                0               0               0               0              207             207             207
The National Farmers Union Mutual Insurance Society Limited          305,000         305,000         305,000         305,000          305,000         305,000               0               0                0               0               0
The Royal Bank of Scotland Plc (London)                              219,121         219,121         219,121         219,121          271,805         125,081               0               0          270,568         182,066         182,066
The Vanguard Group, Inc                                           31,370,491      32,712,912      51,569,214      48,197,295       49,837,810      51,174,890      52,923,823      54,018,722       59,593,865      59,767,255      61,242,713
THEAM_NLE                                                          4,799,161       4,960,259         997,854       1,050,604                0               0               0               0                0               0               0
Theodoor Gilissen Bankiers N V (Asset Management)_NLE                180,600               0               0               0                0               0               0               0                0               0               0
Third Avenue Management LLC                                                0               0         400,000         500,000          600,000         700,000         322,000               0                0       2,290,121       2,290,121
Thomas White International, Ltd                                       11,705          11,705          11,705          11,705           11,705          11,705               0               0                0               0               0
Thornburg Investment Management, Inc                                  40,700       1,436,323       1,376,595       1,313,847                0               0               0               0                0               0               0
Thurgauer Kantonalbank                                                     0               0           2,233             454              426             508             521             599              613               0             681
Tibra Equities Europe, Ltd                                                 0               0               0               0                0               0               0         943,467                0               0               0
TIFF Advisory Services, Inc                                            4,764           4,244           6,366           4,664            4,038               0               0               0                0               0               0
Tiger Asset Management GmbH                                                0               0               0               0            7,200          10,000           8,500           8,500            8,500           8,500           8,500
TimeScale Financial, Inc                                                   0               0               0               0                0               0               0               0                0               0             244
Tokio Marine Asset Management Co , Ltd                                     0          26,600          48,600          48,600           48,600          48,600          48,600          48,600           48,600              60             133
Tontine Asset Management, LLC                                      2,055,838       1,358,423       2,414,349       2,321,965        2,323,102          60,000         660,000         788,400                0          32,225               0
TOP Vermögen AG                                                            0               0               0               0                0               0               0               0                0           6,000           6,000




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float                 44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                            2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                                 525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                     921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                    559             567              570             584             578             544


Institution/Individual                                         9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
Swedbank S A                                                         35,000           35,000               0               0               0               0
Swiss Life Asset Management                                           9,269           12,334          12,334          16,202          16,202          16,202
Swiss Life Asset Managers France                                     72,266           72,266               0               0               0               0
Swiss Rock Asset Management AG                                       12,173           12,173          12,173          12,173          12,173          12,173
Swiss Wealth Management SA                                                0                0               0               0               0               0
Swisscanto Fondsleitung AG                                           33,873                0               0               0               0               0
swisspartners Ltd                                                         0                0               0               0               0          25,100
Sydinvest                                                                 0                0               0         140,160               0               0
Symphonia SGR Spa                                                   154,000          154,000         154,000         154,000         154,000         154,000
Synovus Trust Company, N A                                              309              309             309             309               0               0
SYZ Asset Management Suisse SA                                            0                0               0               0               0               0
T Rowe Price Associates, Inc                                              0                0               0               0               0               0
T Rowe Price International (UK) Ltd                                  78,162           76,151          76,151          76,194          73,905          79,543
Tangerine Investment Management Inc                                       0                0               0               0               0               0
Taylor Hoffman Wealth Management, LLC                                     0                0               0               0               0               0
TB Alternative Assets Ltd                                                 0                0         284,900               0               0               0
TCI Wealth Advisors, Inc                                                300                0               0               0               0               0
TD Asset Management Inc                                              97,743          524,286         525,787         503,429         503,744         464,310
TD Securities, Inc                                                        0                0               0               0               0               0
Telemetry Investments, L L C                                              0                0               0               0               0               0
Telemus Capital, LLC                                                      0                0               0               0               0               0
Tellus Fonder AB                                                        750              750             750               0               0               0
Templeton Investment Counsel, L L C                                  19,748           18,860          18,178          18,178          18,178          18,178
Terra Nova Asset Management LLC                                           0                0               0               0               0               0
The Bollard Group, LLC                                                    0                0               0               0               0               0
The Harvest Group Wealth Management, LLC                                556              556             556             556             556               0
The Institute for Wealth Management, LLC                             11,230           11,578          11,578          11,804          11,804          11,804
The MassMutual Trust Company, FSB                                         0                0               0               0               0             577
The Nalls Sherbakoff Group, LLC                                         207              207             207             207             207               0
The National Farmers Union Mutual Insurance Society Limited               0                0               0               0               0               0
The Royal Bank of Scotland Plc (London)                             595,430           67,237          67,237          67,237          67,237          67,237
The Vanguard Group, Inc                                          62,234,656       63,019,001      65,999,829      64,789,079      64,045,065      64,024,788
THEAM_NLE                                                                 0                0               0               0               0               0
Theodoor Gilissen Bankiers N V (Asset Management)_NLE                     0                0               0               0               0               0
Third Avenue Management LLC                                       2,443,501        2,452,518       2,452,518       2,363,130       2,366,497       2,368,003
Thomas White International, Ltd                                           0                0               0               0               0               0
Thornburg Investment Management, Inc                                      0                0               0               0               0               0
Thurgauer Kantonalbank                                                  788            1,656             964           1,167               0               0
Tibra Equities Europe, Ltd                                                0                0               0               0               0               0
TIFF Advisory Services, Inc                                               0                0               0               0               0               0
Tiger Asset Management GmbH                                          11,000           11,000           3,200           6,000           6,000           6,000
TimeScale Financial, Inc                                                244              244               0               0               0               0
Tokio Marine Asset Management Co , Ltd                                  133              133             151             175             175             175
Tontine Asset Management, LLC                                             0                0               0               0               0               0
TOP Vermögen AG                                                           0                0               0               0               0               0




                                                                                                                                                               Page 54 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float             41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%            43 4%           45 3%
Shares Outstanding                                        1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                             122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481          621,096         621,096
Shares Held by Institutions                                 633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819      897,685,296     935,466,185
Number of Institutions With Holdings                                698             715             721             730             721             712             644             642             613              601             570


Institution/Individual                                     12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018       3/31/2019       6/30/2019
TOP Vermögensverwaltung AG                                            0               0               0               0               0               0           7,000           7,000            7,000           7,000          10,000
Tower Research Capital LLC                                       13,177               0               0           1,261           2,403               0           1,400           4,605           17,357             447             434
TradeCom Suisse AG                                               14,872          14,872          14,872          14,872               0               0               0               0                0               0               0
Tradewinds Capital Management, LLC                                  223             223             334             334             334             334               0               0                0               0               0
Tredje AP Fonden                                                      0               0          29,714          29,714          29,714          29,714               0               0                0               0         235,638
Tressis Gestion, S G I I C , S A                                      0               0          15,000          15,000          20,000          20,000               0               0                0               0               0
Trexquant Investment LP                                               0               0               0          40,882               0               0          52,829               0                0          16,909          87,104
Triasima Portfolio Management Inc                                     0               0               0               0               0               0               0               0                0               0               0
Trient Asset Management AS                                        4,499           4,499           4,499           4,499               0               0               0               0                0               0               0
Tudor Investment Corporation                                          0               0               0               0               0               0               0               0                0          13,515               0
Tuttle Capital Management, LLC                                        0               0               0               0               0               0               0               0                0               0               0
Two Sigma Investments, LP                                       157,026          12,848         175,800       1,184,463         454,123         152,848          23,546         124,186          153,202         737,234               0
Tyers Asset Management LLC                                        7,436           7,436           7,436           7,436           7,436           7,436           7,436           8,690           12,386          12,386          14,784
U S Bancorp Asset Management, Inc                                11,523          12,089          14,124          13,644          15,765          14,336          10,722          12,680           11,596          19,474          20,405
UBS (Luxembourg) S A                                                  0               0               0               0               0               0               0               0                0               0               0
UBS Asset Management (Americas), Inc                                  0               0               0               0               0               0               0             251              192             192           4,845
UBS Asset Management (Australia) Ltd                              1,843           2,013           3,022           3,591           3,524           3,965           3,458           3,458            3,860           4,505           4,295
UBS Asset Management (Switzerland)                            2,861,733       3,501,843       4,752,913       4,764,442       4,721,088       4,801,485       3,927,094       3,495,542        3,340,960       3,625,848       3,126,612
UBS Asset Management (UK) Ltd                                 1,814,539       2,627,190       3,962,118       3,880,122       3,778,267       3,764,924       3,324,873       2,861,855        2,345,184       1,263,908       3,214,104
UBS Asset Management France S A                                   6,000           6,000           6,000           6,000           6,000           6,000           6,000          25,000           25,000          25,000          25,000
UBS Financial Services, Inc                                   4,273,146       9,386,515      28,616,421      13,707,746      14,111,692         277,468       3,121,731      15,221,705          123,599       2,965,997       1,270,000
UBS Gestión, S G I I C , S A                                     66,977          66,977          67,297          67,297          67,297           3,060           3,060           3,060            3,060           3,060           3,060
UBS Switzerland AG                                                    0               0               0               0               0          50,315          50,315          48,023           53,635          63,527          70,032
Unicorp Patrimonio, Sociedad de Valores, S A U                   71,500          71,500          71,500          71,500          71,500          71,500               0               0                0               0               0
UniCredit Bank AG                                               746,800         746,800          57,800          57,800          57,800          57,800          57,800          57,800           57,800          57,800               0
Unigest, S G I I C , S A                                              0               0           1,500           4,000           4,000           4,000           4,000               0                0               0               0
Unio Capital LLC                                                      0               0               0               0         193,955               0               0               0                0               0               0
Union Investment Austria GmbH                                    35,000          35,000          35,000          35,000               0               0               0               0                0               0               0
Union Investment Institutional GmbH                           4,756,776       4,673,482       6,693,846       6,834,157       6,819,774       7,284,607       7,275,271       6,876,702        7,111,883       7,067,458       6,713,003
Union Investment Privatfonds GmbH                             1,025,000       2,490,000       4,729,138       4,691,938       4,665,938       1,525,938       2,937,500       2,937,500                0          21,000          18,900
Union Street Partners LLC                                             0               0               0               0               0               0               0          52,000           52,000          52,000          52,000
Universal-Investment-Gesellschaft mbH                            48,556          15,000          20,000          90,000         115,000         146,500         186,500         186,500          211,500         206,500         201,500
Urquijo Gestión, S A , S G I I C , Sociedad Unipersonal          16,423          16,423          16,423          15,774          15,774          15,774          15,774          15,774           15,774          15,774          15,774
Ursa Fund Management, LLC                                       548,400         600,750               0               0               0               0               0               0                0               0               0
USAA Asset Management Company                                         0               0               0               0          17,499          41,318          77,761          96,366          113,407         126,809         118,838
USS Investment Management Ltd                                         0               0               0               0               0               0               0               0                0               0               0
UTC Fund Services, Inc                                           18,494          20,566               0               0               0               0               0               0                0               0               0
Uzès Gestion                                                          0          20,000          20,000          20,000          20,000          20,000          20,000          20,000           20,000          20,000          20,000
Valeo Financial Advisors LLC                                          0               0               0               0               0               0             522             222                0             500               0
Valiant Bank AG                                                   6,961          10,961          10,961          10,961          10,961          10,961               0               0                0               0               0
Value Asset Management GmbH                                           0               0               0               0               0          15,000          20,000          20,000           20,000          25,000         118,000
VanEck Asset Management B V                                     147,346         192,404         197,640         205,442         212,786         275,927         300,180         323,954          351,413         131,020         187,646
Vanguard Capital                                                 70,844          70,844          70,844          70,844          70,844          70,844          70,844          70,844                0               0               0
Vanguard Global Advisers LLC                                          0               0               0               0               0               0               0       1,502,352        1,561,945       1,517,185       1,537,177
Vanguard Investments Australia Ltd                              731,147         492,620         714,828         836,579         838,706         883,906         812,772       1,315,201        1,508,031       1,525,262       1,516,227




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float             44 6%           45 0%            43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                        2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                             525,586         525,586       18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                 921,882,686     929,487,836      884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                559             567              570             584             578             544


Institution/Individual                                     9/30/2019       12/31/2019       3/31/2020       6/30/2020       9/30/2020       12/31/2020
TOP Vermögensverwaltung AG                                       10,000           10,000          10,000               0               0               0
Tower Research Capital LLC                                        3,899           79,293          27,665           2,653               0          12,735
TradeCom Suisse AG                                                    0                0               0               0               0               0
Tradewinds Capital Management, LLC                                    0                0               0               0               0               0
Tredje AP Fonden                                                235,638          222,206         222,206         228,846         228,846         228,846
Tressis Gestion, S G I I C , S A                                      0                0               0               0               0               0
Trexquant Investment LP                                               0                0               0          30,335               0               0
Triasima Portfolio Management Inc                                     0                0               0               0           9,000           9,000
Trient Asset Management AS                                            0                0               0               0               0               0
Tudor Investment Corporation                                     12,773                0          31,581          37,977          17,424          15,433
Tuttle Capital Management, LLC                                        0                0               0             565               0               0
Two Sigma Investments, LP                                       113,026          500,382       4,515,423         622,392         296,292       1,203,129
Tyers Asset Management LLC                                       14,784           14,784          14,784          14,784          14,784          14,784
U S Bancorp Asset Management, Inc                                27,224           26,482          13,583          11,404          12,392          13,281
UBS (Luxembourg) S A                                                  0           13,973          15,742          15,742          15,742          15,742
UBS Asset Management (Americas), Inc                              4,845                0               0               0           3,505           1,990
UBS Asset Management (Australia) Ltd                              4,496            4,496           4,496           4,496           4,496           4,496
UBS Asset Management (Switzerland)                            3,169,943        3,315,716       2,456,331       2,631,976       3,683,525       3,042,042
UBS Asset Management (UK) Ltd                                 3,229,489        3,172,954       2,609,012       3,410,537       3,278,348       1,327,322
UBS Asset Management France S A                                  25,000           25,000          25,000          25,000          25,000          25,000
UBS Financial Services, Inc                                   9,177,185        5,717,578       5,166,904       7,865,635       3,399,996       2,047,724
UBS Gestión, S G I I C , S A                                      3,060                0               0               0               0               0
UBS Switzerland AG                                               70,032           70,032          70,032          68,447          69,001          25,601
Unicorp Patrimonio, Sociedad de Valores, S A U                        0                0               0               0               0               0
UniCredit Bank AG                                                     0                0               0               0               0               0
Unigest, S G I I C , S A                                              0                0               0               0               0               0
Unio Capital LLC                                                      0                0               0               0               0               0
Union Investment Austria GmbH                                         0                0               0               0               0               0
Union Investment Institutional GmbH                           6,642,365        6,669,671       6,703,443       6,506,188       6,495,147       6,459,640
Union Investment Privatfonds GmbH                               518,900        1,311,600       1,846,370       1,819,600       1,819,600       5,019,190
Union Street Partners LLC                                        52,000           52,000          52,000          52,000               0               0
Universal-Investment-Gesellschaft mbH                           226,500          276,500         231,500         231,500         231,500         231,500
Urquijo Gestión, S A , S G I I C , Sociedad Unipersonal          15,774                0               0               0               0               0
Ursa Fund Management, LLC                                             0                0               0               0               0               0
USAA Asset Management Company                                   123,139          134,674         130,142         138,273         146,609         138,858
USS Investment Management Ltd                                         0                0         416,791         416,791         416,791         678,745
UTC Fund Services, Inc                                                0                0               0               0               0               0
Uzès Gestion                                                     20,000           20,000          20,000               0               0               0
Valeo Financial Advisors LLC                                          0                0               0               0               0               0
Valiant Bank AG                                                       0                0               0               0          29,784               0
Value Asset Management GmbH                                     130,000          130,000          85,000          75,000          70,000          65,000
VanEck Asset Management B V                                     203,307          199,380          58,008          58,008          58,008          58,791
Vanguard Capital                                                      0                0               0               0               0               0
Vanguard Global Advisers LLC                                  1,512,062        1,520,550       1,494,295       1,464,795       1,477,823       1,458,124
Vanguard Investments Australia Ltd                            1,554,551        1,707,397       2,017,448       1,578,245       1,549,408       1,605,227




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          41 0%           51 7%           46 2%           46 6%           49 6%            45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                     1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000    2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          122,554         203,501         203,501         203,501         323,481          323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                              633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318      945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                             698             715             721             730             721              712             644             642             613             601             570


Institution/Individual                                  12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017       3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Vanguard Investments Canada Inc                                    0               0               0          26,709           32,970               0               0               0               0               0               0
Vantage Consulting Group, Inc                                      0               0               0               0                0               0               0               0               0               0               0
Vantage Investment Partners, LLC                           2,008,800               0         159,000         159,000                0               0               0               0               0               0               0
Veermaster Asset Management GmbH                                   0               0               0               0                0               0               0               0               0          14,650          14,650
Veriti Management, LLC                                             0               0               0               0                0               0               0               0               0               0               0
Verition Fund Management LLC                                       0               0               0               0                0               0               0               0               0               0               0
Vermeer Investment Management Ltd                                  0               0               0               0                0               0               0               0               0               0               0
Verrazzano Capital_NLE                                       172,511               0               0               0                0               0               0               0               0               0               0
Vertiva Family Office GmbH_NLE                                     0               0           5,000               0                0               0               0               0               0               0               0
Verus Capital Partners, LLC                                        0               0               0               0                0               0               0               0               0               0               0
Vestcor Inc                                                   44,245          44,245          44,245          44,245           48,709          48,709          48,709          48,709          52,653          52,653          52,653
Vident Investment Advisory, LLC                                    0               0             535             535              535             535             535             535             535             535             535
Virginia Retirement System                                         0               0               0          18,435           27,127               0               0               0               0               0               0
Virtu Americas LLC                                            59,757          34,962          72,307          48,683          135,036         107,756          11,062               0          38,233          23,813          15,161
VM Vermögens-Management GmbH                                  10,000          10,000          15,000          15,000           15,000          15,000          15,000          15,000          15,000          15,000          15,000
Voloridge Investment Management, LLC                               0               0               0               0                0               0         155,561               0               0               0               0
von der Heydt & Co AG                                              0               0               0               0                0               0               0               0               0               0           6,310
Vontobel Asset Management AG                                       0               0               0               0                0               0               0               0               0               0          22,261
Vontobel Asset Management S A                                      0               0               0               0                0               0               0               0               0               0               0
Voya Investment Management LLC                               386,477         368,204         508,988         495,676          472,173         469,631         512,760         236,767         240,522         251,506         220,906
VP Fund Solutions (Liechtenstein) AG                               0               0               0               0                0               0               0               0               0               0               0
W & W Asset Management GmbH                                   94,235         102,612         136,753         138,994          328,292         260,442         376,480         333,582         219,436         205,551         213,143
W&P Financial Services GmbH                                        0               0               0               0           11,000          11,000          11,000          11,000          11,000          11,000               0
W&W Asset Management Dublin DAC                                    0               0               0               0                0               0               0          59,366               0               0               0
Walleye Trading, LLC                                               0               0               0          72,793          113,741         261,624               0         121,499           9,465               0               0
Wallrich Asset Management AG                                       0               0               0               0           25,000          25,000               0               0               0               0               0
Walser Privatbank AG_NLE                                     264,503         266,889         264,503         266,889          266,889         266,889         266,934         266,934         233,100         233,100         212,045
Warburg Invest AG                                              8,757           8,757           9,757          56,757           57,806          57,806           7,806           7,806          11,107          11,107          16,585
Warburg Invest Kapitalanlagegesellschaft mbH                  39,000          39,000          98,500          88,600           22,426          97,527         163,949         158,949         158,949         116,749          66,422
Warren Averett Asset Management, LLC                               0               0               0               0              165               0               0               0               0               0               0
WAVE Management AG                                            46,579          61,323          38,189          79,975           56,794          53,761          53,761          53,761          23,348          23,348          23,348
WCM Investment Management                                          0               0               0               0                0               0               0               0               0               0               0
We Are One Seven, LLC                                              0               0               0               0              464             502             502               0             202               0               0
Wealth Management Advisors, LLC                                    0               0               0               0              900             900             900             900             900             900             900
Wealth Quarterback LLC                                             0               0               0               0                0               0               0               0               0               0               0
Wealthcare Advisory Partners LLC                                   0               0               0              65               65              65               0               0               0               0               0
Wealthcare Capital Management, LLC                                 0               0               0               0                0               0               0               0               0               0               0
Wealthprivat Bank S A U                                       61,500          61,500          68,000          68,000           68,000          37,000          37,000          37,000          44,433          37,000          37,000
Wealthspire Advisors LLC                                           0               0               0               0                0               0               0               0               0               0               0
Wealthspire Advisors, L P _NLE                                 2,200           3,339           6,132           5,990            6,635           6,636           6,452           6,783           7,577           7,514               0
Wedbush Securities, Inc                                            0               0               0               0                0               0          12,500          20,400          20,000          29,269          29,295
Weld Capital Management LLC                                        0               0               0               0                0               0               0               0               0               0          13,896
Wellington Management Company, LLP                           434,252      18,559,729      40,591,314      33,495,447       13,770,756         271,008               0               0          33,404          51,874          51,249
Wells Fargo Advisors                                         209,084         239,668         168,833         162,473          197,137          99,958         113,488         154,030          91,163         100,832          98,507
Wells Fargo Bank, N A                                          2,505           4,400           6,029           5,684            7,282           4,495           2,916           3,443           2,640           4,861           2,400




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float          44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                     2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                          525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                              921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                             559             567             570             584             578             544


Institution/Individual                                  9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Vanguard Investments Canada Inc                                    0               0               0               0               0               0
Vantage Consulting Group, Inc                                      0               0               0               0               0             300
Vantage Investment Partners, LLC                                   0               0               0               0               0               0
Veermaster Asset Management GmbH                              14,650          14,650               0               0               0               0
Veriti Management, LLC                                             0               0               0               0               0           2,920
Verition Fund Management LLC                                       0               0               0               0          15,003          20,142
Vermeer Investment Management Ltd                                  0               0               0               0               0          47,402
Verrazzano Capital_NLE                                             0               0               0               0               0               0
Vertiva Family Office GmbH_NLE                                     0               0               0               0               0               0
Verus Capital Partners, LLC                                        0             115               0               0               0               0
Vestcor Inc                                                   52,653          31,959          31,959          31,959          31,959          55,857
Vident Investment Advisory, LLC                                  535               0         374,159         295,630               0               0
Virginia Retirement System                                         0               0               0          81,538               0               0
Virtu Americas LLC                                            33,646          97,655          97,655               0               0          31,059
VM Vermögens-Management GmbH                                  15,000          15,000          15,000          15,000          15,000               0
Voloridge Investment Management, LLC                               0          22,582               0         236,718               0         129,699
von der Heydt & Co AG                                          6,310           6,310           6,310           6,310           6,310           6,310
Vontobel Asset Management AG                                       0         368,000         416,825          54,609         104,486          91,391
Vontobel Asset Management S A                                      0               0           3,033               0               0               0
Voya Investment Management LLC                               306,452         306,540         310,566         316,028         315,718         282,123
VP Fund Solutions (Liechtenstein) AG                           5,000               0               0               0               0               0
W & W Asset Management GmbH                                  213,143         213,143         251,143         352,143         278,664         278,664
W&P Financial Services GmbH                                        0               0               0               0               0               0
W&W Asset Management Dublin DAC                                    0               0               0               0               0               0
Walleye Trading, LLC                                               0           4,193          34,109               0               0               0
Wallrich Asset Management AG                                       0               0               0               0               0               0
Walser Privatbank AG_NLE                                     212,045         223,100          99,045          99,045          97,000          97,000
Warburg Invest AG                                             16,585          10,103          12,203          12,203          12,203          14,849
Warburg Invest Kapitalanlagegesellschaft mbH                  77,222          77,222          87,222          87,222          87,222          81,222
Warren Averett Asset Management, LLC                               0               0               0               0               0               0
WAVE Management AG                                            23,348          23,348          23,348          25,348          25,348          62,471
WCM Investment Management                                          0               0               0               0               0          80,398
We Are One Seven, LLC                                              0               0               0               0               0               0
Wealth Management Advisors, LLC                                  900             900             900             900               0               0
Wealth Quarterback LLC                                             0             608             608               0               0               0
Wealthcare Advisory Partners LLC                                   0               0               0               0               0               0
Wealthcare Capital Management, LLC                                 0             286               0               0               0               0
Wealthprivat Bank S A U                                       37,900          37,900          37,900          37,900          37,900          37,900
Wealthspire Advisors LLC                                           0         726,006         526,292         519,327         519,330               0
Wealthspire Advisors, L P _NLE                                     0               0               0               0         522,190         522,190
Wedbush Securities, Inc                                       29,795          32,295          33,395          18,416          12,529          12,629
Weld Capital Management LLC                                        0               0               0               0          10,117          28,612
Wellington Management Company, LLP                            41,312          36,797          10,491               0         451,996         747,046
Wells Fargo Advisors                                         119,614         366,682          82,986          44,663          42,336          40,620
Wells Fargo Bank, N A                                          2,763           2,494              94             795             795             795




                                                                                                                                                       Page 58 of 60
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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float               41 0%           51 7%           46 2%           46 6%           49 6%           45 8%           44 0%           50 7%           49 0%           43 4%           45 3%
Shares Outstanding                                          1,544,854,000   1,379,273,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                               122,554         203,501         203,501         203,501         323,481         323,481         323,481         323,481         323,481         621,096         621,096
Shares Held by Institutions                                   633,984,853     712,546,060     954,466,207     963,648,420   1,024,066,318     945,425,928     908,210,481   1,046,956,290   1,013,496,819     897,685,296     935,466,185
Number of Institutions With Holdings                                  698             715             721             730             721             712             644             642             613             601             570


Institution/Individual                                       12/31/2016      3/31/2017       6/30/2017       9/30/2017       12/31/2017      3/31/2018       6/30/2018       9/30/2018       12/31/2018      3/31/2019       6/30/2019
Wells Fargo Securities, LLC                                             0               0               0             400               0               0               0          80,000               0          60,164               0
Werte Invest Family Office GmbH                                     5,000               0               0               0               0               0               0               0               0               0               0
WerteFinder Vermögensverwaltung_NLE                                     0               0           5,000          10,000           5,000          15,000          20,000          20,000          30,000          20,000          20,000
Westbourne Investment Advisors, Inc                                     0               0               0               0               0               0               0           4,750               0               0               0
Western Asset Management Co                                             0               0               0               0               0               0               0               0               0               0               0
Westpac Banking Corporation                                             0               0         148,466               0               0               0               0               0               0               0               0
Westside Investment Management, Inc                                     0             486             486             486               0               0               0               0               0               0               0
Wetherby Asset Management, Inc                                     23,072          24,851          24,081          24,651          26,083          27,410               0          20,490          23,021          18,526          29,282
Whitener Capital Management Inc                                         0               0               0               0              75              75               0              75              75              75              75
Whitnell & Co                                                         266               0               0               0             103             103               0               0               0               0               0
Whittier Trust Company                                                 63              63               0               0               0               0               0               0               0               0               0
WHV Investment Management, Inc _NLE                                99,826          99,826          99,826          99,826               0               0               0               0               0               0               0
Wildermuth Advisory, LLC                                                0               0               0           9,000          10,600          10,600          10,600               0               0               0               0
Willard Mills Advisory, LLC_NLE                                         0               0           4,000           4,000           4,000           4,000               0               0               0               0               0
William Blair Investment Management, LLC                                0          11,626               0               0               0               0               0               0               0               0               0
Wilmington Trust Investment Advisors, Inc                          16,810          16,810          16,810          16,810          16,810          16,810          16,810               0               0               0               0
Winfield Associates Inc                                               250             250             250             540             590               0               0               0               0               0               0
Winning Points Advisors, LLC                                          200             200          10,000          20,000          20,000          20,000               0               0               0               0               0
Winthrop Partners - WNY, LLC                                            0               0               0               0          15,000          15,000          15,000          15,000               0               0               0
Winton Capital Management Ltd                                           0               0           6,952          18,597           5,687           4,074           1,303           2,151           1,718           2,212           2,291
WisdomTree Asset Management, Inc                                  145,162         277,582          23,217          22,929          81,823          20,070          92,734           8,819           9,065          10,291           8,583
Wolverine Asset Management, LLC                                    73,300               0               0               0          90,997           4,558         147,732         149,122               0               0               0
Wolverine Trading, LLC                                             30,621         124,448               0          23,231          10,881         145,584         145,584               0          96,546          32,122          66,865
Woodman Asset Management AG                                        50,000          50,000          50,000          50,000               0               0               0               0               0               0               0
Woodpecker Capital SA                                                   0               0               0               0               0               0               0               0               0          10,000               0
World Asset Management, Inc                                        84,703         128,691         121,728         232,508         227,746         194,704         174,555         171,409         151,535          31,253         139,510
Wright Investors' Service Inc                                           0               0               0          13,950               0               0               0               0               0               0               0
WSS Vermögensmanagement GmbH                                        1,348           1,348           1,348               0               0               0               0               0               0               0               0
Wydler Asset Management AG                                              0               0               0               0               0         500,000       1,000,000       1,000,000               0               0         750,000
Wyss & Partner, Vermögensverwaltung und Anlageberatung AG               0               0           1,000           1,000           2,000           2,000               0               0               0               0               0
Xact Kapitalforvaltning AB                                              0         135,384         222,162         409,421         409,421         378,968         410,964         421,121         421,121         421,121         421,121
Y-Intercept (Hong Kong) Ltd                                             0               0               0               0               0               0               0               0               0               0               0
Yorkville Asset Management, Inc                                         0               0               0               0               0           2,000           2,000               0               0               0               0
Yuanta Securities Investment Trust Co , Ltd                         7,476           7,476          23,174          23,174          23,174          18,323           4,118               0               0               0               0
Zarifi Gestion                                                      1,626           1,626           1,626           1,626           1,626           1,626           1,626           1,626           1,626               0               0
Zeus Capital S A                                                        0               0               0               0               0               0           4,000           4,000           4,000           4,000           4,000
Ziel Invest GmbH                                                    9,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000           9,000
Zions Capital Advisors, Inc                                           951             569             529           1,872           1,902           1,184             777               0           2,328           2,262             350
Zürcher Kantonalbank (Asset Management)                         1,783,106       1,294,785         717,301       2,351,833       1,781,565       1,834,909       1,944,539       1,777,725       1,534,798       1,439,903       1,533,583
Zurich Insurance Group                                                  0               0               0         376,809         515,686         356,264          46,346         102,151           9,834           9,834           9,834




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Exhibit 9
Deutsche Bank AG
Quarterly Institutional Holdings
Source: Refinitiv Eikon; Bloomberg
Shares Held by Institutions as a Percentage of Float               44 6%           45 0%           43 2%           39 4%           38 7%           39 4%
Shares Outstanding                                          2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000   2,066,773,000
Shares Held by Insiders/Individuals                               525,586         525,586      18,309,892      18,309,892      18,309,892      18,309,892
Shares Held by Institutions                                   921,882,686     929,487,836     884,876,047     807,176,011     793,777,779     807,917,392
Number of Institutions With Holdings                                  559             567             570             584             578             544


Institution/Individual                                       9/30/2019       12/31/2019      3/31/2020       6/30/2020       9/30/2020       12/31/2020
Wells Fargo Securities, LLC                                             0               0         129,890               0               0               0
Werte Invest Family Office GmbH                                         0               0               0               0               0               0
WerteFinder Vermögensverwaltung_NLE                                20,000               0               0               0               0               0
Westbourne Investment Advisors, Inc                                     0               0               0               0               0               0
Western Asset Management Co                                             0               0               0               1               0               0
Westpac Banking Corporation                                             0               0               0               0               0               0
Westside Investment Management, Inc                                     0               0               0               0               0               0
Wetherby Asset Management, Inc                                     44,269          32,028          26,767          34,885           3,194          38,402
Whitener Capital Management Inc                                         0               0               0               0               0               0
Whitnell & Co                                                           0               0               0               0               0               0
Whittier Trust Company                                                  0               0              47              47               0               0
WHV Investment Management, Inc _NLE                                     0               0               0               0               0               0
Wildermuth Advisory, LLC                                                0               0               0               0               0               0
Willard Mills Advisory, LLC_NLE                                         0               0               0               0               0               0
William Blair Investment Management, LLC                                0               0               0               0               0               0
Wilmington Trust Investment Advisors, Inc                               0               0               0               0               0               0
Winfield Associates Inc                                                 0               0               0               0               0               0
Winning Points Advisors, LLC                                            0               0               0               0               0               0
Winthrop Partners - WNY, LLC                                            0               0               0               0               0               0
Winton Capital Management Ltd                                       2,819           2,083           1,903           2,709             926             926
WisdomTree Asset Management, Inc                                        0               0               0               0               0               0
Wolverine Asset Management, LLC                                         0               0               0               0               0               0
Wolverine Trading, LLC                                             89,287          99,684          69,269          85,412          86,046          45,332
Woodman Asset Management AG                                             0               0               0               0               0               0
Woodpecker Capital SA                                                   0               0               0               0               0               0
World Asset Management, Inc                                       130,579         124,058         121,382         106,890         106,074         111,393
Wright Investors' Service Inc                                           0               0               0               0               0               0
WSS Vermögensmanagement GmbH                                            0               0               0               0               0               0
Wydler Asset Management AG                                        750,000       1,000,000               0         300,000         300,000         600,000
Wyss & Partner, Vermögensverwaltung und Anlageberatung AG               0               0               0               0               0               0
Xact Kapitalforvaltning AB                                        421,121         421,121         421,121         421,121         421,121               0
Y-Intercept (Hong Kong) Ltd                                             0               0               0               0               0          17,210
Yorkville Asset Management, Inc                                         0               0               0               0               0               0
Yuanta Securities Investment Trust Co , Ltd                             0               0               0               0               0               0
Zarifi Gestion                                                          0               0               0               0               0               0
Zeus Capital S A                                                    4,000               0               0           1,150               0               0
Ziel Invest GmbH                                                    9,000           9,000           9,000               0               0               0
Zions Capital Advisors, Inc                                         2,914           2,876           2,712           2,899           2,512           2,881
Zürcher Kantonalbank (Asset Management)                           873,757         792,522         907,355         802,358         923,204         808,188
Zurich Insurance Group                                              9,834           9,834           9,834           9,834           9,834           9,834




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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   3/14/2017          $17.20        $17.20           $0.01         0.05%
   3/15/2017          $17.20        $17.21           $0.01         0.05%
   3/16/2017          $17.50        $17.51           $0.01         0.05%
   3/17/2017          $16.99        $17.00           $0.01         0.05%
   3/20/2017          $16.39        $16.40           $0.01         0.05%
   3/21/2017          $17.08        $17.09           $0.01         0.06%
   3/22/2017          $17.06        $17.07           $0.01         0.06%
   3/23/2017          $16.90        $16.91           $0.01         0.06%
   3/24/2017          $16.82        $16.83           $0.01         0.06%
   3/27/2017          $16.95        $16.96           $0.01         0.06%
   3/28/2017          $17.37        $17.38           $0.01         0.06%
   3/29/2017          $17.42        $17.43           $0.01         0.06%
   3/30/2017          $17.26        $17.27           $0.01         0.06%
   3/31/2017          $17.16        $17.17           $0.01         0.06%
    4/3/2017          $16.69        $16.70           $0.01         0.06%
    4/4/2017          $16.64        $16.65           $0.01         0.06%
    4/5/2017          $16.50        $16.51           $0.01         0.06%
    4/6/2017          $16.59        $16.60           $0.01         0.06%
    4/7/2017          $16.44        $16.45           $0.01         0.06%
   4/10/2017          $16.47        $16.48           $0.01         0.06%
   4/11/2017          $16.32        $16.33           $0.01         0.06%
   4/12/2017          $16.18        $16.19           $0.01         0.06%
   4/13/2017          $15.86        $15.87           $0.01         0.06%
   4/17/2017          $16.11        $16.12           $0.01         0.06%
   4/18/2017          $15.95        $15.96           $0.01         0.06%
   4/19/2017          $16.07        $16.08           $0.01         0.06%
   4/20/2017          $16.54        $16.55           $0.01         0.06%
   4/21/2017          $16.50        $16.51           $0.01         0.06%
   4/24/2017          $18.38        $18.39           $0.01         0.05%
   4/25/2017          $18.48        $18.49           $0.01         0.05%
   4/26/2017          $18.85        $18.86           $0.01         0.05%
   4/27/2017          $18.14        $18.15           $0.01         0.06%
   4/28/2017          $18.06        $18.07           $0.01         0.06%
    5/1/2017          $18.22        $18.23           $0.01         0.05%
    5/2/2017          $18.27        $18.28           $0.01         0.05%
    5/3/2017          $18.46        $18.47           $0.01         0.05%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
    5/4/2017          $18.77        $18.78           $0.01         0.05%
    5/5/2017          $19.34        $19.35           $0.01         0.05%
    5/8/2017          $19.07        $19.08           $0.01         0.05%
    5/9/2017          $18.85        $18.86           $0.01         0.05%
   5/10/2017          $19.01        $19.02           $0.01         0.05%
   5/11/2017          $18.80        $18.81           $0.01         0.05%
   5/12/2017          $18.77        $18.78           $0.01         0.05%
   5/15/2017          $19.04        $19.05           $0.01         0.05%
   5/16/2017          $19.27        $19.28           $0.01         0.05%
   5/17/2017          $18.64        $18.65           $0.01         0.05%
   5/18/2017          $18.68        $18.69           $0.01         0.05%
   5/19/2017          $19.04        $19.05           $0.01         0.05%
   5/22/2017          $19.12        $19.13           $0.01         0.05%
   5/23/2017          $19.24        $19.25           $0.01         0.05%
   5/24/2017          $18.95        $18.96           $0.01         0.05%
   5/25/2017          $18.85        $18.86           $0.01         0.05%
   5/26/2017          $18.45        $18.46           $0.01         0.05%
   5/30/2017          $17.96        $17.97           $0.01         0.06%
   5/31/2017          $17.46        $17.47           $0.01         0.06%
    6/1/2017          $17.64        $17.65           $0.01         0.06%
    6/2/2017          $17.65        $17.66           $0.01         0.06%
    6/5/2017          $17.50        $17.51           $0.01         0.06%
    6/6/2017          $17.31        $17.32           $0.01         0.06%
    6/7/2017          $17.46        $17.47           $0.01         0.06%
    6/8/2017          $17.57        $17.58           $0.01         0.06%
    6/9/2017          $17.67        $17.68           $0.01         0.06%
   6/12/2017          $17.35        $17.36           $0.01         0.06%
   6/13/2017          $17.46        $17.47           $0.01         0.06%
   6/14/2017          $17.32        $17.33           $0.01         0.06%
   6/15/2017          $16.78        $16.79           $0.01         0.06%
   6/16/2017          $16.81        $16.82           $0.01         0.06%
   6/19/2017          $17.20        $17.21           $0.01         0.06%
   6/20/2017          $16.84        $16.85           $0.01         0.06%
   6/21/2017          $16.89        $16.90           $0.01         0.06%
   6/22/2017          $16.74        $16.75           $0.01         0.06%
   6/23/2017          $16.64        $16.65           $0.01         0.06%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   6/26/2017          $16.87        $16.88           $0.01         0.06%
   6/27/2017          $17.50        $17.51           $0.01         0.06%
   6/28/2017          $17.91        $17.92           $0.01         0.06%
   6/29/2017          $18.06        $18.07           $0.01         0.06%
   6/30/2017          $17.78        $17.79           $0.01         0.06%
    7/3/2017          $18.15        $18.16           $0.01         0.06%
    7/5/2017          $18.63        $18.64           $0.01         0.05%
    7/6/2017          $18.89        $18.90           $0.01         0.05%
    7/7/2017          $19.06        $19.07           $0.01         0.05%
   7/10/2017          $18.97        $18.98           $0.01         0.05%
   7/11/2017          $19.06        $19.07           $0.01         0.05%
   7/12/2017          $18.82        $18.83           $0.01         0.05%
   7/13/2017          $18.92        $18.93           $0.01         0.05%
   7/14/2017          $18.85        $18.86           $0.01         0.05%
   7/17/2017          $18.78        $18.79           $0.01         0.05%
   7/18/2017          $18.49        $18.50           $0.01         0.05%
   7/19/2017          $18.38        $18.39           $0.01         0.05%
   7/20/2017          $18.45        $18.46           $0.01         0.05%
   7/21/2017          $18.21        $18.22           $0.01         0.05%
   7/24/2017          $18.66        $18.67           $0.01         0.05%
   7/25/2017          $19.04        $19.05           $0.01         0.05%
   7/26/2017          $19.07        $19.08           $0.01         0.05%
   7/27/2017          $18.02        $18.03           $0.01         0.06%
   7/28/2017          $18.19        $18.20           $0.01         0.05%
   7/31/2017          $17.85        $17.86           $0.01         0.06%
    8/1/2017          $18.12        $18.13           $0.01         0.06%
    8/2/2017          $18.01        $18.02           $0.01         0.06%
    8/3/2017          $18.05        $18.06           $0.01         0.06%
    8/4/2017          $18.33        $18.34           $0.01         0.05%
    8/7/2017          $18.23        $18.24           $0.01         0.05%
    8/8/2017          $17.99        $18.00           $0.01         0.06%
    8/9/2017          $17.57        $17.58           $0.01         0.06%
   8/10/2017          $16.86        $16.87           $0.01         0.06%
   8/11/2017          $17.04        $17.05           $0.01         0.06%
   8/14/2017          $17.28        $17.29           $0.01         0.06%
   8/15/2017          $17.12        $17.13           $0.01         0.06%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   8/16/2017          $17.03        $17.04           $0.01         0.06%
   8/17/2017          $16.44        $16.45           $0.01         0.06%
   8/18/2017          $16.51        $16.52           $0.01         0.06%
   8/21/2017          $16.16        $16.17           $0.01         0.06%
   8/22/2017          $16.29        $16.30           $0.01         0.06%
   8/23/2017          $16.26        $16.27           $0.01         0.06%
   8/24/2017          $16.27        $16.28           $0.01         0.06%
   8/25/2017          $16.41        $16.42           $0.01         0.06%
   8/28/2017          $16.39        $16.40           $0.01         0.06%
   8/29/2017          $16.04        $16.05           $0.01         0.06%
   8/30/2017          $16.01        $16.02           $0.01         0.06%
   8/31/2017          $15.99        $16.00           $0.01         0.06%
    9/1/2017          $16.05        $16.06           $0.01         0.06%
    9/5/2017          $15.66        $15.67           $0.01         0.06%
    9/6/2017          $15.99        $16.00           $0.01         0.06%
    9/7/2017          $15.91        $15.92           $0.01         0.06%
    9/8/2017          $16.00        $16.01           $0.01         0.06%
   9/11/2017          $16.33        $16.34           $0.01         0.06%
   9/12/2017          $16.97        $16.98           $0.01         0.06%
   9/13/2017          $16.77        $16.78           $0.01         0.06%
   9/14/2017          $16.67        $16.68           $0.01         0.06%
   9/15/2017          $16.53        $16.54           $0.01         0.06%
   9/18/2017          $16.55        $16.56           $0.01         0.06%
   9/19/2017          $16.55        $16.56           $0.01         0.06%
   9/20/2017          $16.37        $16.38           $0.01         0.06%
   9/21/2017          $16.69        $16.70           $0.01         0.06%
   9/22/2017          $16.63        $16.64           $0.01         0.06%
   9/25/2017          $16.03        $16.04           $0.01         0.06%
   9/26/2017          $16.01        $16.02           $0.01         0.06%
   9/27/2017          $16.56        $16.57           $0.01         0.06%
   9/28/2017          $16.98        $16.99           $0.01         0.06%
   9/29/2017          $17.28        $17.29           $0.01         0.06%
   10/2/2017          $17.09        $17.10           $0.01         0.06%
   10/3/2017          $17.07        $17.08           $0.01         0.06%
   10/4/2017          $16.78        $16.79           $0.01         0.06%
   10/5/2017          $17.21        $17.22           $0.01         0.06%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
     Date            Last Bid      Last Ask        Spread ($)    Spread (%)
   10/6/2017          $17.21        $17.22           $0.01         0.06%
   10/9/2017          $16.87        $16.88           $0.01         0.06%
  10/10/2017          $17.00        $17.01           $0.01         0.06%
  10/11/2017          $16.92        $16.93           $0.01         0.06%
  10/12/2017          $16.68        $16.69           $0.01         0.06%
  10/13/2017          $16.58        $16.59           $0.01         0.06%
  10/16/2017          $16.71        $16.72           $0.01         0.06%
  10/17/2017          $16.70        $16.71           $0.01         0.06%
  10/18/2017          $16.89        $16.90           $0.01         0.06%
  10/19/2017          $16.86        $16.87           $0.01         0.06%
  10/20/2017          $16.98        $16.99           $0.01         0.06%
  10/23/2017          $16.62        $16.63           $0.01         0.06%
  10/24/2017          $17.18        $17.19           $0.01         0.06%
  10/25/2017          $17.12        $17.13           $0.01         0.06%
  10/26/2017          $16.71        $16.72           $0.01         0.06%
  10/27/2017          $16.31        $16.32           $0.01         0.06%
  10/30/2017          $16.25        $16.26           $0.01         0.06%
  10/31/2017          $16.26        $16.27           $0.01         0.06%
   11/1/2017          $16.56        $16.57           $0.01         0.06%
   11/2/2017          $17.06        $17.07           $0.01         0.06%
   11/3/2017          $16.82        $16.83           $0.01         0.06%
   11/6/2017          $16.83        $16.84           $0.01         0.06%
   11/7/2017          $16.68        $16.69           $0.01         0.06%
   11/8/2017          $17.04        $17.05           $0.01         0.06%
   11/9/2017          $17.41        $17.42           $0.01         0.06%
  11/10/2017          $17.94        $17.95           $0.01         0.06%
  11/13/2017          $17.94        $17.95           $0.01         0.06%
  11/14/2017          $18.19        $18.20           $0.01         0.05%
  11/15/2017          $18.49        $18.50           $0.01         0.05%
  11/16/2017          $19.03        $19.04           $0.01         0.05%
  11/17/2017          $19.13        $19.14           $0.01         0.05%
  11/20/2017          $19.16        $19.17           $0.01         0.05%
  11/21/2017          $19.01        $19.02           $0.01         0.05%
  11/22/2017          $18.90        $18.91           $0.01         0.05%
  11/24/2017          $19.18        $19.19           $0.01         0.05%
  11/27/2017          $18.73        $18.74           $0.01         0.05%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
  11/28/2017          $18.88        $18.89           $0.01         0.05%
  11/29/2017          $18.99        $19.00           $0.01         0.05%
  11/30/2017          $18.85        $18.86           $0.01         0.05%
   12/1/2017          $18.97        $18.98           $0.01         0.05%
   12/4/2017          $19.11        $19.12           $0.01         0.05%
   12/5/2017          $18.75        $18.76           $0.01         0.05%
   12/6/2017          $18.49        $18.50           $0.01         0.05%
   12/7/2017          $18.83        $18.84           $0.01         0.05%
   12/8/2017          $19.38        $19.39           $0.01         0.05%
  12/11/2017          $19.30        $19.31           $0.01         0.05%
  12/12/2017          $19.38        $19.39           $0.01         0.05%
  12/13/2017          $19.32        $19.33           $0.01         0.05%
  12/14/2017          $19.22        $19.23           $0.01         0.05%
  12/15/2017          $19.42        $19.43           $0.01         0.05%
  12/18/2017          $20.10        $20.11           $0.01         0.05%
  12/19/2017          $19.84        $19.85           $0.01         0.05%
  12/20/2017          $19.71        $19.72           $0.01         0.05%
  12/21/2017          $19.69        $19.70           $0.01         0.05%
  12/22/2017          $19.37        $19.38           $0.01         0.05%
  12/26/2017          $19.23        $19.24           $0.01         0.05%
  12/27/2017          $19.04        $19.05           $0.01         0.05%
  12/28/2017          $19.10        $19.11           $0.01         0.05%
  12/29/2017          $19.02        $19.03           $0.01         0.05%
    1/2/2018          $19.32        $19.33           $0.01         0.05%
    1/3/2018          $19.16        $19.17           $0.01         0.05%
    1/4/2018          $19.76        $19.77           $0.01         0.05%
    1/5/2018          $18.55        $18.56           $0.01         0.05%
    1/8/2018          $18.29        $18.30           $0.01         0.05%
    1/9/2018          $18.12        $18.13           $0.01         0.06%
   1/10/2018          $18.50        $18.51           $0.01         0.05%
   1/11/2018          $18.54        $18.55           $0.01         0.05%
   1/12/2018          $18.69        $18.70           $0.01         0.05%
   1/16/2018          $18.51        $18.52           $0.01         0.05%
   1/17/2018          $18.52        $18.53           $0.01         0.05%
   1/18/2018          $18.53        $18.54           $0.01         0.05%
   1/19/2018          $18.77        $18.78           $0.01         0.05%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 246 of 385
Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   1/22/2018          $19.39        $19.40           $0.01         0.05%
   1/23/2018          $19.47        $19.48           $0.01         0.05%
   1/24/2018          $19.74        $19.75           $0.01         0.05%
   1/25/2018          $19.63        $19.64           $0.01         0.05%
   1/26/2018          $19.51        $19.52           $0.01         0.05%
   1/29/2018          $19.10        $19.11           $0.01         0.05%
   1/30/2018          $18.38        $18.39           $0.01         0.05%
   1/31/2018          $18.33        $18.34           $0.01         0.05%
    2/1/2018          $18.61        $18.63           $0.02         0.11%
    2/2/2018          $17.08        $17.09           $0.01         0.06%
    2/5/2018          $16.38        $16.39           $0.01         0.06%
    2/6/2018          $16.51        $16.52           $0.01         0.06%
    2/7/2018          $16.08        $16.09           $0.01         0.06%
    2/8/2018          $15.48        $15.49           $0.01         0.06%
    2/9/2018          $15.57        $15.58           $0.01         0.06%
   2/12/2018          $16.01        $16.02           $0.01         0.06%
   2/13/2018          $15.89        $15.90           $0.01         0.06%
   2/14/2018          $16.25        $16.26           $0.01         0.06%
   2/15/2018          $16.11        $16.12           $0.01         0.06%
   2/16/2018          $16.07        $16.08           $0.01         0.06%
   2/20/2018          $16.45        $16.46           $0.01         0.06%
   2/21/2018          $16.56        $16.57           $0.01         0.06%
   2/22/2018          $16.43        $16.44           $0.01         0.06%
   2/23/2018          $16.42        $16.43           $0.01         0.06%
   2/26/2018          $16.48        $16.49           $0.01         0.06%
   2/27/2018          $16.39        $16.40           $0.01         0.06%
   2/28/2018          $15.93        $15.94           $0.01         0.06%
    3/1/2018          $15.69        $15.70           $0.01         0.06%
    3/2/2018          $15.79        $15.80           $0.01         0.06%
    3/5/2018          $15.89        $15.90           $0.01         0.06%
    3/6/2018          $16.05        $16.06           $0.01         0.06%
    3/7/2018          $16.33        $16.34           $0.01         0.06%
    3/8/2018          $16.11        $16.12           $0.01         0.06%
    3/9/2018          $16.11        $16.12           $0.01         0.06%
   3/12/2018          $16.11        $16.12           $0.01         0.06%
   3/13/2018          $15.78        $15.79           $0.01         0.06%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   3/14/2018          $15.70        $15.71           $0.01         0.06%
   3/15/2018          $15.70        $15.71           $0.01         0.06%
   3/16/2018          $15.81        $15.82           $0.01         0.06%
   3/19/2018          $15.54        $15.55           $0.01         0.06%
   3/20/2018          $15.51        $15.52           $0.01         0.06%
   3/21/2018          $14.78        $14.79           $0.01         0.07%
   3/22/2018          $14.18        $14.19           $0.01         0.07%
   3/23/2018          $13.74        $13.75           $0.01         0.07%
   3/26/2018          $14.07        $14.08           $0.01         0.07%
   3/27/2018          $13.77        $13.78           $0.01         0.07%
   3/28/2018          $13.75        $13.76           $0.01         0.07%
   3/29/2018          $13.97        $13.98           $0.01         0.07%
    4/2/2018          $13.68        $13.69           $0.01         0.07%
    4/3/2018          $13.71        $13.72           $0.01         0.07%
    4/4/2018          $13.88        $13.89           $0.01         0.07%
    4/5/2018          $14.32        $14.33           $0.01         0.07%
    4/6/2018          $13.87        $13.88           $0.01         0.07%
    4/9/2018          $14.00        $14.01           $0.01         0.07%
   4/10/2018          $14.07        $14.08           $0.01         0.07%
   4/11/2018          $14.18        $14.19           $0.01         0.07%
   4/12/2018          $14.40        $14.41           $0.01         0.07%
   4/13/2018          $14.38        $14.39           $0.01         0.07%
   4/16/2018          $14.33        $14.34           $0.01         0.07%
   4/17/2018          $14.37        $14.38           $0.01         0.07%
   4/18/2018          $14.44        $14.45           $0.01         0.07%
   4/19/2018          $14.45        $14.46           $0.01         0.07%
   4/20/2018          $14.25        $14.26           $0.01         0.07%
   4/23/2018          $14.25        $14.26           $0.01         0.07%
   4/24/2018          $14.76        $14.77           $0.01         0.07%
   4/25/2018          $14.60        $14.61           $0.01         0.07%
   4/26/2018          $14.34        $14.35           $0.01         0.07%
   4/27/2018          $13.88        $13.89           $0.01         0.07%
   4/30/2018          $13.66        $13.67           $0.01         0.07%
    5/1/2018          $13.59        $13.60           $0.01         0.07%
    5/2/2018          $13.61        $13.62           $0.01         0.07%
    5/3/2018          $13.62        $13.63           $0.01         0.07%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
    5/4/2018          $13.77        $13.78           $0.01         0.07%
    5/7/2018          $13.78        $13.79           $0.01         0.07%
    5/8/2018          $13.59        $13.60           $0.01         0.07%
    5/9/2018          $13.77        $13.78           $0.01         0.07%
   5/10/2018          $13.88        $13.89           $0.01         0.07%
   5/11/2018          $13.86        $13.87           $0.01         0.07%
   5/14/2018          $13.65        $13.66           $0.01         0.07%
   5/15/2018          $13.29        $13.30           $0.01         0.08%
   5/16/2018          $12.99        $13.00           $0.01         0.08%
   5/17/2018          $12.99        $13.00           $0.01         0.08%
   5/18/2018          $12.72        $12.73           $0.01         0.08%
   5/21/2018          $12.71        $12.72           $0.01         0.08%
   5/22/2018          $12.95        $12.96           $0.01         0.08%
   5/23/2018          $12.89        $12.90           $0.01         0.08%
   5/24/2018          $12.25        $12.26           $0.01         0.08%
   5/25/2018          $12.06        $12.07           $0.01         0.08%
   5/29/2018          $11.29        $11.30           $0.01         0.09%
   5/30/2018          $11.57        $11.58           $0.01         0.09%
   5/31/2018          $11.07        $11.08           $0.01         0.09%
    6/1/2018          $11.03        $11.04           $0.01         0.09%
    6/4/2018          $11.20        $11.21           $0.01         0.09%
    6/5/2018          $11.02        $11.03           $0.01         0.09%
    6/6/2018          $11.34        $11.35           $0.01         0.09%
    6/7/2018          $11.51        $11.52           $0.01         0.09%
    6/8/2018          $11.26        $11.27           $0.01         0.09%
   6/11/2018          $11.43        $11.44           $0.01         0.09%
   6/12/2018          $11.40        $11.41           $0.01         0.09%
   6/13/2018          $11.37        $11.38           $0.01         0.09%
   6/14/2018          $11.21        $11.22           $0.01         0.09%
   6/15/2018          $11.10        $11.11           $0.01         0.09%
   6/18/2018          $11.07        $11.08           $0.01         0.09%
   6/19/2018          $11.16        $11.17           $0.01         0.09%
   6/20/2018          $11.08        $11.09           $0.01         0.09%
   6/21/2018          $10.89        $10.90           $0.01         0.09%
   6/22/2018          $11.00        $11.01           $0.01         0.09%
   6/25/2018          $10.88        $10.89           $0.01         0.09%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 249 of 385
Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   6/26/2018          $10.79        $10.80           $0.01         0.09%
   6/27/2018          $10.37        $10.38           $0.01         0.10%
   6/28/2018          $10.46        $10.47           $0.01         0.10%
   6/29/2018          $10.62        $10.63           $0.01         0.09%
    7/2/2018          $10.63        $10.64           $0.01         0.09%
    7/3/2018          $10.71        $10.72           $0.01         0.09%
    7/5/2018          $11.13        $11.14           $0.01         0.09%
    7/6/2018          $11.46        $11.47           $0.01         0.09%
    7/9/2018          $11.53        $11.54           $0.01         0.09%
   7/10/2018          $11.42        $11.43           $0.01         0.09%
   7/11/2018          $11.15        $11.16           $0.01         0.09%
   7/12/2018          $11.20        $11.21           $0.01         0.09%
   7/13/2018          $11.24        $11.25           $0.01         0.09%
   7/16/2018          $12.14        $12.15           $0.01         0.08%
   7/17/2018          $11.86        $11.87           $0.01         0.08%
   7/18/2018          $12.08        $12.09           $0.01         0.08%
   7/19/2018          $12.01        $12.02           $0.01         0.08%
   7/20/2018          $12.03        $12.04           $0.01         0.08%
   7/23/2018          $12.17        $12.18           $0.01         0.08%
   7/24/2018          $12.28        $12.29           $0.01         0.08%
   7/25/2018          $12.16        $12.17           $0.01         0.08%
   7/26/2018          $12.19        $12.20           $0.01         0.08%
   7/27/2018          $12.42        $12.43           $0.01         0.08%
   7/30/2018          $12.79        $12.80           $0.01         0.08%
   7/31/2018          $13.06        $13.07           $0.01         0.08%
    8/1/2018          $12.93        $12.94           $0.01         0.08%
    8/2/2018          $12.53        $12.54           $0.01         0.08%
    8/3/2018          $12.50        $12.51           $0.01         0.08%
    8/6/2018          $12.52        $12.53           $0.01         0.08%
    8/7/2018          $12.61        $12.62           $0.01         0.08%
    8/8/2018          $12.51        $12.52           $0.01         0.08%
    8/9/2018          $12.40        $12.41           $0.01         0.08%
   8/10/2018          $11.81        $11.82           $0.01         0.08%
   8/13/2018          $11.44        $11.45           $0.01         0.09%
   8/14/2018          $11.48        $11.49           $0.01         0.09%
   8/15/2018          $11.18        $11.19           $0.01         0.09%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   8/16/2018          $11.20        $11.21           $0.01         0.09%
   8/17/2018          $11.20        $11.21           $0.01         0.09%
   8/20/2018          $11.21        $11.22           $0.01         0.09%
   8/21/2018          $11.54        $11.55           $0.01         0.09%
   8/22/2018          $11.60        $11.61           $0.01         0.09%
   8/23/2018          $11.30        $11.31           $0.01         0.09%
   8/24/2018          $11.39        $11.40           $0.01         0.09%
   8/27/2018          $11.73        $11.74           $0.01         0.09%
   8/28/2018          $11.55        $11.56           $0.01         0.09%
   8/29/2018          $11.66        $11.67           $0.01         0.09%
   8/30/2018          $11.41        $11.42           $0.01         0.09%
   8/31/2018          $11.26        $11.27           $0.01         0.09%
    9/4/2018          $11.42        $11.43           $0.01         0.09%
    9/5/2018          $11.46        $11.47           $0.01         0.09%
    9/6/2018          $11.37        $11.38           $0.01         0.09%
    9/7/2018          $11.13        $11.14           $0.01         0.09%
   9/10/2018          $11.10        $11.11           $0.01         0.09%
   9/11/2018          $11.23        $11.24           $0.01         0.09%
   9/12/2018          $11.23        $11.24           $0.01         0.09%
   9/13/2018          $11.35        $11.36           $0.01         0.09%
   9/14/2018          $11.40        $11.41           $0.01         0.09%
   9/17/2018          $11.50        $11.51           $0.01         0.09%
   9/18/2018          $11.58        $11.59           $0.01         0.09%
   9/19/2018          $11.95        $11.96           $0.01         0.08%
   9/20/2018          $12.25        $12.26           $0.01         0.08%
   9/21/2018          $12.34        $12.35           $0.01         0.08%
   9/24/2018          $12.24        $12.25           $0.01         0.08%
   9/25/2018          $12.15        $12.16           $0.01         0.08%
   9/26/2018          $11.90        $11.91           $0.01         0.08%
   9/27/2018          $11.80        $11.81           $0.01         0.08%
   9/28/2018          $11.35        $11.36           $0.01         0.09%
   10/1/2018          $11.24        $11.25           $0.01         0.09%
   10/2/2018          $11.12        $11.13           $0.01         0.09%
   10/3/2018          $11.32        $11.33           $0.01         0.09%
   10/4/2018          $11.19        $11.20           $0.01         0.09%
   10/5/2018          $11.12        $11.13           $0.01         0.09%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample           DB        NYSE Sample
                    Spread ($)    Spread ($)        Spread (%)    Spread (%)
   Average            $0.01         $0.04             0.10%         0.12%
   Median             $0.01         $0.03             0.10%         0.09%


                                       DB's Stock
     Date            Last Bid      Last Ask         Spread ($)    Spread (%)
   10/8/2018          $11.04        $11.05            $0.01         0.09%
   10/9/2018          $11.02        $11.03            $0.01         0.09%
  10/10/2018          $10.91        $10.92            $0.01         0.09%
  10/11/2018          $10.84        $10.85            $0.01         0.09%
  10/12/2018          $10.83        $10.84            $0.01         0.09%
  10/15/2018          $11.03        $11.04            $0.01         0.09%
  10/16/2018          $11.16        $11.17            $0.01         0.09%
  10/17/2018          $11.25        $11.26            $0.01         0.09%
  10/18/2018          $10.96        $10.97            $0.01         0.09%
  10/19/2018          $10.92        $10.93            $0.01         0.09%
  10/22/2018          $10.71        $10.72            $0.01         0.09%
  10/23/2018          $10.69        $10.70            $0.01         0.09%
  10/24/2018          $10.00        $10.01            $0.01         0.10%
  10/25/2018           $9.99        $10.00            $0.01         0.10%
  10/26/2018           $9.66         $9.67            $0.01         0.10%
  10/29/2018           $9.63         $9.64            $0.01         0.10%
  10/30/2018           $9.74         $9.75            $0.01         0.10%
  10/31/2018           $9.78         $9.79            $0.01         0.10%
   11/1/2018          $10.25        $10.26            $0.01         0.10%
   11/2/2018          $10.52        $10.53            $0.01         0.10%
   11/5/2018          $10.45        $10.46            $0.01         0.10%
   11/6/2018          $10.44        $10.45            $0.01         0.10%
   11/7/2018          $10.61        $10.62            $0.01         0.09%
   11/8/2018          $10.33        $10.34            $0.01         0.10%
   11/9/2018          $10.11        $10.12            $0.01         0.10%
  11/12/2018           $9.72         $9.73            $0.01         0.10%
  11/13/2018           $9.86         $9.87            $0.01         0.10%
  11/14/2018           $9.86         $9.87            $0.01         0.10%
  11/15/2018           $9.89         $9.90            $0.01         0.10%
  11/16/2018           $9.81         $9.82            $0.01         0.10%
  11/19/2018           $9.77         $9.78            $0.01         0.10%
  11/20/2018           $9.22         $9.23            $0.01         0.11%
  11/21/2018           $9.43         $9.44            $0.01         0.11%
  11/23/2018           $9.25         $9.26            $0.01         0.11%
  11/26/2018           $9.73         $9.74            $0.01         0.10%
  11/27/2018           $9.83         $9.84            $0.01         0.10%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
  11/28/2018          $9.88         $9.89            $0.01         0.10%
  11/29/2018          $9.41         $9.42            $0.01         0.11%
  11/30/2018          $9.16         $9.17            $0.01         0.11%
   12/3/2018          $9.39         $9.40            $0.01         0.11%
   12/4/2018          $9.05         $9.06            $0.01         0.11%
   12/6/2018          $8.89         $8.90            $0.01         0.11%
   12/7/2018          $8.73         $8.74            $0.01         0.11%
  12/10/2018          $8.37         $8.38            $0.01         0.12%
  12/11/2018          $8.33         $8.34            $0.01         0.12%
  12/12/2018          $9.03         $9.04            $0.01         0.11%
  12/13/2018          $8.87         $8.88            $0.01         0.11%
  12/14/2018          $8.79         $8.80            $0.01         0.11%
  12/17/2018          $8.59         $8.60            $0.01         0.12%
  12/18/2018          $8.68         $8.70            $0.02         0.23%
  12/19/2018          $8.36         $8.37            $0.01         0.12%
  12/20/2018          $8.05         $8.06            $0.01         0.12%
  12/21/2018          $7.86         $7.87            $0.01         0.13%
  12/24/2018          $7.90         $7.91            $0.01         0.13%
  12/26/2018          $8.16         $8.17            $0.01         0.12%
  12/27/2018          $7.81         $7.82            $0.01         0.13%
  12/28/2018          $8.04         $8.05            $0.01         0.12%
  12/31/2018          $8.15         $8.16            $0.01         0.12%
    1/2/2019          $8.19         $8.20            $0.01         0.12%
    1/3/2019          $8.08         $8.09            $0.01         0.12%
    1/4/2019          $8.52         $8.53            $0.01         0.12%
    1/7/2019          $8.69         $8.70            $0.01         0.12%
    1/8/2019          $8.74         $8.75            $0.01         0.11%
    1/9/2019          $8.56         $8.57            $0.01         0.12%
   1/10/2019          $8.61         $8.62            $0.01         0.12%
   1/11/2019          $8.55         $8.56            $0.01         0.12%
   1/14/2019          $8.57         $8.58            $0.01         0.12%
   1/15/2019          $8.62         $8.63            $0.01         0.12%
   1/16/2019          $9.30         $9.31            $0.01         0.11%
   1/17/2019          $8.91         $8.92            $0.01         0.11%
   1/18/2019          $9.13         $9.14            $0.01         0.11%
   1/22/2019          $8.84         $8.85            $0.01         0.11%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   1/23/2019          $9.04         $9.05            $0.01         0.11%
   1/24/2019          $8.85         $8.86            $0.01         0.11%
   1/25/2019          $9.24         $9.25            $0.01         0.11%
   1/28/2019          $9.26         $9.27            $0.01         0.11%
   1/29/2019          $9.23         $9.24            $0.01         0.11%
   1/30/2019          $9.28         $9.29            $0.01         0.11%
   1/31/2019          $8.87         $8.88            $0.01         0.11%
    2/1/2019          $8.84         $8.85            $0.01         0.11%
    2/4/2019          $8.79         $8.80            $0.01         0.11%
    2/5/2019          $8.89         $8.90            $0.01         0.11%
    2/6/2019          $8.95         $8.96            $0.01         0.11%
    2/7/2019          $8.36         $8.38            $0.02         0.24%
    2/8/2019          $8.19         $8.20            $0.01         0.12%
   2/11/2019          $8.32         $8.33            $0.01         0.12%
   2/12/2019          $8.53         $8.54            $0.01         0.12%
   2/13/2019          $8.53         $8.54            $0.01         0.12%
   2/14/2019          $8.33         $8.34            $0.01         0.12%
   2/15/2019          $8.79         $8.80            $0.01         0.11%
   2/19/2019          $8.60         $8.61            $0.01         0.12%
   2/20/2019          $8.73         $8.74            $0.01         0.11%
   2/21/2019          $8.65         $8.66            $0.01         0.12%
   2/22/2019          $8.64         $8.65            $0.01         0.12%
   2/25/2019          $8.76         $8.77            $0.01         0.11%
   2/26/2019          $8.91         $8.92            $0.01         0.11%
   2/27/2019          $9.10         $9.11            $0.01         0.11%
   2/28/2019          $9.24         $9.25            $0.01         0.11%
    3/1/2019          $9.28         $9.29            $0.01         0.11%
    3/4/2019          $9.19         $9.20            $0.01         0.11%
    3/5/2019          $9.15         $9.16            $0.01         0.11%
    3/6/2019          $9.17         $9.18            $0.01         0.11%
    3/7/2019          $8.66         $8.67            $0.01         0.12%
    3/8/2019          $8.64         $8.65            $0.01         0.12%
   3/11/2019          $9.10         $9.11            $0.01         0.11%
   3/12/2019          $8.84         $8.85            $0.01         0.11%
   3/13/2019          $9.05         $9.06            $0.01         0.11%
   3/14/2019          $8.90         $8.91            $0.01         0.11%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   3/15/2019          $8.87         $8.88            $0.01         0.11%
   3/18/2019          $9.25         $9.26            $0.01         0.11%
   3/19/2019          $9.03         $9.04            $0.01         0.11%
   3/20/2019          $8.77         $8.78            $0.01         0.11%
   3/21/2019          $8.43         $8.44            $0.01         0.12%
   3/22/2019          $8.21         $8.22            $0.01         0.12%
   3/25/2019          $8.16         $8.17            $0.01         0.12%
   3/26/2019          $8.27         $8.28            $0.01         0.12%
   3/27/2019          $8.46         $8.47            $0.01         0.12%
   3/28/2019          $8.17         $8.18            $0.01         0.12%
   3/29/2019          $8.12         $8.13            $0.01         0.12%
    4/1/2019          $8.54         $8.55            $0.01         0.12%
    4/2/2019          $8.50         $8.51            $0.01         0.12%
    4/3/2019          $8.58         $8.59            $0.01         0.12%
    4/4/2019          $8.50         $8.51            $0.01         0.12%
    4/5/2019          $8.35         $8.36            $0.01         0.12%
    4/8/2019          $8.31         $8.32            $0.01         0.12%
    4/9/2019          $8.23         $8.24            $0.01         0.12%
   4/10/2019          $8.20         $8.21            $0.01         0.12%
   4/11/2019          $8.39         $8.40            $0.01         0.12%
   4/12/2019          $8.60         $8.61            $0.01         0.12%
   4/15/2019          $8.63         $8.64            $0.01         0.12%
   4/16/2019          $8.85         $8.86            $0.01         0.11%
   4/17/2019          $8.92         $8.93            $0.01         0.11%
   4/18/2019          $8.76         $8.77            $0.01         0.11%
   4/22/2019          $8.75         $8.76            $0.01         0.11%
   4/23/2019          $8.53         $8.54            $0.01         0.12%
   4/24/2019          $8.50         $8.51            $0.01         0.12%
   4/25/2019          $8.35         $8.36            $0.01         0.12%
   4/26/2019          $8.19         $8.20            $0.01         0.12%
   4/29/2019          $8.31         $8.32            $0.01         0.12%
   4/30/2019          $8.27         $8.28            $0.01         0.12%
    5/1/2019          $8.15         $8.16            $0.01         0.12%
    5/2/2019          $8.23         $8.23            $0.00         0.00%
    5/3/2019          $8.21         $8.22            $0.01         0.12%
    5/6/2019          $8.10         $8.11            $0.01         0.12%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
    5/7/2019          $7.82         $7.83            $0.01         0.13%
    5/8/2019          $7.86         $7.87            $0.01         0.13%
    5/9/2019          $7.77         $7.78            $0.01         0.13%
   5/10/2019          $7.87         $7.88            $0.01         0.13%
   5/13/2019          $7.63         $7.64            $0.01         0.13%
   5/14/2019          $7.67         $7.68            $0.01         0.13%
   5/15/2019          $7.67         $7.68            $0.01         0.13%
   5/16/2019          $7.65         $7.66            $0.01         0.13%
   5/17/2019          $7.58         $7.59            $0.01         0.13%
   5/20/2019          $7.42         $7.43            $0.01         0.13%
   5/21/2019          $7.52         $7.53            $0.01         0.13%
   5/22/2019          $7.34         $7.35            $0.01         0.14%
   5/23/2019          $7.22         $7.23            $0.01         0.14%
   5/24/2019          $7.18         $7.19            $0.01         0.14%
   5/28/2019          $7.01         $7.02            $0.01         0.14%
   5/29/2019          $6.91         $6.92            $0.01         0.14%
   5/30/2019          $6.90         $6.91            $0.01         0.14%
   5/31/2019          $6.76         $6.77            $0.01         0.15%
    6/3/2019          $6.73         $6.74            $0.01         0.15%
    6/4/2019          $7.06         $7.07            $0.01         0.14%
    6/5/2019          $6.91         $6.92            $0.01         0.14%
    6/6/2019          $6.74         $6.75            $0.01         0.15%
    6/7/2019          $6.76         $6.77            $0.01         0.15%
   6/10/2019          $6.88         $6.89            $0.01         0.15%
   6/11/2019          $6.98         $6.99            $0.01         0.14%
   6/12/2019          $6.88         $6.89            $0.01         0.15%
   6/13/2019          $6.86         $6.87            $0.01         0.15%
   6/14/2019          $6.79         $6.80            $0.01         0.15%
   6/17/2019          $6.81         $6.82            $0.01         0.15%
   6/18/2019          $7.07         $7.08            $0.01         0.14%
   6/19/2019          $7.17         $7.18            $0.01         0.14%
   6/20/2019          $7.16         $7.17            $0.01         0.14%
   6/21/2019          $7.18         $7.19            $0.01         0.14%
   6/24/2019          $7.10         $7.11            $0.01         0.14%
   6/25/2019          $7.12         $7.13            $0.01         0.14%
   6/26/2019          $7.37         $7.38            $0.01         0.14%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   6/27/2019          $7.54         $7.55            $0.01         0.13%
   6/28/2019          $7.62         $7.63            $0.01         0.13%
    7/1/2019          $7.64         $7.65            $0.01         0.13%
    7/2/2019          $7.59         $7.60            $0.01         0.13%
    7/3/2019          $7.80         $7.81            $0.01         0.13%
    7/5/2019          $8.02         $8.03            $0.01         0.12%
    7/8/2019          $7.54         $7.55            $0.01         0.13%
    7/9/2019          $7.28         $7.29            $0.01         0.14%
   7/10/2019          $7.39         $7.40            $0.01         0.14%
   7/11/2019          $7.47         $7.48            $0.01         0.13%
   7/12/2019          $7.66         $7.67            $0.01         0.13%
   7/15/2019          $7.77         $7.78            $0.01         0.13%
   7/16/2019          $7.97         $7.98            $0.01         0.13%
   7/17/2019          $7.88         $7.89            $0.01         0.13%
   7/18/2019          $7.93         $7.94            $0.01         0.13%
   7/19/2019          $7.72         $7.73            $0.01         0.13%
   7/22/2019          $7.79         $7.80            $0.01         0.13%
   7/23/2019          $7.95         $7.96            $0.01         0.13%
   7/24/2019          $7.90         $7.91            $0.01         0.13%
   7/25/2019          $7.89         $7.90            $0.01         0.13%
   7/26/2019          $7.93         $7.94            $0.01         0.13%
   7/29/2019          $7.83         $7.84            $0.01         0.13%
   7/30/2019          $7.74         $7.75            $0.01         0.13%
   7/31/2019          $7.81         $7.82            $0.01         0.13%
    8/1/2019          $7.60         $7.61            $0.01         0.13%
    8/2/2019          $7.88         $7.89            $0.01         0.13%
    8/5/2019          $7.65         $7.66            $0.01         0.13%
    8/6/2019          $7.63         $7.64            $0.01         0.13%
    8/7/2019          $7.46         $7.47            $0.01         0.13%
    8/8/2019          $7.66         $7.67            $0.01         0.13%
    8/9/2019          $7.53         $7.54            $0.01         0.13%
   8/12/2019          $6.94         $6.95            $0.01         0.14%
   8/13/2019          $7.20         $7.21            $0.01         0.14%
   8/14/2019          $6.70         $6.71            $0.01         0.15%
   8/15/2019          $6.44         $6.45            $0.01         0.16%
   8/16/2019          $6.94         $6.95            $0.01         0.14%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   8/19/2019          $7.05         $7.06            $0.01         0.14%
   8/20/2019          $6.98         $6.99            $0.01         0.14%
   8/21/2019          $7.01         $7.02            $0.01         0.14%
   8/22/2019          $7.17         $7.18            $0.01         0.14%
   8/23/2019          $6.97         $6.98            $0.01         0.14%
   8/26/2019          $7.07         $7.08            $0.01         0.14%
   8/27/2019          $7.13         $7.14            $0.01         0.14%
   8/28/2019          $7.15         $7.16            $0.01         0.14%
   8/29/2019          $7.22         $7.23            $0.01         0.14%
   8/30/2019          $7.25         $7.26            $0.01         0.14%
    9/3/2019          $7.30         $7.31            $0.01         0.14%
    9/4/2019          $7.47         $7.48            $0.01         0.13%
    9/5/2019          $7.81         $7.82            $0.01         0.13%
    9/6/2019          $7.84         $7.85            $0.01         0.13%
    9/9/2019          $8.13         $8.14            $0.01         0.12%
   9/10/2019          $8.29         $8.30            $0.01         0.12%
   9/11/2019          $8.28         $8.29            $0.01         0.12%
   9/12/2019          $8.32         $8.33            $0.01         0.12%
   9/13/2019          $8.44         $8.45            $0.01         0.12%
   9/16/2019          $8.24         $8.25            $0.01         0.12%
   9/17/2019          $8.18         $8.19            $0.01         0.12%
   9/18/2019          $8.05         $8.06            $0.01         0.12%
   9/19/2019          $8.07         $8.08            $0.01         0.12%
   9/20/2019          $7.99         $8.00            $0.01         0.13%
   9/23/2019          $7.77         $7.78            $0.01         0.13%
   9/24/2019          $7.57         $7.58            $0.01         0.13%
   9/25/2019          $7.58         $7.59            $0.01         0.13%
   9/26/2019          $7.41         $7.42            $0.01         0.13%
   9/27/2019          $7.55         $7.56            $0.01         0.13%
   9/30/2019          $7.49         $7.50            $0.01         0.13%
   10/1/2019          $7.25         $7.26            $0.01         0.14%
   10/2/2019          $7.19         $7.20            $0.01         0.14%
   10/3/2019          $7.16         $7.17            $0.01         0.14%
   10/4/2019          $7.19         $7.20            $0.01         0.14%
   10/7/2019          $7.08         $7.09            $0.01         0.14%
   10/8/2019          $6.92         $6.93            $0.01         0.14%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
     Date            Last Bid      Last Ask        Spread ($)    Spread (%)
   10/9/2019          $6.94         $6.95            $0.01         0.14%
  10/10/2019          $7.13         $7.14            $0.01         0.14%
  10/11/2019          $7.47         $7.48            $0.01         0.13%
  10/14/2019          $7.55         $7.56            $0.01         0.13%
  10/15/2019          $7.78         $7.79            $0.01         0.13%
  10/16/2019          $7.84         $7.85            $0.01         0.13%
  10/17/2019          $7.90         $7.91            $0.01         0.13%
  10/18/2019          $7.93         $7.94            $0.01         0.13%
  10/21/2019          $8.08         $8.09            $0.01         0.12%
  10/22/2019          $7.91         $7.92            $0.01         0.13%
  10/23/2019          $7.99         $8.00            $0.01         0.13%
  10/24/2019          $7.89         $7.90            $0.01         0.13%
  10/25/2019          $7.96         $7.97            $0.01         0.13%
  10/28/2019          $8.04         $8.05            $0.01         0.12%
  10/29/2019          $7.97         $7.98            $0.01         0.13%
  10/30/2019          $7.37         $7.38            $0.01         0.14%
  10/31/2019          $7.25         $7.26            $0.01         0.14%
   11/1/2019          $7.37         $7.38            $0.01         0.14%
   11/4/2019          $7.65         $7.66            $0.01         0.13%
   11/5/2019          $7.61         $7.62            $0.01         0.13%
   11/6/2019          $7.64         $7.65            $0.01         0.13%
   11/7/2019          $7.76         $7.77            $0.01         0.13%
   11/8/2019          $7.62         $7.63            $0.01         0.13%
  11/11/2019          $7.60         $7.61            $0.01         0.13%
  11/12/2019          $7.63         $7.64            $0.01         0.13%
  11/13/2019          $7.29         $7.30            $0.01         0.14%
  11/14/2019          $7.21         $7.22            $0.01         0.14%
  11/15/2019          $7.30         $7.31            $0.01         0.14%
  11/18/2019          $7.34         $7.35            $0.01         0.14%
  11/19/2019          $7.33         $7.34            $0.01         0.14%
  11/20/2019          $7.29         $7.30            $0.01         0.14%
  11/21/2019          $7.38         $7.39            $0.01         0.14%
  11/22/2019          $7.35         $7.36            $0.01         0.14%
  11/25/2019          $7.37         $7.38            $0.01         0.14%
  11/26/2019          $7.28         $7.29            $0.01         0.14%
  11/27/2019          $7.35         $7.36            $0.01         0.14%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
  11/29/2019          $7.20         $7.21            $0.01         0.14%
   12/2/2019          $7.18         $7.19            $0.01         0.14%
   12/3/2019          $7.06         $7.07            $0.01         0.14%
   12/4/2019          $7.17         $7.18            $0.01         0.14%
   12/5/2019          $7.17         $7.18            $0.01         0.14%
   12/6/2019          $7.22         $7.23            $0.01         0.14%
   12/9/2019          $7.21         $7.22            $0.01         0.14%
  12/10/2019          $7.18         $7.19            $0.01         0.14%
  12/11/2019          $7.26         $7.27            $0.01         0.14%
  12/12/2019          $7.57         $7.58            $0.01         0.13%
  12/13/2019          $7.47         $7.48            $0.01         0.13%
  12/16/2019          $7.69         $7.70            $0.01         0.13%
  12/17/2019          $7.80         $7.81            $0.01         0.13%
  12/18/2019          $7.75         $7.76            $0.01         0.13%
  12/19/2019          $7.88         $7.89            $0.01         0.13%
  12/20/2019          $7.77         $7.78            $0.01         0.13%
  12/23/2019          $7.66         $7.67            $0.01         0.13%
  12/24/2019          $7.62         $7.63            $0.01         0.13%
  12/26/2019          $7.65         $7.66            $0.01         0.13%
  12/27/2019          $7.69         $7.70            $0.01         0.13%
  12/30/2019          $7.74         $7.75            $0.01         0.13%
  12/31/2019          $7.77         $7.78            $0.01         0.13%
    1/2/2020          $8.31         $8.32            $0.01         0.12%
    1/3/2020          $8.11         $8.12            $0.01         0.12%
    1/6/2020          $8.05         $8.06            $0.01         0.12%
    1/7/2020          $8.24         $8.25            $0.01         0.12%
    1/8/2020          $8.56         $8.57            $0.01         0.12%
    1/9/2020          $8.60         $8.61            $0.01         0.12%
   1/10/2020          $8.51         $8.52            $0.01         0.12%
   1/13/2020          $8.47         $8.48            $0.01         0.12%
   1/14/2020          $8.57         $8.58            $0.01         0.12%
   1/15/2020          $8.41         $8.42            $0.01         0.12%
   1/16/2020          $8.53         $8.54            $0.01         0.12%
   1/17/2020          $8.42         $8.43            $0.01         0.12%
   1/21/2020          $8.27         $8.28            $0.01         0.12%
   1/22/2020          $8.40         $8.41            $0.01         0.12%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample           DB        NYSE Sample
                    Spread ($)    Spread ($)        Spread (%)    Spread (%)
   Average            $0.01         $0.04             0.10%         0.12%
   Median             $0.01         $0.03             0.10%         0.09%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread ($)    Spread (%)
   1/23/2020           $8.55         $8.56            $0.01         0.12%
   1/24/2020           $8.56         $8.57            $0.01         0.12%
   1/27/2020           $8.53         $8.54            $0.01         0.12%
   1/28/2020           $8.66         $8.67            $0.01         0.12%
   1/29/2020           $8.76         $8.77            $0.01         0.11%
   1/30/2020           $9.28         $9.29            $0.01         0.11%
   1/31/2020           $9.14         $9.15            $0.01         0.11%
    2/3/2020           $8.96         $8.97            $0.01         0.11%
    2/4/2020           $8.99         $9.00            $0.01         0.11%
    2/5/2020           $9.11         $9.12            $0.01         0.11%
    2/6/2020          $10.35        $10.36            $0.01         0.10%
    2/7/2020          $10.40        $10.41            $0.01         0.10%
   2/10/2020          $10.31        $10.32            $0.01         0.10%
   2/11/2020          $10.50        $10.51            $0.01         0.10%
   2/12/2020          $10.85        $10.86            $0.01         0.09%
   2/13/2020          $11.02        $11.03            $0.01         0.09%
   2/14/2020          $11.03        $11.04            $0.01         0.09%
   2/18/2020          $10.71        $10.72            $0.01         0.09%
   2/19/2020          $10.67        $10.68            $0.01         0.09%
   2/20/2020          $10.67        $10.68            $0.01         0.09%
   2/21/2020          $10.24        $10.25            $0.01         0.10%
   2/24/2020           $9.64         $9.65            $0.01         0.10%
   2/25/2020           $9.33         $9.34            $0.01         0.11%
   2/26/2020           $9.44         $9.45            $0.01         0.11%
   2/27/2020           $8.98         $8.99            $0.01         0.11%
   2/28/2020           $8.72         $8.80            $0.08         0.91%
    3/2/2020           $8.59         $8.60            $0.01         0.12%
    3/3/2020           $8.13         $8.14            $0.01         0.12%
    3/4/2020           $8.20         $8.21            $0.01         0.12%
    3/5/2020           $7.75         $7.76            $0.01         0.13%
    3/6/2020           $7.58         $7.59            $0.01         0.13%
    3/9/2020           $6.60         $6.61            $0.01         0.15%
   3/10/2020           $6.96         $6.97            $0.01         0.14%
   3/11/2020           $6.50         $6.51            $0.01         0.15%
   3/12/2020           $5.52         $5.53            $0.01         0.18%
   3/13/2020           $5.97         $5.98            $0.01         0.17%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   3/16/2020          $5.47         $5.48            $0.01         0.18%
   3/17/2020          $5.78         $5.79            $0.01         0.17%
   3/18/2020          $5.56         $5.57            $0.01         0.18%
   3/19/2020          $5.86         $5.87            $0.01         0.17%
   3/20/2020          $5.75         $5.76            $0.01         0.17%
   3/23/2020          $5.84         $5.85            $0.01         0.17%
   3/24/2020          $6.58         $6.59            $0.01         0.15%
   3/25/2020          $6.88         $6.89            $0.01         0.15%
   3/26/2020          $6.99         $7.00            $0.01         0.14%
   3/27/2020          $6.46         $6.47            $0.01         0.15%
   3/30/2020          $6.51         $6.52            $0.01         0.15%
   3/31/2020          $6.42         $6.43            $0.01         0.16%
    4/1/2020          $5.95         $5.96            $0.01         0.17%
    4/2/2020          $6.02         $6.03            $0.01         0.17%
    4/3/2020          $5.89         $5.90            $0.01         0.17%
    4/6/2020          $6.38         $6.39            $0.01         0.16%
    4/7/2020          $6.64         $6.65            $0.01         0.15%
    4/8/2020          $6.53         $6.54            $0.01         0.15%
    4/9/2020          $6.69         $6.70            $0.01         0.15%
   4/13/2020          $6.51         $6.52            $0.01         0.15%
   4/14/2020          $6.84         $6.85            $0.01         0.15%
   4/15/2020          $6.23         $6.24            $0.01         0.16%
   4/16/2020          $6.22         $6.23            $0.01         0.16%
   4/17/2020          $6.54         $6.55            $0.01         0.15%
   4/20/2020          $6.33         $6.34            $0.01         0.16%
   4/21/2020          $6.08         $6.09            $0.01         0.16%
   4/22/2020          $6.08         $6.09            $0.01         0.16%
   4/23/2020          $6.17         $6.18            $0.01         0.16%
   4/24/2020          $5.94         $5.95            $0.01         0.17%
   4/27/2020          $6.68         $6.69            $0.01         0.15%
   4/28/2020          $6.85         $6.86            $0.01         0.15%
   4/29/2020          $7.67         $7.68            $0.01         0.13%
   4/30/2020          $7.41         $7.42            $0.01         0.13%
    5/1/2020          $7.15         $7.16            $0.01         0.14%
    5/4/2020          $7.05         $7.06            $0.01         0.14%
    5/5/2020          $6.97         $6.98            $0.01         0.14%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample           DB        NYSE Sample
                    Spread ($)    Spread ($)        Spread (%)    Spread (%)
   Average            $0.01         $0.04             0.10%         0.12%
   Median             $0.01         $0.03             0.10%         0.09%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread ($)    Spread (%)
    5/6/2020           $6.80         $6.81            $0.01         0.15%
    5/7/2020           $6.99         $7.00            $0.01         0.14%
    5/8/2020           $7.13         $7.14            $0.01         0.14%
   5/11/2020           $6.93         $6.94            $0.01         0.14%
   5/12/2020           $6.90         $6.91            $0.01         0.14%
   5/13/2020           $6.60         $6.61            $0.01         0.15%
   5/14/2020           $6.65         $6.66            $0.01         0.15%
   5/15/2020           $6.44         $6.45            $0.01         0.16%
   5/18/2020           $7.12         $7.13            $0.01         0.14%
   5/19/2020           $7.06         $7.07            $0.01         0.14%
   5/20/2020           $7.50         $7.51            $0.01         0.13%
   5/21/2020           $7.35         $7.36            $0.01         0.14%
   5/22/2020           $7.32         $7.33            $0.01         0.14%
   5/26/2020           $8.20         $8.21            $0.01         0.12%
   5/27/2020           $8.67         $8.68            $0.01         0.12%
   5/28/2020           $8.49         $8.50            $0.01         0.12%
   5/29/2020           $8.40         $8.41            $0.01         0.12%
    6/1/2020           $8.68         $8.69            $0.01         0.12%
    6/2/2020           $8.89         $8.90            $0.01         0.11%
    6/3/2020           $9.21         $9.22            $0.01         0.11%
    6/4/2020           $9.48         $9.49            $0.01         0.11%
    6/5/2020           $9.69         $9.70            $0.01         0.10%
    6/8/2020          $10.20        $10.21            $0.01         0.10%
    6/9/2020           $9.81         $9.82            $0.01         0.10%
   6/10/2020           $9.78         $9.79            $0.01         0.10%
   6/11/2020           $9.00         $9.01            $0.01         0.11%
   6/12/2020           $9.38         $9.39            $0.01         0.11%
   6/15/2020           $9.47         $9.48            $0.01         0.11%
   6/16/2020           $9.55         $9.56            $0.01         0.10%
   6/17/2020           $9.34         $9.35            $0.01         0.11%
   6/18/2020           $9.24         $9.25            $0.01         0.11%
   6/19/2020           $9.21         $9.22            $0.01         0.11%
   6/22/2020           $9.34         $9.35            $0.01         0.11%
   6/23/2020           $9.55         $9.56            $0.01         0.10%
   6/24/2020           $9.12         $9.13            $0.01         0.11%
   6/25/2020           $9.57         $9.58            $0.01         0.10%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample           DB        NYSE Sample
                    Spread ($)    Spread ($)        Spread (%)    Spread (%)
   Average            $0.01         $0.04             0.10%         0.12%
   Median             $0.01         $0.03             0.10%         0.09%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread ($)    Spread (%)
   6/26/2020           $8.99         $9.00            $0.01         0.11%
   6/29/2020           $9.45         $9.46            $0.01         0.11%
   6/30/2020           $9.52         $9.53            $0.01         0.10%
    7/1/2020           $9.31         $9.32            $0.01         0.11%
    7/2/2020           $9.53         $9.54            $0.01         0.10%
    7/6/2020           $9.94         $9.95            $0.01         0.10%
    7/7/2020           $9.82         $9.83            $0.01         0.10%
    7/8/2020           $9.99        $10.00            $0.01         0.10%
    7/9/2020           $9.72         $9.73            $0.01         0.10%
   7/10/2020          $10.09        $10.10            $0.01         0.10%
   7/13/2020           $9.73         $9.74            $0.01         0.10%
   7/14/2020          $10.01        $10.02            $0.01         0.10%
   7/15/2020          $10.18        $10.19            $0.01         0.10%
   7/16/2020          $10.03        $10.04            $0.01         0.10%
   7/17/2020           $9.96         $9.97            $0.01         0.10%
   7/20/2020          $10.17        $10.18            $0.01         0.10%
   7/21/2020           $9.73         $9.74            $0.01         0.10%
   7/22/2020           $9.83         $9.84            $0.01         0.10%
   7/23/2020           $9.62         $9.63            $0.01         0.10%
   7/24/2020           $9.60         $9.61            $0.01         0.10%
   7/27/2020           $9.54         $9.55            $0.01         0.10%
   7/28/2020           $9.44         $9.45            $0.01         0.11%
   7/29/2020           $9.21         $9.22            $0.01         0.11%
   7/30/2020           $9.00         $9.01            $0.01         0.11%
   7/31/2020           $8.92         $8.93            $0.01         0.11%
    8/3/2020           $9.22         $9.23            $0.01         0.11%
    8/4/2020           $9.24         $9.25            $0.01         0.11%
    8/5/2020           $9.34         $9.35            $0.01         0.11%
    8/6/2020           $9.22         $9.23            $0.01         0.11%
    8/7/2020           $9.21         $9.22            $0.01         0.11%
   8/10/2020           $9.41         $9.42            $0.01         0.11%
   8/11/2020           $9.56         $9.57            $0.01         0.10%
   8/12/2020           $9.69         $9.70            $0.01         0.10%
   8/13/2020           $9.55         $9.56            $0.01         0.10%
   8/14/2020           $9.52         $9.53            $0.01         0.10%
   8/17/2020           $9.46         $9.47            $0.01         0.11%



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Exhibit 10A
Deutsche Bank AG (US)
Bid Ask Spreads on the NYSE
Source: Bloomberg


                       DB        NYSE Sample          DB        NYSE Sample
                    Spread ($)    Spread ($)       Spread (%)    Spread (%)
   Average            $0.01         $0.04            0.10%         0.12%
   Median             $0.01         $0.03            0.10%         0.09%


                                      DB's Stock
      Date           Last Bid      Last Ask        Spread ($)    Spread (%)
   8/18/2020          $9.39         $9.40            $0.01         0.11%
   8/19/2020          $9.53         $9.54            $0.01         0.10%
   8/20/2020          $9.34         $9.35            $0.01         0.11%
   8/21/2020          $9.17         $9.18            $0.01         0.11%
   8/24/2020          $9.59         $9.60            $0.01         0.10%
   8/25/2020          $9.64         $9.65            $0.01         0.10%
   8/26/2020          $9.80         $9.81            $0.01         0.10%
   8/27/2020          $9.72         $9.73            $0.01         0.10%
   8/28/2020          $9.88         $9.89            $0.01         0.10%
   8/31/2020          $9.52         $9.53            $0.01         0.10%
    9/1/2020          $9.52         $9.53            $0.01         0.10%
    9/2/2020          $9.44         $9.45            $0.01         0.11%
    9/3/2020          $9.29         $9.30            $0.01         0.11%
    9/4/2020          $9.72         $9.73            $0.01         0.10%
    9/8/2020          $9.40         $9.41            $0.01         0.11%
    9/9/2020          $9.41         $9.42            $0.01         0.11%
   9/10/2020          $9.35         $9.36            $0.01         0.11%
   9/11/2020          $9.25         $9.26            $0.01         0.11%
   9/14/2020          $9.33         $9.34            $0.01         0.11%
   9/15/2020          $9.10         $9.11            $0.01         0.11%
   9/16/2020          $9.29         $9.30            $0.01         0.11%
   9/17/2020          $9.24         $9.25            $0.01         0.11%
   9/18/2020          $9.08         $9.09            $0.01         0.11%




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Exhibit 10B
Deutsche Bank AG (US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                            Company
ANF US Equity               ABERCROMBIE & FI
WMS US Equity               ADVANCED DRAINAG
AER US Equity               AERCAP HOLDINGS
AJRD US Equity              AEROJET ROCKETDY
Y US Equity                 ALLEGHANY CORP
ATI US Equity               ALLEGHENY TECH
AEL US Equity               AMER EQUITY INVT
AMN US Equity               AMN HEALTHCARE
AON US Equity               AON PLC-CLASS A
AIT US Equity               APPLIED INDU TEC
AROC US Equity              ARCHROCK INC
AORT US Equity              ARTIVION INC
ASH US Equity               ASHLAND GLOBAL H
ATTO US Equity              ATENTO SA
ALV US Equity               AUTOLIV INC
AXS US Equity               AXIS CAPITAL
BVH US Equity               BLUEGREEN VACATI
BCO US Equity               BRINK'S CO/THE
BMY US Equity               BRISTOL-MYER SQB
CADE US Equity              CADENCE BANK
CHGG US Equity              CHEGG INC
CGA US Equity               CHINA GREEN AGRI
C US Equity                 CITIGROUP INC
CLW US Equity               CLEARWATER
CLF US Equity               CLEVELAND-CLIFFS
DLX US Equity               DELUXE CORP
DSX US Equity               DIANA SHIPPING I
DFIN US Equity              DONNELLEY FINANC
DOV US Equity               DOVER CORP
DD US Equity                DUPONT DE NEMOUR
DY US Equity                DYCOM INDS
KODK US Equity              EASTMAN KODAK CO
ETN US Equity               EATON CORP PLC
EXPR US Equity              EXPRESS INC
RACE US Equity              FERRARI NV
FCF US Equity               FIRST COMMON FIN
FLO US Equity               FLOWERS FOODS
FNB US Equity               FNB CORP
FL US Equity                FOOT LOCKER INC
F US Equity                 FORD MOTOR CO
BEN US Equity               FRANKLIN RES INC
FSK US Equity               FS KKR CAPITAL C



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Exhibit 10B
Deutsche Bank AG (US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                            Company
GCP US Equity               GCP APPLIED TECH
GM US Equity                GENERAL MOTORS C
HAL US Equity               HALLIBURTON CO
HLX US Equity               HELIX ENERGY SOL
HRTG US Equity              HERITAGE INSURAN
HD US Equity                HOME DEPOT INC
HII US Equity               HUNTINGTON INGAL
NGVT US Equity              INGEVITY CORP
SJM US Equity               JM SMUCKER CO
KNX US Equity               KNIGHT-SWIFT TRA
KR US Equity                KROGER CO
LPI US Equity               LAREDO PETROLEUM
LIN US Equity               LINDE PLC
LNN US Equity               LINDSAY CORP
LUMN US Equity              LUMEN TECHNOLOGI
MANU US Equity              MANCHESTER UNI-A
MAN US Equity               MANPOWERGROUP IN
MET US Equity               METLIFE INC
NFG US Equity               NATL FUEL GAS CO
NLS US Equity               NAUTILUS INC
NVGS US Equity              NAVIGATOR HOLDIN
NNI US Equity               NELNET INC-CL A
NEWR US Equity              NEW RELIC INC
NEU US Equity               NEWMARKET CORP
NEM US Equity               NEWMONT CORP
NEE US Equity               NEXTERA ENERGY
OXY US Equity               OCCIDENTAL PETE
OI US Equity                O-I GLASS INC
ODC US Equity               OIL DRI CORP
PFSI US Equity              PENNYMAC FINANCI
PCG US Equity               PG&E CORP
PJT US Equity               PJT PARTNERS - A
PRLB US Equity              PROTO LABS INC
DGX US Equity               QUEST DIAGNOSTIC
RYAM US Equity              RAYONIER ADV
ROK US Equity               ROCKWELL AUTOMAT
ROL US Equity               ROLLINS INC
RPM US Equity               RPM INTL INC
SBH US Equity               SALLY BEAUTY HOL
SAR US Equity               SARATOGA INVESTM
SXT US Equity               SENSIENT TECHNOL
SHW US Equity               SHERWIN-WILLIAMS



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Exhibit 10B
Deutsche Bank AG (US)
Companies Used for Bid Ask Spread Analysis on the NYSE

     Bloomberg Symbol                            Company
TSLX US Equity              SIXTH STREET SPE
TRC US Equity               TEJON RANCH CO
TFX US Equity               TELEFLEX INC
TJX US Equity               TJX COS INC
TR US Equity                TOOTSIE ROLL IND
TROX US Equity              TRONOX HOLDING-A
TWLO US Equity              TWILIO INC - A
UI US Equity                UBIQUITI INC
UGI US Equity               UGI CORP
UTL US Equity               UNITIL CORP
VSH US Equity               VISHAY INTERTECH
VST US Equity               VISTRA CORP
WTS US Equity               WATTS WATER TE-A
W US Equity                 WAYFAIR INC- A
WFC US Equity               WELLS FARGO & CO
WWE US Equity               WORLD WRESTLIN-A




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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   3/14/2017         € 16.21        € 16.23           € 0.02        0.12%
   3/15/2017         € 16.12        € 16.31           € 0.20        1.21%
   3/16/2017         € 16.22        € 16.27           € 0.05        0.30%
   3/17/2017         € 15.86        € 15.90           € 0.04        0.24%
   3/20/2017         € 15.26        € 15.28           € 0.02        0.12%
   3/21/2017         € 15.83        € 15.87           € 0.04        0.27%
   3/22/2017         € 15.78        € 15.83           € 0.05        0.34%
   3/23/2017         € 15.67        € 15.72           € 0.05        0.34%
   3/24/2017         € 15.51        € 15.56           € 0.06        0.36%
   3/27/2017         € 15.57        € 15.63           € 0.06        0.38%
   3/28/2017         € 16.04        € 16.11           € 0.07        0.41%
   3/29/2017         € 16.13        € 16.22           € 0.09        0.55%
   3/30/2017         € 16.13        € 16.20           € 0.07        0.41%
   3/31/2017         € 16.03        € 16.11           € 0.08        0.47%
    4/3/2017         € 15.62        € 15.64           € 0.02        0.13%
    4/4/2017         € 15.57        € 15.61           € 0.04        0.26%
    4/5/2017         € 15.45        € 15.55           € 0.10        0.65%
    4/6/2017         € 15.61        € 15.62           € 0.02        0.12%
    4/7/2017         € 15.53        € 15.59           € 0.06        0.38%
   4/10/2017         € 15.55        € 15.58           € 0.03        0.18%
   4/11/2017         € 15.39        € 15.40           € 0.01        0.06%
   4/12/2017         € 15.20        € 15.22           € 0.02        0.13%
   4/13/2017         € 14.96        € 15.00           € 0.03        0.23%
   4/18/2017         € 14.89        € 14.91           € 0.02        0.11%
   4/19/2017         € 14.99        € 15.02           € 0.03        0.21%
   4/20/2017         € 15.42        € 15.44           € 0.03        0.16%
   4/21/2017         € 15.45        € 15.50           € 0.05        0.30%
   4/24/2017         € 16.91        € 16.94           € 0.03        0.17%
   4/25/2017         € 16.91        € 16.96           € 0.05        0.31%
   4/26/2017         € 17.29        € 17.33           € 0.04        0.21%
   4/27/2017         € 16.70        € 16.72           € 0.02        0.10%
   4/28/2017         € 16.54        € 16.55           € 0.01        0.06%
    5/2/2017         € 16.73        € 16.77           € 0.04        0.26%
    5/3/2017         € 16.91        € 16.94           € 0.03        0.18%
    5/4/2017         € 17.10        € 17.12           € 0.02        0.13%
    5/5/2017         € 17.57        € 17.58           € 0.01        0.06%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
    5/8/2017         € 17.42        € 17.46           € 0.04        0.24%
    5/9/2017         € 17.35        € 17.37           € 0.02        0.09%
   5/10/2017         € 17.45        € 17.51           € 0.06        0.34%
   5/11/2017         € 17.31        € 17.32           € 0.02        0.10%
   5/12/2017         € 17.18        € 17.23           € 0.04        0.24%
   5/15/2017         € 17.36        € 17.38           € 0.02        0.12%
   5/16/2017         € 17.38        € 17.40           € 0.02        0.10%
   5/17/2017         € 16.75        € 16.78           € 0.03        0.16%
   5/18/2017         € 16.82        € 16.89           € 0.07        0.42%
   5/19/2017         € 17.04        € 17.07           € 0.04        0.21%
   5/22/2017         € 16.99        € 17.03           € 0.03        0.19%
   5/23/2017         € 17.19        € 17.22           € 0.03        0.20%
   5/24/2017         € 16.91        € 16.95           € 0.04        0.21%
   5/25/2017         € 16.80        € 16.84           € 0.04        0.24%
   5/26/2017         € 16.52        € 16.53           € 0.01        0.08%
   5/29/2017         € 16.39        € 16.44           € 0.05        0.31%
   5/30/2017         € 16.08        € 16.10           € 0.02        0.12%
   5/31/2017         € 15.58        € 15.59           € 0.01        0.06%
    6/1/2017         € 15.74        € 15.75           € 0.01        0.08%
    6/2/2017         € 15.65        € 15.70           € 0.05        0.31%
    6/5/2017         € 15.62        € 15.66           € 0.04        0.29%
    6/6/2017         € 15.31        € 15.36           € 0.05        0.33%
    6/7/2017         € 15.49        € 15.52           € 0.03        0.21%
    6/8/2017         € 15.60        € 15.65           € 0.05        0.35%
    6/9/2017         € 15.78        € 15.81           € 0.03        0.18%
   6/12/2017         € 15.50        € 15.51           € 0.01        0.06%
   6/13/2017         € 15.56        € 15.63           € 0.07        0.42%
   6/14/2017         € 15.38        € 15.43           € 0.05        0.31%
   6/15/2017         € 15.11        € 15.12           € 0.01        0.07%
   6/16/2017         € 15.01        € 15.04           € 0.03        0.19%
   6/19/2017         € 15.42        € 15.44           € 0.02        0.13%
   6/20/2017         € 15.18        € 15.19           € 0.01        0.07%
   6/21/2017         € 15.13        € 15.17           € 0.04        0.26%
   6/22/2017         € 15.02        € 15.05           € 0.03        0.23%
   6/23/2017         € 14.90        € 14.92           € 0.02        0.12%
   6/26/2017         € 15.07        € 15.09           € 0.02        0.10%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   6/27/2017         € 15.42        € 15.44           € 0.02        0.10%
   6/28/2017         € 15.73        € 15.78           € 0.05        0.32%
   6/29/2017         € 15.80        € 15.83           € 0.03        0.16%
   6/30/2017         € 15.57        € 15.61           € 0.03        0.21%
    7/3/2017         € 16.00        € 16.05           € 0.05        0.30%
    7/4/2017         € 16.29        € 16.31           € 0.02        0.14%
    7/5/2017         € 16.42        € 16.47           € 0.05        0.30%
    7/6/2017         € 16.58        € 16.59           € 0.01        0.06%
    7/7/2017         € 16.68        € 16.71           € 0.03        0.18%
   7/10/2017         € 16.65        € 16.66           € 0.00        0.02%
   7/11/2017         € 16.61        € 16.65           € 0.04        0.27%
   7/12/2017         € 16.47        € 16.48           € 0.01        0.06%
   7/13/2017         € 16.54        € 16.59           € 0.04        0.27%
   7/14/2017         € 16.44        € 16.45           € 0.01        0.09%
   7/17/2017         € 16.34        € 16.38           € 0.04        0.22%
   7/18/2017         € 15.99        € 16.00           € 0.01        0.08%
   7/19/2017         € 15.93        € 15.96           € 0.03        0.18%
   7/20/2017         € 15.85        € 15.88           € 0.03        0.20%
   7/21/2017         € 15.58        € 15.62           € 0.04        0.26%
   7/24/2017         € 16.04        € 16.07           € 0.03        0.17%
   7/25/2017         € 16.37        € 16.41           € 0.04        0.25%
   7/26/2017         € 16.27        € 16.31           € 0.04        0.28%
   7/27/2017         € 15.43        € 15.45           € 0.02        0.16%
   7/28/2017         € 15.47        € 15.51           € 0.04        0.23%
   7/31/2017         € 15.11        € 15.12           € 0.01        0.07%
    8/1/2017         € 15.36        € 15.39           € 0.03        0.19%
    8/2/2017         € 15.17        € 15.19           € 0.02        0.16%
    8/3/2017         € 15.19        € 15.24           € 0.05        0.34%
    8/4/2017         € 15.57        € 15.58           € 0.01        0.06%
    8/7/2017         € 15.49        € 15.51           € 0.02        0.14%
    8/8/2017         € 15.32        € 15.37           € 0.05        0.33%
    8/9/2017         € 14.93        € 14.97           € 0.04        0.27%
   8/10/2017         € 14.29        € 14.34           € 0.04        0.31%
   8/11/2017         € 14.37        € 14.45           € 0.08        0.54%
   8/14/2017         € 14.65        € 14.69           € 0.03        0.22%
   8/15/2017         € 14.61        € 14.65           € 0.04        0.27%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   8/16/2017         € 14.47        € 14.52           € 0.05        0.34%
   8/17/2017         € 14.00        € 14.05           € 0.04        0.31%
   8/18/2017         € 14.05        € 14.05           € 0.00        0.03%
   8/21/2017         € 13.69        € 13.73           € 0.04        0.30%
   8/22/2017         € 13.84        € 13.86           € 0.02        0.18%
   8/23/2017         € 13.75        € 13.78           € 0.03        0.18%
   8/24/2017         € 13.77        € 13.82           € 0.04        0.32%
   8/25/2017         € 13.78        € 13.81           € 0.02        0.18%
   8/28/2017         € 13.68        € 13.69           € 0.01        0.06%
   8/29/2017         € 13.40        € 13.45           € 0.05        0.34%
   8/30/2017         € 13.48        € 13.49           € 0.01        0.07%
   8/31/2017         € 13.45        € 13.46           € 0.01        0.07%
    9/1/2017         € 13.51        € 13.54           € 0.03        0.22%
    9/4/2017         € 13.46        € 13.49           € 0.04        0.27%
    9/5/2017         € 13.14        € 13.17           € 0.03        0.25%
    9/6/2017         € 13.43        € 13.46           € 0.03        0.22%
    9/7/2017         € 13.26        € 13.30           € 0.04        0.29%
    9/8/2017         € 13.30        € 13.33           € 0.03        0.20%
   9/11/2017         € 13.66        € 13.69           € 0.03        0.20%
   9/12/2017         € 14.22        € 14.24           € 0.02        0.14%
   9/13/2017         € 14.10        € 14.16           € 0.06        0.41%
   9/14/2017         € 13.99        € 14.03           € 0.04        0.31%
   9/15/2017         € 13.84        € 13.86           € 0.02        0.12%
   9/18/2017         € 13.82        € 13.87           € 0.05        0.33%
   9/19/2017         € 13.79        € 13.83           € 0.04        0.28%
   9/20/2017         € 13.73        € 13.74           € 0.01        0.07%
   9/21/2017         € 13.98        € 14.00           € 0.02        0.14%
   9/22/2017         € 13.91        € 13.94           € 0.03        0.22%
   9/25/2017         € 13.53        € 13.57           € 0.04        0.30%
   9/26/2017         € 13.60        € 13.61           € 0.01        0.07%
   9/27/2017         € 14.12        € 14.13           € 0.01        0.08%
   9/28/2017         € 14.40        € 14.44           € 0.04        0.25%
   9/29/2017         € 14.60        € 14.64           € 0.04        0.27%
   10/2/2017         € 14.53        € 14.56           € 0.02        0.15%
   10/3/2017         € 14.50        € 14.58           € 0.08        0.55%
   10/4/2017         € 14.29        € 14.31           € 0.02        0.15%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
     Date            Last Bid      Last Ask         Spread (€)    Spread (%)
   10/5/2017         € 14.68        € 14.71           € 0.03        0.18%
   10/6/2017         € 14.67        € 14.70           € 0.03        0.19%
   10/9/2017         € 14.38        € 14.39           € 0.01        0.08%
  10/10/2017         € 14.36        € 14.38           € 0.02        0.12%
  10/11/2017         € 14.25        € 14.27           € 0.02        0.14%
  10/12/2017         € 14.12        € 14.13           € 0.01        0.07%
  10/13/2017         € 14.03        € 14.05           € 0.03        0.19%
  10/16/2017         € 14.15        € 14.18           € 0.03        0.21%
  10/17/2017         € 14.19        € 14.23           € 0.04        0.25%
  10/18/2017         € 14.35        € 14.38           € 0.03        0.21%
  10/19/2017         € 14.23        € 14.26           € 0.03        0.20%
  10/20/2017         € 14.41        € 14.44           € 0.03        0.21%
  10/23/2017         € 14.14        € 14.19           € 0.04        0.31%
  10/24/2017         € 14.61        € 14.64           € 0.03        0.21%
  10/25/2017         € 14.51        € 14.54           € 0.03        0.20%
  10/26/2017         € 14.36        € 14.38           € 0.02        0.15%
  10/27/2017         € 14.06        € 14.10           € 0.04        0.28%
  10/30/2017         € 13.96        € 13.99           € 0.04        0.27%
  10/31/2017         € 13.97        € 14.05           € 0.07        0.54%
   11/1/2017         € 14.19        € 14.23           € 0.04        0.30%
   11/2/2017         € 14.61        € 14.66           € 0.05        0.37%
   11/3/2017         € 14.44        € 14.49           € 0.05        0.37%
   11/6/2017         € 14.48        € 14.52           € 0.04        0.30%
   11/7/2017         € 14.40        € 14.45           € 0.05        0.33%
   11/8/2017         € 14.65        € 14.70           € 0.04        0.29%
   11/9/2017         € 14.94        € 14.96           € 0.02        0.13%
  11/10/2017         € 15.41        € 15.42           € 0.01        0.07%
  11/13/2017         € 15.35        € 15.40           € 0.05        0.34%
  11/14/2017         € 15.42        € 15.46           € 0.04        0.26%
  11/15/2017         € 15.70        € 15.73           € 0.03        0.18%
  11/16/2017         € 16.16        € 16.20           € 0.04        0.26%
  11/17/2017         € 16.20        € 16.24           € 0.03        0.22%
  11/20/2017         € 16.30        € 16.34           € 0.04        0.26%
  11/21/2017         € 16.18        € 16.21           € 0.03        0.17%
  11/22/2017         € 16.01        € 16.02           € 0.01        0.09%
  11/23/2017         € 15.95        € 15.99           € 0.05        0.29%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
  11/24/2017         € 16.03        € 16.07           € 0.04         0.26%
  11/27/2017         € 15.78        € 15.78           € 0.00         0.00%
  11/28/2017         € 15.90        € 15.96           € 0.06         0.36%
  11/29/2017         € 16.00        € 16.02           € 0.02         0.10%
  11/30/2017         € 15.82        € 15.88           € 0.06         0.35%
   12/1/2017         € 15.90        € 15.96           € 0.06         0.36%
   12/4/2017         € 16.09        € 16.13           € 0.04         0.25%
   12/5/2017         € 15.89        € 15.89           € 0.01         0.06%
   12/6/2017         € 15.71        € 15.71           € 0.01         0.03%
   12/7/2017         € 15.94        € 15.99           € 0.05         0.29%
   12/8/2017         € 16.42        € 16.48           € 0.06         0.35%
  12/11/2017         € 16.38        € 16.43           € 0.05         0.29%
  12/12/2017         € 16.50        € 16.50           € 0.00        -0.01%
  12/13/2017         € 16.38        € 16.39           € 0.02         0.10%
  12/14/2017         € 16.30        € 16.32           € 0.02         0.14%
  12/15/2017         € 16.53        € 16.54           € 0.01         0.07%
  12/18/2017         € 17.03        € 17.08           € 0.06         0.33%
  12/19/2017         € 16.75        € 16.80           € 0.05         0.29%
  12/20/2017         € 16.60        € 16.62           € 0.02         0.11%
  12/21/2017         € 16.56        € 16.59           € 0.03         0.20%
  12/22/2017         € 16.34        € 16.37           € 0.03         0.17%
  12/27/2017         € 16.03        € 16.04           € 0.01         0.09%
  12/28/2017         € 15.98        € 16.00           € 0.02         0.11%
  12/29/2017         € 15.85        € 15.85           € 0.00         0.00%
    1/2/2018         € 16.01        € 16.04           € 0.03         0.19%
    1/3/2018         € 15.93        € 15.96           € 0.03         0.20%
    1/4/2018         € 16.36        € 16.39           € 0.03         0.21%
    1/5/2018         € 15.37        € 15.43           € 0.05         0.35%
    1/8/2018         € 15.29        € 15.33           € 0.04         0.26%
    1/9/2018         € 15.15        € 15.20           € 0.05         0.30%
   1/10/2018         € 15.49        € 15.52           € 0.03         0.18%
   1/11/2018         € 15.41        € 15.43           € 0.02         0.13%
   1/12/2018         € 15.30        € 15.31           € 0.02         0.10%
   1/15/2018         € 15.33        € 15.39           € 0.06         0.40%
   1/16/2018         € 15.06        € 15.12           € 0.06         0.40%
   1/17/2018         € 15.13        € 15.19           € 0.06         0.40%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   1/18/2018         € 15.17        € 15.19           € 0.02        0.11%
   1/19/2018         € 15.31        € 15.34           € 0.03        0.18%
   1/22/2018         € 15.81        € 15.83           € 0.02        0.13%
   1/23/2018         € 15.82        € 15.88           € 0.06        0.35%
   1/24/2018         € 15.89        € 15.96           € 0.07        0.43%
   1/25/2018         € 15.79        € 15.85           € 0.06        0.37%
   1/26/2018         € 15.70        € 15.74           € 0.04        0.25%
   1/29/2018         € 15.44        € 15.47           € 0.03        0.18%
   1/30/2018         € 14.82        € 14.87           € 0.05        0.35%
   1/31/2018         € 14.80        € 14.80           € 0.01        0.04%
    2/1/2018         € 14.84        € 14.87           € 0.03        0.20%
    2/2/2018         € 13.70        € 13.76           € 0.06        0.44%
    2/5/2018         € 13.21        € 13.27           € 0.06        0.47%
    2/6/2018         € 13.32        € 13.36           € 0.04        0.30%
    2/7/2018         € 13.13        € 13.15           € 0.02        0.12%
    2/8/2018         € 12.66        € 12.67           € 0.01        0.08%
    2/9/2018         € 12.71        € 12.76           € 0.04        0.35%
   2/12/2018         € 13.07        € 13.07           € 0.00        0.00%
   2/13/2018         € 12.88        € 12.90           € 0.02        0.12%
   2/14/2018         € 13.03        € 13.07           € 0.05        0.35%
   2/15/2018         € 12.87        € 12.92           € 0.05        0.40%
   2/16/2018         € 12.92        € 12.96           € 0.04        0.29%
   2/19/2018         € 13.24        € 13.30           € 0.06        0.45%
   2/20/2018         € 13.31        € 13.36           € 0.05        0.38%
   2/21/2018         € 13.50        € 13.52           € 0.02        0.18%
   2/22/2018         € 13.35        € 13.37           € 0.03        0.21%
   2/23/2018         € 13.34        € 13.39           € 0.05        0.37%
   2/26/2018         € 13.36        € 13.42           € 0.06        0.42%
   2/27/2018         € 13.36        € 13.43           € 0.07        0.49%
   2/28/2018         € 13.07        € 13.09           € 0.02        0.18%
    3/1/2018         € 12.80        € 12.83           € 0.04        0.30%
    3/2/2018         € 12.77        € 12.83           € 0.05        0.41%
    3/5/2018         € 12.90        € 12.93           € 0.02        0.19%
    3/6/2018         € 12.91        € 12.96           € 0.05        0.37%
    3/7/2018         € 13.12        € 13.16           € 0.04        0.27%
    3/8/2018         € 13.06        € 13.11           € 0.05        0.41%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 275 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
    3/9/2018         € 13.08        € 13.11           € 0.03        0.23%
   3/12/2018         € 13.00        € 13.06           € 0.06        0.46%
   3/13/2018         € 12.79        € 12.84           € 0.05        0.36%
   3/14/2018         € 12.68        € 12.74           € 0.06        0.49%
   3/15/2018         € 12.77        € 12.83           € 0.06        0.48%
   3/16/2018         € 12.84        € 12.89           € 0.05        0.40%
   3/19/2018         € 12.60        € 12.66           € 0.06        0.49%
   3/20/2018         € 12.68        € 12.72           € 0.04        0.35%
   3/21/2018         € 12.01        € 12.07           € 0.06        0.48%
   3/22/2018         € 11.50        € 11.53           € 0.02        0.21%
   3/23/2018         € 11.15        € 11.18           € 0.04        0.32%
   3/26/2018         € 11.29        € 11.30           € 0.01        0.09%
   3/27/2018         € 11.09        € 11.13           € 0.04        0.34%
   3/28/2018         € 11.17        € 11.21           € 0.04        0.36%
   3/29/2018         € 11.36        € 11.39           € 0.03        0.23%
    4/3/2018         € 11.17        € 11.21           € 0.04        0.36%
    4/4/2018         € 11.28        € 11.31           € 0.03        0.27%
    4/5/2018         € 11.67        € 11.73           € 0.06        0.50%
    4/6/2018         € 11.27        € 11.30           € 0.03        0.28%
    4/9/2018         € 11.37        € 11.40           € 0.03        0.28%
   4/10/2018         € 11.40        € 11.42           € 0.02        0.19%
   4/11/2018         € 11.46        € 11.50           € 0.04        0.37%
   4/12/2018         € 11.66        € 11.72           € 0.06        0.48%
   4/13/2018         € 11.63        € 11.69           € 0.06        0.50%
   4/16/2018         € 11.59        € 11.62           € 0.03        0.22%
   4/17/2018         € 11.62        € 11.65           € 0.03        0.22%
   4/18/2018         € 11.68        € 11.70           € 0.03        0.24%
   4/19/2018         € 11.68        € 11.74           € 0.06        0.50%
   4/20/2018         € 11.57        € 11.61           € 0.04        0.33%
   4/23/2018         € 11.65        € 11.70           € 0.05        0.39%
   4/24/2018         € 12.05        € 12.11           € 0.05        0.45%
   4/25/2018         € 11.98        € 12.03           € 0.05        0.45%
   4/26/2018         € 11.84        € 11.89           € 0.04        0.35%
   4/27/2018         € 11.42        € 11.45           € 0.03        0.28%
   4/30/2018         € 11.31        € 11.34           € 0.03        0.28%
    5/2/2018         € 11.40        € 11.43           € 0.03        0.30%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 276 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample           DB        Xetra Sample
                    Spread (€)    Spread (€)         Spread (%)    Spread (%)
   Average            € 0.03        € 0.22             0.26%         1.78%
   Median             € 0.02        € 0.21             0.24%         1.52%


                                        DB's Stock
      Date           Last Bid      Last Ask          Spread (€)    Spread (%)
    5/3/2018         € 11.34        € 11.38            € 0.05        0.40%
    5/4/2018         € 11.53        € 11.54            € 0.01        0.09%
    5/7/2018         € 11.52        € 11.58            € 0.05        0.47%
    5/8/2018         € 11.43        € 11.47            € 0.04        0.35%
    5/9/2018         € 11.59        € 11.63            € 0.04        0.33%
   5/10/2018         € 11.62        € 11.68            € 0.06        0.50%
   5/11/2018         € 11.59        € 11.64            € 0.05        0.40%
   5/14/2018         € 11.42        € 11.46            € 0.05        0.40%
   5/15/2018         € 11.22        € 11.24            € 0.02        0.18%
   5/16/2018         € 10.99        € 11.03            € 0.04        0.35%
   5/17/2018         € 11.01        € 11.04            € 0.04        0.33%
   5/18/2018         € 10.79        € 10.84            € 0.05        0.48%
   5/21/2018         € 10.84        € 10.90            € 0.06        0.55%
   5/22/2018         € 10.99        € 11.02            € 0.03        0.29%
   5/23/2018         € 10.99        € 10.99            € 0.00        0.02%
   5/24/2018         € 10.50        € 10.53            € 0.03        0.32%
   5/25/2018         € 10.38        € 10.39            € 0.01        0.10%
   5/28/2018         € 10.32        € 10.32            € 0.00        0.04%
   5/29/2018          € 9.77         € 9.81            € 0.04        0.38%
   5/30/2018          € 9.91         € 9.95            € 0.04        0.43%
   5/31/2018          € 9.45         € 9.51            € 0.06        0.63%
    6/1/2018          € 9.48         € 9.51            € 0.02        0.26%
    6/4/2018          € 9.54         € 9.59            € 0.05        0.51%
    6/5/2018          € 9.40         € 9.45            € 0.05        0.57%
    6/6/2018          € 9.59         € 9.63            € 0.05        0.48%
    6/7/2018          € 9.74         € 9.79            € 0.05        0.51%
    6/8/2018          € 9.59         € 9.62            € 0.03        0.31%
   6/11/2018          € 9.70         € 9.73            € 0.03        0.30%
   6/12/2018          € 9.66         € 9.70            € 0.04        0.45%
   6/13/2018          € 9.62         € 9.68            € 0.06        0.60%
   6/14/2018          € 9.66         € 9.71            € 0.05        0.50%
   6/15/2018          € 9.53         € 9.59            € 0.06        0.61%
   6/18/2018          € 9.52         € 9.53            € 0.01        0.14%
   6/19/2018          € 9.59         € 9.66            € 0.07        0.73%
   6/20/2018          € 9.58         € 9.62            € 0.03        0.33%
   6/21/2018          € 9.36         € 9.42            € 0.06        0.61%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample           DB        Xetra Sample
                    Spread (€)    Spread (€)         Spread (%)    Spread (%)
   Average            € 0.03        € 0.22             0.26%         1.78%
   Median             € 0.02        € 0.21             0.24%         1.52%


                                        DB's Stock
      Date           Last Bid      Last Ask          Spread (€)    Spread (%)
   6/22/2018          € 9.45         € 9.46            € 0.01        0.13%
   6/25/2018          € 9.27         € 9.31            € 0.04        0.41%
   6/26/2018          € 9.23         € 9.28            € 0.05        0.52%
   6/27/2018          € 8.93         € 8.97            € 0.04        0.45%
   6/28/2018          € 9.09         € 9.10            € 0.01        0.08%
   6/29/2018          € 9.13         € 9.15            € 0.02        0.19%
    7/2/2018          € 9.16         € 9.16            € 0.00        0.00%
    7/3/2018          € 9.24         € 9.24            € 0.00        0.00%
    7/4/2018          € 9.35         € 9.38            € 0.04        0.37%
    7/5/2018          € 9.54         € 9.54            € 0.00        0.00%
    7/6/2018          € 9.77         € 9.80            € 0.03        0.31%
    7/9/2018          € 9.79         € 9.81            € 0.02        0.20%
   7/10/2018          € 9.72         € 9.73            € 0.01        0.06%
   7/11/2018          € 9.56         € 9.58            € 0.01        0.15%
   7/12/2018          € 9.59         € 9.61            € 0.03        0.29%
   7/13/2018          € 9.61         € 9.63            € 0.01        0.15%
   7/16/2018         € 10.38        € 10.40            € 0.02        0.19%
   7/17/2018         € 10.16        € 10.18            € 0.02        0.22%
   7/18/2018         € 10.34        € 10.37            € 0.03        0.27%
   7/19/2018         € 10.31        € 10.33            € 0.02        0.21%
   7/20/2018         € 10.26        € 10.26            € 0.01        0.06%
   7/23/2018         € 10.38        € 10.39            € 0.01        0.10%
   7/24/2018         € 10.52        € 10.52            € 0.00        0.00%
   7/25/2018         € 10.35        € 10.36            € 0.01        0.08%
   7/26/2018         € 10.46        € 10.48            € 0.02        0.23%
   7/27/2018         € 10.61        € 10.62            € 0.02        0.15%
   7/30/2018         € 10.91        € 10.93            € 0.02        0.18%
   7/31/2018         € 11.20        € 11.20            € 0.00        0.04%
    8/1/2018         € 11.11        € 11.11            € 0.01        0.07%
    8/2/2018         € 10.78        € 10.83            € 0.05        0.46%
    8/3/2018         € 10.82        € 10.82            € 0.00        0.00%
    8/6/2018         € 10.81        € 10.83            € 0.03        0.24%
    8/7/2018         € 10.91        € 10.92            € 0.01        0.11%
    8/8/2018         € 10.77        € 10.79            € 0.02        0.19%
    8/9/2018         € 10.74        € 10.76            € 0.02        0.22%
   8/10/2018         € 10.32        € 10.33            € 0.01        0.10%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 278 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample           DB        Xetra Sample
                    Spread (€)    Spread (€)         Spread (%)    Spread (%)
   Average            € 0.03        € 0.22             0.26%         1.78%
   Median             € 0.02        € 0.21             0.24%         1.52%


                                        DB's Stock
      Date           Last Bid      Last Ask          Spread (€)    Spread (%)
   8/13/2018         € 10.04        € 10.06            € 0.01        0.14%
   8/14/2018         € 10.10        € 10.12            € 0.02        0.22%
   8/15/2018          € 9.84         € 9.85            € 0.01        0.11%
   8/16/2018          € 9.87         € 9.88            € 0.01        0.06%
   8/17/2018          € 9.79         € 9.79            € 0.00        0.00%
   8/20/2018          € 9.76         € 9.79            € 0.02        0.21%
   8/21/2018          € 9.97         € 9.98            € 0.01        0.11%
   8/22/2018         € 10.00        € 10.01            € 0.01        0.06%
   8/23/2018          € 9.80         € 9.82            € 0.01        0.13%
   8/24/2018          € 9.79         € 9.81            € 0.01        0.14%
   8/27/2018         € 10.03        € 10.06            € 0.03        0.28%
   8/28/2018          € 9.86         € 9.88            € 0.02        0.21%
   8/29/2018          € 9.95         € 9.97            € 0.01        0.13%
   8/30/2018          € 9.73         € 9.75            € 0.03        0.26%
   8/31/2018          € 9.69         € 9.71            € 0.02        0.22%
    9/3/2018          € 9.76         € 9.78            € 0.03        0.26%
    9/4/2018          € 9.85         € 9.86            € 0.00        0.03%
    9/5/2018          € 9.88         € 9.90            € 0.02        0.22%
    9/6/2018          € 9.76         € 9.79            € 0.03        0.26%
    9/7/2018          € 9.60         € 9.63            € 0.03        0.28%
   9/10/2018          € 9.58         € 9.59            € 0.01        0.06%
   9/11/2018          € 9.68         € 9.70            € 0.02        0.21%
   9/12/2018          € 9.64         € 9.66            € 0.01        0.16%
   9/13/2018          € 9.72         € 9.74            € 0.02        0.24%
   9/14/2018          € 9.80         € 9.82            € 0.02        0.16%
   9/17/2018          € 9.85         € 9.87            € 0.03        0.27%
   9/18/2018          € 9.92         € 9.94            € 0.02        0.19%
   9/19/2018         € 10.23        € 10.23            € 0.00        0.00%
   9/20/2018         € 10.40        € 10.42            € 0.02        0.19%
   9/21/2018         € 10.48        € 10.50            € 0.02        0.19%
   9/24/2018         € 10.41        € 10.43            € 0.02        0.21%
   9/25/2018         € 10.33        € 10.35            € 0.02        0.21%
   9/26/2018         € 10.15        € 10.17            € 0.02        0.24%
   9/27/2018         € 10.14        € 10.16            € 0.02        0.18%
   9/28/2018          € 9.77         € 9.79            € 0.02        0.26%
   10/1/2018          € 9.73         € 9.73            € 0.00        0.00%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
     Date            Last Bid      Last Ask         Spread (€)    Spread (%)
   10/2/2018          € 9.63        € 9.64            € 0.01        0.13%
   10/3/2018          € 9.80        € 9.84            € 0.04        0.39%
   10/4/2018          € 9.72        € 9.73            € 0.01        0.07%
   10/5/2018          € 9.68        € 9.69            € 0.01        0.09%
   10/8/2018          € 9.59        € 9.61            € 0.02        0.25%
   10/9/2018          € 9.61        € 9.62            € 0.01        0.12%
  10/10/2018          € 9.49        € 9.50            € 0.01        0.13%
  10/11/2018          € 9.36        € 9.36            € 0.01        0.07%
  10/12/2018          € 9.38        € 9.41            € 0.03        0.31%
  10/15/2018          € 9.52        € 9.54            € 0.02        0.19%
  10/16/2018          € 9.62        € 9.66            € 0.04        0.37%
  10/17/2018          € 9.79        € 9.81            € 0.03        0.26%
  10/18/2018          € 9.57        € 9.59            € 0.02        0.25%
  10/19/2018          € 9.50        € 9.51            € 0.01        0.09%
  10/22/2018          € 9.35        € 9.37            € 0.02        0.21%
  10/23/2018          € 9.32        € 9.35            € 0.03        0.28%
  10/24/2018          € 8.78        € 8.80            € 0.02        0.18%
  10/25/2018          € 8.79        € 8.79            € 0.00        0.03%
  10/26/2018          € 8.48        € 8.50            € 0.02        0.28%
  10/29/2018          € 8.44        € 8.45            € 0.01        0.13%
  10/30/2018          € 8.60        € 8.66            € 0.06        0.65%
  10/31/2018          € 8.65        € 8.68            € 0.03        0.29%
   11/1/2018          € 8.99        € 9.02            € 0.03        0.31%
   11/2/2018          € 9.22        € 9.25            € 0.03        0.29%
   11/5/2018          € 9.18        € 9.19            € 0.01        0.09%
   11/6/2018          € 9.13        € 9.15            € 0.02        0.27%
   11/7/2018          € 9.26        € 9.27            € 0.01        0.05%
   11/8/2018          € 9.09        € 9.10            € 0.01        0.15%
   11/9/2018          € 8.92        € 8.94            € 0.02        0.18%
  11/12/2018          € 8.66        € 8.66            € 0.00        0.00%
  11/13/2018          € 8.75        € 8.77            € 0.02        0.27%
  11/14/2018          € 8.70        € 8.72            € 0.02        0.28%
  11/15/2018          € 8.68        € 8.71            € 0.03        0.35%
  11/16/2018          € 8.63        € 8.65            € 0.02        0.19%
  11/19/2018          € 8.52        € 8.53            € 0.01        0.14%
  11/20/2018          € 8.12        € 8.14            € 0.02        0.22%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
  11/21/2018          € 8.29        € 8.29            € 0.01        0.08%
  11/22/2018          € 8.23        € 8.25            € 0.01        0.17%
  11/23/2018          € 8.18        € 8.21            € 0.03        0.32%
  11/26/2018          € 8.59        € 8.60            € 0.01        0.08%
  11/27/2018          € 8.69        € 8.72            € 0.02        0.28%
  11/28/2018          € 8.67        € 8.67            € 0.00        0.05%
  11/29/2018          € 8.28        € 8.29            € 0.01        0.10%
  11/30/2018          € 8.10        € 8.11            € 0.01        0.14%
   12/3/2018          € 8.30        € 8.31            € 0.01        0.07%
   12/4/2018          € 8.00        € 8.02            € 0.02        0.27%
   12/5/2018          € 8.07        € 8.10            € 0.02        0.30%
   12/6/2018          € 7.85        € 7.87            € 0.03        0.32%
   12/7/2018          € 7.67        € 7.67            € 0.00        0.01%
  12/10/2018          € 7.37        € 7.38            € 0.01        0.14%
  12/11/2018          € 7.39        € 7.41            € 0.02        0.22%
  12/12/2018          € 7.96        € 7.99            € 0.03        0.36%
  12/13/2018          € 7.82        € 7.84            € 0.02        0.24%
  12/14/2018          € 7.77        € 7.79            € 0.02        0.24%
  12/17/2018          € 7.57        € 7.59            € 0.02        0.26%
  12/18/2018          € 7.63        € 7.64            € 0.01        0.09%
  12/19/2018          € 7.37        € 7.39            € 0.02        0.23%
  12/20/2018          € 7.01        € 7.03            € 0.02        0.28%
  12/21/2018          € 6.92        € 6.94            € 0.02        0.29%
  12/27/2018          € 6.81        € 6.84            € 0.02        0.34%
  12/28/2018          € 6.97        € 6.97            € 0.00        0.00%
    1/2/2019          € 7.21        € 7.22            € 0.01        0.18%
    1/3/2019          € 7.10        € 7.11            € 0.01        0.17%
    1/4/2019          € 7.44        € 7.47            € 0.02        0.34%
    1/7/2019          € 7.56        € 7.58            € 0.03        0.36%
    1/8/2019          € 7.64        € 7.66            € 0.02        0.27%
    1/9/2019          € 7.41        € 7.43            € 0.02        0.32%
   1/10/2019          € 7.49        € 7.51            € 0.02        0.23%
   1/11/2019          € 7.46        € 7.47            € 0.01        0.19%
   1/14/2019          € 7.45        € 7.48            € 0.03        0.39%
   1/15/2019          € 7.53        € 7.55            € 0.02        0.30%
   1/16/2019          € 8.10        € 8.15            € 0.05        0.62%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 281 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   1/17/2019          € 7.82        € 7.84            € 0.02        0.29%
   1/18/2019          € 8.01        € 8.02            € 0.01        0.07%
   1/21/2019          € 7.98        € 8.01            € 0.02        0.29%
   1/22/2019          € 7.79        € 7.80            € 0.01        0.14%
   1/23/2019          € 7.93        € 7.95            € 0.02        0.25%
   1/24/2019          € 7.81        € 7.83            € 0.02        0.23%
   1/25/2019          € 8.11        € 8.12            € 0.01        0.14%
   1/28/2019          € 8.09        € 8.14            € 0.05        0.62%
   1/29/2019          € 8.08        € 8.10            € 0.02        0.21%
   1/30/2019          € 8.10        € 8.11            € 0.01        0.17%
   1/31/2019          € 7.76        € 7.76            € 0.01        0.09%
    2/1/2019          € 7.72        € 7.73            € 0.01        0.09%
    2/4/2019          € 7.67        € 7.68            € 0.01        0.17%
    2/5/2019          € 7.80        € 7.82            € 0.02        0.23%
    2/6/2019          € 7.88        € 7.89            € 0.00        0.06%
    2/7/2019          € 7.39        € 7.41            € 0.02        0.27%
    2/8/2019          € 7.23        € 7.24            € 0.00        0.07%
   2/11/2019          € 7.37        € 7.38            € 0.01        0.11%
   2/12/2019          € 7.53        € 7.55            € 0.03        0.34%
   2/13/2019          € 7.56        € 7.57            € 0.01        0.17%
   2/14/2019          € 7.37        € 7.39            € 0.02        0.31%
   2/15/2019          € 7.76        € 7.77            € 0.01        0.17%
   2/18/2019          € 7.73        € 7.76            € 0.03        0.39%
   2/19/2019          € 7.57        € 7.60            € 0.02        0.29%
   2/20/2019          € 7.68        € 7.70            € 0.02        0.25%
   2/21/2019          € 7.62        € 7.63            € 0.01        0.14%
   2/22/2019          € 7.62        € 7.63            € 0.00        0.07%
   2/25/2019          € 7.71        € 7.74            € 0.03        0.34%
   2/26/2019          € 7.81        € 7.82            € 0.01        0.12%
   2/27/2019          € 8.01        € 8.02            € 0.01        0.12%
   2/28/2019          € 8.13        € 8.15            € 0.02        0.21%
    3/1/2019          € 8.18        € 8.20            € 0.02        0.24%
    3/4/2019          € 8.09        € 8.10            € 0.01        0.19%
    3/5/2019          € 8.07        € 8.08            € 0.02        0.19%
    3/6/2019          € 8.10        € 8.13            € 0.03        0.32%
    3/7/2019          € 7.75        € 7.76            € 0.01        0.15%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 282 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
    3/8/2019          € 7.69        € 7.71            € 0.01        0.17%
   3/11/2019          € 8.09        € 8.10            € 0.01        0.11%
   3/12/2019          € 7.85        € 7.88            € 0.03        0.38%
   3/13/2019          € 7.95        € 7.98            € 0.03        0.33%
   3/14/2019          € 7.87        € 7.89            € 0.02        0.29%
   3/15/2019          € 7.81        € 7.83            € 0.03        0.32%
   3/18/2019          € 8.12        € 8.14            € 0.02        0.25%
   3/19/2019          € 7.94        € 7.97            € 0.03        0.34%
   3/20/2019          € 7.68        € 7.70            € 0.02        0.21%
   3/21/2019          € 7.45        € 7.45            € 0.00        0.03%
   3/22/2019          € 7.27        € 7.29            € 0.03        0.34%
   3/25/2019          € 7.23        € 7.24            € 0.01        0.15%
   3/26/2019          € 7.33        € 7.36            € 0.03        0.38%
   3/27/2019          € 7.49        € 7.53            € 0.03        0.44%
   3/28/2019          € 7.28        € 7.30            € 0.03        0.36%
   3/29/2019          € 7.24        € 7.27            € 0.02        0.33%
    4/1/2019          € 7.60        € 7.63            € 0.02        0.33%
    4/2/2019          € 7.60        € 7.61            € 0.02        0.21%
    4/3/2019          € 7.63        € 7.64            € 0.01        0.10%
    4/4/2019          € 7.57        € 7.59            € 0.02        0.26%
    4/5/2019          € 7.45        € 7.47            € 0.02        0.34%
    4/8/2019          € 7.37        € 7.38            € 0.01        0.18%
    4/9/2019          € 7.30        € 7.31            € 0.01        0.16%
   4/10/2019          € 7.26        € 7.28            € 0.02        0.25%
   4/11/2019          € 7.46        € 7.46            € 0.00        0.07%
   4/12/2019          € 7.62        € 7.63            € 0.01        0.08%
   4/15/2019          € 7.63        € 7.65            € 0.02        0.25%
   4/16/2019          € 7.83        € 7.84            € 0.01        0.08%
   4/17/2019          € 7.88        € 7.89            € 0.01        0.14%
   4/18/2019          € 7.78        € 7.81            € 0.03        0.33%
   4/23/2019          € 7.59        € 7.62            € 0.03        0.36%
   4/24/2019          € 7.61        € 7.62            € 0.01        0.16%
   4/25/2019          € 7.52        € 7.54            € 0.02        0.31%
   4/26/2019          € 7.34        € 7.35            € 0.01        0.19%
   4/29/2019          € 7.42        € 7.42            € 0.00        0.01%
   4/30/2019          € 7.36        € 7.37            € 0.02        0.23%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 283 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
    5/2/2019          € 7.37        € 7.38            € 0.01        0.14%
    5/3/2019          € 7.34        € 7.35            € 0.01        0.14%
    5/6/2019          € 7.22        € 7.24            € 0.02        0.30%
    5/7/2019          € 7.00        € 7.00            € 0.00        0.06%
    5/8/2019          € 7.02        € 7.03            € 0.01        0.17%
    5/9/2019          € 6.91        € 6.94            € 0.02        0.33%
   5/10/2019          € 6.99        € 7.01            € 0.02        0.29%
   5/13/2019          € 6.79        € 6.80            € 0.01        0.18%
   5/14/2019          € 6.86        € 6.87            € 0.01        0.20%
   5/15/2019          € 6.84        € 6.86            € 0.02        0.36%
   5/16/2019          € 6.87        € 6.89            € 0.02        0.35%
   5/17/2019          € 6.80        € 6.81            € 0.00        0.07%
   5/20/2019          € 6.65        € 6.68            € 0.03        0.41%
   5/21/2019          € 6.72        € 6.74            € 0.02        0.33%
   5/22/2019          € 6.58        € 6.61            € 0.02        0.38%
   5/23/2019          € 6.48        € 6.50            € 0.02        0.31%
   5/24/2019          € 6.39        € 6.40            € 0.01        0.11%
   5/27/2019          € 6.48        € 6.52            € 0.04        0.58%
   5/28/2019          € 6.30        € 6.31            € 0.01        0.13%
   5/29/2019          € 6.19        € 6.21            € 0.02        0.27%
   5/30/2019          € 6.17        € 6.23            € 0.06        1.03%
   5/31/2019          € 6.04        € 6.06            € 0.01        0.25%
    6/3/2019          € 5.98        € 5.99            € 0.01        0.13%
    6/4/2019          € 6.23        € 6.31            € 0.08        1.29%
    6/5/2019          € 6.13        € 6.15            € 0.01        0.24%
    6/6/2019          € 5.98        € 5.99            € 0.01        0.20%
    6/7/2019          € 5.97        € 5.98            € 0.01        0.22%
   6/10/2019          € 6.06        € 6.11            € 0.05        0.74%
   6/11/2019          € 6.15        € 6.17            € 0.02        0.32%
   6/12/2019          € 6.11        € 6.12            € 0.01        0.20%
   6/13/2019          € 6.10        € 6.11            € 0.01        0.21%
   6/14/2019          € 6.04        € 6.06            € 0.02        0.30%
   6/17/2019          € 6.08        € 6.10            € 0.02        0.35%
   6/18/2019          € 6.30        € 6.32            € 0.02        0.35%
   6/19/2019          € 6.41        € 6.41            € 0.00        0.05%
   6/20/2019          € 6.35        € 6.35            € 0.00        0.05%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 284 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   6/21/2019          € 6.29        € 6.32            € 0.03        0.40%
   6/24/2019          € 6.24        € 6.26            € 0.02        0.34%
   6/25/2019          € 6.24        € 6.27            € 0.03        0.40%
   6/26/2019          € 6.48        € 6.50            € 0.02        0.32%
   6/27/2019          € 6.62        € 6.65            € 0.03        0.42%
   6/28/2019          € 6.70        € 6.72            € 0.02        0.34%
    7/1/2019          € 6.75        € 6.78            € 0.02        0.34%
    7/2/2019          € 6.72        € 6.73            € 0.01        0.10%
    7/3/2019          € 6.94        € 6.95            € 0.01        0.16%
    7/4/2019          € 6.99        € 7.01            € 0.01        0.21%
    7/5/2019          € 7.16        € 7.18            € 0.02        0.35%
    7/8/2019          € 6.73        € 6.74            € 0.01        0.16%
    7/9/2019          € 6.50        € 6.53            € 0.03        0.43%
   7/10/2019          € 6.56        € 6.57            € 0.01        0.17%
   7/11/2019          € 6.62        € 6.64            € 0.02        0.38%
   7/12/2019          € 6.78        € 6.80            € 0.02        0.24%
   7/15/2019          € 6.90        € 6.91            € 0.01        0.13%
   7/16/2019          € 7.10        € 7.12            € 0.01        0.18%
   7/17/2019          € 7.01        € 7.04            € 0.03        0.44%
   7/18/2019          € 7.02        € 7.04            € 0.02        0.23%
   7/19/2019          € 6.89        € 6.90            € 0.01        0.12%
   7/22/2019          € 6.93        € 6.95            € 0.02        0.24%
   7/23/2019          € 7.12        € 7.14            € 0.02        0.31%
   7/24/2019          € 7.09        € 7.10            € 0.01        0.14%
   7/25/2019          € 7.10        € 7.13            € 0.02        0.31%
   7/26/2019          € 7.12        € 7.14            € 0.01        0.21%
   7/29/2019          € 7.02        € 7.05            € 0.03        0.40%
   7/30/2019          € 6.91        € 6.95            € 0.04        0.58%
   7/31/2019          € 7.02        € 7.10            € 0.08        1.13%
    8/1/2019          € 6.85        € 6.89            € 0.04        0.52%
    8/2/2019          € 7.07        € 7.09            € 0.02        0.28%
    8/5/2019          € 6.84        € 6.85            € 0.01        0.16%
    8/6/2019          € 6.82        € 6.82            € 0.00        0.00%
    8/7/2019          € 6.67        € 6.68            € 0.01        0.21%
    8/8/2019          € 6.84        € 6.86            € 0.02        0.29%
    8/9/2019          € 6.71        € 6.72            € 0.02        0.22%



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            Case 1:22-cv-02854-JSR Document 93-1 Filed 07/18/22 Page 285 of 385
Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   8/12/2019          € 6.18        € 6.21            € 0.03        0.42%
   8/13/2019          € 6.42        € 6.45            € 0.03        0.39%
   8/14/2019          € 6.02        € 6.03            € 0.01        0.20%
   8/15/2019          € 5.82        € 5.83            € 0.01        0.21%
   8/16/2019          € 6.22        € 6.24            € 0.02        0.39%
   8/19/2019          € 6.34        € 6.36            € 0.02        0.32%
   8/20/2019          € 6.29        € 6.30            € 0.01        0.10%
   8/21/2019          € 6.33        € 6.34            € 0.01        0.19%
   8/22/2019          € 6.46        € 6.49            € 0.02        0.37%
   8/23/2019          € 6.25        € 6.28            € 0.02        0.35%
   8/26/2019          € 6.37        € 6.37            € 0.00        0.02%
   8/27/2019          € 6.44        € 6.44            € 0.00        0.00%
   8/28/2019          € 6.45        € 6.47            € 0.02        0.33%
   8/29/2019          € 6.53        € 6.54            € 0.01        0.18%
   8/30/2019          € 6.58        € 6.61            € 0.03        0.38%
    9/2/2019          € 6.63        € 6.67            € 0.04        0.54%
    9/3/2019          € 6.63        € 6.65            € 0.02        0.24%
    9/4/2019          € 6.76        € 6.78            € 0.02        0.28%
    9/5/2019          € 7.07        € 7.09            € 0.02        0.21%
    9/6/2019          € 7.09        € 7.11            € 0.02        0.23%
    9/9/2019          € 7.34        € 7.37            € 0.02        0.34%
   9/10/2019          € 7.49        € 7.52            € 0.03        0.33%
   9/11/2019          € 7.50        € 7.51            € 0.01        0.13%
   9/12/2019          € 7.49        € 7.52            € 0.03        0.35%
   9/13/2019          € 7.60        € 7.62            € 0.02        0.21%
   9/16/2019          € 7.48        € 7.50            € 0.02        0.24%
   9/17/2019          € 7.39        € 7.39            € 0.00        0.01%
   9/18/2019          € 7.27        € 7.30            € 0.03        0.36%
   9/19/2019          € 7.30        € 7.32            € 0.02        0.30%
   9/20/2019          € 7.25        € 7.27            € 0.02        0.23%
   9/23/2019          € 7.08        € 7.09            € 0.01        0.13%
   9/24/2019          € 6.86        € 6.90            € 0.04        0.58%
   9/25/2019          € 6.93        € 6.95            € 0.02        0.29%
   9/26/2019          € 6.78        € 6.80            € 0.02        0.29%
   9/27/2019          € 6.89        € 6.90            € 0.00        0.03%
   9/30/2019          € 6.87        € 6.89            € 0.02        0.29%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
     Date            Last Bid      Last Ask         Spread (€)    Spread (%)
   10/1/2019          € 6.64        € 6.65            € 0.00        0.06%
   10/2/2019          € 6.56        € 6.58            € 0.02        0.24%
   10/3/2019          € 6.45        € 6.54            € 0.09        1.38%
   10/4/2019          € 6.54        € 6.55            € 0.02        0.23%
   10/7/2019          € 6.46        € 6.48            € 0.02        0.26%
   10/8/2019          € 6.31        € 6.32            € 0.01        0.16%
   10/9/2019          € 6.31        € 6.33            € 0.02        0.30%
  10/10/2019          € 6.47        € 6.47            € 0.00        0.03%
  10/11/2019          € 6.79        € 6.80            € 0.00        0.07%
  10/14/2019          € 6.84        € 6.86            € 0.02        0.35%
  10/15/2019          € 7.04        € 7.05            € 0.01        0.16%
  10/16/2019          € 7.08        € 7.10            € 0.02        0.23%
  10/17/2019          € 7.10        € 7.13            € 0.02        0.34%
  10/18/2019          € 7.08        € 7.10            € 0.02        0.23%
  10/21/2019          € 7.25        € 7.28            € 0.02        0.33%
  10/22/2019          € 7.11        € 7.13            € 0.02        0.22%
  10/23/2019          € 7.17        € 7.19            € 0.01        0.20%
  10/24/2019          € 7.11        € 7.14            € 0.03        0.35%
  10/25/2019          € 7.15        € 7.18            € 0.03        0.43%
  10/28/2019          € 7.23        € 7.26            € 0.04        0.52%
  10/29/2019          € 7.18        € 7.20            € 0.02        0.24%
  10/30/2019          € 6.64        € 6.66            € 0.02        0.23%
  10/31/2019          € 6.48        € 6.50            € 0.02        0.28%
   11/1/2019          € 6.60        € 6.62            € 0.01        0.18%
   11/4/2019          € 6.85        € 6.89            € 0.04        0.55%
   11/5/2019          € 6.90        € 6.91            € 0.01        0.13%
   11/6/2019          € 6.89        € 6.91            € 0.02        0.23%
   11/7/2019          € 7.05        € 7.06            € 0.01        0.18%
   11/8/2019          € 6.91        € 6.92            € 0.01        0.19%
  11/11/2019          € 6.87        € 6.91            € 0.04        0.52%
  11/12/2019          € 6.93        € 6.95            € 0.02        0.22%
  11/13/2019          € 6.61        € 6.64            € 0.02        0.38%
  11/14/2019          € 6.53        € 6.56            € 0.03        0.38%
  11/15/2019          € 6.59        € 6.62            € 0.03        0.50%
  11/18/2019          € 6.62        € 6.65            € 0.03        0.45%
  11/19/2019          € 6.61        € 6.61            € 0.00        0.08%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
  11/20/2019          € 6.58        € 6.58            € 0.00        0.00%
  11/21/2019          € 6.67        € 6.68            € 0.02        0.28%
  11/22/2019          € 6.67        € 6.67            € 0.00        0.01%
  11/25/2019          € 6.68        € 6.70            € 0.02        0.25%
  11/26/2019          € 6.60        € 6.63            € 0.02        0.36%
  11/27/2019          € 6.68        € 6.70            € 0.02        0.34%
  11/28/2019          € 6.61        € 6.63            € 0.02        0.26%
  11/29/2019          € 6.57        € 6.57            € 0.00        0.06%
   12/2/2019          € 6.46        € 6.48            € 0.02        0.34%
   12/3/2019          € 6.37        € 6.38            € 0.01        0.16%
   12/4/2019          € 6.49        € 6.50            € 0.00        0.08%
   12/5/2019          € 6.45        € 6.47            € 0.02        0.34%
   12/6/2019          € 6.52        € 6.54            € 0.02        0.34%
   12/9/2019          € 6.52        € 6.54            € 0.02        0.25%
  12/10/2019          € 6.47        € 6.49            € 0.02        0.25%
  12/11/2019          € 6.52        € 6.55            € 0.03        0.38%
  12/12/2019          € 6.78        € 6.79            € 0.01        0.13%
  12/13/2019          € 6.72        € 6.74            € 0.02        0.31%
  12/16/2019          € 6.91        € 6.93            € 0.03        0.40%
  12/17/2019          € 6.98        € 6.99            € 0.01        0.17%
  12/18/2019          € 6.97        € 6.97            € 0.00        0.03%
  12/19/2019          € 7.08        € 7.10            € 0.02        0.25%
  12/20/2019          € 7.01        € 7.03            € 0.03        0.38%
  12/23/2019          € 6.90        € 6.93            € 0.02        0.32%
  12/27/2019          € 6.88        € 6.89            € 0.02        0.22%
  12/30/2019          € 6.94        € 6.94            € 0.00        0.00%
    1/2/2020          € 7.42        € 7.44            € 0.02        0.30%
    1/3/2020          € 7.24        € 7.27            € 0.03        0.37%
    1/6/2020          € 7.18        € 7.22            € 0.04        0.56%
    1/7/2020          € 7.39        € 7.42            € 0.03        0.38%
    1/8/2020          € 7.71        € 7.72            € 0.01        0.14%
    1/9/2020          € 7.73        € 7.74            € 0.01        0.14%
   1/10/2020          € 7.66        € 7.67            € 0.01        0.17%
   1/13/2020          € 7.59        € 7.60            € 0.01        0.08%
   1/14/2020          € 7.71        € 7.71            € 0.01        0.06%
   1/15/2020          € 7.54        € 7.56            € 0.02        0.28%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample           DB        Xetra Sample
                    Spread (€)    Spread (€)         Spread (%)    Spread (%)
   Average            € 0.03        € 0.22             0.26%         1.78%
   Median             € 0.02        € 0.21             0.24%         1.52%


                                        DB's Stock
      Date           Last Bid      Last Ask          Spread (€)    Spread (%)
   1/16/2020          € 7.66         € 7.66            € 0.00        0.05%
   1/17/2020          € 7.61         € 7.61            € 0.00        0.05%
   1/20/2020          € 7.43         € 7.44            € 0.00        0.03%
   1/21/2020          € 7.45         € 7.47            € 0.02        0.27%
   1/22/2020          € 7.55         € 7.57            € 0.02        0.26%
   1/23/2020          € 7.73         € 7.75            € 0.02        0.26%
   1/24/2020          € 7.75         € 7.76            € 0.01        0.17%
   1/27/2020          € 7.72         € 7.74            € 0.01        0.17%
   1/28/2020          € 7.84         € 7.86            € 0.02        0.27%
   1/29/2020          € 7.95         € 7.97            € 0.01        0.16%
   1/30/2020          € 8.40         € 8.42            € 0.02        0.25%
   1/31/2020          € 8.23         € 8.25            € 0.02        0.27%
    2/3/2020          € 8.11         € 8.12            € 0.01        0.16%
    2/4/2020          € 8.13         € 8.16            € 0.03        0.31%
    2/5/2020          € 8.27         € 8.27            € 0.00        0.04%
    2/6/2020          € 9.44         € 9.45            € 0.01        0.10%
    2/7/2020          € 9.48         € 9.50            € 0.02        0.19%
   2/10/2020          € 9.42         € 9.44            € 0.01        0.16%
   2/11/2020          € 9.63         € 9.64            € 0.00        0.04%
   2/12/2020         € 10.00        € 10.02            € 0.02        0.20%
   2/13/2020         € 10.17        € 10.17            € 0.00        0.02%
   2/14/2020         € 10.16        € 10.18            € 0.01        0.14%
   2/17/2020         € 10.16        € 10.17            € 0.01        0.12%
   2/18/2020          € 9.92         € 9.93            € 0.01        0.13%
   2/19/2020          € 9.86         € 9.87            € 0.01        0.09%
   2/20/2020          € 9.86         € 9.90            € 0.04        0.36%
   2/21/2020          € 9.43         € 9.47            € 0.04        0.43%
   2/24/2020          € 8.89         € 8.90            € 0.01        0.09%
   2/25/2020          € 8.57         € 8.60            € 0.03        0.29%
   2/26/2020          € 8.69         € 8.71            € 0.02        0.20%
   2/27/2020          € 8.15         € 8.20            € 0.05        0.64%
   2/28/2020          € 7.87         € 7.91            € 0.04        0.49%
    3/2/2020          € 7.69         € 7.72            € 0.03        0.43%
    3/3/2020          € 7.27         € 7.29            € 0.02        0.27%
    3/4/2020          € 7.38         € 7.38            € 0.00        0.07%
    3/5/2020          € 6.90         € 6.92            € 0.02        0.25%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
    3/6/2020          € 6.70        € 6.72            € 0.01        0.22%
    3/9/2020          € 5.83        € 5.90            € 0.07        1.13%
   3/10/2020          € 6.17        € 6.24            € 0.07        1.13%
   3/11/2020          € 5.73        € 5.80            € 0.07        1.20%
   3/12/2020          € 4.95        € 5.00            € 0.05        1.03%
   3/13/2020          € 5.37        € 5.39            € 0.02        0.32%
   3/16/2020          € 4.80        € 4.83            € 0.03        0.69%
   3/17/2020          € 5.20        € 5.26            € 0.06        1.13%
   3/18/2020          € 5.11        € 5.18            € 0.07        1.42%
   3/19/2020          € 5.46        € 5.49            € 0.02        0.46%
   3/20/2020          € 5.32        € 5.36            € 0.04        0.77%
   3/23/2020          € 5.53        € 5.58            € 0.05        0.92%
   3/24/2020          € 6.11        € 6.13            € 0.01        0.25%
   3/25/2020          € 6.34        € 6.40            € 0.06        1.02%
   3/26/2020          € 6.30        € 6.34            € 0.04        0.62%
   3/27/2020          € 5.80        € 5.82            € 0.02        0.31%
   3/30/2020          € 5.90        € 5.92            € 0.02        0.30%
   3/31/2020          € 5.82        € 5.84            € 0.02        0.39%
    4/1/2020          € 5.48        € 5.52            € 0.05        0.85%
    4/2/2020          € 5.55        € 5.59            € 0.04        0.72%
    4/3/2020          € 5.44        € 5.47            € 0.03        0.46%
    4/6/2020          € 5.88        € 5.90            € 0.02        0.41%
    4/7/2020          € 6.04        € 6.08            € 0.04        0.68%
    4/8/2020          € 6.01        € 6.03            € 0.01        0.25%
    4/9/2020          € 6.11        € 6.13            € 0.03        0.41%
   4/14/2020          € 6.21        € 6.25            € 0.04        0.66%
   4/15/2020          € 5.72        € 5.72            € 0.00        0.09%
   4/16/2020          € 5.74        € 5.76            € 0.02        0.33%
   4/17/2020          € 6.01        € 6.02            € 0.02        0.28%
   4/20/2020          € 5.83        € 5.85            € 0.02        0.38%
   4/21/2020          € 5.60        € 5.63            € 0.03        0.45%
   4/22/2020          € 5.64        € 5.66            € 0.03        0.46%
   4/23/2020          € 5.73        € 5.75            € 0.02        0.33%
   4/24/2020          € 5.50        € 5.52            € 0.02        0.36%
   4/27/2020          € 6.12        € 6.20            € 0.08        1.36%
   4/28/2020          € 6.33        € 6.35            € 0.01        0.21%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   4/29/2020          € 7.06        € 7.08            € 0.02        0.28%
   4/30/2020          € 6.76        € 6.78            € 0.02        0.31%
    5/4/2020          € 6.47        € 6.50            € 0.03        0.42%
    5/5/2020          € 6.42        € 6.47            € 0.04        0.67%
    5/6/2020          € 6.31        € 6.33            € 0.02        0.33%
    5/7/2020          € 6.47        € 6.49            € 0.02        0.31%
    5/8/2020          € 6.56        € 6.58            € 0.02        0.30%
   5/11/2020          € 6.39        € 6.47            € 0.08        1.24%
   5/12/2020          € 6.40        € 6.42            € 0.01        0.23%
   5/13/2020          € 6.11        € 6.13            € 0.02        0.31%
   5/14/2020          € 6.15        € 6.18            € 0.03        0.47%
   5/15/2020          € 5.96        € 5.99            € 0.03        0.50%
   5/18/2020          € 6.51        € 6.54            € 0.02        0.35%
   5/19/2020          € 6.50        € 6.51            € 0.01        0.18%
   5/20/2020          € 6.81        € 6.83            € 0.01        0.21%
   5/21/2020          € 6.73        € 6.76            € 0.03        0.50%
   5/22/2020          € 6.70        € 6.72            € 0.02        0.33%
   5/25/2020          € 6.86        € 6.88            € 0.02        0.29%
   5/26/2020          € 7.47        € 7.48            € 0.01        0.19%
   5/27/2020          € 7.87        € 7.89            € 0.02        0.32%
   5/28/2020          € 7.67        € 7.69            € 0.02        0.31%
   5/29/2020          € 7.57        € 7.58            € 0.01        0.12%
    6/1/2020          € 7.74        € 7.79            € 0.05        0.64%
    6/2/2020          € 7.96        € 7.98            € 0.02        0.25%
    6/3/2020          € 8.15        € 8.20            € 0.05        0.57%
    6/4/2020          € 8.35        € 8.37            € 0.02        0.25%
    6/5/2020          € 8.58        € 8.59            € 0.02        0.17%
    6/8/2020          € 9.04        € 9.04            € 0.00        0.01%
    6/9/2020          € 8.66        € 8.67            € 0.01        0.12%
   6/10/2020          € 8.59        € 8.61            € 0.02        0.19%
   6/11/2020          € 7.93        € 8.00            € 0.07        0.89%
   6/12/2020          € 8.33        € 8.35            € 0.02        0.23%
   6/15/2020          € 8.35        € 8.37            € 0.02        0.28%
   6/16/2020          € 8.47        € 8.49            € 0.02        0.25%
   6/17/2020          € 8.33        € 8.33            € 0.00        0.02%
   6/18/2020          € 8.25        € 8.26            € 0.01        0.17%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   6/19/2020          € 8.22        € 8.23            € 0.01        0.13%
   6/22/2020          € 8.29        € 8.32            € 0.02        0.25%
   6/23/2020          € 8.45        € 8.46            € 0.01        0.12%
   6/24/2020          € 8.10        € 8.12            € 0.02        0.25%
   6/25/2020          € 8.50        € 8.52            € 0.02        0.24%
   6/26/2020          € 8.01        € 8.03            € 0.02        0.24%
   6/29/2020          € 8.40        € 8.41            € 0.01        0.08%
   6/30/2020          € 8.46        € 8.49            € 0.03        0.29%
    7/1/2020          € 8.30        € 8.30            € 0.01        0.07%
    7/2/2020          € 8.49        € 8.51            € 0.02        0.24%
    7/3/2020          € 8.43        € 8.45            € 0.02        0.24%
    7/6/2020          € 8.79        € 8.80            € 0.01        0.14%
    7/7/2020          € 8.73        € 8.74            € 0.02        0.21%
    7/8/2020          € 8.80        € 8.80            € 0.00        0.02%
    7/9/2020          € 8.61        € 8.64            € 0.02        0.29%
   7/10/2020          € 8.92        € 8.92            € 0.00        0.02%
   7/13/2020          € 8.57        € 8.59            € 0.02        0.24%
   7/14/2020          € 8.78        € 8.78            € 0.00        0.03%
   7/15/2020          € 8.92        € 8.93            € 0.01        0.12%
   7/16/2020          € 8.82        € 8.85            € 0.03        0.35%
   7/17/2020          € 8.72        € 8.74            € 0.03        0.30%
   7/20/2020          € 8.88        € 8.89            € 0.01        0.08%
   7/21/2020          € 8.42        € 8.45            € 0.03        0.39%
   7/22/2020          € 8.50        € 8.52            € 0.02        0.21%
   7/23/2020          € 8.28        € 8.31            € 0.02        0.30%
   7/24/2020          € 8.24        € 8.25            € 0.02        0.21%
   7/27/2020          € 8.10        € 8.11            € 0.01        0.16%
   7/28/2020          € 8.06        € 8.07            € 0.01        0.07%
   7/29/2020          € 7.81        € 7.82            € 0.01        0.12%
   7/30/2020          € 7.60        € 7.62            € 0.02        0.24%
   7/31/2020          € 7.58        € 7.60            € 0.02        0.30%
    8/3/2020          € 7.82        € 7.84            € 0.01        0.18%
    8/4/2020          € 7.82        € 7.85            € 0.03        0.33%
    8/5/2020          € 7.88        € 7.90            € 0.03        0.33%
    8/6/2020          € 7.75        € 7.77            € 0.02        0.23%
    8/7/2020          € 7.80        € 7.81            € 0.01        0.09%



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Exhibit 10C
Deutsche Bank AG (GR)
Bid Ask Spreads on the Xetra Exchange
Source: Bloomberg


                       DB        Xetra Sample          DB        Xetra Sample
                    Spread (€)    Spread (€)        Spread (%)    Spread (%)
   Average            € 0.03        € 0.22            0.26%         1.78%
   Median             € 0.02        € 0.21            0.24%         1.52%


                                       DB's Stock
      Date           Last Bid      Last Ask         Spread (€)    Spread (%)
   8/10/2020          € 8.00        € 8.03            € 0.03        0.32%
   8/11/2020          € 8.11        € 8.16            € 0.05        0.59%
   8/12/2020          € 8.24        € 8.25            € 0.01        0.11%
   8/13/2020          € 8.10        € 8.11            € 0.01        0.12%
   8/14/2020          € 8.03        € 8.04            € 0.01        0.09%
   8/17/2020          € 7.98        € 8.01            € 0.03        0.43%
   8/18/2020          € 7.87        € 7.88            € 0.02        0.24%
   8/19/2020          € 8.06        € 8.07            € 0.01        0.14%
   8/20/2020          € 7.88        € 7.90            € 0.03        0.33%
   8/21/2020          € 7.77        € 7.79            € 0.02        0.31%
   8/24/2020          € 8.12        € 8.12            € 0.00        0.04%
   8/25/2020          € 8.16        € 8.17            € 0.01        0.13%
   8/26/2020          € 8.27        € 8.30            € 0.02        0.30%
   8/27/2020          € 8.23        € 8.25            € 0.02        0.27%
   8/28/2020          € 8.30        € 8.32            € 0.02        0.23%
   8/31/2020          € 7.98        € 7.99            € 0.01        0.09%
    9/1/2020          € 7.98        € 8.00            € 0.03        0.31%
    9/2/2020          € 7.95        € 7.99            € 0.04        0.46%
    9/3/2020          € 7.82        € 7.86            € 0.03        0.43%
    9/4/2020          € 8.22        € 8.22            € 0.01        0.06%
    9/7/2020          € 8.11        € 8.16            € 0.05        0.57%
    9/8/2020          € 7.97        € 7.98            € 0.02        0.20%
    9/9/2020          € 7.97        € 7.99            € 0.02        0.23%
   9/10/2020          € 7.91        € 7.93            € 0.02        0.27%
   9/11/2020          € 7.82        € 7.84            € 0.02        0.27%
   9/14/2020          € 7.86        € 7.88            € 0.02        0.25%
   9/15/2020          € 7.69        € 7.70            € 0.01        0.12%
   9/16/2020          € 7.75        € 7.79            € 0.04        0.49%
   9/17/2020          € 7.78        € 7.81            € 0.03        0.41%
   9/18/2020          € 7.67        € 7.70            € 0.03        0.40%




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Exhibit 10D
Deutsche Bank AG (GR)
Companies Used for Bid Ask Spread Analysis on the Xetra Exchange

     Bloomberg Symbol                             Company
1U1 GR Equity               1&1 AG
TGT GR Equity               11 88 0 SOLUTIONS AG
UUU GR Equity               3U HOLDING AG
A4Y GR Equity               ACCENTRO REAL ESTATE AG
ADS GR Equity               ADIDAS AG
AIXA GR Equity              AIXTRON SE
AT1 GR Equity               AROUNDTOWN SA
NDA GR Equity               AURUBIS AG
BWB GR Equity               BAADER BANK AG
BSL GR Equity               BASLER AG
TINC GR Equity              BAUMOT GROUP AG
BAYN GR Equity              BAYER AG-REG
BC8 GR Equity               BECHTLE AG
BEZ GR Equity               BERENTZEN-GRUPPE AG
BDT GR Equity               BERTRANDT AG
BIJ GR Equity               BIJOU BRIGITTE MODI ACCESS
BVB GR Equity               BORUSSIA DORTMUND GMBH & CO
BNR GR Equity               BRENNTAG SE
CSH GR Equity               CENIT AG
CWC GR Equity               CEWE STIFTUNG & CO KGAA
EVD GR Equity               CTS EVENTIM AG & CO KGAA
DLX GR Equity               DELIGNIT AG
DEQ GR Equity               DEUTSCHE EUROSHOP AG
DGR GR Equity               DEUTSCHE GRUNDSTUECKSAUKTION
DTE GR Equity               DEUTSCHE TELEKOM AG-REG
DLG GR Equity               DIALOG SEMICONDUCTOR LTD
HNL GR Equity               DR HOENLE AG
DUE GR Equity               DUERR AG
EUZ GR Equity               ECKERT & ZIEGLER STRAHLEN UN
ED4 GR Equity               EDAG ENGINEERING GROUP AG
EDL GR Equity               EDEL SE & CO KGAA
ELG GR Equity               ELMOS SEMICONDUCTOR SE
EVT GR Equity               EVOTEC SE
EXC GR Equity               EXCEET GROUP SE
FNTN GR Equity              FREENET AG
FME GR Equity               FRESENIUS MEDICAL CARE AG &
G1A GR Equity               GEA GROUP AG
GSC1 GR Equity              GESCO AG
GGS GR Equity               GIGASET AG
2HRA GR Equity              H&R GMBH & CO KGAA
HAEK GR Equity              HAEMATO AG
HHFA GR Equity              HAMBURGER HAFEN UND LOGISTIK



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Exhibit 10D
Deutsche Bank AG (GR)
Companies Used for Bid Ask Spread Analysis on the Xetra Exchange

     Bloomberg Symbol                         Company
H5E GR Equity               HELMA EIGENHEIMBAU AG
HMU GR Equity               HMS BERGBAU AG
HBM GR Equity               HORNBACH BAUMARKT AG
HBH GR Equity               HORNBACH HOLDING AG & CO KGA
IC8 GR Equity               INCITY IMMOBILIEN AG
IS7 GR Equity               INTICA SYSTEMS AG
IVU GR Equity               IVU TRAFFIC TECHNOLOGIES AG
JDC GR Equity               JDC GROUP AG
SDF GR Equity               K+S AG-REG
KCO GR Equity               KLOECKNER & CO SE
KRN GR Equity               KRONES AG
KU2 GR Equity               KUKA AG
LXS GR Equity               LANXESS AG
IFA GR Equity               LS INVEST AG
MED GR Equity               MEDICLIN AG
MDG1 GR Equity              MEDIGENE AG
M3V GR Equity               MEVIS MEDICAL SOLUTIONS AG
MUB GR Equity               MUEHLBAUER HOLDING AG
M4N GR Equity               MUEHLHAN AG
MUV2 GR Equity              MUENCHENER RUECKVER AG-REG
MVV1 GR Equity              MVV ENERGIE AG
MWB GR Equity               MWB FAIRTRADE WERTPAPIERHAND
MYRK GR Equity              MYHAMMER HOLDING AG
NTG GR Equity               NABALTEC AG
NN6 GR Equity               NANOREPRO AG
NEM GR Equity               NEMETSCHEK SE
NOEJ GR Equity              NORMA GROUP SE
M7U GR Equity               NYNOMIC AG
PA8 GR Equity               PAION AG
P4O GR Equity               PLAN OPTIK AG
PSM GR Equity               PROSIEBENSAT.1 MEDIA SE
PUM GR Equity               PUMA SE
TPE GR Equity               PVA TEPLA AG
RHK GR Equity               RHOEN-KLINIKUM AG
RIB GR Equity               RIB SOFTWARE SE
SAP GR Equity               SAP SE
PZS GR Equity               SCHERZER & CO AG
SCE GR Equity               SCHWEIZER ELECTRONIC AG
YSN GR Equity               SECUNET SECURITY NETWORKS AG
F3C GR Equity               SFC ENERGY AG-BR
WAF GR Equity               SILTRONIC AG
LNSX GR Equity              SIXT LEASING SE



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Exhibit 10D
Deutsche Bank AG (GR)
Companies Used for Bid Ask Spread Analysis on the Xetra Exchange

     Bloomberg Symbol                             Company
BTBB GR Equity              SLEEPZ AG
SHF GR Equity               SNP SCHNEIDER-NEUREITHER & P
SFD1 GR Equity              SOFTLINE AG
SPM GR Equity               SPLENDID MEDIEN AG
SYZ GR Equity               SYZYGY AG
O2D GR Equity               TELEFONICA DEUTSCHLAND HOLDI
TUI1 GR Equity              TUI AG
UTDI GR Equity              UNITED INTERNET AG-REG SHARE
ULC GR Equity               UNITED LABELS AG
OSP2 GR Equity              USU SOFTWARE AG
V3S GR Equity               VECTRON SYSTEMS AG
V6C GR Equity               VISCOM AG
V3V GR Equity               VITA 34 AG
VNA GR Equity               VONOVIA SE
WCH GR Equity               WACKER CHEMIE AG
WAC GR Equity               WACKER NEUSON SE




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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/14/2017     3/14/2016        3/13/2017      248    0.6440      0.6411       0.0182     1.944    -0.10%       2.677          15.35        1.669          14.40
  3/15/2017     3/15/2016        3/14/2017      248    0.6454      0.6425       0.0182     1.939    -0.10%       2.680          15.40        1.676          14.45
  3/16/2017     3/16/2016        3/15/2017      248    0.6453      0.6424       0.0181     1.944    -0.11%       2.669          15.35        1.677          14.49
  3/17/2017     3/17/2016        3/16/2017      248    0.6445      0.6416       0.0181     1.951    -0.09%       2.674          15.43        1.663          14.36
  3/20/2017     3/20/2016        3/19/2017      247    0.6481      0.6452       0.0181     1.964    -0.09%       2.729          15.66        1.673          14.30
  3/21/2017     3/21/2016        3/20/2017      248    0.6493      0.6464       0.0181     1.960    -0.10%       2.734          15.70        1.678          14.38
  3/22/2017     3/22/2016        3/21/2017      248    0.6241      0.6210       0.0188     1.918    -0.07%       2.686          14.90        1.643          13.59
  3/23/2017     3/23/2016        3/22/2017      248    0.6235      0.6204       0.0188     1.987    -0.06%       2.684          14.89        1.642          13.56
  3/24/2017     3/24/2016        3/23/2017      248    0.6217      0.6186       0.0187     1.991    -0.06%       2.671          14.78        1.642          13.57
  3/27/2017     3/27/2016        3/26/2017      248    0.6211      0.6180       0.0187     1.990    -0.05%       2.665          14.74        1.642          13.58
  3/28/2017     3/28/2016        3/27/2017      249    0.6210      0.6179       0.0187     1.991    -0.05%       2.664          14.76        1.643          13.61
  3/29/2017     3/29/2016        3/28/2017      249    0.6220      0.6189       0.0187     1.991    -0.05%       2.669          14.82        1.644          13.61
  3/30/2017     3/30/2016        3/29/2017      249    0.6213      0.6182       0.0187     1.980    -0.04%       2.677          14.84        1.643          13.54
  3/31/2017     3/31/2016        3/30/2017      249    0.6211      0.6180       0.0187     1.988    -0.02%       2.719          15.01        1.622          13.34
  4/3/2017      4/3/2016         4/2/2017       248    0.6205      0.6174       0.0187     1.999    -0.03%       2.727          15.00        1.619          13.25
  4/4/2017      4/4/2016         4/3/2017       249    0.6205      0.6174       0.0187     2.001    -0.04%       2.733          15.04        1.620          13.27
  4/5/2017      4/5/2016         4/4/2017       249    0.6200      0.6169       0.0187     2.007    -0.03%       2.733          15.04        1.617          13.23
  4/6/2017      4/6/2016         4/5/2017       249    0.6163      0.6132       0.0187     2.007    -0.03%       2.719          14.83        1.615          13.23
  4/7/2017      4/7/2016         4/6/2017       249    0.6160      0.6129       0.0187     2.007    -0.02%       2.727          14.83        1.616          13.22
  4/10/2017     4/10/2016        4/9/2017       248    0.6118      0.6086       0.0187     2.003    -0.02%       2.701          14.60        1.619          13.15
  4/11/2017     4/11/2016        4/10/2017      249    0.6116      0.6084       0.0187     2.002    -0.02%       2.701          14.63        1.618          13.16
  4/12/2017     4/12/2016        4/11/2017      249    0.6123      0.6092       0.0187     2.006    -0.02%       2.701          14.64        1.624          13.20
  4/13/2017     4/13/2016        4/12/2017      249    0.6143      0.6112       0.0187     2.005    -0.02%       2.711          14.71        1.626          13.25
  4/17/2017     4/17/2016        4/16/2017      247    0.6058      0.6026       0.0187     1.996    -0.03%       2.656          14.31        1.622          13.05
  4/18/2017     4/18/2016        4/17/2017      248    0.6060      0.6027       0.0186     1.996    -0.04%       2.655          14.36        1.621          13.06
  4/19/2017     4/19/2016        4/18/2017      248    0.6056      0.6024       0.0186     1.993    -0.04%       2.649          14.35        1.619          13.05
  4/20/2017     4/20/2016        4/19/2017      248    0.6058      0.6026       0.0186     1.983    -0.03%       2.667          14.38        1.616          13.03
  4/21/2017     4/21/2016        4/20/2017      248    0.6039      0.6007       0.0186     1.987    -0.04%       2.670          14.44        1.604          12.85
  4/24/2017     4/24/2016        4/23/2017      247    0.6034      0.6002       0.0186     1.978    -0.05%       2.676          14.43        1.602          12.77
  4/25/2017     4/25/2016        4/24/2017      248    0.6159      0.6127       0.0188     1.947    -0.03%       2.783          15.02        1.632          12.93
  4/26/2017     4/26/2016        4/25/2017      248    0.6152      0.6121       0.0188     1.983    -0.02%       2.770          15.01        1.625          12.90
  4/27/2017     4/27/2016        4/26/2017      248    0.6125      0.6093       0.0188     1.983    -0.02%       2.767          14.95        1.620          12.80
  4/28/2017     4/28/2016        4/27/2017      247    0.6135      0.6103       0.0188     1.982    -0.03%       2.768          14.95        1.619          12.79
  5/1/2017      5/1/2016         4/30/2017      247    0.6123      0.6091       0.0188     1.977    -0.02%       2.761          14.91        1.616          12.77
  5/2/2017      5/2/2016         5/1/2017       248    0.6123      0.6092       0.0188     1.977    -0.02%       2.762          14.94        1.616          12.80
  5/3/2017      5/3/2016         5/2/2017       248    0.6162      0.6130       0.0187     2.000    -0.01%       2.769          15.08        1.616          12.88
  5/4/2017      5/4/2016         5/3/2017       248    0.6106      0.6074       0.0186     1.992     0.02%       2.731          14.82        1.609          12.83
  5/5/2017      5/5/2016         5/4/2017       248    0.6124      0.6092       0.0186     1.986     0.01%       2.747          14.87        1.611          12.88
  5/8/2017      5/8/2016         5/7/2017       247    0.6098      0.6066       0.0187     1.974     0.02%       2.748          14.82        1.596          12.72
  5/9/2017      5/9/2016         5/8/2017       248    0.6099      0.6067       0.0187     1.988     0.02%       2.748          14.85        1.598          12.76
  5/10/2017     5/10/2016        5/9/2017       248    0.6098      0.6066       0.0187     1.987     0.02%       2.749          14.85        1.599          12.74
  5/11/2017     5/11/2016        5/10/2017      248    0.6088      0.6056       0.0187     1.985     0.02%       2.757          14.80        1.598          12.74
  5/12/2017     5/12/2016        5/11/2017      248    0.6083      0.6051       0.0186     1.986     0.03%       2.751          14.76        1.598          12.75


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/15/2017     5/15/2016        5/14/2017      247    0.6080      0.6048       0.0187     1.984     0.02%       2.760          14.72        1.598          12.72
  5/16/2017     5/16/2016        5/15/2017      248    0.6080      0.6048       0.0186     1.984     0.02%       2.761          14.76        1.596          12.73
  5/17/2017     5/17/2016        5/16/2017      248    0.6084      0.6052       0.0186     1.984     0.03%       2.778          14.82        1.593          12.69
  5/18/2017     5/18/2016        5/17/2017      248    0.6082      0.6050       0.0187     1.980     0.03%       2.776          14.88        1.581          12.61
  5/19/2017     5/19/2016        5/18/2017      248    0.6077      0.6045       0.0186     1.988     0.02%       2.778          14.92        1.612          12.52
  5/22/2017     5/22/2016        5/21/2017      247    0.6093      0.6061       0.0187     1.990     0.02%       2.817          15.05        1.611          12.42
  5/23/2017     5/23/2016        5/22/2017      248    0.6093      0.6061       0.0186     1.990     0.01%       2.812          15.06        1.609          12.45
  5/24/2017     5/24/2016        5/23/2017      248    0.6090      0.6058       0.0187     1.989     0.01%       2.815          15.07        1.606          12.44
  5/25/2017     5/25/2016        5/24/2017      248    0.6078      0.6046       0.0187     1.985     0.01%       2.822          15.00        1.608          12.44
  5/26/2017     5/26/2016        5/25/2017      248    0.6058      0.6025       0.0187     1.985     0.00%       2.808          14.88        1.607          12.45
  5/30/2017     5/30/2016        5/29/2017      247    0.6064      0.6032       0.0187     1.984    -0.01%       2.812          14.87        1.615          12.45
  5/31/2017     5/31/2016        5/30/2017      248    0.6074      0.6042       0.0187     1.983    -0.02%       2.816          14.91        1.619          12.52
  6/1/2017      6/1/2016         5/31/2017      248    0.6083      0.6051       0.0187     1.983    -0.02%       2.813          14.90        1.621          12.59
  6/2/2017      6/2/2016         6/1/2017       248    0.6087      0.6055       0.0187     1.985    -0.02%       2.808          14.90        1.623          12.61
  6/5/2017      6/5/2016         6/4/2017       247    0.6074      0.6041       0.0187     1.986    -0.01%       2.806          14.89        1.624          12.48
  6/6/2017      6/6/2016         6/5/2017       248    0.6073      0.6041       0.0187     1.987    -0.02%       2.807          14.92        1.623          12.50
  6/7/2017      6/7/2016         6/6/2017       248    0.6072      0.6040       0.0187     1.983    -0.01%       2.811          14.93        1.621          12.48
  6/8/2017      6/8/2016         6/7/2017       248    0.6074      0.6041       0.0187     1.979    -0.01%       2.813          14.93        1.622          12.49
  6/9/2017      6/9/2016         6/8/2017       248    0.6074      0.6042       0.0187     1.978     0.00%       2.816          14.96        1.615          12.46
  6/12/2017     6/12/2016        6/11/2017      247    0.5989      0.5957       0.0187     1.972     0.02%       2.785          14.55        1.598          12.36
  6/13/2017     6/13/2016        6/12/2017      248    0.5991      0.5958       0.0187     1.970     0.01%       2.788          14.59        1.598          12.38
  6/14/2017     6/14/2016        6/13/2017      248    0.5970      0.5937       0.0187     1.971     0.01%       2.780          14.46        1.600          12.41
  6/15/2017     6/15/2016        6/14/2017      248    0.5953      0.5920       0.0187     1.972     0.01%       2.775          14.36        1.601          12.42
  6/16/2017     6/16/2016        6/15/2017      248    0.5959      0.5926       0.0187     1.967     0.00%       2.785          14.43        1.598          12.37
  6/19/2017     6/19/2016        6/18/2017      247    0.5938      0.5905       0.0187     1.977    -0.02%       2.774          14.36        1.588          12.27
  6/20/2017     6/20/2016        6/19/2017      248    0.5948      0.5915       0.0187     1.977    -0.02%       2.778          14.44        1.588          12.30
  6/21/2017     6/21/2016        6/20/2017      248    0.5943      0.5910       0.0186     1.987    -0.02%       2.787          14.35        1.603          12.37
  6/22/2017     6/22/2016        6/21/2017      248    0.5929      0.5895       0.0186     1.989    -0.02%       2.780          14.32        1.597          12.32
  6/23/2017     6/23/2016        6/22/2017      248    0.5932      0.5898       0.0186     1.991    -0.03%       2.780          14.32        1.597          12.33
  6/26/2017     6/26/2016        6/25/2017      247    0.5138      0.5098       0.0187     1.975     0.00%       2.450          10.63        1.588          12.04
  6/27/2017     6/27/2016        6/26/2017      248    0.5142      0.5102       0.0186     1.975     0.00%       2.451          10.65        1.589          12.07
  6/28/2017     6/28/2016        6/27/2017      248    0.5122      0.5082       0.0185     1.949     0.03%       2.396          10.03        1.641          12.52
  6/29/2017     6/29/2016        6/28/2017      248    0.5173      0.5134       0.0184     1.971     0.03%       2.460          10.15        1.646          12.63
  6/30/2017     6/30/2016        6/29/2017      248    0.5318      0.5280       0.0182     2.033     0.05%       2.669          10.78        1.604          12.73
  7/3/2017      7/3/2016         7/2/2017       247    0.5455      0.5418       0.0179     2.045     0.06%       2.791          11.30        1.603          12.85
  7/5/2017      7/5/2016         7/4/2017       248    0.5459      0.5422       0.0179     2.042     0.07%       2.795          11.34        1.598          12.88
  7/6/2017      7/6/2016         7/5/2017       248    0.5440      0.5403       0.0179     2.013     0.09%       2.768          11.14        1.625          12.97
  7/7/2017      7/7/2016         7/6/2017       248    0.5467      0.5430       0.0177     2.035     0.11%       2.714          11.02        1.644          13.19
  7/10/2017     7/10/2016        7/9/2017       247    0.5479      0.5442       0.0177     2.056     0.13%       2.728          11.01        1.640          13.21
  7/11/2017     7/11/2016        7/10/2017      248    0.5480      0.5443       0.0176     2.056     0.12%       2.725          11.02        1.641          13.25
  7/12/2017     7/12/2016        7/11/2017      248    0.5454      0.5417       0.0177     2.051     0.12%       2.721          10.93        1.637          13.21
  7/13/2017     7/13/2016        7/12/2017      248    0.5382      0.5345       0.0176     2.058     0.10%       2.598          10.45        1.638          13.28
  7/14/2017     7/14/2016        7/13/2017      248    0.5377      0.5339       0.0176     2.057     0.11%       2.604          10.47        1.636          13.24


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/17/2017     7/17/2016        7/16/2017      247    0.5333      0.5294       0.0177     2.057     0.09%       2.556          10.26        1.625          13.17
  7/18/2017     7/18/2016        7/17/2017      248    0.5332      0.5293       0.0176     2.056     0.09%       2.557          10.28        1.623          13.19
  7/19/2017     7/19/2016        7/18/2017      248    0.5334      0.5296       0.0177     2.048     0.08%       2.556          10.27        1.626          13.21
  7/20/2017     7/20/2016        7/19/2017      248    0.5344      0.5306       0.0176     2.050     0.09%       2.520          10.19        1.630          13.32
  7/21/2017     7/21/2016        7/20/2017      248    0.5335      0.5297       0.0176     2.052     0.09%       2.513          10.14        1.628          13.32
  7/24/2017     7/24/2016        7/23/2017      247    0.5364      0.5326       0.0175     2.049     0.08%       2.522          10.19        1.632          13.36
  7/25/2017     7/25/2016        7/24/2017      248    0.5365      0.5327       0.0175     2.047     0.09%       2.507          10.14        1.638          13.44
  7/26/2017     7/26/2016        7/25/2017      248    0.5369      0.5332       0.0175     2.043     0.10%       2.516          10.17        1.631          13.44
  7/27/2017     7/27/2016        7/26/2017      248    0.5385      0.5347       0.0175     2.059     0.10%       2.518          10.21        1.630          13.48
  7/28/2017     7/28/2016        7/27/2017      248    0.5385      0.5347       0.0175     2.059     0.10%       2.518          10.21        1.630          13.48
  7/31/2017     7/31/2016        7/30/2017      247    0.5374      0.5336       0.0175     2.056     0.12%       2.526          10.18        1.625          13.41
  8/1/2017      8/1/2016         7/31/2017      248    0.5332      0.5294       0.0176     2.054     0.11%       2.526          10.15        1.618          13.30
  8/2/2017      8/2/2016         8/1/2017       248    0.5311      0.5273       0.0176     2.059     0.12%       2.516          10.11        1.613          13.24
  8/3/2017      8/3/2016         8/2/2017       248    0.5280      0.5241       0.0175     2.062     0.13%       2.484          9.95         1.610          13.23
  8/4/2017      8/4/2016         8/3/2017       248    0.5321      0.5283       0.0175     2.075     0.13%       2.489          10.01        1.641          13.36
  8/7/2017      8/7/2016         8/6/2017       247    0.5302      0.5263       0.0175     2.072     0.13%       2.469          9.89         1.650          13.32
  8/8/2017      8/8/2016         8/7/2017       248    0.5300      0.5261       0.0175     2.071     0.13%       2.465          9.90         1.651          13.35
  8/9/2017      8/9/2016         8/8/2017       248    0.5307      0.5269       0.0174     2.077     0.12%       2.465          9.92         1.650          13.37
  8/10/2017     8/10/2016        8/9/2017       248    0.5318      0.5280       0.0174     2.064     0.11%       2.471          9.93         1.655          13.40
  8/11/2017     8/11/2016        8/10/2017      248    0.5475      0.5438       0.0172     2.086     0.08%       2.513          10.39        1.671          13.73
  8/14/2017     8/14/2016        8/13/2017      247    0.5446      0.5408       0.0173     2.080     0.09%       2.518          10.34        1.663          13.60
  8/15/2017     8/15/2016        8/14/2017      248    0.5446      0.5409       0.0172     2.092     0.09%       2.510          10.37        1.663          13.62
  8/16/2017     8/16/2016        8/15/2017      248    0.5444      0.5407       0.0172     2.089     0.09%       2.512          10.38        1.662          13.60
  8/17/2017     8/17/2016        8/16/2017      248    0.5449      0.5411       0.0172     2.092     0.08%       2.510          10.35        1.665          13.64
  8/18/2017     8/18/2016        8/17/2017      248    0.5495      0.5458       0.0172     2.098     0.08%       2.535          10.57        1.664          13.68
  8/21/2017     8/21/2016        8/20/2017      247    0.5496      0.5459       0.0172     2.102     0.10%       2.515          10.50        1.663          13.69
  8/22/2017     8/22/2016        8/21/2017      248    0.5503      0.5466       0.0172     2.101     0.09%       2.513          10.50        1.667          13.77
  8/23/2017     8/23/2016        8/22/2017      248    0.5500      0.5464       0.0172     2.089     0.09%       2.501          10.49        1.668          13.77
  8/24/2017     8/24/2016        8/23/2017      248    0.5506      0.5469       0.0171     2.102     0.08%       2.486          10.46        1.666          13.81
  8/25/2017     8/25/2016        8/24/2017      248    0.5505      0.5468       0.0171     2.098     0.07%       2.506          10.53        1.663          13.75
  8/28/2017     8/28/2016        8/27/2017      247    0.5518      0.5481       0.0171     2.106     0.08%       2.502          10.51        1.668          13.78
  8/29/2017     8/29/2016        8/28/2017      248    0.5518      0.5481       0.0171     2.106     0.07%       2.502          10.53        1.667          13.81
  8/30/2017     8/30/2016        8/29/2017      248    0.5532      0.5495       0.0171     2.101     0.07%       2.506          10.54        1.674          13.86
  8/31/2017     8/31/2016        8/30/2017      248    0.5506      0.5469       0.0170     2.102     0.05%       2.516          10.59        1.665          13.71
  9/1/2017      9/1/2016         8/31/2017      248    0.5507      0.5470       0.0170     2.103     0.03%       2.514          10.62        1.659          13.69
  9/5/2017      9/5/2016         9/4/2017       247    0.5502      0.5466       0.0171     2.100     0.03%       2.519          10.59        1.658          13.65
  9/6/2017      9/6/2016         9/5/2017       248    0.5507      0.5471       0.0170     2.098     0.03%       2.532          10.69        1.645          13.64
  9/7/2017      9/7/2016         9/6/2017       248    0.5494      0.5457       0.0170     2.090     0.05%       2.591          10.91        1.630          13.41
  9/8/2017      9/8/2016         9/7/2017       248    0.5487      0.5450       0.0171     2.086     0.05%       2.586          10.88        1.620          13.40
  9/11/2017     9/11/2016        9/10/2017      247    0.5613      0.5577       0.0168     2.070    -0.02%       2.988          12.18        1.553          12.80
  9/12/2017     9/12/2016        9/11/2017      248    0.5620      0.5584       0.0168     2.069    -0.02%       2.979          12.25        1.553          12.81
  9/13/2017     9/13/2016        9/12/2017      248    0.5671      0.5636       0.0167     2.077     0.00%       3.015          12.41        1.557          12.92
  9/14/2017     9/14/2016        9/13/2017      248    0.5626      0.5590       0.0168     2.080    -0.01%       3.024          12.22        1.554          12.88


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/15/2017     9/15/2016        9/14/2017      248    0.5626      0.5590       0.0168     2.083    -0.01%       3.024          12.22        1.554          12.88
   9/18/2017     9/18/2016        9/17/2017      247    0.5599      0.5563       0.0163     2.126     0.03%       2.929          12.04        1.520          12.87
   9/19/2017     9/19/2016        9/18/2017      248    0.5581      0.5544       0.0163     2.117     0.03%       2.928          12.03        1.512          12.83
   9/20/2017     9/20/2016        9/19/2017      248    0.5638      0.5603       0.0162     2.162     0.04%       2.956          12.26        1.505          12.90
   9/21/2017     9/21/2016        9/20/2017      248    0.5702      0.5667       0.0160     2.195     0.05%       2.948          12.40        1.507          13.09
   9/22/2017     9/22/2016        9/21/2017      248    0.5688      0.5653       0.0160     2.195     0.07%       2.942          12.24        1.514          13.17
   9/25/2017     9/25/2016        9/24/2017      247    0.5680      0.5644       0.0160     2.188     0.07%       2.954          12.08        1.529          13.22
   9/26/2017     9/26/2016        9/25/2017      248    0.5704      0.5669       0.0160     2.182     0.05%       2.976          12.19        1.535          13.29
   9/27/2017     9/27/2016        9/26/2017      248    0.5613      0.5577       0.0158     2.212     0.08%       2.870          11.75        1.520          13.24
   9/28/2017     9/28/2016        9/27/2017      248    0.5645      0.5610       0.0158     2.199     0.09%       2.884          11.81        1.526          13.35
   9/29/2017     9/29/2016        9/28/2017      248    0.5643      0.5607       0.0158     2.153     0.09%       2.876          11.78        1.525          13.36
   10/2/2017     10/2/2016        10/1/2017      247    0.5745      0.5710       0.0143     2.035     0.07%       2.738          12.39        1.390          13.26
   10/3/2017     10/3/2016        10/2/2017      248    0.5717      0.5682       0.0143     2.039     0.07%       2.732          12.34        1.387          13.22
   10/4/2017     10/4/2016        10/3/2017      248    0.5704      0.5669       0.0143     2.031     0.06%       2.726          12.30        1.386          13.19
   10/5/2017     10/5/2016        10/4/2017      248    0.5706      0.5671       0.0143     2.029     0.04%       2.755          12.43        1.378          13.08
   10/6/2017     10/6/2016        10/5/2017      248    0.5714      0.5679       0.0143     2.034     0.04%       2.759          12.45        1.387          13.10
   10/9/2017     10/9/2016        10/8/2017      247    0.5724      0.5689       0.0143     2.034     0.04%       2.775          12.49        1.387          13.07
  10/10/2017    10/10/2016        10/9/2017      248    0.5733      0.5698       0.0143     2.034     0.03%       2.780          12.52        1.390          13.13
  10/11/2017    10/11/2016       10/10/2017      248    0.5735      0.5700       0.0143     2.036     0.02%       2.770          12.50        1.393          13.16
  10/12/2017    10/12/2016       10/11/2017      248    0.5719      0.5684       0.0143     2.038     0.01%       2.798          12.41        1.391          13.16
  10/13/2017    10/13/2016       10/12/2017      248    0.5726      0.5691       0.0143     2.037     0.01%       2.807          12.44        1.387          13.18
  10/16/2017    10/16/2016       10/15/2017      247    0.5709      0.5673       0.0143     2.038     0.01%       2.795          12.32        1.389          13.15
  10/17/2017    10/17/2016       10/16/2017      248    0.5709      0.5674       0.0143     2.038     0.01%       2.795          12.34        1.388          13.18
  10/18/2017    10/18/2016       10/17/2017      248    0.5708      0.5673       0.0143     2.039     0.01%       2.801          12.35        1.387          13.17
  10/19/2017    10/19/2016       10/18/2017      248    0.5692      0.5657       0.0143     2.038     0.01%       2.797          12.25        1.387          13.18
  10/20/2017    10/20/2016       10/19/2017      248    0.5691      0.5656       0.0143     2.014     0.01%       2.796          12.24        1.388          13.18
  10/23/2017    10/23/2016       10/22/2017      247    0.5725      0.5690       0.0142     2.022    -0.01%       2.821          12.42        1.372          13.13
  10/24/2017    10/24/2016       10/23/2017      248    0.5729      0.5694       0.0142     2.017    -0.02%       2.832          12.49        1.372          13.14
  10/25/2017    10/25/2016       10/24/2017      248    0.5736      0.5701       0.0143     2.020    -0.01%       2.830          12.44        1.381          13.22
  10/26/2017    10/26/2016       10/25/2017      248    0.5737      0.5702       0.0142     2.015     0.00%       2.815          12.40        1.383          13.27
  10/27/2017    10/27/2016       10/26/2017      247    0.5744      0.5709       0.0142     2.025    -0.01%       2.823          12.44        1.379          13.22
  10/30/2017    10/30/2016       10/29/2017      247    0.5726      0.5690       0.0143     2.012    -0.03%       2.801          12.29        1.389          13.26
  10/31/2017    10/31/2016       10/30/2017      248    0.5726      0.5691       0.0143     2.028    -0.03%       2.802          12.31        1.388          13.29
   11/1/2017     11/1/2016       10/31/2017      248    0.5710      0.5675       0.0143     2.018    -0.03%       2.799          12.29        1.382          13.23
   11/2/2017     11/2/2016        11/1/2017      248    0.5708      0.5673       0.0142     2.023    -0.01%       2.778          12.21        1.384          13.29
   11/3/2017     11/3/2016        11/2/2017      248    0.5684      0.5649       0.0143     2.009     0.00%       2.769          12.05        1.390          13.32
   11/6/2017     11/6/2016        11/5/2017      247    0.5685      0.5650       0.0143     2.021    -0.01%       2.780          12.00        1.392          13.33
   11/7/2017     11/7/2016        11/6/2017      248    0.5680      0.5645       0.0143     2.022    -0.01%       2.780          12.01        1.389          13.33
   11/8/2017     11/8/2016        11/7/2017      248    0.5558      0.5521       0.0143     2.014    -0.01%       2.722          11.42        1.379          13.27
   11/9/2017     11/9/2016        11/8/2017      248    0.5501      0.5464       0.0144     1.985     0.00%       2.734          11.37        1.365          13.05
  11/10/2017    11/10/2016        11/9/2017      248    0.5429      0.5392       0.0145     1.955     0.00%       2.674          11.10        1.398          12.95
  11/13/2017    11/13/2016       11/12/2017      247    0.5275      0.5237       0.0145     1.909    -0.02%       2.657          11.00        1.376          12.30
  11/14/2017    11/14/2016       11/13/2017      248    0.5274      0.5235       0.0145     1.921    -0.02%       2.652          11.02        1.377          12.33


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  11/15/2017    11/15/2016       11/14/2017      248    0.5235      0.5196       0.0145     1.917    -0.03%       2.672          11.07        1.411          12.10
  11/16/2017    11/16/2016       11/15/2017      248    0.5256      0.5217       0.0145     1.920    -0.01%       2.649          11.01        1.413          12.25
  11/17/2017    11/17/2016       11/16/2017      248    0.5186      0.5147       0.0146     1.900     0.01%       2.651          11.00        1.400          11.95
  11/20/2017    11/20/2016       11/19/2017      247    0.5190      0.5151       0.0146     1.907     0.01%       2.667          10.98        1.402          11.95
  11/21/2017    11/21/2016       11/20/2017      248    0.5188      0.5148       0.0145     1.910     0.01%       2.667          11.00        1.401          11.96
  11/22/2017    11/22/2016       11/21/2017      248    0.5180      0.5141       0.0146     1.905     0.01%       2.661          10.92        1.405          12.00
  11/24/2017    11/24/2016       11/23/2017      247    0.5207      0.5167       0.0145     1.917     0.01%       2.659          10.92        1.415          12.07
  11/27/2017    11/27/2016       11/26/2017      247    0.5210      0.5171       0.0146     1.925     0.02%       2.694          11.03        1.406          11.99
  11/28/2017    11/28/2016       11/27/2017      248    0.5216      0.5177       0.0146     1.931     0.01%       2.708          11.09        1.408          12.00
  11/29/2017    11/29/2016       11/28/2017      248    0.5044      0.5004       0.0147     1.881     0.02%       2.657          10.77        1.358          11.55
  11/30/2017    11/30/2016       11/29/2017      248    0.5029      0.4989       0.0147     1.882     0.02%       2.650          10.76        1.342          11.49
   12/1/2017     12/1/2016       11/30/2017      248    0.5012      0.4971       0.0147     1.876     0.00%       2.639          10.73        1.359          11.45
   12/4/2017     12/4/2016        12/3/2017      247    0.4979      0.4938       0.0147     1.863     0.01%       2.631          10.69        1.362          11.30
   12/5/2017     12/5/2016        12/4/2017      248    0.4960      0.4919       0.0147     1.864     0.01%       2.630          10.69        1.347          11.26
   12/6/2017     12/6/2016        12/5/2017      248    0.4894      0.4852       0.0146     1.868    -0.01%       2.584          10.56        1.325          11.10
   12/7/2017     12/7/2016        12/6/2017      248    0.4811      0.4769       0.0141     1.905    -0.04%       2.475          10.49        1.255          10.82
   12/8/2017     12/8/2016        12/7/2017      248    0.4790      0.4748       0.0141     1.900    -0.03%       2.515          10.44        1.252          10.78
  12/11/2017    12/11/2016       12/10/2017      247    0.4888      0.4846       0.0139     1.841    -0.02%       2.579          10.87        1.230          10.73
  12/12/2017    12/12/2016       12/11/2017      248    0.4882      0.4840       0.0139     1.842    -0.02%       2.567          10.84        1.232          10.77
  12/13/2017    12/13/2016       12/12/2017      248    0.4929      0.4888       0.0138     1.854    -0.02%       2.567          10.90        1.254          10.93
  12/14/2017    12/14/2016       12/13/2017      248    0.4915      0.4874       0.0138     1.855    -0.02%       2.569          10.82        1.254          10.94
  12/15/2017    12/15/2016       12/14/2017      248    0.4938      0.4897       0.0138     1.859    -0.03%       2.595          10.91        1.253          10.95
  12/18/2017    12/18/2016       12/17/2017      247    0.4968      0.4926       0.0138     1.800    -0.04%       2.646          11.10        1.266          10.84
  12/19/2017    12/19/2016       12/18/2017      248    0.5000      0.4960       0.0138     1.796    -0.04%       2.674          11.32        1.262          10.81
  12/20/2017    12/20/2016       12/19/2017      248    0.5062      0.5022       0.0136     1.768    -0.03%       2.698          11.62        1.243          10.78
  12/21/2017    12/21/2016       12/20/2017      248    0.5062      0.5022       0.0135     1.760    -0.04%       2.692          11.69        1.227          10.70
  12/22/2017    12/22/2016       12/21/2017      248    0.5031      0.4991       0.0135     1.756    -0.04%       2.682          11.63        1.216          10.62
  12/26/2017    12/26/2016       12/25/2017      247    0.5026      0.4985       0.0135     1.740    -0.05%       2.684          11.59        1.216          10.59
  12/27/2017    12/27/2016       12/26/2017      248    0.5030      0.4989       0.0135     1.743    -0.05%       2.686          11.63        1.217          10.62
  12/28/2017    12/28/2016       12/27/2017      248    0.5037      0.4996       0.0135     1.747    -0.05%       2.682          11.63        1.218          10.65
  12/29/2017    12/29/2016       12/28/2017      248    0.5004      0.4963       0.0135     1.747    -0.04%       2.665          11.49        1.218          10.65
   1/2/2018      1/2/2017         1/1/2018       247    0.4997      0.4956       0.0135     1.744    -0.05%       2.675          11.52        1.213          10.53
   1/3/2018      1/3/2017         1/2/2018       248    0.5009      0.4968       0.0135     1.745    -0.05%       2.676          11.59        1.213          10.56
   1/4/2018      1/4/2017         1/3/2018       248    0.4987      0.4946       0.0135     1.693    -0.06%       2.646          11.46        1.227          10.61
   1/5/2018      1/5/2017         1/4/2018       248    0.4995      0.4954       0.0133     1.712    -0.06%       2.575          11.31        1.229          10.80
   1/8/2018      1/8/2017         1/7/2018       247    0.4778      0.4735       0.0139     1.692    -0.08%       2.478          10.44        1.278          10.69
   1/9/2018      1/9/2017         1/8/2018       248    0.4782      0.4740       0.0138     1.748    -0.08%       2.478          10.45        1.281          10.74
   1/10/2018     1/10/2017        1/9/2018       248    0.4747      0.4704       0.0139     1.722    -0.08%       2.472          10.37        1.277          10.67
   1/11/2018     1/11/2017        1/10/2018      248    0.4821      0.4778       0.0138     1.716    -0.07%       2.474          10.45        1.288          10.90
   1/12/2018     1/12/2017        1/11/2018      248    0.4819      0.4777       0.0137     1.709    -0.08%       2.479          10.52        1.278          10.82
   1/16/2018     1/16/2017        1/15/2018      247    0.4785      0.4742       0.0137     1.698    -0.08%       2.476          10.54        1.259          10.62
   1/17/2018     1/17/2017        1/16/2018      248    0.4783      0.4740       0.0137     1.695    -0.09%       2.473          10.55        1.261          10.65
   1/18/2018     1/18/2017        1/17/2018      248    0.4713      0.4670       0.0137     1.694    -0.08%       2.431          10.37        1.266          10.53


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  1/19/2018     1/19/2017        1/18/2018      248    0.4711      0.4668       0.0137     1.692    -0.08%       2.427          10.36        1.265          10.53
  1/22/2018     1/22/2017        1/21/2018      247    0.4752      0.4709       0.0137     1.707    -0.09%       2.463          10.49        1.263          10.53
  1/23/2018     1/23/2017        1/22/2018      248    0.4771      0.4728       0.0137     1.697    -0.09%       2.491          10.64        1.262          10.51
  1/24/2018     1/24/2017        1/23/2018      248    0.4777      0.4734       0.0137     1.704    -0.09%       2.489          10.65        1.261          10.52
  1/25/2018     1/25/2017        1/24/2018      248    0.4748      0.4705       0.0137     1.706    -0.09%       2.466          10.53        1.258          10.51
  1/26/2018     1/26/2017        1/25/2018      248    0.4650      0.4607       0.0136     1.717    -0.10%       2.394          10.19        1.246          10.44
  1/29/2018     1/29/2017        1/28/2018      247    0.4613      0.4569       0.0137     1.709    -0.10%       2.355          10.03        1.247          10.41
  1/30/2018     1/30/2017        1/29/2018      248    0.4627      0.4583       0.0137     1.704    -0.10%       2.365          10.15        1.242          10.39
  1/31/2018     1/31/2017        1/30/2018      248    0.4665      0.4621       0.0137     1.693    -0.11%       2.406          10.37        1.240          10.33
  2/1/2018      2/1/2017         1/31/2018      248    0.4661      0.4618       0.0137     1.693    -0.11%       2.404          10.36        1.245          10.32
  2/2/2018      2/2/2017         2/1/2018       248    0.4680      0.4637       0.0136     1.693    -0.11%       2.400          10.39        1.240          10.37
  2/5/2018      2/5/2017         2/4/2018       247    0.4653      0.4609       0.0137     1.694    -0.11%       2.384          10.27        1.248          10.33
  2/6/2018      2/6/2017         2/5/2018       248    0.4681      0.4638       0.0137     1.684    -0.08%       2.137          10.43        1.255          10.34
  2/7/2018      2/7/2017         2/6/2018       248    0.4634      0.4591       0.0138     1.710    -0.07%       2.114          10.28        1.223          10.29
  2/8/2018      2/8/2017         2/7/2018       248    0.4604      0.4560       0.0138     1.690    -0.08%       2.109          10.20        1.229          10.25
  2/9/2018      2/9/2017         2/8/2018       248    0.4656      0.4613       0.0139     1.710    -0.06%       2.015          10.50        1.229          10.16
  2/12/2018     2/12/2017        2/11/2018      247    0.4663      0.4619       0.0139     1.730    -0.05%       2.032          10.58        1.220          10.07
  2/13/2018     2/13/2017        2/12/2018      248    0.4696      0.4653       0.0139     1.738    -0.04%       2.039          10.76        1.217          10.06
  2/14/2018     2/14/2017        2/13/2018      248    0.4675      0.4631       0.0139     1.742    -0.05%       2.032          10.69        1.217          10.04
  2/15/2018     2/15/2017        2/14/2018      248    0.4675      0.4632       0.0139     1.737    -0.06%       2.030          10.80        1.212          9.92
  2/16/2018     2/16/2017        2/15/2018      248    0.4615      0.4571       0.0139     1.721    -0.07%       1.953          10.46        1.225          10.03
  2/20/2018     2/20/2017        2/19/2018      247    0.4606      0.4562       0.0139     1.724    -0.06%       1.950          10.44        1.217          9.97
  2/21/2018     2/21/2017        2/20/2018      248    0.4503      0.4458       0.0141     1.702    -0.04%       1.911          10.16        1.217          9.87
  2/22/2018     2/22/2017        2/21/2018      248    0.4519      0.4474       0.0141     1.722    -0.04%       1.899          10.12        1.229          9.97
  2/23/2018     2/23/2017        2/22/2018      248    0.4521      0.4477       0.0141     1.722    -0.04%       1.901          10.14        1.230          9.97
  2/26/2018     2/26/2017        2/25/2018      247    0.4464      0.4419       0.0141     1.693    -0.04%       1.850          9.93         1.230          9.91
  2/27/2018     2/27/2017        2/26/2018      248    0.4460      0.4415       0.0141     1.693    -0.04%       1.832          9.90         1.232          9.96
  2/28/2018     2/28/2017        2/27/2018      248    0.4462      0.4417       0.0140     1.704    -0.05%       1.814          9.91         1.229          9.96
  3/1/2018      3/1/2017         2/28/2018      248    0.4498      0.4453       0.0140     1.710    -0.05%       1.833          10.10        1.224          9.91
  3/2/2018      3/2/2017         3/1/2018       248    0.4372      0.4326       0.0140     1.713    -0.06%       1.763          9.82         1.210          9.69
  3/5/2018      3/5/2017         3/4/2018       247    0.4594      0.4550       0.0136     1.753    -0.03%       1.748          10.03        1.258          10.33
  3/6/2018      3/6/2017         3/5/2018       248    0.4596      0.4552       0.0136     1.754    -0.04%       1.740          10.05        1.259          10.36
  3/7/2018      3/7/2017         3/6/2018       248    0.4563      0.4519       0.0135     1.768    -0.02%       1.727          10.05        1.239          10.23
  3/8/2018      3/8/2017         3/7/2018       248    0.4531      0.4486       0.0135     1.757    -0.01%       1.721          9.97         1.238          10.18
  3/9/2018      3/9/2017         3/8/2018       248    0.4529      0.4484       0.0136     1.757    -0.02%       1.715          9.92         1.243          10.22
  3/12/2018     3/12/2017        3/11/2018      247    0.4506      0.4461       0.0135     1.772    -0.05%       1.660          9.74         1.243          10.26
  3/13/2018     3/13/2017        3/12/2018      248    0.4506      0.4461       0.0134     1.783    -0.05%       1.659          9.75         1.243          10.29
  3/14/2018     3/14/2017        3/13/2018      248    0.4532      0.4488       0.0134     1.780    -0.05%       1.670          9.83         1.245          10.31
  3/15/2018     3/15/2017        3/14/2018      248    0.4521      0.4477       0.0134     1.783    -0.05%       1.659          9.79         1.243          10.31
  3/16/2018     3/16/2017        3/15/2018      248    0.4521      0.4476       0.0134     1.782    -0.04%       1.667          9.81         1.243          10.29
  3/19/2018     3/19/2017        3/18/2018      247    0.4481      0.4435       0.0134     1.782    -0.03%       1.655          9.73         1.232          10.17
  3/20/2018     3/20/2017        3/19/2018      248    0.4487      0.4442       0.0134     1.783    -0.03%       1.653          9.83         1.222          10.13
  3/21/2018     3/21/2017        3/20/2018      248    0.4449      0.4404       0.0133     1.621    -0.02%       1.643          9.82         1.206          10.00


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/22/2018     3/22/2017        3/21/2018      248    0.4888      0.4846       0.0129     1.665    -0.06%       1.724          10.63        1.289          11.01
  3/23/2018     3/23/2017        3/22/2018      248    0.4983      0.4942       0.0129     1.727    -0.07%       1.752          11.06        1.278          11.00
  3/26/2018     3/26/2017        3/25/2018      247    0.5046      0.5006       0.0129     1.728    -0.06%       1.752          11.31        1.276          10.98
  3/27/2018     3/27/2017        3/26/2018      248    0.5057      0.5016       0.0129     1.726    -0.06%       1.743          11.45        1.268          10.93
  3/28/2018     3/28/2017        3/27/2018      248    0.5082      0.5042       0.0129     1.734    -0.07%       1.753          11.55        1.262          10.94
  3/29/2018     3/29/2017        3/28/2018      248    0.5052      0.5012       0.0129     1.737    -0.07%       1.737          11.43        1.259          10.93
  4/2/2018      4/2/2017         4/1/2018       246    0.5130      0.5090       0.0128     1.701    -0.07%       1.742          11.54        1.277          11.08
  4/3/2018      4/3/2017         4/2/2018       247    0.5157      0.5117       0.0128     1.703    -0.07%       1.739          11.69        1.276          11.10
  4/4/2018      4/4/2017         4/3/2018       247    0.5154      0.5114       0.0128     1.705    -0.06%       1.727          11.66        1.272          11.11
  4/5/2018      4/5/2017         4/4/2018       247    0.5161      0.5121       0.0128     1.707    -0.06%       1.728          11.70        1.273          11.11
  4/6/2018      4/6/2017         4/5/2018       247    0.5173      0.5133       0.0128     1.701    -0.05%       1.745          11.82        1.271          11.04
  4/9/2018      4/9/2017         4/8/2018       246    0.5221      0.5182       0.0128     1.714    -0.06%       1.758          12.03        1.270          10.99
  4/10/2018     4/10/2017        4/9/2018       247    0.5226      0.5187       0.0128     1.715    -0.06%       1.759          12.07        1.270          11.02
  4/11/2018     4/11/2017        4/10/2018      247    0.5205      0.5166       0.0128     1.706    -0.06%       1.727          11.96        1.276          11.04
  4/12/2018     4/12/2017        4/11/2018      247    0.5148      0.5108       0.0129     1.718    -0.05%       1.719          11.85        1.263          10.88
  4/13/2018     4/13/2017        4/12/2018      247    0.5146      0.5107       0.0129     1.740    -0.05%       1.722          11.86        1.253          10.87
  4/16/2018     4/16/2017        4/15/2018      247    0.5075      0.5034       0.0130     1.744    -0.04%       1.714          11.72        1.227          10.68
  4/17/2018     4/17/2017        4/16/2018      248    0.5075      0.5035       0.0130     1.755    -0.05%       1.707          11.71        1.228          10.74
  4/18/2018     4/18/2017        4/17/2018      248    0.5061      0.5021       0.0130     1.755    -0.05%       1.694          11.64        1.227          10.75
  4/19/2018     4/19/2017        4/18/2018      248    0.5031      0.4991       0.0130     1.748    -0.05%       1.693          11.58        1.213          10.67
  4/20/2018     4/20/2017        4/19/2018      248    0.5003      0.4963       0.0130     1.768    -0.05%       1.691          11.55        1.183          10.58
  4/23/2018     4/23/2017        4/22/2018      247    0.4969      0.4927       0.0131     1.695    -0.06%       1.678          11.46        1.171          10.47
  4/24/2018     4/24/2017        4/23/2018      248    0.4968      0.4926       0.0130     1.700    -0.06%       1.678          11.49        1.171          10.48
  4/25/2018     4/25/2017        4/24/2018      248    0.4465      0.4419       0.0127     1.694    -0.06%       1.452          10.10        1.081          9.78
  4/26/2018     4/26/2017        4/25/2018      248    0.4459      0.4414       0.0127     1.750    -0.06%       1.456          10.10        1.080          9.76
  4/27/2018     4/27/2017        4/26/2018      247    0.4497      0.4452       0.0127     1.764    -0.07%       1.457          10.14        1.084          9.83
  4/30/2018     4/30/2017        4/29/2018      247    0.4465      0.4419       0.0128     1.737    -0.08%       1.451          10.00        1.096          9.84
  5/1/2018      5/1/2017         4/30/2018      248    0.4475      0.4430       0.0128     1.744    -0.09%       1.457          10.07        1.096          9.85
  5/2/2018      5/2/2017         5/1/2018       248    0.4473      0.4428       0.0128     1.745    -0.09%       1.456          10.07        1.096          9.84
  5/3/2018      5/3/2017         5/2/2018       248    0.4458      0.4412       0.0128     1.744    -0.09%       1.452          10.03        1.095          9.82
  5/4/2018      5/4/2017         5/3/2018       248    0.4444      0.4398       0.0128     1.743    -0.09%       1.453          10.04        1.089          9.75
  5/7/2018      5/7/2017         5/6/2018       247    0.4461      0.4415       0.0127     1.727    -0.11%       1.435          10.02        1.084          9.81
  5/8/2018      5/8/2017         5/7/2018       248    0.4457      0.4412       0.0127     1.733    -0.11%       1.434          10.03        1.084          9.82
  5/9/2018      5/9/2017         5/8/2018       248    0.4401      0.4355       0.0127     1.725    -0.11%       1.435          9.99         1.065          9.63
  5/10/2018     5/10/2017        5/9/2018       248    0.4409      0.4363       0.0127     1.729    -0.10%       1.437          10.03        1.060          9.62
  5/11/2018     5/11/2017        5/10/2018      248    0.4408      0.4362       0.0127     1.729    -0.11%       1.435          10.04        1.059          9.61
  5/14/2018     5/14/2017        5/13/2018      247    0.4404      0.4358       0.0128     1.727    -0.11%       1.431          9.99         1.059          9.60
  5/15/2018     5/15/2017        5/14/2018      248    0.4391      0.4345       0.0128     1.721    -0.11%       1.428          9.97         1.061          9.62
  5/16/2018     5/16/2017        5/15/2018      248    0.4376      0.4330       0.0128     1.708    -0.12%       1.438          10.02        1.051          9.50
  5/17/2018     5/17/2017        5/16/2018      248    0.4368      0.4322       0.0129     1.699    -0.14%       1.433          9.96         1.057          9.53
  5/18/2018     5/18/2017        5/17/2018      248    0.4295      0.4248       0.0128     1.714    -0.13%       1.410          9.71         1.070          9.50
  5/21/2018     5/21/2017        5/20/2018      247    0.4290      0.4243       0.0128     1.719    -0.15%       1.398          9.61         1.069          9.54
  5/22/2018     5/22/2017        5/21/2018      248    0.4285      0.4239       0.0128     1.717    -0.15%       1.395          9.62         1.069          9.55


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/23/2018     5/23/2017        5/22/2018      248    0.4306      0.4260       0.0128     1.718    -0.14%       1.392          9.57         1.081          9.68
  5/24/2018     5/24/2017        5/23/2018      248    0.4297      0.4250       0.0128     1.712    -0.14%       1.393          9.58         1.077          9.64
  5/25/2018     5/25/2017        5/24/2018      248    0.4298      0.4252       0.0130     1.708    -0.15%       1.409          9.56         1.094          9.66
  5/29/2018     5/29/2017        5/28/2018      247    0.4305      0.4258       0.0130     1.750    -0.14%       1.409          9.56         1.092          9.64
  5/30/2018     5/30/2017        5/29/2018      248    0.4563      0.4519       0.0130     1.749    -0.16%       1.480          10.17        1.117          10.11
  5/31/2018     5/31/2017        5/30/2018      248    0.4577      0.4533       0.0130     1.764    -0.15%       1.489          10.28        1.112          10.06
  6/1/2018      6/1/2017         5/31/2018      248    0.4547      0.4502       0.0131     1.760    -0.15%       1.508          10.32        1.110          9.88
  6/4/2018      6/4/2017         6/3/2018       247    0.4511      0.4466       0.0132     1.751    -0.16%       1.499          10.21        1.112          9.81
  6/5/2018      6/5/2017         6/4/2018       248    0.4503      0.4458       0.0132     1.765    -0.15%       1.505          10.26        1.106          9.77
  6/6/2018      6/6/2017         6/5/2018       248    0.4519      0.4474       0.0132     1.773    -0.16%       1.506          10.27        1.109          9.82
  6/7/2018      6/7/2017         6/6/2018       248    0.4577      0.4533       0.0132     1.774    -0.15%       1.522          10.41        1.115          9.92
  6/8/2018      6/8/2017         6/7/2018       248    0.4563      0.4519       0.0132     1.768    -0.15%       1.521          10.39        1.117          9.89
  6/11/2018     6/11/2017        6/10/2018      247    0.4554      0.4509       0.0133     1.780    -0.16%       1.526          10.36        1.133          9.83
  6/12/2018     6/12/2017        6/11/2018      248    0.4547      0.4503       0.0133     1.799    -0.16%       1.530          10.39        1.131          9.82
  6/13/2018     6/13/2017        6/12/2018      248    0.4540      0.4495       0.0133     1.800    -0.15%       1.526          10.37        1.128          9.81
  6/14/2018     6/14/2017        6/13/2018      248    0.4539      0.4494       0.0133     1.800    -0.15%       1.526          10.36        1.129          9.82
  6/15/2018     6/15/2017        6/14/2018      248    0.4546      0.4502       0.0133     1.792    -0.15%       1.525          10.36        1.127          9.85
  6/18/2018     6/18/2017        6/17/2018      247    0.4541      0.4496       0.0132     1.796    -0.15%       1.510          10.25        1.130          9.90
  6/19/2018     6/19/2017        6/18/2018      248    0.4541      0.4496       0.0132     1.796    -0.14%       1.507          10.26        1.129          9.93
  6/20/2018     6/20/2017        6/19/2018      248    0.4480      0.4435       0.0132     1.789    -0.14%       1.477          10.04        1.129          9.90
  6/21/2018     6/21/2017        6/20/2018      248    0.4449      0.4403       0.0132     1.795    -0.14%       1.465          9.92         1.130          9.89
  6/22/2018     6/22/2017        6/21/2018      248    0.4462      0.4417       0.0132     1.791    -0.15%       1.472          9.99         1.129          9.88
  6/25/2018     6/25/2017        6/24/2018      247    0.4434      0.4388       0.0133     1.797    -0.14%       1.476          9.98         1.117          9.74
  6/26/2018     6/26/2017        6/25/2018      248    0.4434      0.4389       0.0133     1.796    -0.13%       1.457          9.99         1.119          9.77
  6/27/2018     6/27/2017        6/26/2018      248    0.4415      0.4370       0.0133     1.795    -0.14%       1.455          9.96         1.115          9.72
  6/28/2018     6/28/2017        6/27/2018      248    0.4440      0.4394       0.0132     1.798    -0.17%       1.506          10.35        1.089          9.41
  6/29/2018     6/29/2017        6/28/2018      248    0.4402      0.4357       0.0132     1.799    -0.17%       1.496          10.25        1.083          9.36
  7/2/2018      7/2/2017         7/1/2018       247    0.4371      0.4325       0.0133     1.801    -0.18%       1.514          10.31        1.087          9.12
  7/3/2018      7/3/2017         7/2/2018       248    0.4371      0.4325       0.0133     1.808    -0.17%       1.510          10.31        1.088          9.16
  7/5/2018      7/5/2017         7/4/2018       248    0.4300      0.4254       0.0133     1.792    -0.18%       1.505          10.24        1.072          8.94
  7/6/2018      7/6/2017         7/5/2018       248    0.4302      0.4256       0.0134     1.777    -0.18%       1.532          10.38        1.061          8.79
  7/9/2018      7/9/2017         7/8/2018       247    0.4313      0.4266       0.0135     1.765    -0.18%       1.567          10.58        1.037          8.55
  7/10/2018     7/10/2017        7/9/2018       248    0.4275      0.4228       0.0135     1.795    -0.18%       1.563          10.58        1.017          8.43
  7/11/2018     7/11/2017        7/10/2018      248    0.4280      0.4234       0.0135     1.798    -0.19%       1.562          10.57        1.017          8.47
  7/12/2018     7/12/2017        7/11/2018      248    0.4317      0.4271       0.0135     1.787    -0.19%       1.573          10.70        1.017          8.47
  7/13/2018     7/13/2017        7/12/2018      248    0.4331      0.4285       0.0135     1.794    -0.19%       1.597          10.85        1.004          8.33
  7/16/2018     7/16/2017        7/15/2018      247    0.4314      0.4267       0.0135     1.793    -0.18%       1.603          10.84        1.000          8.22
  7/17/2018     7/17/2017        7/16/2018      248    0.4453      0.4408       0.0139     1.727    -0.15%       1.591          10.48        1.122          9.32
  7/18/2018     7/18/2017        7/17/2018      248    0.4445      0.4399       0.0139     1.804    -0.16%       1.584          10.41        1.131          9.36
  7/19/2018     7/19/2017        7/18/2018      248    0.4450      0.4404       0.0139     1.823    -0.14%       1.587          10.43        1.132          9.36
  7/20/2018     7/20/2017        7/19/2018      248    0.4443      0.4398       0.0139     1.817    -0.14%       1.593          10.46        1.123          9.30
  7/23/2018     7/23/2017        7/22/2018      247    0.4432      0.4386       0.0139     1.809    -0.14%       1.589          10.41        1.120          9.27
  7/24/2018     7/24/2017        7/23/2018      248    0.4442      0.4397       0.0139     1.810    -0.13%       1.589          10.43        1.117          9.33


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/25/2018     7/25/2017        7/24/2018      248    0.4446      0.4401       0.0139     1.817    -0.14%       1.598          10.54        1.103          9.23
  7/26/2018     7/26/2017        7/25/2018      247    0.4418      0.4373       0.0139     1.816    -0.15%       1.593          10.48        1.104          9.13
  7/27/2018     7/27/2017        7/26/2018      247    0.4416      0.4370       0.0139     1.817    -0.15%       1.593          10.47        1.103          9.12
  7/30/2018     7/30/2017        7/29/2018      247    0.4431      0.4386       0.0139     1.787    -0.14%       1.587          10.44        1.112          9.23
  7/31/2018     7/31/2017        7/30/2018      248    0.4424      0.4378       0.0140     1.766    -0.13%       1.569          10.29        1.132          9.41
  8/1/2018      8/1/2017         7/31/2018      248    0.4416      0.4370       0.0140     1.747    -0.11%       1.573          10.30        1.126          9.36
  8/2/2018      8/2/2017         8/1/2018       248    0.4395      0.4349       0.0140     1.771    -0.12%       1.569          10.26        1.124          9.32
  8/3/2018      8/3/2017         8/2/2018       248    0.4383      0.4337       0.0141     1.751    -0.13%       1.573          10.22        1.130          9.31
  8/6/2018      8/6/2017         8/5/2018       247    0.4364      0.4318       0.0141     1.752    -0.14%       1.573          10.20        1.127          9.21
  8/7/2018      8/7/2017         8/6/2018       248    0.4357      0.4311       0.0141     1.757    -0.14%       1.573          10.22        1.123          9.21
  8/8/2018      8/8/2017         8/7/2018       248    0.4362      0.4316       0.0141     1.758    -0.14%       1.576          10.24        1.122          9.20
  8/9/2018      8/9/2017         8/8/2018       248    0.4340      0.4294       0.0141     1.759    -0.14%       1.573          10.21        1.115          9.14
  8/10/2018     8/10/2017        8/9/2018       248    0.4341      0.4295       0.0141     1.771    -0.13%       1.568          10.20        1.113          9.16
  8/13/2018     8/13/2017        8/12/2018      247    0.4372      0.4326       0.0141     1.751    -0.14%       1.579          10.26        1.120          9.19
  8/14/2018     8/14/2017        8/13/2018      248    0.4417      0.4371       0.0141     1.749    -0.15%       1.595          10.39        1.127          9.27
  8/15/2018     8/15/2017        8/14/2018      248    0.4403      0.4357       0.0141     1.749    -0.15%       1.591          10.34        1.127          9.27
  8/16/2018     8/16/2017        8/15/2018      248    0.4438      0.4393       0.0141     1.749    -0.15%       1.600          10.46        1.129          9.28
  8/17/2018     8/17/2017        8/16/2018      248    0.4431      0.4386       0.0141     1.744    -0.15%       1.595          10.45        1.129          9.26
  8/20/2018     8/20/2017        8/19/2018      247    0.4369      0.4322       0.0141     1.738    -0.15%       1.576          10.27        1.121          9.16
  8/21/2018     8/21/2017        8/20/2018      248    0.4369      0.4323       0.0141     1.738    -0.15%       1.576          10.29        1.121          9.18
  8/22/2018     8/22/2017        8/21/2018      248    0.4368      0.4322       0.0141     1.736    -0.13%       1.585          10.32        1.120          9.14
  8/23/2018     8/23/2017        8/22/2018      248    0.4359      0.4313       0.0141     1.738    -0.13%       1.586          10.30        1.118          9.12
  8/24/2018     8/24/2017        8/23/2018      248    0.4368      0.4322       0.0142     1.740    -0.14%       1.596          10.34        1.122          9.12
  8/27/2018     8/27/2017        8/26/2018      247    0.4365      0.4319       0.0142     1.751    -0.14%       1.595          10.32        1.118          9.08
  8/28/2018     8/28/2017        8/27/2018      248    0.4411      0.4365       0.0142     1.748    -0.14%       1.612          10.48        1.123          9.14
  8/29/2018     8/29/2017        8/28/2018      248    0.4414      0.4369       0.0142     1.748    -0.14%       1.611          10.46        1.127          9.17
  8/30/2018     8/30/2017        8/29/2018      248    0.4405      0.4359       0.0142     1.759    -0.13%       1.610          10.48        1.119          9.12
  8/31/2018     8/31/2017        8/30/2018      248    0.4428      0.4382       0.0142     1.764    -0.14%       1.617          10.53        1.122          9.15
  9/4/2018      9/4/2017         9/3/2018       247    0.4434      0.4388       0.0142     1.763    -0.14%       1.627          10.55        1.123          9.11
  9/5/2018      9/5/2017         9/4/2018       248    0.4435      0.4390       0.0142     1.764    -0.13%       1.608          10.47        1.133          9.26
  9/6/2018      9/6/2017         9/5/2018       248    0.4394      0.4348       0.0142     1.759    -0.12%       1.590          10.34        1.140          9.23
  9/7/2018      9/7/2017         9/6/2018       248    0.4400      0.4354       0.0142     1.768    -0.12%       1.586          10.35        1.138          9.24
  9/10/2018     9/10/2017        9/9/2018       247    0.4413      0.4367       0.0142     1.769    -0.13%       1.595          10.38        1.151          9.22
  9/11/2018     9/11/2017        9/10/2018      248    0.4413      0.4368       0.0142     1.774    -0.13%       1.594          10.39        1.151          9.25
  9/12/2018     9/12/2017        9/11/2018      248    0.4378      0.4332       0.0142     1.766    -0.13%       1.587          10.30        1.148          9.20
  9/13/2018     9/13/2017        9/12/2018      248    0.4316      0.4270       0.0142     1.756    -0.15%       1.575          10.25        1.122          8.99
  9/14/2018     9/14/2017        9/13/2018      248    0.4330      0.4284       0.0141     1.758    -0.14%       1.576          10.28        1.124          9.02
  9/17/2018     9/17/2017        9/16/2018      247    0.4337      0.4291       0.0141     1.761    -0.13%       1.578          10.28        1.124          9.01
  9/18/2018     9/18/2017        9/17/2018      248    0.4336      0.4289       0.0141     1.759    -0.13%       1.573          10.27        1.128          9.06
  9/19/2018     9/19/2017        9/18/2018      248    0.4349      0.4303       0.0141     1.763    -0.13%       1.572          10.28        1.134          9.10
  9/20/2018     9/20/2017        9/19/2018      248    0.4424      0.4379       0.0141     1.765    -0.12%       1.580          10.34        1.143          9.35
  9/21/2018     9/21/2017        9/20/2018      248    0.4467      0.4422       0.0141     1.754    -0.11%       1.593          10.48        1.146          9.38
  9/24/2018     9/24/2017        9/23/2018      247    0.4452      0.4406       0.0141     1.743    -0.11%       1.610          10.55        1.127          9.19


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/25/2018     9/25/2017        9/24/2018      248    0.4455      0.4410       0.0141     1.745    -0.11%       1.611          10.59        1.126          9.20
   9/26/2018     9/26/2017        9/25/2018      248    0.4429      0.4383       0.0140     1.749    -0.10%       1.599          10.56        1.114          9.13
   9/27/2018     9/27/2017        9/26/2018      248    0.4448      0.4403       0.0140     1.744    -0.11%       1.606          10.59        1.118          9.17
   9/28/2018     9/28/2017        9/27/2018      248    0.4400      0.4355       0.0140     1.752    -0.13%       1.599          10.57        1.102          8.99
   10/1/2018     10/1/2017        9/30/2018      247    0.4483      0.4438       0.0140     1.750    -0.16%       1.599          10.59        1.122          9.27
   10/2/2018     10/2/2017        10/1/2018      248    0.4473      0.4428       0.0140     1.745    -0.16%       1.597          10.59        1.122          9.28
   10/3/2018     10/3/2017        10/2/2018      248    0.4501      0.4456       0.0139     1.753    -0.16%       1.601          10.65        1.126          9.34
   10/4/2018     10/4/2017        10/3/2018      248    0.4522      0.4477       0.0139     1.757    -0.15%       1.601          10.65        1.134          9.43
   10/5/2018     10/5/2017        10/4/2018      248    0.4489      0.4444       0.0139     1.754    -0.14%       1.598          10.64        1.109          9.29
   10/8/2018     10/8/2017        10/7/2018      247    0.4464      0.4418       0.0140     1.761    -0.15%       1.589          10.60        1.100          9.18
   10/9/2018     10/9/2017        10/8/2018      248    0.4464      0.4418       0.0139     1.762    -0.15%       1.588          10.63        1.099          9.19
  10/10/2018    10/10/2017        10/9/2018      248    0.4448      0.4403       0.0139     1.764    -0.14%       1.586          10.62        1.092          9.13
  10/11/2018    10/11/2017       10/10/2018      248    0.4414      0.4368       0.0140     1.753    -0.13%       1.514          10.41        1.103          9.23
  10/12/2018    10/12/2017       10/11/2018      248    0.4355      0.4309       0.0140     1.734    -0.11%       1.460          10.23        1.106          9.19
  10/15/2018    10/15/2017       10/14/2018      247    0.4351      0.4304       0.0141     1.744    -0.11%       1.451          10.19        1.108          9.17
  10/16/2018    10/16/2017       10/15/2018      248    0.4272      0.4226       0.0142     1.731    -0.10%       1.441          10.06        1.098          9.03
  10/17/2018    10/17/2017       10/16/2018      248    0.4276      0.4229       0.0142     1.752    -0.11%       1.418          10.05        1.100          9.05
  10/18/2018    10/18/2017       10/17/2018      248    0.4281      0.4234       0.0142     1.752    -0.11%       1.418          10.05        1.102          9.08
  10/19/2018    10/19/2017       10/18/2018      248    0.4313      0.4267       0.0142     1.752    -0.11%       1.425          10.18        1.101          9.07
  10/22/2018    10/22/2017       10/21/2018      247    0.4311      0.4264       0.0142     1.751    -0.11%       1.425          10.15        1.104          9.05
  10/23/2018    10/23/2017       10/22/2018      248    0.4329      0.4282       0.0142     1.752    -0.12%       1.430          10.22        1.100          9.09
  10/24/2018    10/24/2017       10/23/2018      248    0.4310      0.4264       0.0141     1.728    -0.11%       1.414          10.15        1.099          9.09
  10/25/2018    10/25/2017       10/24/2018      247    0.4285      0.4238       0.0141     1.734    -0.12%       1.412          10.16        1.082          8.93
  10/26/2018    10/26/2017       10/25/2018      247    0.4257      0.4209       0.0141     1.730    -0.13%       1.404          10.10        1.078          8.87
  10/29/2018    10/29/2017       10/28/2018      247    0.4312      0.4266       0.0141     1.727    -0.12%       1.433          10.40        1.062          8.77
  10/30/2018    10/30/2017       10/29/2018      248    0.4287      0.4241       0.0141     1.721    -0.12%       1.432          10.40        1.045          8.71
  10/31/2018    10/31/2017       10/30/2018      248    0.4296      0.4249       0.0141     1.724    -0.12%       1.428          10.42        1.045          8.71
   11/1/2018     11/1/2017       10/31/2018      248    0.4278      0.4232       0.0141     1.719    -0.13%       1.412          10.37        1.048          8.70
   11/2/2018     11/2/2017        11/1/2018      248    0.4273      0.4226       0.0143     1.738    -0.12%       1.441          10.48        1.042          8.54
   11/5/2018     11/5/2017        11/4/2018      247    0.4240      0.4193       0.0144     1.718    -0.11%       1.434          10.40        1.036          8.45
   11/6/2018     11/6/2017        11/5/2018      248    0.4232      0.4185       0.0143     1.738    -0.11%       1.432          10.41        1.035          8.45
   11/7/2018     11/7/2017        11/6/2018      248    0.4236      0.4189       0.0143     1.740    -0.12%       1.429          10.40        1.039          8.48
   11/8/2018     11/8/2017        11/7/2018      248    0.4257      0.4210       0.0143     1.733    -0.12%       1.420          10.46        1.047          8.49
   11/9/2018     11/9/2017        11/8/2018      248    0.4283      0.4236       0.0143     1.749    -0.13%       1.419          10.47        1.060          8.59
  11/12/2018    11/12/2017       11/11/2018      247    0.4398      0.4353       0.0141     1.802    -0.16%       1.440          10.81        1.050          8.64
  11/13/2018    11/13/2017       11/12/2018      248    0.4474      0.4429       0.0141     1.801    -0.17%       1.458          11.10        1.052          8.67
  11/14/2018    11/14/2017       11/13/2018      248    0.4487      0.4442       0.0141     1.801    -0.16%       1.458          11.10        1.056          8.74
  11/15/2018    11/15/2017       11/14/2018      248    0.4478      0.4433       0.0141     1.803    -0.17%       1.455          11.10        1.048          8.69
  11/16/2018    11/16/2017       11/15/2018      248    0.4451      0.4405       0.0141     1.813    -0.18%       1.466          11.17        1.027          8.47
  11/19/2018    11/19/2017       11/18/2018      247    0.4500      0.4455       0.0140     1.838    -0.19%       1.451          11.13        1.050          8.71
  11/20/2018    11/20/2017       11/19/2018      248    0.4500      0.4455       0.0140     1.838    -0.19%       1.437          11.10        1.049          8.79
  11/21/2018    11/21/2017       11/20/2018      248    0.4594      0.4550       0.0141     1.829    -0.20%       1.479          11.46        1.055          8.76
  11/23/2018    11/23/2017       11/22/2018      247    0.4591      0.4547       0.0141     1.857    -0.19%       1.493          11.50        1.048          8.65


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  11/26/2018    11/26/2017       11/25/2018      247    0.4613      0.4569       0.0141     1.860    -0.19%       1.494          11.52        1.055          8.72
  11/27/2018    11/27/2017       11/26/2018      248    0.4721      0.4678       0.0142     1.860    -0.18%       1.530          11.83        1.074          8.89
  11/28/2018    11/28/2017       11/27/2018      248    0.4712      0.4669       0.0142     1.864    -0.17%       1.528          11.82        1.070          8.86
  11/29/2018    11/29/2017       11/28/2018      248    0.4741      0.4698       0.0141     1.885    -0.17%       1.508          11.80        1.106          9.04
  11/30/2018    11/30/2017       11/29/2018      248    0.4734      0.4691       0.0143     1.853    -0.20%       1.498          11.59        1.148          9.27
   12/3/2018     12/3/2017        12/2/2018      247    0.4693      0.4650       0.0144     1.817    -0.21%       1.501          11.49        1.145          9.15
   12/4/2018     12/4/2017        12/3/2018      248    0.4713      0.4670       0.0144     1.846    -0.21%       1.509          11.63        1.140          9.12
   12/6/2018     12/6/2017        12/5/2018      247    0.4735      0.4692       0.0145     1.837    -0.20%       1.500          11.78        1.133          8.98
   12/7/2018     12/7/2017        12/6/2018      247    0.4726      0.4683       0.0145     1.823    -0.20%       1.495          11.80        1.126          8.91
  12/10/2018    12/10/2017        12/9/2018      246    0.4718      0.4674       0.0144     1.833    -0.22%       1.481          11.78        1.117          8.85
  12/11/2018    12/11/2017       12/10/2018      247    0.4768      0.4725       0.0144     1.835    -0.23%       1.494          11.90        1.130          8.99
  12/12/2018    12/12/2017       12/11/2018      247    0.4766      0.4723       0.0145     1.844    -0.23%       1.496          11.90        1.124          8.97
  12/13/2018    12/13/2017       12/12/2018      247    0.4658      0.4614       0.0151     1.755    -0.20%       1.553          11.84        1.120          8.51
  12/14/2018    12/14/2017       12/13/2018      247    0.4655      0.4611       0.0152     1.876    -0.20%       1.554          11.83        1.123          8.51
  12/17/2018    12/17/2017       12/16/2018      246    0.4653      0.4609       0.0152     1.880    -0.20%       1.530          11.73        1.130          8.59
  12/18/2018    12/18/2017       12/17/2018      247    0.4668      0.4624       0.0152     1.881    -0.20%       1.528          11.82        1.125          8.59
  12/19/2018    12/19/2017       12/18/2018      247    0.4639      0.4595       0.0151     1.884    -0.20%       1.509          11.68        1.128          8.64
  12/20/2018    12/20/2017       12/19/2018      247    0.4660      0.4616       0.0152     1.893    -0.21%       1.521          11.75        1.132          8.65
  12/21/2018    12/21/2017       12/20/2018      247    0.4651      0.4608       0.0153     1.870    -0.21%       1.533          11.87        1.102          8.44
  12/24/2018    12/24/2017       12/23/2018      246    0.4692      0.4648       0.0153     1.897    -0.20%       1.532          11.96        1.110          8.47
  12/26/2018    12/26/2017       12/25/2018      247    0.4618      0.4574       0.0153     1.878    -0.19%       1.492          11.71        1.119          8.51
  12/27/2018    12/27/2017       12/26/2018      247    0.4659      0.4615       0.0154     1.900    -0.19%       1.481          11.89        1.112          8.45
  12/28/2018    12/28/2017       12/27/2018      247    0.4545      0.4500       0.0156     1.851    -0.21%       1.461          11.54        1.122          8.38
  12/31/2018    12/31/2017       12/30/2018      246    0.4527      0.4482       0.0158     1.919    -0.20%       1.469          11.51        1.119          8.28
   1/2/2019      1/2/2018         1/1/2019       247    0.4534      0.4489       0.0157     1.925    -0.20%       1.471          11.56        1.118          8.29
   1/3/2019      1/3/2018         1/2/2019       247    0.4524      0.4479       0.0157     1.924    -0.20%       1.467          11.52        1.112          8.31
   1/4/2019      1/4/2018         1/3/2019       247    0.4533      0.4488       0.0157     1.913    -0.19%       1.461          11.55        1.111          8.30
   1/7/2019      1/7/2018         1/6/2019       246    0.4796      0.4754       0.0153     1.888    -0.16%       1.505          12.51        1.069          8.21
   1/8/2019      1/8/2018         1/7/2019       247    0.4783      0.4740       0.0153     1.878    -0.16%       1.510          12.57        1.055          8.11
   1/9/2019      1/9/2018         1/8/2019       247    0.4784      0.4741       0.0153     1.883    -0.16%       1.507          12.58        1.049          8.10
   1/10/2019     1/10/2018        1/9/2019       247    0.4756      0.4713       0.0153     1.875    -0.16%       1.493          12.43        1.062          8.17
   1/11/2019     1/11/2018        1/10/2019      247    0.4739      0.4696       0.0153     1.890    -0.17%       1.493          12.44        1.054          8.06
   1/14/2019     1/14/2018        1/13/2019      246    0.4737      0.4694       0.0154     1.893    -0.17%       1.494          12.40        1.057          8.06
   1/15/2019     1/15/2018        1/14/2019      247    0.4733      0.4690       0.0153     1.891    -0.17%       1.491          12.40        1.048          8.09
   1/16/2019     1/16/2018        1/15/2019      248    0.4735      0.4692       0.0153     1.891    -0.17%       1.489          12.44        1.048          8.10
   1/17/2019     1/17/2018        1/16/2019      248    0.4810      0.4768       0.0156     1.867    -0.14%       1.498          12.27        1.131          8.75
   1/18/2019     1/18/2018        1/17/2019      248    0.4716      0.4673       0.0159     1.944    -0.15%       1.486          11.99        1.136          8.66
   1/22/2019     1/22/2018        1/21/2019      247    0.4735      0.4692       0.0159     1.985    -0.15%       1.490          12.04        1.135          8.63
   1/23/2019     1/23/2018        1/22/2019      247    0.4756      0.4713       0.0158     2.000    -0.17%       1.489          12.10        1.134          8.65
   1/24/2019     1/24/2018        1/23/2019      247    0.4737      0.4694       0.0159     2.002    -0.16%       1.491          12.05        1.136          8.62
   1/25/2019     1/25/2018        1/24/2019      247    0.4705      0.4662       0.0160     2.019    -0.17%       1.487          11.98        1.133          8.56
   1/28/2019     1/28/2018        1/27/2019      246    0.4749      0.4706       0.0161     2.038    -0.15%       1.511          12.12        1.138          8.54
   1/29/2019     1/29/2018        1/28/2019      247    0.4747      0.4704       0.0160     2.043    -0.15%       1.506          12.11        1.141          8.59


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  1/30/2019     1/30/2018        1/29/2019      247    0.4748      0.4705       0.0160     2.049    -0.14%       1.502          12.09        1.144          8.63
  1/31/2019     1/31/2018        1/30/2019      247    0.4733      0.4690       0.0160     2.058    -0.14%       1.485          12.01        1.141          8.66
  2/1/2019      2/1/2018         1/31/2019      247    0.4743      0.4700       0.0161     2.047    -0.16%       1.455          11.72        1.185          9.10
  2/4/2019      2/4/2018         2/3/2019       246    0.4730      0.4687       0.0161     2.047    -0.17%       1.455          11.70        1.181          9.01
  2/5/2019      2/5/2018         2/4/2019       247    0.4721      0.4677       0.0161     2.048    -0.17%       1.453          11.70        1.180          9.02
  2/6/2019      2/6/2018         2/5/2019       247    0.4664      0.4620       0.0161     2.045    -0.17%       1.467          11.48        1.180          9.02
  2/7/2019      2/7/2018         2/6/2019       247    0.4677      0.4633       0.0160     2.050    -0.18%       1.467          11.50        1.206          9.06
  2/8/2019      2/8/2018         2/7/2019       247    0.4709      0.4666       0.0162     2.032    -0.19%       1.500          11.65        1.214          9.02
  2/11/2019     2/11/2018        2/10/2019      246    0.4674      0.4630       0.0163     2.039    -0.19%       1.510          11.45        1.228          9.06
  2/12/2019     2/12/2018        2/11/2019      247    0.4659      0.4615       0.0163     2.041    -0.19%       1.510          11.45        1.226          9.04
  2/13/2019     2/13/2018        2/12/2019      247    0.4659      0.4616       0.0163     2.035    -0.19%       1.510          11.44        1.227          9.05
  2/14/2019     2/14/2018        2/13/2019      247    0.4666      0.4623       0.0162     2.041    -0.19%       1.510          11.46        1.228          9.06
  2/15/2019     2/15/2018        2/14/2019      247    0.4656      0.4612       0.0163     2.039    -0.20%       1.508          11.39        1.239          9.11
  2/19/2019     2/19/2018        2/18/2019      246    0.4768      0.4725       0.0163     2.028    -0.17%       1.556          11.67        1.257          9.24
  2/20/2019     2/20/2018        2/19/2019      247    0.4763      0.4720       0.0163     2.045    -0.18%       1.548          11.62        1.266          9.33
  2/21/2019     2/21/2018        2/20/2019      247    0.4838      0.4796       0.0162     2.077    -0.19%       1.563          11.83        1.268          9.42
  2/22/2019     2/22/2018        2/21/2019      247    0.4839      0.4797       0.0162     2.078    -0.19%       1.567          11.86        1.266          9.39
  2/25/2019     2/25/2018        2/24/2019      246    0.4853      0.4811       0.0162     2.082    -0.19%       1.577          11.88        1.261          9.38
  2/26/2019     2/26/2018        2/25/2019      247    0.4862      0.4820       0.0162     2.081    -0.18%       1.579          11.92        1.263          9.42
  2/27/2019     2/27/2018        2/26/2019      247    0.4851      0.4809       0.0162     2.070    -0.17%       1.584          11.90        1.263          9.39
  2/28/2019     2/28/2018        2/27/2019      247    0.4866      0.4824       0.0162     2.060    -0.17%       1.591          11.91        1.269          9.45
  3/1/2019      3/1/2018         2/28/2019      247    0.4820      0.4778       0.0163     2.046    -0.15%       1.580          11.76        1.269          9.42
  3/4/2019      3/4/2018         3/3/2019       246    0.4817      0.4775       0.0163     2.052    -0.16%       1.586          11.73        1.267          9.40
  3/5/2019      3/5/2018         3/4/2019       247    0.4820      0.4777       0.0162     2.052    -0.16%       1.587          11.76        1.268          9.42
  3/6/2019      3/6/2018         3/5/2019       247    0.4818      0.4775       0.0162     2.050    -0.16%       1.590          11.75        1.267          9.42
  3/7/2019      3/7/2018         3/6/2019       247    0.4811      0.4768       0.0162     2.050    -0.16%       1.585          11.72        1.269          9.43
  3/8/2019      3/8/2018         3/7/2019       247    0.4831      0.4789       0.0164     2.038    -0.18%       1.610          11.83        1.274          9.39
  3/11/2019     3/11/2018        3/10/2019      246    0.4879      0.4837       0.0163     2.068    -0.16%       1.628          11.94        1.276          9.43
  3/12/2019     3/12/2018        3/11/2019      247    0.4876      0.4834       0.0165     2.041    -0.15%       1.659          12.09        1.269          9.27
  3/13/2019     3/13/2018        3/12/2019      247    0.4842      0.4800       0.0166     2.089    -0.16%       1.649          11.95        1.277          9.28
  3/14/2019     3/14/2018        3/13/2019      247    0.4842      0.4800       0.0166     2.107    -0.15%       1.652          11.97        1.277          9.26
  3/15/2019     3/15/2018        3/14/2019      247    0.4817      0.4774       0.0167     2.109    -0.16%       1.652          11.93        1.271          9.19
  3/18/2019     3/18/2018        3/17/2019      246    0.4805      0.4763       0.0167     2.105    -0.17%       1.648          11.87        1.271          9.16
  3/19/2019     3/19/2018        3/18/2019      247    0.4820      0.4778       0.0168     2.103    -0.15%       1.659          11.91        1.284          9.23
  3/20/2019     3/20/2018        3/19/2019      247    0.4813      0.4770       0.0168     2.125    -0.16%       1.659          11.84        1.295          9.28
  3/21/2019     3/21/2018        3/20/2019      247    0.4844      0.4802       0.0168     2.102    -0.17%       1.665          11.89        1.296          9.37
  3/22/2019     3/22/2018        3/21/2019      247    0.4925      0.4884       0.0167     2.108    -0.17%       1.636          11.83        1.326          9.84
  3/25/2019     3/25/2018        3/24/2019      246    0.4837      0.4795       0.0167     2.119    -0.17%       1.621          11.53        1.321          9.73
  3/26/2019     3/26/2018        3/25/2019      247    0.4836      0.4794       0.0167     2.122    -0.17%       1.620          11.55        1.321          9.75
  3/27/2019     3/27/2018        3/26/2019      247    0.4841      0.4798       0.0167     2.122    -0.17%       1.623          11.51        1.333          9.82
  3/28/2019     3/28/2018        3/27/2019      247    0.4804      0.4762       0.0167     2.111    -0.15%       1.609          11.36        1.346          9.83
  3/29/2019     3/29/2018        3/28/2019      247    0.4719      0.4676       0.0169     2.123    -0.17%       1.610          11.23        1.328          9.59
  4/1/2019      4/1/2018         3/31/2019      247    0.4693      0.4650       0.0169     2.125    -0.17%       1.601          11.13        1.329          9.59


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  4/2/2019      4/2/2018         4/1/2019       248    0.4802      0.4760       0.0169     2.130    -0.16%       1.630          11.40        1.342          9.82
  4/3/2019      4/3/2018         4/2/2019       248    0.4774      0.4731       0.0169     2.132    -0.16%       1.632          11.32        1.336          9.77
  4/4/2019      4/4/2018         4/3/2019       248    0.4782      0.4739       0.0169     2.136    -0.16%       1.634          11.35        1.338          9.78
  4/5/2019      4/5/2018         4/4/2019       248    0.4753      0.4710       0.0170     2.130    -0.16%       1.633          11.30        1.328          9.71
  4/8/2019      4/8/2018         4/7/2019       247    0.4696      0.4652       0.0170     2.128    -0.18%       1.608          11.01        1.332          9.74
  4/9/2019      4/9/2018         4/8/2019       248    0.4693      0.4649       0.0170     2.128    -0.18%       1.608          11.03        1.331          9.75
  4/10/2019     4/10/2018        4/9/2019       248    0.4690      0.4647       0.0170     2.125    -0.18%       1.607          11.02        1.332          9.75
  4/11/2019     4/11/2018        4/10/2019      248    0.4706      0.4662       0.0169     2.109    -0.18%       1.622          11.07        1.332          9.76
  4/12/2019     4/12/2018        4/11/2019      248    0.4749      0.4707       0.0169     2.107    -0.17%       1.626          11.11        1.348          9.91
  4/15/2019     4/15/2018        4/14/2019      247    0.4793      0.4750       0.0169     2.108    -0.17%       1.630          11.15        1.353          10.01
  4/16/2019     4/16/2018        4/15/2019      248    0.4782      0.4739       0.0169     2.116    -0.17%       1.631          11.16        1.348          9.99
  4/17/2019     4/17/2018        4/16/2019      248    0.4802      0.4759       0.0169     2.111    -0.15%       1.636          11.18        1.356          10.07
  4/18/2019     4/18/2018        4/17/2019      248    0.4791      0.4749       0.0169     2.113    -0.15%       1.640          11.17        1.343          10.03
  4/22/2019     4/22/2018        4/21/2019      246    0.4855      0.4812       0.0169     2.112    -0.16%       1.643          11.17        1.397          10.22
  4/23/2019     4/23/2018        4/22/2019      247    0.4855      0.4813       0.0168     2.112    -0.16%       1.643          11.20        1.397          10.24
  4/24/2019     4/24/2018        4/23/2019      247    0.4848      0.4806       0.0169     2.082    -0.17%       1.629          11.09        1.408          10.33
  4/25/2019     4/25/2018        4/24/2019      247    0.4942      0.4901       0.0166     2.104    -0.19%       1.659          11.44        1.395          10.38
  4/26/2019     4/26/2018        4/25/2019      247    0.4939      0.4897       0.0167     2.102    -0.19%       1.660          11.43        1.396          10.37
  4/29/2019     4/29/2018        4/28/2019      246    0.4960      0.4919       0.0166     2.119    -0.18%       1.663          11.49        1.389          10.35
  4/30/2019     4/30/2018        4/29/2019      247    0.4971      0.4929       0.0166     2.121    -0.17%       1.664          11.52        1.386          10.41
  5/1/2019      5/1/2018         4/30/2019      247    0.4966      0.4925       0.0166     2.123    -0.17%       1.661          11.49        1.386          10.42
  5/2/2019      5/2/2018         5/1/2019       247    0.4973      0.4932       0.0166     2.120    -0.18%       1.663          11.51        1.386          10.43
  5/3/2019      5/3/2018         5/2/2019       247    0.4988      0.4947       0.0165     2.125    -0.17%       1.660          11.51        1.389          10.50
  5/6/2019      5/6/2018         5/5/2019       246    0.4994      0.4952       0.0166     2.126    -0.18%       1.656          11.46        1.401          10.53
  5/7/2019      5/7/2018         5/6/2019       247    0.4999      0.4958       0.0165     2.129    -0.18%       1.658          11.51        1.400          10.56
  5/8/2019      5/8/2018         5/7/2019       247    0.5042      0.5002       0.0165     2.124    -0.18%       1.670          11.68        1.402          10.57
  5/9/2019      5/9/2018         5/8/2019       247    0.5075      0.5034       0.0165     2.141    -0.17%       1.667          11.71        1.418          10.69
  5/10/2019     5/10/2018        5/9/2019       247    0.5079      0.5039       0.0165     2.147    -0.18%       1.665          11.70        1.426          10.72
  5/13/2019     5/13/2018        5/12/2019      246    0.5071      0.5030       0.0165     2.143    -0.17%       1.670          11.67        1.423          10.67
  5/14/2019     5/14/2018        5/13/2019      247    0.5070      0.5029       0.0165     2.133    -0.17%       1.665          11.78        1.408          10.59
  5/15/2019     5/15/2018        5/14/2019      247    0.5078      0.5038       0.0165     2.149    -0.16%       1.666          11.82        1.406          10.59
  5/16/2019     5/16/2018        5/15/2019      247    0.5092      0.5051       0.0164     2.166    -0.16%       1.655          11.77        1.413          10.70
  5/17/2019     5/17/2018        5/16/2019      247    0.5078      0.5037       0.0164     2.164    -0.16%       1.651          11.77        1.406          10.64
  5/20/2019     5/20/2018        5/19/2019      246    0.5070      0.5029       0.0165     2.170    -0.15%       1.649          11.74        1.407          10.59
  5/21/2019     5/21/2018        5/20/2019      247    0.5057      0.5017       0.0165     2.166    -0.15%       1.653          11.77        1.399          10.54
  5/22/2019     5/22/2018        5/21/2019      247    0.5068      0.5028       0.0165     2.170    -0.15%       1.656          11.81        1.400          10.55
  5/23/2019     5/23/2018        5/22/2019      247    0.5066      0.5026       0.0165     2.170    -0.17%       1.662          11.85        1.398          10.50
  5/24/2019     5/24/2018        5/23/2019      247    0.5076      0.5035       0.0165     2.145    -0.16%       1.657          11.87        1.403          10.52
  5/28/2019     5/28/2018        5/27/2019      246    0.5090      0.5050       0.0163     2.166    -0.15%       1.651          11.91        1.388          10.49
  5/29/2019     5/29/2018        5/28/2019      247    0.5104      0.5063       0.0163     2.164    -0.15%       1.655          11.98        1.390          10.53
  5/30/2019     5/30/2018        5/29/2019      247    0.4961      0.4920       0.0163     2.161    -0.13%       1.616          11.65        1.377          10.22
  5/31/2019     5/31/2018        5/30/2019      247    0.4920      0.4878       0.0163     2.150    -0.14%       1.609          11.56        1.365          10.14
  6/3/2019      6/3/2018         6/2/2019       246    0.4963      0.4921       0.0162     2.176    -0.12%       1.611          11.66        1.360          10.17


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  6/4/2019      6/4/2018         6/3/2019       247    0.4955      0.4914       0.0162     2.174    -0.12%       1.611          11.68        1.356          10.16
  6/5/2019      6/5/2018         6/4/2019       247    0.5060      0.5020       0.0162     2.179    -0.11%       1.637          11.98        1.366          10.32
  6/6/2019      6/6/2018         6/5/2019       247    0.5039      0.4998       0.0162     2.176    -0.12%       1.615          11.81        1.379          10.41
  6/7/2019      6/7/2018         6/6/2019       247    0.4972      0.4931       0.0163     2.152    -0.14%       1.597          11.60        1.384          10.33
  6/10/2019     6/10/2018        6/9/2019       246    0.4977      0.4936       0.0163     2.155    -0.14%       1.586          11.57        1.364          10.33
  6/11/2019     6/11/2018        6/10/2019      247    0.4992      0.4951       0.0163     2.156    -0.14%       1.589          11.63        1.366          10.39
  6/12/2019     6/12/2018        6/11/2019      247    0.4998      0.4957       0.0163     2.160    -0.14%       1.588          11.63        1.368          10.41
  6/13/2019     6/13/2018        6/12/2019      247    0.5006      0.4965       0.0163     2.160    -0.14%       1.590          11.65        1.367          10.43
  6/14/2019     6/14/2018        6/13/2019      247    0.5006      0.4965       0.0163     2.160    -0.14%       1.590          11.65        1.367          10.43
  6/17/2019     6/17/2018        6/16/2019      246    0.4993      0.4952       0.0163     2.158    -0.14%       1.591          11.62        1.367          10.36
  6/18/2019     6/18/2018        6/17/2019      247    0.4978      0.4937       0.0163     2.161    -0.14%       1.591          11.63        1.362          10.33
  6/19/2019     6/19/2018        6/18/2019      247    0.5021      0.4981       0.0163     2.148    -0.13%       1.609          11.76        1.369          10.38
  6/20/2019     6/20/2018        6/19/2019      247    0.5021      0.4980       0.0163     2.136    -0.14%       1.621          11.84        1.355          10.29
  6/21/2019     6/21/2018        6/20/2019      247    0.5024      0.4983       0.0163     2.145    -0.14%       1.613          11.82        1.356          10.33
  6/24/2019     6/24/2018        6/23/2019      246    0.5027      0.4986       0.0163     2.144    -0.13%       1.607          11.76        1.363          10.36
  6/25/2019     6/25/2018        6/24/2019      247    0.5030      0.4989       0.0163     2.148    -0.14%       1.607          11.78        1.364          10.40
  6/26/2019     6/26/2018        6/25/2019      247    0.5019      0.4979       0.0163     2.141    -0.14%       1.613          11.75        1.363          10.38
  6/27/2019     6/27/2018        6/26/2019      247    0.5027      0.4986       0.0164     2.126    -0.12%       1.606          11.66        1.382          10.52
  6/28/2019     6/28/2018        6/27/2019      247    0.5008      0.4967       0.0164     2.133    -0.10%       1.599          11.61        1.377          10.48
  7/1/2019      7/1/2018         6/30/2019      246    0.5027      0.4986       0.0163     2.134    -0.10%       1.597          11.61        1.385          10.53
  7/2/2019      7/2/2018         7/1/2019       247    0.5014      0.4973       0.0163     2.128    -0.10%       1.594          11.61        1.382          10.52
  7/3/2019      7/3/2018         7/2/2019       247    0.5015      0.4974       0.0163     2.125    -0.11%       1.594          11.61        1.382          10.52
  7/5/2019      7/5/2018         7/4/2019       247    0.5015      0.4974       0.0164     2.123    -0.11%       1.603          11.65        1.382          10.47
  7/8/2019      7/8/2018         7/7/2019       246    0.5041      0.5000       0.0163     2.124    -0.11%       1.570          11.45        1.406          10.76
  7/9/2019      7/9/2018         7/8/2019       247    0.4970      0.4929       0.0166     2.113    -0.13%       1.589          11.39        1.405          10.55
  7/10/2019     7/10/2018        7/9/2019       247    0.4958      0.4917       0.0167     2.081    -0.14%       1.593          11.33        1.422          10.56
  7/11/2019     7/11/2018        7/10/2019      247    0.4927      0.4886       0.0167     2.114    -0.13%       1.598          11.32        1.413          10.43
  7/12/2019     7/12/2018        7/11/2019      247    0.4923      0.4881       0.0167     2.126    -0.13%       1.593          11.27        1.414          10.46
  7/15/2019     7/15/2018        7/14/2019      246    0.4931      0.4890       0.0168     2.112    -0.12%       1.600          11.26        1.423          10.47
  7/16/2019     7/16/2018        7/15/2019      247    0.4901      0.4860       0.0168     2.097    -0.11%       1.600          11.25        1.413          10.39
  7/17/2019     7/17/2018        7/16/2019      247    0.4745      0.4702       0.0167     2.078    -0.13%       1.599          11.33        1.336          9.59
  7/18/2019     7/18/2018        7/17/2019      247    0.4755      0.4713       0.0166     2.089    -0.12%       1.605          11.40        1.329          9.56
  7/19/2019     7/19/2018        7/18/2019      247    0.4751      0.4708       0.0166     2.092    -0.13%       1.603          11.39        1.325          9.54
  7/22/2019     7/22/2018        7/21/2019      246    0.4781      0.4738       0.0167     2.086    -0.14%       1.606          11.39        1.343          9.63
  7/23/2019     7/23/2018        7/22/2019      247    0.4785      0.4742       0.0166     2.091    -0.13%       1.607          11.42        1.344          9.66
  7/24/2019     7/24/2018        7/23/2019      247    0.4797      0.4754       0.0166     2.093    -0.13%       1.612          11.47        1.350          9.67
  7/25/2019     7/25/2018        7/24/2019      246    0.4795      0.4752       0.0166     2.091    -0.13%       1.611          11.43        1.351          9.65
  7/26/2019     7/26/2018        7/25/2019      247    0.4778      0.4735       0.0166     2.088    -0.13%       1.609          11.43        1.345          9.62
  7/29/2019     7/29/2018        7/28/2019      246    0.4776      0.4733       0.0167     2.096    -0.14%       1.613          11.46        1.340          9.53
  7/30/2019     7/30/2018        7/29/2019      247    0.4781      0.4738       0.0166     2.096    -0.15%       1.615          11.49        1.340          9.57
  7/31/2019     7/31/2018        7/30/2019      247    0.4779      0.4736       0.0166     2.110    -0.16%       1.625          11.60        1.320          9.42
  8/1/2019      8/1/2018         7/31/2019      247    0.4817      0.4774       0.0165     2.117    -0.16%       1.611          11.59        1.342          9.62
  8/2/2019      8/2/2018         8/1/2019       247    0.4833      0.4791       0.0165     2.112    -0.17%       1.617          11.64        1.329          9.63


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  8/5/2019      8/5/2018         8/4/2019       246    0.4785      0.4743       0.0166     2.088    -0.13%       1.575          11.28        1.358          9.79
  8/6/2019      8/6/2018         8/5/2019       247    0.4802      0.4759       0.0166     2.093    -0.12%       1.559          11.41        1.353          9.76
  8/7/2019      8/7/2018         8/6/2019       247    0.4787      0.4744       0.0167     2.101    -0.13%       1.556          11.37        1.351          9.73
  8/8/2019      8/8/2018         8/7/2019       247    0.4800      0.4758       0.0166     2.101    -0.14%       1.551          11.34        1.351          9.84
  8/9/2019      8/9/2018         8/8/2019       247    0.4839      0.4796       0.0166     2.101    -0.14%       1.554          11.46        1.355          9.87
  8/12/2019     8/12/2018        8/11/2019      246    0.4797      0.4754       0.0166     2.110    -0.12%       1.535          11.30        1.348          9.82
  8/13/2019     8/13/2018        8/12/2019      247    0.4864      0.4822       0.0168     2.061    -0.15%       1.570          11.43        1.387          10.02
  8/14/2019     8/14/2018        8/13/2019      247    0.4843      0.4801       0.0169     2.116    -0.13%       1.576          11.44        1.382          9.92
  8/15/2019     8/15/2018        8/14/2019      247    0.5010      0.4969       0.0169     2.130    -0.14%       1.628          11.98        1.396          10.07
  8/16/2019     8/16/2018        8/15/2019      247    0.4945      0.4903       0.0171     2.099    -0.15%       1.626          11.83        1.391          9.94
  8/19/2019     8/19/2018        8/18/2019      246    0.5037      0.4996       0.0173     2.128    -0.13%       1.677          12.06        1.423          10.06
  8/20/2019     8/20/2018        8/19/2019      247    0.5046      0.5005       0.0173     2.148    -0.13%       1.676          12.12        1.421          10.07
  8/21/2019     8/21/2018        8/20/2019      247    0.5044      0.5004       0.0173     2.141    -0.12%       1.677          12.13        1.418          10.06
  8/22/2019     8/22/2018        8/21/2019      247    0.5039      0.4999       0.0173     2.151    -0.14%       1.670          12.13        1.412          10.04
  8/23/2019     8/23/2018        8/22/2019      247    0.5053      0.5013       0.0173     2.141    -0.13%       1.666          12.09        1.422          10.15
  8/26/2019     8/26/2018        8/25/2019      246    0.5073      0.5033       0.0173     2.144    -0.12%       1.660          12.15        1.421          10.13
  8/27/2019     8/27/2018        8/26/2019      247    0.5081      0.5041       0.0172     2.144    -0.12%       1.662          12.20        1.421          10.16
  8/28/2019     8/28/2018        8/27/2019      247    0.5017      0.4976       0.0173     2.133    -0.12%       1.653          12.06        1.403          10.01
  8/29/2019     8/29/2018        8/28/2019      247    0.5014      0.4973       0.0173     2.142    -0.11%       1.654          12.08        1.398          9.97
  8/30/2019     8/30/2018        8/29/2019      247    0.5003      0.4962       0.0173     2.136    -0.12%       1.649          12.06        1.394          9.95
  9/3/2019      9/3/2018         9/2/2019       246    0.4990      0.4949       0.0173     2.139    -0.11%       1.644          12.00        1.391          9.90
  9/4/2019      9/4/2018         9/3/2019       247    0.4959      0.4918       0.0174     2.134    -0.10%       1.638          11.95        1.386          9.86
  9/5/2019      9/5/2018         9/4/2019       247    0.4976      0.4934       0.0174     2.138    -0.11%       1.653          12.09        1.380          9.77
  9/6/2019      9/6/2018         9/5/2019       247    0.5036      0.4996       0.0174     2.133    -0.10%       1.676          12.29        1.387          9.83
  9/9/2019      9/9/2018         9/8/2019       246    0.5032      0.4991       0.0174     2.132    -0.09%       1.673          12.24        1.385          9.81
  9/10/2019     9/10/2018        9/9/2019       247    0.5076      0.5035       0.0174     2.133    -0.08%       1.672          12.26        1.381          10.06
  9/11/2019     9/11/2018        9/10/2019      247    0.5090      0.5050       0.0174     2.131    -0.07%       1.673          12.27        1.377          10.12
  9/12/2019     9/12/2018        9/11/2019      247    0.5091      0.5050       0.0173     2.134    -0.08%       1.667          12.25        1.379          10.15
  9/13/2019     9/13/2018        9/12/2019      247    0.5095      0.5055       0.0173     2.136    -0.08%       1.667          12.25        1.383          10.16
  9/16/2019     9/16/2018        9/15/2019      246    0.5099      0.5059       0.0174     2.135    -0.07%       1.667          12.22        1.378          10.17
  9/17/2019     9/17/2018        9/16/2019      247    0.5111      0.5071       0.0174     2.131    -0.08%       1.672          12.28        1.381          10.21
  9/18/2019     9/18/2018        9/17/2019      247    0.5110      0.5070       0.0174     2.136    -0.09%       1.674          12.29        1.376          10.19
  9/19/2019     9/19/2018        9/18/2019      247    0.5089      0.5049       0.0174     2.132    -0.10%       1.675          12.26        1.372          10.13
  9/20/2019     9/20/2018        9/19/2019      247    0.5053      0.5013       0.0174     2.139    -0.11%       1.671          12.22        1.374          9.99
  9/23/2019     9/23/2018        9/22/2019      246    0.5047      0.5006       0.0174     2.144    -0.12%       1.665          12.15        1.378          10.00
  9/24/2019     9/24/2018        9/23/2019      247    0.5040      0.5000       0.0174     2.136    -0.12%       1.667          12.16        1.380          10.00
  9/25/2019     9/25/2018        9/24/2019      247    0.5060      0.5019       0.0174     2.137    -0.13%       1.672          12.21        1.383          10.04
  9/26/2019     9/26/2018        9/25/2019      247    0.5055      0.5015       0.0174     2.136    -0.13%       1.672          12.21        1.380          10.02
  9/27/2019     9/27/2018        9/26/2019      247    0.5043      0.5002       0.0174     2.131    -0.13%       1.671          12.18        1.380          10.00
  9/30/2019     9/30/2018        9/29/2019      246    0.5006      0.4964       0.0175     2.139    -0.10%       1.660          12.07        1.376          9.89
  10/1/2019     10/1/2018        9/30/2019      247    0.5005      0.4964       0.0175     2.143    -0.11%       1.659          12.09        1.378          9.92
  10/2/2019     10/2/2018        10/1/2019      247    0.5043      0.5002       0.0174     2.144    -0.11%       1.670          12.21        1.381          9.96
  10/3/2019     10/3/2018        10/2/2019      247    0.5008      0.4967       0.0175     2.143    -0.10%       1.647          12.11        1.379          9.91


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   10/4/2019     10/4/2018        10/3/2019      247    0.4998      0.4957       0.0175     2.146    -0.11%       1.644          12.09        1.377          9.88
   10/7/2019     10/7/2018        10/6/2019      246    0.5010      0.4968       0.0175     2.144    -0.12%       1.641          12.06        1.397          9.92
   10/8/2019     10/8/2018        10/7/2019      247    0.5008      0.4968       0.0175     2.141    -0.12%       1.642          12.09        1.398          9.94
   10/9/2019     10/9/2018        10/8/2019      247    0.5027      0.4986       0.0175     2.142    -0.12%       1.643          12.15        1.399          9.94
  10/10/2019    10/10/2018        10/9/2019      247    0.5030      0.4989       0.0175     2.143    -0.13%       1.641          12.16        1.401          9.96
  10/11/2019    10/11/2018       10/10/2019      247    0.5072      0.5031       0.0175     2.150    -0.13%       1.690          12.35        1.394           9.93
  10/14/2019    10/14/2018       10/13/2019      246    0.5175      0.5135       0.0174     2.141    -0.13%       1.756          12.71        1.397           9.96
  10/15/2019    10/15/2018       10/14/2019      247    0.5174      0.5135       0.0174     2.139    -0.12%       1.754          12.71        1.400          10.00
  10/16/2019    10/16/2018       10/15/2019      247    0.5260      0.5221       0.0173     2.151    -0.13%       1.769          12.94        1.409          10.16
  10/17/2019    10/17/2018       10/16/2019      247    0.5254      0.5215       0.0173     2.149    -0.12%       1.789          12.96        1.406          10.11
  10/18/2019    10/18/2018       10/17/2019      247    0.5253      0.5214       0.0173     2.149    -0.12%       1.790          12.97        1.405          10.09
  10/21/2019    10/21/2018       10/20/2019      246    0.5238      0.5199       0.0173     2.146    -0.12%       1.786          12.86        1.409          10.10
  10/22/2019    10/22/2018       10/21/2019      247    0.5247      0.5208       0.0173     2.145    -0.11%       1.789          12.92        1.402          10.12
  10/23/2019    10/23/2018       10/22/2019      247    0.5216      0.5177       0.0174     2.133    -0.11%       1.789          12.87        1.401          10.02
  10/24/2019    10/24/2018       10/23/2019      247    0.5237      0.5198       0.0173     2.134    -0.12%       1.801          12.93        1.402          10.05
  10/25/2019    10/25/2018       10/24/2019      248    0.5237      0.5198       0.0173     2.133    -0.12%       1.798          12.94        1.404          10.10
  10/28/2019    10/28/2018       10/27/2019      247    0.5250      0.5211       0.0172     2.153    -0.11%       1.798          12.88        1.414          10.19
  10/29/2019    10/29/2018       10/28/2019      248    0.5244      0.5205       0.0172     2.152    -0.11%       1.799          12.90        1.410          10.18
  10/30/2019    10/30/2018       10/29/2019      248    0.5266      0.5228       0.0172     2.162    -0.12%       1.800          12.93        1.431          10.26
  10/31/2019    10/31/2018       10/30/2019      247    0.5263      0.5224       0.0172     2.158    -0.11%       1.806          12.90        1.430          10.23
   11/1/2019     11/1/2018       10/31/2019      247    0.5293      0.5254       0.0172     2.122    -0.11%       1.822          12.99        1.431          10.28
   11/4/2019     11/4/2018        11/3/2019      246    0.5342      0.5304       0.0170     2.166    -0.13%       1.810          13.05        1.430          10.41
   11/5/2019     11/5/2018        11/4/2019      247    0.5366      0.5328       0.0170     2.164    -0.12%       1.817          13.12        1.440          10.51
   11/6/2019     11/6/2018        11/5/2019      247    0.5367      0.5329       0.0170     2.174    -0.12%       1.818          13.12        1.438          10.51
   11/7/2019     11/7/2018        11/6/2019      247    0.5366      0.5328       0.0170     2.176    -0.11%       1.821          13.14        1.437          10.49
   11/8/2019     11/8/2018        11/7/2019      247    0.5366      0.5328       0.0170     2.171    -0.11%       1.837          13.13        1.436          10.49
  11/11/2019    11/11/2018       11/10/2019      246    0.5369      0.5331       0.0170     2.179    -0.10%       1.832          13.07        1.440          10.53
  11/12/2019    11/12/2018       11/11/2019      247    0.5369      0.5331       0.0169     2.183    -0.10%       1.832          13.10        1.440          10.55
  11/13/2019    11/13/2018       11/12/2019      247    0.5319      0.5281       0.0169     2.182    -0.10%       1.824          12.90        1.436          10.53
  11/14/2019    11/14/2018       11/13/2019      247    0.5322      0.5284       0.0170     2.170    -0.12%       1.829          12.86        1.454          10.59
  11/15/2019    11/15/2018       11/14/2019      247    0.5354      0.5316       0.0170     2.163    -0.13%       1.835          12.93        1.463          10.68
  11/18/2019    11/18/2018       11/17/2019      246    0.5382      0.5344       0.0170     2.172    -0.12%       1.840          12.98        1.472          10.71
  11/19/2019    11/19/2018       11/18/2019      247    0.5383      0.5345       0.0169     2.172    -0.12%       1.840          13.01        1.472          10.74
  11/20/2019    11/20/2018       11/19/2019      247    0.5384      0.5346       0.0169     2.168    -0.13%       1.854          13.05        1.476          10.69
  11/21/2019    11/21/2018       11/20/2019      247    0.5323      0.5285       0.0169     2.160    -0.12%       1.824          12.77        1.474          10.71
  11/22/2019    11/22/2018       11/21/2019      247    0.5332      0.5294       0.0168     2.161    -0.12%       1.817          12.75        1.479          10.78
  11/25/2019    11/25/2018       11/24/2019      247    0.5309      0.5270       0.0168     2.158    -0.11%       1.812          12.69        1.472          10.73
  11/26/2019    11/26/2018       11/25/2019      248    0.5306      0.5268       0.0168     2.158    -0.12%       1.808          12.70        1.473          10.76
  11/27/2019    11/27/2018       11/26/2019      248    0.5237      0.5198       0.0168     2.165    -0.13%       1.780          12.46        1.464          10.68
  11/29/2019    11/29/2018       11/28/2019      247    0.5259      0.5220       0.0168     2.163    -0.13%       1.803          12.54        1.461          10.65
   12/2/2019     12/2/2018        12/1/2019      246    0.5294      0.5255       0.0166     2.199    -0.10%       1.821          12.80        1.428          10.46
   12/3/2019     12/3/2018        12/2/2019      247    0.5294      0.5255       0.0166     2.202    -0.10%       1.815          12.81        1.429          10.50
   12/4/2019     12/4/2018        12/3/2019      247    0.5292      0.5254       0.0166     2.205    -0.10%       1.815          12.77        1.433          10.54


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   12/5/2019     12/5/2018        12/4/2019      247    0.5306      0.5268       0.0165     2.221    -0.10%       1.835          12.71        1.451          10.70
   12/6/2019     12/6/2018        12/5/2019      248    0.5306      0.5267       0.0164     2.221    -0.10%       1.835          12.73        1.451          10.72
   12/9/2019     12/9/2018        12/8/2019      247    0.5305      0.5267       0.0164     2.222    -0.11%       1.844          12.64        1.460          10.76
  12/10/2019    12/10/2018        12/9/2019      248    0.5303      0.5265       0.0164     2.226    -0.11%       1.844          12.67        1.459          10.78
  12/11/2019    12/11/2018       12/10/2019      248    0.5258      0.5219       0.0164     2.225    -0.10%       1.829          12.55        1.451          10.68
  12/12/2019    12/12/2018       12/11/2019      248    0.5260      0.5221       0.0164     2.174    -0.09%       1.830          12.56        1.456          10.68
  12/13/2019    12/13/2018       12/12/2019      248    0.5422      0.5385       0.0158     2.230    -0.10%       1.791          12.72        1.473          11.33
  12/16/2019    12/16/2018       12/15/2019      247    0.5424      0.5386       0.0158     2.231    -0.12%       1.814          12.73        1.473          11.28
  12/17/2019    12/17/2018       12/16/2019      248    0.5428      0.5390       0.0158     2.230    -0.11%       1.822          12.81        1.471          11.26
  12/18/2019    12/18/2018       12/17/2019      248    0.5417      0.5379       0.0158     2.223    -0.11%       1.827          12.72        1.480          11.31
  12/19/2019    12/19/2018       12/18/2019      248    0.5425      0.5388       0.0158     2.216    -0.11%       1.833          12.77        1.476          11.29
  12/20/2019    12/20/2018       12/19/2019      248    0.5369      0.5331       0.0158     2.220    -0.10%       1.820          12.61        1.462          11.18
  12/23/2019    12/23/2018       12/22/2019      247    0.5376      0.5338       0.0158     2.241    -0.11%       1.811          12.34        1.502          11.46
  12/24/2019    12/24/2018       12/23/2019      248    0.5368      0.5330       0.0158     2.234    -0.11%       1.811          12.35        1.501          11.46
  12/26/2019    12/26/2018       12/25/2019      248    0.5433      0.5396       0.0156     2.220    -0.14%       1.874          12.67        1.489          11.44
  12/27/2019    12/27/2018       12/26/2019      248    0.5435      0.5398       0.0156     2.224    -0.13%       1.914          12.62        1.492          11.51
  12/30/2019    12/30/2018       12/29/2019      247    0.5565      0.5529       0.0152     2.235    -0.12%       1.934          13.02        1.482          11.69
  12/31/2019    12/31/2018       12/30/2019      248    0.5559      0.5523       0.0152     2.232    -0.12%       1.926          13.01        1.484          11.73
   1/2/2020      1/2/2019         1/1/2020       248    0.5558      0.5521       0.0152     2.230    -0.11%       1.926          12.99        1.486          11.74
   1/3/2020      1/3/2019         1/2/2020       248    0.5523      0.5487       0.0156     2.165    -0.10%       1.964          12.97        1.508          11.58
   1/6/2020      1/6/2019         1/5/2020       247    0.5449      0.5412       0.0156     2.197    -0.11%       2.000          12.60        1.504          11.55
   1/7/2020      1/7/2019         1/6/2020       248    0.5450      0.5413       0.0155     2.197    -0.12%       2.000          12.63        1.504          11.58
   1/8/2020      1/8/2019         1/7/2020       248    0.5385      0.5348       0.0157     2.190    -0.11%       1.991          12.44        1.503          11.45
   1/9/2020      1/9/2019         1/8/2020       248    0.5372      0.5334       0.0158     2.143    -0.09%       2.004          12.40        1.517          11.43
   1/10/2020     1/10/2019        1/9/2020       248    0.5410      0.5373       0.0157     2.165    -0.08%       2.028          12.60        1.505          11.40
   1/13/2020     1/13/2019        1/12/2020      247    0.5416      0.5378       0.0157     2.164    -0.08%       2.029          12.58        1.504          11.40
   1/14/2020     1/14/2019        1/13/2020      248    0.5393      0.5355       0.0157     2.162    -0.09%       2.024          12.55        1.500          11.37
   1/15/2020     1/15/2019        1/14/2020      248    0.5413      0.5376       0.0157     2.175    -0.09%       2.030          12.60        1.520          11.42
   1/16/2020     1/16/2019        1/15/2020      248    0.5430      0.5393       0.0157     2.143    -0.09%       2.035          12.60        1.518          11.51
   1/17/2020     1/17/2019        1/16/2020      248    0.5334      0.5296       0.0155     2.078    -0.12%       2.032          12.74        1.445          10.85
   1/21/2020     1/21/2019        1/20/2020      247    0.5399      0.5361       0.0153     2.107    -0.11%       2.045          12.88        1.443          10.97
   1/22/2020     1/22/2019        1/21/2020      248    0.5410      0.5372       0.0153     2.113    -0.11%       2.049          12.94        1.439          11.01
   1/23/2020     1/23/2019        1/22/2020      248    0.5370      0.5332       0.0153     2.095    -0.10%       2.038          12.76        1.441          11.01
   1/24/2020     1/24/2019        1/23/2020      248    0.5353      0.5315       0.0153     2.058    -0.10%       2.032          12.71        1.439          10.98
   1/27/2020     1/27/2019        1/26/2020      247    0.5293      0.5254       0.0153     2.031    -0.10%       2.004          12.52        1.415          10.85
   1/28/2020     1/28/2019        1/27/2020      248    0.5258      0.5219       0.0153     2.018    -0.08%       1.950          12.35        1.424          10.92
   1/29/2020     1/29/2019        1/28/2020      248    0.5268      0.5230       0.0153     2.026    -0.09%       1.964          12.43        1.421          10.88
   1/30/2020     1/30/2019        1/29/2020      248    0.5249      0.5210       0.0154     2.020    -0.08%       1.963          12.40        1.416          10.82
   1/31/2020     1/31/2019        1/30/2020      247    0.5248      0.5209       0.0154     2.006    -0.08%       1.978          12.40        1.419          10.76
   2/3/2020      2/3/2019         2/2/2020       247    0.5210      0.5171       0.0154     2.018    -0.05%       2.018          12.76        1.362          10.13
   2/4/2020      2/4/2019         2/3/2020       248    0.5173      0.5134       0.0154     2.028    -0.06%       2.008          12.66        1.365          10.12
   2/5/2020      2/5/2019         2/4/2020       248    0.5157      0.5117       0.0154     2.014    -0.06%       1.981          12.57        1.369          10.14
   2/6/2020      2/6/2019         2/5/2020       248    0.5147      0.5107       0.0155     2.010    -0.06%       1.978          12.56        1.365          10.10


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  2/7/2020      2/7/2019         2/6/2020       248    0.4488      0.4443       0.0177     1.796    -0.02%       2.037          11.29        1.314          8.48
  2/10/2020     2/10/2019        2/9/2020       247    0.4435      0.4390       0.0175     2.049     0.01%       1.973          11.01        1.309          8.57
  2/11/2020     2/11/2019        2/10/2020      248    0.4426      0.4380       0.0175     2.048     0.01%       1.968          10.99        1.312          8.59
  2/12/2020     2/12/2019        2/11/2020      248    0.4446      0.4401       0.0175     2.060     0.01%       1.972          11.03        1.316          8.63
  2/13/2020     2/13/2019        2/12/2020      248    0.4416      0.4370       0.0175     2.044     0.01%       1.979          10.97        1.312          8.57
  2/14/2020     2/14/2019        2/13/2020      248    0.4397      0.4351       0.0176     2.034     0.02%       1.976          10.93        1.311          8.54
  2/18/2020     2/18/2019        2/17/2020      247    0.4290      0.4244       0.0176     2.018     0.02%       1.936          10.67        1.285          8.33
  2/19/2020     2/19/2019        2/18/2020      248    0.4328      0.4281       0.0175     2.018     0.01%       1.947          10.76        1.291          8.43
  2/20/2020     2/20/2019        2/19/2020      248    0.4308      0.4262       0.0175     2.011     0.02%       1.955          10.81        1.272          8.28
  2/21/2020     2/21/2019        2/20/2020      248    0.4303      0.4257       0.0175     2.015     0.02%       1.948          10.78        1.271          8.29
  2/24/2020     2/24/2019        2/23/2020      247    0.4323      0.4277       0.0176     2.005     0.01%       1.973          10.87        1.274          8.23
  2/25/2020     2/25/2019        2/24/2020      248    0.4469      0.4424       0.0176     2.010     0.01%       1.972          11.41        1.272          8.24
  2/26/2020     2/26/2019        2/25/2020      248    0.4466      0.4421       0.0177     2.005     0.02%       1.923          11.46        1.264          8.15
  2/27/2020     2/27/2019        2/26/2020      248    0.4460      0.4415       0.0177     2.005     0.02%       1.913          11.41        1.269          8.19
  2/28/2020     2/28/2019        2/27/2020      248    0.4541      0.4497       0.0177     2.005     0.02%       1.858          11.72        1.266          8.16
  3/2/2020      3/2/2019         3/1/2020       247    0.4596      0.4552       0.0177     2.012     0.01%       1.862          11.87        1.268          8.17
  3/3/2020      3/3/2019         3/2/2020       248    0.4382      0.4336       0.0180     1.987    -0.01%       1.677          10.94        1.327          8.45
  3/4/2020      3/4/2019         3/3/2020       249    0.4490      0.4445       0.0179     2.024    -0.02%       1.706          11.24        1.325          8.60
  3/5/2020      3/5/2019         3/4/2020       249    0.4466      0.4421       0.0180     2.022    -0.04%       1.623          10.99        1.347          8.82
  3/6/2020      3/6/2019         3/5/2020       249    0.4578      0.4534       0.0180     2.026    -0.04%       1.649          11.36        1.344          8.87
  3/9/2020      3/9/2019         3/8/2020       247    0.4559      0.4514       0.0179     1.984    -0.03%       1.616          11.26        1.328          8.81
  3/10/2020     3/10/2019        3/9/2020       248    0.5086      0.5046       0.0179     1.973    -0.03%       1.656          13.31        1.295          8.75
  3/11/2020     3/11/2019        3/10/2020      249    0.5107      0.5067       0.0180     1.974    -0.03%       1.662          13.56        1.237          8.54
  3/12/2020     3/12/2019        3/11/2020      249    0.5244      0.5205       0.0178     1.953    -0.05%       1.643          13.98        1.242          8.71
  3/13/2020     3/13/2019        3/12/2020      249    0.5755      0.5720       0.0179     1.937    -0.03%       1.609          16.26        1.128          8.32
  3/16/2020     3/16/2019        3/15/2020      247    0.5626      0.5590       0.0185     1.802    -0.03%       1.584          16.27        0.896          7.01
  3/17/2020     3/17/2019        3/16/2020      248    0.5529      0.5492       0.0190     1.865    -0.01%       1.440          16.09        0.867          6.63
  3/18/2020     3/18/2019        3/17/2020      249    0.5603      0.5567       0.0190     1.905    -0.01%       1.438          16.41        0.867          6.64
  3/19/2020     3/19/2019        3/18/2020      249    0.5589      0.5553       0.0190     1.867    -0.02%       1.400          16.39        0.858          6.57
  3/20/2020     3/20/2019        3/19/2020      249    0.5617      0.5581       0.0190     1.856     0.01%       1.408          16.44        0.874          6.70
  3/23/2020     3/23/2019        3/22/2020      247    0.5598      0.5562       0.0190     1.860     0.05%       1.404          16.46        0.837          6.28
  3/24/2020     3/24/2019        3/23/2020      248    0.5403      0.5366       0.0194     1.798     0.07%       1.373          15.90        0.803          5.92
  3/25/2020     3/25/2019        3/24/2020      249    0.5738      0.5704       0.0194     1.828     0.07%       1.382          17.22        0.797          5.90
  3/26/2020     3/26/2019        3/25/2020      249    0.5767      0.5732       0.0194     1.826     0.08%       1.386          17.34        0.792          5.85
  3/27/2020     3/27/2019        3/26/2020      249    0.5678      0.5643       0.0196     1.808     0.05%       1.341          16.95        0.815          5.98
  3/30/2020     3/30/2019        3/29/2020      247    0.5824      0.5789       0.0195     1.785     0.05%       1.361          17.36        0.839          6.22
  3/31/2020     3/31/2019        3/30/2020      248    0.5823      0.5789       0.0195     1.787     0.03%       1.351          17.35        0.846          6.37
  4/1/2020      4/1/2019         3/31/2020      249    0.5811      0.5777       0.0195     1.786     0.03%       1.351          17.37        0.827          6.30
  4/2/2020      4/2/2019         4/1/2020       249    0.5877      0.5843       0.0194     1.789     0.01%       1.356          17.66        0.814          6.23
  4/3/2020      4/3/2019         4/2/2020       249    0.5879      0.5846       0.0194     1.786     0.01%       1.355          17.67        0.816          6.23
  4/6/2020      4/6/2019         4/5/2020       247    0.5900      0.5867       0.0195     1.793     0.02%       1.356          17.68        0.814          6.21
  4/7/2020      4/7/2019         4/6/2020       248    0.6006      0.5973       0.0195     1.796     0.02%       1.357          18.18        0.799          6.15
  4/8/2020      4/8/2019         4/7/2020       249    0.6010      0.5977       0.0195     1.786     0.04%       1.361          18.22        0.808          6.22


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  4/9/2020      4/9/2019         4/8/2020       249    0.5901      0.5868       0.0197     1.790     0.02%       1.344          17.82        0.796          6.05
  4/13/2020     4/13/2019        4/12/2020      246    0.5860      0.5826       0.0199     1.773     0.01%       1.343          17.66        0.731          5.65
  4/14/2020     4/14/2019        4/13/2020      247    0.5871      0.5837       0.0199     1.782     0.00%       1.344          17.73        0.731          5.72
  4/15/2020     4/15/2019        4/14/2020      248    0.5810      0.5776       0.0201     1.778     0.01%       1.350          17.70        0.634          5.15
  4/16/2020     4/16/2019        4/15/2020      248    0.5871      0.5838       0.0203     1.830    -0.02%       1.370          17.85        0.672          5.46
  4/17/2020     4/17/2019        4/16/2020      248    0.5858      0.5824       0.0203     1.865    -0.03%       1.369          17.84        0.640          5.31
  4/20/2020     4/20/2019        4/19/2020      247    0.5902      0.5868       0.0203     1.871    -0.02%       1.375          17.98        0.628          5.29
  4/21/2020     4/21/2019        4/20/2020      248    0.5915      0.5882       0.0203     1.870    -0.03%       1.378          18.06        0.631          5.34
  4/22/2020     4/22/2019        4/21/2020      249    0.5939      0.5906       0.0203     1.871    -0.03%       1.376          18.20        0.630          5.35
  4/23/2020     4/23/2019        4/22/2020      249    0.5934      0.5901       0.0203     1.863    -0.03%       1.370          18.15        0.637          5.44
  4/24/2020     4/24/2019        4/23/2020      249    0.5951      0.5918       0.0202     1.873    -0.02%       1.373          18.24        0.629          5.38
  4/27/2020     4/27/2019        4/26/2020      248    0.5891      0.5858       0.0205     1.860    -0.03%       1.368          17.97        0.629          5.31
  4/28/2020     4/28/2019        4/27/2020      249    0.5863      0.5829       0.0211     1.904     0.01%       1.393          17.77        0.695          5.74
  4/29/2020     4/29/2019        4/28/2020      250    0.5867      0.5833       0.0211     1.949     0.02%       1.393          17.79        0.702          5.83
  4/30/2020     4/30/2019        4/29/2020      249    0.5864      0.5830       0.0211     1.949     0.02%       1.393          17.76        0.700          5.78
  5/1/2020      5/1/2019         4/30/2020      249    0.5877      0.5844       0.0211     1.952     0.01%       1.396          17.79        0.705          5.85
  5/4/2020      5/4/2019         5/3/2020       247    0.5898      0.5865       0.0212     1.952     0.01%       1.398          17.82        0.701          5.78
  5/5/2020      5/5/2019         5/4/2020       248    0.5900      0.5867       0.0212     1.951     0.01%       1.398          17.86        0.702          5.81
  5/6/2020      5/6/2019         5/5/2020       249    0.5898      0.5865       0.0211     1.950     0.00%       1.395          17.85        0.709          5.92
  5/7/2020      5/7/2019         5/6/2020       249    0.5900      0.5866       0.0211     1.946    -0.01%       1.395          17.85        0.712          5.94
  5/8/2020      5/8/2019         5/7/2020       249    0.5899      0.5866       0.0211     1.948     0.01%       1.394          17.84        0.715          5.97
  5/11/2020     5/11/2019        5/10/2020      247    0.5908      0.5875       0.0212     1.947     0.00%       1.393          17.80        0.717          5.97
  5/12/2020     5/12/2019        5/11/2020      248    0.5919      0.5886       0.0211     1.947    -0.01%       1.393          17.83        0.723          6.11
  5/13/2020     5/13/2019        5/12/2020      249    0.5901      0.5868       0.0212     1.944    -0.01%       1.390          17.81        0.717          6.07
  5/14/2020     5/14/2019        5/13/2020      248    0.5888      0.5855       0.0212     1.944    -0.01%       1.389          17.73        0.717          6.05
  5/15/2020     5/15/2019        5/14/2020      248    0.5885      0.5852       0.0212     1.952     0.00%       1.390          17.72        0.708          6.04
  5/18/2020     5/18/2019        5/17/2020      246    0.5881      0.5847       0.0213     1.941    -0.01%       1.389          17.58        0.722          6.14
  5/19/2020     5/19/2019        5/18/2020      247    0.5963      0.5930       0.0215     1.955     0.02%       1.416          17.88        0.753          6.40
  5/20/2020     5/20/2019        5/19/2020      248    0.5962      0.5929       0.0215     1.968     0.02%       1.416          17.91        0.749          6.40
  5/21/2020     5/21/2019        5/20/2020      248    0.5975      0.5942       0.0216     1.954     0.04%       1.424          17.94        0.760          6.46
  5/22/2020     5/22/2019        5/21/2020      248    0.5976      0.5943       0.0216     1.969     0.04%       1.424          17.95        0.759          6.45
  5/26/2020     5/26/2019        5/25/2020      246    0.5972      0.5939       0.0217     1.972     0.04%       1.423          17.87        0.754          6.40
  5/27/2020     5/27/2019        5/26/2020      247    0.6047      0.6015       0.0220     1.939     0.08%       1.449          17.99        0.824          7.05
  5/28/2020     5/28/2019        5/27/2020      248    0.6088      0.6056       0.0219     1.965     0.09%       1.454          18.11        0.827          7.31
  5/29/2020     5/29/2019        5/28/2020      248    0.6093      0.6061       0.0219     1.968     0.09%       1.451          18.08        0.826          7.42
  6/1/2020      6/1/2019         5/31/2020      246    0.6093      0.6060       0.0220     1.966     0.09%       1.450          17.99        0.827          7.44
  6/2/2020      6/2/2019         6/1/2020       247    0.6102      0.6070       0.0219     1.964     0.10%       1.453          18.05        0.831          7.50
  6/3/2020      6/3/2019         6/2/2020       248    0.6105      0.6073       0.0219     1.963     0.10%       1.454          18.10        0.830          7.50
  6/4/2020      6/4/2019         6/3/2020       248    0.6119      0.6087       0.0219     1.959     0.11%       1.456          18.16        0.825          7.51
  6/5/2020      6/5/2019         6/4/2020       248    0.6105      0.6074       0.0219     1.950     0.11%       1.449          18.07        0.826          7.59
  6/8/2020      6/8/2019         6/7/2020       246    0.6122      0.6090       0.0219     1.964     0.14%       1.454          18.14        0.808          7.37
  6/9/2020      6/9/2019         6/8/2020       247    0.6122      0.6090       0.0220     1.975     0.15%       1.458          18.17        0.814          7.42
  6/10/2020     6/10/2019        6/9/2020       248    0.6131      0.6100       0.0219     1.990     0.14%       1.461          18.22        0.821          7.51


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  6/11/2020     6/11/2019        6/10/2020      248    0.6101      0.6069       0.0220     1.996    0.13%        1.460          18.15        0.794          7.35
  6/12/2020     6/12/2019        6/11/2020      248    0.6184      0.6153       0.0220     2.000    0.13%        1.465          18.52        0.792          7.35
  6/15/2020     6/15/2019        6/14/2020      246    0.6202      0.6171       0.0221     1.997    0.15%        1.467          18.47        0.801          7.47
  6/16/2020     6/16/2019        6/15/2020      247    0.6202      0.6171       0.0220     1.998    0.15%        1.467          18.51        0.801          7.49
  6/17/2020     6/17/2019        6/16/2020      248    0.6198      0.6167       0.0220     1.996    0.14%        1.460          18.50        0.805          7.56
  6/18/2020     6/18/2019        6/17/2020      248    0.6206      0.6175       0.0220     1.995    0.13%        1.460          18.50        0.809          7.64
  6/19/2020     6/19/2019        6/18/2020      248    0.6201      0.6170       0.0220     1.999    0.12%        1.457          18.49        0.807          7.63
  6/22/2020     6/22/2019        6/21/2020      246    0.6207      0.6176       0.0221     1.998    0.12%        1.459          18.44        0.809          7.60
  6/23/2020     6/23/2019        6/22/2020      247    0.6196      0.6165       0.0220     1.995    0.13%        1.460          18.45        0.801          7.55
  6/24/2020     6/24/2019        6/23/2020      248    0.6199      0.6168       0.0220     1.996    0.13%        1.460          18.50        0.801          7.57
  6/25/2020     6/25/2019        6/24/2020      247    0.6200      0.6168       0.0220     1.995    0.13%        1.460          18.47        0.801          7.54
  6/26/2020     6/26/2019        6/25/2020      247    0.6219      0.6188       0.0221     1.989    0.15%        1.464          18.50        0.811          7.69
  6/29/2020     6/29/2019        6/28/2020      244    0.6231      0.6200       0.0221     2.001    0.12%        1.465          18.46        0.804          7.59
  6/30/2020     6/30/2019        6/29/2020      245    0.6213      0.6182       0.0222     1.981    0.14%        1.469          18.45        0.802          7.54
  7/1/2020      7/1/2019         6/30/2020      246    0.6212      0.6181       0.0222     1.996    0.13%        1.467          18.47        0.803          7.57
  7/2/2020      7/2/2019         7/1/2020       246    0.6217      0.6185       0.0222     1.996    0.12%        1.466          18.46        0.810          7.66
  7/6/2020      7/6/2019         7/5/2020       244    0.6237      0.6206       0.0222     1.957    0.11%        1.468          18.48        0.807          7.61
  7/7/2020      7/7/2019         7/6/2020       245    0.6250      0.6219       0.0221     1.954    0.12%        1.472          18.58        0.809          7.63
  7/8/2020      7/8/2019         7/7/2020       245    0.6250      0.6219       0.0221     1.954    0.12%        1.472          18.58        0.809          7.63
  7/9/2020      7/9/2019         7/8/2020       245    0.6306      0.6275       0.0218     2.003    0.15%        1.468          18.78        0.812          7.76
  7/10/2020     7/10/2019        7/9/2020       244    0.6337      0.6307       0.0218     2.002    0.16%        1.468          18.86        0.815          7.83
  7/13/2020     7/13/2019        7/12/2020      242    0.6364      0.6333       0.0218     2.009    0.16%        1.469          18.86        0.814          7.92
  7/14/2020     7/14/2019        7/13/2020      242    0.6364      0.6333       0.0218     2.009    0.16%        1.469          18.86        0.814          7.92
  7/15/2020     7/15/2019        7/14/2020      242    0.6364      0.6333       0.0218     2.009    0.16%        1.469          18.86        0.814          7.92
  7/16/2020     7/16/2019        7/15/2020      242    0.6372      0.6342       0.0218     2.013    0.15%        1.469          18.89        0.816          7.94
  7/17/2020     7/17/2019        7/16/2020      242    0.6386      0.6356       0.0217     2.014    0.14%        1.471          18.96        0.814          7.94
  7/20/2020     7/20/2019        7/19/2020      240    0.6391      0.6360       0.0218     2.015    0.14%        1.469          18.90        0.809          7.91
  7/21/2020     7/21/2019        7/20/2020      241    0.6386      0.6356       0.0217     2.011    0.15%        1.470          18.93        0.805          7.89
  7/22/2020     7/22/2019        7/21/2020      242    0.6273      0.6242       0.0221     1.995    0.13%        1.468          18.59        0.777          7.52
  7/23/2020     7/23/2019        7/22/2020      242    0.6269      0.6238       0.0221     2.043    0.12%        1.468          18.59        0.774          7.50
  7/24/2020     7/24/2019        7/23/2020      242    0.6258      0.6227       0.0221     2.045    0.12%        1.469          18.56        0.767          7.42
  7/27/2020     7/27/2019        7/26/2020      241    0.6259      0.6228       0.0222     2.050    0.12%        1.468          18.52        0.768          7.42
  7/28/2020     7/28/2019        7/27/2020      242    0.6260      0.6229       0.0221     2.051    0.11%        1.466          18.54        0.769          7.49
  7/29/2020     7/29/2019        7/28/2020      242    0.6260      0.6229       0.0221     2.051    0.11%        1.466          18.54        0.769          7.49
  7/30/2020     7/30/2019        7/29/2020      241    0.6260      0.6228       0.0222     2.052    0.12%        1.466          18.51        0.769          7.47
  7/31/2020     7/31/2019        7/30/2020      241    0.6269      0.6238       0.0222     2.050    0.11%        1.467          18.53        0.771          7.51
  8/3/2020      8/3/2019         8/2/2020       239    0.6300      0.6268       0.0221     2.049    0.09%        1.474          18.66        0.755          7.33
  8/4/2020      8/4/2019         8/3/2020       240    0.6283      0.6252       0.0222     2.046    0.09%        1.476          18.65        0.747          7.25
  8/5/2020      8/5/2019         8/4/2020       241    0.6283      0.6252       0.0221     2.054    0.09%        1.476          18.69        0.747          7.27
  8/6/2020      8/6/2019         8/5/2020       241    0.6271      0.6239       0.0221     2.052    0.09%        1.477          18.64        0.747          7.27
  8/7/2020      8/7/2019         8/6/2020       241    0.6274      0.6242       0.0221     2.053    0.09%        1.478          18.64        0.749          7.29
  8/10/2020     8/10/2019        8/9/2020       239    0.6263      0.6231       0.0222     2.030    0.10%        1.477          18.54        0.741          7.19
  8/11/2020     8/11/2019        8/10/2020      240    0.6264      0.6233       0.0221     2.033    0.11%        1.478          18.58        0.744          7.23


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Exhibit 11A
Deutsche Bank AG (US)
Rolling Regression Model Results

                 Control Period   Control Period                        Model       Standard   Durbin                        Market1               Industry Residual2
     Date                                        Num Obs Model R2                                       Intercept
                     Begin             End                            Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   8/12/2020       8/12/2019        8/11/2020      241    0.6266        0.6234       0.0221     2.035    0.11%        1.477          18.61        0.741          7.27
   8/13/2020       8/13/2019        8/12/2020      241    0.6303        0.6272       0.0218     2.031    0.14%        1.469          18.79        0.726          7.25
   8/14/2020       8/14/2019        8/13/2020      241    0.6312        0.6281       0.0217     2.009    0.12%        1.467          18.81        0.729          7.31
   8/17/2020       8/17/2019        8/16/2020      239    0.6343        0.6312       0.0213     2.005    0.13%        1.445          18.85        0.718          7.36
   8/18/2020       8/18/2019        8/17/2020      240    0.6343        0.6312       0.0212     2.006    0.13%        1.444          18.88        0.716          7.40
   8/19/2020       8/19/2019        8/18/2020      241    0.6344        0.6313       0.0212     2.006    0.12%        1.444          18.92        0.716          7.43
   8/20/2020       8/20/2019        8/19/2020      241    0.6339        0.6308       0.0212     2.004    0.13%        1.443          18.88        0.718          7.44
   8/21/2020       8/21/2019        8/20/2020      241    0.6338        0.6307       0.0212     2.007    0.12%        1.444          18.87        0.720          7.47
   8/24/2020       8/24/2019        8/23/2020      239    0.6326        0.6295       0.0213     1.999    0.11%        1.444          18.75        0.718          7.40
   8/25/2020       8/25/2019        8/24/2020      240    0.6336        0.6305       0.0213     2.005    0.12%        1.448          18.82        0.723          7.47
   8/26/2020       8/26/2019        8/25/2020      241    0.6336        0.6305       0.0212     2.008    0.12%        1.448          18.86        0.723          7.49
   8/27/2020       8/27/2019        8/26/2020      241    0.6325        0.6294       0.0213     2.005    0.12%        1.448          18.83        0.714          7.41
   8/28/2020       8/28/2019        8/27/2020      241    0.6318        0.6287       0.0213     2.012    0.11%        1.448          18.82        0.708          7.37
   8/31/2020       8/31/2019        8/30/2020      239    0.6324        0.6292       0.0214     2.017    0.12%        1.449          18.76        0.710          7.36
   9/1/2020        9/1/2019         8/31/2020      240    0.6327        0.6296       0.0214     2.015    0.10%        1.450          18.76        0.719          7.49
   9/2/2020        9/2/2019         9/1/2020       241    0.6327        0.6296       0.0213     2.019    0.10%        1.450          18.80        0.720          7.52
   9/3/2020        9/3/2019         9/2/2020       242    0.6313        0.6282       0.0213     2.014    0.09%        1.447          18.77        0.721          7.54
   9/4/2020        9/4/2019         9/3/2020       242    0.6324        0.6294       0.0213     2.021    0.10%        1.440          18.79        0.719          7.62
   9/8/2020        9/8/2019         9/7/2020       240    0.6309        0.6278       0.0214     2.019    0.11%        1.426          18.49        0.741          7.94
   9/9/2020        9/9/2019         9/8/2020       241    0.6324        0.6293       0.0214     2.029    0.10%        1.427          18.60        0.742          7.96
   9/10/2020       9/10/2019        9/9/2020       241    0.6311        0.6280       0.0214     2.029    0.08%        1.423          18.58        0.738          7.88
   9/11/2020       9/11/2019        9/10/2020      240    0.6307        0.6276       0.0214     2.028    0.07%        1.423          18.54        0.736          7.81
   9/14/2020       9/14/2019        9/13/2020      238    0.6300        0.6268       0.0215     2.020    0.07%        1.424          18.45        0.732          7.72
   9/15/2020       9/15/2019        9/14/2020      239    0.6300        0.6269       0.0215     2.023    0.06%        1.422          18.49        0.732          7.75
   9/16/2020       9/16/2019        9/15/2020      240    0.6307        0.6275       0.0214     2.023    0.05%        1.421          18.50        0.738          7.90
   9/17/2020       9/17/2019        9/16/2020      240    0.6306        0.6275       0.0214     2.028    0.07%        1.419          18.48        0.740          7.94
   9/18/2020       9/18/2019        9/17/2020      240    0.6306        0.6275       0.0214     2.026    0.07%        1.418          18.48        0.740          7.93
   9/21/2020       9/19/2019        9/18/2020      240    0.6318        0.6287       0.0214     2.030    0.08%        1.419          18.53        0.742          7.97
   Thereafter      9/19/2019        9/18/2020      240    0.6318        0.6287       0.0214     2.030    0.08%        1.419          18.53        0.742          7.97

[1] Market Index: MSCI World Index (Bloomberg Ticker: "MXWO Index")
[2] Industry Index: See Exhibit 11C.




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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  3/14/2017     $17.20         -1.83%   -0.38%    0.12%      -0.91%      -0.92%   1.82%     -0.51      38.69%
  3/15/2017     $17.20          0.05%   0.61%    -1.02%      -0.19%       0.25%   1.82%     0.14      10.75%
  3/16/2017     $17.50          1.71%   0.54%    -0.34%      0.75%        0.97%   1.81%     0.53       40.48%
  3/17/2017     $16.99         -2.91%   -0.05%   -1.12%      -2.10%      -0.81%   1.81%     -0.45      34.46%
  3/20/2017     $16.41         -3.42%   -0.14%   -0.99%      -2.12%      -1.29%   1.81%     -0.72      52.56%
  3/21/2017     $17.08          4.08%   -0.76%   -1.05%      -3.95%       8.03%   1.81%     4.45      100.00%
  3/22/2017     $17.05         -0.18%   -0.20%    0.17%      -0.33%       0.15%   1.88%     0.08       6.46%
  3/23/2017     $16.91         -0.82%   0.13%    -0.16%      0.02%       -0.84%   1.88%     -0.45     34.56%
  3/24/2017     $16.83         -0.47%   0.05%    -0.09%      -0.09%      -0.38%   1.87%     -0.20      16.21%
  3/27/2017     $16.95          0.71%   -0.04%    0.20%      0.18%        0.54%   1.87%     0.29       22.51%
  3/28/2017     $17.38          2.54%   0.74%     0.11%      2.11%        0.43%   1.87%     0.23       18.11%
  3/29/2017     $17.43          0.29%   -0.11%   -0.31%      -0.85%       1.14%   1.87%     0.61      45.77%
  3/30/2017     $17.26         -0.98%   0.17%     0.69%      1.55%       -2.52%   1.87%     -1.35     82.17%
  3/31/2017     $17.16         -0.58%   -0.34%   -0.40%      -1.59%       1.01%   1.87%     0.54       41.07%
   4/3/2017     $16.70         -2.68%   -0.25%   -0.13%      -0.94%      -1.74%   1.87%     -0.93      64.66%
   4/4/2017     $16.65         -0.30%   0.06%    -0.51%      -0.71%       0.41%   1.87%     0.22      17.30%
   4/5/2017     $16.50         -0.90%   -0.22%   -0.50%      -1.44%       0.54%   1.87%     0.29       22.65%
   4/6/2017     $16.60          0.61%   0.03%     0.26%      0.48%        0.13%   1.87%     0.07       5.38%
   4/7/2017     $16.46         -0.84%   -0.06%   -0.32%      -0.70%      -0.14%   1.87%     -0.08      6.11%
  4/10/2017     $16.47          0.06%   0.07%    -0.47%      -0.58%       0.65%   1.87%     0.34      26.91%
  4/11/2017     $16.32         -0.91%   0.06%    -0.30%      -0.34%      -0.57%   1.87%     -0.30      23.77%
  4/12/2017     $16.19         -0.80%   -0.26%   -0.36%      -1.32%       0.53%   1.87%     0.28       22.15%
  4/13/2017     $15.86         -2.04%   -0.54%   -0.58%      -2.41%       0.37%   1.87%     0.20       15.63%
  4/17/2017     $16.12          1.64%   0.71%     0.36%      2.44%       -0.80%   1.87%     -0.43     33.20%
  4/18/2017     $15.96         -0.99%   -0.48%   -0.16%      -1.56%       0.56%   1.86%     0.30       23.72%
  4/19/2017     $16.08          0.75%   -0.13%   -0.15%      -0.61%       1.36%   1.86%     0.73      53.51%
  4/20/2017     $16.55          2.92%   0.63%     0.40%      2.30%        0.62%   1.86%     0.33       26.11%
  4/21/2017     $16.50         -0.30%   -0.25%   -0.30%      -1.19%       0.88%   1.86%     0.48       36.54%
  4/24/2017     $18.37         11.33%   1.61%     1.43%      6.54%        4.79%   1.86%     2.57       98.93%
  4/25/2017     $18.49          0.65%   0.56%     0.09%      1.66%       -1.01%   1.88%     -0.53     40.65%
  4/26/2017     $18.84          1.89%   0.02%    -0.25%      -0.36%       2.25%   1.88%     1.20      76.79%
  4/27/2017     $18.15         -3.66%   -0.07%   -0.62%      -1.22%      -2.44%   1.88%     -1.30      80.43%
  4/28/2017     $18.07         -0.44%   -0.15%   -0.54%      -1.31%       0.87%   1.88%     0.46       35.69%
   5/1/2017     $18.22          0.83%   0.22%     0.07%      0.71%        0.12%   1.88%     0.06       5.06%
   5/2/2017     $18.27          0.27%   0.19%    -0.35%      -0.04%       0.32%   1.88%     0.17      13.44%
   5/3/2017     $18.47          1.09%   -0.16%    0.81%      0.86%        0.23%   1.87%     0.12       9.88%
   5/4/2017     $18.78          1.68%   0.18%     0.54%      1.37%        0.31%   1.86%     0.17       13.29%
   5/5/2017     $19.35          3.04%   0.54%    -0.78%      0.25%        2.79%   1.86%     1.50       86.46%
   5/8/2017     $19.07         -1.45%   0.03%    -0.42%      -0.57%      -0.88%   1.87%     -0.47      36.26%
   5/9/2017     $18.85         -1.15%   -0.21%    0.01%      -0.53%      -0.63%   1.87%     -0.34      26.31%
  5/10/2017     $19.01          0.85%   0.13%     0.44%      1.09%       -0.24%   1.87%     -0.13     10.30%
  5/11/2017     $18.81         -1.05%   -0.25%    0.04%      -0.59%      -0.46%   1.87%     -0.25      19.48%
  5/12/2017     $18.77         -0.21%   0.09%    -0.04%      0.22%       -0.43%   1.86%     -0.23     18.33%
  5/15/2017     $19.03          1.39%   0.46%    -0.38%      0.68%        0.71%   1.87%     0.38       29.44%
  5/16/2017     $19.27          1.26%   0.24%     0.07%      0.81%        0.46%   1.86%     0.24       19.31%
  5/17/2017     $18.64         -3.27%   -1.24%   -1.62%      -5.99%       2.72%   1.86%     1.46       85.46%
  5/18/2017     $18.68          0.21%   -0.09%    0.30%      0.26%       -0.04%   1.87%     -0.02       1.85%
  5/19/2017     $19.04          3.07%   0.73%    -0.03%      2.01%        1.06%   1.86%     0.57       42.88%


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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  5/22/2017     $19.12          0.42%   0.54%    -0.98%      -0.05%       0.47%   1.87%     0.25      19.70%
  5/23/2017     $19.25          0.68%   0.09%     0.73%      1.46%       -0.78%   1.86%     -0.42     32.24%
  5/24/2017     $18.94         -1.61%   0.06%    -0.15%      -0.07%      -1.54%   1.87%     -0.83     59.04%
  5/25/2017     $18.85         -0.48%   0.36%    -0.91%      -0.46%      -0.02%   1.87%     -0.01     0.84%
  5/26/2017     $18.46         -2.07%   -0.12%   -0.02%      -0.39%      -1.68%   1.87%     -0.90     63.07%
  5/30/2017     $17.97         -2.65%   -0.12%   -0.87%      -1.75%      -0.91%   1.87%     -0.48     37.16%
  5/31/2017     $17.48         -2.73%   0.10%    -1.46%      -2.11%      -0.61%   1.87%     -0.33     25.75%
   6/1/2017     $17.65          0.97%   0.59%    -0.12%      1.45%       -0.47%   1.87%     -0.25     19.95%
   6/2/2017     $17.66          0.06%   0.63%    -1.43%      -0.58%       0.64%   1.87%     0.34      26.59%
   6/5/2017     $17.50         -0.91%   -0.18%    0.25%      -0.10%      -0.80%   1.87%     -0.43     33.12%
   6/6/2017     $17.33         -0.97%   -0.29%    0.41%      -0.17%      -0.80%   1.87%     -0.43     33.18%
   6/7/2017     $17.46          0.75%   0.05%     0.93%      1.65%       -0.90%   1.87%     -0.48     36.91%
   6/8/2017     $17.57          0.63%   -0.15%    1.09%      1.35%       -0.72%   1.87%     -0.38     29.86%
   6/9/2017     $17.67          0.57%   -0.07%    1.66%      2.48%       -1.91%   1.87%     -1.02     69.25%
  6/12/2017     $17.36         -1.75%   -0.21%   -0.07%      -0.68%      -1.07%   1.87%     -0.57     43.23%
  6/13/2017     $17.47          0.63%   0.52%    -0.60%      0.51%        0.12%   1.87%     0.07       5.25%
  6/14/2017     $17.34         -0.74%   0.09%    -0.54%      -0.59%      -0.15%   1.87%     -0.08     6.52%
  6/15/2017     $16.79         -3.17%   -0.73%    0.43%      -1.32%      -1.85%   1.87%     -0.99     67.64%
  6/16/2017     $16.82          0.18%   0.35%    -0.63%      -0.03%       0.21%   1.87%     0.11       8.96%
  6/19/2017     $17.22          2.38%   0.69%     0.24%      2.28%        0.10%   1.87%     0.05       4.30%
  6/20/2017     $16.85         -2.15%   -0.72%   -0.07%      -2.14%      -0.01%   1.87%     0.00       0.33%
  6/21/2017     $16.90          0.30%   -0.13%   -0.30%      -0.87%       1.17%   1.86%     0.63      46.82%
  6/22/2017     $16.74         -0.95%   0.08%    -0.68%      -0.88%      -0.06%   1.86%     -0.03     2.77%
  6/23/2017     $16.64         -0.60%   0.18%    -0.56%      -0.42%      -0.17%   1.86%     -0.09     7.40%
  6/26/2017     $16.88          1.44%   0.13%     0.44%      1.01%        0.43%   1.87%     0.23      18.11%
  6/27/2017     $17.51          3.73%   -0.51%    2.07%      2.04%        1.70%   1.86%     0.91      63.69%
  6/28/2017     $17.91          2.28%   0.74%     0.84%      3.17%       -0.89%   1.85%     -0.48     36.84%
  6/29/2017     $18.07          0.89%   -0.63%    2.81%      3.11%       -2.22%   1.84%     -1.20     77.02%
  6/30/2017     $17.79         -1.55%   -0.16%   -0.08%      -0.51%      -1.04%   1.82%     -0.57     43.34%
   7/3/2017     $18.15          2.02%   0.22%     1.39%      2.90%       -0.88%   1.79%     -0.49     37.65%
   7/5/2017     $18.63          2.64%   -0.01%    0.43%      0.71%        1.93%   1.79%     1.08      71.92%
   7/6/2017     $18.89          1.40%   -0.59%    0.48%      -0.77%       2.16%   1.79%     1.21      77.35%
   7/7/2017     $19.05          0.85%   0.22%     0.04%      0.77%        0.08%   1.77%     0.04       3.39%
  7/10/2017     $18.97         -0.42%   0.21%    -0.52%      -0.16%      -0.26%   1.77%     -0.15     11.63%
  7/11/2017     $19.07          0.53%   -0.08%   -0.52%      -0.94%       1.47%   1.76%     0.83      59.34%
  7/12/2017     $18.81         -1.36%   0.90%    -1.52%      0.08%       -1.44%   1.77%     -0.81     58.41%
  7/13/2017     $18.93          0.64%   0.21%     0.27%      1.09%       -0.45%   1.76%     -0.25     20.05%
  7/14/2017     $18.86         -0.37%   0.58%    -1.67%      -1.12%       0.75%   1.76%     0.42      32.85%
  7/17/2017     $18.79         -0.37%   0.03%    -0.70%      -0.97%       0.60%   1.77%     0.34      26.66%
  7/18/2017     $18.50         -1.54%   0.06%    -0.49%      -0.55%      -0.99%   1.76%     -0.56     42.45%
  7/19/2017     $18.38         -0.65%   0.46%    -0.54%      0.37%       -1.02%   1.77%     -0.58     43.43%
  7/20/2017     $18.46          0.44%   0.24%    -0.55%      -0.20%       0.63%   1.76%     0.36      28.05%
  7/21/2017     $18.22         -1.30%   -0.23%   -0.30%      -0.98%      -0.32%   1.76%     -0.18     14.49%
  7/24/2017     $18.67          2.47%   -0.20%    0.87%      0.99%        1.48%   1.75%     0.84      60.02%
  7/25/2017     $19.04          1.98%   0.29%     1.40%      3.13%       -1.15%   1.75%     -0.65     48.69%
  7/26/2017     $19.06          0.10%   0.07%    -0.58%      -0.67%       0.78%   1.75%     0.44      34.29%
  7/27/2017     $18.03         -5.40%   0.08%    -0.77%      -0.95%      -4.46%   1.75%     -2.55     98.85%
  7/28/2017     $18.19          0.89%   -0.16%    0.05%      -0.24%       1.12%   1.75%     0.64      47.87%


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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  7/31/2017     $17.84         -1.92%   0.04%     0.52%      1.07%       -3.00%   1.75%     -1.71     91.20%
   8/1/2017     $18.13          1.63%   0.47%     0.62%      2.31%       -0.68%   1.76%     -0.39     30.14%
   8/2/2017     $18.01         -0.66%   -0.01%   -0.25%      -0.30%      -0.37%   1.76%     -0.21     16.47%
   8/3/2017     $18.06          0.28%   -0.08%   -0.43%      -0.76%       1.04%   1.75%     0.59      44.64%
   8/4/2017     $18.33          1.49%   -0.05%    1.07%      1.76%       -0.26%   1.75%     -0.15     11.96%
   8/7/2017     $18.23         -0.55%   0.20%    -0.24%      0.23%       -0.77%   1.75%     -0.44     34.18%
   8/8/2017     $17.99         -1.32%   -0.25%   -0.22%      -0.86%      -0.45%   1.75%     -0.26     20.49%
   8/9/2017     $17.58         -2.28%   -0.25%   -0.25%      -0.92%      -1.36%   1.74%     -0.78     56.42%
  8/10/2017     $16.86         -4.10%   -1.10%   -0.58%      -3.57%      -0.52%   1.74%     -0.30     23.46%
  8/11/2017     $17.05          1.13%   -0.13%   -0.65%      -1.33%       2.46%   1.72%     1.43      84.68%
  8/14/2017     $17.29          1.41%   0.77%     0.09%      2.18%       -0.77%   1.73%     -0.45     34.45%
  8/15/2017     $17.13         -0.93%   -0.17%    0.21%      0.01%       -0.94%   1.72%     -0.54     41.25%
  8/16/2017     $17.04         -0.53%   0.25%    -0.86%      -0.72%       0.19%   1.72%     0.11       8.78%
  8/17/2017     $16.44         -3.52%   -0.91%   -0.72%      -3.40%      -0.12%   1.72%     -0.07      5.55%
  8/18/2017     $16.52          0.49%   -0.31%    0.56%      0.25%        0.24%   1.72%     0.14      11.14%
  8/21/2017     $16.17         -2.12%   0.09%    -0.78%      -0.96%      -1.15%   1.72%     -0.67     49.79%
  8/22/2017     $16.30          0.80%   0.67%    -0.14%      1.54%       -0.74%   1.72%     -0.43     33.21%
  8/23/2017     $16.27         -0.18%   -0.16%    0.00%      -0.31%       0.12%   1.72%     0.07       5.69%
  8/24/2017     $16.28          0.06%   -0.13%    0.28%      0.22%       -0.16%   1.71%     -0.09      7.36%
  8/25/2017     $16.42          0.86%   0.25%    -0.12%      0.51%        0.35%   1.71%     0.21      16.33%
  8/28/2017     $16.40         -0.12%   0.09%    -0.33%      -0.25%       0.13%   1.71%     0.08       6.00%
  8/29/2017     $16.04         -2.19%   -0.06%   -0.46%      -0.85%      -1.34%   1.71%     -0.79     56.82%
  8/30/2017     $16.01         -0.19%   0.13%     0.19%      0.70%       -0.89%   1.71%     -0.52     39.76%
  8/31/2017     $15.99         -0.12%   0.63%    -0.96%      0.03%       -0.16%   1.70%     -0.09     7.36%
   9/1/2017     $16.06          0.44%   0.31%     0.06%      0.91%       -0.47%   1.70%     -0.28     21.87%
   9/5/2017     $15.66         -2.49%   -0.57%   -1.61%      -4.06%       1.57%   1.71%     0.92      64.19%
   9/6/2017     $15.99          2.11%   0.23%     0.05%      0.69%        1.42%   1.70%     0.83      59.37%
   9/7/2017     $15.92         -0.44%   0.28%    -1.67%      -1.96%       1.52%   1.70%     0.89      62.66%
   9/8/2017     $16.00          0.50%   0.00%     0.22%      0.39%        0.11%   1.71%     0.07       5.23%
  9/11/2017     $16.34          2.12%   0.89%     0.16%      2.89%       -0.76%   1.68%     -0.46     35.08%
  9/12/2017     $16.98          3.92%   0.32%     1.18%      2.76%        1.16%   1.68%     0.69      50.87%
  9/13/2017     $16.78         -1.18%   -0.08%    0.37%      0.33%       -1.51%   1.67%     -0.90     63.31%
  9/14/2017     $16.68         -0.60%   -0.17%    0.12%      -0.33%      -0.27%   1.68%     -0.16     12.66%
  9/15/2017     $16.54         -0.84%   0.22%    -0.19%      0.36%       -1.20%   1.68%     -0.71     52.42%
  9/18/2017     $16.57          0.18%   0.14%     0.92%      1.85%       -1.67%   1.63%     -1.02     69.30%
  9/19/2017     $16.56         -0.06%   0.28%     0.25%      1.22%       -1.28%   1.63%     -0.78     56.42%
  9/20/2017     $16.38         -1.09%   0.13%    -0.05%      0.35%       -1.43%   1.62%     -0.89     62.35%
  9/21/2017     $16.69          1.89%   -0.42%    1.12%      0.51%        1.38%   1.60%     0.87      61.27%
  9/22/2017     $16.63         -0.36%   0.21%    -0.51%      -0.08%      -0.28%   1.60%     -0.17     13.86%
  9/25/2017     $16.04         -3.55%   -0.28%   -0.75%      -1.90%      -1.65%   1.60%     -1.03     69.73%
  9/26/2017     $16.02         -0.12%   -0.29%    0.18%      -0.55%       0.42%   1.60%     0.26      20.82%
  9/27/2017     $16.57          3.43%   0.24%     1.29%      2.73%        0.70%   1.58%     0.44      34.16%
  9/28/2017     $16.98          2.47%   0.22%    -0.07%      0.62%        1.86%   1.58%     1.17      75.76%
  9/29/2017     $17.28          1.77%   0.41%    -0.53%      0.47%        1.30%   1.58%     0.82      58.75%
  10/2/2017     $17.09         -1.10%   0.21%     0.20%      0.92%       -2.02%   1.43%     -1.41     83.99%
  10/3/2017     $17.07         -0.12%   0.25%     0.16%      0.96%       -1.07%   1.43%     -0.75     54.57%
  10/4/2017     $16.79         -1.64%   0.07%    -0.94%      -1.06%      -0.58%   1.43%     -0.40     31.24%
  10/5/2017     $17.22          2.56%   0.26%     0.77%      1.81%        0.75%   1.43%     0.52      39.98%


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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  10/6/2017     $17.21         -0.06%   -0.11%    0.05%      -0.18%       0.12%   1.43%     0.08       6.71%
  10/9/2017     $16.87         -1.98%   -0.04%   -0.64%      -0.97%      -1.00%   1.43%     -0.70     51.40%
 10/10/2017     $16.99          0.71%   0.42%     0.02%      1.22%       -0.51%   1.43%     -0.35     27.61%
 10/11/2017     $16.92         -0.41%   0.15%    -0.75%      -0.62%       0.21%   1.43%     0.15      11.52%
 10/12/2017     $16.70         -1.30%   -0.04%   -1.26%      -1.86%       0.56%   1.43%     0.39      30.28%
 10/13/2017     $16.58         -0.72%   0.22%    -0.30%      0.20%       -0.92%   1.43%     -0.64     47.99%
 10/16/2017     $16.72          0.84%   0.09%     0.64%      1.15%       -0.31%   1.43%     -0.21     16.96%
 10/17/2017     $16.71         -0.06%   -0.12%    0.04%      -0.29%       0.23%   1.43%     0.16      12.51%
 10/18/2017     $16.89          1.08%   0.15%     0.58%      1.24%       -0.16%   1.43%     -0.11      9.05%
 10/19/2017     $16.87         -0.12%   0.14%    -0.24%      0.07%       -0.18%   1.43%     -0.13     10.20%
 10/20/2017     $16.98          0.65%   0.11%     0.99%      1.70%       -1.05%   1.43%     -0.73     53.41%
 10/23/2017     $16.63         -2.06%   -0.27%    0.03%      -0.74%      -1.32%   1.42%     -0.93     64.64%
 10/24/2017     $17.18          3.31%   0.07%     1.02%      1.57%        1.74%   1.42%     1.22      77.75%
 10/25/2017     $17.12         -0.35%   -0.39%    0.43%      -0.51%       0.16%   1.43%     0.11       8.99%
 10/26/2017     $16.72         -2.34%   0.11%    -0.38%      -0.22%      -2.12%   1.42%     -1.49     86.22%
 10/27/2017     $16.32         -2.39%   0.44%    -0.70%      0.26%       -2.66%   1.42%     -1.87     93.68%
 10/30/2017     $16.26         -0.37%   0.00%    -0.37%      -0.55%       0.18%   1.43%     0.13      10.20%
 10/31/2017     $16.27          0.06%   0.11%    -0.84%      -0.89%       0.95%   1.43%     0.67      49.35%
  11/1/2017     $16.56          1.78%   0.21%    -0.39%      0.04%        1.75%   1.43%     1.22      77.76%
  11/2/2017     $17.06          3.02%   0.10%     0.60%      1.11%        1.91%   1.42%     1.34      82.01%
  11/3/2017     $16.82         -1.41%   0.11%    -0.75%      -0.73%      -0.67%   1.43%     -0.47     36.33%
  11/6/2017     $16.83          0.06%   0.07%    -0.65%      -0.73%       0.79%   1.43%     0.55      41.84%
  11/7/2017     $16.68         -0.89%   0.00%    -1.47%      -2.06%       1.17%   1.43%     0.82      58.59%
  11/8/2017     $17.04          2.16%   0.19%    -0.88%      -0.71%       2.87%   1.43%     2.00      95.39%
  11/9/2017     $17.41          2.17%   -0.41%    0.48%      -0.46%       2.63%   1.44%     1.82      93.08%
 11/10/2017     $17.94          3.04%   -0.10%    0.19%      -0.01%       3.06%   1.45%     2.11      96.43%
 11/13/2017     $17.93         -0.06%   -0.22%    0.06%      -0.54%       0.48%   1.45%     0.33      25.91%
 11/14/2017     $18.19          1.45%   -0.19%   -0.05%      -0.59%       2.04%   1.45%     1.41      83.96%
 11/15/2017     $18.48          1.59%   -0.53%    1.74%      1.00%        0.59%   1.45%     0.41      31.76%
 11/16/2017     $19.04          3.03%   0.73%    -1.12%      0.35%        2.68%   1.45%     1.85      93.52%
 11/17/2017     $19.13          0.47%   -0.13%   -0.09%      -0.46%       0.93%   1.46%     0.64      47.56%
 11/20/2017     $19.17          0.21%   0.13%     0.29%      0.76%       -0.55%   1.46%     -0.38     29.26%
 11/21/2017     $19.01         -0.83%   0.56%    -0.78%      0.42%       -1.26%   1.45%     -0.86     61.20%
 11/22/2017     $18.91         -0.53%   0.14%    -0.05%      0.31%       -0.84%   1.46%     -0.58     43.42%
 11/24/2017     $19.19          1.48%   0.46%    -0.62%      0.37%        1.12%   1.45%     0.77      55.60%
 11/27/2017     $18.74         -2.35%   -0.18%   -0.21%      -0.77%      -1.58%   1.46%     -1.08     72.08%
 11/28/2017     $18.88          0.75%   0.52%     1.91%      4.12%       -3.37%   1.46%     -2.32     97.86%
 11/29/2017     $19.00          0.64%   -0.02%    1.40%      1.88%       -1.25%   1.47%     -0.85     60.30%
 11/30/2017     $18.86         -0.74%   0.54%    -0.61%      0.63%       -1.37%   1.47%     -0.93     64.79%
  12/1/2017     $18.98          0.64%   -0.38%    0.70%      -0.07%       0.71%   1.47%     0.48      36.86%
  12/4/2017     $19.12          0.74%   0.03%     1.58%      2.24%       -1.50%   1.47%     -1.02     69.21%
  12/5/2017     $18.76         -1.88%   -0.31%   -0.46%      -1.42%      -0.47%   1.47%     -0.32     24.78%
  12/6/2017     $18.50         -1.39%   -0.26%   -0.50%      -1.35%      -0.03%   1.46%     -0.02      1.78%
  12/7/2017     $18.85          1.89%   0.26%    -0.27%      0.26%        1.63%   1.41%     1.16      75.26%
  12/8/2017     $19.38          2.81%   0.48%     0.74%      2.09%        0.72%   1.41%     0.51      38.87%
 12/11/2017     $19.30         -0.41%   0.38%    -0.42%      0.44%       -0.85%   1.39%     -0.61     45.91%
 12/12/2017     $19.38          0.41%   0.11%     0.67%      1.08%       -0.66%   1.39%     -0.48     36.60%
 12/13/2017     $19.33         -0.26%   0.04%    -0.66%      -0.74%       0.48%   1.38%     0.35      27.21%


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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
 12/14/2017     $19.23         -0.52%   -0.33%   -0.27%      -1.19%       0.68%   1.38%     0.49       37.56%
 12/15/2017     $19.43          1.04%   0.38%    -0.17%      0.76%        0.29%   1.38%     0.21       16.38%
 12/18/2017     $20.10          3.45%   0.89%    -0.35%      1.86%        1.59%   1.38%     1.15       74.97%
 12/19/2017     $19.85         -1.24%   -0.37%    0.27%      -0.67%      -0.57%   1.38%     -0.42      32.20%
 12/20/2017     $19.71         -0.71%   -0.04%    0.04%      -0.09%      -0.62%   1.36%     -0.45      34.92%
 12/21/2017     $19.70         -0.05%   0.25%     0.86%      1.70%       -1.75%   1.35%     -1.30      80.57%
 12/22/2017     $19.38         -1.62%   -0.06%   -0.03%      -0.23%      -1.39%   1.35%     -1.03      69.74%
 12/26/2017     $19.23         -0.77%   -0.01%   -0.36%      -0.52%      -0.25%   1.35%     -0.19      14.86%
 12/27/2017     $19.06         -0.88%   0.18%    -0.36%      0.01%       -0.89%   1.35%     -0.66      48.99%
 12/28/2017     $19.10          0.21%   0.18%     0.12%      0.57%       -0.36%   1.35%     -0.27      21.23%
 12/29/2017     $19.03         -0.37%   -0.16%   -0.29%      -0.83%       0.46%   1.35%     0.34       26.62%
   1/2/2018     $19.33          1.58%   0.60%    -0.11%      1.43%        0.15%   1.35%     0.11        8.92%
   1/3/2018     $19.16         -0.88%   0.45%    -0.62%      0.41%       -1.29%   1.35%     -0.96      66.22%
   1/4/2018     $19.77          3.18%   0.80%    -0.12%      1.93%        1.25%   1.35%     0.93       64.69%
   1/5/2018     $18.55         -6.17%   0.65%    -1.24%      0.07%       -6.25%   1.33%     -4.71     100.00%
   1/8/2018     $18.30         -1.35%   0.06%    -0.44%      -0.48%      -0.87%   1.39%     -0.63      46.86%
   1/9/2018     $18.13         -0.93%   0.18%     0.35%      0.80%       -1.73%   1.38%     -1.25      78.71%
  1/10/2018     $18.50          2.04%   0.02%     1.24%      1.55%        0.49%   1.39%     0.35       27.32%
  1/11/2018     $18.56          0.32%   0.44%    -0.08%      0.91%       -0.58%   1.38%     -0.42      32.83%
  1/12/2018     $18.70          0.75%   0.62%     0.51%      2.11%       -1.36%   1.37%     -0.99      67.54%
  1/16/2018     $18.51         -1.02%   0.14%    -0.28%      -0.08%      -0.94%   1.37%     -0.68      50.34%
  1/17/2018     $18.52          0.05%   0.53%    -0.49%      0.60%       -0.54%   1.37%     -0.40      30.80%
  1/18/2018     $18.53          0.05%   -0.15%    0.53%      0.24%       -0.19%   1.37%     -0.14      10.94%
  1/19/2018     $18.78          1.35%   0.49%    -0.31%      0.71%        0.63%   1.37%     0.46       35.57%
  1/22/2018     $19.39          3.25%   0.62%    -0.04%      1.38%        1.87%   1.37%     1.37       82.71%
  1/23/2018     $19.47          0.41%   0.41%    -0.65%      0.11%        0.30%   1.37%     0.22       17.50%
  1/24/2018     $19.74          1.39%   0.10%     0.66%      0.99%        0.40%   1.37%     0.29       22.80%
  1/25/2018     $19.64         -0.51%   0.09%    -0.17%      -0.07%      -0.44%   1.37%     -0.32      24.95%
  1/26/2018     $19.51         -0.66%   0.65%    -0.37%      1.00%       -1.66%   1.36%     -1.22      77.54%
  1/29/2018     $19.10         -2.10%   -0.65%    0.59%      -0.90%      -1.20%   1.37%     -0.88      61.78%
  1/30/2018     $18.38         -3.77%   -0.90%    0.19%      -1.99%      -1.78%   1.37%     -1.30      80.52%
  1/31/2018     $18.34         -0.22%   -0.04%    0.13%      -0.05%      -0.17%   1.37%     -0.13      9.97%
   2/1/2018     $18.65          1.69%   -0.03%    1.10%      1.19%        0.50%   1.37%     0.36       28.45%
   2/2/2018     $17.09         -8.36%   -1.85%    0.64%      -3.77%      -4.60%   1.36%     -3.37      99.91%
   2/5/2018     $16.39         -4.10%   -3.13%    0.39%      -7.08%       2.98%   1.37%     2.18       97.00%
   2/6/2018     $16.52          0.79%   -0.23%    2.41%      2.46%       -1.67%   1.37%     -1.21      77.38%
   2/7/2018     $16.09         -2.60%   0.11%    -0.29%      -0.20%      -2.40%   1.38%     -1.74      91.74%
   2/8/2018     $15.49         -3.73%   -2.67%    0.42%      -5.19%       1.46%   1.38%     1.05       70.73%
   2/9/2018     $15.58          0.58%   0.29%     1.10%      1.88%       -1.30%   1.39%     -0.94      64.97%
  2/12/2018     $16.01          2.76%   1.22%    -0.52%      1.80%        0.96%   1.39%     0.69       50.99%
  2/13/2018     $15.90         -0.69%   0.23%     0.01%      0.43%       -1.12%   1.39%     -0.81      57.94%


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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  2/14/2018     $16.26          2.26%   1.21%     0.78%      3.36%      -1.09%    1.39%     -0.79     56.85%
  2/15/2018     $16.11         -0.92%   1.19%    -1.14%      0.98%      -1.90%    1.39%     -1.37     82.72%
  2/16/2018     $16.08         -0.19%   0.33%    -0.83%      -0.44%      0.26%    1.39%     0.18      14.65%
  2/20/2018     $16.46          2.36%   -0.55%    0.02%      -1.11%      3.47%    1.39%     2.49      98.66%
  2/21/2018     $16.57          0.67%   -0.37%    0.73%      0.14%       0.53%    1.41%     0.38      29.40%
  2/22/2018     $16.43         -0.85%   -0.06%   -0.18%      -0.37%     -0.47%    1.41%     -0.34     26.42%
  2/23/2018     $16.43          0.00%   1.12%    -0.46%      1.52%      -1.52%    1.41%     -1.08     72.00%
  2/26/2018     $16.48          0.30%   0.88%    -0.54%      0.91%      -0.61%    1.41%     -0.43     33.37%
  2/27/2018     $16.40         -0.49%   -0.88%    0.17%      -1.45%      0.97%    1.41%     0.69      50.71%
  2/28/2018     $15.94         -2.80%   -1.05%    0.36%      -1.52%     -1.28%    1.40%     -0.91     63.85%
   3/1/2018     $15.70         -1.51%   -1.32%    0.39%      -2.01%      0.50%    1.40%     0.36      27.77%
   3/2/2018     $15.79          0.57%   -0.01%   -0.05%      -0.14%      0.71%    1.40%     0.51      38.72%
   3/5/2018     $15.89          0.63%   0.80%    -0.39%      0.88%      -0.25%    1.36%     -0.18     14.43%
   3/6/2018     $16.06          1.07%   0.53%    -0.49%      0.27%       0.80%    1.36%     0.59      44.53%
   3/7/2018     $16.33          1.68%   -0.08%   -0.07%      -0.26%      1.94%    1.35%     1.44      84.85%
   3/8/2018     $16.18         -0.92%   0.44%    -0.64%      -0.05%     -0.87%    1.35%     -0.64     47.89%
   3/9/2018     $16.12         -0.37%   1.13%     0.06%      1.99%      -2.36%    1.36%     -1.74     91.70%
  3/12/2018     $16.11         -0.06%   0.23%    -0.28%      -0.01%     -0.05%    1.35%     -0.04     3.22%
  3/13/2018     $15.79         -1.99%   -0.45%   -0.63%      -1.57%     -0.41%    1.34%     -0.31     24.15%
  3/14/2018     $15.70         -0.57%   -0.47%   -0.38%      -1.32%      0.75%    1.34%     0.56      42.10%
  3/15/2018     $15.70          0.00%   -0.05%    0.27%      0.20%      -0.20%    1.34%     -0.15     11.59%
  3/16/2018     $15.82          0.76%   0.03%     0.29%      0.37%       0.39%    1.34%     0.29      23.00%
  3/19/2018     $15.54         -1.77%   -1.11%    1.04%      -0.58%     -1.19%    1.34%     -0.89     62.47%
  3/20/2018     $15.52         -0.13%   0.02%    -0.11%      -0.12%     -0.01%    1.34%     0.00       0.34%
  3/21/2018     $14.79         -4.70%   -0.08%   -0.13%      -0.31%     -4.40%    1.33%     -3.29     99.89%
  3/22/2018     $14.19         -4.06%   -1.72%   -1.55%      -5.02%      0.97%    1.29%     0.75      54.65%
  3/23/2018     $13.75         -3.10%   -1.76%   -0.29%      -3.51%      0.41%    1.29%     0.32      24.92%
  3/26/2018     $14.07          2.33%   1.60%     0.75%      3.69%      -1.37%    1.29%     -1.06     70.96%
  3/27/2018     $13.77         -2.13%   -0.66%   -1.15%      -2.67%      0.54%    1.29%     0.42      32.34%
  3/28/2018     $13.76         -0.07%   -0.38%    0.58%      0.00%      -0.07%    1.29%     -0.06     4.47%
  3/29/2018     $13.98          1.60%   0.87%    -0.33%      1.02%       0.58%    1.29%     0.45      34.58%
   4/2/2018     $13.68         -2.15%   -1.31%    0.35%      -1.90%     -0.25%    1.28%     -0.20     15.45%
   4/3/2018     $13.72          0.29%   0.50%     0.12%      0.96%      -0.67%    1.28%     -0.52     39.89%
   4/4/2018     $13.88          1.17%   0.61%    -0.07%      0.90%       0.26%    1.28%     0.21      16.33%
   4/5/2018     $14.32          3.17%   0.94%    -0.20%      1.31%       1.86%    1.28%     1.46      85.43%
   4/6/2018     $13.87         -3.14%   -1.34%   -0.07%      -2.49%     -0.65%    1.28%     -0.51     38.92%
   4/9/2018     $14.01          1.01%   0.41%     0.34%      1.10%      -0.09%    1.28%     -0.07      5.63%
  4/10/2018     $14.08          0.50%   1.40%    -0.34%      1.98%      -1.48%    1.28%     -1.16     75.21%
  4/11/2018     $14.19          0.78%   -0.36%   -0.63%      -1.49%      2.27%    1.28%     1.76      92.11%
  4/12/2018     $14.41          1.55%   0.40%     1.49%      2.52%      -0.96%    1.29%     -0.75     54.40%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  4/13/2018     $14.38         -0.21%   -0.09%   -1.60%      -2.21%      2.00%    1.29%     1.55      87.69%
  4/16/2018     $14.33         -0.35%   0.52%    -0.82%      -0.16%     -0.19%    1.30%     -0.14     11.34%
  4/17/2018     $14.38          0.35%   0.79%    -1.08%      -0.02%      0.37%    1.30%     0.28      22.26%
  4/18/2018     $14.44          0.42%   0.35%    -1.28%      -1.03%      1.45%    1.30%     1.11      73.38%
  4/19/2018     $14.46          0.14%   -0.37%    2.26%      2.07%      -1.93%    1.30%     -1.49     86.15%
  4/20/2018     $14.26         -1.38%   -0.77%    0.97%      -0.20%     -1.19%    1.30%     -0.91     63.72%
  4/23/2018     $14.25         -0.07%   -0.12%   -0.10%      -0.37%      0.30%    1.31%     0.23      18.45%
  4/24/2018     $14.78          3.72%   -0.75%    0.45%      -0.79%      4.51%    1.30%     3.46      99.94%
  4/25/2018     $14.60         -1.22%   -0.23%    0.27%      -0.10%     -1.12%    1.27%     -0.88     62.12%
  4/26/2018     $14.34         -1.78%   0.76%    -1.15%      -0.21%     -1.57%    1.27%     -1.24     78.22%
  4/27/2018     $13.89         -3.14%   0.17%    -0.46%      -0.32%     -2.82%    1.27%     -2.23     97.33%
  4/30/2018     $13.66         -1.66%   -0.46%   -0.05%      -0.80%     -0.86%    1.28%     -0.67     49.89%
   5/1/2018     $13.59         -0.51%   -0.13%   -0.06%      -0.34%     -0.17%    1.28%     -0.13     10.58%
   5/2/2018     $13.63          0.29%   -0.34%   -0.22%      -0.82%      1.12%    1.28%     0.88      61.87%
   5/3/2018     $13.63          0.00%   -0.26%   -0.32%      -0.82%      0.82%    1.28%     0.64      47.60%
   5/4/2018     $13.78          1.10%   0.87%    -1.23%      -0.17%      1.27%    1.28%     0.99      67.73%
   5/7/2018     $13.78          0.00%   0.36%     0.07%      0.48%      -0.48%    1.27%     -0.38     29.46%
   5/8/2018     $13.59         -1.38%   -0.09%    0.98%      0.83%      -2.21%    1.27%     -1.75     91.81%
   5/9/2018     $13.78          1.40%   0.70%     1.05%      2.02%      -0.62%    1.27%     -0.49     37.34%
  5/10/2018     $13.88          0.73%   0.65%    -0.19%      0.63%       0.09%    1.27%     0.07       5.91%
  5/11/2018     $13.86         -0.14%   0.40%    -0.42%      0.01%      -0.16%    1.27%     -0.13     9.95%
  5/14/2018     $13.65         -1.51%   0.19%    -0.20%      -0.04%     -1.47%    1.28%     -1.16     75.14%
  5/15/2018     $13.29         -2.64%   -0.75%    0.69%      -0.46%     -2.18%    1.28%     -1.71     91.11%
  5/16/2018     $13.00         -2.18%   0.14%    -0.56%      -0.51%     -1.67%    1.28%     -1.30     80.60%
  5/17/2018     $12.99         -0.08%   0.12%    -0.71%      -0.71%      0.63%    1.29%     0.49      37.49%
  5/18/2018     $12.71         -2.16%   -0.22%   -1.04%      -1.56%     -0.60%    1.28%     -0.46     35.74%
  5/21/2018     $12.71          0.00%   0.47%     0.04%      0.55%      -0.55%    1.28%     -0.43     33.20%
  5/22/2018     $12.97          2.05%   -0.09%    1.12%      0.92%       1.12%    1.28%     0.88      61.89%
  5/23/2018     $12.88         -0.69%   -0.28%   -0.88%      -1.47%      0.78%    1.28%     0.61      45.49%
  5/24/2018     $12.25         -4.89%   -0.24%   -0.64%      -1.17%     -3.72%    1.28%     -2.90     99.59%
  5/25/2018     $12.05         -0.60%   -0.33%   -0.18%      -0.82%      0.22%    1.30%     0.17      13.48%
  5/29/2018     $11.30         -6.22%   -1.30%   -2.63%      -4.85%     -1.37%    1.30%     -1.05     70.68%
  5/30/2018     $11.57          2.39%   0.82%     0.65%      1.78%       0.61%    1.30%     0.47      35.87%
  5/31/2018     $11.08         -4.23%   -0.36%   -0.46%      -1.19%     -3.05%    1.30%     -2.35     98.03%
   6/1/2018     $11.04         -0.36%   0.78%     0.18%      1.22%      -1.58%    1.31%     -1.20     77.01%
   6/4/2018     $11.21          1.54%   0.60%    -0.59%      0.09%       1.45%    1.32%     1.10      72.69%
   6/5/2018     $11.03         -1.61%   -0.12%   -0.89%      -1.31%     -0.29%    1.32%     -0.22     17.55%
   6/6/2018     $11.35          2.90%   0.82%     1.13%      2.33%       0.57%    1.32%     0.43      33.40%
   6/7/2018     $11.51          1.41%   0.04%     0.08%      0.00%       1.41%    1.32%     1.07      71.57%
   6/8/2018     $11.25         -2.26%   0.01%    -0.13%      -0.28%     -1.98%    1.32%     -1.50     86.49%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
  6/11/2018     $11.43          1.60%   0.30%    -0.11%      0.17%       1.43%    1.33%     1.08      71.74%
  6/12/2018     $11.41         -0.17%   0.05%    -0.60%      -0.75%      0.58%    1.33%     0.44      33.67%
  6/13/2018     $11.37         -0.35%   -0.24%    0.11%      -0.40%      0.05%    1.33%     0.04       2.87%
  6/14/2018     $11.22         -1.32%   0.09%    -1.28%      -1.46%      0.14%    1.33%     0.11       8.48%
  6/15/2018     $11.10         -1.07%   -0.37%   -0.20%      -0.94%     -0.13%    1.33%     -0.10      8.02%
  6/18/2018     $11.08         -0.18%   -0.39%    0.57%      -0.09%     -0.09%    1.32%     -0.07     5.39%
  6/19/2018     $11.17          0.81%   -0.68%    0.33%      -0.79%      1.60%    1.32%     1.21      77.36%
  6/20/2018     $11.08         -0.81%   0.30%    -0.28%      -0.02%     -0.79%    1.32%     -0.60     44.80%
  6/21/2018     $10.89         -1.72%   -0.56%    0.39%      -0.52%     -1.19%    1.32%     -0.90     63.21%
  6/22/2018     $11.01          1.10%   0.43%    -0.85%      -0.48%      1.58%    1.32%     1.20      76.77%
  6/25/2018     $10.89         -1.09%   -1.39%    0.29%      -1.86%      0.77%    1.33%     0.58      43.88%
  6/26/2018     $10.78         -1.01%   0.14%     0.05%      0.13%      -1.14%    1.33%     -0.86     60.75%
  6/27/2018     $10.38         -3.71%   -0.58%   -0.77%      -1.84%     -1.87%    1.33%     -1.41     83.96%
  6/28/2018     $10.47          0.87%   0.16%     1.18%      1.35%      -0.49%    1.32%     -0.37     28.69%
  6/29/2018     $10.62          1.43%   0.47%    -1.07%      -0.63%      2.07%    1.32%     1.56      88.02%
   7/2/2018     $10.64          0.19%   -0.35%    0.57%      -0.08%      0.26%    1.33%     0.20      15.71%
   7/3/2018     $10.70          0.56%   0.00%    -0.94%      -1.20%      1.77%    1.33%     1.33      81.52%
   7/5/2018     $11.13          4.02%   0.68%    -0.05%      0.79%       3.23%    1.33%     2.42      98.39%
   7/6/2018     $11.46          2.96%   0.84%    -0.72%      0.34%       2.62%    1.34%     1.96      94.83%
   7/9/2018     $11.54          0.70%   0.82%     1.38%      2.54%      -1.84%    1.35%     -1.37     82.78%
  7/10/2018     $11.43         -0.95%   0.22%    -1.06%      -0.92%     -0.03%    1.35%     -0.03     2.00%
  7/11/2018     $11.15         -2.45%   -0.87%    0.33%      -1.21%     -1.24%    1.35%     -0.92     64.12%
  7/12/2018     $11.20          0.45%   0.64%    -0.23%      0.58%      -0.13%    1.35%     -0.10      7.59%
  7/13/2018     $11.24          0.36%   0.18%    -0.87%      -0.78%      1.14%    1.35%     0.84      60.06%
  7/16/2018     $12.14          8.01%   -0.08%    3.07%      2.76%       5.25%    1.35%     3.89      99.99%
  7/17/2018     $11.87         -2.22%   0.25%    -0.56%      -0.38%     -1.85%    1.39%     -1.33     81.58%
  7/18/2018     $12.08          1.77%   0.19%     0.38%      0.58%       1.19%    1.39%     0.86      60.86%
  7/19/2018     $12.02         -0.50%   -0.35%   -0.75%      -1.54%      1.04%    1.39%     0.75      54.67%
  7/20/2018     $12.03          0.08%   0.20%     0.70%      0.97%      -0.88%    1.39%     -0.63     47.35%
  7/23/2018     $12.18          1.25%   0.01%     1.47%      1.52%      -0.28%    1.39%     -0.20     15.73%
  7/24/2018     $12.28          0.82%   0.54%     0.30%      1.07%      -0.25%    1.39%     -0.18     14.10%
  7/25/2018     $12.18         -0.81%   0.50%    -0.02%      0.62%      -1.44%    1.39%     -1.04     69.92%
  7/26/2018     $12.20          0.16%   0.01%    -0.48%      -0.67%      0.83%    1.39%     0.60      44.94%
  7/27/2018     $12.42          1.80%   -0.27%    1.06%      0.60%       1.21%    1.39%     0.87      61.43%
  7/30/2018     $12.79          2.98%   -0.36%    1.14%      0.54%       2.44%    1.39%     1.75      91.92%
  7/31/2018     $13.06          2.11%   0.23%    -0.84%      -0.73%      2.84%    1.40%     2.03      95.70%
   8/1/2018     $12.95         -0.84%   -0.17%    0.25%      -0.11%     -0.74%    1.40%     -0.53     40.15%
   8/2/2018     $12.54         -3.17%   -0.08%   -0.34%      -0.63%     -2.53%    1.40%     -1.81     92.86%
   8/3/2018     $12.50         -0.32%   0.36%     0.28%      0.76%      -1.08%    1.41%     -0.77     55.50%
   8/6/2018     $12.52          0.16%   0.09%    -0.57%      -0.64%      0.80%    1.41%     0.57      43.07%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard            Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                Level
                                                                         Return
   8/7/2018     $12.62          0.80%   0.44%    -0.24%      0.28%       0.51%    1.41%     0.37      28.47%
   8/8/2018     $12.52         -0.79%   -0.03%    0.63%      0.52%      -1.31%    1.41%     -0.93     64.81%
   8/9/2018     $12.40         -0.96%   -0.11%   -0.62%      -1.01%      0.05%    1.41%     0.03       2.75%
  8/10/2018     $11.82         -4.68%   -1.10%   -0.29%      -2.18%     -2.49%    1.41%     -1.77     92.24%
  8/13/2018     $11.45         -3.13%   -0.58%   -0.80%      -1.95%     -1.18%    1.41%     -0.84     59.59%
  8/14/2018     $11.49          0.35%   0.46%     0.01%      0.61%      -0.26%    1.41%     -0.18     14.53%
  8/15/2018     $11.19         -2.61%   -1.01%    0.05%      -1.70%     -0.91%    1.41%     -0.64     47.94%
  8/16/2018     $11.21          0.18%   0.73%    -0.09%      0.91%      -0.73%    1.41%     -0.52     39.62%
  8/17/2018     $11.20         -0.09%   0.33%    -0.41%      -0.09%      0.00%    1.41%     0.00       0.02%
  8/20/2018     $11.22          0.18%   0.33%    -0.10%      0.26%      -0.08%    1.41%     -0.06      4.61%
  8/21/2018     $11.54          2.85%   0.31%     0.37%      0.74%       2.11%    1.41%     1.50      86.52%
  8/22/2018     $11.61          0.61%   0.20%    -0.31%      -0.17%      0.78%    1.41%     0.55      41.75%
  8/23/2018     $11.30         -2.67%   -0.31%   -0.25%      -0.91%     -1.76%    1.41%     -1.25     78.58%
  8/24/2018     $11.39          0.80%   0.58%    -0.63%      0.07%       0.72%    1.42%     0.51      38.95%
  8/27/2018     $11.73          2.99%   0.85%     0.59%      1.87%       1.12%    1.42%     0.79      56.74%
  8/28/2018     $11.55         -1.54%   0.12%    -0.56%      -0.58%     -0.96%    1.42%     -0.67     49.90%
  8/29/2018     $11.66          0.95%   0.38%    -0.53%      -0.13%      1.09%    1.42%     0.77      55.54%
  8/30/2018     $11.42         -2.06%   -0.42%   -0.44%      -1.30%     -0.76%    1.42%     -0.53     40.56%
  8/31/2018     $11.26         -1.40%   -0.28%   -0.21%      -0.82%     -0.58%    1.42%     -0.41     31.81%
   9/4/2018     $11.42          1.42%   -0.58%    1.28%      0.35%       1.07%    1.42%     0.76      54.92%
   9/5/2018     $11.47          0.44%   -0.47%    0.47%      -0.35%      0.79%    1.42%     0.55      42.01%
   9/6/2018     $11.38         -0.78%   -0.41%   -0.18%      -0.97%      0.19%    1.42%     0.13      10.43%
   9/7/2018     $11.13         -2.20%   -0.30%   -0.07%      -0.68%     -1.52%    1.42%     -1.07     71.52%
  9/10/2018     $11.11         -0.18%   0.24%    -0.40%      -0.22%      0.03%    1.42%     0.02       1.95%
  9/11/2018     $11.24          1.17%   0.23%    -0.19%      0.02%       1.15%    1.42%     0.81      58.17%
  9/12/2018     $11.24          0.00%   0.23%    -0.86%      -0.75%      0.75%    1.42%     0.53      40.27%
  9/13/2018     $11.36          1.07%   0.46%    -0.32%      0.22%       0.85%    1.42%     0.60      44.92%
  9/14/2018     $11.40          0.35%   0.18%    -0.01%      0.13%       0.22%    1.41%     0.16      12.55%
  9/17/2018     $11.51          0.96%   -0.28%    0.59%      0.09%       0.87%    1.41%     0.62      46.19%
  9/18/2018     $11.58          0.61%   0.54%    -0.56%      0.09%       0.51%    1.41%     0.36      28.35%
  9/19/2018     $11.95          3.20%   0.25%     2.26%      2.83%       0.36%    1.41%     0.26      20.13%
  9/20/2018     $12.25          2.51%   0.82%     0.36%      1.59%       0.92%    1.41%     0.65      48.31%
  9/21/2018     $12.34          0.73%   0.20%    -0.71%      -0.61%      1.34%    1.41%     0.95      65.73%
  9/24/2018     $12.24         -0.81%   -0.32%   -0.34%      -1.01%      0.20%    1.41%     0.14      11.30%
  9/25/2018     $12.15         -0.73%   0.05%    -0.21%      -0.27%     -0.47%    1.41%     -0.33     25.93%
  9/26/2018     $11.90         -2.06%   -0.22%   -0.71%      -1.25%     -0.81%    1.40%     -0.57     43.40%
  9/27/2018     $11.81         -0.76%   -0.03%   -0.32%      -0.52%     -0.24%    1.40%     -0.17     13.35%
  9/28/2018     $11.36         -3.81%   -0.21%   -1.65%      -2.29%     -1.52%    1.40%     -1.08     72.06%
  10/1/2018     $11.25         -0.97%   0.19%     0.01%      0.17%      -1.13%    1.40%     -0.81     58.23%
  10/2/2018     $11.13         -1.07%   -0.21%    0.03%      -0.46%     -0.61%    1.40%     -0.44     33.70%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  10/3/2018     $11.32          1.71%   0.00%     1.00%      0.97%       0.73%    1.39%     0.53       40.10%
  10/4/2018     $11.20         -1.06%   -0.83%    1.79%      0.55%      -1.61%    1.39%     -1.15      75.04%
  10/5/2018     $11.12         -0.71%   -0.65%    0.10%      -1.06%      0.34%    1.39%     0.25       19.44%
  10/8/2018     $11.05         -0.63%   -0.36%    0.46%      -0.23%     -0.40%    1.40%     -0.29      22.73%
  10/9/2018     $11.03         -0.18%   -0.24%   -0.41%      -0.97%      0.79%    1.39%     0.57       42.93%
 10/10/2018     $10.92         -1.00%   -2.31%    0.92%      -2.79%      1.80%    1.39%     1.29       80.18%
 10/11/2018     $10.83         -0.82%   -2.11%    0.13%      -3.18%      2.36%    1.40%     1.69       90.78%
 10/12/2018     $10.84          0.09%   0.90%    -0.94%      0.16%      -0.07%    1.40%     -0.05       4.02%
 10/15/2018     $11.03          1.75%   -0.40%   -0.45%      -1.20%      2.95%    1.41%     2.10       96.31%
 10/16/2018     $11.16          1.18%   1.76%    -0.87%      1.48%      -0.30%    1.42%     -0.21      16.80%
 10/17/2018     $11.26          0.90%   -0.08%    0.65%      0.49%       0.41%    1.42%     0.29       22.80%
 10/18/2018     $10.97         -2.58%   -1.20%   -0.72%      -2.59%      0.02%    1.42%     0.01        0.94%
 10/19/2018     $10.92         -0.46%   -0.10%    0.34%      0.11%      -0.57%    1.42%     -0.40      31.18%
 10/22/2018     $10.72         -1.83%   -0.43%   -1.39%      -2.27%      0.44%    1.42%     0.31       24.08%
 10/23/2018     $10.70         -0.19%   -0.95%   -0.03%      -1.52%      1.33%    1.42%     0.94       65.12%
 10/24/2018     $10.00         -6.54%   -2.23%    0.23%      -3.00%     -3.54%    1.41%     -2.50      98.71%
 10/25/2018     $10.00          0.00%   0.89%     0.39%      1.55%      -1.55%    1.41%     -1.10      72.79%
 10/26/2018      $9.67         -3.30%   -1.22%    0.50%      -1.29%     -2.01%    1.41%     -1.42      84.30%
 10/29/2018      $9.64         -0.31%   -0.31%    1.64%      1.17%      -1.48%    1.41%     -1.05      70.45%
 10/30/2018      $9.74          1.04%   1.09%    -0.33%      1.09%      -0.05%    1.41%     -0.04       3.08%
 10/31/2018      $9.77          0.31%   1.24%     0.16%      1.82%      -1.51%    1.41%     -1.07      71.43%
  11/1/2018     $10.25          4.91%   0.94%    -0.32%      0.86%       4.05%    1.41%     2.86       99.55%
  11/2/2018     $10.52          2.63%   -0.21%    0.51%      0.12%       2.52%    1.43%     1.76       92.00%
  11/5/2018     $10.46         -0.57%   0.20%     0.18%      0.35%      -0.92%    1.44%     -0.64      47.82%
  11/6/2018     $10.44         -0.19%   0.49%    -0.41%      0.16%      -0.35%    1.43%     -0.24      19.29%
  11/7/2018     $10.61          1.63%   1.65%    -0.38%      1.85%      -0.22%    1.43%     -0.15      12.09%
  11/8/2018     $10.34         -2.54%   -0.09%    0.20%      -0.04%     -2.50%    1.43%     -1.75      91.78%
  11/9/2018     $10.12         -2.13%   -0.93%   -0.25%      -1.72%     -0.41%    1.43%     -0.28      22.35%
 11/12/2018      $9.73         -3.85%   -1.67%   -0.24%      -2.82%     -1.03%    1.41%     -0.73      53.35%
 11/13/2018      $9.86          1.34%   -0.10%    1.06%      0.80%       0.53%    1.41%     0.38       29.54%
 11/14/2018      $9.87          0.10%   -0.56%   -0.74%      -1.77%      1.87%    1.41%     1.33       81.42%
 11/15/2018      $9.90          0.30%   0.55%     0.98%      1.67%      -1.37%    1.41%     -0.97      66.67%
 11/16/2018      $9.81         -0.91%   0.27%    -0.56%      -0.36%     -0.55%    1.41%     -0.39      30.32%
 11/19/2018      $9.78         -0.31%   -1.09%    1.42%      -0.28%     -0.02%    1.40%     -0.02      1.39%
 11/20/2018      $9.23         -5.62%   -1.63%   -0.25%      -2.79%     -2.83%    1.40%     -2.03      95.63%
 11/21/2018      $9.44          2.28%   0.40%    -0.18%      0.20%       2.08%    1.41%     1.48       85.89%
 11/23/2018      $9.25         -2.01%   -0.49%   -0.39%      -1.32%     -0.69%    1.41%     -0.49      37.37%
 11/26/2018      $9.73          5.19%   1.22%     1.11%      2.80%       2.39%    1.41%     1.69       90.77%
 11/27/2018      $9.84          1.13%   0.04%    -0.07%      -0.19%      1.32%    1.42%     0.93       64.74%
 11/28/2018      $9.89          0.51%   1.49%    -0.25%      1.83%      -1.32%    1.42%     -0.93      64.83%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
 11/29/2018      $9.42         -4.75%   0.25%    -1.34%      -1.28%     -3.48%    1.41%     -2.46       98.55%
 11/30/2018      $9.16         -2.76%   0.32%    -0.14%      0.11%      -2.87%    1.43%     -2.01       95.47%
  12/3/2018      $9.39          2.51%   1.24%    -0.48%      1.10%       1.41%    1.44%     0.98        67.30%
  12/4/2018      $9.06         -3.51%   -2.41%   -1.27%      -5.28%      1.77%    1.44%     1.23        77.91%
  12/6/2018      $8.90         -1.77%   -1.29%   -0.75%      -2.99%      1.23%    1.45%     0.85        60.34%
  12/7/2018      $8.73         -1.91%   -1.29%   -0.44%      -2.61%      0.70%    1.45%     0.49        37.28%
 12/10/2018      $8.38         -4.01%   -0.63%   -1.09%      -2.37%     -1.64%    1.44%     -1.14       74.33%
 12/11/2018      $8.33         -0.60%   0.09%    -1.04%      -1.27%      0.67%    1.44%     0.47       35.78%
 12/12/2018      $9.03          8.40%   1.09%    -0.12%      1.27%       7.13%    1.45%     4.94       100.00%
 12/13/2018      $8.87         -1.77%   -0.07%   -0.06%      -0.38%     -1.39%    1.51%     -0.92       63.99%
 12/14/2018      $8.80         -0.79%   -1.61%    1.27%      -1.29%      0.50%    1.52%     0.33       25.70%
 12/17/2018      $8.60         -2.27%   -1.45%    0.84%      -1.48%     -0.79%    1.52%     -0.52       39.82%
 12/18/2018      $8.69          1.05%   -0.32%    0.32%      -0.33%      1.38%    1.52%     0.91       63.66%
 12/19/2018      $8.37         -3.68%   -0.81%   -0.23%      -1.68%     -2.00%    1.51%     -1.32       81.34%
 12/20/2018      $8.06         -3.70%   -1.58%    1.48%      -0.94%     -2.77%    1.52%     -1.83       93.08%
 12/21/2018      $7.87         -2.36%   -1.50%   -0.44%      -2.98%      0.63%    1.53%     0.41        31.83%
 12/24/2018      $7.91          0.51%   -1.74%    0.44%      -2.39%      2.90%    1.53%     1.90       94.13%
 12/26/2018      $8.16          3.16%   2.65%     0.70%      4.55%      -1.39%    1.53%     -0.90       63.30%
 12/27/2018      $7.81         -4.29%   0.63%    -0.36%      0.34%      -4.63%    1.54%     -3.02       99.72%
 12/28/2018      $8.05          3.07%   0.45%    -0.20%      0.22%       2.85%    1.56%     1.82        93.04%
 12/31/2018      $8.15          1.24%   0.70%    -0.25%      0.55%       0.70%    1.58%     0.44        34.05%
   1/2/2019      $8.20          0.61%   -0.15%    1.36%      1.11%      -0.49%    1.57%     -0.31       24.52%
   1/3/2019      $8.09         -1.34%   -1.49%    0.52%      -1.80%      0.46%    1.57%     0.29       22.86%
   1/4/2019      $8.52          5.32%   2.75%     0.55%      4.44%       0.87%    1.57%     0.56        42.12%
   1/7/2019      $8.70          2.11%   0.82%    -0.97%      0.03%       2.08%    1.53%     1.36        82.61%
   1/8/2019      $8.74          0.46%   0.84%    -1.04%      0.01%       0.45%    1.53%     0.29        23.16%
   1/9/2019      $8.56         -2.06%   0.79%    -0.45%      0.55%      -2.61%    1.53%     -1.71       91.10%
  1/10/2019      $8.61          0.58%   0.34%    -0.19%      0.14%       0.44%    1.53%     0.29        22.57%
  1/11/2019      $8.56         -0.58%   -0.03%    0.22%      0.02%      -0.60%    1.53%     -0.39       30.36%
  1/14/2019      $8.58          0.23%   -0.46%    1.77%      1.01%      -0.78%    1.54%     -0.50       38.57%
  1/15/2019      $8.63          0.58%   0.79%    -0.03%      0.98%      -0.40%    1.53%     -0.26       20.32%
  1/16/2019      $9.29          7.65%   0.15%     2.46%      2.63%       5.02%    1.53%     3.28        99.88%
  1/17/2019      $8.92         -3.98%   0.46%    -0.21%      0.33%      -4.31%    1.56%     -2.76       99.37%
  1/18/2019      $9.14          2.47%   1.27%    -0.27%      1.43%       1.04%    1.59%     0.65        48.60%
  1/22/2019      $8.85         -3.17%   -1.10%   -0.29%      -2.11%     -1.06%    1.59%     -0.67       49.54%
  1/23/2019      $9.05          2.26%   0.07%    -0.01%      -0.08%      2.34%    1.58%     1.48       85.97%
  1/24/2019      $8.86         -2.10%   0.16%    -0.02%      0.05%      -2.15%    1.59%     -1.35       82.26%
  1/25/2019      $9.24          4.29%   0.94%     0.33%      1.60%       2.69%    1.60%     1.69        90.69%
  1/28/2019      $9.27          0.33%   -0.63%    0.68%      -0.33%      0.66%    1.61%     0.41       31.71%
  1/29/2019      $9.23         -0.43%   0.02%    -0.18%      -0.32%     -0.11%    1.60%     -0.07       5.35%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  1/30/2019      $9.29          0.65%   1.07%    -1.02%      0.30%       0.35%    1.60%     0.22       17.14%
  1/31/2019      $8.88         -4.41%   0.87%    -2.31%      -1.48%     -2.93%    1.60%     -1.84      93.26%
   2/1/2019      $8.85         -0.34%   0.05%    -0.40%      -0.56%      0.23%    1.61%     0.14       11.15%
   2/4/2019      $8.80         -0.57%   0.40%     0.09%      0.53%      -1.10%    1.61%     -0.68      50.34%
   2/5/2019      $8.90          1.14%   0.67%    -0.67%      0.00%       1.13%    1.61%     0.70       51.85%
   2/6/2019      $8.95          0.56%   -0.21%    0.18%      -0.26%      0.82%    1.61%     0.51       39.08%
   2/7/2019      $8.36         -6.59%   -0.99%   -0.37%      -2.07%     -4.52%    1.60%     -2.82      99.48%
   2/8/2019      $8.19         -2.03%   -0.32%   -0.29%      -1.01%     -1.02%    1.62%     -0.63      47.08%
  2/11/2019      $8.32          1.59%   0.05%    -0.15%      -0.30%      1.88%    1.63%     1.16       75.24%
  2/12/2019      $8.54          2.64%   1.16%     0.01%      1.59%       1.06%    1.63%     0.65       48.34%
  2/13/2019      $8.54          0.00%   0.37%    -0.05%      0.32%      -0.32%    1.63%     -0.20      15.45%
  2/14/2019      $8.34         -2.34%   -0.25%   -0.56%      -1.25%     -1.09%    1.62%     -0.67      49.64%
  2/15/2019      $8.80          5.51%   0.93%     1.48%      3.04%       2.47%    1.63%     1.52       87.06%
  2/19/2019      $8.61         -2.16%   0.45%    -0.84%      -0.51%     -1.64%    1.63%     -1.01      68.53%
  2/20/2019      $8.74          1.51%   0.37%     0.21%      0.66%       0.85%    1.63%     0.52       39.65%
  2/21/2019      $8.66         -0.91%   -0.30%   -0.19%      -0.89%     -0.03%    1.62%     -0.02       1.33%
  2/22/2019      $8.65         -0.12%   0.46%    -0.88%      -0.58%      0.47%    1.62%     0.29       22.61%
  2/25/2019      $8.77          1.39%   0.23%     0.57%      0.90%       0.48%    1.62%     0.30       23.51%
  2/26/2019      $8.92          1.71%   -0.01%    0.05%      -0.12%      1.83%    1.62%     1.14       74.25%
  2/27/2019      $9.11          2.13%   0.02%     0.73%      0.78%       1.35%    1.62%     0.83       59.36%
  2/28/2019      $9.24          1.43%   -0.30%   -0.14%      -0.82%      2.24%    1.62%     1.38       83.23%
   3/1/2019      $9.29          0.54%   0.50%    -0.34%      0.21%       0.33%    1.63%     0.20       16.15%
   3/4/2019      $9.20         -0.97%   -0.28%   -0.07%      -0.70%     -0.27%    1.63%     -0.17      13.28%
   3/5/2019      $9.16         -0.44%   -0.14%    0.08%      -0.28%     -0.15%    1.62%     -0.09      7.41%
   3/6/2019      $9.17          0.11%   -0.42%    0.05%      -0.77%      0.87%    1.62%     0.54       40.91%
   3/7/2019      $8.66         -5.56%   -0.83%   -0.18%      -1.71%     -3.86%    1.62%     -2.37      98.16%
   3/8/2019      $8.64         -0.23%   -0.50%    0.61%      -0.20%     -0.03%    1.64%     -0.02      1.32%
  3/11/2019      $9.12          5.56%   1.15%    -0.26%      1.37%       4.18%    1.63%     2.56       98.89%
  3/12/2019      $8.86         -2.85%   0.42%    -0.43%      0.00%      -2.85%    1.65%     -1.73      91.46%
  3/13/2019      $9.06          2.26%   0.59%     0.19%      1.06%       1.20%    1.66%     0.72       52.90%
  3/14/2019      $8.91         -1.66%   0.03%     0.56%      0.62%      -2.28%    1.66%     -1.37      82.78%
  3/15/2019      $8.88         -0.34%   0.59%    -0.03%      0.78%      -1.12%    1.67%     -0.67      49.60%
  3/18/2019      $9.26          4.28%   0.44%     0.67%      1.40%       2.88%    1.67%     1.72       91.35%
  3/19/2019      $9.05         -2.27%   0.12%    -0.47%      -0.56%     -1.71%    1.68%     -1.02      69.03%
  3/20/2019      $8.78         -2.98%   -0.40%   -1.64%      -2.94%     -0.04%    1.68%     -0.03       2.02%
  3/21/2019      $8.43         -3.99%   0.75%    -2.19%      -1.75%     -2.23%    1.68%     -1.33      81.43%
  3/22/2019      $8.21         -2.61%   -1.56%   -1.45%      -4.64%      2.03%    1.67%     1.22       77.67%
  3/25/2019      $8.17         -0.49%   -0.37%   -0.11%      -0.91%      0.42%    1.67%     0.25       19.92%
  3/26/2019      $8.28          1.35%   0.75%     0.09%      1.15%       0.19%    1.67%     0.12        9.17%
  3/27/2019      $8.46          2.17%   -0.41%    0.42%      -0.27%      2.44%    1.67%     1.47       85.63%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  3/28/2019      $8.19         -3.19%   0.06%     0.67%      0.84%      -4.03%    1.67%     -2.41      98.32%
  3/29/2019      $8.12         -0.86%   0.60%    -0.10%      0.67%      -1.53%    1.69%     -0.90      63.18%
   4/1/2019      $8.55          5.30%   1.14%     1.97%      4.28%       1.02%    1.69%     0.60       45.25%
   4/2/2019      $8.50         -0.58%   0.00%     0.69%      0.77%      -1.35%    1.69%     -0.80      57.44%
   4/3/2019      $8.59          1.06%   0.53%    -0.03%      0.67%       0.39%    1.69%     0.23       18.14%
   4/4/2019      $8.50         -1.05%   -0.01%    0.75%      0.82%      -1.87%    1.69%     -1.10      72.89%
   4/5/2019      $8.35         -1.76%   0.33%    -0.60%      -0.42%     -1.35%    1.70%     -0.79      57.10%
   4/8/2019      $8.32         -0.36%   0.14%     0.16%      0.27%      -0.63%    1.70%     -0.37      28.81%
   4/9/2019      $8.24         -0.96%   -0.45%   -0.03%      -0.94%     -0.02%    1.70%     -0.01       0.86%
  4/10/2019      $8.21         -0.36%   0.22%     0.05%      0.24%      -0.61%    1.70%     -0.36      28.01%
  4/11/2019      $8.39          2.19%   -0.02%    0.68%      0.70%       1.49%    1.69%     0.88       61.98%
  4/12/2019      $8.61          2.62%   0.55%     2.66%      4.31%      -1.68%    1.69%     -1.00      68.01%
  4/15/2019      $8.64          0.35%   0.08%    -0.63%      -0.89%      1.24%    1.69%     0.74       53.71%
  4/16/2019      $8.87          2.66%   0.09%     1.11%      1.48%       1.18%    1.69%     0.70       51.65%
  4/17/2019      $8.93          0.68%   -0.10%    1.73%      2.03%      -1.35%    1.69%     -0.80      57.54%
  4/18/2019      $8.78         -1.68%   -0.03%   -0.50%      -0.87%     -0.81%    1.69%     -0.48      36.66%
  4/22/2019      $8.75         -0.34%   0.06%    -0.16%      -0.28%     -0.06%    1.69%     -0.04      2.99%
  4/23/2019      $8.54         -2.40%   0.59%    -0.91%      -0.46%     -1.94%    1.68%     -1.15      74.99%
  4/24/2019      $8.50         -0.47%   -0.26%   -0.16%      -0.82%      0.35%    1.69%     0.21       16.29%
  4/25/2019      $8.35         -1.76%   -0.16%    0.19%      -0.20%     -1.57%    1.66%     -0.94      65.31%
  4/26/2019      $8.19         -1.92%   0.39%     0.33%      0.92%      -2.83%    1.67%     -1.70      90.96%
  4/29/2019      $8.32          1.59%   0.08%     1.42%      1.93%      -0.34%    1.66%     -0.20      16.21%
  4/30/2019      $8.28         -0.48%   0.14%    -0.35%      -0.43%     -0.05%    1.66%     -0.03      2.41%
   5/1/2019      $8.15         -1.57%   -0.40%   -0.39%      -1.38%     -0.19%    1.66%     -0.12       9.29%
   5/2/2019      $8.22          0.86%   -0.41%    1.10%      0.67%       0.19%    1.66%     0.12        9.26%
   5/3/2019      $8.22          0.00%   0.77%     0.08%      1.21%      -1.21%    1.65%     -0.73      53.55%
   5/6/2019      $8.11         -1.34%   -0.51%   -0.36%      -1.53%      0.19%    1.66%     0.12        9.19%
   5/7/2019      $7.82         -3.58%   -1.44%   -0.29%      -2.98%     -0.60%    1.65%     -0.36      28.26%
   5/8/2019      $7.87          0.64%   -0.17%   -0.10%      -0.61%      1.25%    1.65%     0.76       54.95%
   5/9/2019      $7.78         -1.14%   -0.59%    0.31%      -0.73%     -0.42%    1.65%     -0.25      20.02%
  5/10/2019      $7.87          1.16%   0.33%    -0.35%      -0.12%      1.28%    1.65%     0.78       56.19%
  5/13/2019      $7.64         -2.92%   -1.87%   -1.15%      -4.94%      2.01%    1.65%     1.22       77.62%
  5/14/2019      $7.68          0.52%   0.59%     0.24%      1.15%      -0.63%    1.65%     -0.38      29.77%
  5/15/2019      $7.67         -0.13%   0.55%    -0.99%      -0.63%      0.50%    1.65%     0.30       23.63%
  5/16/2019      $7.66         -0.13%   0.74%     0.23%      1.39%      -1.52%    1.64%     -0.92      64.33%
  5/17/2019      $7.58         -1.05%   -0.45%   -0.35%      -1.39%      0.34%    1.64%     0.21       16.43%
  5/20/2019      $7.43         -1.98%   -0.56%    0.67%      -0.13%     -1.84%    1.65%     -1.12      73.64%
  5/21/2019      $7.52          1.21%   0.62%     0.13%      1.05%       0.16%    1.65%     0.10        7.73%
  5/22/2019      $7.34         -2.39%   -0.28%   -0.61%      -1.46%     -0.93%    1.65%     -0.56      42.71%
  5/23/2019      $7.23         -1.50%   -1.15%   -0.11%      -2.24%      0.74%    1.65%     0.45       34.75%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  5/24/2019      $7.18          1.01%   0.36%     0.65%      1.35%      -0.34%    1.65%     -0.20      16.19%
  5/28/2019      $7.02         -2.23%   -0.50%   -0.48%      -1.63%     -0.60%    1.63%     -0.37      28.60%
  5/29/2019      $6.92         -1.43%   -0.95%    1.00%      -0.34%     -1.09%    1.63%     -0.67      49.49%
  5/30/2019      $6.91         -0.14%   0.08%    -1.17%      -1.61%      1.47%    1.63%     0.90       63.16%
  5/31/2019      $6.77         -2.03%   -0.98%   -0.25%      -2.05%      0.02%    1.63%     0.01        1.17%
   6/3/2019      $6.73         -0.59%   -0.06%    0.48%      0.44%      -1.03%    1.62%     -0.63      47.19%
   6/4/2019      $7.07          5.05%   1.59%     1.52%      4.51%       0.55%    1.62%     0.34       26.34%
   6/5/2019      $6.92         -2.12%   0.87%    -1.10%      -0.19%     -1.94%    1.62%     -1.20      76.71%
   6/6/2019      $6.75         -2.46%   0.40%    -0.26%      0.16%      -2.61%    1.62%     -1.61      89.13%
   6/7/2019      $6.76          0.15%   1.08%    -2.01%      -1.20%      1.34%    1.63%     0.82       58.87%
  6/10/2019      $6.89          1.92%   0.41%     0.80%      1.59%       0.33%    1.63%     0.20       16.05%
  6/11/2019      $6.98          1.31%   0.20%     0.30%      0.59%       0.72%    1.63%     0.44       34.02%
  6/12/2019      $6.88         -1.43%   -0.25%   -0.99%      -1.88%      0.45%    1.63%     0.28       21.76%
  6/13/2019      $6.87         -0.15%   0.12%    -0.12%      -0.11%     -0.03%    1.63%     -0.02      1.52%
  6/14/2019      $6.79         -1.17%   -0.28%    0.38%      -0.07%     -1.10%    1.63%     -0.68      49.98%
  6/17/2019      $6.82          0.44%   0.00%    -0.62%      -1.00%      1.44%    1.63%     0.88       62.20%
  6/18/2019      $7.08          3.81%   0.94%     0.72%      2.34%       1.47%    1.63%     0.90       63.22%
  6/19/2019      $7.17          1.27%   0.50%    -0.90%      -0.56%      1.83%    1.63%     1.12       73.75%
  6/20/2019      $7.17          0.00%   1.01%    -0.89%      0.29%      -0.29%    1.63%     -0.17      13.87%
  6/21/2019      $7.18          0.14%   -0.24%   -0.44%      -1.11%      1.25%    1.63%     0.77       55.56%
  6/24/2019      $7.10         -1.11%   0.00%    -0.51%      -0.82%     -0.29%    1.63%     -0.18      14.28%
  6/25/2019      $7.12          0.28%   -0.66%    0.06%      -1.13%      1.41%    1.63%     0.86       61.16%
  6/26/2019      $7.37          3.51%   -0.25%    1.06%      0.92%       2.59%    1.63%     1.59       88.71%
  6/27/2019      $7.54          2.31%   0.37%     0.48%      1.15%       1.16%    1.64%     0.71       51.92%
  6/28/2019      $7.63          1.19%   0.55%     1.41%      2.72%      -1.53%    1.64%     -0.93      64.87%
   7/1/2019      $7.64          0.13%   0.64%     0.38%      1.45%      -1.32%    1.63%     -0.81      57.95%
   7/2/2019      $7.59         -0.65%   0.29%    -0.57%      -0.43%     -0.23%    1.63%     -0.14      11.01%
   7/3/2019      $7.81          2.90%   0.67%    -0.65%      0.07%       2.83%    1.63%     1.73       91.59%
   7/5/2019      $8.03          2.82%   -0.35%    1.11%      0.86%       1.95%    1.64%     1.19       76.52%
   7/8/2019      $7.54         -6.10%   -0.50%    0.03%      -0.85%     -5.25%    1.63%     -3.23      99.86%
   7/9/2019      $7.28         -3.45%   -0.04%    0.29%      0.21%      -3.66%    1.66%     -2.21      97.18%
  7/10/2019      $7.40          1.65%   0.34%    -0.78%      -0.70%      2.35%    1.67%     1.41       84.05%
  7/11/2019      $7.48          1.08%   0.19%     0.64%      1.08%       0.00%    1.67%     0.00        0.16%
  7/12/2019      $7.67          2.54%   0.33%     0.08%      0.51%       2.03%    1.67%     1.21       77.36%
  7/15/2019      $7.77          1.30%   0.08%    -0.67%      -0.95%      2.25%    1.68%     1.34       81.89%
  7/16/2019      $7.97          2.57%   -0.28%    0.39%      -0.02%      2.59%    1.68%     1.54       87.61%
  7/17/2019      $7.88         -1.13%   -0.46%    0.09%      -0.75%     -0.38%    1.67%     -0.23      17.97%
  7/18/2019      $7.93          0.63%   0.02%     0.77%      0.93%      -0.30%    1.66%     -0.18      14.16%
  7/19/2019      $7.72         -2.65%   -0.17%   -0.58%      -1.17%     -1.48%    1.66%     -0.89      62.43%
  7/22/2019      $7.80          1.04%   0.14%     0.38%      0.59%       0.44%    1.67%     0.27       21.01%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  7/23/2019      $7.95          1.92%   0.54%     1.03%      2.12%      -0.20%    1.66%     -0.12       9.47%
  7/24/2019      $7.92         -0.38%   0.37%    -0.10%      0.33%      -0.71%    1.66%     -0.43      33.01%
  7/25/2019      $7.90         -0.25%   -0.49%   -0.61%      -1.74%      1.49%    1.66%     0.90       62.89%
  7/26/2019      $7.93          0.38%   0.40%     0.21%      0.79%      -0.41%    1.66%     -0.25      19.58%
  7/29/2019      $7.83         -1.26%   -0.14%   -0.47%      -1.01%     -0.25%    1.67%     -0.15      12.04%
  7/30/2019      $7.75         -1.02%   -0.41%    0.43%      -0.23%     -0.79%    1.66%     -0.47      36.40%
  7/31/2019      $7.81          0.77%   -0.72%    0.64%      -0.49%      1.27%    1.66%     0.76       55.47%
   8/1/2019      $7.61         -2.56%   -0.66%   -1.84%      -3.69%      1.13%    1.65%     0.68       50.46%
   8/2/2019      $7.89          3.68%   -1.07%    1.10%      -0.43%      4.11%    1.65%     2.49       98.66%
   8/5/2019      $7.65         -3.04%   -2.45%   -0.46%      -4.61%      1.56%    1.66%     0.94       65.21%
   8/6/2019      $7.63         -0.26%   0.57%     0.45%      1.37%      -1.63%    1.66%     -0.98      67.35%
   8/7/2019      $7.47         -2.10%   0.23%    -1.79%      -2.19%      0.10%    1.67%     0.06        4.60%
   8/8/2019      $7.66          2.54%   1.55%    -0.45%      1.66%       0.88%    1.66%     0.53       40.24%
   8/9/2019      $7.53         -1.70%   -0.54%    0.21%      -0.69%     -1.00%    1.66%     -0.60      45.26%
  8/12/2019      $6.95         -7.70%   -0.83%   -1.26%      -3.10%     -4.60%    1.66%     -2.77      99.40%
  8/13/2019      $7.21          3.74%   0.80%     0.01%      1.12%       2.62%    1.68%     1.56       87.94%
  8/14/2019      $6.69         -7.21%   -2.26%   -1.38%      -5.60%     -1.62%    1.69%     -0.96      66.00%
  8/15/2019      $6.44         -3.74%   -0.16%    0.23%      -0.09%     -3.65%    1.69%     -2.15      96.78%
  8/16/2019      $6.94          7.76%   1.23%     1.10%      3.38%       4.38%    1.71%     2.56       98.91%
  8/19/2019      $7.05          1.59%   1.11%    -0.40%      1.17%       0.42%    1.73%     0.24       19.08%
  8/20/2019      $6.97         -1.14%   -0.57%   -0.62%      -1.96%      0.83%    1.73%     0.48       36.77%
  8/21/2019      $7.01          0.57%   0.75%    -0.53%      0.39%       0.18%    1.73%     0.11        8.46%
  8/22/2019      $7.17          2.28%   -0.18%    1.15%      1.19%       1.09%    1.73%     0.63       47.13%
  8/23/2019      $6.97         -2.79%   -1.74%   -0.24%      -3.36%      0.57%    1.73%     0.33       25.83%
  8/26/2019      $7.07          1.44%   0.51%     0.35%      1.22%       0.21%    1.73%     0.12        9.83%
  8/27/2019      $7.13          0.85%   -0.02%   -0.98%      -1.53%      2.38%    1.72%     1.38       83.12%
  8/28/2019      $7.16          0.42%   0.34%     0.43%      1.03%      -0.61%    1.73%     -0.35      27.63%
  8/29/2019      $7.22          0.84%   1.00%     0.67%      2.48%      -1.64%    1.73%     -0.95      65.68%
  8/30/2019      $7.25          0.41%   0.26%     0.18%      0.55%      -0.14%    1.73%     -0.08       6.32%
   9/3/2019      $7.30          0.69%   -0.54%   -0.38%      -1.53%      2.22%    1.73%     1.28       79.75%
   9/4/2019      $7.48          2.47%   1.08%     0.19%      1.93%       0.53%    1.74%     0.31       24.17%
   9/5/2019      $7.82          4.55%   1.14%     0.95%      3.09%       1.46%    1.74%     0.84       59.74%
   9/6/2019      $7.85          0.38%   0.21%    -0.48%      -0.41%      0.80%    1.74%     0.46       35.38%
   9/9/2019      $8.13          3.57%   -0.02%    2.83%      3.78%      -0.22%    1.74%     -0.12       9.93%
  9/10/2019      $8.30          2.09%   0.05%     1.79%      2.46%      -0.37%    1.74%     -0.21      16.98%
  9/11/2019      $8.29         -0.12%   0.69%    -0.49%      0.41%      -0.53%    1.74%     -0.31      24.05%
  9/12/2019      $8.32          0.36%   0.34%     0.14%      0.67%      -0.31%    1.73%     -0.18      14.13%
  9/13/2019      $8.45          1.56%   0.18%     1.52%      2.33%      -0.77%    1.73%     -0.44      34.27%
  9/16/2019      $8.23         -2.60%   -0.45%   -0.41%      -1.38%     -1.22%    1.74%     -0.70      51.68%
  9/17/2019      $8.19         -0.49%   0.27%    -0.92%      -0.91%      0.42%    1.74%     0.24       19.18%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  9/18/2019      $8.06         -1.59%   -0.03%    0.47%      0.50%      -2.09%    1.74%     -1.20      77.01%
  9/19/2019      $8.07          0.12%   0.17%    -0.34%      -0.29%      0.41%    1.74%     0.24       18.65%
  9/20/2019      $7.99         -0.99%   -0.32%    0.08%      -0.54%     -0.45%    1.74%     -0.26      20.53%
  9/23/2019      $7.79         -2.50%   -0.17%   -0.10%      -0.54%     -1.96%    1.74%     -1.13      73.95%
  9/24/2019      $7.58         -2.70%   -0.53%   -0.84%      -2.18%     -0.52%    1.74%     -0.30      23.49%
  9/25/2019      $7.58          0.00%   0.11%     0.53%      0.80%      -0.80%    1.74%     -0.46      35.33%
  9/26/2019      $7.42         -2.11%   -0.05%   -0.27%      -0.58%     -1.53%    1.74%     -0.88      61.96%
  9/27/2019      $7.56          1.89%   -0.36%    0.99%      0.62%       1.26%    1.74%     0.72       52.98%
  9/30/2019      $7.50         -0.79%   0.21%    -0.37%      -0.27%     -0.52%    1.75%     -0.30      23.53%
  10/1/2019      $7.25         -3.33%   -0.99%   -0.56%      -2.51%     -0.82%    1.75%     -0.47      36.16%
  10/2/2019      $7.19         -0.83%   -1.71%   -0.15%      -3.18%      2.35%    1.74%     1.35       82.04%
  10/3/2019      $7.15         -0.56%   0.47%    -0.55%      -0.09%     -0.46%    1.75%     -0.26      20.85%
  10/4/2019      $7.19          0.56%   1.05%     0.25%      1.96%      -1.40%    1.75%     -0.80      57.65%
  10/7/2019      $7.09         -1.39%   -0.09%   -0.09%      -0.40%     -1.00%    1.75%     -0.57      42.97%
  10/8/2019      $6.92         -2.40%   -1.29%   -0.30%      -2.65%      0.25%    1.75%     0.14       11.36%
  10/9/2019      $6.94          0.29%   0.63%     0.02%      0.95%      -0.66%    1.75%     -0.38      29.44%
 10/10/2019      $7.13          2.74%   0.59%     1.10%      2.38%       0.36%    1.75%     0.21       16.28%
 10/11/2019      $7.46          4.63%   1.36%     0.75%      3.20%       1.42%    1.75%     0.82       58.46%
 10/14/2019      $7.55          1.21%   -0.19%    0.53%      0.29%       0.92%    1.74%     0.53       40.02%
 10/15/2019      $7.78          3.05%   0.98%     1.04%      3.05%       0.00%    1.74%     0.00        0.11%
 10/16/2019      $7.84          0.77%   -0.06%    0.11%      -0.07%      0.84%    1.73%     0.49       37.31%
 10/17/2019      $7.90          0.76%   0.30%     0.00%      0.41%       0.35%    1.73%     0.20       16.08%
 10/18/2019      $7.92          0.25%   -0.30%    0.66%      0.27%      -0.02%    1.73%     -0.01       0.79%
 10/21/2019      $8.08          2.02%   0.64%     1.26%      2.80%      -0.78%    1.73%     -0.45      34.87%
 10/22/2019      $7.91         -2.10%   -0.23%    0.66%      0.40%      -2.51%    1.73%     -1.45      85.15%
 10/23/2019      $7.99          1.01%   0.18%     0.35%      0.70%       0.31%    1.74%     0.18       14.24%
 10/24/2019      $7.90         -1.13%   0.33%    -0.61%      -0.37%     -0.75%    1.73%     -0.43      33.58%
 10/25/2019      $7.97          0.89%   0.32%     0.40%      1.02%      -0.13%    1.73%     -0.08       6.15%
 10/28/2019      $8.05          1.00%   0.39%    -0.56%      -0.21%      1.21%    1.72%     0.70       51.64%
 10/29/2019      $7.98         -0.87%   0.05%    -0.01%      -0.03%     -0.83%    1.72%     -0.48      37.16%
 10/30/2019      $7.36         -7.77%   0.22%    -1.04%      -1.21%     -6.56%    1.72%     -3.81      99.98%
 10/31/2019      $7.25         -1.50%   -0.17%   -0.66%      -1.37%     -0.13%    1.72%     -0.08       6.00%
  11/1/2019      $7.39          1.93%   0.83%     0.85%      2.62%      -0.69%    1.72%     -0.40      31.33%
  11/4/2019      $7.66          3.65%   0.42%     0.95%      1.98%       1.68%    1.70%     0.99       67.60%
  11/5/2019      $7.61         -0.65%   -0.10%    0.45%      0.35%      -1.00%    1.70%     -0.59      44.42%
  11/6/2019      $7.65          0.53%   0.09%    -0.06%      -0.03%      0.56%    1.70%     0.33       25.72%
  11/7/2019      $7.76          1.44%   0.24%     0.69%      1.31%       0.13%    1.70%     0.07        5.88%
  11/8/2019      $7.63         -1.68%   0.09%    -0.16%      -0.17%     -1.51%    1.70%     -0.89      62.43%
 11/11/2019      $7.61         -0.26%   -0.11%   -0.20%      -0.59%      0.33%    1.70%     0.19       15.39%
 11/12/2019      $7.63          0.26%   0.16%    -0.64%      -0.72%      0.98%    1.69%     0.58       43.88%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
 11/13/2019      $7.28         -4.59%   -0.07%   -1.00%      -1.67%     -2.92%    1.69%     -1.72      91.37%
 11/14/2019      $7.21         -0.96%   -0.13%    0.16%      -0.14%     -0.82%    1.70%     -0.48      37.05%
 11/15/2019      $7.31          1.39%   0.77%    -0.34%      0.79%       0.60%    1.70%     0.35       27.42%
 11/18/2019      $7.35          0.55%   0.13%     0.25%      0.48%       0.07%    1.70%     0.04        3.33%
 11/19/2019      $7.35          0.00%   -0.04%    0.21%      0.11%      -0.11%    1.69%     -0.07       5.27%
 11/20/2019      $7.30         -0.68%   -0.43%   -0.23%      -1.28%      0.60%    1.69%     0.35       27.65%
 11/21/2019      $7.38          1.10%   -0.20%    0.50%      0.26%       0.84%    1.69%     0.50       38.15%
 11/22/2019      $7.36         -0.27%   0.16%     0.64%      1.11%      -1.38%    1.68%     -0.82      58.82%
 11/25/2019      $7.38          0.27%   0.74%    -0.25%      0.86%      -0.59%    1.68%     -0.35      27.30%
 11/26/2019      $7.29         -1.22%   0.18%    -0.44%      -0.44%     -0.78%    1.68%     -0.46      35.48%
 11/27/2019      $7.36          0.96%   0.34%    -0.15%      0.26%       0.70%    1.68%     0.42       32.20%
 11/29/2019      $7.21         -2.04%   -0.45%    0.07%      -0.84%     -1.20%    1.68%     -0.71      52.35%
  12/2/2019      $7.19         -0.28%   -0.69%    0.59%      -0.51%      0.24%    1.66%     0.14       11.26%
  12/3/2019      $7.06         -1.81%   -0.58%   -0.65%      -2.09%      0.28%    1.66%     0.17       13.43%
  12/4/2019      $7.17          1.56%   0.55%     0.53%      1.66%      -0.10%    1.66%     -0.06       4.75%
  12/5/2019      $7.18          0.14%   0.14%     0.21%      0.46%      -0.32%    1.65%     -0.20      15.53%
  12/6/2019      $7.22          0.56%   0.78%     0.36%      1.85%      -1.29%    1.64%     -0.78      56.57%
  12/9/2019      $7.21         -0.14%   -0.17%   -0.16%      -0.65%      0.51%    1.64%     0.31       24.49%
 12/10/2019      $7.19         -0.28%   -0.13%    0.12%      -0.17%     -0.10%    1.64%     -0.06      5.05%
 12/11/2019      $7.26          0.97%   0.23%    -0.21%      0.03%       0.94%    1.64%     0.58       43.49%
 12/12/2019      $7.57          4.27%   0.62%     1.84%      3.73%       0.54%    1.64%     0.33       25.87%
 12/13/2019      $7.48         -1.19%   0.45%    -0.75%      -0.40%     -0.79%    1.58%     -0.50      38.23%
 12/16/2019      $7.69          2.81%   0.76%    -0.14%      1.06%       1.75%    1.58%     1.10       72.92%
 12/17/2019      $7.81          1.56%   -0.04%    0.58%      0.68%       0.88%    1.58%     0.56       42.09%
 12/18/2019      $7.75         -0.77%   -0.14%    0.16%      -0.13%     -0.64%    1.58%     -0.41      31.44%
 12/19/2019      $7.89          1.81%   0.32%    -0.74%      -0.62%      2.43%    1.58%     1.53       87.39%
 12/20/2019      $7.77         -1.52%   0.39%    -0.71%      -0.42%     -1.10%    1.58%     -0.70      51.32%
 12/23/2019      $7.67         -1.29%   0.04%     0.10%      0.11%      -1.39%    1.58%     -0.88      62.25%
 12/24/2019      $7.62         -0.65%   0.05%    -0.05%      -0.10%     -0.55%    1.58%     -0.35      27.46%
 12/26/2019      $7.66          0.53%   0.36%     0.44%      1.18%      -0.66%    1.56%     -0.42      32.63%
 12/27/2019      $7.69          0.39%   0.20%    -0.31%      -0.21%      0.60%    1.56%     0.39       30.15%
 12/30/2019      $7.72          0.39%   -0.49%    0.39%      -0.50%      0.89%    1.52%     0.59       44.17%
 12/31/2019      $7.78          0.78%   0.22%     0.08%      0.44%       0.34%    1.52%     0.22       17.72%
   1/2/2020      $8.33          7.07%   0.74%     0.35%      1.83%       5.24%    1.52%     3.45       99.93%
   1/3/2020      $8.12         -2.52%   -0.54%   -0.99%      -2.65%      0.13%    1.56%     0.08        6.76%
   1/6/2020      $8.06         -0.74%   0.06%    -0.22%      -0.33%     -0.41%    1.56%     -0.26      20.77%
   1/7/2020      $8.25          2.36%   -0.09%   -0.72%      -1.37%      3.72%    1.55%     2.40       98.26%
   1/8/2020      $8.57          3.88%   0.19%     0.41%      0.89%       2.98%    1.57%     1.90       94.20%
   1/9/2020      $8.61          0.47%   0.55%    -0.44%      0.34%       0.13%    1.58%     0.08        6.53%
  1/10/2020      $8.52         -1.05%   -0.09%   -0.84%      -1.53%      0.48%    1.57%     0.31       24.01%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  1/13/2020      $8.48      -0.47%      0.45%     0.32%      1.31%      -1.78%    1.57%     -1.13       74.14%
  1/14/2020      $8.58       1.18%      0.01%     0.70%      0.98%       0.20%    1.57%     0.13        10.18%
  1/15/2020      $8.41      -1.98%      0.15%    -1.51%      -2.08%      0.10%    1.57%     0.06         4.86%
  1/16/2020      $8.54       1.55%      0.59%    -0.58%      0.23%       1.31%    1.57%     0.84        59.66%
  1/17/2020      $8.42      -1.40%      0.39%    -0.34%      0.18%      -1.58%    1.55%     -1.02       69.07%
  1/21/2020      $8.27      -1.78%      -0.26%   -1.07%      -2.18%      0.40%    1.53%     0.26        20.71%
  1/22/2020      $8.40       1.57%      0.04%     0.18%      0.22%       1.35%    1.53%     0.88        62.20%
  1/23/2020      $8.56       1.90%      -0.17%   -0.13%      -0.63%      2.54%    1.53%     1.66        90.13%
  1/24/2020      $8.57       0.12%      -0.45%   -1.07%      -2.56%      2.68%    1.53%     1.75        91.81%
  1/27/2020      $8.54      -0.35%      -1.64%    0.64%      -2.47%      2.12%    1.53%     1.38        83.20%
  1/28/2020      $8.67       1.52%      0.70%     0.16%      1.51%       0.02%    1.53%     0.01         0.84%
  1/29/2020      $8.77       1.15%      0.04%    -0.39%      -0.55%      1.71%    1.53%     1.11        73.35%
  1/30/2020      $9.30       6.04%      -0.06%    1.23%      1.54%       4.50%    1.54%     2.93        99.63%
  1/31/2020      $9.15      -1.61%      -1.25%   -0.64%      -3.45%      1.84%    1.54%     1.20        76.70%
   2/3/2020      $8.96      -2.08%      0.39%    -0.16%      0.51%      -2.59%    1.54%     -1.68       90.66%
   2/4/2020      $8.99       0.34%      1.35%    -0.33%      2.21%      -1.88%    1.54%     -1.22       77.52%
   2/5/2020      $9.11       1.33%      0.91%     0.88%      2.94%      -1.61%    1.54%     -1.04       70.18%
   2/6/2020     $10.37      13.83%      0.48%    -0.49%      0.22%      13.62%    1.55%     8.81       100.00%
   2/7/2020     $10.41       0.39%      -0.49%    0.70%      -0.09%      0.48%    1.77%     0.27        21.14%
  2/10/2020     $10.30      -1.06%      0.35%    -0.24%      0.39%      -1.44%    1.75%     -0.82       58.97%
  2/11/2020     $10.50       1.94%      0.34%     0.22%      0.96%       0.98%    1.75%     0.56        42.31%
  2/12/2020     $10.85       3.33%      0.57%    -0.31%      0.71%       2.62%    1.75%     1.50        86.50%
  2/13/2020     $11.02       1.57%      -0.21%   -0.02%      -0.42%      1.99%    1.75%     1.13        74.16%
  2/14/2020     $11.04       0.18%      0.06%    -0.38%      -0.35%      0.53%    1.76%     0.30        23.87%
  2/18/2020     $10.71      -2.99%      -0.41%   -1.11%      -2.19%     -0.80%    1.76%     -0.45       34.97%
  2/19/2020     $10.67      -0.37%      0.40%     0.44%      1.36%      -1.74%    1.75%     -0.99       67.73%
  2/20/2020     $10.67       0.00%      -0.45%    0.80%      0.15%      -0.15%    1.75%     -0.09        6.79%
  2/21/2020     $10.24      -4.03%      -0.72%   -0.04%      -1.44%     -2.59%    1.75%     -1.48       85.99%
  2/24/2020      $9.64      -5.86%      -3.00%    0.41%      -5.39%     -0.47%    1.76%     -0.27       21.10%
  2/25/2020      $9.33      -3.22%      -2.63%   -0.39%      -5.68%      2.46%    1.76%     1.40        83.68%
  2/26/2020      $9.45       1.29%      -0.48%    0.35%      -0.45%      1.74%    1.77%     0.98        67.38%
  2/27/2020      $8.98      -4.97%      -3.60%    0.41%      -6.36%      1.39%    1.77%     0.78        56.65%
  2/28/2020      $8.72      -2.89%      -1.66%   -0.25%      -3.38%      0.48%    1.77%     0.27        21.58%
   3/2/2020      $8.59      -1.49%      3.33%    -1.42%      4.41%      -5.90%    1.77%     -3.34       99.90%
   3/3/2020      $8.14      -5.24%      -1.49%   -2.15%      -5.35%      0.12%    1.80%     0.06         5.11%
   3/4/2020      $8.20       0.74%      2.92%    -1.74%      2.65%      -1.92%    1.79%     -1.07       71.38%
   3/5/2020      $7.75      -5.49%      -2.26%   -1.58%      -5.84%      0.35%    1.80%     0.20        15.47%
   3/6/2020      $7.59      -2.06%      -1.96%   -0.97%      -4.59%      2.52%    1.80%     1.40        83.78%
   3/9/2020      $6.62     -12.78%      -7.17%   -2.66%     -15.14%      2.36%    1.79%     1.32        81.13%
  3/10/2020      $6.96       5.14%      2.84%     2.88%      8.41%      -3.27%    1.79%     -1.82       93.07%



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Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  3/11/2020      $6.51      -6.47%      -3.89%    1.37%      -4.81%     -1.66%    1.80%     -0.92       64.19%
  3/12/2020      $5.53     -15.05%      -9.92%    5.14%      -9.95%     -5.11%    1.78%     -2.87       99.55%
  3/13/2020      $5.97       7.96%      5.92%     6.36%     16.67%      -8.71%    1.79%     -4.87      100.00%
  3/16/2020      $5.48      -8.21%      -9.51%   -0.97%     -15.95%      7.75%    1.85%     4.18       100.00%
  3/17/2020      $5.79       5.66%      4.12%    -0.64%      5.37%       0.29%    1.90%     0.15        12.13%
  3/18/2020      $5.56      -3.97%      -5.12%   -0.10%      -7.45%      3.48%    1.90%     1.83        93.23%
  3/19/2020      $5.86       5.40%      0.73%     1.50%      2.29%       3.11%    1.90%     1.64        89.76%
  3/20/2020      $5.76      -1.71%      -2.57%    0.63%      -3.05%      1.34%    1.90%     0.71       51.93%
  3/23/2020      $5.84       1.39%      -2.96%   -1.11%      -5.03%      6.42%    1.90%     3.37       99.91%
  3/24/2020      $6.58      12.67%      8.77%    -1.04%     11.27%       1.40%    1.94%     0.72        52.88%
  3/25/2020      $6.88       4.56%      2.49%    -0.71%      2.94%       1.62%    1.94%     0.84        59.56%
  3/26/2020      $6.99       1.60%      5.02%    -1.06%      6.18%      -4.59%    1.94%     -2.36       98.10%
  3/27/2020      $6.47      -7.44%      -2.58%   -1.82%      -4.89%     -2.55%    1.96%     -1.30       80.43%
  3/30/2020      $6.51       0.62%      2.37%    -2.42%      1.24%      -0.62%    1.95%     -0.32       25.03%
  3/31/2020      $6.42      -1.38%      -0.95%   -2.32%      -3.21%      1.83%    1.95%     0.94        65.18%
   4/1/2020      $5.96      -7.17%      -3.86%   -1.57%      -6.48%     -0.68%    1.95%     -0.35       27.42%
   4/2/2020      $6.02       1.01%      1.22%     0.48%      2.06%      -1.06%    1.94%     -0.54       41.35%
   4/3/2020      $5.90      -1.99%      -1.45%   -0.68%      -2.51%      0.52%    1.94%     0.27        21.06%
   4/6/2020      $6.38       8.14%      5.89%    -2.06%      6.33%       1.80%    1.95%     0.93        64.50%
   4/7/2020      $6.64       4.07%      0.72%     0.84%      1.67%       2.41%    1.95%     1.24        78.27%
   4/8/2020      $6.54      -1.51%      2.38%     0.53%      3.69%      -5.20%    1.95%     -2.67       99.19%
   4/9/2020      $6.69       2.29%      1.58%     4.38%      5.62%      -3.33%    1.97%     -1.69       90.69%
  4/13/2020      $6.52      -2.54%      -0.71%   -2.20%      -2.55%      0.01%    1.99%     0.00         0.33%
  4/14/2020      $6.85       5.06%      2.56%    -5.01%      -0.22%      5.29%    1.99%     2.66       99.16%
  4/15/2020      $6.23      -9.05%      -2.32%   -2.27%      -4.57%     -4.48%    2.01%     -2.23       97.33%
  4/16/2020      $6.22      -0.16%      0.21%    -3.56%      -2.12%      1.96%    2.03%     0.97       66.51%
  4/17/2020      $6.54       5.14%      2.71%     3.79%      6.10%      -0.96%    2.03%     -0.47       36.23%
  4/20/2020      $6.33      -3.21%      -1.16%   -1.07%      -2.29%     -0.92%    2.03%     -0.45       34.81%
  4/21/2020      $6.08      -3.95%      -3.10%    1.12%      -3.59%     -0.36%    2.03%     -0.18       14.10%
  4/22/2020      $6.09       0.16%      1.86%    -1.84%      1.38%      -1.21%    2.03%     -0.60       45.03%
  4/23/2020      $6.18       1.48%      0.31%     0.18%      0.51%       0.97%    2.03%     0.48        36.64%
  4/24/2020      $5.95      -3.72%      0.67%     0.11%      0.97%      -4.70%    2.02%     -2.32       97.89%
  4/27/2020      $6.69      12.44%      1.75%     2.38%      3.87%       8.57%    2.05%     4.19       100.00%
  4/28/2020      $6.85       2.39%      0.04%     1.73%      1.27%       1.12%    2.11%     0.53        40.34%
  4/29/2020      $7.67      11.97%      2.34%     0.62%      3.72%       8.25%    2.11%     3.91        99.99%
  4/30/2020      $7.41      -3.39%      -0.86%   -1.59%      -2.30%     -1.09%    2.11%     -0.52       39.43%
   5/1/2020      $7.15      -3.51%      -2.34%    0.24%      -3.09%     -0.42%    2.11%     -0.20       15.63%
   5/4/2020      $7.05      -1.40%      -0.35%   -0.68%      -0.96%     -0.44%    2.12%     -0.21       16.41%
   5/5/2020      $6.97      -1.14%      1.02%    -2.18%      -0.10%     -1.04%    2.12%     -0.49       37.65%
   5/6/2020      $6.80      -2.44%      -0.52%   -0.62%      -1.17%     -1.27%    2.11%     -0.60       45.09%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
   5/7/2020      $6.99          2.79%   0.92%     0.67%      1.76%       1.04%    2.11%     0.49       37.59%
   5/8/2020      $7.13          2.00%   1.77%    -0.22%      2.31%      -0.31%    2.11%     -0.15      11.57%
  5/11/2020     $6.93          -2.81%   -0.06%   -2.93%      -2.19%     -0.62%    2.12%     -0.29      23.00%
  5/12/2020     $6.91          -0.29%   -1.29%   -0.93%      -2.49%      2.20%    2.11%     1.04       70.11%
  5/13/2020     $6.60          -4.49%   -1.75%   -0.80%      -3.01%     -1.48%    2.12%     -0.70      51.43%
  5/14/2020      $6.66          0.91%   0.07%     2.68%      2.01%      -1.11%    2.12%     -0.52      39.78%
  5/15/2020     $6.44          -3.30%   0.43%    -1.79%      -0.68%     -2.63%    2.12%     -1.24      78.32%
  5/18/2020      $7.13         10.71%   3.02%     2.15%      5.73%       4.98%    2.13%     2.33       97.95%
  5/19/2020     $7.06          -0.98%   -0.37%   -1.79%      -1.85%      0.87%    2.15%     0.40       31.38%
  5/20/2020      $7.51          6.37%   1.49%     0.58%      2.56%       3.82%    2.15%     1.78       92.30%
  5/21/2020     $7.36          -2.00%   -0.86%    0.21%      -1.02%     -0.98%    2.16%     -0.45      34.91%
  5/22/2020     $7.32          -0.54%   -0.11%   -1.39%      -1.17%      0.63%    2.16%     0.29       22.84%
  5/26/2020      $8.21         12.16%   2.04%     3.98%      5.96%       6.20%    2.17%     2.86       99.54%
  5/27/2020      $8.68          5.72%   1.07%     4.59%      5.41%       0.31%    2.20%     0.14       11.36%
  5/28/2020     $8.51          -1.96%   0.53%    -3.46%      -1.99%      0.03%    2.19%     0.01        1.15%
  5/29/2020     $8.40          -1.29%   -0.02%   -2.52%      -2.03%      0.74%    2.19%     0.34       26.28%
   6/1/2020      $8.69          3.45%   0.75%     1.28%      2.23%       1.22%    2.20%     0.55       42.00%
   6/2/2020     $8.90           2.42%   1.07%    -0.37%      1.34%       1.08%    2.19%     0.49       37.54%
   6/3/2020      $9.22          3.60%   1.62%     2.67%      4.67%      -1.08%    2.19%     -0.49      37.64%
   6/4/2020      $9.49          2.93%   -0.18%    2.57%      1.96%       0.97%    2.19%     0.44       34.01%
   6/5/2020      $9.69          2.11%   2.18%     1.57%      4.56%      -2.45%    2.19%     -1.12      73.65%
   6/8/2020     $10.20          5.26%   0.94%     0.75%      2.11%       3.15%    2.19%     1.44       84.87%
   6/9/2020     $9.82          -3.72%   -0.56%   -1.58%      -1.95%     -1.77%    2.20%     -0.81      58.04%
  6/10/2020     $9.78          -0.41%   -0.35%   -3.68%      -3.39%      2.99%    2.19%     1.36       82.52%
  6/11/2020     $9.00          -7.98%   -4.98%   -1.51%      -8.34%      0.36%    2.20%     0.16       13.09%
  6/12/2020      $9.39          4.33%   0.47%     2.92%      3.12%       1.21%    2.20%     0.55       41.81%
  6/15/2020      $9.47          0.85%   0.32%     0.49%      1.02%      -0.16%    2.21%     -0.07       5.92%
  6/16/2020     $9.55           0.85%   2.19%    -1.62%      2.08%      -1.23%    2.20%     -0.56      42.28%
  6/17/2020     $9.34          -2.20%   -0.05%   -2.14%      -1.66%     -0.54%    2.20%     -0.24      19.31%
  6/18/2020     $9.24          -1.07%   -0.10%   -0.07%      -0.07%     -1.00%    2.20%     -0.45      34.95%
  6/19/2020     $9.22          -0.22%   -0.30%    0.11%      -0.23%      0.02%    2.20%     0.01        0.65%
  6/22/2020     $9.35           1.41%   0.40%    -1.64%      -0.62%      2.03%    2.21%     0.92       64.18%
  6/23/2020      $9.55          2.14%   0.82%     0.16%      1.45%       0.69%    2.20%     0.31       24.38%
  6/24/2020     $9.12          -4.50%   -2.50%    0.30%      -3.29%     -1.22%    2.20%     -0.55      41.96%
  6/25/2020      $9.57          4.93%   0.61%     2.61%      3.11%       1.82%    2.20%     0.83       59.02%
  6/26/2020     $9.00          -5.96%   -1.65%   -2.40%      -4.22%     -1.74%    2.21%     -0.79      56.77%
  6/29/2020     $9.46           5.11%   0.89%    -0.22%      1.26%       3.86%    2.21%     1.74       91.75%
  6/30/2020     $9.52           0.63%   1.16%    -0.73%      1.26%      -0.62%    2.22%     -0.28      22.10%
   7/1/2020      $9.32         -2.10%   0.43%    -1.87%      -0.74%     -1.36%    2.22%     -0.61      45.97%
   7/2/2020      $9.53          2.25%   0.74%     0.18%      1.36%       0.89%    2.22%     0.40       31.27%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
   7/6/2020      $9.95          4.41%   1.64%     0.32%      2.78%       1.62%    2.22%     0.73       53.54%
   7/7/2020      $9.82         -1.31%   -0.93%   -1.40%      -2.39%      1.08%    2.21%     0.49       37.41%
   7/8/2020     $10.00          1.83%   0.42%    -0.05%      0.70%       1.13%    2.21%     0.51       38.98%
   7/9/2020      $9.72         -2.80%   -0.53%   -1.36%      -1.73%     -1.07%    2.18%     -0.49      37.50%
  7/10/2020     $10.10          3.91%   0.84%     3.67%      4.39%      -0.48%    2.18%     -0.22      17.46%
  7/13/2020      $9.73         -3.66%   -0.26%    0.90%      0.51%      -4.17%    2.18%     -1.92      94.35%
  7/14/2020     $10.02          2.98%   0.75%    -1.05%      0.41%       2.57%    2.18%     1.18       76.16%
  7/15/2020     $10.19          1.70%   1.24%    -0.08%      1.91%      -0.22%    2.18%     -0.10       7.97%
  7/16/2020     $10.04         -1.47%   -0.43%   -0.20%      -0.65%     -0.82%    2.18%     -0.38      29.45%
  7/17/2020      $9.97         -0.70%   0.22%    -2.24%      -1.36%      0.66%    2.17%     0.30       23.90%
  7/20/2020     $10.18          2.11%   0.83%    -1.13%      0.45%       1.66%    2.18%     0.76       55.42%
  7/21/2020      $9.74         -4.32%   0.37%     1.95%      2.26%      -6.58%    2.17%     -3.03      99.73%
  7/22/2020      $9.83          0.92%   0.27%    -0.97%      -0.24%      1.16%    2.21%     0.53       40.02%
  7/23/2020      $9.62         -2.14%   -0.84%    1.44%      0.00%      -2.14%    2.21%     -0.97      66.51%
  7/24/2020      $9.61         -0.10%   -0.72%    0.45%      -0.59%      0.49%    2.21%     0.22       17.39%
  7/27/2020      $9.55         -0.62%   0.87%    -2.37%      -0.42%     -0.20%    2.22%     -0.09      7.34%
  7/28/2020      $9.45         -1.05%   -0.51%    1.14%      0.25%      -1.30%    2.21%     -0.59      44.12%
  7/29/2020      $9.22         -2.43%   0.86%     1.03%      2.17%      -4.60%    2.21%     -2.08      96.11%
  7/30/2020      $9.00         -2.39%   -0.68%   -1.56%      -2.08%     -0.31%    2.22%     -0.14      11.09%
  7/31/2020      $8.92         -0.89%   0.04%    -0.40%      -0.14%     -0.75%    2.22%     -0.34      26.49%
   8/3/2020      $9.22          3.36%   0.83%    -1.25%      0.36%       3.00%    2.21%     1.36       82.42%
   8/4/2020      $9.25          0.33%   0.55%    -0.45%      0.57%      -0.24%    2.22%     -0.11       8.64%
   8/5/2020      $9.34          0.97%   0.82%     0.13%      1.40%      -0.42%    2.21%     -0.19      15.16%
   8/6/2020      $9.22         -1.28%   0.17%    -0.33%      0.09%      -1.37%    2.21%     -0.62      46.54%
   8/7/2020      $9.22          0.00%   -0.17%    2.00%      1.34%      -1.34%    2.21%     -0.60      45.42%
  8/10/2020      $9.42          2.17%   0.21%     1.03%      1.17%       1.00%    2.22%     0.45       34.77%
  8/11/2020      $9.56          1.49%   -0.06%    2.51%      1.89%      -0.40%    2.21%     -0.18      14.32%
  8/12/2020      $9.71          1.57%   1.37%    -2.06%      0.61%       0.96%    2.21%     0.43       33.52%
  8/13/2020      $9.55         -1.65%   -0.07%   -1.02%      -0.71%     -0.94%    2.18%     -0.43      33.41%
  8/14/2020      $9.52         -0.31%   -0.25%    0.43%      0.07%      -0.39%    2.17%     -0.18      14.18%
  8/17/2020      $9.46         -0.63%   0.41%    -2.45%      -1.03%      0.40%    2.13%     0.19       15.01%
  8/18/2020      $9.40         -0.63%   0.23%    -1.69%      -0.76%      0.12%    2.12%     0.06        4.66%
  8/19/2020      $9.54          1.49%   -0.20%    0.57%      0.23%       1.26%    2.12%     0.59       44.70%
  8/20/2020      $9.34         -2.10%   -0.22%   -0.86%      -0.81%     -1.29%    2.12%     -0.61      45.64%
  8/21/2020      $9.18         -1.71%   0.12%    -0.53%      -0.08%     -1.63%    2.12%     -0.77      55.81%
  8/24/2020      $9.59          4.47%   1.04%     1.32%      2.57%       1.90%    2.13%     0.89       62.71%
  8/25/2020      $9.64          0.52%   0.24%     0.18%      0.61%      -0.08%    2.13%     -0.04       3.18%
  8/26/2020      $9.81          1.76%   0.95%    -2.37%      -0.21%      1.98%    2.12%     0.93       64.70%
  8/27/2020      $9.73         -0.82%   -0.13%    1.86%      1.26%      -2.07%    2.13%     -0.97      66.92%
  8/28/2020      $9.89          1.64%   0.58%     0.38%      1.22%       0.43%    2.13%     0.20       15.97%



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Exhibit 11B
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Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  8/31/2020      $9.53         -3.64%   -0.05%   -2.14%      -1.48%     -2.16%    2.14%     -1.01      68.63%
   9/1/2020      $9.52         -0.10%   0.48%    -1.13%      -0.01%     -0.09%    2.14%     -0.04      3.43%
   9/2/2020      $9.45         -0.74%   1.09%    -0.43%      1.37%      -2.10%    2.13%     -0.99      67.49%
   9/3/2020      $9.29         -1.69%   -2.74%    3.64%      -1.25%     -0.45%    2.13%     -0.21      16.52%
   9/4/2020      $9.73          4.74%   -1.08%    4.24%      1.59%       3.15%    2.13%     1.48       85.95%
   9/8/2020      $9.41         -3.29%   -1.88%   -0.56%      -2.99%     -0.30%    2.14%     -0.14      10.97%
   9/9/2020      $9.42          0.11%   1.67%    -1.52%      1.36%      -1.26%    2.14%     -0.59      44.31%
  9/10/2020      $9.35         -0.74%   -1.08%    0.55%      -1.06%      0.32%    2.14%     0.15       11.76%
  9/11/2020      $9.26         -0.96%   0.01%     0.77%      0.66%      -1.62%    2.14%     -0.76      54.94%
  9/14/2020      $9.34          0.86%   1.19%    -1.37%      0.76%       0.11%    2.15%     0.05        3.92%
  9/15/2020      $9.10         -2.57%   0.48%    -3.25%      -1.63%     -0.94%    2.15%     -0.44      33.94%
  9/16/2020      $9.29          2.09%   -0.19%    1.04%      0.56%       1.53%    2.14%     0.71       52.43%
  9/17/2020      $9.24         -0.54%   -0.83%    0.38%      -0.83%      0.29%    2.14%     0.14       10.84%
  9/18/2020      $9.09         -1.62%   -0.65%    0.04%      -0.82%     -0.80%    2.14%     -0.37      29.11%
  9/21/2020      $8.34         -8.25%   -1.63%   -1.08%      -3.03%     -5.22%    2.14%     -2.44      98.46%
  9/22/2020      $8.14         -2.40%   0.60%    -2.29%      -0.77%     -1.63%    2.14%     -0.76      55.17%
  9/23/2020      $8.05         -1.11%   -1.61%    0.37%      -1.94%      0.83%    2.14%     0.39       30.30%
  9/24/2020      $8.11          0.75%   -0.23%    0.60%      0.20%       0.55%    2.14%     0.26       20.11%
  9/25/2020      $8.00         -1.36%   1.15%    -1.74%      0.43%      -1.78%    2.14%     -0.83      59.42%
  9/28/2020      $8.43          5.37%   1.70%     1.41%      3.54%       1.83%    2.14%     0.86       60.79%
  9/29/2020      $8.27         -1.90%   -0.29%   -0.85%      -0.96%     -0.94%    2.14%     -0.44      33.99%
  9/30/2020      $8.40          1.57%   0.32%     0.81%      1.14%       0.43%    2.14%     0.20       15.94%
  10/1/2020      $8.36         -0.48%   0.54%    -0.50%      0.47%      -0.95%    2.14%     -0.44      34.12%
  10/2/2020      $8.50          1.67%   -0.74%    2.09%      0.58%       1.10%    2.14%     0.51       39.10%
  10/5/2020      $8.70          2.35%   1.74%    -0.60%      2.10%       0.25%    2.14%     0.12        9.38%
  10/6/2020      $9.01          3.56%   -0.87%    0.99%      -0.42%      3.99%    2.14%     1.86       93.63%
  10/7/2020      $9.23          2.44%   1.13%     0.26%      1.87%       0.57%    2.14%     0.27       21.01%
  10/8/2020      $9.36          1.41%   0.75%     0.28%      1.35%       0.06%    2.14%     0.03        2.35%
  10/9/2020      $9.28         -0.86%   0.84%    -1.43%      0.21%      -1.07%    2.14%     -0.50      38.20%
 10/12/2020      $9.34          0.65%   1.23%    -0.56%      1.41%      -0.76%    2.14%     -0.36      27.79%
 10/13/2020      $9.11         -2.46%   -0.55%   -1.74%      -2.00%     -0.47%    2.14%     -0.22      17.19%
 10/14/2020      $9.06         -0.55%   -0.43%   -1.27%      -1.48%      0.93%    2.14%     0.43       33.48%
 10/15/2020      $9.02         -0.44%   -0.72%    2.30%      0.76%      -1.21%    2.14%     -0.56      42.64%
 10/16/2020      $9.25          2.55%   0.17%     0.14%      0.43%       2.12%    2.14%     0.99       67.80%
 10/19/2020      $9.28          0.32%   -0.91%    0.53%      -0.82%      1.15%    2.14%     0.54       40.71%
 10/20/2020      $9.60          3.45%   0.20%     1.28%      1.31%       2.14%    2.14%     1.00       68.17%
 10/21/2020      $9.41         -1.98%   -0.20%   -0.40%      -0.51%     -1.47%    2.14%     -0.69      50.84%
 10/22/2020      $9.45          0.43%   0.13%     2.63%      2.21%      -1.79%    2.14%     -0.84      59.61%
 10/23/2020      $9.65          2.12%   0.39%     0.60%      1.09%       1.03%    2.14%     0.48       36.95%
 10/26/2020      $9.54         -1.14%   -1.66%    0.94%      -1.59%      0.45%    2.14%     0.21       16.63%



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Exhibit 11B
Deutsche Bank AG (US)
Actual vs. Predicted Returns


                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
 10/27/2020      $9.25         -3.04%   -0.35%   -1.51%     -1.55%      -1.49%    2.14%     -0.70      51.42%
 10/28/2020      $9.25          0.00%   -3.15%    2.01%     -2.90%       2.90%    2.14%     1.35       82.30%
 10/29/2020      $9.24         -0.11%   0.51%    -0.04%     0.77%       -0.88%    2.14%     -0.41      31.97%
 10/30/2020      $9.25          0.11%   -1.10%    2.47%      0.35%      -0.24%    2.14%     -0.11       8.85%
  11/2/2020      $9.64          4.22%   1.27%     0.16%     2.01%        2.21%    2.14%     1.03       69.68%
  11/3/2020      $9.96          3.32%   2.03%     0.91%      3.63%      -0.31%    2.14%     -0.15      11.62%
  11/4/2020      $9.92         -0.40%   2.00%    -6.16%     -1.66%       1.26%    2.14%     0.59       44.23%
  11/5/2020     $10.05          1.31%   2.07%     0.62%      3.48%      -2.16%    2.14%     -1.01      68.73%
  11/6/2020     $10.15          1.00%   0.14%    -0.87%     -0.37%       1.36%    2.14%     0.64       47.58%
  11/9/2020     $10.62          4.63%   1.30%    11.00%     10.08%      -5.45%    2.14%     -2.55      98.84%
 11/10/2020     $10.72          0.94%   0.20%     0.29%     0.58%        0.36%    2.14%     0.17       13.48%
 11/11/2020     $10.48         -2.24%   0.84%    -1.72%     0.00%       -2.24%    2.14%     -1.04      70.29%
 11/12/2020     $10.41         -0.67%   -0.75%   -0.83%     -1.60%       0.94%    2.14%     0.44       33.77%
 11/13/2020     $10.73          3.07%    0.80%    0.14%     1.32%        1.76%    2.14%     0.82       58.79%
 11/16/2020     $10.79          0.56%   1.27%     0.97%      2.60%      -2.04%    2.14%     -0.95      65.92%
 11/17/2020     $10.82          0.28%   -0.12%    0.00%     -0.09%       0.37%    2.14%     0.17       13.60%
 11/18/2020     $10.72         -0.92%   -0.59%    0.23%     -0.59%      -0.34%    2.14%     -0.16      12.45%
 11/19/2020     $10.75          0.28%   0.12%     0.56%      0.66%      -0.38%    2.14%     -0.18      14.08%
 11/20/2020     $10.69         -0.56%   -0.25%   -0.17%     -0.40%      -0.16%    2.14%     -0.08       5.97%
 11/23/2020     $11.04          3.27%   0.27%     2.04%     1.98%        1.30%    2.14%     0.61       45.48%
 11/24/2020     $11.46          3.80%   1.58%     2.97%      4.53%      -0.72%    2.14%     -0.34      26.39%
 11/25/2020     $11.37         -0.78%   0.10%    -0.56%     -0.20%      -0.58%    2.14%     -0.27      21.48%
 11/27/2020     $11.36         -0.09%   0.45%    -0.96%     0.01%       -0.10%    2.14%     -0.05       3.78%
 11/30/2020     $11.12         -2.11%   -0.70%   -1.84%     -2.28%       0.17%    2.14%     0.08        6.30%
  12/1/2020     $11.45          2.97%   1.00%     1.08%     2.30%        0.67%    2.14%     0.31       24.47%
  12/2/2020     $11.58          1.14%   0.19%     1.66%      1.58%      -0.44%    2.14%     -0.21      16.38%
  12/3/2020     $11.77          1.64%   0.28%    -0.46%     0.13%        1.51%    2.14%     0.70       51.76%
  12/4/2020     $11.77          0.00%   0.70%     0.41%      1.38%      -1.38%    2.14%     -0.64      47.92%
  12/7/2020     $11.58         -1.61%   -0.14%   -0.82%     -0.73%      -0.88%    2.14%     -0.41      31.88%
  12/8/2020     $11.44         -1.21%   0.23%    -0.66%     -0.08%      -1.13%    2.14%     -0.53      40.29%
  12/9/2020     $11.23         -1.84%   -0.55%    0.90%     -0.04%      -1.80%    2.14%     -0.84      59.88%
 12/10/2020     $11.00         -2.05%   0.04%    -0.11%     0.05%       -2.10%    2.14%     -0.98      67.24%
 12/11/2020     $10.62         -3.45%   -0.25%   -0.96%     -1.00%      -2.46%    2.14%     -1.15      74.82%
 12/14/2020     $10.61         -0.09%   -0.09%   -0.11%     -0.14%       0.04%    2.14%     0.02        1.52%
 12/15/2020     $10.85          2.26%   0.93%     0.46%     1.74%        0.52%    2.14%     0.24       19.33%
 12/16/2020     $10.95          0.92%   0.42%    -0.63%     0.21%        0.72%    2.14%     0.33       26.17%
 12/17/2020     $11.13          1.64%   0.76%    -1.14%     0.31%        1.34%    2.14%     0.62       46.69%




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Exhibit 11C
Deutsche Bank AG (US)
Companies Used in the Industry Index
Source: Bloomberg

 Number                         Company Name        Bloomberg Symbol
   1       Bank of America Corp                    BAC US Equity
   2       Barclays PLC                            BCS US Equity
   3       BNP Paribas SA                          BNPQY US Equity
   4       Citigroup Inc                           C US Equity
   5       Credit Suisse Group AG                  CS US Equity
   6       HSBC Holdings PLC                       HSBC US Equity
   7       JPMorgan Chase & Co                     JPM US Equity
   8       Societe Generale SA                     SCGLY US Equity
   9       UBS Group AG                            UBS US Equity




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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/14/2017     3/14/2016        3/13/2017      244    0.6061      0.6028       0.0183     1.857    -0.07%       2.358          13.55        1.583          13.68
  3/15/2017     3/15/2016        3/14/2017      244    0.6070      0.6037       0.0182     1.856    -0.07%       2.358          13.58        1.585          13.71
  3/16/2017     3/16/2016        3/15/2017      244    0.6060      0.6028       0.0182     1.846    -0.07%       2.351          13.52        1.585          13.71
  3/17/2017     3/17/2016        3/16/2017      244    0.6096      0.6063       0.0181     1.867    -0.06%       2.333          13.57        1.583          13.86
  3/20/2017     3/20/2016        3/19/2017      243    0.6115      0.6082       0.0181     1.875    -0.05%       2.419          13.92        1.588          13.56
  3/21/2017     3/21/2016        3/20/2017      244    0.6112      0.6079       0.0181     1.872    -0.06%       2.426          13.94        1.593          13.58
  3/22/2017     3/22/2016        3/21/2017      244    0.6143      0.6111       0.0182     1.851    -0.09%       2.455          14.02        1.612          13.69
  3/23/2017     3/23/2016        3/22/2017      244    0.6145      0.6113       0.0182     1.868    -0.08%       2.458          14.05        1.610          13.66
  3/24/2017     3/24/2016        3/23/2017      244    0.6131      0.6099       0.0182     1.871    -0.08%       2.446          13.98        1.609          13.66
  3/27/2017     3/27/2016        3/26/2017      244    0.6108      0.6076       0.0182     1.872    -0.08%       2.435          13.84        1.610          13.66
  3/28/2017     3/28/2016        3/27/2017      245    0.6108      0.6076       0.0182     1.872    -0.08%       2.432          13.86        1.610          13.70
  3/29/2017     3/29/2016        3/28/2017      246    0.6121      0.6090       0.0181     1.872    -0.07%       2.440          13.95        1.611          13.75
  3/30/2017     3/30/2016        3/29/2017      246    0.6103      0.6071       0.0182     1.851    -0.05%       2.452          13.98        1.607          13.61
  3/31/2017     3/31/2016        3/30/2017      246    0.6150      0.6118       0.0181     1.877    -0.04%       2.521          14.32        1.591          13.53
  4/3/2017      4/3/2016         4/2/2017       245    0.6147      0.6115       0.0181     1.884    -0.04%       2.533          14.30        1.589          13.47
  4/4/2017      4/4/2016         4/3/2017       246    0.6162      0.6130       0.0181     1.883    -0.05%       2.540          14.41        1.587          13.51
  4/5/2017      4/5/2016         4/4/2017       246    0.6155      0.6123       0.0181     1.880    -0.04%       2.543          14.41        1.587          13.47
  4/6/2017      4/6/2016         4/5/2017       246    0.6117      0.6085       0.0181     1.878    -0.04%       2.518          14.18        1.586          13.48
  4/7/2017      4/7/2016         4/6/2017       246    0.6112      0.6080       0.0181     1.876    -0.03%       2.513          14.15        1.589          13.49
  4/10/2017     4/10/2016        4/9/2017       245    0.6103      0.6071       0.0181     1.873    -0.03%       2.504          14.06        1.591          13.47
  4/11/2017     4/11/2016        4/10/2017      246    0.6101      0.6069       0.0180     1.872    -0.03%       2.504          14.09        1.590          13.48
  4/12/2017     4/12/2016        4/11/2017      246    0.6107      0.6075       0.0180     1.874    -0.03%       2.507          14.11        1.591          13.50
  4/13/2017     4/13/2016        4/12/2017      246    0.6117      0.6085       0.0180     1.870    -0.02%       2.511          14.14        1.592          13.52
  4/18/2017     4/18/2016        4/17/2017      244    0.5951      0.5917       0.0180     1.859    -0.05%       2.434          13.57        1.577          13.04
  4/19/2017     4/19/2016        4/18/2017      244    0.5957      0.5924       0.0180     1.851    -0.06%       2.436          13.60        1.575          13.04
  4/20/2017     4/20/2016        4/19/2017      244    0.5981      0.5948       0.0180     1.828    -0.04%       2.472          13.74        1.571          13.04
  4/21/2017     4/21/2016        4/20/2017      244    0.5974      0.5940       0.0179     1.839    -0.06%       2.466          13.78        1.556          12.95
  4/24/2017     4/24/2016        4/23/2017      243    0.5965      0.5932       0.0179     1.827    -0.07%       2.483          13.80        1.554          12.82
  4/25/2017     4/25/2016        4/24/2017      244    0.6051      0.6018       0.0181     1.805    -0.05%       2.560          14.25        1.573          12.90
  4/26/2017     4/26/2016        4/25/2017      244    0.5999      0.5966       0.0181     1.847    -0.04%       2.539          14.12        1.555          12.73
  4/27/2017     4/27/2016        4/26/2017      244    0.5960      0.5927       0.0182     1.866    -0.04%       2.538          14.04        1.546          12.58
  4/28/2017     4/28/2016        4/27/2017      243    0.5964      0.5931       0.0182     1.862    -0.05%       2.541          14.04        1.544          12.55
  5/2/2017      5/2/2016         5/1/2017       243    0.5912      0.5878       0.0182     1.868    -0.04%       2.519          13.78        1.543          12.54
  5/3/2017      5/3/2016         5/2/2017       243    0.5968      0.5935       0.0181     1.898    -0.03%       2.532          13.97        1.541          12.66
  5/4/2017      5/4/2016         5/3/2017       243    0.5891      0.5857       0.0180     1.891    -0.01%       2.489          13.68        1.532          12.53
  5/5/2017      5/5/2016         5/4/2017       243    0.5911      0.5877       0.0180     1.883    -0.01%       2.504          13.73        1.533          12.58
  5/8/2017      5/8/2016         5/7/2017       242    0.5927      0.5893       0.0180     1.870     0.00%       2.510          13.78        1.528          12.57
  5/9/2017      5/9/2016         5/8/2017       243    0.5924      0.5890       0.0180     1.870     0.00%       2.510          13.80        1.526          12.58
  5/10/2017     5/10/2016        5/9/2017       243    0.5921      0.5887       0.0180     1.871     0.00%       2.512          13.81        1.525          12.56
  5/11/2017     5/11/2016        5/10/2017      243    0.5909      0.5875       0.0180     1.867     0.00%       2.512          13.74        1.526          12.56
  5/12/2017     5/12/2016        5/11/2017      243    0.5923      0.5889       0.0179     1.859     0.01%       2.512          13.79        1.525          12.59
  5/15/2017     5/15/2016        5/14/2017      242    0.5936      0.5902       0.0179     1.860     0.00%       2.517          13.77        1.531          12.63
  5/16/2017     5/16/2016        5/15/2017      243    0.5943      0.5909       0.0179     1.860     0.00%       2.521          13.83        1.531          12.66


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/17/2017     5/17/2016        5/16/2017      244    0.5939      0.5905       0.0179     1.862     0.00%       2.520          13.84        1.532          12.68
  5/18/2017     5/18/2016        5/17/2017      244    0.5970      0.5937       0.0179     1.868     0.00%       2.539          14.02        1.519          12.67
  5/19/2017     5/19/2016        5/18/2017      244    0.5954      0.5921       0.0179     1.855    -0.01%       2.541          14.04        1.531          12.55
  5/22/2017     5/22/2016        5/21/2017      243    0.5976      0.5943       0.0179     1.852    -0.03%       2.638          14.36        1.508          12.26
  5/23/2017     5/23/2016        5/22/2017      244    0.5978      0.5944       0.0178     1.853    -0.03%       2.633          14.37        1.508          12.32
  5/24/2017     5/24/2016        5/23/2017      244    0.5987      0.5954       0.0178     1.853    -0.04%       2.637          14.40        1.509          12.34
  5/25/2017     5/25/2016        5/24/2017      244    0.5970      0.5937       0.0178     1.850    -0.04%       2.636          14.33        1.508          12.32
  5/26/2017     5/26/2016        5/25/2017      244    0.5947      0.5914       0.0178     1.850    -0.05%       2.620          14.18        1.509          12.35
  5/30/2017     5/30/2016        5/29/2017      243    0.5954      0.5920       0.0179     1.848    -0.06%       2.623          14.17        1.515          12.35
  5/31/2017     5/31/2016        5/30/2017      244    0.5958      0.5925       0.0178     1.846    -0.07%       2.625          14.19        1.518          12.40
  6/1/2017      6/1/2016         5/31/2017      244    0.5988      0.5955       0.0178     1.851    -0.08%       2.630          14.24        1.517          12.53
  6/2/2017      6/2/2016         6/1/2017       244    0.5978      0.5945       0.0178     1.853    -0.07%       2.620          14.19        1.515          12.52
  6/6/2017      6/6/2016         6/5/2017       243    0.5947      0.5913       0.0178     1.848    -0.06%       2.619          14.20        1.509          12.27
  6/7/2017      6/7/2016         6/6/2017       243    0.5968      0.5934       0.0178     1.837    -0.06%       2.630          14.27        1.513          12.31
  6/8/2017      6/8/2016         6/7/2017       243    0.5984      0.5951       0.0178     1.840    -0.05%       2.626          14.27        1.523          12.41
  6/9/2017      6/9/2016         6/8/2017       243    0.5974      0.5941       0.0178     1.832    -0.04%       2.627          14.26        1.510          12.36
  6/12/2017     6/12/2016        6/11/2017      242    0.5929      0.5895       0.0178     1.831    -0.03%       2.607          14.00        1.508          12.34
  6/13/2017     6/13/2016        6/12/2017      243    0.5931      0.5897       0.0178     1.826    -0.03%       2.611          14.07        1.504          12.33
  6/14/2017     6/14/2016        6/13/2017      243    0.5916      0.5882       0.0177     1.827    -0.03%       2.601          13.95        1.509          12.37
  6/15/2017     6/15/2016        6/14/2017      243    0.5908      0.5874       0.0177     1.826    -0.05%       2.606          13.83        1.505          12.46
  6/16/2017     6/16/2016        6/15/2017      243    0.5890      0.5856       0.0178     1.816    -0.04%       2.597          13.79        1.486          12.40
  6/19/2017     6/19/2016        6/18/2017      242    0.5833      0.5799       0.0178     1.821    -0.06%       2.575          13.53        1.480          12.31
  6/20/2017     6/20/2016        6/19/2017      243    0.5839      0.5804       0.0178     1.821    -0.06%       2.581          13.61        1.478          12.32
  6/21/2017     6/21/2016        6/20/2017      243    0.5784      0.5749       0.0177     1.837    -0.06%       2.579          13.26        1.488          12.39
  6/22/2017     6/22/2016        6/21/2017      243    0.5795      0.5760       0.0177     1.841    -0.06%       2.582          13.32        1.484          12.39
  6/23/2017     6/23/2016        6/22/2017      243    0.5791      0.5756       0.0177     1.844    -0.07%       2.577          13.28        1.485          12.40
  6/26/2017     6/26/2016        6/25/2017      242    0.5225      0.5185       0.0177     1.816    -0.05%       2.345          10.63        1.480          12.19
  6/27/2017     6/27/2016        6/26/2017      243    0.5225      0.5185       0.0177     1.817    -0.05%       2.346          10.65        1.480          12.21
  6/28/2017     6/28/2016        6/27/2017      243    0.5245      0.5205       0.0175     1.839    -0.04%       2.361          10.14        1.539          12.73
  6/29/2017     6/29/2016        6/28/2017      243    0.5251      0.5212       0.0175     1.797    -0.03%       2.391          10.18        1.534          12.72
  6/30/2017     6/30/2016        6/29/2017      243    0.5536      0.5498       0.0169     1.892    -0.02%       2.666          11.09        1.526          13.22
  7/3/2017      7/3/2016         7/2/2017       242    0.5622      0.5585       0.0168     1.892     0.00%       2.767          11.45        1.521          13.25
  7/5/2017      7/5/2016         7/4/2017       243    0.5656      0.5620       0.0167     1.897     0.01%       2.785          11.56        1.522          13.37
  7/6/2017      7/6/2016         7/5/2017       243    0.5655      0.5619       0.0167     1.854     0.02%       2.774          11.41        1.544          13.50
  7/7/2017      7/7/2016         7/6/2017       243    0.5656      0.5620       0.0166     1.890     0.05%       2.700          11.20        1.547          13.68
  7/10/2017     7/10/2016        7/9/2017       242    0.5692      0.5656       0.0165     1.912     0.06%       2.721          11.22        1.553          13.78
  7/11/2017     7/11/2016        7/10/2017      243    0.5692      0.5656       0.0164     1.914     0.05%       2.712          11.21        1.555          13.83
  7/12/2017     7/12/2016        7/11/2017      243    0.5672      0.5636       0.0165     1.902     0.06%       2.721          11.13        1.553          13.81
  7/13/2017     7/13/2016        7/12/2017      243    0.5601      0.5564       0.0164     1.914     0.03%       2.577          10.62        1.552          13.88
  7/14/2017     7/14/2016        7/13/2017      243    0.5590      0.5554       0.0164     1.915     0.04%       2.576          10.62        1.552          13.84
  7/17/2017     7/17/2016        7/16/2017      242    0.5583      0.5546       0.0164     1.906     0.02%       2.536          10.42        1.565          13.91
  7/18/2017     7/18/2016        7/17/2017      243    0.5583      0.5546       0.0163     1.906     0.02%       2.534          10.44        1.565          13.94
  7/19/2017     7/19/2016        7/18/2017      243    0.5613      0.5576       0.0163     1.915     0.01%       2.540          10.47        1.575          14.05


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/20/2017     7/20/2016        7/19/2017      243    0.5611      0.5575       0.0163     1.915     0.02%       2.515          10.39        1.577          14.10
  7/21/2017     7/21/2016        7/20/2017      243    0.5609      0.5573       0.0163     1.913     0.01%       2.504          10.33        1.578          14.14
  7/24/2017     7/24/2016        7/23/2017      242    0.5634      0.5598       0.0163     1.921     0.00%       2.509          10.37        1.580          14.18
  7/25/2017     7/25/2016        7/24/2017      243    0.5630      0.5594       0.0163     1.919     0.01%       2.496          10.31        1.586          14.24
  7/26/2017     7/26/2016        7/25/2017      243    0.5636      0.5599       0.0163     1.908     0.01%       2.510          10.37        1.575          14.22
  7/27/2017     7/27/2016        7/26/2017      243    0.5653      0.5617       0.0162     1.934     0.03%       2.513          10.42        1.573          14.27
  7/28/2017     7/28/2016        7/27/2017      243    0.5653      0.5617       0.0162     1.934     0.03%       2.513          10.42        1.573          14.27
  7/31/2017     7/31/2016        7/30/2017      242    0.5673      0.5637       0.0161     1.960     0.05%       2.541          10.51        1.561          14.24
  8/1/2017      8/1/2016         7/31/2017      243    0.5635      0.5599       0.0162     1.955     0.04%       2.536          10.45        1.559          14.17
  8/2/2017      8/2/2016         8/1/2017       243    0.5627      0.5590       0.0162     1.961     0.05%       2.534          10.44        1.557          14.14
  8/3/2017      8/3/2016         8/2/2017       243    0.5556      0.5519       0.0162     1.950     0.06%       2.479          10.10        1.553          14.07
  8/4/2017      8/4/2016         8/3/2017       243    0.5632      0.5595       0.0160     1.967     0.06%       2.480          10.19        1.588          14.34
  8/7/2017      8/7/2016         8/6/2017       242    0.5620      0.5583       0.0160     1.961     0.06%       2.443          10.01        1.600          14.37
  8/8/2017      8/8/2016         8/7/2017       243    0.5623      0.5586       0.0160     1.961     0.06%       2.440          10.01        1.602          14.42
  8/9/2017      8/9/2016         8/8/2017       243    0.5616      0.5580       0.0160     1.965     0.05%       2.429          9.98         1.597          14.42
  8/10/2017     8/10/2016        8/9/2017       243    0.5660      0.5624       0.0160     1.947     0.04%       2.461          10.15        1.600          14.49
  8/11/2017     8/11/2016        8/10/2017      243    0.5795      0.5760       0.0157     1.966     0.01%       2.507          10.54        1.613          14.82
  8/14/2017     8/14/2016        8/13/2017      242    0.5805      0.5770       0.0158     1.963     0.02%       2.521          10.59        1.611          14.78
  8/15/2017     8/15/2016        8/14/2017      243    0.5826      0.5791       0.0157     1.962     0.02%       2.540          10.74        1.612          14.82
  8/16/2017     8/16/2016        8/15/2017      243    0.5832      0.5797       0.0157     1.966     0.02%       2.544          10.76        1.612          14.83
  8/17/2017     8/17/2016        8/16/2017      243    0.5832      0.5797       0.0157     1.961     0.02%       2.542          10.74        1.613          14.85
  8/18/2017     8/18/2016        8/17/2017      243    0.5878      0.5844       0.0156     1.978     0.02%       2.542          10.78        1.624          15.04
  8/21/2017     8/21/2016        8/20/2017      242    0.5867      0.5833       0.0156     1.980     0.04%       2.505          10.64        1.624          15.04
  8/22/2017     8/22/2016        8/21/2017      243    0.5885      0.5851       0.0156     1.983     0.03%       2.511          10.69        1.626          15.13
  8/23/2017     8/23/2016        8/22/2017      243    0.5867      0.5833       0.0156     1.975     0.02%       2.489          10.61        1.626          15.10
  8/24/2017     8/24/2016        8/23/2017      243    0.5845      0.5810       0.0156     1.983     0.02%       2.464          10.48        1.624          15.09
  8/25/2017     8/25/2016        8/24/2017      243    0.5855      0.5820       0.0156     1.978     0.01%       2.484          10.59        1.617          15.06
  8/28/2017     8/28/2016        8/27/2017      242    0.5851      0.5817       0.0156     1.979     0.00%       2.474          10.53        1.620          15.04
  8/29/2017     8/29/2016        8/28/2017      243    0.5851      0.5817       0.0156     1.980     0.00%       2.475          10.55        1.619          15.07
  8/30/2017     8/30/2016        8/29/2017      243    0.5875      0.5841       0.0156     1.959    -0.01%       2.484          10.59        1.628          15.16
  8/31/2017     8/31/2016        8/30/2017      243    0.5885      0.5851       0.0155     1.980    -0.02%       2.503          10.73        1.616          15.10
  9/1/2017      9/1/2016         8/31/2017      243    0.5896      0.5862       0.0154     1.975    -0.04%       2.513          10.83        1.607          15.08
  9/5/2017      9/5/2016         9/4/2017       242    0.5887      0.5852       0.0154     1.977    -0.04%       2.514          10.74        1.606          15.05
  9/6/2017      9/6/2016         9/5/2017       243    0.5888      0.5854       0.0154     1.974    -0.04%       2.528          10.84        1.594          15.04
  9/7/2017      9/7/2016         9/6/2017       243    0.5856      0.5821       0.0155     1.964    -0.02%       2.566          10.97        1.582          14.79
  9/8/2017      9/8/2016         9/7/2017       243    0.5853      0.5818       0.0155     1.957    -0.03%       2.553          10.91        1.572          14.82
  9/11/2017     9/11/2016        9/10/2017      242    0.5959      0.5925       0.0152     1.944    -0.08%       2.794          11.90        1.527          14.52
  9/12/2017     9/12/2016        9/11/2017      243    0.5975      0.5942       0.0152     1.947    -0.08%       2.809          12.03        1.528          14.55
  9/13/2017     9/13/2016        9/12/2017      243    0.5986      0.5952       0.0152     1.944    -0.07%       2.825          11.99        1.532          14.63
  9/14/2017     9/14/2016        9/13/2017      243    0.5977      0.5943       0.0152     1.936    -0.07%       2.829          11.92        1.532          14.64
  9/15/2017     9/15/2016        9/14/2017      243    0.5997      0.5964       0.0151     1.935    -0.06%       2.833          11.97        1.536          14.71
  9/18/2017     9/18/2016        9/17/2017      242    0.6013      0.5979       0.0147     1.955    -0.04%       2.737          11.82        1.514          14.86
  9/19/2017     9/19/2016        9/18/2017      243    0.5991      0.5957       0.0148     1.941    -0.04%       2.735          11.81        1.507          14.80


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/20/2017     9/20/2016        9/19/2017      243    0.6103      0.6071       0.0145     2.003    -0.03%       2.811          12.27        1.503          15.02
   9/21/2017     9/21/2016        9/20/2017      243    0.6093      0.6060       0.0145     2.012    -0.02%       2.790          12.21        1.497          15.00
   9/22/2017     9/22/2016        9/21/2017      243    0.6109      0.6077       0.0145     2.014     0.00%       2.777          12.14        1.508          15.15
   9/25/2017     9/25/2016        9/24/2017      242    0.6122      0.6090       0.0144     2.009     0.00%       2.796          11.96        1.529          15.31
   9/26/2017     9/26/2016        9/25/2017      243    0.6133      0.6100       0.0144     2.009     0.00%       2.804          12.03        1.530          15.36
   9/27/2017     9/27/2016        9/26/2017      243    0.6075      0.6042       0.0141     2.021     0.03%       2.669          11.49        1.518          15.47
   9/28/2017     9/28/2016        9/27/2017      243    0.6097      0.6064       0.0141     2.015     0.04%       2.669          11.50        1.520          15.58
   9/29/2017     9/29/2016        9/28/2017      243    0.6120      0.6088       0.0141     2.005     0.04%       2.687          11.60        1.521          15.62
   10/2/2017     10/2/2016        10/1/2017      242    0.6316      0.6285       0.0136     1.967     0.01%       2.736          12.24        1.511          16.12
   10/4/2017     10/4/2016        10/3/2017      243    0.6300      0.6269       0.0136     1.975     0.01%       2.729          12.20        1.511          16.12
   10/5/2017     10/5/2016        10/4/2017      243    0.6260      0.6228       0.0136     1.952    -0.01%       2.722          12.12        1.511          15.96
   10/6/2017     10/6/2016        10/5/2017      243    0.6218      0.6187       0.0137     1.974    -0.01%       2.736          12.12        1.505          15.74
   10/9/2017     10/9/2016        10/8/2017      242    0.6219      0.6187       0.0137     1.982    -0.02%       2.766          12.16        1.504          15.66
  10/10/2017    10/10/2016        10/9/2017      243    0.6212      0.6180       0.0138     1.976    -0.04%       2.760          12.12        1.509          15.71
  10/11/2017    10/11/2016       10/10/2017      243    0.6200      0.6168       0.0137     1.987    -0.04%       2.730          11.95        1.511          15.77
  10/12/2017    10/12/2016       10/11/2017      243    0.6197      0.6165       0.0137     1.992    -0.05%       2.775          11.94        1.509          15.76
  10/13/2017    10/13/2016       10/12/2017      243    0.6208      0.6176       0.0137     1.995    -0.07%       2.798          12.01        1.501          15.77
  10/16/2017    10/16/2016       10/15/2017      242    0.6171      0.6139       0.0137     1.997    -0.07%       2.760          11.71        1.511          15.75
  10/17/2017    10/17/2016       10/16/2017      243    0.6171      0.6140       0.0137     1.997    -0.06%       2.759          11.73        1.509          15.79
  10/18/2017    10/18/2016       10/17/2017      243    0.6172      0.6140       0.0137     1.996    -0.06%       2.761          11.72        1.511          15.80
  10/19/2017    10/19/2016       10/18/2017      243    0.6167      0.6135       0.0137     2.002    -0.06%       2.764          11.66        1.511          15.82
  10/20/2017    10/20/2016       10/19/2017      243    0.6173      0.6141       0.0137     1.971    -0.07%       2.767          11.67        1.513          15.84
  10/23/2017    10/23/2016       10/22/2017      242    0.6234      0.6203       0.0136     2.001    -0.09%       2.829          12.03        1.491          15.84
  10/24/2017    10/24/2016       10/23/2017      243    0.6229      0.6198       0.0135     1.996    -0.10%       2.830          12.05        1.491          15.85
  10/25/2017    10/25/2016       10/24/2017      243    0.6219      0.6188       0.0136     1.998    -0.08%       2.808          11.89        1.499          15.92
  10/26/2017    10/26/2016       10/25/2017      243    0.6223      0.6192       0.0136     2.000    -0.07%       2.789          11.88        1.499          15.95
  10/27/2017    10/27/2016       10/26/2017      242    0.6227      0.6195       0.0136     2.003    -0.08%       2.799          11.90        1.497          15.90
  10/30/2017    10/30/2016       10/29/2017      242    0.6227      0.6195       0.0136     2.002    -0.09%       2.783          11.82        1.503          15.96
   11/1/2017     11/1/2016       10/31/2017      242    0.6226      0.6194       0.0136     1.993    -0.09%       2.778          11.78        1.505          15.98
   11/2/2017     11/2/2016        11/1/2017      242    0.6177      0.6145       0.0136     2.000    -0.08%       2.742          11.58        1.491          15.88
   11/3/2017     11/3/2016        11/2/2017      242    0.6136      0.6103       0.0137     1.975    -0.05%       2.703          11.29        1.499          15.88
   11/6/2017     11/6/2016        11/5/2017      241    0.6138      0.6106       0.0137     1.983    -0.07%       2.718          11.27        1.498          15.85
   11/7/2017     11/7/2016        11/6/2017      242    0.6132      0.6099       0.0137     1.980    -0.07%       2.716          11.28        1.494          15.86
   11/8/2017     11/8/2016        11/7/2017      242    0.6045      0.6012       0.0137     1.969    -0.07%       2.641          10.81        1.487          15.76
   11/9/2017     11/9/2016        11/8/2017      242    0.5926      0.5892       0.0139     1.918    -0.06%       2.651          10.67        1.456          15.29
  11/10/2017    11/10/2016        11/9/2017      242    0.5866      0.5832       0.0140     1.911    -0.06%       2.612          10.50        1.470          15.13
  11/13/2017    11/13/2016       11/12/2017      241    0.5809      0.5773       0.0138     1.865    -0.09%       2.614          10.58        1.446          14.76
  11/14/2017    11/14/2016       11/13/2017      242    0.5802      0.5767       0.0138     1.866    -0.09%       2.615          10.61        1.443          14.76
  11/15/2017    11/15/2016       11/14/2017      242    0.5756      0.5721       0.0138     1.863    -0.10%       2.634          10.69        1.473          14.49
  11/16/2017    11/16/2016       11/15/2017      242    0.5767      0.5731       0.0138     1.863    -0.08%       2.596          10.56        1.482          14.63
  11/17/2017    11/17/2016       11/16/2017      242    0.5733      0.5698       0.0139     1.837    -0.07%       2.615          10.61        1.474          14.45
  11/20/2017    11/20/2016       11/19/2017      241    0.5777      0.5742       0.0139     1.843    -0.07%       2.638          10.68        1.482          14.55
  11/21/2017    11/21/2016       11/20/2017      242    0.5777      0.5742       0.0138     1.843    -0.07%       2.636          10.69        1.482          14.58


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  11/22/2017    11/22/2016       11/21/2017      242    0.5763      0.5728       0.0139     1.840    -0.07%       2.606          10.57        1.487          14.61
  11/24/2017    11/24/2016       11/23/2017      241    0.5767      0.5731       0.0139     1.840    -0.07%       2.612          10.56        1.491          14.58
  11/27/2017    11/27/2016       11/26/2017      241    0.5777      0.5742       0.0139     1.849    -0.07%       2.631          10.63        1.488          14.58
  11/28/2017    11/28/2016       11/27/2017      242    0.5779      0.5744       0.0139     1.845    -0.08%       2.645          10.70        1.489          14.58
  11/29/2017    11/29/2016       11/28/2017      242    0.5738      0.5703       0.0139     1.836    -0.07%       2.621          10.59        1.484          14.48
  11/30/2017    11/30/2016       11/29/2017      242    0.5673      0.5637       0.0140     1.799    -0.07%       2.631          10.53        1.431          14.23
   12/1/2017     12/1/2016       11/30/2017      242    0.5644      0.5608       0.0141     1.788    -0.09%       2.619          10.45        1.437          14.16
   12/4/2017     12/4/2016        12/3/2017      241    0.5613      0.5576       0.0141     1.804    -0.09%       2.620          10.46        1.450          13.96
   12/5/2017     12/5/2016        12/4/2017      242    0.5617      0.5580       0.0141     1.810    -0.08%       2.632          10.57        1.441          13.95
   12/6/2017     12/6/2016        12/5/2017      242    0.5586      0.5549       0.0141     1.763    -0.09%       2.613          10.49        1.438          13.87
   12/7/2017     12/7/2016        12/6/2017      242    0.5577      0.5540       0.0137     1.847    -0.12%       2.565          10.65        1.392          13.71
   12/8/2017     12/8/2016        12/7/2017      242    0.5506      0.5468       0.0137     1.847    -0.12%       2.499          10.38        1.374          13.61
  12/11/2017    12/11/2016       12/10/2017      241    0.5489      0.5451       0.0137     1.822    -0.10%       2.544          10.45        1.364          13.43
  12/12/2017    12/12/2016       12/11/2017      242    0.5452      0.5414       0.0137     1.844    -0.11%       2.527          10.37        1.362          13.38
  12/13/2017    12/13/2016       12/12/2017      242    0.5458      0.5420       0.0137     1.852    -0.10%       2.531          10.40        1.364          13.38
  12/14/2017    12/14/2016       12/13/2017      242    0.5476      0.5438       0.0137     1.838    -0.10%       2.542          10.40        1.379          13.46
  12/15/2017    12/15/2016       12/14/2017      242    0.5497      0.5459       0.0136     1.791    -0.10%       2.539          10.41        1.382          13.54
  12/18/2017    12/18/2016       12/17/2017      241    0.5536      0.5498       0.0134     1.799    -0.15%       2.730          11.26        1.337          12.97
  12/19/2017    12/19/2016       12/18/2017      242    0.5567      0.5530       0.0134     1.792    -0.14%       2.755          11.52        1.334          12.94
  12/20/2017    12/20/2016       12/19/2017      242    0.5548      0.5511       0.0133     1.774    -0.13%       2.765          11.66        1.310          12.72
  12/21/2017    12/21/2016       12/20/2017      242    0.5545      0.5508       0.0133     1.770    -0.14%       2.769          11.74        1.297          12.64
  12/22/2017    12/22/2016       12/21/2017      242    0.5512      0.5474       0.0133     1.758    -0.15%       2.756          11.65        1.294          12.56
  12/27/2017    12/27/2016       12/26/2017      241    0.5522      0.5484       0.0133     1.745    -0.15%       2.755          11.63        1.298          12.58
  12/28/2017    12/28/2016       12/27/2017      241    0.5546      0.5509       0.0133     1.743    -0.15%       2.753          11.66        1.302          12.67
   1/2/2018      1/2/2017         1/1/2018       240    0.5514      0.5477       0.0133     1.740    -0.15%       2.748          11.56        1.303          12.56
   1/3/2018      1/3/2017         1/2/2018       241    0.5514      0.5477       0.0133     1.744    -0.15%       2.744          11.58        1.302          12.59
   1/4/2018      1/4/2017         1/3/2018       241    0.5443      0.5404       0.0133     1.742    -0.17%       2.714          11.48        1.298          12.35
   1/5/2018      1/5/2017         1/4/2018       241    0.5436      0.5398       0.0133     1.752    -0.17%       2.712          11.42        1.300          12.37
   1/8/2018      1/8/2017         1/7/2018       240    0.5312      0.5273       0.0137     1.733    -0.19%       2.649          10.85        1.340          12.28
   1/9/2018      1/9/2017         1/8/2018       241    0.5308      0.5269       0.0137     1.764    -0.19%       2.646          10.85        1.341          12.31
   1/10/2018     1/10/2017        1/9/2018       241    0.5244      0.5204       0.0138     1.733    -0.20%       2.623          10.69        1.337          12.17
   1/11/2018     1/11/2017        1/10/2018      241    0.5307      0.5268       0.0137     1.709    -0.17%       2.600          10.66        1.351          12.47
   1/12/2018     1/12/2017        1/11/2018      241    0.5390      0.5351       0.0136     1.664    -0.20%       2.637          10.90        1.352          12.62
   1/16/2018     1/16/2017        1/15/2018      240    0.5341      0.5301       0.0135     1.640    -0.19%       2.566          10.70        1.336          12.54
   1/17/2018     1/17/2017        1/16/2018      241    0.5300      0.5260       0.0135     1.626    -0.20%       2.530          10.58        1.336          12.51
   1/18/2018     1/18/2017        1/17/2018      241    0.5229      0.5189       0.0135     1.633    -0.19%       2.500          10.44        1.335          12.32
   1/19/2018     1/19/2017        1/18/2018      241    0.5258      0.5218       0.0134     1.645    -0.19%       2.505          10.49        1.339          12.40
   1/22/2018     1/22/2017        1/21/2018      240    0.5272      0.5232       0.0134     1.654    -0.20%       2.515          10.54        1.336          12.38
   1/23/2018     1/23/2017        1/22/2018      241    0.5257      0.5217       0.0135     1.639    -0.19%       2.538          10.61        1.333          12.30
   1/24/2018     1/24/2017        1/23/2018      241    0.5250      0.5210       0.0135     1.658    -0.20%       2.517          10.56        1.335          12.31
   1/25/2018     1/25/2017        1/24/2018      241    0.5217      0.5177       0.0135     1.643    -0.20%       2.498          10.47        1.330          12.24
   1/26/2018     1/26/2017        1/25/2018      241    0.5152      0.5111       0.0133     1.650    -0.21%       2.396          10.03        1.324          12.34
   1/29/2018     1/29/2017        1/28/2018      240    0.5146      0.5106       0.0134     1.652    -0.21%       2.388          9.97         1.326          12.32


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  1/30/2018     1/30/2017        1/29/2018      241    0.5131      0.5090       0.0134     1.645    -0.21%       2.392          10.00        1.320          12.28
  1/31/2018     1/31/2017        1/30/2018      241    0.5144      0.5103       0.0134     1.629    -0.22%       2.432          10.16        1.319          12.20
  2/1/2018      2/1/2017         1/31/2018      241    0.5137      0.5096       0.0134     1.629    -0.22%       2.425          10.13        1.321          12.20
  2/2/2018      2/2/2017         2/1/2018       241    0.5121      0.5080       0.0133     1.646    -0.23%       2.405          10.14        1.305          12.13
  2/5/2018      2/5/2017         2/4/2018       240    0.5049      0.5007       0.0133     1.638    -0.24%       2.368          9.93         1.298          11.96
  2/6/2018      2/6/2017         2/5/2018       241    0.4999      0.4957       0.0134     1.634    -0.22%       2.239          9.78         1.301          11.93
  2/7/2018      2/7/2017         2/6/2018       241    0.4946      0.4904       0.0135     1.612    -0.17%       1.813          9.42         1.320          12.01
  2/8/2018      2/8/2017         2/7/2018       241    0.4671      0.4626       0.0139     1.645    -0.17%       1.632          8.66         1.307          11.56
  2/9/2018      2/9/2017         2/8/2018       241    0.4679      0.4634       0.0139     1.680    -0.15%       1.611          8.81         1.307          11.47
  2/12/2018     2/12/2017        2/11/2018      240    0.4727      0.4683       0.0139     1.686    -0.14%       1.575          8.95         1.318          11.51
  2/13/2018     2/13/2017        2/12/2018      241    0.4783      0.4739       0.0139     1.683    -0.14%       1.611          9.35         1.312          11.44
  2/14/2018     2/14/2017        2/13/2018      241    0.4728      0.4683       0.0140     1.701    -0.15%       1.603          9.24         1.306          11.31
  2/15/2018     2/15/2017        2/14/2018      241    0.4699      0.4654       0.0140     1.694    -0.16%       1.599          9.28         1.300          11.17
  2/16/2018     2/16/2017        2/15/2018      241    0.4636      0.4591       0.0140     1.679    -0.17%       1.553          9.03         1.301          11.14
  2/20/2018     2/20/2017        2/19/2018      240    0.4624      0.4578       0.0140     1.662    -0.16%       1.530          8.98         1.294          11.10
  2/21/2018     2/21/2017        2/20/2018      241    0.4449      0.4402       0.0143     1.628    -0.14%       1.494          8.60         1.287          10.80
  2/22/2018     2/22/2017        2/21/2018      241    0.4515      0.4469       0.0142     1.676    -0.14%       1.483          8.59         1.308          11.05
  2/23/2018     2/23/2017        2/22/2018      241    0.4520      0.4474       0.0142     1.678    -0.14%       1.485          8.61         1.308          11.05
  2/26/2018     2/26/2017        2/25/2018      240    0.4500      0.4454       0.0142     1.670    -0.14%       1.476          8.53         1.309          11.01
  2/27/2018     2/27/2017        2/26/2018      241    0.4499      0.4453       0.0142     1.669    -0.14%       1.456          8.50         1.311          11.07
  2/28/2018     2/28/2017        2/27/2018      241    0.4515      0.4469       0.0142     1.676    -0.14%       1.452          8.49         1.312          11.13
  3/1/2018      3/1/2017         2/28/2018      241    0.4533      0.4487       0.0142     1.679    -0.15%       1.460          8.59         1.309          11.11
  3/2/2018      3/2/2017         3/1/2018       241    0.4395      0.4348       0.0142     1.680    -0.16%       1.414          8.40         1.290          10.77
  3/5/2018      3/5/2017         3/4/2018       240    0.4483      0.4436       0.0141     1.647    -0.16%       1.428          8.62         1.299          10.88
  3/6/2018      3/6/2017         3/5/2018       241    0.4510      0.4464       0.0141     1.646    -0.16%       1.438          8.77         1.299          10.89
  3/7/2018      3/7/2017         3/6/2018       241    0.4572      0.4527       0.0135     1.739    -0.13%       1.413          8.99         1.254          10.94
  3/8/2018      3/8/2017         3/7/2018       241    0.4527      0.4481       0.0136     1.716    -0.11%       1.409          8.91         1.250          10.84
  3/9/2018      3/9/2017         3/8/2018       241    0.4519      0.4473       0.0136     1.741    -0.13%       1.411          8.94         1.244          10.79
  3/12/2018     3/12/2017        3/11/2018      240    0.4476      0.4430       0.0136     1.740    -0.14%       1.384          8.79         1.238          10.71
  3/13/2018     3/13/2017        3/12/2018      241    0.4477      0.4430       0.0136     1.755    -0.15%       1.380          8.80         1.238          10.74
  3/14/2018     3/14/2017        3/13/2018      241    0.4486      0.4439       0.0136     1.754    -0.15%       1.384          8.82         1.241          10.76
  3/15/2018     3/15/2017        3/14/2018      241    0.4470      0.4424       0.0136     1.759    -0.15%       1.381          8.81         1.235          10.72
  3/16/2018     3/16/2017        3/15/2018      241    0.4465      0.4419       0.0136     1.759    -0.15%       1.377          8.77         1.237          10.73
  3/19/2018     3/19/2017        3/18/2018      240    0.4452      0.4405       0.0136     1.745    -0.14%       1.394          8.83         1.230          10.59
  3/20/2018     3/20/2017        3/19/2018      241    0.4480      0.4434       0.0136     1.744    -0.14%       1.399          8.99         1.228          10.60
  3/21/2018     3/21/2017        3/20/2018      241    0.4484      0.4437       0.0135     1.770    -0.12%       1.389          9.00         1.219          10.60
  3/22/2018     3/22/2017        3/21/2018      241    0.4264      0.4215       0.0136     1.770    -0.11%       1.327          8.53         1.189          10.20
  3/23/2018     3/23/2017        3/22/2018      241    0.4307      0.4259       0.0136     1.822    -0.11%       1.341          8.69         1.188          10.22
  3/26/2018     3/26/2017        3/25/2018      240    0.4364      0.4317       0.0136     1.825    -0.11%       1.354          8.91         1.187          10.20
  3/27/2018     3/27/2017        3/26/2018      241    0.4354      0.4306       0.0136     1.824    -0.11%       1.357          8.95         1.181          10.17
  3/28/2018     3/28/2017        3/27/2018      241    0.4363      0.4316       0.0136     1.824    -0.12%       1.341          8.97         1.182          10.19
  3/29/2018     3/29/2017        3/28/2018      241    0.4305      0.4257       0.0136     1.825    -0.12%       1.302          8.84         1.173          10.09
  4/3/2018      4/3/2017         4/2/2018       239    0.4350      0.4302       0.0136     1.805    -0.12%       1.311          8.91         1.175          10.11


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  4/4/2018      4/4/2017         4/3/2018       239    0.4305      0.4257       0.0136     1.811    -0.12%       1.296          8.84         1.168          10.01
  4/5/2018      4/5/2017         4/4/2018       239    0.4315      0.4267       0.0136     1.814    -0.11%       1.297          8.86         1.169          10.03
  4/6/2018      4/6/2017         4/5/2018       239    0.4433      0.4386       0.0136     1.810    -0.11%       1.339          9.32         1.173          10.05
  4/9/2018      4/9/2017         4/8/2018       238    0.4476      0.4429       0.0136     1.819    -0.11%       1.357          9.45         1.177          10.06
  4/10/2018     4/10/2017        4/9/2018       239    0.4485      0.4438       0.0136     1.822    -0.11%       1.359          9.49         1.178          10.10
  4/11/2018     4/11/2017        4/10/2018      239    0.4467      0.4420       0.0136     1.817    -0.12%       1.347          9.42         1.180          10.09
  4/12/2018     4/12/2017        4/11/2018      239    0.4415      0.4367       0.0137     1.825    -0.11%       1.341          9.34         1.166          9.96
  4/13/2018     4/13/2017        4/12/2018      239    0.4435      0.4387       0.0137     1.830    -0.10%       1.344          9.37         1.167          10.01
  4/16/2018     4/16/2017        4/15/2018      239    0.4394      0.4346       0.0137     1.826    -0.10%       1.342          9.33         1.151          9.90
  4/17/2018     4/17/2017        4/16/2018      240    0.4399      0.4351       0.0137     1.834    -0.10%       1.338          9.32         1.151          9.96
  4/18/2018     4/18/2017        4/17/2018      241    0.4399      0.4352       0.0137     1.833    -0.10%       1.333          9.34         1.151          9.98
  4/19/2018     4/19/2017        4/18/2018      241    0.4363      0.4316       0.0137     1.829    -0.10%       1.329          9.30         1.138          9.89
  4/20/2018     4/20/2017        4/19/2018      241    0.4329      0.4281       0.0137     1.842    -0.10%       1.322          9.27         1.119          9.79
  4/23/2018     4/23/2017        4/22/2018      240    0.4323      0.4275       0.0137     1.812    -0.11%       1.323          9.28         1.105          9.71
  4/24/2018     4/24/2017        4/23/2018      241    0.4307      0.4259       0.0137     1.823    -0.11%       1.322          9.27         1.104          9.70
  4/25/2018     4/25/2017        4/24/2018      241    0.4027      0.3976       0.0134     1.765    -0.12%       1.201          8.51         1.055          9.38
  4/26/2018     4/26/2017        4/25/2018      241    0.4102      0.4053       0.0134     1.752    -0.11%       1.205          8.65         1.070          9.52
  4/27/2018     4/27/2017        4/26/2018      240    0.4158      0.4109       0.0133     1.753    -0.12%       1.201          8.67         1.080          9.67
  4/30/2018     4/30/2017        4/29/2018      240    0.4122      0.4072       0.0134     1.735    -0.13%       1.186          8.49         1.094          9.70
  5/2/2018      5/2/2017         5/1/2018       241    0.4113      0.4063       0.0134     1.742    -0.13%       1.186          8.50         1.091          9.70
  5/3/2018      5/3/2017         5/2/2018       241    0.4096      0.4046       0.0134     1.750    -0.13%       1.174          8.42         1.095          9.71
  5/4/2018      5/4/2017         5/3/2018       241    0.4050      0.4000       0.0135     1.735    -0.13%       1.169          8.42         1.076          9.54
  5/7/2018      5/7/2017         5/6/2018       240    0.4058      0.4008       0.0135     1.745    -0.14%       1.167          8.48         1.073          9.48
  5/8/2018      5/8/2017         5/7/2018       241    0.4058      0.4008       0.0134     1.748    -0.15%       1.163          8.49         1.074          9.51
  5/9/2018      5/9/2017         5/8/2018       241    0.4024      0.3974       0.0135     1.741    -0.15%       1.163          8.47         1.058          9.41
  5/10/2018     5/10/2017        5/9/2018       241    0.4030      0.3980       0.0135     1.740    -0.14%       1.164          8.49         1.055          9.41
  5/11/2018     5/11/2017        5/10/2018      241    0.4032      0.3982       0.0135     1.739    -0.15%       1.160          8.50         1.054          9.41
  5/14/2018     5/14/2017        5/13/2018      240    0.4027      0.3977       0.0135     1.734    -0.14%       1.161          8.49         1.052          9.37
  5/15/2018     5/15/2017        5/14/2018      241    0.4008      0.3958       0.0135     1.732    -0.15%       1.155          8.44         1.054          9.38
  5/16/2018     5/16/2017        5/15/2018      241    0.3979      0.3928       0.0135     1.721    -0.16%       1.152          8.44         1.041          9.27
  5/17/2018     5/17/2017        5/16/2018      241    0.3998      0.3947       0.0135     1.711    -0.17%       1.156          8.45         1.049          9.33
  5/18/2018     5/18/2017        5/17/2018      241    0.3895      0.3843       0.0135     1.720    -0.16%       1.135          8.27         1.041          9.14
  5/22/2018     5/22/2017        5/21/2018      240    0.3908      0.3857       0.0136     1.725    -0.17%       1.136          8.23         1.048          9.18
  5/23/2018     5/23/2017        5/22/2018      240    0.3926      0.3874       0.0136     1.726    -0.16%       1.144          8.30         1.048          9.18
  5/24/2018     5/24/2017        5/23/2018      240    0.3892      0.3840       0.0136     1.718    -0.16%       1.134          8.26         1.040          9.10
  5/25/2018     5/25/2017        5/24/2018      240    0.3892      0.3841       0.0138     1.727    -0.18%       1.137          8.16         1.063          9.19
  5/29/2018     5/29/2017        5/28/2018      239    0.3894      0.3842       0.0138     1.769    -0.16%       1.138          8.16         1.061          9.16
  5/30/2018     5/30/2017        5/29/2018      240    0.4082      0.4032       0.0138     1.766    -0.18%       1.189          8.60         1.084          9.46
  5/31/2018     5/31/2017        5/30/2018      240    0.4072      0.4022       0.0138     1.783    -0.17%       1.187          8.61         1.077          9.41
  6/1/2018      6/1/2017         5/31/2018      240    0.3914      0.3863       0.0143     1.738    -0.19%       1.182          8.26         1.104          9.18
  6/4/2018      6/4/2017         6/3/2018       239    0.3945      0.3894       0.0144     1.841    -0.18%       1.201          8.32         1.114          9.20
  6/5/2018      6/5/2017         6/4/2018       240    0.3934      0.3883       0.0144     1.834    -0.17%       1.205          8.36         1.108          9.16
  6/6/2018      6/6/2017         6/5/2018       241    0.3943      0.3892       0.0143     1.837    -0.18%       1.206          8.38         1.107          9.20


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  6/7/2018      6/7/2017         6/6/2018       241    0.3965      0.3915       0.0143     1.839    -0.17%       1.207          8.41         1.107          9.26
  6/8/2018      6/8/2017         6/7/2018       241    0.3959      0.3909       0.0143     1.837    -0.17%       1.211          8.44         1.104          9.21
  6/11/2018     6/11/2017        6/10/2018      240    0.3941      0.3890       0.0143     1.832    -0.18%       1.210          8.42         1.108          9.12
  6/12/2018     6/12/2017        6/11/2018      241    0.3952      0.3901       0.0143     1.831    -0.18%       1.214          8.48         1.108          9.14
  6/13/2018     6/13/2017        6/12/2018      241    0.3948      0.3897       0.0143     1.833    -0.17%       1.205          8.42         1.111          9.18
  6/14/2018     6/14/2017        6/13/2018      241    0.3942      0.3891       0.0143     1.832    -0.18%       1.203          8.40         1.107          9.18
  6/15/2018     6/15/2017        6/14/2018      241    0.3903      0.3852       0.0143     1.822    -0.16%       1.206          8.41         1.102          9.04
  6/18/2018     6/18/2017        6/17/2018      240    0.3956      0.3905       0.0143     1.821    -0.17%       1.216          8.47         1.124          9.13
  6/19/2018     6/19/2017        6/18/2018      241    0.3953      0.3902       0.0143     1.821    -0.16%       1.215          8.48         1.122          9.15
  6/20/2018     6/20/2017        6/19/2018      241    0.3922      0.3871       0.0142     1.823    -0.16%       1.189          8.31         1.125          9.19
  6/21/2018     6/21/2017        6/20/2018      241    0.3917      0.3866       0.0142     1.825    -0.16%       1.186          8.29         1.125          9.19
  6/22/2018     6/22/2017        6/21/2018      241    0.3940      0.3889       0.0143     1.822    -0.17%       1.195          8.35         1.129          9.22
  6/25/2018     6/25/2017        6/24/2018      240    0.3946      0.3894       0.0143     1.825    -0.16%       1.200          8.37         1.128          9.18
  6/26/2018     6/26/2017        6/25/2018      241    0.3985      0.3935       0.0143     1.824    -0.16%       1.206          8.55         1.126          9.20
  6/27/2018     6/27/2017        6/26/2018      241    0.3984      0.3933       0.0142     1.826    -0.17%       1.204          8.54         1.126          9.20
  6/28/2018     6/28/2017        6/27/2018      241    0.3888      0.3836       0.0143     1.823    -0.19%       1.204          8.51         1.100          8.88
  6/29/2018     6/29/2017        6/28/2018      241    0.3869      0.3817       0.0143     1.830    -0.19%       1.192          8.46         1.100          8.86
  7/2/2018      7/2/2017         7/1/2018       240    0.3934      0.3883       0.0142     1.824    -0.18%       1.201          8.59         1.133          8.94
  7/3/2018      7/3/2017         7/2/2018       241    0.3906      0.3855       0.0142     1.816    -0.18%       1.192          8.58         1.124          8.88
  7/5/2018      7/5/2017         7/4/2018       241    0.3815      0.3763       0.0142     1.822    -0.19%       1.184          8.55         1.098          8.59
  7/6/2018      7/6/2017         7/5/2018       241    0.3794      0.3742       0.0143     1.808    -0.19%       1.187          8.52         1.098          8.54
  7/9/2018      7/9/2017         7/8/2018       240    0.3767      0.3714       0.0144     1.799    -0.20%       1.209          8.67         1.068          8.25
  7/10/2018     7/10/2017        7/9/2018       241    0.3744      0.3691       0.0144     1.822    -0.20%       1.207          8.67         1.057          8.20
  7/11/2018     7/11/2017        7/10/2018      241    0.3743      0.3691       0.0144     1.822    -0.20%       1.207          8.67         1.057          8.20
  7/12/2018     7/12/2017        7/11/2018      241    0.3759      0.3707       0.0144     1.818    -0.20%       1.213          8.73         1.055          8.19
  7/13/2018     7/13/2017        7/12/2018      241    0.3762      0.3709       0.0144     1.822    -0.20%       1.229          8.82         1.048          8.11
  7/16/2018     7/16/2017        7/15/2018      240    0.3745      0.3692       0.0144     1.820    -0.19%       1.234          8.83         1.042          8.00
  7/17/2018     7/17/2017        7/16/2018      241    0.3808      0.3756       0.0148     1.746    -0.16%       1.221          8.51         1.131          8.60
  7/18/2018     7/18/2017        7/17/2018      241    0.3750      0.3697       0.0149     1.837    -0.17%       1.220          8.45         1.113          8.44
  7/19/2018     7/19/2017        7/18/2018      241    0.3727      0.3674       0.0149     1.865    -0.15%       1.221          8.46         1.106          8.36
  7/20/2018     7/20/2017        7/19/2018      241    0.3727      0.3674       0.0149     1.866    -0.15%       1.223          8.46         1.104          8.35
  7/23/2018     7/23/2017        7/22/2018      240    0.3710      0.3657       0.0150     1.857    -0.14%       1.221          8.42         1.102          8.29
  7/24/2018     7/24/2017        7/23/2018      241    0.3714      0.3661       0.0149     1.857    -0.14%       1.217          8.42         1.093          8.35
  7/25/2018     7/25/2017        7/24/2018      241    0.3716      0.3663       0.0149     1.865    -0.15%       1.224          8.51         1.081          8.27
  7/26/2018     7/26/2017        7/25/2018      240    0.3668      0.3614       0.0149     1.862    -0.16%       1.217          8.44         1.079          8.13
  7/27/2018     7/27/2017        7/26/2018      240    0.3696      0.3643       0.0149     1.865    -0.16%       1.224          8.50         1.083          8.16
  7/30/2018     7/30/2017        7/29/2018      240    0.3692      0.3639       0.0149     1.848    -0.15%       1.223          8.48         1.085          8.17
  7/31/2018     7/31/2017        7/30/2018      241    0.3705      0.3652       0.0149     1.831    -0.13%       1.201          8.33         1.110          8.41
  8/1/2018      8/1/2017         7/31/2018      241    0.3701      0.3648       0.0150     1.813    -0.12%       1.205          8.35         1.107          8.38
  8/2/2018      8/2/2017         8/1/2018       241    0.3683      0.3630       0.0150     1.831    -0.12%       1.203          8.33         1.105          8.33
  8/3/2018      8/3/2017         8/2/2018       241    0.3709      0.3656       0.0150     1.812    -0.13%       1.214          8.38         1.112          8.37
  8/6/2018      8/6/2017         8/5/2018       240    0.3689      0.3635       0.0150     1.822    -0.15%       1.216          8.41         1.106          8.24
  8/7/2018      8/7/2017         8/6/2018       241    0.3686      0.3633       0.0150     1.823    -0.15%       1.216          8.42         1.105          8.25


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  8/8/2018      8/8/2017         8/7/2018       241    0.3697      0.3644       0.0150     1.823    -0.14%       1.222          8.48         1.104          8.23
  8/9/2018      8/9/2017         8/8/2018       241    0.3689      0.3636       0.0150     1.825    -0.14%       1.223          8.47         1.104          8.21
  8/10/2018     8/10/2017        8/9/2018       241    0.3617      0.3564       0.0150     1.843    -0.13%       1.205          8.34         1.088          8.08
  8/13/2018     8/13/2017        8/12/2018      240    0.3631      0.3577       0.0150     1.839    -0.13%       1.215          8.41         1.088          8.03
  8/14/2018     8/14/2017        8/13/2018      241    0.3648      0.3594       0.0150     1.839    -0.14%       1.222          8.47         1.090          8.06
  8/15/2018     8/15/2017        8/14/2018      241    0.3613      0.3559       0.0150     1.844    -0.15%       1.206          8.37         1.082          8.04
  8/16/2018     8/16/2017        8/15/2018      241    0.3637      0.3583       0.0150     1.844    -0.15%       1.216          8.48         1.080          8.01
  8/17/2018     8/17/2017        8/16/2018      241    0.3645      0.3592       0.0150     1.841    -0.15%       1.215          8.51         1.080          8.01
  8/20/2018     8/20/2017        8/19/2018      240    0.3613      0.3559       0.0150     1.840    -0.15%       1.213          8.46         1.069          7.91
  8/21/2018     8/21/2017        8/20/2018      241    0.3611      0.3557       0.0150     1.839    -0.15%       1.211          8.47         1.069          7.92
  8/22/2018     8/22/2017        8/21/2018      241    0.3600      0.3547       0.0149     1.845    -0.14%       1.213          8.50         1.062          7.85
  8/23/2018     8/23/2017        8/22/2018      241    0.3601      0.3548       0.0149     1.843    -0.13%       1.218          8.52         1.060          7.84
  8/24/2018     8/24/2017        8/23/2018      241    0.3609      0.3555       0.0150     1.846    -0.14%       1.220          8.54         1.060          7.83
  8/27/2018     8/27/2017        8/26/2018      240    0.3609      0.3555       0.0150     1.845    -0.14%       1.218          8.51         1.061          7.83
  8/28/2018     8/28/2017        8/27/2018      241    0.3638      0.3585       0.0150     1.845    -0.14%       1.226          8.61         1.064          7.88
  8/29/2018     8/29/2017        8/28/2018      241    0.3641      0.3587       0.0150     1.835    -0.14%       1.223          8.59         1.069          7.91
  8/30/2018     8/30/2017        8/29/2018      241    0.3631      0.3577       0.0149     1.846    -0.13%       1.220          8.59         1.060          7.87
  8/31/2018     8/31/2017        8/30/2018      241    0.3634      0.3581       0.0149     1.852    -0.14%       1.223          8.61         1.060          7.86
  9/4/2018      9/4/2017         9/3/2018       240    0.3640      0.3587       0.0150     1.853    -0.14%       1.226          8.61         1.062          7.84
  9/5/2018      9/5/2017         9/4/2018       241    0.3650      0.3596       0.0149     1.850    -0.13%       1.215          8.56         1.070          7.97
  9/6/2018      9/6/2017         9/5/2018       241    0.3609      0.3555       0.0149     1.845    -0.11%       1.201          8.46         1.073          7.93
  9/7/2018      9/7/2017         9/6/2018       241    0.3629      0.3575       0.0149     1.852    -0.12%       1.202          8.50         1.075          7.96
  9/10/2018     9/10/2017        9/9/2018       240    0.3620      0.3566       0.0149     1.842    -0.12%       1.206          8.50         1.087          7.89
  9/11/2018     9/11/2017        9/10/2018      241    0.3618      0.3565       0.0149     1.842    -0.13%       1.206          8.51         1.087          7.91
  9/12/2018     9/12/2017        9/11/2018      241    0.3580      0.3526       0.0149     1.853    -0.13%       1.194          8.43         1.077          7.85
  9/13/2018     9/13/2017        9/12/2018      241    0.3512      0.3457       0.0148     1.859    -0.15%       1.180          8.36         1.059          7.68
  9/14/2018     9/14/2017        9/13/2018      241    0.3484      0.3429       0.0149     1.862    -0.14%       1.185          8.35         1.050          7.58
  9/17/2018     9/17/2017        9/16/2018      240    0.3490      0.3435       0.0149     1.875    -0.13%       1.186          8.36         1.047          7.56
  9/18/2018     9/18/2017        9/17/2018      241    0.3484      0.3429       0.0149     1.872    -0.13%       1.185          8.36         1.048          7.57
  9/19/2018     9/19/2017        9/18/2018      241    0.3495      0.3441       0.0149     1.875    -0.13%       1.185          8.37         1.055          7.60
  9/20/2018     9/20/2017        9/19/2018      241    0.3576      0.3522       0.0149     1.874    -0.11%       1.193          8.43         1.074          7.84
  9/21/2018     9/21/2017        9/20/2018      241    0.3608      0.3554       0.0149     1.862    -0.10%       1.199          8.51         1.074          7.87
  9/24/2018     9/24/2017        9/23/2018      240    0.3581      0.3527       0.0149     1.865    -0.11%       1.210          8.58         1.052          7.66
  9/25/2018     9/25/2017        9/24/2018      241    0.3586      0.3532       0.0148     1.870    -0.11%       1.211          8.61         1.052          7.67
  9/26/2018     9/26/2017        9/25/2018      241    0.3570      0.3515       0.0148     1.870    -0.11%       1.206          8.58         1.050          7.65
  9/27/2018     9/27/2017        9/26/2018      241    0.3574      0.3520       0.0148     1.866    -0.12%       1.207          8.57         1.053          7.67
  9/28/2018     9/28/2017        9/27/2018      241    0.3519      0.3464       0.0148     1.870    -0.13%       1.206          8.57         1.034          7.46
  10/1/2018     10/1/2017        9/30/2018      240    0.3599      0.3545       0.0148     1.883    -0.16%       1.203          8.58         1.058          7.73
  10/2/2018     10/2/2017        10/1/2018      241    0.3601      0.3547       0.0148     1.883    -0.16%       1.201          8.57         1.061          7.77
  10/4/2018     10/4/2017        10/3/2018      241    0.3621      0.3567       0.0148     1.888    -0.16%       1.204          8.62         1.063          7.80
  10/5/2018     10/5/2017        10/4/2018      241    0.3666      0.3613       0.0147     1.868    -0.14%       1.184          8.52         1.060          8.07
  10/8/2018     10/8/2017        10/7/2018      240    0.3685      0.3632       0.0147     1.871    -0.15%       1.181          8.54         1.058          8.09
  10/9/2018     10/9/2017        10/8/2018      241    0.3700      0.3647       0.0146     1.871    -0.16%       1.185          8.61         1.059          8.10


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  10/10/2018    10/10/2017        10/9/2018      241    0.3706      0.3653       0.0146     1.880    -0.14%       1.188          8.66         1.052          8.07
  10/11/2018    10/11/2017       10/10/2018      241    0.3706      0.3654       0.0146     1.880    -0.13%       1.169          8.60         1.053          8.14
  10/12/2018    10/12/2017       10/11/2018      241    0.3650      0.3596       0.0147     1.869    -0.13%       1.126          8.48         1.047          8.05
  10/15/2018    10/15/2017       10/14/2018      240    0.3649      0.3595       0.0147     1.874    -0.12%       1.129          8.49         1.045          8.00
  10/16/2018    10/16/2017       10/15/2018      241    0.3634      0.3581       0.0147     1.869    -0.11%       1.130          8.50         1.041          7.97
  10/17/2018    10/17/2017       10/16/2018      241    0.3621      0.3568       0.0147     1.864    -0.12%       1.132          8.53         1.032          7.90
  10/18/2018    10/18/2017       10/17/2018      241    0.3636      0.3582       0.0147     1.862    -0.11%       1.133          8.54         1.036          7.94
  10/19/2018    10/19/2017       10/18/2018      241    0.3642      0.3588       0.0147     1.865    -0.12%       1.137          8.57         1.036          7.93
  10/22/2018    10/22/2017       10/21/2018      240    0.3616      0.3562       0.0148     1.864    -0.13%       1.136          8.55         1.036          7.82
  10/23/2018    10/23/2017       10/22/2018      241    0.3620      0.3567       0.0147     1.865    -0.13%       1.137          8.59         1.034          7.83
  10/24/2018    10/24/2017       10/23/2018      241    0.3599      0.3545       0.0147     1.843    -0.12%       1.120          8.55         1.029          7.79
  10/25/2018    10/25/2017       10/24/2018      240    0.3577      0.3523       0.0147     1.847    -0.13%       1.121          8.58         1.011          7.64
  10/26/2018    10/26/2017       10/25/2018      240    0.3547      0.3493       0.0147     1.860    -0.13%       1.120          8.56         0.992          7.55
  10/29/2018    10/29/2017       10/28/2018      240    0.3591      0.3537       0.0148     1.855    -0.13%       1.143          8.76         0.987          7.49
  10/30/2018    10/30/2017       10/29/2018      241    0.3563      0.3509       0.0148     1.847    -0.13%       1.144          8.77         0.960          7.40
  10/31/2018    10/31/2017       10/30/2018      241    0.3551      0.3497       0.0148     1.842    -0.12%       1.145          8.78         0.950          7.34
   11/1/2018     11/1/2017       10/31/2018      242    0.3541      0.3487       0.0148     1.844    -0.13%       1.131          8.81         0.946          7.32
   11/2/2018     11/2/2017        11/1/2018      242    0.3565      0.3511       0.0148     1.863    -0.12%       1.139          8.83         0.961          7.38
   11/5/2018     11/5/2017        11/4/2018      241    0.3512      0.3457       0.0149     1.841    -0.12%       1.137          8.78         0.944          7.19
   11/6/2018     11/6/2017        11/5/2018      242    0.3504      0.3449       0.0149     1.866    -0.12%       1.136          8.79         0.941          7.18
   11/7/2018     11/7/2017        11/6/2018      242    0.3506      0.3451       0.0149     1.864    -0.13%       1.130          8.75         0.949          7.24
   11/8/2018     11/8/2017        11/7/2018      242    0.3521      0.3467       0.0149     1.859    -0.13%       1.128          8.79         0.949          7.25
   11/9/2018     11/9/2017        11/8/2018      242    0.3564      0.3510       0.0148     1.885    -0.14%       1.124          8.82         0.965          7.39
  11/12/2018    11/12/2017       11/11/2018      241    0.3613      0.3559       0.0147     1.918    -0.16%       1.142          9.06         0.943          7.25
  11/13/2018    11/13/2017       11/12/2018      242    0.3679      0.3626       0.0147     1.917    -0.17%       1.157          9.26         0.947          7.31
  11/14/2018    11/14/2017       11/13/2018      242    0.3701      0.3648       0.0147     1.918    -0.16%       1.158          9.27         0.955          7.38
  11/15/2018    11/15/2017       11/14/2018      242    0.3718      0.3666       0.0146     1.923    -0.17%       1.158          9.30         0.958          7.41
  11/16/2018    11/16/2017       11/15/2018      242    0.3698      0.3645       0.0146     1.924    -0.18%       1.167          9.37         0.943          7.24
  11/19/2018    11/19/2017       11/18/2018      241    0.3726      0.3674       0.0146     1.943    -0.19%       1.155          9.34         0.956          7.36
  11/20/2018    11/20/2017       11/19/2018      242    0.3725      0.3673       0.0145     1.943    -0.19%       1.153          9.35         0.954          7.38
  11/21/2018    11/21/2017       11/20/2018      242    0.3794      0.3742       0.0146     1.927    -0.21%       1.184          9.62         0.953          7.32
  11/23/2018    11/23/2017       11/22/2018      241    0.3832      0.3781       0.0147     1.955    -0.19%       1.197          9.70         0.956          7.33
  11/26/2018    11/26/2017       11/25/2018      241    0.3851      0.3799       0.0147     1.951    -0.19%       1.201          9.75         0.957          7.35
  11/27/2018    11/27/2017       11/26/2018      242    0.3932      0.3881       0.0147     1.936    -0.18%       1.222          9.88         0.986          7.57
  11/28/2018    11/28/2017       11/27/2018      242    0.3921      0.3870       0.0147     1.939    -0.16%       1.220          9.87         0.981          7.54
  11/29/2018    11/29/2017       11/28/2018      242    0.3920      0.3869       0.0147     1.947    -0.17%       1.216          9.84         0.986          7.57
  11/30/2018    11/30/2017       11/29/2018      242    0.3798      0.3746       0.0149     1.911    -0.20%       1.166          9.37         1.049          7.65
   12/3/2018     12/3/2017        12/2/2018      241    0.3810      0.3758       0.0150     1.897    -0.20%       1.172          9.37         1.057          7.66
   12/4/2018     12/4/2017        12/3/2018      242    0.3850      0.3799       0.0150     1.918    -0.20%       1.189          9.57         1.052          7.62
   12/6/2018     12/6/2017        12/5/2018      241    0.3865      0.3814       0.0150     1.928    -0.21%       1.189          9.55         1.061          7.66
   12/7/2018     12/7/2017        12/6/2018      241    0.3958      0.3907       0.0151     1.917    -0.20%       1.162          9.90         1.054          7.60
  12/10/2018    12/10/2017        12/9/2018      240    0.3985      0.3935       0.0149     1.929    -0.23%       1.148          9.90         1.054          7.69
  12/11/2018    12/11/2017       12/10/2018      241    0.4124      0.4074       0.0150     1.925    -0.24%       1.184          10.32        1.066          7.78


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  12/12/2018    12/12/2017       12/11/2018      241    0.4164      0.4115       0.0149     1.940    -0.23%       1.192          10.45        1.066          7.79
  12/13/2018    12/13/2017       12/12/2018      241    0.4059      0.4009       0.0154     1.873    -0.21%       1.224          10.48        1.020          7.27
  12/14/2018    12/14/2017       12/13/2018      241    0.4056      0.4006       0.0154     1.913    -0.21%       1.221          10.46        1.022          7.28
  12/17/2018    12/17/2017       12/16/2018      240    0.4061      0.4011       0.0154     1.915    -0.21%       1.209          10.40        1.026          7.35
  12/18/2018    12/18/2017       12/17/2018      241    0.4064      0.4014       0.0154     1.913    -0.21%       1.215          10.45        1.023          7.32
  12/19/2018    12/19/2017       12/18/2018      241    0.4046      0.3996       0.0153     1.913    -0.22%       1.192          10.32        1.026          7.43
  12/20/2018    12/20/2017       12/19/2018      241    0.4038      0.3987       0.0153     1.916    -0.22%       1.188          10.29        1.029          7.44
  12/21/2018    12/21/2017       12/20/2018      241    0.4143      0.4094       0.0155     1.880    -0.23%       1.241          10.79        1.010          7.21
  12/27/2018    12/27/2017       12/26/2018      240    0.4159      0.4110       0.0155     1.922    -0.22%       1.238          10.76        1.019          7.28
   1/2/2019      1/2/2018         1/1/2019       239    0.4213      0.4164       0.0156     1.925    -0.22%       1.256          10.91        1.022          7.26
   1/3/2019      1/3/2018         1/2/2019       239    0.4356      0.4308       0.0157     1.941    -0.20%       1.296          11.31        1.041          7.36
   1/4/2019      1/4/2018         1/3/2019       239    0.4361      0.4314       0.0157     1.945    -0.20%       1.299          11.33        1.040          7.36
   1/7/2019      1/7/2018         1/6/2019       238    0.4504      0.4458       0.0155     1.926    -0.17%       1.330          11.80        1.018          7.30
   1/8/2019      1/8/2018         1/7/2019       239    0.4517      0.4471       0.0154     1.930    -0.17%       1.329          11.88        1.014          7.30
   1/9/2019      1/9/2018         1/8/2019       239    0.4500      0.4454       0.0155     1.923    -0.16%       1.331          11.88        1.000          7.21
   1/10/2019     1/10/2018        1/9/2019       239    0.4439      0.4392       0.0156     1.914    -0.17%       1.305          11.60        1.024          7.33
   1/11/2019     1/11/2018        1/10/2019      239    0.4416      0.4368       0.0156     1.943    -0.18%       1.308          11.65        1.003          7.13
   1/14/2019     1/14/2018        1/13/2019      238    0.4440      0.4393       0.0155     1.956    -0.17%       1.315          11.71        1.002          7.12
   1/15/2019     1/15/2018        1/14/2019      239    0.4435      0.4387       0.0155     1.955    -0.17%       1.315          11.72        0.994          7.12
   1/16/2019     1/16/2018        1/15/2019      240    0.4436      0.4389       0.0155     1.956    -0.17%       1.314          11.75        0.994          7.13
   1/17/2019     1/17/2018        1/16/2019      240    0.4645      0.4600       0.0157     1.924    -0.13%       1.345          11.83        1.104          8.10
   1/18/2019     1/18/2018        1/17/2019      240    0.4630      0.4585       0.0159     1.983    -0.14%       1.343          11.72        1.123          8.19
   1/22/2019     1/22/2018        1/21/2019      239    0.4669      0.4624       0.0159     1.999    -0.15%       1.348          11.82        1.129          8.19
   1/23/2019     1/23/2018        1/22/2019      239    0.4693      0.4648       0.0158     2.010    -0.16%       1.344          11.86        1.132          8.25
   1/24/2019     1/24/2018        1/23/2019      239    0.4666      0.4621       0.0159     2.005    -0.15%       1.341          11.77        1.133          8.23
   1/25/2019     1/25/2018        1/24/2019      239    0.4644      0.4599       0.0159     2.017    -0.16%       1.337          11.71        1.135          8.22
   1/28/2019     1/28/2018        1/27/2019      238    0.4676      0.4630       0.0160     2.034    -0.14%       1.354          11.81        1.138          8.18
   1/29/2019     1/29/2018        1/28/2019      239    0.4677      0.4632       0.0160     2.048    -0.14%       1.352          11.84        1.136          8.20
   1/30/2019     1/30/2018        1/29/2019      239    0.4696      0.4651       0.0160     2.051    -0.13%       1.353          11.86        1.144          8.26
   1/31/2019     1/31/2018        1/30/2019      239    0.4684      0.4639       0.0158     2.065    -0.12%       1.335          11.78        1.142          8.31
   2/1/2019      2/1/2018         1/31/2019      239    0.4729      0.4684       0.0159     2.055    -0.15%       1.297          11.48        1.181          8.94
   2/4/2019      2/4/2018         2/3/2019       238    0.4730      0.4685       0.0159     2.052    -0.15%       1.298          11.45        1.182          8.93
   2/5/2019      2/5/2018         2/4/2019       239    0.4731      0.4686       0.0159     2.056    -0.15%       1.298          11.48        1.182          8.95
   2/6/2019      2/6/2018         2/5/2019       239    0.4729      0.4685       0.0159     2.056    -0.15%       1.308          11.51        1.176          8.91
   2/7/2019      2/7/2018         2/6/2019       239    0.4694      0.4649       0.0159     2.001    -0.15%       1.342          11.37        1.177          8.92
   2/8/2019      2/8/2018         2/7/2019       239    0.4928      0.4885       0.0158     2.031    -0.16%       1.417          11.95        1.221          9.29
   2/11/2019     2/11/2018        2/10/2019      238    0.4901      0.4858       0.0158     2.030    -0.17%       1.437          11.83        1.223          9.27
   2/12/2019     2/12/2018        2/11/2019      239    0.4908      0.4865       0.0158     2.036    -0.16%       1.443          11.89        1.224          9.27
   2/13/2019     2/13/2018        2/12/2019      239    0.4882      0.4838       0.0158     2.022    -0.16%       1.431          11.76        1.227          9.32
   2/14/2019     2/14/2018        2/13/2019      239    0.4913      0.4870       0.0157     2.036    -0.16%       1.432          11.82        1.233          9.40
   2/15/2019     2/15/2018        2/14/2019      239    0.4943      0.4900       0.0157     2.040    -0.16%       1.439          11.84        1.244          9.51
   2/19/2019     2/19/2018        2/18/2019      238    0.5048      0.5006       0.0157     2.007    -0.13%       1.478          12.08        1.257          9.67
   2/20/2019     2/20/2018        2/19/2019      239    0.5056      0.5014       0.0157     2.011    -0.14%       1.470          12.05        1.262          9.80


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  2/21/2019     2/21/2018        2/20/2019      239    0.5192      0.5151       0.0154     2.059    -0.16%       1.484          12.40        1.268          10.05
  2/22/2019     2/22/2018        2/21/2019      239    0.5179      0.5138       0.0154     2.057    -0.17%       1.484          12.40        1.264          9.99
  2/25/2019     2/25/2018        2/24/2019      238    0.5175      0.5134       0.0155     2.060    -0.16%       1.480          12.35        1.263          9.97
  2/26/2019     2/26/2018        2/25/2019      239    0.5188      0.5147       0.0154     2.061    -0.16%       1.483          12.41        1.264          10.02
  2/27/2019     2/27/2018        2/26/2019      239    0.5175      0.5134       0.0154     2.057    -0.15%       1.491          12.41        1.260          9.96
  2/28/2019     2/28/2018        2/27/2019      239    0.5161      0.5120       0.0155     2.043    -0.14%       1.486          12.34        1.268          9.97
  3/1/2019      3/1/2018         2/28/2019      239    0.5118      0.5077       0.0156     2.022    -0.13%       1.485          12.23        1.264          9.89
  3/4/2019      3/4/2018         3/3/2019       238    0.5072      0.5030       0.0156     2.033    -0.13%       1.478          12.03        1.269          9.86
  3/5/2019      3/5/2018         3/4/2019       239    0.5073      0.5031       0.0156     2.033    -0.13%       1.478          12.05        1.269          9.88
  3/6/2019      3/6/2018         3/5/2019       239    0.5054      0.5012       0.0156     2.033    -0.13%       1.474          11.97        1.269          9.90
  3/7/2019      3/7/2018         3/6/2019       239    0.5051      0.5009       0.0156     2.018    -0.12%       1.469          11.92        1.274          9.94
  3/8/2019      3/8/2018         3/7/2019       239    0.5120      0.5079       0.0156     2.027    -0.15%       1.488          12.09        1.290          10.08
  3/11/2019     3/11/2018        3/10/2019      238    0.5187      0.5146       0.0155     2.043    -0.14%       1.500          12.22        1.302          10.19
  3/12/2019     3/12/2018        3/11/2019      239    0.5214      0.5173       0.0156     2.030    -0.12%       1.525          12.40        1.305          10.16
  3/13/2019     3/13/2018        3/12/2019      239    0.5192      0.5151       0.0157     2.057    -0.13%       1.512          12.25        1.319          10.24
  3/14/2019     3/14/2018        3/13/2019      239    0.5201      0.5160       0.0157     2.063    -0.13%       1.512          12.28        1.318          10.25
  3/15/2019     3/15/2018        3/14/2019      239    0.5182      0.5141       0.0157     2.060    -0.13%       1.512          12.24        1.313          10.20
  3/18/2019     3/18/2018        3/17/2019      238    0.5170      0.5129       0.0158     2.055    -0.14%       1.505          12.16        1.318          10.18
  3/19/2019     3/19/2018        3/18/2019      239    0.5192      0.5151       0.0158     2.055    -0.13%       1.508          12.15        1.339          10.36
  3/20/2019     3/20/2018        3/19/2019      239    0.5156      0.5115       0.0158     2.073    -0.13%       1.496          11.98        1.345          10.38
  3/21/2019     3/21/2018        3/20/2019      239    0.5186      0.5145       0.0159     2.024    -0.15%       1.506          12.08        1.348          10.40
  3/22/2019     3/22/2018        3/21/2019      239    0.5350      0.5310       0.0155     2.063    -0.14%       1.497          12.27        1.345          10.99
  3/25/2019     3/25/2018        3/24/2019      238    0.5262      0.5222       0.0156     2.055    -0.14%       1.488          12.01        1.319          10.80
  3/26/2019     3/26/2018        3/25/2019      239    0.5263      0.5223       0.0156     2.066    -0.14%       1.487          12.04        1.319          10.83
  3/27/2019     3/27/2018        3/26/2019      239    0.5273      0.5233       0.0156     2.070    -0.14%       1.486          12.06        1.322          10.85
  3/28/2019     3/28/2018        3/27/2019      239    0.5275      0.5235       0.0156     2.050    -0.12%       1.488          11.95        1.335          10.99
  3/29/2019     3/29/2018        3/28/2019      239    0.5255      0.5215       0.0157     2.067    -0.13%       1.505          11.91        1.337          10.93
  4/1/2019      4/1/2018         3/31/2019      239    0.5237      0.5197       0.0157     2.062    -0.14%       1.500          11.86        1.335          10.90
  4/2/2019      4/2/2018         4/1/2019       240    0.5292      0.5252       0.0157     2.066    -0.13%       1.514          12.04        1.336          11.02
  4/3/2019      4/3/2018         4/2/2019       241    0.5291      0.5252       0.0157     2.066    -0.13%       1.515          12.07        1.332          11.04
  4/4/2019      4/4/2018         4/3/2019       241    0.5291      0.5252       0.0157     2.067    -0.13%       1.514          12.06        1.334          11.05
  4/5/2019      4/5/2018         4/4/2019       241    0.5271      0.5232       0.0157     2.063    -0.13%       1.515          12.04        1.324          10.97
  4/8/2019      4/8/2018         4/7/2019       240    0.5181      0.5141       0.0157     2.064    -0.14%       1.485          11.61        1.322          10.95
  4/9/2019      4/9/2018         4/8/2019       241    0.5162      0.5121       0.0157     2.054    -0.15%       1.485          11.60        1.320          10.93
  4/10/2019     4/10/2018        4/9/2019       241    0.5157      0.5116       0.0157     2.055    -0.15%       1.484          11.59        1.320          10.91
  4/11/2019     4/11/2018        4/10/2019      241    0.5178      0.5137       0.0157     2.041    -0.15%       1.492          11.65        1.321          10.95
  4/12/2019     4/12/2018        4/11/2019      241    0.5215      0.5174       0.0157     2.038    -0.14%       1.493          11.66        1.340          11.11
  4/15/2019     4/15/2018        4/14/2019      240    0.5238      0.5198       0.0157     2.051    -0.14%       1.495          11.67        1.333          11.15
  4/16/2019     4/16/2018        4/15/2019      241    0.5234      0.5194       0.0157     2.058    -0.14%       1.496          11.70        1.331          11.16
  4/17/2019     4/17/2018        4/16/2019      241    0.5234      0.5194       0.0157     2.053    -0.13%       1.501          11.72        1.333          11.13
  4/18/2019     4/18/2018        4/17/2019      241    0.5220      0.5179       0.0157     2.054    -0.12%       1.504          11.70        1.317          11.09
  4/23/2019     4/23/2018        4/22/2019      239    0.5261      0.5221       0.0157     2.037    -0.12%       1.507          11.70        1.348          11.19
  4/24/2019     4/24/2018        4/23/2019      239    0.5276      0.5236       0.0157     2.034    -0.14%       1.496          11.64        1.354          11.32


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  4/25/2019     4/25/2018        4/24/2019      239    0.5303      0.5264       0.0156     2.068    -0.16%       1.501          11.80        1.338          11.28
  4/26/2019     4/26/2018        4/25/2019      239    0.5290      0.5250       0.0156     2.039    -0.17%       1.507          11.77        1.335          11.25
  4/29/2019     4/29/2018        4/28/2019      238    0.5326      0.5286       0.0155     2.067    -0.15%       1.517          11.91        1.325          11.22
  4/30/2019     4/30/2018        4/29/2019      239    0.5299      0.5259       0.0155     2.058    -0.15%       1.518          11.91        1.306          11.14
  5/2/2019      5/2/2018         5/1/2019       239    0.5301      0.5261       0.0155     2.057    -0.15%       1.518          11.91        1.305          11.15
  5/3/2019      5/3/2018         5/2/2019       239    0.5323      0.5284       0.0155     2.066    -0.15%       1.518          11.95        1.309          11.22
  5/6/2019      5/6/2018         5/5/2019       238    0.5327      0.5287       0.0154     2.080    -0.16%       1.519          11.84        1.324          11.30
  5/7/2019      5/7/2018         5/6/2019       239    0.5340      0.5300       0.0154     2.088    -0.16%       1.522          11.91        1.324          11.34
  5/8/2019      5/8/2018         5/7/2019       239    0.5363      0.5323       0.0154     2.083    -0.16%       1.532          12.02        1.324          11.34
  5/9/2019      5/9/2018         5/8/2019       239    0.5392      0.5353       0.0154     2.093    -0.16%       1.531          12.05        1.341          11.45
  5/10/2019     5/10/2018        5/9/2019       239    0.5418      0.5379       0.0154     2.097    -0.16%       1.533          12.14        1.347          11.47
  5/13/2019     5/13/2018        5/12/2019      238    0.5416      0.5377       0.0154     2.090    -0.15%       1.538          12.10        1.348          11.45
  5/14/2019     5/14/2018        5/13/2019      239    0.5421      0.5383       0.0154     2.088    -0.15%       1.541          12.17        1.343          11.46
  5/15/2019     5/15/2018        5/14/2019      239    0.5446      0.5408       0.0153     2.102    -0.14%       1.547          12.27        1.341          11.47
  5/16/2019     5/16/2018        5/15/2019      239    0.5454      0.5416       0.0153     2.110    -0.15%       1.544          12.25        1.345          11.54
  5/17/2019     5/17/2018        5/16/2019      239    0.5455      0.5416       0.0153     2.111    -0.14%       1.539          12.28        1.340          11.51
  5/20/2019     5/20/2018        5/19/2019      238    0.5450      0.5411       0.0153     2.112    -0.14%       1.538          12.24        1.341          11.47
  5/21/2019     5/21/2018        5/20/2019      239    0.5445      0.5407       0.0153     2.107    -0.14%       1.546          12.32        1.336          11.42
  5/22/2019     5/22/2018        5/21/2019      240    0.5450      0.5412       0.0153     2.115    -0.14%       1.547          12.37        1.336          11.44
  5/23/2019     5/23/2018        5/22/2019      240    0.5447      0.5408       0.0153     2.104    -0.15%       1.546          12.34        1.340          11.46
  5/24/2019     5/24/2018        5/23/2019      240    0.5496      0.5458       0.0152     2.063    -0.15%       1.558          12.49        1.347          11.54
  5/28/2019     5/28/2018        5/27/2019      239    0.5493      0.5455       0.0151     2.078    -0.14%       1.552          12.52        1.329          11.44
  5/29/2019     5/29/2018        5/28/2019      240    0.5492      0.5454       0.0151     2.080    -0.15%       1.552          12.54        1.330          11.47
  5/30/2019     5/30/2018        5/29/2019      240    0.5410      0.5371       0.0151     2.083    -0.13%       1.518          12.33        1.320          11.28
  5/31/2019     5/31/2018        5/30/2019      240    0.5411      0.5372       0.0151     2.012    -0.13%       1.520          12.34        1.321          11.28
  6/3/2019      6/3/2018         6/2/2019       239    0.5508      0.5470       0.0146     2.062    -0.11%       1.518          12.74        1.282          11.28
  6/4/2019      6/4/2018         6/3/2019       240    0.5493      0.5455       0.0146     2.058    -0.12%       1.518          12.73        1.281          11.26
  6/5/2019      6/5/2018         6/4/2019       240    0.5575      0.5538       0.0146     2.071    -0.11%       1.536          12.91        1.293          11.48
  6/6/2019      6/6/2018         6/5/2019       240    0.5559      0.5522       0.0147     2.068    -0.11%       1.518          12.77        1.304          11.56
  6/7/2019      6/7/2018         6/6/2019       240    0.5524      0.5486       0.0148     2.041    -0.13%       1.502          12.56        1.322          11.61
  6/11/2019     6/11/2018        6/10/2019      239    0.5526      0.5488       0.0148     2.060    -0.14%       1.488          12.48        1.321          11.66
  6/12/2019     6/12/2018        6/11/2019      239    0.5554      0.5516       0.0148     2.050    -0.13%       1.499          12.53        1.330          11.74
  6/13/2019     6/13/2018        6/12/2019      239    0.5552      0.5514       0.0148     2.051    -0.13%       1.500          12.54        1.326          11.72
  6/14/2019     6/14/2018        6/13/2019      239    0.5553      0.5515       0.0148     2.053    -0.13%       1.500          12.54        1.330          11.72
  6/17/2019     6/17/2018        6/16/2019      238    0.5560      0.5522       0.0148     2.055    -0.13%       1.500          12.51        1.336          11.73
  6/18/2019     6/18/2018        6/17/2019      239    0.5564      0.5526       0.0148     2.056    -0.13%       1.501          12.54        1.337          11.78
  6/19/2019     6/19/2018        6/18/2019      239    0.5568      0.5530       0.0149     2.032    -0.12%       1.516          12.64        1.338          11.70
  6/20/2019     6/20/2018        6/19/2019      239    0.5585      0.5548       0.0149     2.024    -0.12%       1.527          12.71        1.339          11.71
  6/21/2019     6/21/2018        6/20/2019      239    0.5609      0.5571       0.0149     2.030    -0.14%       1.505          12.55        1.344          12.00
  6/24/2019     6/24/2018        6/23/2019      238    0.5593      0.5555       0.0149     2.029    -0.13%       1.499          12.47        1.338          11.95
  6/25/2019     6/25/2018        6/24/2019      239    0.5598      0.5561       0.0149     2.030    -0.14%       1.499          12.49        1.337          12.01
  6/26/2019     6/26/2018        6/25/2019      239    0.5580      0.5543       0.0149     2.028    -0.13%       1.497          12.38        1.341          12.02
  6/27/2019     6/27/2018        6/26/2019      239    0.5575      0.5537       0.0150     1.995    -0.11%       1.485          12.21        1.361          12.18


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  6/28/2019     6/28/2018        6/27/2019      239    0.5618      0.5581       0.0149     2.011    -0.10%       1.487          12.29        1.368          12.31
  7/1/2019      7/1/2018         6/30/2019      238    0.5645      0.5608       0.0149     2.000    -0.09%       1.500          12.30        1.372          12.38
  7/2/2019      7/2/2018         7/1/2019       239    0.5616      0.5579       0.0150     1.999    -0.10%       1.492          12.24        1.370          12.35
  7/3/2019      7/3/2018         7/2/2019       239    0.5652      0.5615       0.0149     2.023    -0.10%       1.500          12.30        1.379          12.47
  7/5/2019      7/5/2018         7/4/2019       239    0.5625      0.5588       0.0150     2.000    -0.10%       1.508          12.30        1.372          12.34
  7/8/2019      7/8/2018         7/7/2019       238    0.5674      0.5637       0.0149     1.988    -0.10%       1.487          12.15        1.400          12.68
  7/9/2019      7/9/2018         7/8/2019       239    0.5576      0.5538       0.0152     2.003    -0.12%       1.495          11.97        1.400          12.42
  7/10/2019     7/10/2018        7/9/2019       239    0.5550      0.5513       0.0154     1.961    -0.13%       1.503          11.90        1.411          12.36
  7/11/2019     7/11/2018        7/10/2019      239    0.5545      0.5508       0.0154     2.000    -0.13%       1.504          11.91        1.406          12.33
  7/12/2019     7/12/2018        7/11/2019      239    0.5543      0.5505       0.0154     2.000    -0.12%       1.503          11.88        1.408          12.34
  7/15/2019     7/15/2018        7/14/2019      238    0.5542      0.5504       0.0154     1.969    -0.11%       1.507          11.84        1.416          12.33
  7/16/2019     7/16/2018        7/15/2019      239    0.5522      0.5484       0.0155     1.954    -0.10%       1.509          11.83        1.413          12.29
  7/17/2019     7/17/2018        7/16/2019      239    0.5434      0.5395       0.0154     1.881    -0.12%       1.513          11.92        1.365          11.78
  7/18/2019     7/18/2018        7/17/2019      239    0.5479      0.5441       0.0153     1.931    -0.12%       1.518          12.01        1.379          11.91
  7/19/2019     7/19/2018        7/18/2019      239    0.5481      0.5442       0.0153     1.943    -0.12%       1.513          12.00        1.377          11.93
  7/22/2019     7/22/2018        7/21/2019      238    0.5487      0.5449       0.0153     1.938    -0.13%       1.507          11.94        1.384          11.97
  7/23/2019     7/23/2018        7/22/2019      239    0.5484      0.5446       0.0153     1.943    -0.12%       1.505          11.94        1.385          12.00
  7/24/2019     7/24/2018        7/23/2019      239    0.5523      0.5485       0.0153     1.945    -0.12%       1.513          12.02        1.400          12.11
  7/25/2019     7/25/2018        7/24/2019      238    0.5524      0.5486       0.0153     1.942    -0.12%       1.513          11.98        1.402          12.10
  7/26/2019     7/26/2018        7/25/2019      239    0.5497      0.5459       0.0154     1.932    -0.11%       1.512          11.95        1.399          12.06
  7/29/2019     7/29/2018        7/28/2019      238    0.5488      0.5449       0.0154     1.942    -0.12%       1.507          11.89        1.397          12.02
  7/30/2019     7/30/2018        7/29/2019      239    0.5485      0.5447       0.0153     1.942    -0.12%       1.507          11.91        1.396          12.04
  7/31/2019     7/31/2018        7/30/2019      239    0.5499      0.5461       0.0153     1.953    -0.15%       1.528          12.10        1.384          11.91
  8/1/2019      8/1/2018         7/31/2019      239    0.5530      0.5492       0.0152     1.958    -0.15%       1.526          12.13        1.392          12.03
  8/2/2019      8/2/2018         8/1/2019       239    0.5533      0.5495       0.0152     1.960    -0.14%       1.524          12.13        1.394          12.05
  8/5/2019      8/5/2018         8/4/2019       238    0.5391      0.5352       0.0155     1.937    -0.12%       1.474          11.79        1.363          11.65
  8/6/2019      8/6/2018         8/5/2019       239    0.5383      0.5344       0.0154     1.942    -0.11%       1.463          11.82        1.361          11.64
  8/7/2019      8/7/2018         8/6/2019       239    0.5386      0.5347       0.0155     1.950    -0.12%       1.468          11.86        1.361          11.61
  8/8/2019      8/8/2018         8/7/2019       239    0.5390      0.5351       0.0155     1.945    -0.13%       1.460          11.78        1.362          11.71
  8/9/2019      8/9/2018         8/8/2019       239    0.5473      0.5434       0.0155     1.943    -0.12%       1.482          12.10        1.368          11.78
  8/12/2019     8/12/2018        8/11/2019      238    0.5477      0.5439       0.0154     1.948    -0.12%       1.473          12.01        1.373          11.85
  8/13/2019     8/13/2018        8/12/2019      239    0.5464      0.5426       0.0156     1.909    -0.14%       1.483          11.96        1.390          11.89
  8/14/2019     8/14/2018        8/13/2019      239    0.5462      0.5423       0.0156     1.927    -0.13%       1.482          11.95        1.386          11.88
  8/15/2019     8/15/2018        8/14/2019      239    0.5551      0.5514       0.0156     1.926    -0.14%       1.509          12.29        1.383          11.97
  8/16/2019     8/16/2018        8/15/2019      239    0.5524      0.5486       0.0157     1.924    -0.14%       1.511          12.23        1.378          11.90
  8/19/2019     8/19/2018        8/18/2019      238    0.5565      0.5528       0.0157     1.941    -0.12%       1.536          12.38        1.385          11.90
  8/20/2019     8/20/2018        8/19/2019      239    0.5580      0.5542       0.0157     1.937    -0.12%       1.543          12.51        1.383          11.89
  8/21/2019     8/21/2018        8/20/2019      239    0.5577      0.5539       0.0157     1.935    -0.11%       1.544          12.51        1.380          11.87
  8/22/2019     8/22/2018        8/21/2019      239    0.5566      0.5528       0.0157     1.932    -0.12%       1.542          12.49        1.378          11.85
  8/23/2019     8/23/2018        8/22/2019      239    0.5578      0.5540       0.0157     1.928    -0.11%       1.536          12.44        1.387          11.95
  8/26/2019     8/26/2018        8/25/2019      238    0.5585      0.5547       0.0158     1.930    -0.10%       1.541          12.46        1.385          11.92
  8/27/2019     8/27/2018        8/26/2019      239    0.5585      0.5547       0.0157     1.930    -0.10%       1.540          12.49        1.385          11.94
  8/28/2019     8/28/2018        8/27/2019      239    0.5536      0.5499       0.0158     1.920    -0.10%       1.538          12.39        1.373          11.80


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   8/29/2019     8/29/2018        8/28/2019      239    0.5537      0.5499       0.0158     1.929    -0.09%       1.540          12.42        1.368          11.77
   8/30/2019     8/30/2018        8/29/2019      239    0.5541      0.5503       0.0158     1.925    -0.09%       1.538          12.44        1.366          11.77
   9/3/2019      9/3/2018         9/2/2019       238    0.5536      0.5498       0.0158     1.926    -0.09%       1.535          12.38        1.368          11.75
   9/4/2019      9/4/2018         9/3/2019       239    0.5480      0.5441       0.0159     1.917    -0.08%       1.532          12.31        1.352          11.60
   9/5/2019      9/5/2018         9/4/2019       239    0.5485      0.5446       0.0159     1.935    -0.09%       1.541          12.41        1.348          11.52
   9/6/2019      9/6/2018         9/5/2019       239    0.5558      0.5520       0.0159     1.933    -0.08%       1.572          12.69        1.356          11.59
   9/9/2019      9/9/2018         9/8/2019       238    0.5550      0.5512       0.0160     1.932    -0.07%       1.571          12.65        1.351          11.53
   9/10/2019     9/10/2018        9/9/2019       239    0.5580      0.5543       0.0159     1.935    -0.06%       1.572          12.68        1.348          11.71
   9/11/2019     9/11/2018        9/10/2019      239    0.5591      0.5554       0.0159     1.932    -0.05%       1.564          12.64        1.344          11.81
   9/12/2019     9/12/2018        9/11/2019      239    0.5600      0.5562       0.0159     1.928    -0.05%       1.560          12.64        1.347          11.85
   9/13/2019     9/13/2018        9/12/2019      239    0.5595      0.5557       0.0159     1.911    -0.06%       1.557          12.61        1.348          11.86
   9/16/2019     9/16/2018        9/15/2019      238    0.5652      0.5615       0.0159     1.921    -0.05%       1.557          12.64        1.354          12.07
   9/17/2019     9/17/2018        9/16/2019      239    0.5662      0.5625       0.0159     1.921    -0.06%       1.561          12.70        1.356          12.11
   9/18/2019     9/18/2018        9/17/2019      239    0.5673      0.5637       0.0159     1.917    -0.07%       1.559          12.69        1.362          12.19
   9/19/2019     9/19/2018        9/18/2019      239    0.5671      0.5634       0.0159     1.914    -0.08%       1.560          12.68        1.362          12.18
   9/20/2019     9/20/2018        9/19/2019      239    0.5654      0.5617       0.0159     1.916    -0.08%       1.559          12.69        1.360          12.09
   9/23/2019     9/23/2018        9/22/2019      238    0.5655      0.5618       0.0159     1.913    -0.09%       1.555          12.63        1.363          12.10
   9/24/2019     9/24/2018        9/23/2019      239    0.5679      0.5643       0.0159     1.908    -0.10%       1.562          12.71        1.369          12.20
   9/25/2019     9/25/2018        9/24/2019      239    0.5681      0.5644       0.0159     1.903    -0.11%       1.564          12.70        1.372          12.21
   9/26/2019     9/26/2018        9/25/2019      239    0.5683      0.5647       0.0159     1.906    -0.10%       1.560          12.68        1.371          12.24
   9/27/2019     9/27/2018        9/26/2019      239    0.5675      0.5639       0.0159     1.899    -0.10%       1.559          12.65        1.373          12.23
   9/30/2019     9/30/2018        9/29/2019      238    0.5652      0.5615       0.0159     1.907    -0.08%       1.554          12.59        1.370          12.12
   10/1/2019     10/1/2018        9/30/2019      239    0.5649      0.5613       0.0159     1.913    -0.08%       1.554          12.61        1.370          12.14
   10/2/2019     10/2/2018        10/1/2019      239    0.5659      0.5622       0.0159     1.908    -0.08%       1.562          12.67        1.371          12.13
   10/4/2019     10/4/2018        10/3/2019      239    0.5624      0.5587       0.0160     1.913    -0.08%       1.538          12.58        1.366          12.04
   10/7/2019     10/7/2018        10/6/2019      238    0.5613      0.5575       0.0160     1.928    -0.10%       1.536          12.54        1.389          11.97
   10/8/2019     10/8/2018        10/7/2019      239    0.5602      0.5565       0.0160     1.923    -0.11%       1.534          12.54        1.386          11.97
   10/9/2019     10/9/2018        10/8/2019      239    0.5617      0.5579       0.0160     1.927    -0.11%       1.536          12.61        1.385          11.97
  10/10/2019    10/10/2018        10/9/2019      239    0.5605      0.5568       0.0160     1.927    -0.11%       1.534          12.59        1.382          11.94
  10/11/2019    10/11/2018       10/10/2019      239    0.5630      0.5593       0.0160     1.914    -0.11%       1.560          12.75        1.381          11.90
  10/14/2019    10/14/2018       10/13/2019      238    0.5779      0.5743       0.0159     1.935    -0.11%       1.633          13.25        1.394          12.09
  10/15/2019    10/15/2018       10/14/2019      239    0.5759      0.5723       0.0160     1.926    -0.10%       1.627          13.21        1.394          12.08
  10/16/2019    10/16/2018       10/15/2019      239    0.5794      0.5758       0.0159     1.942    -0.10%       1.634          13.32        1.392          12.15
  10/17/2019    10/17/2018       10/16/2019      239    0.5797      0.5761       0.0159     1.946    -0.10%       1.635          13.31        1.398          12.18
  10/18/2019    10/18/2018       10/17/2019      239    0.5789      0.5753       0.0159     1.944    -0.10%       1.635          13.31        1.394          12.14
  10/21/2019    10/21/2018       10/20/2019      238    0.5777      0.5741       0.0160     1.944    -0.10%       1.632          13.24        1.391          12.09
  10/22/2019    10/22/2018       10/21/2019      239    0.5804      0.5768       0.0159     1.945    -0.09%       1.636          13.31        1.393          12.21
  10/23/2019    10/23/2018       10/22/2019      239    0.5783      0.5747       0.0160     1.939    -0.10%       1.634          13.24        1.394          12.18
  10/24/2019    10/24/2018       10/23/2019      239    0.5824      0.5789       0.0159     1.933    -0.10%       1.658          13.37        1.397          12.27
  10/25/2019    10/25/2018       10/24/2019      240    0.5814      0.5779       0.0159     1.927    -0.11%       1.654          13.34        1.400          12.30
  10/28/2019    10/28/2018       10/27/2019      239    0.5827      0.5791       0.0158     1.943    -0.10%       1.647          13.25        1.418          12.41
  10/29/2019    10/29/2018       10/28/2019      240    0.5825      0.5790       0.0158     1.942    -0.10%       1.647          13.28        1.417          12.43
  10/30/2019    10/30/2018       10/29/2019      240    0.5882      0.5847       0.0157     1.936    -0.11%       1.647          13.36        1.447          12.65


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

               Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                       Num Obs Model R2                                     Intercept
                   Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  10/31/2019    10/31/2018       10/30/2019      239    0.5894      0.5860       0.0157     1.917    -0.11%       1.647          13.35        1.454          12.67
   11/1/2019     11/1/2018       10/31/2019      239    0.5940      0.5906       0.0156     1.889    -0.11%       1.673          13.47        1.461          12.80
   11/4/2019     11/4/2018        11/3/2019      238    0.6009      0.5975       0.0155     1.912    -0.13%       1.671          13.64        1.457          12.95
   11/5/2019     11/5/2018        11/4/2019      239    0.6035      0.6002       0.0154     1.914    -0.12%       1.681          13.74        1.464          13.06
   11/6/2019     11/6/2018        11/5/2019      239    0.6049      0.6016       0.0154     1.919    -0.11%       1.680          13.74        1.470          13.13
   11/7/2019     11/7/2018        11/6/2019      239    0.6051      0.6017       0.0154     1.920    -0.10%       1.685          13.79        1.466          13.10
   11/8/2019     11/8/2018        11/7/2019      239    0.6057      0.6024       0.0154     1.900    -0.09%       1.697          13.81        1.468          13.10
  11/11/2019    11/11/2018       11/10/2019      238    0.6118      0.6085       0.0153     1.908    -0.09%       1.701          13.87        1.493          13.34
  11/12/2019    11/12/2018       11/11/2019      239    0.6118      0.6085       0.0153     1.909    -0.10%       1.701          13.90        1.493          13.37
  11/13/2019    11/13/2018       11/12/2019      239    0.6088      0.6055       0.0153     1.908    -0.09%       1.696          13.76        1.493          13.34
  11/14/2019    11/14/2018       11/13/2019      239    0.6105      0.6072       0.0154     1.908    -0.11%       1.703          13.77        1.506          13.42
  11/15/2019    11/15/2018       11/14/2019      239    0.6106      0.6073       0.0154     1.904    -0.12%       1.709          13.77        1.506          13.43
  11/18/2019    11/18/2018       11/17/2019      238    0.6114      0.6081       0.0154     1.910    -0.12%       1.709          13.76        1.507          13.43
  11/19/2019    11/19/2018       11/18/2019      239    0.6113      0.6080       0.0154     1.912    -0.11%       1.710          13.79        1.506          13.45
  11/20/2019    11/20/2018       11/19/2019      239    0.6107      0.6074       0.0154     1.910    -0.12%       1.713          13.79        1.506          13.42
  11/21/2019    11/21/2018       11/20/2019      239    0.6070      0.6037       0.0153     1.916    -0.11%       1.689          13.53        1.507          13.47
  11/22/2019    11/22/2018       11/21/2019      239    0.6056      0.6023       0.0153     1.914    -0.10%       1.680          13.46        1.507          13.46
  11/25/2019    11/25/2018       11/24/2019      239    0.6050      0.6017       0.0153     1.915    -0.10%       1.678          13.42        1.508          13.47
  11/26/2019    11/26/2018       11/25/2019      240    0.6045      0.6012       0.0153     1.913    -0.11%       1.672          13.41        1.509          13.51
  11/27/2019    11/27/2018       11/26/2019      240    0.6006      0.5973       0.0153     1.926    -0.13%       1.654          13.29        1.498          13.41
  11/29/2019    11/29/2018       11/28/2019      239    0.6028      0.5994       0.0152     1.910    -0.12%       1.659          13.33        1.498          13.43
   12/2/2019     12/2/2018        12/1/2019      238    0.6113      0.6079       0.0150     1.956    -0.10%       1.709          13.85        1.471          13.33
   12/3/2019     12/3/2018        12/2/2019      239    0.6114      0.6081       0.0150     1.957    -0.09%       1.707          13.90        1.470          13.35
   12/4/2019     12/4/2018        12/3/2019      239    0.6101      0.6068       0.0150     1.961    -0.10%       1.703          13.81        1.466          13.36
   12/5/2019     12/5/2018        12/4/2019      239    0.6087      0.6054       0.0150     1.944    -0.09%       1.699          13.78        1.468          13.31
   12/6/2019     12/6/2018        12/5/2019      240    0.6086      0.6053       0.0150     1.943    -0.09%       1.699          13.81        1.467          13.33
   12/9/2019     12/9/2018        12/8/2019      239    0.6123      0.6090       0.0148     1.968    -0.10%       1.813          13.85        1.470          13.45
  12/10/2019    12/10/2018        12/9/2019      240    0.6118      0.6086       0.0148     1.974    -0.10%       1.812          13.87        1.469          13.46
  12/11/2019    12/11/2018       12/10/2019      240    0.6032      0.5998       0.0148     1.974    -0.09%       1.784          13.41        1.467          13.43
  12/12/2019    12/12/2018       12/11/2019      240    0.6018      0.5985       0.0148     1.931    -0.09%       1.786          13.33        1.469          13.44
  12/13/2019    12/13/2018       12/12/2019      240    0.6170      0.6138       0.0144     1.993    -0.09%       1.761          13.45        1.502          14.17
  12/16/2019    12/16/2018       12/15/2019      239    0.6174      0.6141       0.0144     1.989    -0.11%       1.786          13.50        1.503          14.09
  12/17/2019    12/17/2018       12/16/2019      240    0.6197      0.6165       0.0144     1.991    -0.11%       1.800          13.67        1.506          14.12
  12/18/2019    12/18/2018       12/17/2019      240    0.6192      0.6160       0.0144     1.992    -0.10%       1.792          13.60        1.508          14.16
  12/19/2019    12/19/2018       12/18/2019      240    0.6192      0.6160       0.0144     1.988    -0.11%       1.811          13.66        1.507          14.10
  12/20/2019    12/20/2018       12/19/2019      240    0.6180      0.6148       0.0144     1.984    -0.09%       1.814          13.66        1.501          14.03
  12/23/2019    12/23/2018       12/22/2019      239    0.6127      0.6095       0.0142     2.004    -0.09%       1.764          12.97        1.521          14.32
  12/27/2019    12/27/2018       12/26/2019      240    0.6129      0.6096       0.0142     1.997    -0.10%       1.764          12.98        1.525          14.38
   1/2/2020      1/2/2019         1/1/2020       240    0.6084      0.6051       0.0142     1.976    -0.10%       1.736          12.71        1.523          14.38
   1/3/2020      1/3/2019         1/2/2020       240    0.5913      0.5879       0.0146     1.956    -0.07%       1.678          11.79        1.545          14.28
   1/6/2020      1/6/2019         1/5/2020       239    0.5867      0.5832       0.0146     2.006    -0.09%       1.648          11.48        1.539          14.26
   1/7/2020      1/7/2019         1/6/2020       240    0.5870      0.5835       0.0145     2.006    -0.09%       1.649          11.52        1.539          14.29
   1/8/2020      1/8/2019         1/7/2020       240    0.5771      0.5736       0.0148     1.972    -0.07%       1.663          11.34        1.528          13.96


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  1/9/2020      1/9/2019         1/8/2020       240    0.5773      0.5738       0.0148     1.895    -0.06%       1.661          11.29        1.545          14.01
  1/10/2020     1/10/2019        1/9/2020       240    0.5854      0.5819       0.0146     1.930    -0.05%       1.717          11.75        1.528          14.02
  1/13/2020     1/13/2019        1/12/2020      239    0.5848      0.5813       0.0147     1.926    -0.05%       1.717          11.71        1.523          13.97
  1/14/2020     1/14/2019        1/13/2020      240    0.5841      0.5806       0.0147     1.928    -0.06%       1.717          11.72        1.524          13.98
  1/15/2020     1/15/2019        1/14/2020      240    0.5870      0.5835       0.0146     1.930    -0.05%       1.722          11.77        1.526          14.08
  1/16/2020     1/16/2019        1/15/2020      240    0.5888      0.5853       0.0146     1.916    -0.06%       1.719          11.74        1.520          14.20
  1/17/2020     1/17/2019        1/16/2020      240    0.5715      0.5679       0.0145     1.882    -0.09%       1.680          11.56        1.471          13.51
  1/21/2020     1/21/2019        1/20/2020      239    0.5696      0.5660       0.0144     1.896    -0.08%       1.668          11.43        1.460          13.48
  1/22/2020     1/22/2019        1/21/2020      240    0.5702      0.5665       0.0144     1.896    -0.08%       1.669          11.46        1.460          13.53
  1/23/2020     1/23/2019        1/22/2020      240    0.5668      0.5632       0.0144     1.882    -0.07%       1.666          11.37        1.454          13.45
  1/24/2020     1/24/2019        1/23/2020      240    0.5626      0.5589       0.0145     1.834    -0.07%       1.656          11.26        1.450          13.34
  1/27/2020     1/27/2019        1/26/2020      239    0.5602      0.5564       0.0145     1.792    -0.06%       1.641          11.13        1.440          13.30
  1/28/2020     1/28/2019        1/27/2020      240    0.5584      0.5546       0.0145     1.782    -0.05%       1.600          11.06        1.443          13.32
  1/29/2020     1/29/2019        1/28/2020      240    0.5591      0.5554       0.0145     1.789    -0.05%       1.609          11.09        1.445          13.33
  1/30/2020     1/30/2019        1/29/2020      240    0.5581      0.5544       0.0145     1.788    -0.05%       1.610          11.08        1.443          13.29
  1/31/2020     1/31/2019        1/30/2020      239    0.5580      0.5543       0.0145     1.788    -0.05%       1.616          11.09        1.442          13.23
  2/3/2020      2/3/2019         2/2/2020       239    0.5521      0.5483       0.0145     1.792    -0.02%       1.690          11.52        1.424          12.57
  2/4/2020      2/4/2019         2/3/2020       240    0.5494      0.5456       0.0146     1.790    -0.03%       1.686          11.47        1.424          12.54
  2/5/2020      2/5/2019         2/4/2020       240    0.5464      0.5426       0.0146     1.772    -0.04%       1.659          11.36        1.425          12.51
  2/6/2020      2/6/2019         2/5/2020       240    0.5479      0.5441       0.0146     1.783    -0.04%       1.658          11.35        1.433          12.59
  2/7/2020      2/7/2019         2/6/2020       240    0.4932      0.4889       0.0165     1.594     0.00%       1.733          10.49        1.417          10.98
  2/10/2020     2/10/2019        2/9/2020       239    0.4843      0.4800       0.0164     1.759     0.04%       1.654          9.98         1.414          11.05
  2/11/2020     2/11/2019        2/10/2020      240    0.4844      0.4800       0.0164     1.770     0.04%       1.656          10.01        1.415          11.07
  2/12/2020     2/12/2019        2/11/2020      240    0.4853      0.4809       0.0164     1.778     0.04%       1.660          10.04        1.416          11.08
  2/13/2020     2/13/2019        2/12/2020      240    0.4836      0.4792       0.0164     1.764     0.05%       1.665          9.98         1.420          11.06
  2/14/2020     2/14/2019        2/13/2020      240    0.4802      0.4758       0.0165     1.748     0.06%       1.662          9.91         1.416          10.99
  2/18/2020     2/18/2019        2/17/2020      239    0.4700      0.4655       0.0165     1.753     0.06%       1.629          9.67         1.402          10.76
  2/19/2020     2/19/2019        2/18/2020      240    0.4717      0.4673       0.0165     1.753     0.05%       1.636          9.76         1.397          10.79
  2/20/2020     2/20/2019        2/19/2020      240    0.4661      0.4616       0.0166     1.751     0.05%       1.637          9.73         1.389          10.60
  2/21/2020     2/21/2019        2/20/2020      240    0.4658      0.4612       0.0166     1.758     0.06%       1.625          9.70         1.388          10.61
  2/24/2020     2/24/2019        2/23/2020      239    0.4656      0.4611       0.0167     1.748     0.05%       1.640          9.70         1.394          10.56
  2/25/2020     2/25/2019        2/24/2020      240    0.4784      0.4740       0.0167     1.741     0.04%       1.682          10.35        1.387          10.50
  2/26/2020     2/26/2019        2/25/2020      240    0.4784      0.4740       0.0167     1.747     0.04%       1.665          10.37        1.387          10.48
  2/27/2020     2/27/2019        2/26/2020      240    0.4756      0.4712       0.0168     1.741     0.04%       1.658          10.31        1.383          10.43
  2/28/2020     2/28/2019        2/27/2020      240    0.4929      0.4886       0.0167     1.754     0.03%       1.682          11.07        1.376          10.38
  3/2/2020      3/2/2019         3/1/2020       239    0.5048      0.5006       0.0167     1.762     0.02%       1.660          11.48        1.372          10.43
  3/3/2020      3/3/2019         3/2/2020       240    0.5021      0.4979       0.0168     1.733    -0.01%       1.519          10.67        1.437          11.19
  3/4/2020      3/4/2019         3/3/2020       241    0.5015      0.4973       0.0169     1.720    -0.02%       1.488          10.46        1.457          11.40
  3/5/2020      3/5/2019         3/4/2020       241    0.5015      0.4973       0.0169     1.731    -0.03%       1.488          10.46        1.453          11.40
  3/6/2020      3/6/2019         3/5/2020       241    0.5044      0.5002       0.0169     1.731    -0.04%       1.481          10.41        1.460          11.57
  3/9/2020      3/9/2019         3/8/2020       239    0.5035      0.4993       0.0169     1.700    -0.03%       1.448          10.47        1.439          11.39
  3/10/2020     3/10/2019        3/9/2020       240    0.5632      0.5595       0.0168     1.706    -0.05%       1.623          12.87        1.441          11.83
  3/11/2020     3/11/2019        3/10/2020      241    0.5632      0.5596       0.0168     1.706    -0.04%       1.600          12.79        1.439          11.97


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/12/2020     3/12/2019        3/11/2020      241    0.5606      0.5569       0.0167     1.684    -0.04%       1.569          12.57        1.403          12.07
  3/13/2020     3/13/2019        3/12/2020      241    0.6323      0.6292       0.0169     1.677    -0.03%       1.707          16.51        1.374          11.70
  3/16/2020     3/16/2019        3/15/2020      239    0.6355      0.6324       0.0170     1.655     0.00%       1.713          16.45        1.309          11.86
  3/17/2020     3/17/2019        3/16/2020      240    0.6327      0.6296       0.0171     1.677    -0.01%       1.716          16.51        1.271          11.64
  3/18/2020     3/18/2019        3/17/2020      241    0.6349      0.6319       0.0171     1.665     0.02%       1.711          16.44        1.294          11.99
  3/19/2020     3/19/2019        3/18/2020      241    0.5955      0.5921       0.0179     1.533     0.02%       1.578          15.05        1.260          11.13
  3/20/2020     3/20/2019        3/19/2020      241    0.5945      0.5911       0.0181     1.516     0.06%       1.601          15.10        1.261          11.00
  3/23/2020     3/23/2019        3/22/2020      239    0.5902      0.5867       0.0181     1.554     0.09%       1.606          15.06        1.252          10.63
  3/24/2020     3/24/2019        3/23/2020      240    0.5553      0.5515       0.0189     1.532     0.11%       1.495          13.99        1.223          10.01
  3/25/2020     3/25/2019        3/24/2020      241    0.5884      0.5849       0.0188     1.604     0.11%       1.494          15.48        1.223          10.03
  3/26/2020     3/26/2019        3/25/2020      241    0.5909      0.5874       0.0188     1.605     0.10%       1.468          15.55        1.212          10.09
  3/27/2020     3/27/2019        3/26/2020      241    0.5677      0.5640       0.0194     1.578     0.07%       1.427          14.85        1.183          9.59
  3/30/2020     3/30/2019        3/29/2020      239    0.5787      0.5751       0.0193     1.587     0.06%       1.448          15.11        1.196          9.80
  3/31/2020     3/31/2019        3/30/2020      240    0.5788      0.5753       0.0193     1.590     0.05%       1.439          15.07        1.201          9.93
  4/1/2020      4/1/2019         3/31/2020      241    0.5775      0.5739       0.0193     1.590     0.05%       1.441          15.11        1.188          9.85
  4/2/2020      4/2/2019         4/1/2020       241    0.5764      0.5729       0.0194     1.558     0.04%       1.436          15.26        1.143          9.55
  4/3/2020      4/3/2019         4/2/2020       241    0.5755      0.5719       0.0195     1.583     0.03%       1.436          15.24        1.141          9.51
  4/6/2020      4/6/2019         4/5/2020       239    0.5768      0.5732       0.0195     1.584     0.04%       1.439          15.22        1.147          9.49
  4/7/2020      4/7/2019         4/6/2020       240    0.5825      0.5789       0.0197     1.582     0.05%       1.461          15.67        1.117          9.23
  4/8/2020      4/8/2019         4/7/2020       241    0.5873      0.5838       0.0197     1.609     0.05%       1.458          15.93        1.114          9.22
  4/9/2020      4/9/2019         4/8/2020       241    0.5851      0.5817       0.0197     1.599     0.05%       1.459          15.87        1.109          9.15
  4/14/2020     4/14/2019        4/13/2020      238    0.5710      0.5674       0.0201     1.536     0.02%       1.447          15.52        1.040          8.49
  4/15/2020     4/15/2019        4/14/2020      239    0.5569      0.5532       0.0204     1.608     0.02%       1.446          15.31        0.923          7.89
  4/16/2020     4/16/2019        4/15/2020      239    0.5639      0.5602       0.0207     1.680     0.00%       1.474          15.49        0.950          8.07
  4/17/2020     4/17/2019        4/16/2020      239    0.5563      0.5525       0.0208     1.719     0.00%       1.474          15.36        0.899          7.73
  4/20/2020     4/20/2019        4/19/2020      238    0.5604      0.5566       0.0209     1.747     0.00%       1.480          15.47        0.901          7.76
  4/21/2020     4/21/2019        4/20/2020      239    0.5582      0.5545       0.0209     1.739    -0.01%       1.477          15.44        0.899          7.74
  4/22/2020     4/22/2019        4/21/2020      240    0.5647      0.5610       0.0208     1.744    -0.01%       1.475          15.72        0.899          7.76
  4/23/2020     4/23/2019        4/22/2020      241    0.5652      0.5616       0.0208     1.744    -0.01%       1.472          15.77        0.899          7.78
  4/24/2020     4/24/2019        4/23/2020      241    0.5659      0.5623       0.0208     1.743     0.01%       1.480          15.86        0.890          7.67
  4/27/2020     4/27/2019        4/26/2020      240    0.5655      0.5619       0.0211     1.756    -0.01%       1.490          15.79        0.903          7.69
  4/28/2020     4/28/2019        4/27/2020      241    0.5786      0.5751       0.0214     1.815     0.03%       1.535          16.14        0.958          8.15
  4/29/2020     4/29/2019        4/28/2020      242    0.5804      0.5769       0.0213     1.830     0.04%       1.539          16.20        0.965          8.25
  4/30/2020     4/30/2019        4/29/2020      241    0.5811      0.5776       0.0214     1.832     0.04%       1.539          16.18        0.973          8.27
  5/4/2020      5/4/2019         5/3/2020       239    0.5846      0.5811       0.0215     1.839     0.03%       1.547          16.17        0.990          8.41
  5/5/2020      5/5/2019         5/4/2020       240    0.5884      0.5849       0.0215     1.849     0.03%       1.547          16.37        0.986          8.41
  5/6/2020      5/6/2019         5/5/2020       241    0.5884      0.5849       0.0214     1.851     0.02%       1.541          16.41        0.987          8.43
  5/7/2020      5/7/2019         5/6/2020       241    0.5894      0.5860       0.0214     1.853     0.01%       1.542          16.42        0.984          8.49
  5/8/2020      5/8/2019         5/7/2020       241    0.5904      0.5870       0.0214     1.853     0.03%       1.543          16.42        0.986          8.56
  5/11/2020     5/11/2019        5/10/2020      239    0.5890      0.5855       0.0215     1.850     0.01%       1.537          16.28        0.989          8.55
  5/12/2020     5/12/2019        5/11/2020      240    0.5900      0.5866       0.0215     1.852     0.00%       1.537          16.32        0.988          8.65
  5/13/2020     5/13/2019        5/12/2020      241    0.5862      0.5828       0.0215     1.840     0.01%       1.538          16.27        0.970          8.51
  5/14/2020     5/14/2019        5/13/2020      240    0.5856      0.5821       0.0216     1.840     0.01%       1.537          16.21        0.971          8.49


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/15/2020     5/15/2019        5/14/2020      240    0.5854      0.5819       0.0216     1.853    0.02%        1.531          16.18        0.968          8.53
  5/18/2020     5/18/2019        5/17/2020      238    0.5824      0.5788       0.0218     1.841    0.02%        1.526          16.00        0.971          8.46
  5/19/2020     5/19/2019        5/18/2020      239    0.5922      0.5888       0.0219     1.860    0.03%        1.558          16.48        0.973          8.44
  5/20/2020     5/20/2019        5/19/2020      240    0.5919      0.5885       0.0218     1.881    0.03%        1.558          16.51        0.971          8.44
  5/21/2020     5/21/2019        5/20/2020      240    0.5907      0.5872       0.0219     1.882    0.05%        1.560          16.48        0.969          8.40
  5/22/2020     5/22/2019        5/21/2020      240    0.5910      0.5875       0.0219     1.895    0.05%        1.561          16.49        0.968          8.39
  5/26/2020     5/26/2019        5/25/2020      238    0.5912      0.5877       0.0220     1.902    0.07%        1.560          16.43        0.966          8.36
  5/27/2020     5/27/2019        5/26/2020      239    0.6022      0.5989       0.0222     1.880    0.10%        1.599          16.79        1.003          8.69
  5/28/2020     5/28/2019        5/27/2020      240    0.6036      0.6003       0.0221     1.908    0.12%        1.595          16.78        0.988          8.91
  5/29/2020     5/29/2019        5/28/2020      240    0.6038      0.6005       0.0221     1.910    0.11%        1.583          16.73        0.986          9.02
  6/2/2020      6/2/2019         6/1/2020       238    0.6042      0.6008       0.0222     1.908    0.10%        1.587          16.66        0.990          9.01
  6/3/2020      6/3/2019         6/2/2020       239    0.6064      0.6031       0.0222     1.910    0.11%        1.595          16.80        0.990          9.02
  6/4/2020      6/4/2019         6/3/2020       239    0.6053      0.6020       0.0223     1.912    0.12%        1.592          16.80        0.977          8.93
  6/5/2020      6/5/2019         6/4/2020       239    0.6034      0.6000       0.0223     1.916    0.11%        1.587          16.73        0.975          8.89
  6/8/2020      6/8/2019         6/7/2020       237    0.6072      0.6039       0.0223     1.922    0.15%        1.603          16.94        0.943          8.65
  6/9/2020      6/9/2019         6/8/2020       238    0.6070      0.6037       0.0223     1.933    0.17%        1.604          16.95        0.948          8.71
  6/10/2020     6/10/2019        6/9/2020       239    0.6086      0.6053       0.0223     1.946    0.15%        1.604          16.95        0.963          8.92
  6/11/2020     6/11/2019        6/10/2020      240    0.6060      0.6027       0.0223     1.951    0.15%        1.603          16.92        0.954          8.85
  6/12/2020     6/12/2019        6/11/2020      240    0.6115      0.6082       0.0223     1.950    0.14%        1.610          17.18        0.940          8.82
  6/15/2020     6/15/2019        6/14/2020      238    0.6104      0.6071       0.0224     1.944    0.16%        1.601          17.02        0.948          8.87
  6/16/2020     6/16/2019        6/15/2020      239    0.6103      0.6070       0.0224     1.946    0.17%        1.600          17.05        0.948          8.89
  6/17/2020     6/17/2019        6/16/2020      240    0.6099      0.6066       0.0224     1.945    0.15%        1.586          17.05        0.951          8.92
  6/18/2020     6/18/2019        6/17/2020      240    0.6099      0.6066       0.0224     1.946    0.15%        1.585          17.05        0.951          8.93
  6/19/2020     6/19/2019        6/18/2020      240    0.6103      0.6070       0.0223     1.954    0.13%        1.583          17.05        0.954          8.97
  6/22/2020     6/22/2019        6/21/2020      238    0.6099      0.6066       0.0224     1.954    0.14%        1.589          17.06        0.941          8.74
  6/23/2020     6/23/2019        6/22/2020      239    0.6099      0.6066       0.0223     1.954    0.14%        1.589          17.10        0.941          8.76
  6/24/2020     6/24/2019        6/23/2020      240    0.6106      0.6074       0.0223     1.953    0.14%        1.590          17.17        0.940          8.76
  6/25/2020     6/25/2019        6/24/2020      239    0.6104      0.6071       0.0223     1.952    0.15%        1.590          17.14        0.938          8.72
  6/26/2020     6/26/2019        6/25/2020      239    0.6109      0.6076       0.0224     1.946    0.16%        1.589          17.11        0.945          8.82
  6/29/2020     6/29/2019        6/28/2020      236    0.6111      0.6078       0.0224     1.945    0.13%        1.591          17.09        0.931          8.62
  6/30/2020     6/30/2019        6/29/2020      237    0.6098      0.6065       0.0224     1.934    0.15%        1.591          17.06        0.935          8.65
  7/1/2020      7/1/2019         6/30/2020      238    0.6098      0.6064       0.0224     1.943    0.14%        1.589          17.08        0.936          8.68
  7/2/2020      7/2/2019         7/1/2020       238    0.6107      0.6074       0.0224     1.944    0.14%        1.589          17.09        0.940          8.74
  7/6/2020      7/6/2019         7/5/2020       236    0.6129      0.6095       0.0224     1.907    0.12%        1.592          17.14        0.933          8.66
  7/7/2020      7/7/2019         7/6/2020       237    0.6133      0.6100       0.0223     1.904    0.12%        1.593          17.21        0.931          8.66
  7/8/2020      7/8/2019         7/7/2020       237    0.6133      0.6100       0.0223     1.904    0.12%        1.593          17.21        0.931          8.66
  7/9/2020      7/9/2019         7/8/2020       237    0.6188      0.6156       0.0221     1.951    0.14%        1.591          17.40        0.933          8.78
  7/10/2020     7/10/2019        7/9/2020       236    0.6223      0.6190       0.0219     1.964    0.16%        1.589          17.48        0.935          8.84
  7/13/2020     7/13/2019        7/12/2020      234    0.6232      0.6200       0.0220     1.966    0.15%        1.590          17.45        0.931          8.81
  7/14/2020     7/14/2019        7/13/2020      234    0.6232      0.6200       0.0220     1.966    0.15%        1.590          17.45        0.931          8.81
  7/15/2020     7/15/2019        7/14/2020      234    0.6232      0.6200       0.0220     1.966    0.15%        1.590          17.45        0.931          8.81
  7/16/2020     7/16/2019        7/15/2020      234    0.6239      0.6207       0.0220     1.967    0.14%        1.586          17.46        0.933          8.85
  7/17/2020     7/17/2019        7/16/2020      234    0.6271      0.6238       0.0218     1.957    0.12%        1.587          17.60        0.927          8.87


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

              Control Period   Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                      Num Obs Model R2                                     Intercept
                  Begin             End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/20/2020     7/20/2019        7/19/2020      232    0.6287      0.6255       0.0219     1.964    0.13%        1.588          17.58        0.925          8.87
  7/21/2020     7/21/2019        7/20/2020      233    0.6280      0.6248       0.0218     1.959    0.14%        1.588          17.61        0.920          8.85
  7/22/2020     7/22/2019        7/21/2020      234    0.6137      0.6103       0.0223     1.936    0.11%        1.578          17.16        0.902          8.52
  7/23/2020     7/23/2019        7/22/2020      234    0.6134      0.6100       0.0223     1.991    0.11%        1.578          17.16        0.900          8.49
  7/24/2020     7/24/2019        7/23/2020      234    0.6119      0.6085       0.0223     1.994    0.09%        1.576          17.11        0.899          8.46
  7/27/2020     7/27/2019        7/26/2020      233    0.6126      0.6093       0.0223     1.996    0.09%        1.571          17.08        0.896          8.48
  7/28/2020     7/28/2019        7/27/2020      234    0.6128      0.6095       0.0223     1.994    0.08%        1.570          17.09        0.901          8.57
  7/29/2020     7/29/2019        7/28/2020      234    0.6128      0.6095       0.0223     1.994    0.08%        1.570          17.09        0.901          8.57
  7/30/2020     7/30/2019        7/29/2020      233    0.6130      0.6096       0.0223     1.995    0.08%        1.570          17.06        0.901          8.56
  7/31/2020     7/31/2019        7/30/2020      233    0.6131      0.6097       0.0223     1.986    0.08%        1.571          17.07        0.900          8.54
  8/3/2020      8/3/2019         8/2/2020       231    0.6158      0.6125       0.0223     1.998    0.06%        1.583          17.11        0.900          8.54
  8/4/2020      8/4/2019         8/3/2020       232    0.6162      0.6128       0.0223     1.994    0.06%        1.585          17.17        0.897          8.53
  8/5/2020      8/5/2019         8/4/2020       233    0.6162      0.6129       0.0223     1.996    0.06%        1.585          17.21        0.897          8.55
  8/6/2020      8/6/2019         8/5/2020       233    0.6154      0.6120       0.0223     1.990    0.05%        1.586          17.18        0.896          8.54
  8/7/2020      8/7/2019         8/6/2020       233    0.6156      0.6123       0.0223     1.994    0.05%        1.585          17.18        0.897          8.56
  8/10/2020     8/10/2019        8/9/2020       231    0.6135      0.6101       0.0223     1.983    0.06%        1.579          17.04        0.891          8.45
  8/11/2020     8/11/2019        8/10/2020      232    0.6150      0.6116       0.0222     1.983    0.08%        1.578          17.08        0.892          8.61
  8/12/2020     8/12/2019        8/11/2020      233    0.6158      0.6124       0.0222     1.982    0.08%        1.580          17.14        0.890          8.64
  8/13/2020     8/13/2019        8/12/2020      233    0.6183      0.6150       0.0220     2.002    0.10%        1.576          17.25        0.882          8.65
  8/14/2020     8/14/2019        8/13/2020      233    0.6188      0.6155       0.0220     2.002    0.09%        1.576          17.24        0.885          8.73
  8/17/2020     8/17/2019        8/16/2020      231    0.6154      0.6120       0.0220     2.000    0.10%        1.560          17.01        0.881          8.68
  8/18/2020     8/18/2019        8/17/2020      232    0.6157      0.6123       0.0219     2.001    0.09%        1.559          17.04        0.880          8.74
  8/19/2020     8/19/2019        8/18/2020      233    0.6158      0.6124       0.0219     2.001    0.09%        1.559          17.08        0.879          8.77
  8/20/2020     8/20/2019        8/19/2020      233    0.6149      0.6116       0.0219     1.999    0.09%        1.559          17.04        0.881          8.78
  8/21/2020     8/21/2019        8/20/2020      233    0.6158      0.6125       0.0219     2.006    0.09%        1.561          17.07        0.884          8.80
  8/24/2020     8/24/2019        8/23/2020      231    0.6155      0.6122       0.0220     2.004    0.07%        1.563          17.00        0.881          8.72
  8/25/2020     8/25/2019        8/24/2020      232    0.6165      0.6131       0.0220     2.005    0.08%        1.567          17.07        0.885          8.77
  8/26/2020     8/26/2019        8/25/2020      233    0.6164      0.6131       0.0220     2.010    0.08%        1.567          17.10        0.884          8.78
  8/27/2020     8/27/2019        8/26/2020      233    0.6157      0.6123       0.0220     2.005    0.08%        1.568          17.09        0.879          8.74
  8/28/2020     8/28/2019        8/27/2020      233    0.6156      0.6123       0.0220     2.012    0.07%        1.567          17.08        0.881          8.76
  8/31/2020     8/31/2019        8/30/2020      231    0.6153      0.6120       0.0221     2.007    0.07%        1.567          17.00        0.881          8.71
  9/1/2020      9/1/2019         8/31/2020      232    0.6157      0.6123       0.0221     2.003    0.06%        1.567          17.01        0.887          8.81
  9/2/2020      9/2/2019         9/1/2020       233    0.6157      0.6124       0.0220     2.005    0.05%        1.567          17.04        0.888          8.84
  9/3/2020      9/3/2019         9/2/2020       234    0.6149      0.6115       0.0220     2.001    0.05%        1.566          17.05        0.888          8.84
  9/4/2020      9/4/2019         9/3/2020       234    0.6163      0.6130       0.0220     2.007    0.05%        1.562          17.07        0.890          8.93
  9/8/2020      9/8/2019         9/7/2020       232    0.6109      0.6075       0.0221     2.004    0.07%        1.524          16.58        0.915          9.21
  9/9/2020      9/9/2019         9/8/2020       233    0.6113      0.6079       0.0221     2.026    0.06%        1.526          16.62        0.918          9.25
  9/10/2020     9/10/2019        9/9/2020       233    0.6106      0.6072       0.0221     2.030    0.04%        1.526          16.64        0.914          9.16
  9/11/2020     9/11/2019        9/10/2020      232    0.6103      0.6069       0.0222     2.030    0.03%        1.529          16.62        0.913          9.08
  9/14/2020     9/14/2019        9/13/2020      230    0.6099      0.6065       0.0223     2.023    0.03%        1.532          16.60        0.904          8.91
  9/15/2020     9/15/2019        9/14/2020      231    0.6096      0.6062       0.0222     2.021    0.03%        1.531          16.63        0.903          8.92
  9/16/2020     9/16/2019        9/15/2020      232    0.6105      0.6071       0.0222     2.022    0.01%        1.528          16.64        0.902          9.05
  9/17/2020     9/17/2019        9/16/2020      232    0.6100      0.6066       0.0222     2.022    0.03%        1.527          16.62        0.903          9.05


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Exhibit 11D
Deutsche Bank AG (GY)
Rolling Regression Model Results

                 Control Period   Control Period                        Model       Standard   Durbin                        Market1               Industry Residual2
     Date                                        Num Obs Model R2                                       Intercept
                     Begin             End                            Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/18/2020       9/18/2019        9/17/2020      232    0.6104        0.6070       0.0222     2.028    0.04%        1.525          16.65        0.899          9.03
   9/21/2020       9/19/2019        9/18/2020      232    0.6105        0.6071       0.0221     2.028    0.04%        1.526          16.66        0.899          9.02
   Thereafter      9/19/2019        9/18/2020      232    0.6105        0.6071       0.0221     2.028    0.04%        1.526          16.66        0.899          9.02

[1] Market Index: MSCI World Index (Bloomberg Ticker: "MXWO Index")
[2] Industry Index: See Exhibit 11F




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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  3/14/2017     18.15 €        -1.17%   -0.41%   -0.14%      -1.26%       0.08%   1.83%      0.05       3.69%
  3/15/2017     18.31 €         0.88%   0.50%     0.10%      1.28%       -0.40%   1.82%     -0.22      17.13%
  3/16/2017     18.13 €        -0.96%   0.77%    -1.31%      -0.34%      -0.61%   1.82%     -0.34      26.31%
  3/17/2017     17.86 €        -1.49%   0.03%    -1.12%      -1.76%       0.27%   1.81%      0.15      11.86%
  3/20/2017     17.20 €        -3.72%   -0.19%   -0.46%      -1.23%      -2.49%   1.81%     -1.38      83.17%
  3/21/2017     16.01 €        -6.92%   -0.53%   -1.27%      -3.38%      -3.54%   1.81%     -1.96      94.87%
  3/22/2017     15.73 €        -1.72%   -0.58%   -0.42%      -2.20%       0.48%   1.82%      0.26      20.65%
  3/23/2017     15.76 €         0.19%   0.50%     0.12%      1.34%       -1.15%   1.82%     -0.63      47.06%
  3/24/2017     15.54 €        -1.43%   0.00%    -0.53%      -0.95%      -0.48%   1.82%     -0.26      20.84%
  3/27/2017     15.51 €        -0.19%   -0.35%    0.36%      -0.35%       0.16%   1.82%      0.09       6.96%
  3/28/2017     15.96 €         2.90%   0.60%     0.57%      2.29%        0.61%   1.82%      0.34      26.42%
  3/29/2017     16.17 €         1.32%   0.03%    -0.34%      -0.53%       1.85%   1.81%      1.02      69.00%
  3/30/2017     16.04 €        -0.80%   0.26%     0.26%      1.00%       -1.81%   1.82%     -0.99      67.90%
  3/31/2017     16.15 €         0.72%   -0.16%    0.28%      -0.01%       0.73%   1.81%      0.40      31.24%
   4/3/2017     15.70 €        -2.79%   -0.64%   -0.98%      -3.20%       0.42%   1.81%      0.23      18.15%
   4/4/2017     15.60 €        -0.67%   0.21%     0.00%      0.48%       -1.14%   1.81%     -0.63      47.27%
   4/5/2017     15.65 €         0.32%   0.35%    -0.31%      0.34%       -0.02%   1.81%     -0.01      0.87%
   4/6/2017     15.68 €         0.22%   -0.44%    0.06%      -1.06%       1.28%   1.81%      0.71      52.21%
   4/7/2017     15.53 €        -0.96%   -0.08%   -0.45%      -0.93%      -0.02%   1.81%     -0.01       1.01%
  4/10/2017     15.55 €         0.13%   0.05%    -0.45%      -0.61%       0.74%   1.81%      0.41      31.61%
  4/11/2017     15.31 €        -1.58%   -0.21%   -0.30%      -1.03%      -0.55%   1.80%     -0.30      23.85%
  4/12/2017     15.29 €        -0.13%   -0.01%   -0.44%      -0.75%       0.62%   1.80%      0.35      27.03%
  4/13/2017     15.13 €        -1.05%   -0.05%   -0.03%      -0.19%      -0.86%   1.80%     -0.48      36.63%
  4/18/2017     14.90 €        -1.49%   -0.28%   -0.58%      -1.63%       0.14%   1.80%      0.08       6.25%
  4/19/2017     15.20 €         2.01%   0.22%     0.57%      1.38%        0.64%   1.80%      0.35      27.59%
  4/20/2017     15.34 €         0.89%   0.21%    -0.19%      0.18%        0.71%   1.80%      0.39      30.63%
  4/21/2017     15.57 €         1.50%   -0.02%    0.00%      -0.13%       1.63%   1.79%      0.91      63.59%
  4/24/2017     16.99 €         9.16%   1.42%     1.03%      5.06%        4.10%   1.79%      2.29      97.68%
  4/25/2017     16.94 €        -0.29%   0.62%     0.75%      2.71%       -3.01%   1.81%     -1.66      90.23%
  4/26/2017     17.34 €         2.33%   0.25%    -0.69%      -0.49%       2.82%   1.81%      1.56      87.92%
  4/27/2017     16.70 €        -3.66%   -0.41%   -0.74%      -2.23%      -1.43%   1.82%     -0.79      56.75%
  4/28/2017     16.53 €        -1.02%   0.00%    -0.09%      -0.19%      -0.83%   1.82%     -0.46      35.18%
   5/2/2017     16.68 €         0.88%   0.33%    -0.86%      -0.56%       1.43%   1.82%      0.79      56.73%
   5/3/2017     16.80 €         0.75%   -0.17%    0.75%      0.70%        0.05%   1.81%      0.03       2.07%
   5/4/2017     17.20 €         2.35%   0.26%     0.96%      2.10%        0.26%   1.80%      0.14      11.27%
   5/5/2017     17.42 €         1.28%   0.35%    -0.92%      -0.55%       1.83%   1.80%      1.02      68.91%
   5/8/2017     17.44 €         0.14%   0.11%    -0.53%      -0.52%       0.67%   1.80%      0.37      28.88%
   5/9/2017     17.34 €        -0.60%   -0.04%    0.21%      0.21%       -0.81%   1.80%     -0.45      34.67%
  5/10/2017     17.49 €         0.87%   0.00%     0.16%      0.26%        0.61%   1.80%      0.34      26.51%
  5/11/2017     17.34 €        -0.86%   -0.34%    0.22%      -0.52%      -0.34%   1.80%     -0.19      15.09%
  5/12/2017     17.19 €        -0.87%   0.26%    -0.76%      -0.48%      -0.38%   1.79%     -0.21      16.90%
  5/15/2017     17.57 €         2.24%   0.47%     0.21%      1.50%        0.74%   1.79%      0.41      31.92%
  5/16/2017     17.46 €        -0.63%   0.20%    -0.08%      0.37%       -0.99%   1.79%     -0.55      42.03%
  5/17/2017     16.85 €        -3.49%   -0.81%   -1.69%      -4.64%       1.15%   1.79%      0.64      47.94%
  5/18/2017     16.81 €        -0.27%   -0.55%   -0.27%      -1.81%       1.55%   1.79%      0.87      61.22%
  5/19/2017     17.09 €         1.70%   0.81%     0.36%      2.61%       -0.92%   1.79%     -0.51      39.21%
  5/22/2017     16.99 €        -0.61%   0.37%    -1.07%      -0.66%       0.04%   1.79%      0.02       1.89%



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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  5/23/2017     17.12 €         0.79%   0.27%     0.15%      0.91%       -0.11%   1.78%     -0.06       5.01%
  5/24/2017     16.95 €        -0.99%   -0.11%    0.38%      0.25%       -1.24%   1.78%     -0.70      51.27%
  5/25/2017     16.85 €        -0.59%   0.47%    -0.95%      -0.22%      -0.37%   1.78%     -0.21      16.23%
  5/26/2017     16.49 €        -2.14%   -0.16%   -0.04%      -0.52%      -1.61%   1.78%     -0.91      63.38%
  5/30/2017     16.14 €        -2.15%   -0.02%   -0.61%      -1.04%      -1.12%   1.79%     -0.63      46.79%
  5/31/2017     15.58 €        -3.47%   -0.15%   -2.09%      -3.63%       0.16%   1.78%      0.09       7.24%
   6/1/2017     15.61 €         0.22%   0.47%    -0.21%      0.84%       -0.62%   1.78%     -0.35      27.06%
   6/2/2017     15.59 €        -0.13%   0.88%    -1.50%      -0.03%      -0.09%   1.78%     -0.05      4.22%
   6/6/2017     15.33 €        -1.67%   -0.31%    0.37%      -0.31%      -1.36%   1.78%     -0.76      55.32%
   6/7/2017     15.49 €         1.01%   -0.15%    1.10%      1.19%       -0.18%   1.78%     -0.10      8.06%
   6/8/2017     15.63 €         0.90%   -0.07%    1.58%      2.16%       -1.26%   1.78%     -0.71      52.08%
   6/9/2017     15.82 €         1.22%   0.27%     0.73%      1.79%       -0.57%   1.78%     -0.32      25.27%
  6/12/2017     15.46 €        -2.24%   -0.61%    0.52%      -0.85%      -1.40%   1.78%     -0.78      56.66%
  6/13/2017     15.57 €         0.68%   0.46%    -0.09%      1.03%       -0.35%   1.78%     -0.20      15.77%
  6/14/2017     15.28 €        -1.86%   0.26%    -1.97%      -2.33%       0.46%   1.77%      0.26      20.61%
  6/15/2017     15.12 €        -1.01%   -0.87%    2.17%      0.95%       -1.96%   1.77%     -1.10      72.96%
  6/16/2017     15.00 €        -0.79%   0.33%    -0.69%      -0.21%      -0.58%   1.78%     -0.33      25.75%
  6/19/2017     15.38 €         2.53%   0.73%    -0.32%      1.35%        1.18%   1.78%      0.67      49.34%
  6/20/2017     15.22 €        -1.07%   -0.43%    0.05%      -1.09%       0.02%   1.78%      0.01       0.87%
  6/21/2017     15.20 €        -0.13%   -0.30%   -0.24%      -1.19%       1.05%   1.77%      0.59      44.72%
  6/22/2017     15.05 €        -0.99%   0.18%    -0.78%      -0.74%      -0.25%   1.77%     -0.14      11.03%
  6/23/2017     14.90 €        -0.96%   0.08%    -0.32%      -0.34%      -0.62%   1.77%     -0.35      27.33%
  6/26/2017     15.04 €         0.94%   0.13%     0.10%      0.41%        0.53%   1.77%      0.30      23.64%
  6/27/2017     15.52 €         3.19%   -0.02%    1.62%      2.30%        0.90%   1.77%      0.51      38.70%
  6/28/2017     15.74 €         1.42%   0.16%     1.02%      1.90%       -0.48%   1.75%     -0.28      21.81%
  6/29/2017     15.83 €         0.54%   -0.47%    2.45%      2.61%       -2.07%   1.75%     -1.19      76.31%
  6/30/2017     15.53 €        -1.90%   -0.25%    0.31%      -0.21%      -1.69%   1.69%     -1.00      68.04%
   7/3/2017     16.10 €         3.67%   0.38%     1.60%      3.49%        0.18%   1.68%      0.11       8.66%
   7/5/2017     16.36 €         1.65%   -0.21%   -0.02%      -0.61%       2.26%   1.67%      1.35      82.06%
   7/6/2017     16.70 €         2.05%   -0.28%    0.85%      0.55%        1.50%   1.67%      0.90      62.95%
   7/7/2017     16.68 €        -0.09%   -0.15%   -0.33%      -0.86%       0.77%   1.66%      0.47      35.83%
  7/10/2017     16.58 €        -0.60%   0.33%    -0.66%      -0.07%      -0.53%   1.65%     -0.32      25.28%
  7/11/2017     16.59 €         0.06%   -0.26%   -0.23%      -1.02%       1.08%   1.64%      0.66      48.71%
  7/12/2017     16.44 €        -0.90%   1.00%    -1.39%      0.63%       -1.54%   1.65%     -0.93      64.81%
  7/13/2017     16.52 €         0.49%   0.18%    -0.02%      0.48%        0.01%   1.64%      0.00       0.24%
  7/14/2017     16.37 €        -0.91%   0.46%    -1.56%      -1.18%       0.27%   1.64%      0.17      13.25%
  7/17/2017     16.35 €        -0.12%   0.20%    -0.44%      -0.17%       0.05%   1.64%      0.03       2.20%
  7/18/2017     15.94 €        -2.51%   -0.07%   -0.96%      -1.65%      -0.86%   1.63%     -0.52      39.89%
  7/19/2017     15.95 €         0.03%   0.43%     0.07%      1.21%       -1.18%   1.63%     -0.72      52.98%
  7/20/2017     15.84 €        -0.66%   0.34%    -0.87%      -0.51%      -0.15%   1.63%     -0.09       7.35%
  7/21/2017     15.63 €        -1.36%   -0.29%   -0.32%      -1.23%      -0.13%   1.63%     -0.08       6.35%
  7/24/2017     16.01 €         2.46%   -0.15%    0.72%      0.75%        1.72%   1.63%      1.06      70.83%
  7/25/2017     16.40 €         2.44%   0.41%     1.72%      3.77%       -1.33%   1.63%     -0.82      58.67%
  7/26/2017     16.60 €         1.22%   0.07%    -0.29%      -0.27%       1.49%   1.63%      0.92      63.92%
  7/27/2017     15.53 €        -6.48%   0.18%    -0.73%      -0.68%      -5.80%   1.62%     -3.57      99.96%
  7/28/2017     15.41 €        -0.74%   -0.36%   -0.41%      -1.52%       0.78%   1.62%      0.48      37.03%
  7/31/2017     15.09 €        -2.08%   0.15%     0.17%      0.71%       -2.79%   1.61%     -1.73      91.51%



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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
   8/1/2017     15.32 €         1.49%   0.30%     0.70%      1.89%       -0.40%   1.62%     -0.25      19.52%
   8/2/2017     15.14 €        -1.14%   -0.04%   -0.21%      -0.39%      -0.76%   1.62%     -0.47      35.94%
   8/3/2017     15.28 €         0.92%   0.12%    -0.61%      -0.60%       1.53%   1.62%      0.94      65.39%
   8/4/2017     15.64 €         2.36%   -0.09%    1.51%      2.23%        0.13%   1.60%      0.08       6.22%
   8/7/2017     15.47 €        -1.09%   0.14%    -0.56%      -0.48%      -0.60%   1.60%     -0.38      29.25%
   8/8/2017     15.47 €        -0.03%   0.11%     0.52%      1.16%       -1.19%   1.60%     -0.74      54.12%
   8/9/2017     14.88 €        -3.78%   -0.65%   -1.15%      -3.37%      -0.41%   1.60%     -0.26      20.45%
  8/10/2017     14.42 €        -3.09%   -0.62%   -0.30%      -1.99%      -1.11%   1.60%     -0.69      51.09%
  8/11/2017     14.22 €        -1.39%   -0.47%   -0.85%      -2.53%       1.14%   1.57%      0.73      53.20%
  8/14/2017     14.66 €         3.09%   0.74%     0.27%      2.31%        0.78%   1.58%      0.50      37.97%
  8/15/2017     14.58 €        -0.55%   -0.14%    0.05%      -0.25%      -0.29%   1.57%     -0.19      14.72%
  8/16/2017     14.58 €         0.00%   0.29%    -0.52%      -0.08%       0.08%   1.57%      0.05       3.90%
  8/17/2017     14.11 €        -3.22%   -0.41%   -0.90%      -2.49%      -0.73%   1.57%     -0.47      35.85%
  8/18/2017     14.10 €        -0.07%   -0.79%    0.57%      -1.06%       0.99%   1.56%      0.63      47.33%
  8/21/2017     13.76 €        -2.41%   -0.07%   -1.12%      -1.96%      -0.45%   1.56%     -0.29      22.69%
  8/22/2017     13.74 €        -0.15%   0.62%    -0.05%      1.51%       -1.65%   1.56%     -1.06      70.96%
  8/23/2017     13.80 €         0.44%   0.03%     0.24%      0.49%       -0.05%   1.56%     -0.03       2.47%
  8/24/2017     13.81 €         0.04%   -0.22%    0.07%      -0.40%       0.44%   1.56%      0.28      22.08%
  8/25/2017     13.80 €        -0.07%   0.33%    -0.11%      0.64%       -0.72%   1.56%     -0.46      35.35%
  8/28/2017     13.71 €        -0.62%   0.02%    -0.70%      -1.09%       0.48%   1.56%      0.31      23.95%
  8/29/2017     13.31 €        -2.95%   -0.21%   -0.36%      -1.09%      -1.86%   1.56%     -1.20      76.80%
  8/30/2017     13.45 €         1.09%   0.18%     0.58%      1.39%       -0.30%   1.56%     -0.19      15.22%
  8/31/2017     13.47 €         0.15%   0.58%    -0.98%      -0.15%       0.30%   1.55%      0.19      15.41%
   9/1/2017     13.54 €         0.48%   0.48%     0.14%      1.40%       -0.91%   1.54%     -0.59      44.58%
   9/5/2017     13.22 €        -2.36%   -0.46%   -1.69%      -3.90%       1.54%   1.54%      1.00      67.96%
   9/6/2017     13.42 €         1.51%   0.06%    -0.12%      -0.08%       1.59%   1.54%      1.03      69.54%
   9/7/2017     13.26 €        -1.19%   0.35%    -1.98%      -2.26%       1.07%   1.55%      0.69      50.92%
   9/8/2017     13.34 €         0.64%   0.09%     0.76%      1.41%       -0.77%   1.55%     -0.50      38.18%
  9/11/2017     13.71 €         2.77%   0.63%     0.20%      1.99%        0.78%   1.52%      0.52      39.36%
  9/12/2017     14.20 €         3.57%   0.37%     1.21%      2.82%        0.75%   1.52%      0.50      37.98%
  9/13/2017     14.14 €        -0.42%   -0.14%    0.52%      0.32%       -0.75%   1.52%     -0.49      37.65%
  9/14/2017     14.05 €        -0.67%   0.05%     0.00%      0.09%       -0.76%   1.52%     -0.50      38.27%
  9/15/2017     13.81 €        -1.67%   0.04%    -0.35%      -0.50%      -1.18%   1.51%     -0.78      56.20%
  9/18/2017     13.86 €         0.33%   0.29%     0.83%      2.02%       -1.69%   1.47%     -1.15      74.74%
  9/19/2017     13.80 €        -0.40%   0.20%     0.38%      1.07%       -1.47%   1.48%     -1.00      67.93%
  9/20/2017     13.57 €        -1.67%   0.13%    -0.13%      0.14%       -1.81%   1.45%     -1.25      78.59%
  9/21/2017     13.94 €         2.69%   -0.25%    1.13%      0.96%        1.73%   1.45%      1.19      76.63%
  9/22/2017     13.90 €        -0.25%   -0.02%   -0.34%      -0.57%       0.31%   1.45%      0.22      17.16%
  9/25/2017     13.67 €        -1.69%   -0.25%   -0.60%      -1.61%      -0.08%   1.44%     -0.06       4.53%
  9/26/2017     13.63 €        -0.29%   -0.20%   -0.05%      -0.64%       0.34%   1.44%      0.24      18.93%
  9/27/2017     14.00 €         2.72%   0.07%     1.53%      2.53%        0.18%   1.41%      0.13      10.23%
  9/28/2017     14.37 €         2.68%   0.31%    -0.16%      0.63%        2.05%   1.41%      1.45      85.16%
  9/29/2017     14.63 €         1.81%   0.34%    -0.32%      0.48%        1.33%   1.41%      0.94      65.18%
  10/2/2017     14.49 €        -0.96%   0.22%    -0.01%      0.59%       -1.54%   1.36%     -1.14      74.33%
  10/4/2017     14.35 €        -0.97%   0.40%     0.07%      1.20%       -2.17%   1.36%     -1.60      88.85%
  10/5/2017     14.70 €         2.44%   0.11%    -0.04%      0.24%        2.20%   1.36%      1.61      89.22%
  10/6/2017     14.72 €         0.14%   -0.02%    0.17%      0.17%       -0.04%   1.37%     -0.03      2.06%



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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  10/9/2017     14.38 €        -2.34%   0.15%    -0.61%      -0.53%      -1.81%   1.37%     -1.32      81.14%
 10/10/2017     14.31 €        -0.49%   0.21%    -0.36%      0.01%       -0.50%   1.38%     -0.36      28.35%
 10/11/2017     14.32 €         0.10%   0.16%    -0.33%      -0.09%       0.19%   1.37%      0.14      11.28%
 10/12/2017     14.17 €        -1.05%   0.13%    -1.45%      -1.89%       0.84%   1.37%      0.61      45.86%
 10/13/2017     14.00 €        -1.24%   0.21%    -0.47%      -0.19%      -1.05%   1.37%     -0.76      55.36%
 10/16/2017     14.12 €         0.86%   0.02%     0.79%      1.19%       -0.34%   1.37%     -0.25      19.35%
 10/17/2017     14.25 €         0.96%   -0.15%    0.29%      -0.04%       1.00%   1.37%      0.73      53.31%
 10/18/2017     14.38 €         0.91%   0.16%     0.46%      1.09%       -0.18%   1.37%     -0.13      10.29%
 10/19/2017     14.18 €        -1.39%   -0.04%   -0.59%      -1.07%      -0.32%   1.37%     -0.23      18.23%
 10/20/2017     14.40 €         1.55%   0.15%     1.50%      2.63%       -1.07%   1.37%     -0.78      56.61%
 10/23/2017     14.24 €        -1.15%   0.05%    -0.06%      -0.03%      -1.11%   1.36%     -0.82      58.82%
 10/24/2017     14.66 €         2.99%   -0.08%    1.01%      1.19%        1.79%   1.35%      1.32      81.35%
 10/25/2017     14.54 €        -0.85%   -0.51%    0.39%      -0.94%       0.09%   1.36%      0.07       5.40%
 10/26/2017     14.40 €        -0.93%   0.29%     0.02%      0.76%       -1.69%   1.36%     -1.25      78.63%
 10/27/2017     14.16 €        -1.67%   0.29%    -0.84%      -0.53%      -1.14%   1.36%     -0.84      59.77%
 10/30/2017     13.95 €        -1.48%   0.07%    -0.64%      -0.84%      -0.64%   1.36%     -0.47      36.12%
  11/1/2017     14.17 €         1.58%   0.37%    -1.09%      -0.72%       2.29%   1.36%      1.68      90.65%
  11/2/2017     14.64 €         3.28%   -0.06%    0.73%      0.84%        2.44%   1.36%      1.79      92.59%
  11/3/2017     14.51 €        -0.85%   0.11%    -0.83%      -1.01%       0.15%   1.37%      0.11       8.81%
  11/6/2017     14.51 €         0.00%   0.21%    -0.93%      -0.89%       0.89%   1.37%      0.65      48.30%
  11/7/2017     14.53 €         0.14%   -0.04%   -0.48%      -0.91%       1.05%   1.37%      0.76      55.42%
  11/8/2017     14.74 €         1.45%   0.07%    -1.70%      -2.40%       3.85%   1.37%      2.81      99.46%
  11/9/2017     14.99 €         1.70%   -0.33%    0.55%      -0.14%       1.83%   1.39%      1.32      81.08%
 11/10/2017     15.46 €         3.14%   -0.20%    0.82%      0.63%        2.51%   1.40%      1.79      92.59%
 11/13/2017     15.37 €        -0.58%   -0.15%   -0.72%      -1.53%       0.95%   1.38%      0.69      50.65%
 11/14/2017     15.47 €         0.62%   -0.10%   -0.32%      -0.79%       1.41%   1.38%      1.02      69.22%
 11/15/2017     15.76 €         1.91%   -0.41%    1.60%      1.17%        0.74%   1.38%      0.53      40.68%
 11/16/2017     16.18 €         2.63%   0.52%    -0.62%      0.35%        2.28%   1.38%      1.65      89.98%
 11/17/2017     16.23 €         0.31%   0.01%    -0.29%      -0.48%       0.78%   1.39%      0.56      42.71%
 11/20/2017     16.35 €         0.77%   0.00%     0.28%      0.35%        0.42%   1.39%      0.30      23.57%
 11/21/2017     16.24 €        -0.70%   0.65%    -0.68%      0.64%       -1.35%   1.38%     -0.98      66.95%
 11/22/2017     16.03 €        -1.26%   0.10%     0.13%      0.38%       -1.65%   1.39%     -1.19      76.45%
 11/24/2017     16.05 €         0.12%   0.47%    -0.61%      0.24%       -0.11%   1.39%     -0.08      6.49%
 11/27/2017     15.71 €        -2.12%   -0.22%   -0.06%      -0.74%      -1.37%   1.39%     -0.99      67.73%
 11/28/2017     15.70 €        -0.06%   0.31%     0.36%      1.26%       -1.32%   1.39%     -0.95      65.79%
 11/29/2017     16.07 €         2.36%   0.24%     3.28%      5.43%       -3.07%   1.39%     -2.21      97.21%
 11/30/2017     15.86 €        -1.31%   0.36%    -0.20%      0.60%       -1.90%   1.40%     -1.36      82.41%
  12/1/2017     15.78 €        -0.54%   -0.44%   -0.42%      -1.84%       1.30%   1.41%      0.92      64.35%
  12/4/2017     16.14 €         2.31%   0.66%     1.37%      3.62%       -1.31%   1.41%     -0.93      64.53%
  12/5/2017     15.96 €        -1.15%   -0.32%    0.34%      -0.45%      -0.70%   1.41%     -0.50      38.00%
  12/6/2017     15.71 €        -1.54%   -0.63%   -0.30%      -2.16%       0.63%   1.41%      0.44      34.31%
  12/7/2017     15.97 €         1.62%   0.31%    -0.76%      -0.39%       2.01%   1.37%      1.46      85.54%
  12/8/2017     16.49 €         3.29%   0.31%     0.34%      1.12%        2.17%   1.37%      1.59      88.59%
 12/11/2017     16.34 €        -0.91%   0.37%     0.20%      1.11%       -2.02%   1.37%     -1.48      85.91%
 12/12/2017     16.52 €         1.10%   0.27%     0.30%      0.99%        0.11%   1.37%      0.08       6.64%
 12/13/2017     16.52 €         0.00%   0.16%     0.21%      0.59%       -0.59%   1.37%     -0.43      33.21%
 12/14/2017     16.37 €        -0.94%   -0.17%   -0.76%      -1.59%       0.65%   1.37%      0.48      36.74%



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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
 12/15/2017     16.54 €         1.07%   0.01%    -0.12%      -0.24%       1.31%   1.36%      0.96      66.11%
 12/18/2017     17.10 €         3.39%   0.98%    -0.42%      1.96%        1.43%   1.34%      1.07      71.21%
 12/19/2017     16.81 €        -1.73%   -0.28%    0.16%      -0.71%      -1.02%   1.34%     -0.76      55.10%
 12/20/2017     16.64 €        -0.98%   -0.12%    0.38%      0.04%       -1.02%   1.33%     -0.77      55.59%
 12/21/2017     16.52 €        -0.72%   0.33%     0.34%      1.22%       -1.94%   1.33%     -1.46      85.49%
 12/22/2017     16.32 €        -1.24%   -0.26%   -0.14%      -1.06%      -0.18%   1.33%     -0.13      10.73%
 12/27/2017     16.07 €        -1.50%   0.28%    -0.57%      -0.11%      -1.39%   1.33%     -1.05      70.29%
 12/28/2017     15.94 €        -0.81%   0.05%     0.20%      0.24%       -1.05%   1.33%     -0.79      56.97%
   1/2/2018     15.96 €         0.11%   0.32%    -0.59%      -0.04%       0.16%   1.33%      0.12       9.36%
   1/3/2018     15.91 €        -0.30%   0.56%    -0.35%      0.92%       -1.22%   1.33%     -0.92      64.06%
   1/4/2018     16.33 €         2.65%   0.87%    -0.20%      1.95%        0.70%   1.33%      0.53      40.21%
   1/5/2018     15.49 €        -5.16%   0.48%    -1.05%      -0.25%      -4.91%   1.33%     -3.69      99.97%
   1/8/2018     15.34 €        -0.97%   0.16%    -0.21%      -0.05%      -0.92%   1.37%     -0.67      49.63%
   1/9/2018     15.11 €        -1.50%   0.36%     0.23%      1.07%       -2.57%   1.37%     -1.88      93.82%
  1/10/2018     15.56 €         2.96%   -0.14%    1.61%      1.60%        1.36%   1.38%      0.99      67.70%
  1/11/2018     15.35 €        -1.35%   0.34%    -0.62%      -0.12%      -1.23%   1.37%     -0.90      63.07%
  1/12/2018     15.29 €        -0.40%   0.68%     0.07%      1.69%       -2.10%   1.36%     -1.55      87.67%
  1/16/2018     15.23 €        -0.38%   0.68%     0.04%      1.59%       -1.97%   1.35%     -1.47      85.61%
  1/17/2018     15.10 €        -0.84%   -0.20%   -0.52%      -1.39%       0.55%   1.35%      0.41      31.51%
  1/18/2018     15.18 €         0.53%   0.15%     0.85%      1.31%       -0.78%   1.35%     -0.58      43.72%
  1/19/2018     15.33 €         1.01%   0.32%    -0.23%      0.32%        0.70%   1.34%      0.52      39.55%
  1/22/2018     15.78 €         2.93%   0.46%    -0.26%      0.60%        2.33%   1.34%      1.73      91.59%
  1/23/2018     15.88 €         0.60%   0.70%    -0.32%      1.16%       -0.57%   1.35%     -0.42      32.67%
  1/24/2018     15.88 €         0.03%   0.12%     0.18%      0.36%       -0.33%   1.35%     -0.25      19.48%
  1/25/2018     15.80 €        -0.52%   0.18%     0.35%      0.71%       -1.22%   1.35%     -0.91      63.45%
  1/26/2018     15.65 €        -0.95%   0.18%    -0.50%      -0.45%      -0.50%   1.33%     -0.38      29.30%
  1/29/2018     15.49 €        -1.05%   -0.14%    0.66%      0.35%       -1.39%   1.34%     -1.04      70.20%
  1/30/2018     14.79 €        -4.47%   -0.91%    0.04%      -2.34%      -2.13%   1.34%     -1.60      88.81%
  1/31/2018     14.79 €         0.00%   -0.13%    0.25%      -0.21%       0.21%   1.34%      0.16      12.50%
   2/1/2018     14.77 €        -0.14%   0.08%     0.21%      0.25%       -0.39%   1.34%     -0.29      22.73%
   2/2/2018     13.86 €        -6.21%   -1.27%    1.66%      -1.11%      -5.11%   1.33%     -3.84      99.98%
   2/5/2018     13.65 €        -1.47%   -1.62%    0.15%      -3.87%       2.40%   1.33%      1.80      92.72%
   2/6/2018     13.17 €        -3.55%   -3.84%    0.95%      -7.59%       4.05%   1.34%      3.03      99.72%
   2/7/2018     13.11 €        -0.44%   2.28%     0.52%      4.66%       -5.10%   1.35%     -3.77      99.98%
   2/8/2018     12.80 €        -2.36%   -1.79%    0.78%      -2.06%      -0.30%   1.39%     -0.22      17.14%
   2/9/2018     12.51 €        -2.23%   -2.10%    0.66%      -2.67%       0.44%   1.39%      0.31      24.67%
  2/12/2018     13.02 €         4.03%   1.76%    -0.47%      2.02%        2.01%   1.39%      1.45      85.16%
  2/13/2018     12.82 €        -1.52%   0.12%     0.36%      0.52%       -2.04%   1.39%     -1.47      85.65%
  2/14/2018     12.93 €         0.87%   1.10%     0.42%      2.16%       -1.29%   1.40%     -0.92      64.38%
  2/15/2018     12.87 €        -0.46%   1.09%    -0.37%      1.10%       -1.57%   1.40%     -1.12      73.61%
  2/16/2018     12.92 €         0.39%   1.17%    -0.98%      0.36%        0.03%   1.40%      0.02       1.47%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  2/20/2018     13.39 €         3.65%   -0.47%   -0.20%      -1.14%      4.79%    1.40%      3.42      99.93%
  2/21/2018     13.58 €         1.40%   0.00%     0.80%      0.90%       0.50%    1.43%      0.35      27.49%
  2/22/2018     13.45 €        -0.99%   -0.25%   -0.09%      -0.63%     -0.36%    1.42%     -0.25      19.91%
  2/23/2018     13.30 €        -1.13%   0.11%    -0.54%      -0.68%     -0.45%    1.42%     -0.32      24.89%
  2/26/2018     13.31 €         0.14%   1.09%    -0.82%      0.40%      -0.26%    1.42%     -0.19      14.68%
  2/27/2018     13.45 €         1.05%   -0.10%    0.91%      0.90%       0.15%    1.42%      0.11       8.50%
  2/28/2018     13.20 €        -1.89%   -0.86%    0.20%      -1.13%     -0.76%    1.42%     -0.54      40.76%
   3/1/2018     12.95 €        -1.89%   -1.26%    0.39%      -1.48%     -0.42%    1.42%     -0.29      23.00%
   3/2/2018     12.55 €        -3.09%   -1.40%   -1.13%      -3.60%      0.51%    1.42%      0.36      28.12%
   3/5/2018     12.82 €         2.18%   1.20%    -0.05%      1.48%       0.70%    1.41%      0.49      37.86%
   3/6/2018     12.86 €         0.30%   0.45%    -0.36%      0.01%       0.29%    1.41%      0.20      16.10%
   3/7/2018     13.18 €         2.44%   0.03%    -0.24%      -0.39%      2.83%    1.35%      2.09      96.25%
   3/8/2018     13.10 €        -0.58%   0.40%    -0.63%      -0.33%     -0.25%    1.36%     -0.18      14.35%
   3/9/2018     13.04 €        -0.47%   1.00%     0.62%      2.05%      -2.53%    1.36%     -1.86      93.58%
  3/12/2018     13.06 €         0.17%   0.59%    -0.46%      0.11%       0.06%    1.36%      0.04       3.51%
  3/13/2018     12.83 €        -1.79%   -0.18%   -0.20%      -0.65%     -1.14%    1.36%     -0.84      59.87%
  3/14/2018     12.71 €        -0.90%   -0.55%   -0.78%      -1.89%      0.98%    1.36%      0.72      52.91%
  3/15/2018     12.77 €         0.50%   -0.14%    0.39%      0.14%       0.36%    1.36%      0.27      21.01%
  3/16/2018     12.84 €         0.53%   0.07%     0.71%      0.83%      -0.29%    1.36%     -0.22      17.03%
  3/19/2018     12.55 €        -2.27%   -1.31%    0.34%      -1.55%     -0.72%    1.36%     -0.53      40.36%
  3/20/2018     12.66 €         0.88%   0.10%     0.33%      0.40%       0.47%    1.36%      0.35      27.22%
  3/21/2018     12.01 €        -5.15%   0.27%    -0.43%      -0.27%     -4.88%    1.35%     -3.61      99.96%
  3/22/2018     11.65 €        -2.98%   -1.25%   -0.99%      -2.95%     -0.03%    1.36%     -0.02       1.88%
  3/23/2018     11.32 €        -2.85%   -1.60%   -0.71%      -3.10%      0.25%    1.36%      0.19      14.78%
  3/26/2018     11.19 €        -1.17%   -0.42%    0.64%      0.08%      -1.25%    1.36%     -0.92      64.06%
  3/27/2018     11.31 €         1.14%   1.63%    -0.65%      1.33%      -0.19%    1.36%     -0.14      10.96%
  3/28/2018     11.20 €        -1.04%   -1.62%   -0.05%      -2.35%      1.30%    1.36%      0.96      66.14%
  3/29/2018     11.33 €         1.16%   0.59%    -0.60%      -0.06%      1.22%    1.36%      0.90      62.92%
   4/3/2018     11.16 €        -1.45%   -1.01%    0.59%      -0.75%     -0.69%    1.36%     -0.51      38.99%
   4/4/2018     11.17 €         0.05%   0.18%    -0.19%      -0.10%      0.15%    1.36%      0.11       8.97%
   4/5/2018     11.66 €         4.41%   2.02%     0.41%      2.98%       1.43%    1.36%      1.05      70.65%
   4/6/2018     11.35 €        -2.64%   -0.76%   -0.42%      -1.61%     -1.03%    1.36%     -0.75      54.87%
   4/9/2018     11.48 €         1.16%   0.28%     0.55%      0.92%       0.24%    1.36%      0.18      14.21%
  4/10/2018     11.43 €        -0.45%   0.81%    -0.05%      0.93%      -1.39%    1.36%     -1.02      69.10%
  4/11/2018     11.49 €         0.51%   -0.21%   -0.84%      -1.40%      1.90%    1.36%      1.40      83.60%
  4/12/2018     11.67 €         1.55%   0.28%     1.14%      1.60%      -0.05%    1.37%     -0.04       2.92%
  4/13/2018     11.70 €         0.27%   -0.09%   -1.19%      -1.60%      1.88%    1.37%      1.37      82.87%
  4/16/2018     11.60 €        -0.85%   0.35%    -1.10%      -0.89%      0.04%    1.37%      0.03       2.15%
  4/17/2018     11.66 €         0.53%   0.88%    -0.18%      0.87%      -0.33%    1.37%     -0.24      19.15%
  4/18/2018     11.73 €         0.55%   0.51%    -1.24%      -0.84%      1.39%    1.37%      1.02      69.06%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  4/19/2018     11.69 €        -0.34%   -0.62%    1.60%      0.90%      -1.24%    1.37%     -0.91       63.46%
  4/20/2018     11.57 €        -0.96%   -0.55%    1.31%      0.63%      -1.59%    1.37%     -1.16       75.23%
  4/23/2018     11.69 €         0.97%   -0.06%   -0.17%      -0.38%      1.34%    1.37%      0.98       67.17%
  4/24/2018     12.18 €         4.21%   -0.13%    0.74%      0.54%       3.67%    1.37%      2.68       99.20%
  4/25/2018     11.99 €        -1.54%   -1.27%   -0.34%      -2.00%      0.46%    1.34%      0.34       26.75%
  4/26/2018     11.83 €        -1.30%   0.75%    -0.64%      0.10%      -1.40%    1.34%     -1.05       70.53%
  4/27/2018     11.44 €        -3.36%   0.41%    -0.65%      -0.33%     -3.04%    1.33%     -2.29       97.69%
  4/30/2018     11.37 €        -0.61%   0.02%     0.36%      0.29%      -0.90%    1.34%     -0.67       49.62%
   5/2/2018     11.44 €         0.65%   -0.58%   -0.21%      -1.05%      1.70%    1.34%      1.27       79.37%
   5/3/2018     11.31 €        -1.10%   -1.25%   -1.32%      -3.04%      1.94%    1.34%      1.45       85.06%
   5/4/2018     11.52 €         1.82%   1.32%    -0.57%      0.80%       1.02%    1.35%      0.76       55.19%
   5/7/2018     11.53 €         0.05%   0.67%    -0.43%      0.19%      -0.13%    1.35%     -0.10       7.89%
   5/8/2018     11.45 €        -0.62%   -0.29%    1.49%      1.11%      -1.74%    1.34%     -1.30       80.35%
   5/9/2018     11.54 €         0.75%   0.36%     0.94%      1.27%      -0.52%    1.35%     -0.38       29.79%
  5/10/2018     11.60 €         0.55%   1.00%    -0.05%      0.98%      -0.42%    1.35%     -0.31       24.67%
  5/11/2018     11.64 €         0.34%   0.43%    -0.29%      0.05%       0.29%    1.35%      0.22       17.07%
  5/14/2018     11.47 €        -1.49%   0.38%    -0.19%      0.10%      -1.60%    1.35%     -1.18       76.24%
  5/15/2018     11.28 €        -1.66%   -0.85%    0.91%      -0.17%     -1.49%    1.35%     -1.10       72.83%
  5/16/2018     10.98 €        -2.68%   -0.08%   -0.67%      -0.95%     -1.73%    1.35%     -1.28       79.84%
  5/17/2018     11.02 €         0.42%   0.43%    -0.73%      -0.43%      0.85%    1.35%      0.63      47.14%
  5/18/2018     10.81 €        -1.94%   -0.28%   -0.91%      -1.42%     -0.53%    1.35%     -0.39       30.15%
  5/22/2018     10.96 €         1.42%   0.68%     0.82%      1.46%      -0.03%    1.36%     -0.02        1.79%
  5/23/2018     10.90 €        -0.60%   -1.07%   -0.69%      -2.10%      1.50%    1.36%      1.11       73.03%
  5/24/2018     10.38 €        -4.79%   -0.05%   -0.79%      -1.04%     -3.75%    1.36%     -2.76       99.37%
  5/25/2018     10.38 €         0.08%   0.00%    -0.05%      -0.23%      0.31%    1.38%      0.22      17.50%
  5/29/2018      9.82 €        -5.46%   -1.30%   -1.92%      -3.67%     -1.79%    1.38%     -1.30       80.45%
  5/30/2018      9.86 €         0.46%   0.62%    -0.54%      -0.03%      0.49%    1.38%      0.35      27.60%
  5/31/2018      9.16 €        -7.15%   0.03%    -0.93%      -1.15%     -6.00%    1.38%     -4.36      100.00%
   6/1/2018      9.41 €         2.76%   0.43%     0.75%      1.14%       1.62%    1.43%      1.14       74.25%
   6/4/2018      9.53 €         1.32%   0.51%    -0.51%      -0.14%      1.46%    1.44%      1.01      68.80%
   6/5/2018      9.42 €        -1.20%   -0.05%   -1.02%      -1.36%      0.17%    1.44%      0.12        9.25%
   6/6/2018      9.56 €         1.46%   0.55%     1.18%      1.79%      -0.33%    1.43%     -0.23       18.16%
   6/7/2018      9.62 €         0.64%   0.47%     0.52%      0.98%      -0.34%    1.43%     -0.24       18.86%
   6/8/2018      9.55 €        -0.68%   -0.39%   -0.49%      -1.19%      0.51%    1.43%      0.36       27.99%
  6/11/2018      9.68 €         1.29%   0.67%     0.09%      0.73%       0.56%    1.43%      0.39       30.10%
  6/12/2018      9.72 €         0.44%   0.01%    -0.02%      -0.19%      0.64%    1.43%      0.44      34.30%
  6/13/2018      9.66 €        -0.67%   0.12%    -1.04%      -1.18%      0.51%    1.43%      0.36      27.78%
  6/14/2018      9.66 €         0.02%   -0.30%   -0.52%      -1.12%      1.14%    1.43%      0.80       57.28%
  6/15/2018      9.49 €        -1.71%   -0.58%   -0.75%      -1.70%     -0.01%    1.43%     -0.01        0.55%
  6/18/2018      9.48 €        -0.12%   -0.29%    0.75%      0.33%      -0.45%    1.43%     -0.31       24.57%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  6/19/2018      9.56 €         0.83%   -0.68%    0.40%      -0.54%      1.37%    1.43%      0.96      66.40%
  6/20/2018      9.59 €         0.30%   0.48%     0.07%      0.49%      -0.19%    1.42%     -0.13      10.57%
  6/21/2018      9.38 €        -2.20%   -0.44%   -0.29%      -1.01%     -1.19%    1.42%     -0.83      59.40%
  6/22/2018      9.49 €         1.24%   0.36%     0.40%      0.71%       0.52%    1.43%      0.37      28.64%
  6/25/2018      9.26 €        -2.48%   -1.61%   -0.72%      -2.90%      0.42%    1.43%      0.30      23.30%
  6/26/2018      9.21 €        -0.55%   0.25%    -0.35%      -0.25%     -0.30%    1.43%     -0.21      16.66%
  6/27/2018      9.05 €        -1.69%   0.17%     0.41%      0.51%      -2.21%    1.42%     -1.55      87.71%
  6/28/2018      9.06 €         0.11%   -0.76%    0.81%      -0.21%      0.32%    1.43%      0.22      17.54%
  6/29/2018      9.22 €         1.77%   1.11%     0.02%      1.17%       0.60%    1.43%      0.42      32.52%
   7/2/2018      9.14 €        -0.90%   -1.23%   -0.75%      -2.52%      1.62%    1.42%      1.14      74.29%
   7/3/2018      9.25 €         1.16%   0.84%    -0.69%      0.04%       1.12%    1.42%      0.79      56.88%
   7/5/2018      9.52 €         3.00%   0.00%     0.06%      -0.13%      3.13%    1.42%      2.20      97.09%
   7/6/2018      9.76 €         2.51%   1.06%    -0.97%      0.00%       2.51%    1.43%      1.75      91.91%
   7/9/2018      9.79 €         0.32%   0.73%     0.96%      1.72%      -1.40%    1.44%     -0.97      66.84%
  7/10/2018      9.74 €        -0.53%   0.34%    -0.38%      -0.18%     -0.35%    1.44%     -0.24      18.97%
  7/11/2018      9.57 €        -1.70%   -0.78%    0.28%      -0.84%     -0.86%    1.44%     -0.60      45.09%
  7/12/2018      9.56 €        -0.15%   0.37%    -0.54%      -0.32%      0.18%    1.44%      0.12       9.83%
  7/13/2018      9.61 €         0.49%   0.41%    -0.82%      -0.55%      1.04%    1.44%      0.73      53.11%
  7/16/2018     10.31 €         7.28%   -0.14%    2.07%      1.79%       5.48%    1.44%      3.80      99.98%
  7/17/2018     10.17 €        -1.36%   0.14%     0.95%      1.09%      -2.45%    1.48%     -1.65      90.03%
  7/18/2018     10.35 €         1.83%   0.27%     0.09%      0.27%       1.56%    1.49%      1.05      70.44%
  7/19/2018     10.31 €        -0.39%   -0.24%   -0.51%      -1.00%      0.61%    1.49%      0.41      31.81%
  7/20/2018     10.26 €        -0.54%   0.30%     0.10%      0.33%      -0.87%    1.49%     -0.58      44.08%
  7/23/2018     10.35 €         0.96%   -0.23%    1.80%      1.55%      -0.60%    1.50%     -0.40      31.05%
  7/24/2018     10.45 €         0.97%   0.70%     0.45%      1.21%      -0.24%    1.49%     -0.16      12.83%
  7/25/2018     10.31 €        -1.38%   -0.10%   -0.44%      -0.75%     -0.63%    1.49%     -0.42      32.74%
  7/26/2018     10.52 €         2.00%   0.62%     0.15%      0.76%       1.24%    1.49%      0.83      59.34%
  7/27/2018     10.63 €         1.07%   -0.02%    0.27%      0.11%       0.96%    1.49%      0.64      47.86%
  7/30/2018     10.94 €         2.90%   -0.57%    1.45%      0.72%       2.17%    1.49%      1.46      85.38%
  7/31/2018     11.19 €         2.30%   0.12%    -0.39%      -0.43%      2.73%    1.49%      1.83      93.13%
   8/1/2018     11.09 €        -0.86%   -0.12%    0.07%      -0.18%     -0.68%    1.50%     -0.45      34.92%
   8/2/2018     10.73 €        -3.28%   -0.43%   -0.50%      -1.20%     -2.08%    1.50%     -1.39      83.50%
   8/3/2018     10.76 €         0.34%   0.47%     0.27%      0.74%      -0.41%    1.50%     -0.27      21.30%
   8/6/2018     10.77 €         0.04%   0.16%    -0.41%      -0.40%      0.44%    1.50%      0.29      23.04%
   8/7/2018     10.94 €         1.56%   0.60%     0.17%      0.77%       0.79%    1.50%      0.53      40.08%
   8/8/2018     10.78 €        -1.46%   -0.04%    0.24%      0.08%      -1.54%    1.50%     -1.03      69.45%
   8/9/2018     10.74 €        -0.32%   -0.05%   -0.58%      -0.84%      0.52%    1.50%      0.35      27.31%
  8/10/2018     10.31 €        -4.06%   -1.09%   -0.16%      -1.62%     -2.44%    1.50%     -1.63      89.48%
  8/13/2018     10.10 €        -2.04%   -0.48%   -0.27%      -1.02%     -1.02%    1.50%     -0.68      50.22%
  8/14/2018     10.04 €        -0.52%   0.18%    -0.73%      -0.71%      0.20%    1.50%      0.13      10.37%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard             Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                 Level
                                                                         Return
  8/15/2018      9.79 €        -2.51%   -1.12%    0.28%      -1.19%     -1.32%    1.50%     -0.88      61.99%
  8/16/2018      9.88 €         0.93%   1.00%    -0.29%      0.75%       0.18%    1.50%      0.12       9.44%
  8/17/2018      9.76 €        -1.26%   0.03%    -0.55%      -0.71%     -0.56%    1.50%     -0.37      28.93%
  8/20/2018      9.77 €         0.09%   0.50%     0.03%      0.49%      -0.40%    1.50%     -0.27      20.97%
  8/21/2018      9.92 €         1.56%   0.48%     0.50%      0.97%       0.59%    1.50%      0.39      30.51%
  8/22/2018      9.97 €         0.47%   0.13%    -0.47%      -0.48%      0.95%    1.49%      0.64      47.49%
  8/23/2018      9.84 €        -1.25%   -0.46%   -0.17%      -0.87%     -0.39%    1.49%     -0.26      20.35%
  8/24/2018      9.82 €        -0.25%   0.63%    -0.45%      0.15%      -0.41%    1.50%     -0.27      21.44%
  8/27/2018     10.01 €         2.02%   0.79%     0.55%      1.41%       0.61%    1.50%      0.41      31.62%
  8/28/2018      9.86 €        -1.53%   0.18%    -0.57%      -0.53%     -1.00%    1.50%     -0.67      49.66%
  8/29/2018      9.97 €         1.12%   0.36%    -0.41%      -0.14%      1.25%    1.50%      0.84      59.58%
  8/30/2018      9.81 €        -1.66%   -0.36%   -0.34%      -0.92%     -0.75%    1.49%     -0.50      38.21%
  8/31/2018      9.70 €        -1.05%   -0.42%   -0.72%      -1.41%      0.36%    1.49%      0.24      18.99%
   9/4/2018      9.84 €         1.41%   -0.51%    1.29%      0.61%       0.80%    1.50%      0.53      40.56%
   9/5/2018      9.87 €         0.33%   -0.62%    0.80%      -0.02%      0.35%    1.49%      0.23      18.27%
   9/6/2018      9.76 €        -1.08%   -0.36%   -0.35%      -0.92%     -0.17%    1.49%     -0.11       8.82%
   9/7/2018      9.62 €        -1.45%   0.04%    -0.28%      -0.37%     -1.08%    1.49%     -0.73      53.10%
  9/10/2018      9.58 €        -0.47%   0.08%     0.02%      0.00%      -0.47%    1.49%     -0.31      24.43%
  9/11/2018      9.62 €         0.49%   0.03%    -0.47%      -0.60%      1.09%    1.49%      0.73      53.28%
  9/12/2018      9.53 €        -0.97%   0.38%    -0.41%      -0.12%     -0.84%    1.49%     -0.57      42.81%
  9/13/2018      9.72 €         1.98%   0.36%    -0.60%      -0.36%      2.35%    1.48%      1.58      88.45%
  9/14/2018      9.78 €         0.65%   0.32%     0.01%      0.25%       0.40%    1.49%      0.27      20.97%
  9/17/2018      9.86 €         0.78%   -0.14%    0.08%      -0.21%      0.99%    1.49%      0.66      49.26%
  9/18/2018      9.91 €         0.56%   0.37%    -0.01%      0.29%       0.26%    1.49%      0.18      14.09%
  9/19/2018     10.22 €         3.09%   0.32%     1.76%      2.11%       0.98%    1.49%      0.66      48.79%
  9/20/2018     10.37 €         1.47%   0.65%     0.68%      1.39%       0.08%    1.49%      0.05       4.28%
  9/21/2018     10.54 €         1.60%   0.35%    -0.33%      -0.04%      1.64%    1.49%      1.10      72.93%
  9/24/2018     10.45 €        -0.85%   -0.46%   -0.15%      -0.82%     -0.03%    1.49%     -0.02       1.58%
  9/25/2018     10.38 €        -0.61%   0.27%    -0.29%      -0.08%     -0.53%    1.48%     -0.36      27.77%
  9/26/2018     10.24 €        -1.35%   0.00%    -0.39%      -0.52%     -0.82%    1.48%     -0.56      42.10%
  9/27/2018     10.21 €        -0.29%   -0.26%   -0.63%      -1.10%      0.81%    1.48%      0.54      41.22%
  9/28/2018      9.83 €        -3.76%   -0.21%   -1.44%      -1.87%     -1.89%    1.48%     -1.28      79.70%
  10/1/2018      9.71 €        -1.17%   0.28%    -0.53%      -0.39%     -0.78%    1.48%     -0.53      40.17%
  10/2/2018      9.61 €        -1.11%   -0.37%   -0.33%      -0.96%     -0.15%    1.48%     -0.10       8.22%
  10/4/2018      9.75 €         1.54%   -0.93%    2.94%      1.84%      -0.30%    1.48%     -0.20      15.86%
  10/5/2018      9.70 €        -0.50%   -0.52%    0.24%      -0.51%      0.01%    1.47%      0.00       0.38%
  10/8/2018      9.55 €        -1.58%   -0.73%   -0.13%      -1.15%     -0.43%    1.47%     -0.29      22.84%
  10/9/2018      9.61 €         0.62%   0.30%     0.03%      0.24%       0.38%    1.46%      0.26      20.59%
 10/10/2018      9.58 €        -0.28%   -1.47%    1.34%      -0.48%      0.20%    1.46%      0.14      10.89%
 10/11/2018      9.47 €        -1.17%   -2.59%   -0.37%      -3.55%      2.38%    1.46%      1.63      89.61%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
 10/12/2018      9.40 €        -0.79%   0.12%    -1.07%      -1.11%      0.32%    1.47%      0.22       17.29%
 10/15/2018      9.52 €         1.29%   0.19%    -0.35%      -0.27%      1.55%    1.47%      1.06       70.87%
 10/16/2018      9.62 €         1.07%   0.89%    -0.94%      -0.09%      1.16%    1.47%      0.79       56.91%
 10/17/2018      9.78 €         1.68%   0.02%     0.74%      0.68%       1.01%    1.47%      0.68       50.57%
 10/18/2018      9.60 €        -1.88%   -0.51%   -0.22%      -0.92%     -0.97%    1.47%     -0.66       48.77%
 10/19/2018      9.50 €        -1.04%   -0.17%   -0.18%      -0.50%     -0.54%    1.47%     -0.37       28.69%
 10/22/2018      9.40 €        -1.07%   -0.63%   -0.70%      -1.56%      0.49%    1.48%      0.33       25.89%
 10/23/2018      9.31 €        -0.88%   -1.80%   -0.36%      -2.55%      1.66%    1.47%      1.13       74.03%
 10/24/2018      8.87 €        -4.76%   -0.24%   -0.79%      -1.20%     -3.56%    1.47%     -2.41       98.35%
 10/25/2018      8.82 €        -0.55%   -0.47%    1.65%      1.01%      -1.56%    1.47%     -1.06       71.13%
 10/26/2018      8.52 €        -3.40%   -1.20%   -0.11%      -1.59%     -1.81%    1.47%     -1.23       77.96%
 10/29/2018      8.59 €         0.85%   0.58%     2.08%      2.58%      -1.74%    1.48%     -1.18       75.89%
 10/30/2018      8.56 €        -0.43%   -0.24%   -0.90%      -1.28%      0.84%    1.48%      0.57       43.18%
 10/31/2018      8.65 €         1.12%   1.92%     0.42%      2.48%      -1.36%    1.48%     -0.92       64.06%
  11/1/2018      8.95 €         3.46%   0.50%    -0.01%      0.42%       3.03%    1.48%      2.05       95.89%
  11/2/2018      9.19 €         2.69%   -0.21%    0.03%      -0.33%      3.02%    1.48%      2.04       95.71%
  11/5/2018      9.18 €        -0.17%   0.22%     0.54%      0.64%      -0.82%    1.49%     -0.55       41.66%
  11/6/2018      9.08 €        -1.00%   0.54%    -0.65%      -0.12%     -0.89%    1.49%     -0.60       44.80%
  11/7/2018      9.19 €         1.12%   1.33%    -0.80%      0.62%       0.50%    1.49%      0.34       26.23%
  11/8/2018      9.16 €        -0.32%   0.49%     1.40%      1.76%      -2.07%    1.49%     -1.39       83.57%
  11/9/2018      8.96 €        -2.16%   -1.00%   -0.49%      -1.73%     -0.43%    1.48%     -0.29       22.80%
 11/12/2018      8.67 €        -3.19%   -1.43%   -0.70%      -2.46%     -0.73%    1.47%     -0.50       38.20%
 11/13/2018      8.82 €         1.71%   0.17%     1.01%      0.98%       0.72%    1.47%      0.49       37.83%
 11/14/2018      8.73 €        -1.01%   -0.92%   -0.04%      -1.27%      0.26%    1.47%      0.18       14.01%
 11/15/2018      8.61 €        -1.43%   -0.26%    0.15%      -0.33%     -1.10%    1.46%     -0.75       54.81%
 11/16/2018      8.60 €        -0.05%   0.73%    -0.04%      0.63%      -0.68%    1.46%     -0.46       35.54%
 11/19/2018      8.56 €        -0.44%   -0.59%    0.80%      -0.12%     -0.32%    1.46%     -0.22       17.58%
 11/20/2018      8.15 €        -4.80%   -1.56%   -0.04%      -2.03%     -2.77%    1.45%     -1.90       94.18%
 11/21/2018      8.32 €         2.01%   0.50%     0.48%      0.84%       1.17%    1.46%      0.80       57.43%
 11/23/2018      8.17 €        -1.77%   -0.76%   -0.68%      -1.74%     -0.03%    1.47%     -0.02        1.36%
 11/26/2018      8.56 €         4.79%   0.70%     1.28%      1.88%       2.91%    1.47%      1.99       95.18%
 11/27/2018      8.66 €         1.13%   0.12%    -0.32%      -0.35%      1.48%    1.47%      1.00       68.37%
 11/28/2018      8.59 €        -0.76%   0.52%    -0.39%      0.10%      -0.86%    1.47%     -0.58       43.93%
 11/29/2018      8.30 €        -3.40%   1.38%    -1.10%      0.43%      -3.82%    1.47%     -2.59       98.99%
 11/30/2018      8.06 €        -2.86%   -0.10%   -0.30%      -0.62%     -2.23%    1.49%     -1.50       86.41%
  12/3/2018      8.32 €         3.21%   1.51%    -0.28%      1.27%       1.94%    1.50%      1.29       80.26%
  12/4/2018      8.06 €        -3.15%   -0.64%   -1.50%      -2.53%     -0.61%    1.50%     -0.41       31.70%
  12/6/2018      7.70 €        -4.49%   -4.39%   -0.52%      -5.98%      1.49%    1.50%      0.99       67.59%
  12/7/2018      7.71 €         0.09%   0.99%    -1.11%      -0.22%      0.31%    1.51%      0.20       16.20%
 12/10/2018      7.28 €        -5.55%   -2.12%   -0.73%      -3.42%     -2.13%    1.49%     -1.43       84.56%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
 12/11/2018      7.43 €         2.10%   1.32%    -0.40%      0.90%       1.20%    1.50%      0.80       57.61%
 12/12/2018      7.86 €         5.81%   1.24%    -0.96%      0.22%       5.59%    1.49%      3.74       99.98%
 12/13/2018      7.86 €        -0.03%   -0.54%    0.21%      -0.66%      0.63%    1.54%      0.41       31.99%
 12/14/2018      7.85 €        -0.15%   -1.25%    1.37%      -0.34%      0.19%    1.54%      0.12        9.85%
 12/17/2018      7.66 €        -2.40%   -0.69%    0.24%      -0.79%     -1.60%    1.54%     -1.04       70.13%
 12/18/2018      7.64 €        -0.21%   -1.11%    1.13%      -0.41%      0.20%    1.54%      0.13       10.29%
 12/19/2018      7.53 €        -1.49%   0.24%    -0.15%      -0.08%     -1.41%    1.53%     -0.92       64.17%
 12/20/2018      7.00 €        -7.04%   -2.69%    0.65%      -2.74%     -4.30%    1.53%     -2.81       99.46%
 12/21/2018      7.04 €         0.60%   -0.50%    0.83%      -0.01%      0.61%    1.55%      0.39       30.64%
 12/27/2018      6.75 €        -4.15%   -1.16%   -0.35%      -2.01%     -2.13%    1.55%     -1.37       82.92%
   1/2/2019      7.15 €         5.91%   2.03%     0.79%      3.14%       2.77%    1.56%      1.78       92.29%
   1/3/2019      7.10 €        -0.71%   -0.40%   -0.09%      -0.81%      0.10%    1.57%      0.06        4.84%
   1/4/2019      7.44 €         4.76%   1.42%     0.71%      2.38%       2.38%    1.57%      1.52       86.92%
   1/7/2019      7.55 €         1.55%   1.36%    -0.74%      0.89%       0.66%    1.55%      0.43       32.99%
   1/8/2019      7.62 €         0.95%   0.30%    -0.97%      -0.75%      1.71%    1.54%      1.11       73.02%
   1/9/2019      7.41 €        -2.77%   1.29%    -0.60%      0.96%      -3.73%    1.55%     -2.41       98.32%
  1/10/2019      7.48 €         0.92%   0.07%     0.34%      0.27%       0.65%    1.56%      0.42       32.16%
  1/11/2019      7.46 €        -0.32%   0.02%     0.07%      -0.09%     -0.23%    1.56%     -0.15       11.95%
  1/14/2019      7.46 €         0.08%   -0.21%    1.34%      0.89%      -0.81%    1.55%     -0.52       39.77%
  1/15/2019      7.49 €         0.32%   0.43%    -0.05%      0.35%      -0.03%    1.55%     -0.02       1.56%
  1/16/2019      8.11 €         8.39%   0.60%     3.11%      3.71%       4.67%    1.55%      3.02       99.72%
  1/17/2019      7.78 €        -4.09%   0.01%    -0.79%      -0.98%     -3.11%    1.57%     -1.98       95.09%
  1/18/2019      8.00 €         2.78%   1.54%     0.19%      2.14%       0.63%    1.59%      0.40       30.96%
  1/22/2019      7.86 €        -1.73%   -0.75%   -0.24%      -1.43%     -0.30%    1.59%     -0.19       14.88%
  1/23/2019      7.97 €         1.44%   -0.39%    0.08%      -0.59%      2.03%    1.58%      1.28       79.89%
  1/24/2019      7.82 €        -1.89%   0.28%    -0.11%      0.10%      -1.99%    1.59%     -1.26       79.00%
  1/25/2019      8.13 €         3.95%   1.03%     0.09%      1.32%       2.63%    1.59%      1.65       89.99%
  1/28/2019      8.06 €        -0.91%   -0.92%    0.71%      -0.57%     -0.34%    1.60%     -0.21       16.89%
  1/29/2019      8.11 €         0.70%   0.26%     0.24%      0.49%       0.21%    1.60%      0.13       10.33%
  1/30/2019      8.07 €        -0.59%   0.52%    -0.66%      -0.18%     -0.41%    1.60%     -0.26       20.14%
  1/31/2019      7.75 €        -3.96%   1.31%    -3.43%      -2.29%     -1.67%    1.58%     -1.05       70.69%
   2/1/2019      7.70 €        -0.59%   0.25%     0.50%      0.76%      -1.36%    1.59%     -0.85       60.61%
   2/4/2019      7.66 €        -0.57%   -0.04%   -0.31%      -0.56%     -0.01%    1.59%      0.00        0.37%
   2/5/2019      7.80 €         1.83%   0.92%    -0.67%      0.25%       1.58%    1.59%      0.99       67.87%
   2/6/2019      7.89 €         1.24%   -0.05%    0.23%      0.06%       1.18%    1.59%      0.74       54.23%
   2/7/2019      7.39 €        -6.33%   -1.29%   -0.58%      -2.57%     -3.77%    1.59%     -2.37       98.15%
   2/8/2019      7.20 €        -2.64%   -0.59%   -0.24%      -1.28%     -1.36%    1.58%     -0.86       60.86%
  2/11/2019      7.37 €         2.40%   0.56%     0.11%      0.78%       1.63%    1.58%      1.03       69.42%
  2/12/2019      7.53 €         2.16%   1.13%     0.10%      1.59%       0.56%    1.58%      0.36       27.72%
  2/13/2019      7.57 €         0.57%   0.35%     0.22%      0.61%      -0.04%    1.58%     -0.03        2.07%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  2/14/2019      7.38 €        -2.55%   -0.27%   -1.00%      -1.78%     -0.77%    1.57%     -0.49       37.34%
  2/15/2019      7.72 €         4.63%   0.86%     1.72%      3.21%       1.43%    1.57%      0.91       63.48%
  2/19/2019      7.59 €        -1.67%   0.57%    -1.53%      -1.21%     -0.46%    1.57%     -0.29       22.79%
  2/20/2019      7.69 €         1.26%   0.42%     0.41%      0.98%       0.28%    1.57%      0.18       14.36%
  2/21/2019      7.66 €        -0.38%   -0.33%   -0.37%      -1.12%      0.74%    1.54%      0.48       36.92%
  2/22/2019      7.62 €        -0.50%   0.55%    -0.52%      0.00%      -0.49%    1.54%     -0.32       25.07%
  2/25/2019      7.75 €         1.63%   0.47%     0.82%      1.58%       0.05%    1.55%      0.03        2.43%
  2/26/2019      7.83 €         1.06%   -0.15%   -0.10%      -0.51%      1.57%    1.54%      1.02       68.97%
  2/27/2019      7.98 €         1.99%   -0.33%    0.66%      0.18%       1.81%    1.54%      1.17       75.76%
  2/28/2019      8.16 €         2.22%   0.05%    -0.27%      -0.40%      2.61%    1.55%      1.69       90.73%
   3/1/2019      8.17 €         0.15%   0.11%     0.06%      0.11%       0.04%    1.56%      0.03        2.04%
   3/4/2019      8.13 €        -0.50%   -0.07%   -0.26%      -0.57%      0.07%    1.56%      0.04        3.33%
   3/5/2019      8.06 €        -0.85%   0.02%    -0.59%      -0.84%     -0.01%    1.56%      0.00        0.37%
   3/6/2019      8.17 €         1.35%   -0.40%    0.73%      0.20%       1.15%    1.56%      0.74       53.86%
   3/7/2019      7.75 €        -5.13%   -0.85%   -0.65%      -2.20%     -2.93%    1.56%     -1.88       93.82%
   3/8/2019      7.68 €        -0.95%   -0.85%    0.55%      -0.71%     -0.25%    1.56%     -0.16       12.49%
  3/11/2019      8.06 €         4.96%   1.19%     0.17%      1.87%       3.09%    1.55%      1.99       95.23%
  3/12/2019      7.86 €        -2.51%   0.70%    -0.88%      -0.20%     -2.31%    1.56%     -1.48       85.91%
  3/13/2019      7.96 €         1.29%   0.54%     0.43%      1.25%       0.04%    1.57%      0.02        1.92%
  3/14/2019      7.89 €        -0.88%   0.05%     0.77%      0.97%      -1.85%    1.57%     -1.18       76.00%
  3/15/2019      7.82 €        -0.93%   0.67%    -0.42%      0.33%      -1.25%    1.57%     -0.80       57.40%
  3/18/2019      8.14 €         4.15%   0.12%     1.22%      1.64%       2.51%    1.58%      1.59       88.71%
  3/19/2019      8.02 €        -1.45%   0.71%    -0.40%      0.41%      -1.86%    1.58%     -1.18       75.90%
  3/20/2019      7.75 €        -3.34%   -0.98%   -0.60%      -2.42%     -0.93%    1.58%     -0.58       44.03%
  3/21/2019      7.44 €        -4.10%   0.62%    -3.37%      -3.75%     -0.35%    1.59%     -0.22       17.42%
  3/22/2019      7.28 €        -2.14%   -1.10%   -2.07%      -4.58%      2.44%    1.55%      1.57       88.31%
  3/25/2019      7.23 €        -0.71%   -0.61%    0.35%      -0.59%     -0.13%    1.56%     -0.08       6.46%
  3/26/2019      7.31 €         1.11%   0.75%    -0.57%      0.24%       0.87%    1.56%      0.56       42.33%
  3/27/2019      7.51 €         2.86%   -0.45%    1.33%      0.96%       1.90%    1.56%      1.22       77.71%
  3/28/2019      7.26 €        -3.42%   -0.09%   -0.02%      -0.27%     -3.15%    1.56%     -2.02       95.50%
  3/29/2019      7.26 €         0.04%   0.73%     0.50%      1.63%      -1.59%    1.57%     -1.01       68.77%
   4/1/2019      7.53 €         3.66%   1.04%     1.63%      3.59%       0.07%    1.57%      0.05        3.65%
   4/2/2019      7.58 €         0.69%   0.12%     0.95%      1.32%      -0.63%    1.57%     -0.40       30.95%
   4/3/2019      7.65 €         0.88%   0.87%    -0.25%      0.87%       0.02%    1.57%      0.01        0.91%
   4/4/2019      7.58 €        -0.82%   -0.30%    1.06%      0.83%      -1.65%    1.57%     -1.06       70.78%
   4/5/2019      7.49 €        -1.19%   0.33%    -0.83%      -0.73%     -0.46%    1.57%     -0.29       22.93%
   4/8/2019      7.35 €        -1.91%   0.03%     0.13%      0.07%      -1.98%    1.57%     -1.26       79.04%
   4/9/2019      7.30 €        -0.73%   -0.18%   -0.07%      -0.51%     -0.23%    1.57%     -0.14       11.36%
  4/10/2019      7.24 €        -0.73%   0.08%    -0.27%      -0.39%     -0.33%    1.57%     -0.21       16.79%
  4/11/2019      7.45 €         2.90%   0.01%     0.84%      0.97%       1.93%    1.57%      1.23       77.98%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  4/12/2019      7.62 €         2.19%   0.39%     2.50%      3.80%      -1.61%    1.57%     -1.03       69.41%
  4/15/2019      7.65 €         0.43%   0.13%    -0.30%      -0.35%      0.78%    1.57%      0.50       38.12%
  4/16/2019      7.78 €         1.66%   0.26%     0.22%      0.55%       1.12%    1.57%      0.71       52.19%
  4/17/2019      7.83 €         0.64%   -0.13%    1.84%      2.13%      -1.49%    1.57%     -0.95       65.62%
  4/18/2019      7.78 €        -0.54%   -0.17%    0.90%      0.81%      -1.34%    1.57%     -0.85       60.53%
  4/23/2019      7.66 €        -1.61%   0.69%    -1.40%      -0.96%     -0.65%    1.57%     -0.41       31.95%
  4/24/2019      7.59 €        -0.86%   0.01%    -0.39%      -0.66%     -0.20%    1.57%     -0.13       10.34%
  4/25/2019      7.48 €        -1.49%   -0.26%    0.46%      0.05%      -1.54%    1.56%     -0.99       67.78%
  4/26/2019      7.34 €        -1.85%   0.11%     0.09%      0.12%      -1.96%    1.56%     -1.26       79.07%
  4/29/2019      7.40 €         0.74%   0.31%     1.76%      2.64%      -1.91%    1.55%     -1.23       78.11%
  4/30/2019      7.37 €        -0.35%   -0.12%   -0.67%      -1.20%      0.85%    1.55%      0.55       41.68%
   5/2/2019      7.39 €         0.27%   -0.70%    0.54%      -0.51%      0.78%    1.55%      0.50       38.47%
   5/3/2019      7.35 €        -0.58%   0.75%     0.46%      1.59%      -2.17%    1.55%     -1.40       83.84%
   5/6/2019      7.20 €        -1.99%   -0.59%   -0.66%      -1.92%     -0.07%    1.54%     -0.04        3.49%
   5/7/2019      7.02 €        -2.54%   -1.09%   -0.46%      -2.43%     -0.11%    1.54%     -0.07        5.74%
   5/8/2019      7.04 €         0.33%   -0.15%   -0.06%      -0.47%      0.80%    1.54%      0.52       39.53%
   5/9/2019      6.86 €        -2.56%   -1.34%   -0.02%      -2.24%     -0.31%    1.54%     -0.20       16.07%
  5/10/2019      6.94 €         1.20%   -0.06%    0.16%      -0.04%      1.23%    1.54%      0.80       57.69%
  5/13/2019      6.80 €        -1.99%   -0.87%   -1.05%      -2.91%      0.92%    1.54%      0.60       44.85%
  5/14/2019      6.89 €         1.23%   0.83%     0.32%      1.54%      -0.31%    1.54%     -0.20       15.97%
  5/15/2019      6.84 €        -0.64%   0.28%    -1.16%      -1.27%      0.63%    1.53%      0.41       31.67%
  5/16/2019      6.91 €         0.99%   1.05%    -0.05%      1.40%      -0.41%    1.53%     -0.27       20.99%
  5/17/2019      6.84 €        -1.00%   -0.31%   -0.45%      -1.23%      0.23%    1.53%      0.15       12.00%
  5/20/2019      6.65 €        -2.89%   -0.88%    0.45%      -0.88%     -2.01%    1.53%     -1.31       80.95%
  5/21/2019      6.71 €         0.98%   0.48%     0.16%      0.81%       0.16%    1.53%      0.11        8.50%
  5/22/2019      6.62 €        -1.42%   -0.15%   -0.33%      -0.81%     -0.61%    1.53%     -0.40       30.82%
  5/23/2019      6.46 €        -2.39%   -1.20%   -0.37%      -2.49%      0.10%    1.53%      0.07        5.43%
  5/24/2019      6.37 €        -1.39%   0.36%     0.20%      0.67%      -2.07%    1.52%     -1.36       82.40%
  5/28/2019      6.31 €        -0.97%   0.06%    -0.19%      -0.30%     -0.67%    1.51%     -0.44       34.21%
  5/29/2019      6.15 €        -2.43%   -1.76%    0.20%      -2.60%      0.17%    1.51%      0.12        9.16%
  5/30/2019      6.19 €         0.67%   0.33%    -0.06%      0.30%       0.37%    1.51%      0.25       19.37%
  5/31/2019      6.09 €        -1.71%   -0.67%   -0.72%      -2.10%      0.39%    1.51%      0.26       20.35%
   6/3/2019      5.98 €        -1.84%   -0.08%    0.11%      -0.09%     -1.75%    1.46%     -1.20       76.72%
   6/4/2019      6.24 €         4.45%   0.93%     1.84%      3.65%       0.80%    1.46%      0.55       41.59%
   6/5/2019      6.14 €        -1.65%   0.91%    -1.06%      -0.08%     -1.57%    1.46%     -1.07       71.61%
   6/6/2019      5.96 €        -2.93%   0.54%    -0.72%      -0.24%     -2.69%    1.47%     -1.84       93.26%
   6/7/2019      5.97 €         0.13%   1.27%    -1.60%      -0.34%      0.47%    1.48%      0.32       25.03%
  6/11/2019      6.19 €         3.75%   0.66%     0.95%      2.09%       1.66%    1.48%      1.12       73.80%
  6/12/2019      6.13 €        -0.94%   -0.37%   -0.80%      -1.75%      0.81%    1.48%      0.55       41.61%
  6/13/2019      6.10 €        -0.47%   0.11%    -0.05%      -0.03%     -0.44%    1.48%     -0.30       23.26%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  6/14/2019      6.03 €        -1.25%   -0.22%   -0.15%      -0.67%     -0.58%    1.48%     -0.39       30.21%
  6/17/2019      6.11 €         1.36%   0.12%     0.47%      0.67%       0.69%    1.48%      0.46       35.66%
  6/18/2019      6.33 €         3.62%   0.99%    -0.16%      1.14%       2.48%    1.48%      1.67       90.41%
  6/19/2019      6.49 €         2.45%   0.16%     0.52%      0.83%       1.62%    1.49%      1.09       72.30%
  6/20/2019      6.32 €        -2.59%   0.93%    -2.69%      -2.30%     -0.29%    1.49%     -0.19       15.34%
  6/21/2019      6.36 €         0.68%   0.16%     0.98%      1.42%      -0.74%    1.49%     -0.50       37.95%
  6/24/2019      6.27 €        -1.40%   0.06%    -1.13%      -1.56%      0.16%    1.49%      0.11        8.38%
  6/25/2019      6.26 €        -0.18%   -0.49%   -0.22%      -1.17%      0.99%    1.49%      0.67       49.52%
  6/26/2019      6.50 €         3.80%   -0.43%    1.36%      1.05%       2.75%    1.49%      1.85       93.46%
  6/27/2019      6.56 €         0.98%   0.08%     0.32%      0.45%       0.53%    1.50%      0.36       27.72%
  6/28/2019      6.78 €         3.32%   0.42%     1.59%      2.70%       0.62%    1.49%      0.42       32.43%
   7/1/2019      6.76 €        -0.37%   0.87%     0.23%      1.52%      -1.89%    1.49%     -1.26       79.23%
   7/2/2019      6.75 €        -0.04%   0.04%    -0.45%      -0.65%      0.61%    1.50%      0.41       31.64%
   7/3/2019      6.93 €         2.67%   0.77%    -0.69%      0.09%       2.57%    1.49%      1.73       91.47%
   7/5/2019      7.18 €         3.51%   -0.50%    1.26%      0.88%       2.63%    1.50%      1.75       91.93%
   7/8/2019      6.79 €        -5.39%   -0.24%    0.00%      -0.45%     -4.94%    1.49%     -3.32       99.90%
   7/9/2019      6.51 €        -4.17%   -0.16%    0.02%      -0.32%     -3.84%    1.52%     -2.53       98.79%
  7/10/2019      6.53 €         0.38%   0.45%    -0.76%      -0.53%      0.91%    1.54%      0.59       44.68%
  7/11/2019      6.59 €         0.93%   0.27%     0.20%      0.56%       0.37%    1.54%      0.24       19.10%
  7/12/2019      6.76 €         2.50%   0.13%     0.28%      0.47%       2.03%    1.54%      1.32       81.33%
  7/15/2019      6.89 €         1.91%   0.18%    -0.24%      -0.17%      2.08%    1.54%      1.35       82.15%
  7/16/2019      7.18 €         4.33%   -0.11%    0.27%      0.11%       4.22%    1.55%      2.73       99.31%
  7/17/2019      7.01 €        -2.38%   -0.34%    0.16%      -0.41%     -1.97%    1.54%     -1.28       79.83%
  7/18/2019      6.98 €        -0.50%   -0.61%    0.56%      -0.28%     -0.22%    1.53%     -0.14       11.37%
  7/19/2019      6.89 €        -1.20%   0.60%    -0.57%      0.01%      -1.21%    1.53%     -0.79       57.04%
  7/22/2019      6.93 €         0.46%   -0.33%    0.27%      -0.24%      0.71%    1.53%      0.46       35.54%
  7/23/2019      7.13 €         3.02%   0.34%     1.56%      2.55%       0.47%    1.53%      0.31       24.17%
  7/24/2019      7.00 €        -1.85%   0.37%    -0.42%      -0.14%     -1.71%    1.53%     -1.12       73.52%
  7/25/2019      7.11 €         1.51%   -0.08%   -0.26%      -0.60%      2.11%    1.53%      1.38       83.03%
  7/26/2019      7.12 €         0.17%   0.20%    -0.01%      0.17%       0.00%    1.54%      0.00        0.09%
  7/29/2019      7.08 €        -0.63%   -0.04%    0.14%      0.01%      -0.64%    1.54%     -0.42       32.23%
  7/30/2019      6.90 €        -2.52%   -0.43%   -0.73%      -1.80%     -0.72%    1.53%     -0.47       35.97%
  7/31/2019      7.04 €         2.07%   -0.01%    0.31%      0.27%       1.80%    1.53%      1.18       76.01%
   8/1/2019      7.10 €         0.78%   -0.11%    0.47%      0.34%       0.45%    1.52%      0.29       22.98%
   8/2/2019      7.00 €        -1.34%   -2.54%   -1.14%      -5.61%      4.27%    1.52%      2.80       99.45%
   8/5/2019      6.89 €        -1.64%   -1.70%   -0.34%      -3.09%      1.45%    1.55%      0.94       65.16%
   8/6/2019      6.72 €        -2.35%   -0.65%    0.10%      -0.92%     -1.43%    1.54%     -0.92       64.37%
   8/7/2019      6.59 €        -2.04%   0.32%    -1.58%      -1.80%     -0.24%    1.55%     -0.16       12.42%
   8/8/2019      6.88 €         4.46%   1.81%     0.55%      3.26%       1.20%    1.55%      0.78       56.28%
   8/9/2019      6.66 €        -3.18%   -0.50%   -0.86%      -2.04%     -1.14%    1.55%     -0.74       53.87%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  8/12/2019      6.30 €        -5.49%   -0.32%   -0.78%      -1.65%     -3.84%    1.54%     -2.49       98.64%
  8/13/2019      6.38 €         1.30%   0.56%     0.84%      1.86%      -0.56%    1.56%     -0.36       27.77%
  8/14/2019      6.05 €        -5.21%   -1.75%   -2.06%      -5.59%      0.38%    1.56%      0.24       19.28%
  8/15/2019      5.88 €        -2.68%   -0.67%    0.52%      -0.43%     -2.25%    1.56%     -1.44       85.00%
  8/16/2019      6.16 €         4.71%   1.16%     0.74%      2.64%       2.07%    1.57%      1.32       81.29%
  8/19/2019      6.33 €         2.69%   1.28%    -0.31%      1.41%       1.29%    1.57%      0.82       58.60%
  8/20/2019      6.30 €        -0.46%   -0.29%   -0.61%      -1.41%      0.95%    1.57%      0.60       45.29%
  8/21/2019      6.35 €         0.81%   0.45%    -0.39%      0.04%       0.77%    1.57%      0.49       37.43%
  8/22/2019      6.47 €         1.94%   -0.37%    1.14%      0.88%       1.05%    1.57%      0.67       49.57%
  8/23/2019      6.36 €        -1.73%   -0.86%   -0.33%      -1.89%      0.16%    1.57%      0.10        8.11%
  8/26/2019      6.33 €        -0.41%   -0.42%    0.15%      -0.54%      0.13%    1.58%      0.08        6.46%
  8/27/2019      6.43 €         1.45%   0.34%    -0.96%      -0.90%      2.35%    1.57%      1.49       86.35%
  8/28/2019      6.46 €         0.58%   0.09%     0.74%      1.06%      -0.48%    1.58%     -0.30       23.86%
  8/29/2019      6.55 €         1.39%   1.02%     0.71%      2.45%      -1.06%    1.58%     -0.67       49.63%
  8/30/2019      6.57 €         0.31%   0.06%     0.37%      0.50%      -0.20%    1.58%     -0.12        9.87%
   9/3/2019      6.62 €         0.79%   -0.36%   -1.01%      -2.01%      2.80%    1.58%      1.77       92.23%
   9/4/2019      6.74 €         1.78%   1.00%     0.55%      2.19%      -0.41%    1.59%     -0.26       20.43%
   9/5/2019      7.09 €         5.13%   1.32%     1.21%      3.57%       1.56%    1.59%      0.98       67.22%
   9/6/2019      7.11 €         0.37%   0.19%    -0.68%      -0.70%      1.07%    1.59%      0.67       49.58%
   9/9/2019      7.33 €         3.01%   0.05%     2.42%      3.27%      -0.27%    1.60%     -0.17       13.18%
  9/10/2019      7.45 €         1.66%   -0.50%    2.11%      2.00%      -0.34%    1.59%     -0.21       16.68%
  9/11/2019      7.49 €         0.52%   0.87%    -0.59%      0.51%       0.01%    1.59%      0.01        0.63%
  9/12/2019      7.42 €        -0.95%   0.64%    -0.46%      0.33%      -1.28%    1.59%     -0.80       57.65%
  9/13/2019      7.66 €         3.19%   0.23%     2.15%      3.19%       0.00%    1.59%      0.00        0.15%
  9/16/2019      7.50 €        -2.08%   -0.53%   -0.37%      -1.39%     -0.69%    1.59%     -0.43       33.44%
  9/17/2019      7.31 €        -2.47%   0.15%    -1.04%      -1.23%     -1.24%    1.59%     -0.78       56.44%
  9/18/2019      7.22 €        -1.31%   -0.11%   -0.09%      -0.38%     -0.94%    1.59%     -0.59       44.51%
  9/19/2019      7.36 €         2.05%   0.66%     0.81%      2.06%      -0.01%    1.59%      0.00        0.28%
  9/20/2019      7.31 €        -0.76%   -0.31%    0.33%      -0.12%     -0.64%    1.59%     -0.40       31.34%
  9/23/2019      7.05 €        -3.50%   -0.44%   -1.03%      -2.17%     -1.33%    1.59%     -0.84       59.65%
  9/24/2019      6.91 €        -2.00%   -0.15%   -0.45%      -0.94%     -1.06%    1.59%     -0.67       49.40%
  9/25/2019      6.94 €         0.48%   -0.61%    1.06%      0.40%       0.08%    1.59%      0.05        3.79%
  9/26/2019      6.80 €        -2.05%   0.08%    -0.34%      -0.44%     -1.61%    1.59%     -1.01       68.84%
  9/27/2019      6.93 €         1.88%   -0.05%    0.47%      0.47%       1.41%    1.59%      0.89       62.49%
  9/30/2019      6.87 €        -0.84%   0.05%    -0.02%      -0.02%     -0.81%    1.59%     -0.51       39.06%
  10/1/2019      6.68 €        -2.82%   -0.45%   -0.44%      -1.39%     -1.43%    1.59%     -0.90       63.10%
  10/2/2019      6.57 €        -1.66%   -2.19%   -0.39%      -4.04%      2.38%    1.59%      1.49       86.30%
  10/4/2019      6.48 €        -1.31%   1.13%    -1.16%      0.07%      -1.38%    1.60%     -0.86       61.19%
  10/7/2019      6.48 €         0.02%   0.54%     0.36%      1.22%      -1.21%    1.60%     -0.75       54.75%
  10/8/2019      6.30 €        -2.73%   -1.41%   -0.61%      -3.11%      0.38%    1.60%      0.24       18.77%


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Exhibit 11E
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Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  10/9/2019      6.29 €        -0.16%   0.35%     0.44%      1.04%      -1.20%    1.60%     -0.75       54.39%
 10/10/2019      6.46 €         2.70%   0.92%     1.02%      2.71%       0.00%    1.60%      0.00        0.22%
 10/11/2019      6.80 €         5.15%   1.60%     1.11%      3.91%       1.24%    1.60%      0.77       56.08%
 10/14/2019      6.85 €         0.81%   -0.52%    0.01%      -0.96%      1.77%    1.59%      1.11       73.15%
 10/15/2019      7.05 €         2.88%   0.89%     1.59%      3.55%      -0.68%    1.60%     -0.43       32.95%
 10/16/2019      7.12 €         0.99%   0.05%     0.09%      0.10%       0.89%    1.59%      0.56       42.38%
 10/17/2019      7.14 €         0.25%   0.23%    -0.49%      -0.40%      0.66%    1.59%      0.41       31.97%
 10/18/2019      7.09 €        -0.63%   -0.15%    0.36%      0.15%      -0.78%    1.59%     -0.49       37.49%
 10/21/2019      7.30 €         2.95%   0.35%     1.63%      2.75%       0.20%    1.60%      0.13       10.05%
 10/22/2019      7.19 €        -1.53%   0.24%     0.19%      0.57%      -2.10%    1.59%     -1.32       81.25%
 10/23/2019      7.19 €        -0.03%   -0.24%    0.53%      0.25%      -0.28%    1.60%     -0.17       13.79%
 10/24/2019      7.06 €        -1.75%   0.34%    -0.42%      -0.12%     -1.63%    1.59%     -1.03       69.48%
 10/25/2019      7.18 €         1.66%   0.39%     0.50%      1.23%       0.43%    1.59%      0.27       21.24%
 10/28/2019      7.23 €         0.72%   0.40%    -0.34%      0.07%       0.66%    1.58%      0.42       32.22%
 10/29/2019      7.22 €        -0.21%   0.15%    -0.30%      -0.29%      0.08%    1.58%      0.05        4.16%
 10/30/2019      6.64 €        -7.93%   -0.15%   -0.93%      -1.69%     -6.23%    1.57%     -3.97       99.99%
 10/31/2019      6.49 €        -2.24%   -0.14%   -0.74%      -1.42%     -0.82%    1.57%     -0.52       39.98%
  11/1/2019      6.60 €         1.56%   0.85%     0.79%      2.47%      -0.91%    1.56%     -0.58       43.94%
  11/4/2019      6.84 €         3.71%   0.58%     1.00%      2.30%       1.41%    1.55%      0.91       63.79%
  11/5/2019      6.94 €         1.39%   -0.09%    0.82%      0.94%       0.45%    1.54%      0.29       22.99%
  11/6/2019      6.93 €        -0.06%   0.05%     0.15%      0.20%      -0.26%    1.54%     -0.17       13.17%
  11/7/2019      7.06 €         1.82%   0.44%     0.75%      1.74%       0.08%    1.54%      0.05        4.14%
  11/8/2019      6.90 €        -2.21%   -0.26%   -0.53%      -1.32%     -0.89%    1.54%     -0.58       43.48%
 11/11/2019      6.87 €        -0.49%   0.00%    -0.16%      -0.33%     -0.16%    1.53%     -0.11        8.38%
 11/12/2019      6.96 €         1.34%   0.42%    -0.24%      0.26%       1.08%    1.53%      0.70       51.84%
 11/13/2019      6.65 €        -4.44%   -0.29%   -1.21%      -2.40%     -2.04%    1.53%     -1.33       81.61%
 11/14/2019      6.55 €        -1.46%   -0.17%   -0.16%      -0.64%     -0.82%    1.54%     -0.54       40.72%
 11/15/2019      6.58 €         0.34%   0.70%    -0.02%      1.06%      -0.72%    1.54%     -0.47       36.03%
 11/18/2019      6.62 €         0.65%   0.24%    -0.14%      0.09%       0.57%    1.54%      0.37       28.77%
 11/19/2019      6.59 €        -0.45%   0.05%     0.45%      0.65%      -1.10%    1.54%     -0.72       52.55%
 11/20/2019      6.60 €         0.17%   -0.32%    0.01%      -0.65%      0.82%    1.54%      0.53       40.42%
 11/21/2019      6.64 €         0.55%   -0.50%    0.38%      -0.38%      0.92%    1.53%      0.60       45.31%
 11/22/2019      6.68 €         0.72%   0.15%     0.64%      1.11%      -0.39%    1.53%     -0.25       19.97%
 11/25/2019      6.67 €        -0.15%   0.78%    -0.34%      0.70%      -0.85%    1.53%     -0.56       42.09%
 11/26/2019      6.60 €        -1.12%   0.24%    -0.82%      -0.94%     -0.19%    1.53%     -0.12        9.62%
 11/27/2019      6.67 €         1.14%   0.24%     0.57%      1.12%       0.01%    1.53%      0.01        0.76%
 11/29/2019      6.54 €        -1.93%   -0.16%   -0.05%      -0.46%     -1.47%    1.52%     -0.97       66.53%
  12/2/2019      6.47 €        -1.19%   -0.81%    0.57%      -0.64%     -0.55%    1.50%     -0.37       28.57%
  12/3/2019      6.33 €        -2.09%   -0.86%   -1.07%      -3.13%      1.04%    1.50%      0.69       51.15%
  12/4/2019      6.47 €         2.21%   0.86%     0.68%      2.36%      -0.15%    1.50%     -0.10        8.04%


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Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  12/5/2019      6.45 €        -0.37%   -0.05%    0.20%      0.12%      -0.50%    1.50%     -0.33        25.88%
  12/6/2019      6.53 €         1.21%   0.98%     0.58%      2.44%      -1.23%    1.50%     -0.82        58.84%
  12/9/2019      6.54 €         0.23%   -0.10%   -0.18%      -0.54%      0.77%    1.48%      0.52        39.50%
 12/10/2019      6.49 €        -0.84%   -0.19%   -0.18%      -0.71%     -0.13%    1.48%     -0.09         7.16%
 12/11/2019      6.56 €         1.16%   0.07%     0.14%      0.23%       0.92%    1.48%      0.62        46.73%
 12/12/2019      6.78 €         3.38%   0.60%     1.52%      3.21%       0.17%    1.48%      0.12         9.31%
 12/13/2019      6.72 €        -0.90%   0.40%    -0.55%      -0.22%     -0.68%    1.44%     -0.47        36.20%
 12/16/2019      6.96 €         3.56%   1.01%     0.36%      2.23%       1.33%    1.44%      0.92        64.19%
 12/17/2019      6.99 €         0.42%   -0.12%    0.01%      -0.30%      0.72%    1.44%      0.50       38.09%
 12/18/2019      7.02 €         0.43%   -0.05%    0.48%      0.53%      -0.11%    1.44%     -0.07        5.83%
 12/19/2019      7.12 €         1.44%   0.13%    -0.41%      -0.48%      1.92%    1.44%      1.34       81.70%
 12/20/2019      7.07 €        -0.76%   0.50%    -0.59%      -0.07%     -0.69%    1.44%     -0.48        36.77%
 12/23/2019      6.91 €        -2.25%   0.08%    -0.60%      -0.86%     -1.39%    1.42%     -0.98        67.01%
 12/27/2019      6.91 €        -0.01%   0.64%     0.14%      1.24%      -1.26%    1.42%     -0.88        62.13%
   1/2/2020      7.35 €         6.39%   -0.09%    0.96%      1.20%       5.18%    1.42%      3.64        99.97%
   1/3/2020      7.25 €        -1.32%   0.00%    -1.01%      -1.64%      0.32%    1.46%      0.22       17.49%
   1/6/2020      7.19 €        -0.90%   -0.32%   -0.29%      -1.05%      0.15%    1.46%      0.11         8.45%
   1/7/2020      7.43 €         3.47%   0.28%    -0.64%      -0.61%      4.07%    1.45%      2.80       99.45%
   1/8/2020      7.69 €         3.38%   0.07%     0.28%      0.47%       2.91%    1.48%      1.97        95.01%
   1/9/2020      7.72 €         0.40%   0.56%    -0.42%      0.23%       0.17%    1.48%      0.12         9.39%
  1/10/2020      7.70 €        -0.27%   0.15%    -0.88%      -1.12%      0.85%    1.46%      0.58       43.91%
  1/13/2020      7.58 €        -1.49%   0.02%    -0.07%      -0.12%     -1.38%    1.47%     -0.94        65.19%
  1/14/2020      7.75 €         2.28%   0.28%     1.82%      3.19%      -0.91%    1.47%     -0.62        46.38%
  1/15/2020      7.57 €        -2.36%   0.27%    -2.15%      -2.87%      0.51%    1.46%      0.35       27.17%
  1/16/2020      7.63 €         0.78%   0.16%    -0.12%      0.03%       0.75%    1.46%      0.51        39.23%
  1/17/2020      7.59 €        -0.54%   0.50%    -0.58%      -0.11%     -0.43%    1.45%     -0.29        23.16%
  1/21/2020      7.50 €        -1.16%   -0.03%   -0.73%      -1.18%      0.02%    1.44%      0.01         1.16%
  1/22/2020      7.57 €         0.96%   0.11%    -0.58%      -0.73%      1.69%    1.44%      1.18       75.89%
  1/23/2020      7.68 €         1.48%   -0.67%   -0.20%      -1.47%      2.95%    1.44%      2.04        95.79%
  1/24/2020      7.83 €         1.89%   0.24%    -0.59%      -0.54%      2.43%    1.45%      1.67       90.44%
  1/27/2020      7.75 €        -1.05%   -1.88%    0.32%      -2.69%      1.64%    1.45%      1.13       74.12%
  1/28/2020      7.87 €         1.59%   0.64%     0.64%      1.90%      -0.31%    1.45%     -0.21        16.84%
  1/29/2020      7.97 €         1.32%   0.23%    -0.22%      0.01%       1.31%    1.45%      0.91        63.43%
  1/30/2020      8.31 €         4.23%   -0.83%    0.05%      -1.32%      5.54%    1.45%      3.82       99.98%
  1/31/2020      8.28 €        -0.32%   -0.52%    0.03%      -0.85%      0.52%    1.45%      0.36       28.08%
   2/3/2020      8.13 €        -1.85%   0.21%    -0.03%      0.30%      -2.15%    1.45%     -1.48        85.89%
   2/4/2020      8.17 €         0.42%   1.43%    -0.10%      2.25%      -1.83%    1.46%     -1.26        78.98%
   2/5/2020      8.26 €         1.21%   0.59%     0.38%      1.47%      -0.26%    1.46%     -0.18        14.21%
   2/6/2020      9.33 €        12.90%   0.70%    -0.20%      0.84%      12.06%    1.46%      8.27       100.00%
   2/7/2020      9.53 €         2.14%   -0.31%    0.55%      0.24%       1.90%    1.65%      1.15        74.94%


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Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  2/10/2020      9.40 €     -1.32%      -0.11%   -0.10%      -0.28%     -1.05%    1.64%     -0.64       47.59%
  2/11/2020      9.67 €      2.83%      0.72%     0.07%      1.33%       1.50%    1.64%      0.91       63.81%
  2/12/2020      9.99 €      3.29%      0.39%     0.21%      0.98%       2.31%    1.64%      1.41       83.98%
  2/13/2020     10.19 €      2.00%      -0.08%   -0.24%      -0.43%      2.43%    1.64%      1.48        85.94%
  2/14/2020     10.19 €     -0.02%      -0.03%   -0.05%      -0.06%      0.04%    1.65%      0.02        1.93%
  2/18/2020      9.98 €     -2.02%      -0.65%   -1.21%      -2.69%      0.67%    1.65%      0.40        31.33%
  2/19/2020      9.91 €     -0.69%      0.73%     0.30%      1.66%      -2.36%    1.65%     -1.43       84.51%
  2/20/2020      9.87 €     -0.45%      -0.91%    0.87%      -0.23%     -0.22%    1.66%     -0.14       10.74%
  2/21/2020      9.52 €     -3.47%      -0.14%   -0.41%      -0.73%     -2.73%    1.66%     -1.65       89.98%
  2/24/2020      8.94 €     -6.13%      -2.83%    0.54%      -3.84%     -2.29%    1.67%     -1.37       82.90%
  2/25/2020      8.77 €     -1.89%      -1.66%   -0.06%      -2.83%      0.94%    1.67%      0.56        42.60%
  2/26/2020      8.86 €      1.01%      -0.52%   -0.38%      -1.35%      2.37%    1.67%      1.42        84.19%
  2/27/2020      8.29 €     -6.39%      -3.53%   -0.52%      -6.52%      0.13%    1.68%      0.08        6.33%
  2/28/2020      7.88 €     -5.00%      -3.48%    1.43%      -3.86%     -1.15%    1.67%     -0.69       50.60%
   3/2/2020      7.57 €     -3.96%      2.46%    -3.26%      -0.37%     -3.59%    1.67%     -2.15       96.72%
   3/3/2020      7.34 €     -2.99%      1.02%    -1.51%      -0.63%     -2.35%    1.68%     -1.40       83.66%
   3/4/2020      7.27 €     -1.02%      0.00%    -1.11%      -1.63%      0.61%    1.69%      0.36       28.07%
   3/5/2020      7.04 €     -3.07%      0.30%    -1.96%      -2.42%     -0.65%    1.69%     -0.39       29.98%
   3/6/2020      6.78 €     -3.79%      -3.11%   -0.88%      -5.93%      2.14%    1.69%      1.27        79.43%
   3/9/2020      5.85 €    -13.61%      -5.41%   -3.92%     -13.50%     -0.11%    1.69%     -0.07        5.27%
  3/10/2020      5.88 €      0.48%      -1.45%    2.16%      0.72%      -0.24%    1.68%     -0.14       11.35%
  3/11/2020      5.97 €      1.53%      -0.68%    3.40%      3.77%      -2.24%    1.68%     -1.33       81.65%
  3/12/2020      4.87 €    -18.44%      -9.41%    1.13%     -13.22%     -5.21%    1.67%     -3.12       99.80%
  3/13/2020      5.11 €      4.80%      0.04%     5.55%      7.66%      -2.86%    1.69%     -1.69       90.80%
  3/16/2020      4.91 €     -3.90%      -2.02%   -2.87%      -7.22%      3.32%    1.70%      1.96        94.87%
  3/17/2020      5.15 €      4.91%      -0.34%    2.55%      2.64%       2.27%    1.71%      1.33       81.54%
  3/18/2020      5.14 €     -0.06%      -4.77%   -0.69%      -9.03%      8.97%    1.71%      5.25       100.00%
  3/19/2020      5.47 €      6.36%      0.83%     0.28%      1.70%       4.66%    1.79%      2.60       99.01%
  3/20/2020      5.53 €      0.99%      -0.20%    2.07%      2.35%      -1.36%    1.81%     -0.75       54.68%
  3/23/2020      5.51 €     -0.25%      -4.81%   -0.88%      -8.73%      8.48%    1.81%      4.67       100.00%
  3/24/2020      6.19 €     12.34%      8.20%    -0.05%     12.31%       0.03%    1.89%      0.01         1.11%
  3/25/2020      6.43 €      3.91%      4.21%    -2.91%      2.84%       1.07%    1.88%      0.57        42.91%
  3/26/2020      6.34 €     -1.48%      2.84%     1.14%      5.64%      -7.12%    1.88%     -3.78       99.98%
  3/27/2020      5.90 €     -6.96%      -1.28%   -2.44%      -4.64%     -2.32%    1.94%     -1.20       76.81%
  3/30/2020      5.82 €     -1.24%      1.16%    -1.99%      -0.64%     -0.59%    1.93%     -0.31       24.08%
  3/31/2020      5.97 €      2.49%      1.23%    -1.41%      0.12%       2.37%    1.93%      1.23        77.85%
   4/1/2020      5.60 €     -6.22%      -4.36%   -3.14%      -9.97%      3.76%    1.93%      1.94        94.70%
   4/2/2020      5.50 €     -1.68%      -0.30%    0.46%      0.13%      -1.81%    1.94%     -0.93       64.76%
   4/3/2020      5.43 €     -1.42%      -0.61%   -0.36%      -1.25%     -0.17%    1.95%     -0.09        6.77%
   4/6/2020      5.89 €      8.50%      4.28%    -1.85%      4.07%       4.42%    1.95%      2.26        97.55%


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Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
   4/7/2020      6.21 €         5.40%   3.90%     0.77%      6.61%      -1.21%    1.97%     -0.62       46.13%
   4/8/2020      6.03 €        -2.84%   -0.04%    0.46%      0.50%      -3.34%    1.97%     -1.70       90.95%
   4/9/2020      6.12 €         1.49%   2.39%     3.40%      7.29%      -5.80%    1.97%     -2.94       99.64%
  4/14/2020      6.21 €         1.47%   1.07%    -5.93%      -4.59%      6.06%    2.01%      3.01       99.71%
  4/15/2020      5.63 €        -9.29%   -2.05%   -1.74%      -4.54%     -4.75%    2.04%     -2.33       97.92%
  4/16/2020      5.72 €         1.62%   0.42%    -3.62%      -2.82%      4.44%    2.07%      2.15       96.72%
  4/17/2020      5.97 €         4.33%   1.95%     2.60%      5.21%      -0.87%    2.08%     -0.42       32.48%
  4/20/2020      5.91 €        -1.06%   0.69%     0.32%      1.30%      -2.36%    2.09%     -1.13       74.03%
  4/21/2020      5.56 €        -5.94%   -4.15%    0.33%      -5.84%     -0.10%    2.09%     -0.05       3.72%
  4/22/2020      5.65 €         1.66%   1.70%    -0.66%      1.90%      -0.25%    2.08%     -0.12       9.38%
  4/23/2020      5.85 €         3.49%   1.26%    -0.49%      1.41%       2.08%    2.08%      1.00       68.20%
  4/24/2020      5.45 €        -6.76%   -0.95%   -0.71%      -2.03%     -4.73%    2.08%     -2.27       97.60%
  4/27/2020      6.14 €        12.68%   2.56%     3.00%      6.52%       6.16%    2.11%      2.92       99.62%
  4/28/2020      6.39 €         4.05%   0.61%     1.62%      2.51%       1.54%    2.14%      0.72       52.88%
  4/29/2020      7.16 €        11.95%   1.65%     1.22%      3.76%       8.19%    2.13%      3.84       99.98%
  4/30/2020      6.78 €        -5.27%   -0.45%   -2.01%      -2.60%     -2.67%    2.14%     -1.25       78.64%
   5/4/2020      6.43 €        -5.19%   -3.37%   -1.16%      -6.34%      1.15%    2.15%      0.53       40.60%
   5/5/2020      6.55 €         1.88%   2.13%    -0.23%      3.08%      -1.20%    2.15%     -0.56       42.39%
   5/6/2020      6.34 €        -3.16%   -0.56%   -2.69%      -3.49%      0.33%    2.14%      0.15       12.15%
   5/7/2020      6.56 €         3.39%   0.62%     2.05%      2.99%       0.40%    2.14%      0.19       14.69%
   5/8/2020      6.54 €        -0.27%   1.29%    -0.67%      1.36%      -1.63%    2.14%     -0.76       55.31%
  5/11/2020      6.37 €        -2.63%   -0.06%   -2.69%      -2.74%      0.11%    2.15%      0.05        3.99%
  5/12/2020      6.51 €         2.22%   0.31%    -1.80%      -1.29%      3.51%    2.15%      1.63       89.64%
  5/13/2020      6.09 €        -6.35%   -2.65%   -0.85%      -4.90%     -1.45%    2.15%     -0.67       49.76%
  5/14/2020      6.05 €        -0.71%   -1.69%    2.33%      -0.33%     -0.38%    2.16%     -0.17       13.79%
  5/15/2020      5.94 €        -1.80%   0.95%    -0.33%      1.16%      -2.96%    2.16%     -1.37       82.90%
  5/18/2020      6.56 €        10.35%   3.87%     0.23%      6.14%       4.21%    2.18%      1.94       94.60%
  5/19/2020      6.59 €         0.44%   0.37%     0.82%      1.41%      -0.97%    2.19%     -0.44       34.17%
  5/20/2020      6.85 €         4.09%   0.88%    -0.74%      0.69%       3.40%    2.18%      1.56       87.90%
  5/21/2020      6.72 €        -2.03%   -0.94%    0.20%      -1.22%     -0.81%    2.19%     -0.37       28.69%
  5/22/2020      6.69 €        -0.36%   -0.51%   -0.82%      -1.54%      1.18%    2.19%      0.54       41.02%
  5/26/2020      7.50 €        12.15%   2.70%     2.67%      6.86%       5.29%    2.20%      2.41       98.33%
  5/27/2020      7.79 €         3.77%   -0.46%    5.49%      4.87%      -1.10%    2.22%     -0.50       37.99%
  5/28/2020      7.83 €         0.55%   2.24%    -3.36%      0.36%       0.19%    2.21%      0.09        6.86%
  5/29/2020      7.53 €        -3.82%   -1.09%   -1.03%      -2.64%     -1.18%    2.21%     -0.53       40.53%
   6/2/2020      7.95 €         5.51%   1.96%     0.15%      3.37%       2.14%    2.22%      0.96       66.44%
   6/3/2020      8.15 €         2.61%   2.07%     2.06%      5.45%      -2.85%    2.22%     -1.28       79.86%
   6/4/2020      8.32 €         2.02%   -0.09%    0.84%      0.79%       1.23%    2.23%      0.55       41.93%
   6/5/2020      8.71 €         4.70%   2.30%     3.39%      7.07%      -2.37%    2.23%     -1.06       71.10%
   6/8/2020      9.04 €         3.80%   0.20%     0.98%      1.41%       2.39%    2.23%      1.07       71.57%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
   6/9/2020      8.62 €        -4.60%   0.03%    -2.84%      -2.47%     -2.13%    2.23%     -0.96       65.96%
  6/10/2020      8.75 €         1.40%   -0.26%   -1.26%      -1.49%      2.89%    2.23%      1.30       80.41%
  6/11/2020      8.13 €        -6.99%   -3.46%   -3.20%      -8.45%      1.46%    2.23%      0.66       48.79%
  6/12/2020      8.28 €         1.77%   -1.26%    1.62%      -0.36%      2.13%    2.23%      0.96       66.04%
  6/15/2020      8.25 €        -0.34%   -0.75%    0.19%      -0.86%      0.52%    2.24%      0.23       18.33%
  6/16/2020      8.48 €         2.79%   3.29%    -0.66%      4.81%      -2.02%    2.24%     -0.90       63.26%
  6/17/2020      8.44 €        -0.52%   0.19%    -1.04%      -0.54%      0.02%    2.24%      0.01        0.60%
  6/18/2020      8.26 €        -2.05%   -0.43%   -0.33%      -0.85%     -1.20%    2.24%     -0.54       40.80%
  6/19/2020      8.34 €         0.96%   0.50%    -1.15%      -0.17%      1.13%    2.23%      0.51       38.62%
  6/22/2020      8.31 €        -0.44%   -0.57%    0.04%      -0.73%      0.28%    2.24%      0.13       10.00%
  6/23/2020      8.55 €         3.00%   1.49%    -0.45%      2.09%       0.91%    2.23%      0.41       31.66%
  6/24/2020      8.12 €        -5.05%   -2.98%    0.29%      -4.32%     -0.73%    2.23%     -0.33       25.56%
  6/25/2020      8.39 €         3.28%   -0.18%    1.94%      1.69%       1.59%    2.23%      0.71       52.16%
  6/26/2020      8.13 €        -3.04%   -0.16%   -2.15%      -2.13%     -0.91%    2.24%     -0.41       31.65%
  6/29/2020      8.43 €         3.65%   0.01%     0.61%      0.71%       2.94%    2.24%      1.31       80.95%
  6/30/2020      8.46 €         0.40%   0.98%    -0.97%      0.80%      -0.40%    2.24%     -0.18       14.13%
   7/1/2020      8.35 €        -1.38%   0.66%    -1.36%      -0.09%     -1.30%    2.24%     -0.58       43.66%
   7/2/2020      8.55 €         2.47%   1.29%    -0.82%      1.42%       1.05%    2.24%      0.47       36.01%
   7/6/2020      8.81 €         2.98%   1.35%    -0.61%      1.70%       1.28%    2.24%      0.57       43.33%
   7/7/2020      8.81 €        -0.03%   -0.26%   -1.05%      -1.27%      1.23%    2.23%      0.55       41.86%
   7/8/2020      8.71 €        -1.08%   -0.75%    0.09%      -1.00%     -0.08%    2.23%     -0.03       2.79%
   7/9/2020      8.61 €        -1.10%   -0.60%   -0.52%      -1.29%      0.19%    2.21%      0.09        6.86%
  7/10/2020      8.83 €         2.45%   0.85%     1.78%      3.18%      -0.73%    2.19%     -0.33       25.97%
  7/13/2020      8.75 €        -0.85%   1.98%    -0.33%      2.99%      -3.84%    2.20%     -1.74       91.73%
  7/14/2020      8.73 €        -0.22%   -1.61%    2.36%      -0.22%      0.00%    2.20%      0.00        0.08%
  7/15/2020      8.85 €         1.40%   1.69%    -1.09%      1.83%      -0.43%    2.20%     -0.19       15.41%
  7/16/2020      8.82 €        -0.38%   -0.40%    1.04%      0.48%      -0.86%    2.20%     -0.39       30.52%
  7/17/2020      8.74 €        -0.90%   0.30%    -2.16%      -1.41%      0.51%    2.18%      0.23       18.44%
  7/20/2020      8.88 €         1.56%   0.62%    -1.32%      -0.11%      1.66%    2.19%      0.76       55.30%
  7/21/2020      8.50 €        -4.27%   1.05%     1.12%      2.83%      -7.10%    2.18%     -3.25       99.87%
  7/22/2020      8.50 €        -0.02%   -0.32%   -0.81%      -1.12%      1.10%    2.23%      0.49       37.76%
  7/23/2020      8.34 €        -1.81%   0.40%    -0.66%      0.16%      -1.97%    2.23%     -0.88       62.23%
  7/24/2020      8.27 €        -0.82%   -1.61%    2.54%      -0.17%     -0.65%    2.23%     -0.29       22.84%
  7/27/2020      8.09 €        -2.26%   0.32%    -1.72%      -0.95%     -1.31%    2.23%     -0.59       44.09%
  7/28/2020      8.00 €        -1.06%   0.48%    -0.34%      0.52%      -1.58%    2.23%     -0.71       52.19%
  7/29/2020      7.80 €        -2.50%   0.09%     0.41%      0.59%      -3.09%    2.23%     -1.38       83.26%
  7/30/2020      7.57 €        -2.95%   -0.75%   -0.22%      -1.30%     -1.65%    2.23%     -0.74       53.89%
  7/31/2020      7.59 €         0.28%   -0.14%   -0.34%      -0.45%      0.72%    2.23%      0.32       25.36%
   8/3/2020      7.83 €         3.19%   1.39%    -0.73%      1.60%       1.58%    2.23%      0.71       52.09%
   8/4/2020      7.82 €        -0.18%   0.37%    -0.80%      -0.07%     -0.11%    2.23%     -0.05       4.03%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
   8/5/2020      7.86 €         0.54%   0.98%     0.34%      1.91%      -1.37%    2.23%     -0.62       46.11%
   8/6/2020      7.75 €        -1.37%   -0.39%   -0.04%      -0.61%     -0.77%    2.23%     -0.34       26.91%
   8/7/2020      7.73 €        -0.28%   0.32%    -0.54%      0.07%      -0.35%    2.23%     -0.16       12.47%
  8/10/2020      8.01 €         3.61%   0.05%     3.67%      3.40%       0.21%    2.23%      0.09        7.45%
  8/11/2020      8.24 €         2.83%   1.01%     2.01%      3.46%      -0.63%    2.22%     -0.28       22.16%
  8/12/2020      8.26 €         0.28%   0.43%    -1.26%      -0.36%      0.64%    2.22%      0.29       22.52%
  8/13/2020      8.07 €        -2.26%   0.15%    -2.21%      -1.62%     -0.65%    2.20%     -0.29       23.04%
  8/14/2020      8.07 €        -0.05%   -0.32%    1.21%      0.66%      -0.71%    2.20%     -0.32       25.36%
  8/17/2020      7.96 €        -1.31%   0.33%    -2.40%      -1.49%      0.18%    2.20%      0.08        6.37%
  8/18/2020      7.92 €        -0.57%   0.18%    -1.26%      -0.73%      0.17%    2.19%      0.08        6.16%
  8/19/2020      8.13 €         2.64%   0.34%     0.17%      0.76%       1.88%    2.19%      0.86       60.90%
  8/20/2020      7.88 €        -3.04%   -0.79%   -0.79%      -1.83%     -1.20%    2.19%     -0.55       41.70%
  8/21/2020      7.79 €        -1.14%   0.00%    -0.32%      -0.20%     -0.94%    2.19%     -0.43       33.24%
  8/24/2020      8.14 €         4.43%   1.03%     0.82%      2.40%       2.03%    2.20%      0.92       64.18%
  8/25/2020      8.16 €         0.26%   0.18%     0.39%      0.71%      -0.46%    2.20%     -0.21       16.38%
  8/26/2020      8.30 €         1.75%   0.83%    -1.49%      0.06%       1.69%    2.20%      0.77       55.90%
  8/27/2020      8.28 €        -0.22%   0.60%     0.40%      1.37%      -1.59%    2.20%     -0.72       53.02%
  8/28/2020      8.28 €        -0.01%   0.04%     0.96%      0.98%      -0.99%    2.20%     -0.45       34.86%
  8/31/2020      8.03 €        -3.08%   0.10%    -1.70%      -1.27%     -1.81%    2.21%     -0.82       58.57%
   9/1/2020      7.96 €        -0.80%   0.19%    -0.78%      -0.33%     -0.47%    2.21%     -0.21       16.86%
   9/2/2020      7.90 €        -0.80%   0.51%     0.05%      0.89%      -1.69%    2.20%     -0.77       55.79%
   9/3/2020      7.88 €        -0.18%   -1.35%    2.34%      0.01%      -0.19%    2.20%     -0.08       6.70%
   9/4/2020      8.14 €         3.21%   -2.49%    3.66%      -0.58%      3.79%    2.20%      1.73       91.42%
   9/8/2020      7.87 €        -3.32%   -0.47%   -0.85%      -1.43%     -1.89%    2.21%     -0.85       60.62%
   9/9/2020      8.01 €         1.86%   1.21%    -0.73%      1.23%       0.62%    2.21%      0.28       22.14%
  9/10/2020      8.00 €        -0.21%   0.24%    -0.41%      0.04%      -0.25%    2.21%     -0.11       8.95%
  9/11/2020      7.81 €        -2.29%   -1.12%    1.02%      -0.75%     -1.54%    2.22%     -0.69       51.17%
  9/14/2020      7.90 €         1.14%   1.24%     0.35%      2.24%      -1.10%    2.23%     -0.49       37.74%
  9/15/2020      7.71 €        -2.39%   0.51%    -3.63%      -2.46%      0.07%    2.22%      0.03        2.54%
  9/16/2020      7.87 €         2.00%   0.21%     0.16%      0.47%       1.52%    2.22%      0.69       50.68%
  9/17/2020      7.78 €        -1.08%   -1.36%    0.53%      -1.57%      0.49%    2.22%      0.22       17.58%
  9/18/2020      7.67 €        -1.40%   -0.51%    0.41%      -0.36%     -1.04%    2.22%     -0.47       35.96%
  9/21/2020      7.00 €        -8.76%   -2.92%   -1.10%      -5.39%     -3.37%    2.21%     -1.52       87.01%
  9/22/2020      6.93 €        -0.94%   0.94%    -1.55%      0.08%      -1.02%    2.21%     -0.46       35.47%
  9/23/2020      6.96 €         0.32%   0.37%    -0.54%      0.13%       0.19%    2.21%      0.09        6.77%
  9/24/2020      6.95 €        -0.13%   -1.46%   -0.08%      -2.25%      2.12%    2.21%      0.96       66.11%
  9/25/2020      6.77 €        -2.49%   0.33%    -0.71%      -0.10%     -2.39%    2.21%     -1.08       71.91%
  9/28/2020      7.27 €         7.35%   2.55%     1.33%      5.13%       2.22%    2.21%      1.00       68.31%
  9/29/2020      7.07 €        -2.72%   -0.18%   -1.61%      -1.68%     -1.04%    2.21%     -0.47       36.18%
  9/30/2020      7.19 €         1.64%   0.43%     1.03%      1.62%       0.02%    2.21%      0.01        0.65%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
  10/1/2020      7.10 €        -1.25%   0.30%    -0.17%      0.35%      -1.60%    2.21%     -0.72       52.91%
  10/2/2020      7.20 €         1.35%   -0.77%    1.52%      0.23%       1.12%    2.21%      0.51       38.67%
  10/5/2020      7.36 €         2.28%   1.36%     0.26%      2.35%      -0.07%    2.21%     -0.03        2.50%
  10/6/2020      7.78 €         5.71%   0.39%     1.98%      2.43%       3.28%    2.21%      1.48       86.00%
  10/7/2020      7.80 €         0.26%   -0.05%   -0.90%      -0.84%      1.09%    2.21%      0.49       37.77%
  10/8/2020      7.93 €         1.64%   0.85%    -0.46%      0.93%       0.71%    2.21%      0.32       25.15%
  10/9/2020      7.84 €        -1.07%   0.89%    -0.46%      0.99%      -2.06%    2.21%     -0.93       64.69%
 10/12/2020      7.86 €         0.22%   1.25%    -1.02%      1.03%      -0.81%    2.21%     -0.37       28.55%
 10/13/2020      7.79 €        -0.94%   -0.21%   -1.41%      -1.55%      0.61%    2.21%      0.27       21.52%
 10/14/2020      7.74 €        -0.59%   -0.28%   -0.67%      -0.99%      0.40%    2.21%      0.18       14.38%
 10/15/2020      7.64 €        -1.25%   -1.46%    1.26%      -1.05%     -0.21%    2.21%     -0.09        7.42%
 10/16/2020      7.87 €         2.90%   0.85%     0.54%      1.83%       1.08%    2.21%      0.49       37.22%
 10/19/2020      8.00 €         1.72%   -0.28%    0.27%      -0.14%      1.85%    2.21%      0.84       59.66%
 10/20/2020      8.15 €         1.88%   -0.72%    1.53%      0.33%       1.55%    2.21%      0.70       51.41%
 10/21/2020      7.96 €        -2.39%   -0.02%    0.04%      0.04%      -2.44%    2.21%     -1.10       72.75%
 10/22/2020      7.96 €         0.03%   -0.49%    1.96%      1.06%      -1.03%    2.21%     -0.47       35.82%
 10/23/2020      8.12 €         2.05%   0.49%     1.55%      2.18%      -0.13%    2.21%     -0.06        4.70%
 10/26/2020      8.04 €        -0.99%   -1.68%    0.05%      -2.47%      1.49%    2.21%      0.67       49.72%
 10/27/2020      7.91 €        -1.62%   0.12%    -1.00%      -0.66%     -0.95%    2.21%     -0.43       33.32%
 10/28/2020      7.76 €        -1.91%   -2.83%    1.31%      -3.10%      1.19%    2.21%      0.54       40.84%
 10/29/2020      7.88 €         1.61%   -0.08%   -0.26%      -0.31%      1.93%    2.21%      0.87       61.46%
 10/30/2020      7.90 €         0.22%   -1.12%    1.95%      0.09%       0.13%    2.21%      0.06        4.58%
  11/2/2020      8.30 €         5.00%   1.33%     1.33%      3.27%       1.73%    2.21%      0.78       56.40%
  11/3/2020      8.49 €         2.34%   2.47%     0.87%      4.59%      -2.26%    2.21%     -1.02       69.04%
  11/4/2020      8.56 €         0.80%   2.09%    -5.56%      -1.76%      2.56%    2.21%      1.16       75.19%
  11/5/2020      8.54 €        -0.21%   1.59%     0.22%      2.67%      -2.88%    2.21%     -1.30       80.45%
  11/6/2020      8.52 €        -0.20%   0.21%    -0.29%      0.10%      -0.30%    2.21%     -0.14       10.75%
  11/9/2020      8.89 €         4.29%   2.45%     6.57%      9.69%      -5.40%    2.21%     -2.44       98.44%
 11/10/2020      9.06 €         1.96%   -1.19%    4.10%      1.92%       0.04%    2.21%      0.02        1.37%
 11/11/2020      8.94 €        -1.35%   1.03%    -1.63%      0.15%      -1.49%    2.21%     -0.67       49.93%
 11/12/2020      8.91 €        -0.38%   -0.31%   -1.61%      -1.88%      1.50%    2.21%      0.68       50.16%
 11/13/2020      9.00 €         1.00%   -0.02%    1.26%      1.15%      -0.15%    2.21%     -0.07       5.34%
 11/16/2020      9.12 €         1.35%   1.62%     0.72%      3.16%      -1.81%    2.21%     -0.82       58.58%
 11/17/2020      9.14 €         0.21%   -0.06%   -0.08%      -0.11%      0.32%    2.21%      0.15       11.52%
 11/18/2020      9.11 €        -0.32%   0.20%     1.42%      1.63%      -1.95%    2.21%     -0.88       61.99%
 11/19/2020      8.99 €        -1.27%   -1.06%   -0.81%      -2.30%      1.02%    2.21%      0.46       35.54%
 11/20/2020      8.96 €        -0.34%   0.51%    -0.64%      0.25%      -0.59%    2.21%     -0.27       21.00%
 11/23/2020      9.27 €         3.50%   -0.44%    2.65%      1.75%       1.75%    2.21%      0.79       57.08%
 11/24/2020      9.62 €         3.76%   1.83%     1.98%      4.62%      -0.86%    2.21%     -0.39       30.15%
 11/25/2020      9.50 €        -1.25%   0.08%     0.35%      0.48%      -1.73%    2.21%     -0.78       56.37%


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Exhibit 11E
Deutsche Bank AG (GY)
Actual vs. Predicted Returns



                                                                        Company-
                Closing        Actual   Market   Industry   Predicted            Standard              Confidence
    Date                                                                Specific            t-Stat
                 Price         Return   Return   Residual    Return               Error                  Level
                                                                         Return
 11/27/2020      9.48 €        -0.20%   0.58%    -0.79%      0.22%      -0.42%    2.21%     -0.19       14.95%
 11/30/2020      9.34 €        -1.49%   -1.02%   -0.76%      -2.19%      0.70%    2.21%      0.32       24.73%
  12/1/2020      9.55 €         2.16%   1.45%     0.27%      2.51%      -0.34%    2.21%     -0.15       12.30%
  12/2/2020      9.53 €        -0.16%   -0.02%    1.22%      1.12%      -1.27%    2.21%     -0.57       43.39%
  12/3/2020      9.75 €         2.32%   0.53%    -0.66%      0.26%       2.06%    2.21%      0.93       64.71%
  12/4/2020      9.74 €        -0.09%   0.41%     0.41%      1.04%      -1.13%    2.21%     -0.51       38.90%
  12/7/2020      9.57 €        -1.73%   0.05%    -0.70%      -0.51%     -1.22%    2.21%     -0.55       41.89%
  12/8/2020      9.46 €        -1.23%   -0.01%   -0.31%      -0.24%     -0.99%    2.21%     -0.45       34.50%
  12/9/2020      9.30 €        -1.61%   0.14%    -0.27%      0.01%      -1.62%    2.21%     -0.73       53.38%
 12/10/2020      9.11 €        -2.11%   -0.46%    0.06%      -0.60%     -1.51%    2.21%     -0.68       50.31%
 12/11/2020      8.82 €        -3.18%   -0.65%   -0.11%      -1.05%     -2.14%    2.21%     -0.96       66.42%
 12/14/2020      8.80 €        -0.25%   0.80%    -0.38%      0.92%      -1.17%    2.21%     -0.53       40.20%
 12/15/2020      8.92 €         1.41%   -0.01%    0.71%      0.66%       0.75%    2.21%      0.34       26.42%
 12/16/2020      8.97 €         0.57%   0.81%    -0.71%      0.65%      -0.08%    2.21%     -0.04       2.82%
 12/17/2020      9.10 €         1.42%   0.65%    -0.89%      0.24%       1.17%    2.21%      0.53       40.37%




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Exhibit 11F
Deutsche Bank AG (GR)
Companies Used in the Industry Index
Source: Bloomberg

 Number                         Company Name        Bloomberg Symbol
   1       Bank of America Corp                    BAC US Equity
   2       Barclays PLC                            BCS US Equity
   3       BNP Paribas SA                          BNP FP Equity
   4       Citigroup Inc                           C US Equity
   5       Credit Suisse Group AG                  CS US Equity
   6       HSBC Holdings PLC                       HSBC US Equity
   7       JPMorgan Chase & Co                     JPM US Equity
   8       Societe Generale SA                     GLE FP Equity
   9       UBS Group AG                            UBS US Equity




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